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                                 EXHIBIT W
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Grayson                                       CLO Ltd
Grayson                            CLO Corp
U.S.$1015000000                                     Class A-la                     Floating           Rate         Senior Secured                        Extendable                 Notes             Due 2021
U.S.$        111500000                            Class        A-lb             Floating          Rate           Senior Secured                       Extendable                Notes           Due 2021
U.S.$68.000000                                Class           A-2        Floating              Rate        Senior Secured                      Extendable                 Notes          Due 2021
U.S.$72000000                                 Class                Floating              Rate      Senior Secured                        Deferrable                 Interest            Extendable                   Notes            Due 2021

U.S.$75000000                                 Class                Floating              Rate      Senior Secured                        Deferrable                 Interest            Extendable                 Notes              Due 2021
U.S.$3           1000000                      Class                Floating              Rate      Senior Secured                        Deferrable                 Interest            Extendable                   Notes            Due 2021
52500            Class                 Preference                  Shares

75000            Class            II    Preference                      Shares


Grayson            CLO             Ltd             the    Issuer                      and Grayson                 CLO         Corp            the       Co-Issuer                   and         together               with       the    Issuer          the     Co-Issuers                          will       issue            the Class

la     Floating          Rate                Senior           Secured              Extendable                   Notes        Due         2021         the     Class A-la Notes                                     the          Class        A-lb        Floating           Rate          Senior            Secured                Extendable

Notes        Due        2021                 the        Class A-lb                       Notes             and      together             with         the     Class        A-la          Notes      Class A-i Notes the Class A-2
                                                                                                                                                                                                            the                                                                                           Floating                Rate         Senior

Secured           Extendable                       Notes           the          Class A-2 Notes                          and         together               with    the      Class         A-i Notes the Class  Notes the Class                                                                           Floating                Rate         Senior

Secured           Deferrable                       Interest             Extendable               Notes Due                   2021        the          Class               Notes                and         the     Class                Floating          Rate            Senior      Secured                  Deferrable                    Interest

Extendable               Notes                Due        2021           the Class                      Notes             and         together            with       the    Class                Notes             and       the       Class             Notes        the        Senior Notes and                                       the     Issuer

will    issue          the Class                        Floating               Senior          Secured           Deferrable              Extendable                 Notes        Due           2021         the        Class                 Notes         and            together           with         the         Senior          Notes              the

Notes                  the Class                    Preference                   Shares         the Class                    Preference            Shares and the                               Class         II   Preference                  Shares          the        Class       II      Preference                         Shares and

together          with        the            Class            Preference                 Shares            the    Preference                    Shares and together                                  with        the    Notes           the      Securities                       U.S.$        0.01           par      value           per      share

in each          case        in        the      aggregate                principal             amounts            or    number            of       Preference             Shares          as described                     above          The        Notes          will be        issued            on       or about                November

30 2006 the Closing Date pursuant to an indenture  dated   as of                                                                                              the       Closing           Date             the     Indenture                        among           the Co-Issuers                       and      Investors                 Bank

Trust Company as Trustee the Trustee   The Preference    Shares                                                                                               will be           issued         on      or about             the Closing                 Date    pursuant             to    and           subject            to    the terms               of

the    Preference                  Share            Documents                       The        Stated           Maturity            of the           Notes        and     the    Scheduled                   Preference                 Shares          Redemption                 Date        of        the     Preference                    Shares

are    subject          to        multiple               extensions                 to   the     applicable              Extended                  Stated         Maturity            Date          in      the    case          of    the     Notes           and        the    applicable                Extended Scheduled

Preference              Shares                 Redemption                       Date      in      the       case        of    the       Preference                 Shares           if    the         Issuer         provides             timely          notice           and     the       Extension                  Conditions                       are

satisfied         as described                      herein


The     net       proceeds                    of    the       offering            of     the    Securities              will       be    applied             by    the    Issuer          to    repurchase                   participation               interests              in certain               Collateral               Obligations

sold    to       finance           the         purchase                 of such          Collateral             Obligations               prior        to    the Closing                Date          and     to   purchase              additional             Collateral            Obligations                       on and              after        the

Closing           Date            all        of    which           will be            pledged          under           the    Indenture               by     the    Issuer         to    the         Trustee           for the          benefit          of the        secured            parties           named                therein             See

Use         of    Proceeds


Highland           Capital                   Management                         L.P      Highland Capital or                                  in     such     capacity           the     Servicer                    will        service         the     Issuers           portfolio


The     initial        offer            price        of the         Offered              Notes        is    100%             The     Securities               other        than         the Offered                Notes              are being          offered           from      time           to    time         in


negotiated             transactions                      at    varying             prices        determined              at        the time           of each         sale


This        Offering               Memorandum                              constitutes                  prospectus                  the        Prospectus                       for      the        purposes               of     Directive             2003/7l/EC                 the         Prospectus                         Directive
                                                                   be       made                the                Financial              Services                                                                 as                                                     under      the                                         Directive               for
Application              is        expected                   to                         to            Irish                                                  Regulatory                 Authority                          competent               authority                                  Prospectus

this
        Prospectus                     to     be approved                       Application                is
                                                                                                                expected            to   be        made       to    the    Irish        Stock          Exchange                 for the        Senior          Notes        to be       admitted                to the            Official           List

and     trading          on        its
                                             regulated              market

For          discussion                       of certain                factors          regarding                the    Co-Issuers                   and       the      Securities                 that         among            other         things          should            be considered                         by        prospective

purchasers               of the                Securities                   see     Risk Factors

CERTAIN   PLEDGED ASSETS OF THE ISSUER ARE THE SOLE SOURCE OF PAYMENTS ON THE SECURITIES  THE SECURITIES
DO NOT REPRESENT   AN INTEREST IN OR OBLIGATIONS OF AND ARE NOT INSURED OR GUARANTEED BY THE HOLDERS OF
THE PREFERENCE SHARES THE SERVICER THE TRUSTEE ANY PAYING AGENT THE PREFERENCE SHARES PAYING AGENT
THE INITIAL PURCHASER ANY HEDGE COUNTERPARTY     OR ANY OF THEIR RESPECTIVE AFFILIATES

THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED       UNDER THE UNITED STATES SECURITIES ACT OF 1933 AS
AMENDED THE SECURITIES      ACT AND NEITHER THE ISSUER NOR THE CO-ISSUER WILL BE REGISTERED UNDER THE UNITED
STATES  INVESTMENT    COMPANY ACT OF 1940 AS AMENDED THE INVESTMENT       COMPANY ACT TilE SENIOR NOTES WILL BE
OFFERED AND SOLD TO NON-U.S PERSONS      AS DEFINED IN REGULATION      UNDER THE SECURITIES ACT REGULATION
OUTSIDE THE UNITED STATES    IN RELIANCE ON REGULATION     THE SENIOR NOTES MAY NOT BE OFFERED OR SOLD WITHIN
THE UNITED STATES     OR TO OR FOR THE ACCOUNT OR BENEFIT OF U.S PERSONS EXCEPT TO PERSONS              THAT ARE
QUALIFIED   INSTITUTIONAL   BUYERS AS DEFINED IN RULE 144A UNDER THE SECURITIES         ACT RULE     144A EACH
QUALIFIED INSTITUTIONAL    BUYER AND II QUALIFIED PURCHASERS FOR PURPOSES OF SECTION 3c7 OF THE INVESTMENT
COMPANY ACT SECTION              EACH    QUALWIED PURCHASER        THE CLASS     3c7
                                                                                 NOTES AND THE PREFERENCE SHARES
WILL BE OFFERED AND SOLD ONLY TO PERSONS        THAT ARE     QUALIFIED   INSTITUTIONAL   BUYERS   AND II QUALIFIED
PURCHASERS     THE SECURITIES ARE NOT TRANSFERABLE     EXCEPT IN ACCORDANCE       WITH THE RESTRICTIONS   DESCRIBED
UNDER TRANSFER     RESTRICTIONS

The     Senior          Notes                 other      than       certain            Senior      Notes          offered          and    sold         directly       by     the Co-Issuers                   to     the        Servicer         or any        of   its    Affiliates               and       certain            of   the      Class

Notes the Offered                                   Notes                are      being        offered           subject       to    prior           sale    when          as    and      if    delivered              to       and    accepted           by    Credit          Suisse         Securities                USA                LLC the
Initial          Purchaser                         or   Credit                 Suisse            On        or about          the     Closing            Date              certain        of     the        Class             Notes        will      be    offered          and     sold       directly             by       the       Issuer        to    the


Servicer          and/or           one         or   more           of    its     Affiliates           ii all       of the Class                 Preference              Shares          will    be         offered         and    sold       directly      by       the Issuer          to    Grayson                 Investors             Corp           an

exempted            limited                  liability        company               incorporated                under    the        laws of the              Cayman          Islands           Investors                    Corp              and    iii all        of the Class               II   Preference                    Shares        will       be

offered          and    sold            by        the    Issuer          directly         to    Highland            Financial            Partners             L.P       HFP                an         Affiliate            of    the Servicer              and/or          one     or     more           of     its     subsidiaries                     The

Initial      Purchaser                  is    not acting            as         initial   purchaser              with    respect          to    the     offering of           certain           of    the    Class               Notes        or any      of the Preference                    Shares




                                                                                                                                                   Credit Suisse

                                                                                                            The        date of       this      Offering            Memorandum                   is     November                 28 2006
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 Payment of                 interest             on         and        principal              of    the        Notes            will        be    made by            the        Issuer          in     U.S           Dollars on the                        first


 day       of each          February                   May             August            and       November                     of each           year       or      if   such         day        is   not            Business               Day            the

 next succeeding                          Business                Day              each        such        date                Payment                   Date                 commencing                        May                   2007            to    the

 extent          of available                    cash        flow            in respect              of the              Collateral               in     accordance                  with         the                            of Payments
                                                                                                                                                                                                           Priority

 Each           Class       of Notes                   will        bear interest                    at    the        per annum                     rates       set       forth         under           Summary                        of     Terms
 Principal             Terms               of the            Securities                       The        Preference                    Shares            will       receive            as       dividends                  certain           amounts
 available             for       distribution                     to        the     Holders              of the            Preference                   Shares            in    accordance                      with        the                              of
                                                                                                                                                                                                                                          Priority

 Payments                  In        addition               Holders                of the Class                II    Preference                    Shares          are        entitled                                to                  restrictions
                                                                                                                                                                                                 subject                    any
 under          Cayman               Islands           law             to    the    Class          II    Preference                    Share                                                                                to the
                                                                                                                                                    Special             Payments                equivalent                                   proceeds
 that       would            otherwise                  constitute                      Servicing              Fees            payable             to        the     Servicer                during                 the     first          two        years
                          the                          Date             After the two-year                                                          of the Closing                     Date            the
 following                       Closing                                                                             anniversary                                                                                    Servicer              may          in    its

 sole       discretion                at    any time waive                               portion          of the Servicing                         Fees then due                      and       payable               in    which event                      an
 amount equal                    to       such        waived                portion           will       be paid by the Issuer                                to    the       Holders             of the Class                       II   Preference
 Shares           as      Class            II    Preference                    Share                                                               See                                          of the              SecuritiesInterest
                                                                                               Special              Payments                                  Description

 Payments on                    the       Notes         and            Payments               of    Dividends                   on      the       Preference              Shares             from Interest                      Proceeds                   and

 Priority                  of    Payments

 The        Notes          will       be        subject           to        Optional           Redemption                       in     whole            but       not     in    part         on                     Payment               Date
                                                                                                                                                                                                     any                                               upon
 the       occurrence                of         Tax Event                    or    at    any time after the Non-Call                                         Period            in    each        case          at    the    direction                 of the

 applicable               Required                Redemption                       Percentage                   The         Notes            will       be    subject           to     mandatory                     redemption                  on        any
 Payment               Date           to    the        extent               that    any        of the Coverage                          Tests are not satisfied                                  as       described                  herein                The
 Notes          will       be        subject           to    Special               Redemption                       at    the         discretion             of     the       Servicer               to    the        extent              that    at       any
 time during                 the       Replacement                          Period            the       Servicer            cannot                                                               additional                 or
                                                                                                                                                  identify          satisfactory                                                      replacement
 Collateral               Obligations                   The Notes                       will   be        subject          to     Refinancing                  after the              fifth      anniversary                     of the Closing
 Date        on      the    terms and                  conditions                   described herein                             After redemption                         in        full    of the Notes the Preference
 Shares           will     be                          to    Optional                                                in    whole                   in part          on
                                     subject                                            Redemption                                           or                               any     Payment Date                          by the Issuer                    at

 the       direction             of the               Holders                 of    the                                                            of        the     Preference                   Shares                        the
                                                                                               requisite                 percentage                                                                                   at                   applicable

 Redemption                  Price          pursuant                   to the       Preference Share                            Documents                    to     the extent               legally            permitted                  provided
 however               that      the        Preference                      Shares           must         be    redeemed on                        or     prior          to    the         Scheduled                  Preference                  Shares

 Redemption                   Date              See     Description                          of the SecuritiesOptional                                        Redemption Optional Redemption
 Redemption                  by Refinancing                                 Mandatory                          Redemption                        of the      Notes Special Redemption of Notes
 If   the       Servicer             Does         Not        Identify               Replacement                     Collateral                   Obligations as Contemplated                                          by the Indenture
 and       Priority of Payments                                               The                              amount of                    the    Notes           will        be payable                 at        the    Stated
                                                                                         principal                                                                                                                                         Maturity
 unless         redeemed               or        paid        in    full       prior          thereto           The Preference Shares                                 are       scheduled                  to    be redeemed at their

 Redemption                  Price          on the Scheduled                             Preference Shares Redemption                                               Date            unless        redeemed                  prior          thereto



 Application                    is    expected                   to     be        made         to       list    the        Senior                 Notes       on the regulated                                 market                of the           Irish

 Stock          Exchange                   the         ISE                     However                    there can be                       no assurance                      that         the ISE                 will        in    fact       accept
 the listing of the Senior                                   Notes                                                   that such                                                  maintained
                                                                              or        if   accepted                                            listing      will        be                                         Furthermore                           the
 Co-Issuers                will        not        be        required                to       maintain                                       on         stock exchange                           in   the                                     Union
                                                                                                                         listing                                                                                    European                                  if


 compliance                     with             requirements                            of     the        European                          Commission                        on               member                     state            becomes
 burdensome                     in    the sole judgment                                  of the Servicer



 It   is        condition of the issuance                                     of the Securities                          that               the    Class A-la Notes                          be rated                Aaa              by    Moodys
 Investors             Service                  Inc     Moodys                               and        AAA                           Standard                     Poors Ratings Services
                                                                                         SP
                                                                                                                           by                                                                                                             division           of
 The McGraw-Hill                            Companies                         Inc                          and           together                with    Moodys                     the    Rating Agencies                                       ii         the

 Class A-lb Notes                          be rated               at    least       Aal by                 Moodys                     and        rated       AAA               by     SP             iii the Class A-2 Notes
 be    rated         at    least       Aa2                  by     Moodys                    and    at     least          AA                by    SP           iv         the        Class                Notes            be    rated           at    least

 A2             by   Moodys                     and     at    least                      by    SP                        the         Class             Notes         be       rated        at    least          Baa2                 by     Moodys
 and       at   least       BBB                  by     SP              and        vi        the    Class                  Notes             be    rated       at    least          Ba2              by    Moodys                     and        at    least

 BB             by     SP              Each            of the           above            ratings          assumes                    that    no     Maturity              Extension                  occurs               after       the    Closing




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 Date              credit           rating        is    not            recommendation                          to         buy         sell       or     hold           securities              and          may        be    subject         to

 revision        or     withdrawal                at    any        time by             the       assigning                Rating            Agency                    The        Preference                 Shares          will not        be

 rated     by any credit rating                        agency


 No      person          has       been         authorized               to      make             or    provide                 any     representation                           or     information                    regarding           the

 Co-Issuers              or        the     Securities                 other           than        as        contained                 in     this           Offering                  Memorandum                             Any          such

                               or    information should                           not        be    relied                         as    having               been           authorized                 by    the       Co-Issuers           or
 representation                                                                                                    upon
 the     Initial      Purchaser                  The         delivery            of    this        Offering                Memorandum                            at    any        time does                 not    imply that              the

 information contained                          in     it   is   correct         as    of any           time subsequent                           to the date                    of   this    Offering             Memorandum
 The       Co-Issuers              disclaim any                  obligation                to     update          such           information                     and        do        not     intend         to    do       so     Unless

 otherwise            indicated            all    information in                      this       Offering            Memorandum                             is    given           as    of the date               of    this     Offering

 Memorandum


 This Offering                Memorandum                         has     been          prepared              by      the        Co-Issuers                   solely          for       use        in    connection               with the

 listing     of the           Senior        Notes            and       the       offering              of the        Securities                  as     described                 herein               Unless           as   otherwise

 provided          herein            the        Co-Issuers              have          taken        reasonable                    care        to    ensure that                        facts        stated         in this        Offering
 Memorandum                   are        true    and         accurate            in   all       material          respects              and       that       there           have           not been          omitted            material

 facts     the     omission               of which               would make                      misleading                 in       any      material                 respect              any        statements            of fact        or

 opinion       herein              The Co-Issuers accept                              responsibility                   accordingly



 The       information                   appearing               in    the       sections              entitled             Risk FactorsRelating                                              to       Certain          Conflicts           of

 InterestThe                  Issuer        Will Be                Subject            to    Various            Conflicts                of Interest Involving                                  the      Servicer               and      The
 Servicer             and      the       information                  with       respect           to       the     Servicer                Letter           Disclosure                     has     been      prepared               by    the

 Servicer          and       has     not been               independently                    verified             by       the       Initial       Purchaser or the Co-Issuers                                               The     Initial


 Purchaser              and        the     Co-Issuers                  do     not          assume            any           responsibility                        for        the       accuracy               completeness                    or

 applicability                of     such         information                    except            that           the       Co-Issuers                      assume                responsibility                   for       accurately

 reproducing             such        information                  in   this      Offering              Memorandum


 None       of the          Initial       Purchaser                the      Servicer              except with                     respect              to   the        sections              entitled         Risk Factors
 Relating          to    Certain Conflicts                         of InterestThe                            Issuer             Will        Be     Subject                  to    Various              Conflicts             of Interest

 Involving            the     Servicer               and         The          Servicer                 and    with              respect           to    the           Servicer          Letter           Disclosure                  or    the

 Trustee         makes any                representation                    or    warranty                                      or    implied               as to           the       accuracy            or completeness                    of
                                                                                                            express
 the     information                 in    this        Offering              Memorandum                              Each             person            receiving                     this     Offering                Memorandum
 acknowledges                  that       such person has not relied on                                      the      Initial          Purchaser                      the    Servicer              except with respect to
 the     section        entitled          Risk FactorsRelating                                     to       Certain             Conflicts              of InterestThe                              Issuer Will Be Subject

 to    Various           Conflicts              of Interest                 Involving              the       Servicer                  and         The                Servicer                and       with       respect           to    the

 Servicer          Letter           Disclosure                   or    the       Trustee               or                                   affiliated                 therewith                  in    connection                with      its
                                                                                                             any          person

 investigation                of the accuracy                    of such              information or                      its    investment                  decision                  Each person contemplating

 making            an        investment                 in       the        Securities                 must          make              its        own             investigation                     and       analysis               of    the

 creditworthiness                    of the Co-Issuers                        and          its    own        determination                        of the              suitability             of any         such           investment

 with particular                   reference           to    its      own        investment                 objectives                and      experience                        and    any        other      factors            that     may
 be relevant            to    it   in    connection               with such                investment



 THE SECURITIES HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE UNITED STATES
 SECURITIES AND EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION OR
 OTHER REGULATORY   AUTHORITY AND NONE OF THE FOREGOING AUTHORITIES    HAS
 CONFIRMED THE ACCURACY OR DETERMINED THE ADEQUACY OF THIS OFFERING
 MEMORANDUM ANY REPRESENTATION TO THE CONTRARY IS CRIMINAL OFFENSE

 This Offering                Memorandum                         contains             summaries               of certain                documents                       The           summaries              do        not purport           to

 be complete              and       are     qualified             in   their entirety                  by    reference                 to    such           documents                   Each           person receiving                    this




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                   Memorandum                                                                 such       person has been
 Offering                                             acknowledges                  that                                                       afforded         an                                                 from
                                                                                                                                                                      opportunity to request
 the     Issuer        and      to     review              and      has     received               all   additional              information considered                                 such                             be
                                                                                                                                                                                  by                person         to

 necessary to                verify         the
                                                      accuracy            and       completeness                    of the          infonnation               herein          Requests            and     inquiries

 regarding             this    Offering               Memorandum                    or    such          documents               should be              directed       to    the    Issuer in care               of the
 Initial     Purchaser                at    11    Madison                Avenue New                      York New                   York         10010         Attention               CDO       Group             Such
       may also
 requests                              be       made        to     the Listing            Agent          at    the       address set forth on                    the final                    of this Offering
                                                                                                                                                                                   page
 Memorandum


 The     Securities             are         new        issue       of securities                There          can       be no       assurance           that                             market for any                 of
                                                                                                                                                                     secondary
 the    Securities             will                         or     if                            market does develop                             that         will
                                       develop                            secondary                                                                      it
                                                                                                                                                                      provide          the    Holders        of such
 Securities            with liquidity                 of investment                 or that              will       continue                                         investors
                                                                                                    it
                                                                                                                                          Accordingly                                  should be          prepared
 to    bear the risks of holding                            the    Securities            until final                                      made thereon
                                                                                                                payment             is




 THE         CONTENTS                       OF        THIS          OFFERING                    MEMORANDUM                                   ARE NOT TO BE CONSTRUED  AS
 ACCOUNTING LEGAL                                             BUSINESS                     OR TAX ADVICE                                      EACH PROSPECTIVE  INVESTOR
 SHOULD CONSULT ITS OWN ACCOUNTANT     ATTORNEY BUSINESS ADVISOR AND TAX
 ADVISOR AS TO LEGAL BUSINESS AND TAX ADVICE NONE OF THE CO-ISSUERS     THE
 INITIAL PURCHASER THE SERVICER OR ANY OF THEIR RESPECTIVE AFFILIATES MAKES
 ANY REPRESENTATION TO ANY OFFEREE OF THE SECURITIES REGARDING          THE
 LEGALITY OF AN INVESTMENT THEREIN BY SUCH OFFEREE UNDER APPLICABLE LEGAL
 INVESTMENT OR SIMILAR LAWS OR REGULATIONS OR THE PROPER CLASSIFICATION OF
 SUCH AN INVESTMENT THEREUNDER

 This Offering                 Memorandum                        does not constitute                      an     offer         of    or    an     invitation          by     or   on    behalf       of      the    Co
 Issuers       or      the     Initial          Purchaser to                subscribe              to    or                                    of the         Securities          in
                                                                                                                purchase             any                                               any       jurisdiction            in

 which       it   is    unlawful            to    make           such      an offer           or    invitation                 The       distribution           of this Offering                 Memorandum
 and     the                         of the           Securities          in    certain                                                   be                               law         Persons                 whose
                  offering                                                                      jurisdictions                  may              restricted        by                                 into

 possession             this    Offering               Memorandum comes                              are      required           by the          Co-Issuers           and     the      Initial      Purchaser to
 inform        themselves                   about          and      to    observe             any        such         restrictions                For                                   of certain
                                                                                                                                                                description                                  further

 restrictions             on     offers           and                      of                              and
                                                             sales                  Securities                           distribution             of    this      Offering             Memorandum                       see

 Description               of the Securities                        Plan of Distribution and Transfer                                             Restrictions


 Neither the Issuer                   nor the Co-Issuer has been                                                          under                Investment
                                                                                                 registered                            the                           Company Act                 in reliance            on
 an     exclusion            from          the    definition              of investment                    company                  under         Section         3c7             under       the    Investment
 Company               Act     Section                 3c7                     Each       purchaser of Senior Notes                                 represented              by an       interest       in         Rule
 144A        Global           Note         will       be    deemed             to                        and                     and       each
                                                                                    represent                       agree                             purchaser of Class                         Notes       will        be
 required         to    represent               and    agree that                   the    purchaser                is                         such     Notes        in                          amount of              not
                                                                                                                          acquiring                                          principal
 less    than U.S.$250000                             and                                           of U.S.$ 1000
                                                             integral          multiples                                             in   excess        thereof        for    such      purchaser         and            in

 the case         of the Senior Notes each                                account          for      which        such                                                        such
                                                                                                                               purchaser          is    purchasing                      Notes and            ii         the

 purchaser          and          in the          case of the Senior Notes each                                      such       account            is      Qualified Purchaser for purposes
 of Section             3c7                Qualified                 Purchaser                          Each        purchaser              of Preference              Shares           will    be    required to
                    and
 represent                    agree that                    the    purchaser             is   acquiring             such        Preference              Shares       in      number of not               less      than
 100     Preference              Shares               and     in        integral                               of        one    Preference              Share        in                   thereof        for
                                                                                         multiples                                                                          excess                                 such
 purchaser and                 ii     the       purchaser           is         Qualified Purchaser                             See Transfer              Restrictions


               The        Issuer       and        the      Co-Issuer            may        at   any       time following                    the   Closing         Date        rely      on    exclusion         from
 the                          of investment
        definition                                               company              under         Rule         3a-7          under       the    Investment              Company             Act    Rule           3a-
        in     lieu     of the             exclusion              under        Section           3c7                upon                  receipt       of an        opinion           of counsel            from

 nationally            recognized               law firm providing that neither                                     the Issuer            nor the Co-Issuer                  is                   to register            as
                                                                                                                                                                                  required
 an    investment               company                    under                Investment                                      Act
                                                                         the                             Company                          in    reliance        on    such        exclusion          under         Rule
 3a-7    and              notice           to    the       Holders         of the Securities                             accordance              with the Indenture
                                                                                                                 in                                                                    and    the    Preference




                                                                                                               iv
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 Share        Documents                 In    connection          with the      Issuers reliance           on    Rule      3a-7    in    lieu   of Section           3c7       the

 thdenture          and     the     Preference Share               Documents           may   be   amended         without         the   consent      of any Holders            and

 without        regard        to    whether          or     not   such    amendment          adversely          affects     the    interest      of the        Holders     of the

 Securities          to    prevent           the   Issuer    from    becoming          an    investment           company           as    defined      in the        Investment

 Company            Act or to better               assure     compliance          with the requirements             of Rule        3a-7 and/or to remove transfer

 restrictions          and       other       requirements          relating       to   Section    3c7             See      Risk FactorsThe                      Servicer    May
 Cause        the    Issuer        to   Amend         the    Indenture     to     Assure Compliance               with Rule         3a-7 Without               the   Consent    of

 the   Holders of the Securities                      in      Manner That May Adversely                     Affect the Holders              of Securities



 No    invitation          to subscribe            for the Securities         may be made           to   the public        in the       Cayman       Islands



 Prospective              purchasers           are   hereby notified          that      seller    of the    Securities          may be     relying        on    an   exemption
 from     the       registration             requirements          of Section           of the     Securities        Act provided               by   Section         42    of the

 Securities         Act     Section                42
 In    this    Offering          Memorandum                  references      to    Dollars                 and    U.S.$           are    dollars     or   other      equivalent

 units    in    such       coin     or                      of the United         States    of America as           at    the   time shall be         legal tender for          all
                                         currency
 debts        public       and     private



 NO ACTION  WAS TAKEN OR IS BEING CONTEMPLATED   BY THE CO-ISSUERS THAT
 WOULD   PERMIT    PUBLIC OFFERING OF THE SECURITIES OR POSSESSION OR
 DISTRIBUTION OF THIS OFFERING MEMORANDUM   OR ANY AMENDMENT THEREOF
 OR SUPPLEMENT THERETO OR ANY OTHER OFFERING MATERIAL RELATING TO
 THE SECURITIES IN ANY JURISDICTION OTHER THAN IRELAND WHERE OR IN ANY
 OTHER CIRCUMSTANCES IN WHICH ACTION FOR THOSE PURPOSES IS REQUIRED
 NOTHING CONTAINED     HEREIN SHALL CONSTITUTE  AN OFFER TO SELL OR
 SOLICITATION OF AN OFFER TO PURCHASE ANY SECURITIES IN ANY JURISDICTION
 WHERE IT IS UNLAWFUL TO DO SO ABSENT THE TAKING OF SUCH ACTION OR THE
 AVAILABILITY OF AN EXEMPTION THEREFROM

 THIS DOCUMENT IS CONSIDERED AN ADVERTISEMENT FOR PURPOSES OF
 APPLICABLE MEASURES IMPLEMENTING    E.U DIRECTIVE 2003/71/EC
 PROSPECTUS  PREPARED PURSUANT TO THE PROSPECTUS DIRECTIVE WILL
 BE PUBLISHED WHICH CAN BE OBTAINED FROM THE ISSUER AND THE IRISH
 PAYING AGENT SEE LISTING AND GENERAL INFORMATION

                                                   NOTICE TO              NEW HAMPSHIRE                           RESIDENTS

 NEITHER   THE   FACT THAT         REGISTRATION      STATEMENT    OR AN
 APPLICATION FOR      LICENSE HAS BEEN FILED UNDER CHAPTER 421-B OF
 THE NEW HAMPSHIRE REVISED STATUTES THE                WITH THE STATE OF                                            RSA
 NEW HAMPSHIRE NOR THE FACT THAT               SECURITY IS EFFECTIVELY
 REGISTERED  OR    PERSON  IS LICENSED  IN THE  STATE OF NEW HAMPSHIRE
 CONSTITUTES    FINDING BY THE SECRETARY OF STATE OF NEW HAMPSHIRE
 THAT ANY DOCUMENT FILED UNDER RSA 421-B IS TRUE COMPLETE AND
 NOT MISLEADING NEITHER ANY SUCH FACT NOR THE FACT THAT AN
 EXEMPTION OR EXCEPTION         IS AVAILABLE    FOR      SECURITY  OR
 TRANSACTION MEANS THAT THE SECRETARY OF STATE HAS PASSED IN ANY
 WAY UPON THE MERITS OR QUALIFICATIONS OF OR RECOMMENDED OR
 GIVEN APPROVAL TO ANY PERSON SECURITY OR TRANSACTION               IT IS
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 UNLAWFUL   TO MAKE OR CAUSE TO BE MADE TO ANY PROSPECTIVE
 PURCHASER CUSTOMER OR CLIENT ANY REPRESENTATION INCONSISTENT
 WITH THE PROVISIONS OF THIS PARAGRAPH
                            NOTICE TO CONNECTICUT RESIDENTS

 THE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE CONNECTICUT SECURITIES          LAW   THE
 SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND SALE

                               NOTICE TO FLORIDA     RESIDENTS

 THE SECURITIES   OFFERED HEREBY WILL BE SOLD TO AND ACQUIRED BY THE HOLDER IN
 TRANSACTION EXEMPT UNDER SECTION      17.061 OF THE FLORIDA SECURITIES ACT     FSA   THE
 SECURITIES  HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE OF FLORIDA            IN
 ADDITION   IF  SALES  ARE MADE TO FIVE OR MORE PERSONS IN FLORIDA           ALL FLORIDA
 PURCHASERS    OTHER THAN EXEMPT INSTITUTIONS   SPECIFIED IN SECTION   17.0617 OF THE FSA
 SHALL HAVE THE PRIVILEGE OF VOIDING THE PURCHASE WITHiN THREE            DAYS AFTER THE
 FIRST TENDER    OF CONSIDERATION IS MADE BY SUCH PURCHASER        TO THE CO-ISSUERS   AN
 AGENT OF THE CO-ISSUERS   OR AN ESCROW AGENT

                              NOTICE    TO GEORGIA RESIDENTS
 THE             HAVE BEEN ISSUED OR SOLD IN RELIANCE ON PARAGRAPH 13 OF CODE
        SECURITIES
 SECTION        OF THE GEORGIA SECURITIES
             10-5-9                        ACT OF 1973  AND MAY NOT BE SOLD OR
 TRANSFERRED   EXCEPT IN  TRANSACTION WHICH IS EXEMPT UNDER SUCH ACT OR PURSUANT
 TO AN EFFECTiVE REGISTRATION UNDER SUCH ACT

                            NOTICE TO RESIDENTS      OF AUSTRALIA
 NO PROSPECTUS      DISCLOSURE DOCUMENT       OFFERING MATERIAL   OR ADVERTISEMENT         iN
 RELATION TO THE SECURITIES    HAS BEEN LODGED WITH THE AUSTRALIAN         SECURITIES   AND
 INVESTMENTS COMMISSION OR THE AUSTRALIAN STOCK EXCHANGE LIMITED ACCORDINGLY
    PERSON MAY NOT         MAKE OFFER OR INVITE APPLICATIONS     FOR THE ISSUE SALE OR
 PURCHASE    OF THE SECURITIES  WITHIN   TO OR FROM AUSTRALIA INCLUDING        AN OFFER OR
 INVITATION   WHICH IS RECEIVED BY     PERSON IN AUSTRALIA  OR     DISTRIBUTE    OR PUBLISH
 THIS INFORMATION     MEMORANDUM OR ANY OTHER PROSPECTUS DISCLOSURE DOCUMENT
 OFFERING MATERIAL      OR ADVERTISEMENT     RELATING TO THE SECURITIES      IN  AUSTRALIA
 UNLESS     THE MINIMUM AGGREGATE CONSIDERATION PAYABLE BY EACH OFFEREE IS THE U.S
 DOLLAR EQUIVALENT OF AT LEAST A$500000 DISREGARDING MONEYS LENT BY THE OFFEROR
 OR ITS ASSOCIATES OR THE OFFER OTHERWISE DOES NOT REQUIRE DISCLOSURE TO INVESTORS
 IN ACCORDANCE     WITH PART 6D.2 OF THE CORPORATIONS    ACT 2001 CWLTH OF AUSTRALIA
 AND II SUCH ACTION COMPLIES WITH ALL APPLICABLE LAWS AND REGULATIONS

                             NOTICE    TO RESIDENTS OF AUSTRIA
 THIS OFFERING MEMORANDUM         IS  CIRCULATED   IN AUSTRIA FOR THE SOLE PURPOSE OF
 PROVIDING INFORMATION ABOUT THE SECURITIES TO          LIMITED NUMBER OF SOPHISTICATED
 INVESTORS IN AUSTRIA      THIS   OFFERING MEMORANDUM        IS  MADE AVAILABLE ON THE
 CONDITION THAT   IT  IS SOLELY     FOR THE USE OF THE RECiPIENT AS         SOPHISTICATED
 POTENTIAL AND INDIVIDUALLY SELECTED INVESTOR AND MAY NOT BE PASSED ON TO ANY
 OTHER PERSON OR REPRODUCED       IN WHOLE OR IN PART    THIS OFFERING MEMORANDUM     DOES
 NOT CONSTITUTE   PUBLIC OFFERING OFFENTLICHES ANGEBOT IN AUSTRIA AND MUST NOT BE
 USED IN CONJUNCTION WITH        PUBLIC   OFFERING PURSUANT    TO THE CAPITAL MARKET ACT
 KAPITALMARKTGESETZ AND/OR THE INVESTMENT FUND ACT INVESTMENTFONDSGESETZ                 IN
 AUSTRIA CONSEQUENTLY NO PUBLIC OFFERS OR PUBLIC SALES MUST BE MADE IN AUSTRIA IN
 RESPECT OF THE SECURITIES    THE SECURITIES ARE NOT REGISTERED IN AUSTRIA IN CASE THE
 SECURITIES ARE QUALIFIED AS SHARES IN      FOREIGN INVESTMENT FUND WITHIN THE MEANING
 OF THE INVESTMENT FUND ACT THEY MIGHT BE SUBJECT TO                  LESS FAVORABLE   TAX
 TREATMENT   THAN SHARES IN INVESTMENT FUNDS ESTABLISHED IN AUSTRIA UNDER THE




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 INVESTMENT FUND ACT ALL PROSPECTIVE   INVESTORS ARE URGED TO SEEK INDEPENDENT TAX
 ADVICE THE INITIAL PURCHASER AND ITS AFFILIATES DO NOT GIVE TAX ADVICE

                          ANMERKUNG   FR   EINWOHNER       VON OSTERREICH
 DIESER  PROSPEKT WIRD IN OSTERREICH NUR ZU DEM ZWECK HERAUSGEGEBEN UM EINER
 BESCHRANKTEN     ANZAHL VON PROFESSIONELLEN MARKTTE1LNEFIMERN                 IN    OSTERREICH
 INFORMATIONEN UBER DIE ANGEBOTENEN WERTPAP1ERE          ZU GEBEN DIESER PROSPEKT WIRD
 UNTER    DER   BEDINGUNG      ZUR   VERFUGUNG       GESTELLT      DASS    DIESER       PROSPEKT
 AUSSCHUESSLICH    VOM EMPFANGER       ALS   EINEM PROFESSIONELLEN POTENTIELLEN                UND
 EINZELN  AUSGEWAHLTEN ANLEGER VERWENDET WIRD UND ER DARF NICHT AN EINE ANDERE
 PERSON WEITERGEGEBEN      ODER TEILWEISE     ODER VOLLSTANDIG        REPRODUZIERT        WERDEN
 DIESER PROSPEKT STELLT KEIN OFFENTLICHES     ANGEBOT IN OSTERREICH DAR UND DARF NICHT
 IN ZUSAMMENHANG      MIT  E1NEM OFFENTLICHEN ANGEBOT         IN  OSTERREICH IM SINNE DES
 KAPITALMARKTGESETZES     UND/ODER   DES INVESTMENTFONDSGESETZES         VERWENDET WERDEN
 FOLGLICH DURFEN IN OSTERREICH KEINE OFFENTLICHEN ANGEBOTE               ODER VERKAUFE         DER
 ANGEBOTENEN WERTPAPIEREN       DURCHGEFUHRT WERDEN        DIE WERTPAPIERE        SIND NICHT     IN

 OSTERREICH    ZUGELASSEN      SOLLTEN    DIE   WERTPAPIERE       ALS   ANTEILE      AN     EINEM
 AUSLNDISCHEN      INVESTMENTFONDS       QUAL1FIZIERT    WERDEN        KONNTEN        SIE    EINER
 UNGUNSTIGEREN     BESTEUERUNG      ALS    ANTE1LE    AN  IN     OSTERREICH      GEMASS        DEM
 INVESTMENTFONDSGESETZ     ERRICHTETEN INVESTMENTFONDS        UNTERLIEGEN ALLE KIiNFTIGEN
 ANLEGER   WERDEN DAHER AUFGEFORDERT         UNABHANGIGE     STEUERBERATUNG         EINZUHOLEN
 DER ERSTKAUFER     UND DIE MIT IBM VERBUNDENEN            UNTERNEHMEN        ERTEILEN      KEINE
 STEUERLICHE BERATUNG

                                NOTICE TO RESIDENTS       OF BAHRAIN

 EACH     OF THE          THE SERVICER AND THE INITIAL PURCHASER
                   CO-ISSUERS                                      REPRESENTS AND
 WARRANTS THAT     HAS NOT MADE AND WILL NOT MAKE ANY INVITATION TO THE PUBLIC IN
                     IT

 THE STATE OF BAHRAIN TO SUBSCRIBE FOR THE SECURITIES AND THAT THE DOCUMENT WILL
 NOT BE ISSUED PASSED TO OR MADE AVAILABLE TO THE PUBLIC GENERALLY

                                NOTICE TO RESIDENTS OF BELGIUM

 THE SECURITIES MAY NOT BE OFFERED SOLD TRANSFERRED        OR DELIVERED IN OR FROM
 BELGIUM AS PART OF THEIR INITIAL DISTRIBUTION  OR AT ANY TIME THEREAFTER  DIRECTLY
 OR INDIRECTLY UNLESS THEY SHALL EACH HAVE     NOMINAL AMOUNT OF EUR 50000 OR MORE

 ANY OFFER TO    SELL OR SALE OF SECURITIES     MUST BE MADE IN COMPLIANCE WITH THE
 PROVISIONS  OF THE LAW OF JULY 14 1991 ON CONSUMER PROTECTION AND TRADE PRACTICES
 SUR LES PRATIQUES DU COMMERCE ET SUR LINFORMATION                 ET LA PROTECTION       DU
 CONSOMMATEUR/BETREFFENDE         DE   HANDELSPRAKTIJKEN      EN   DE   VOORLICHTING      EN
 BESCHERMING   VAN DE CONSUMENT TO THE EXTENT APPLICABLE          PURSUANT    TO THE ROYAL
 DECREE OF DECEMBER     2000 RENDANT   APPLICABLES   AUX INSTRUMENTS    FINANCIERS    ET AUX
 TITRES ET VALEURS    CERTAINES DISPOSITIONS     DE LA LOI DU 14 JUILLET 1991       SUR LES
 PRATIQUES    DU    COMMERCE    ET   SUR     LINFORMATION      ET   LA    PROTECTION      DU
 CONSOMMATEUR/WAARBIJ        SOMMIGE    BEPALINGEN    VAN DE WET VAN           14 JULI   1991

 BETREFFENDE DE HANDELSPRAKTIJKEN       EN DE VOORLICHTING      EN BESCHERMING       VAN DE
 CONSUMENT     VAN TOEPASSING WORDEN        VERKLAARD     OP FINANCIELE     INSTRUMENTEN
 EFFECTEN EN WAARDEN

                                NOTICE TO CANADIAN        RESIDENTS

  RESALERESTAICTIOJVS

 THE DISTRIBUTION     OF THE SECURITIES  IN CANADA   IS BEING MADE ONLY ON      PRIVATE
 PLACEMENT    BASIS EXEMPT FROM THE REQUIREMENT    THAT THE CO-ISSUERS PREPARE AND FILE
   PROSPECTUS WITH THE SECURITIES      REGULATORY AUTHORITIES   IN EACH PROVINCE WHERE

 TRADES OF SECURITIES     ARE MADE    ANY RESALE OF THE SECURITIES IN CANADA MUST BE
 MADE UNDER APPLICABLE SECURITIES          LAWS WHICH    WILL VARY DEPENDING    ON THE
 RELEVANT   JURISDICTION   AND WHICH MAY REQUIRE RESALES TO BE MADE UNDER AVAILABLE




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 STATUTORY   EXEMPTIONS   OR UNDER     DISCRETIONARY     EXEMPTION GRANTED BY THE
 APPLICABLE CANADIAN SECURITIES REGULATORY AUTHORITY       PURCHASERS ARE ADVISED TO
 SEEK LEGAL ADVICE PRIOR TO ANY RESALE OF THE SECURITIES

 REPRESENTA      TIONS OFP/R     C/IA   SEAS

 BY PURCHASING  SECURITIES IN CANADA  AND ACCEPTING  PURCHASE                                           CONFIRMATION
 PURCHASER  IS REPRESENTING TO THE CO-ISSUERS AND THE DEALER                                           FROM       WHOM       THE
 PURCHASE CONFIRMATION IS RECEIVED THAT

              THE  PURCHASER   IS ENTITLED   UNDER APPLICABLE   PROVINCIAL  SECURITIES  LAWS TO
              PURCHASE  THE SECURITIES   WITHOUT  THE BENEFIT OF   PROSPECTUS   QUALIFIED UNDER
              THOSE SECURITIES LAWS
              WHERE REQUIRED        BY    LAW     THAT    THE PURCHASER       IS   PURCHASING     AS PRINCIPAL    AND NOT AS
              AGENT
              THE PURCHASER       HAS REVIEWED           THE TEXT      ABOVE UNDER RESALE RESTRICTIONS                AND
              THE    PURCHASER          ACKNOWLEDGES            AND     CONSENTS     TO   THE   PROVISION        OF    SPECIFIED
              INFORMATION   CONCERNING   ITS  PURCHASE  OF THE                        SECURITIES   TO THE        REGULATORY
              AUTHORITY  THAT BY LAW IS ENTITLED TO COLLECT THE INFORMATION

 FURTHER  DETAILS  CONCERNING                     THE     LEGAL        AUTHORITY       FOR      THIS   INFORMATION          ARE
 AVAILABLE ON REQUEST

 RIG/ITS   OFA   CTIOIV-   ONTARIO         C/IA   SEAS    ONL

 UNDER ONTARIO    SECURITIES  LEGISLATION CERTAIN PURCHASERS WHO PURCHASE          SECURITY
 OFFERED BY THIS OFFERING MEMORANDUM DURING THE PERIOD OF DISTRIBUTION            WILL HAVE
    STATUTORY    RIGHT OF ACTION FOR DAMAGES          OR WHILE STILL THE OWNER OF THE
 SECURITIES   FOR RESCISSION AGAINST THE CO-ISSUERS IN THE EVENT THAT THIS DOCUMENT
 CONTAINS     MISREPRESENTATION WITHOUT REGARD TO WHETHER THE PURCHASER RELIED ON
 THE MISREPRESENTATION       THE RIGHT OF ACTION FOR DAMAGES IS EXERCISABLE NOT LATER
 THAN THE EARLIER OF 180 DAYS FROM THE DATE THE PURCHASER FIRST HAD KNOWLEDGE OF
 THE FACTS GIVING RISE TO THE CAUSE OF ACTION AND THREE YEARS FROM THE DATE ON
 WHICH PAYMENT IS MADE FOR THE SECURITIES           THE RIGHT OF ACTION FOR RESCISSION     IS

 EXERCISABLE NOT LATER THAN 180 DAYS FROM THE DATE ON WHICH PAYMENT IS MADE FOR
 THE SECURITIES   IF  PURCHASER ELECTS TO EXERCISE THE RIGHT OF ACTION FOR RESCISSION
 THE PURCHASER WILL HAVE NO RIGHT OF ACTION FOR DAMAGES AGAINST THE CO-ISSUERS            IN
 NO CASE WILL THE AMOUNT RECOVERABLE         IN ANY ACTION EXCEED   THE PRICE AT WHICH THE
 SECURITIES  WERE OFFERED TO THE PURCHASER        AND IF THE PURCHASER IS SHOWN TO HAVE
 PURCHASED   THE SECURITIES WITH KNOWLEDGE OF THE MISREPRESENTATION THE CO-ISSUERS
 WILL HAVE NO LIABILITY IN THE CASE OF AN ACTION FOR DAMAGES THE CO-ISSUERS WILL
 NOT BE LIABLE FOR ALL OR ANY PORTION OF THE DAMAGES THAT ARE PROVEN TO NOT
 REPRESENT    THE DEPRECIATION      IN  VALUE   OF THE   SECURITIES  AS     RESULT   OF THE
 MISREPRESENTATION     RELIED   UPON THESE RIGHTS ARE IN ADDITION TO AND WITHOUT
 DEROGATION    FROM ANY OTHER RIGHTS OR REMEDIES AVAILABLE AT LAW TO AN ONTARIO
 PURCHASER     THE FOREGOING IS        SUMMARY OF THE RIGHTS AVAILABLE TO AN ONTARIO
 PURCHASER      ONTARIO PURCHASERS        SHOULD  REFER TO THE COMPLETE        TEXT OF THE
 RELEVANT   STATUTORY   PROVISIONS

 EJVFORCEIWEJVT     OFLEGAL    RIG/ITS

 ALL OF THE ISSUERS AND CO-ISSUSERS    DIRECTORS AND OFFICERS AS WELL AS THE EXPERTS
 NAMED HEREIN MAY BE LOCATED OUTSIDE OF CANADA AND AS            RESULT IT MAY NOT BE
 POSSIBLE FOR CANADIAN PURCHASERS    TO EFFECT SERVICE OF PROCESS WITHIN CANADA UPON
 THE CO-ISSUERS  OR THOSE PERSONS    ALL OR    SUBSTANTIAL PORTION OF THE CO-ISSUERS
 ASSETS  AND THE ASSETS OF THOSE PERSONS MAY BE LOCATED OUTSIDE OF CANADA AND AS
 RESULT   IT MAY NOT BE POSSIBLE TO SATISFY      JUDGMENT   AGAINST THE CO-ISSUERS OR
 THOSE PERSONS IN CANADA OR TO ENFORCE        JUDGMENT   OBTAINED IN CANADIAN COURTS
 AGAINST THE CO-ISSUERS OR THOSE PERSONS OUTSIDE OF CANADA




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  TAL4 TIOAAiV/       ELIGIBILITY FOA I1VVESTkIE1VT

  CANADIAJ.T   PURCHASERS  OF SECURITIES SHOULD CONSULT   THEIR OWN LEGAL AND TAX
  ADVISORS WITH RESPECT TO THE TAX CONSEQUENCES   OF AN INVESTMENT IN THE SECURITIES
  IN THEIR   PARTICULAR CIRCUMSTANCES AND ABOUT THE ELIGIBILITY OF THE SECURITIES FOR
  INVESTMENT BY THE PURCHASER UNDER RELEVANT    CANADIAN LEGISLATION

                                NOTICE TO THE PUBLIC OF       CAYMAN   ISLANDS

  NO            MAY BE MADE TO THE PUBLIC IN THE CAYMAN ISLANDS TO SUBSCRIBE FOR
         INVITATION
  SECURITIES OF THE ISSUER AND THIS DOCUMENT MAY NOT BE ISSUED OR PASSED TO ANY
  SUCH PERSON

                                     NOTICE TO RESIDENTS       OF FINLAND

  THIS DOCUMENT HAS BEEN PREPARED FOR PRIVATE INFORMATION PURPOSES OF INTERESTED
  INVESTORS   ONLY IT MAY NOT BE USED FOR AND SHALL NOT BE DEEMED      PUBLIC OFFERING
  OF THE SECURITIES   THE FINNISH FINANCIAL SUPERVISION AUTHORITY RAHOITUSTARKASTUS
  HAS NOT APPROVED     THIS DOCUMENT AND HAS NOT AUTHORIZED       ANY OFFERING OF THE
  SUBSCRIPTION   OF THE SECURITIES  ACCORDINGLY THE SECURITIES MAY NOT BE OFFERED OR
  SOLD IN FINLAND OR TO RESIDENTS     THEREOF EXCEPT AS PERMITTED BY FINNISH LAW THIS
  DOCUMENT IS STRICTLY FOR PRIVATE USE BY ITS HOLDER AND MAY NOT BE PASSED ON TO
  THIRD    PARTIES

                                      NOTICE TO RESIDENTS      OF FRANCE

  NO PROSPECTUS   INCLUDING ANY AMENDMENT SUPPLEMENT            OR REPLACEMENT     THERETO HAS
  BEEN PREPARED IN CONNECTION WITH THE OFFERING OF THE SECURITIES               THAT HAS BEEN
  APPROVED BY THE AUTORITE DES MARCHES FINANCIERS            OR BY THE COMPETENT     AUTHORITY
  OF ANOTHER STATE THAT IS       CONTRACTING PARTY TO THE AGREEMENT ON THE EUROPEAN
  ECONOMIC   AREA THAT HAS BEEN RECOGNIZED IN FRANCE NO SECURITIES                   HAVE BEEN
  OFFERED OR SOLD AND WILL BE OFFERED OR SOLD DIRECTLY OR INDIRECTLY TO THE PUBLIC
  IN FRANCE   EXCEPT TO QUALIFIED     INVESTORS INVESTISSEURS         QUALIFIES AND/OR      TO
  LIMITED CIRCLE OF INVESTORS CERCLE RESTREINT         DINVESTISSEURS    ACTING  FOR  THEIR  OWN
  ACCOUNT AS DEFINED IN ARTICLE        411-2 OF THE FRENCH      CODE MONETAIRE ET FINANCIER
  AND APPLICABLE REGULATIONS THEREUNDER             NONE OF THIS OFFERING MEMORANDUM OR
  ANY OTHER MATERIALS RELATED TO THE OFFERING OR INFORMATION CONTAINED THEREIN
  RELATING TO THE SECURITIES HAS BEEN RELEASED         ISSUED OR DISTRIBUTED   TO THE PUBLIC IN
  FRANCE EXCEPT TO QUALIFIED INVESTORS        INVESTISSEURS    QUALIFIES AND/OR TO       LIMITED
  CIRCLE OF INVESTORS CERCLE RESTREINT         DINVESTISSEURS     MENTIONED   ABOVE AND THE
  DIRECT OR INDIRECT  RESALE TO THE PUBLIC IN FRANCE OF ANY SECURITIES ACQUIRED BY ANY
  QUALIFIED INVESTORS INVESTISSEURS      QUALIFIES AND/OR ANY INVESTORS BELONGING TO
  LIMITED CIRCLE OF INVESTORS    CERCLE RESTREINT DINVESTISSEURS MAY BE MADE ONLY AS
  PROVIDED BY ARTICLES     412-1  AND    62 1-8 OF THE FRENCH CODE MONETAIRE ET FINANCIER
  AND APPLICABLE REGULATIONS THEREUNDER
                                    NOTICE TO RESIDENTS OF GERMANY

  THE   SECURITIES   MAY ONLY BE ACQUIRED           IN  ACCORDANCE    WITH   THE   GERMAN
  WERTPAPIERPROSPEKTGESETZ      SECURITIES   PROSPECTUS   ACT AND THE INVESTMENTGESETZ
  INVESTMENT ACT THE SECURITIES ARE NOT REGISTERED OR AUTHORIZED FOR DISTRIBUTION
  UNDER THE INVESTMENT ACT AND MAY NOT BE AND ARE NOT BEING OFFERED OR ADVERTISED
  PUBLICLY OR OFFERED      SIMILARLY    UNDER THE INVESTMENT     ACT OR THE SECURITIES
  PROSPECTUS ACT THEREFORE      THIS OFFER IS ONLY BEING MADE TO RECIPIENTS  TO WHOM THIS
  DOCUMENT IS PERSONALLY         ADDRESSED    AND DOES NOT CONSTITUTE AN OFFER OR
  ADVERTISEMENT TO THE PUBLIC THE SECURITIES       CAN ONLY BE ACQUIRED FOR       MINIMUM
  PURCHASE   PRICE OF AT LEAST       50000 EXCLUDING COMMISSIONS AND OTHER FEES PER
  PERSON   ALL PROSPECTIVE INVESTORS ARE URGED TO SEEK INDEPENDENT TAX ADVICE NONE
  OF THE CO-ISSUERS   THE TRUSTEE THE SERVICER THE INITIAL PURCHASER       OR ANY OF THEIR
  RESPECTIVE  AFFILIATES GIVES ANY TAX ADVICE




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                              NOTICE TO RESIDENTS    OF GREECE

 THIS DOCUMENT AND THE SECURITIES     TO WHICH IT RELATES AND ANY OTHER MATERIAL
 RELATED THERETO MAY NOT BE ADVERTISED DISTRIBUTED       OR OTHERWISE MADE AVAILABLE
 TO THE PUBLIC IN GREECE THE GREEK CAPITAL     MARKET COMMITTEE HAS NOT AUTHORISED
 ANY PUBLIC OFFERING OF THE SUBSCRIPTION   OF THE SECURITIES   ACCORDINGLY SECURITIES
 MAY NOT BE ADVERTISED DISTRIBUTED    OR IN ANY WAY OFFERED OR SOLD IN GREECE OR TO
 RESIDENTS THEREOF EXCEPT AS PERMITTED BY GREEK LAW

        NOTICE TO RESIDENTS   OF THE   HONG KONG    SPECIAL ADMINISTRATIVE   REGION
    THE SECURITIES HAVE NOT BEEN OFFERED OR SOLD AND WILL NOT BE OFFERED OR SOLD IN
 HONG KONG BY MEANS OF ANY DOCUMENT OTHER THAN             TO PERSONS WHOSE ORDINARY
 BUSINESS IT IS TO BUY OR SELL SHARES OR DEBENTURES   WHETHER AS PRINCIPAL OR AGENT
 II TO PROFESSIONAL INVESTORS AS DEFINED IN THE SECURITIES AND FUTURES ORDINANCE
 CAP 571 OF HONG KONG AND ANY RULES MADE UNDER THAT ORDINANCE OR III IN OTHER
 CIRCUMSTANCES WHICH DO NOT RESULT         IN THE DOCUMENT BEING       PROSPECTUS     AS
 DEFINED IN THE COMPANIES ORDINANCE        CAP 32   OF  HONG   KONG  OR  WHICH  DO  NOT
 CONSTITUTE AN OFFER TO TI-IF PUBLIC WITHIN THE MEANING   OF THAT ORDINANCE AND      NO
 ADVERTISEMENT     INVITATION OR DOCUMENT RELATING TO THE SECURITIES    HAS BEEN ISSUED
 OR POSSESSED    FOR THE PURPOSES OF ISSUE OR WILL BE ISSUED OR POSSESSED FOR THE
 PURPOSES OF ISSUE WHETHER IN HONG KONG OR ELSEWHERE WHICH IS DIRECTED AT OR THE
 CONTENTS   OF WHICH ARE LIKELY TO BE ACCESSED OR READ BY THE PUBLIC OF HONG KONG
 EXCEPT IF PERMITTED UNDER THE SECURITIES       LAWS OF HONG KONG OTHER THAN ANY
 ADVERTISEMENT     INVITATION OR DOCUMENT WITH RESPECT TO SECURITIES WHICH ARE OR
 ARE INTENDED TO BE DISPOSED OF ONLY TO PERSONS OUTSIDE HONG KONG OR ONLY TO
 PROFESSIONAL INVESTORS AS DEFINED IN THE SECURITIES       AND FUTURES ORDINANCE AND
 ANY RULES MADE UNDER THAT ORDINANCE

                          NOTICE TO RESIDENTS       OF INDONESIA

 THE SECURITIES MAY NOT BE OFFERED AND/OR ONSOLD DIRECTLY OR INDIRECTLY  WITHIN THE
 TERRITORY OF INDONESIA OR TO INDONESIAN CITIZENS OR RESIDENTS   IN   MANNER WHICH
 CONSTITUTES    PUBLIC OFFER UNDER THE LAWS AND REGULATIONS OF INDONESIA

                              NOTICE TO RESIDENTS OF ISRAEL

 THIS DOCUMENT WILL BE DISTRIBUTED   TO ISRAELI RESIDENTS ONLY IN    MANNER THAT WILL
 NOT CONSTITUTE AN OFFER TO THE PUBLIC IN ACCORDANCE WITH SECTIONS 15 AND iSA OF
 THE SECURITIES  LAW 1968 SPECIFICALLY THIS DOCUMENT MAY ONLY BE DISTRIBUTED       TO
 INVESTORS OF THE TYPES LISTED IN THE FIRST ADDENDUM OF THE SECURITIES LAW 1968 AND
 IN ADDITION  TO NOT MORE THAN 35 OTHER INVESTORS RESIDENT      IN ISRAEL DURING ANY
 GIVEN 12 MONTH PERIOD

                              NOTICE   TO RESIDENTS OF ITALY
 THIS   DOCUMENT MAY NOT BE DISTRIBUTED     TO MEMBERS OF THE PUBLIC  IN ITALY   THE
 ITALIAN COMMISSIONE NAZIONALE PER LA SOCIETA      LA BORSA HAS NOT AUTHORIZED ANY
 OFFERING OF THE SUBSCRIPTION OF THE SECURITIES  ACCORDINGLY THE SECURITIES MAY NOT
 BE OFFERED OR SOLD IN ITALY OR TO RESIDENTS THEREOF EXCEPT AS PERMITTED BY ITALIAN
 LAW
                              NOTICE TO RESIDENTS OF JAPAN

 THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED UNDER THE SECURITIES AND
 EXCHANGE LAW OF JAPAN THE SEL AND THE SECURITIES MAY NOT BE OFFERED OR SOLD
 DIRECTLY OR INDIRECTLY IN JAPAN OR TO OR FOR THE BENEFIT OF ANY RESIDENT OF JAPAN
 INCLUDING JAPANESE CORPORATIONS   OR TO OTHERS FOR RE-OFFERING OR RESALE DIRECTLY
 OR INDIRECTLY IN JAPAN OR TO ANY RESIDENT OF JAPAN EXCEPT THAT THE OFFER AND SALE
 OF THE SECURITIES IN JAPAN MAY BE MADE ONLY THROUGH PRIVATE      PLACEMENT  SALE IN
 JAPAN IN ACCORDANCE WITH AN EXEMPTION AVAILABLE UNDER THE SEL AND WITH ALL
 OTHER   APPLICABLE LAWS    AND   REGULATIONS    OF JAPAN      IN  THIS  CLAUSE
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  RESIDENT/RESIDENTSOF JAPAN SHALL HAVE THE MEANING                AS DEFINED   UNDER THE FOREIGN
  EXCHANGE AND FOREIGN TRADE LAW OF JAPAN

                                    NOTICE TO RESIDENTS      OF KOREA

  THE SECURITIES     MAY    BE OFFERED OR SOLD DIRECTLY OR INDIRECTLY IN KOREA OR TO
                           NOT
  ANY KOREAN RESIDENT      EXCEPT AS PERMITTED BY APPLICABLE   KOREAN LAW WITHOUT
  AFFECTING THE GENERALITY OF THE FOREGOING THE SECURITIES     HAVE NOT BEEN OR WILL
  NOT BE REGISTERED UNDER THE SECURITIES AND EXCHANGE LAW OF KOREA                 SEL
                                                                            THUS ANY
  OFFER OF OR INVITATION FOR OFFER OF THE SECURITIES MAY NOT BE MADE TO ANY RESIDENT
  OF KOREA OTHER THAN INSTITUTIONAL     INVESTORS WITHIN THE MEANING OF THE SEL ANY
  SECURITY PURCHASED    BY ANY KOREAN RESIDENT     THROUGH THE OFFERING MAY NOT BE
  TRANSFERRED   TO ANY KOREAN RESIDENT IN PART DURING THE ONE YEAR PERIOD FROM THE
  ISSUE DATE OF THE SECURITIES

                                 NOTICE TO RESIDENTS    OF   NEW ZEALAND
  THE SECURITIES HAVE NOT BEEN AND MAY NOT BE OFFERED OR SOLD TO ANY PERSONS               IN   NEW
  ZEALAND  WHOSE PRINCIPAL BUSINESS IS NOT THE INVESTMENT OF MONEY OR WHO                  IN   THE
  COURSE OF AND FOR THE PURPOSES OF THEIR BUSINESS DO NOT HABITUALLY INVEST               MONEY
  IN EACH CASE WITHIN THE MEANING OF SECTION 32AIII OF THE SECURITIES ACT 1978

                                    NOTICE TO RESIDENTS OF      OMAN
  THE SECURITIES CANNOT BE OFFERED    MARKETED OR SOLD IN THE SULTANATE OF OMAN
  WITHOUT  THE APPROVAL    OF THE CAPITAL  MARKET AUTHORITY   AND SUBJECT TO ANY
  CONDITIONS OR RESTRICTIONS   THAT MAY BE IMPOSED BY THAT BODY AND IF OFFERED
  MARKETED OR SOLD THROUGH      BANK LICENSED TO DO INVESTMENT BANKING BUSINESS IN
  OMAN THEN WITHOUT THE APPROVAL OF THE CENTRAL BANK OF OMAN AND THE CAPITAL
  MARKET AUTHORITY   AND SUBJECT TO ANY CONDITIONS AND RESTRICTIONS   THAT MAY BE
  IMPOSED BY THOSE BODIES

                       NOTICE TO RESIDENTS    OF PEOPLES REPUBLIC       OF CHINA

  THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED UNDER THE SECURITIES LAW
  OF THE PEOPLES REPUBLIC OF CHINA AS THE SAME MAY BE AMENDED FROM TIME TO TIME
  AND ARE NOT TO BE OFFERED OR SOLD TO PERSONS WITHIN THE PEOPLES REPUBLIC OF CHINA
  EXCLUDING THE HONG KONG AND MACAU SPECIAL ADMINISTRATIVE         REGIONS UNLESS
  PERMITTED BY THE LAWS OF THE PEOPLES REPUBLIC OF CHINA

                             NOTICE    TO RESIDENTS OF THE     PHILIPPINES

  THE   SECURITIES              OR SOLD HEREIN HAVE NOT BEEN REGISTERED WITH THE
                     BEING OFFERED
  PHILIPPINE             AND EXCHANGE
                SECURITIES               COMMISSION   SEC UNDER THE SECURITIES
  REGULATION CODE SRC AND ARE BEING OFFERED AND SOLD PURSUANT    TO SECTION 10.1I OF
  THE SRC NO WRITTEN   CONFIRMATION OF EXEMPTION HAS BEEN OBTAINED FROM THE SEC
  WITH RESPECT TO THIS MATTER ANY FUTURE OFFER OR SALE OF THE SECURITIES   IS SUBJECT

  TO REGISTRATION REQUIREMENTS  UNDER THE SRC UNLESS SUCH OFFER OR SALE QUALIFIES AS
  AN EXEMPT TRANSACTION

                                    NOTICE TO RESIDENTS OF QATAR

  NEITHER THE ISSUER NOR THE CO-ISSUER   IS AN INVESTMENT  COMPANY AUTHORISED TO
  CONDUCT INVESTMENT BUSINESSES IN THE STATE OF QATAR AS REQUIRED BY QATAR CENTRAL
  BANK RESOLUTION NO 15 SUPERVISION        RULES  AND EXECUTIVE INSTRUCTIONS    FOR
  INVESTMENT   COMPANIES    ACCORDINGLY EACH OF THE ISSUER AND THE CO-ISSUER
  WARRANTS AND REPRESENTS THAT IT HAS NOT MADE AND WILL NOT MAKE ANY INVITATIONS
  TO THE PUBLIC IN THE STATE OF QATAR AND NEITHER THIS OFFERING MEMORANDUM      NOR
  ANY OTHER OFFERING MATERIAL RELATING TO THE SECURITIES WILL BE ISSUED OR MADE
  AVAILABLE TO THE PUBLIC GENERALLY




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                      NOTICE TO RESIDENTS   OF THE KINGDOM        OF SAUDI ARABIA

 THE OFFERING OF THE SECURITIES HAS NOT BEEN APPROVED BY THE MINISTRY OF COMMERCE
 THE MINISTRY   OF FINANCE OR THE SAUDI ARABIAN MONETARY AGENCY     ACCORDINGLY THE
 SECURITIES  MAY NOT BE OFFERED IN THE KINGDOM OF SAUDI ARABIA FURTHER EACH OF THE
 CO-ISSUERS   THE SERVICER AND THE INITIAL PURCHASER REPRESENTS AND WARRANTS THAT IT
 HAS NOT MADE AND WILL NOT MAKE ANY INVITATION       TO THE PUBLIC OF THE KINGDOM OF
 SAUDI ARABIA TO SUBSCRIBE    FOR THE SECURITIES AND THAT THIS OFFERING MEMORANDUM
 WILL NOT BE ISSUED PASSED TO OR MADE AVAILABLE TO THE PUBLIC GENERALLY IN THE
 KINGDOM OF SAUDI ARABIA

                               NOTICE TO RESIDENTS OF SINGAPORE
  THIS   DOCUMENT   HAS NOT BEEN REGISTERED AS     PROSPECTUS   WITH THE MONETARY
  AUTHORITY   OF SINGAPORE ACCORDINGLY THIS DOCUMENT AND ANY OTHER DOCUMENT OR
  MATERIAL  IN CONNECTION WITH  THE OFFER OR SALE OR INVITATION FOR SUBSCRIPTION  OR
 PURCHASE OF THE SECURITIES MAY NOT BE CIRCULATED OR DISTRIBUTED       NOR MAY THE
 SECURITIES   BE OFFERED   OR SOLD OR BE MADE THE SUBJECT OF AN INVITATION       FOR
  SUBSCRIPTION  OR PURCHASE WHETHER DIRECTLY OR INDIRECTLY TO PERSONS IN SINGAPORE
  OTHER THAN      TO AN INSTITUTIONAL    INVESTOR UNDER SECTION 274 OF THE SECURITIES AND
  FUTURES ACT CHAPTER 289 OF SINGAPORE THE               SFA
                                                        II TO   RELEVANT   PERSON OR ANY
  PERSON PURSUANT     TO SECTION      2751A AND IN ACCORDANCE WITH THE CONDITIONS
  SPECIFIED IN SECTION 275 OF THE SFA OR III OTHERWISE   PURSUANT TO AND IN ACCORDANCE
  WITH THE CONDITIONS OF ANY OTHER APPLICABLE PROVISION OF THE SFA

  WHERE THE SECURITIES      ARE SUBSCRIBED OR PURCHASED          UNDER     SECTION    275   BY   RELEVANT
  PERSON WHICH IS

                 CORPORATION  WHICH IS NOT AN ACCREDITED INVESTOR THE SOLE BUSINESS
  OF WHICH IS TO HOLD INVESTMENTS AND THE ENTIRE SHARE CAPITAL OF WHICH IS OWNED BY
  ONE OR MORE INDIVIDUALS EACH OF WHOM IS AN ACCREDITED INVESTOR OR

                      TRUST WHERE THE TRUSTEE IS NOT AN ACCREDITED INVESTOR WHOSE SOLE
  PURPOSE     IS   TO HOLD INVESTMENTS AND EACH BENEFICIARY  IS AN ACCREDITED INVESTOR
  SHARES

  THEN THE DEBENTURES    AND UNITS OF SHARES AND DEBENTURES   OF THAT CORPORATION OR
  THE BENEFICIARIES  RIGHTS AND INTEREST IN THAT TRUST SHALL NOT BE TRANSFERABLE FOR
    MONTHS AFTER THAT CORPORATION    OR THAT TRUST HAS ACQUIRED THE SECURITIES UNDER
  SECTION 275 EXCEPT

                 TO AN INSTITUTIONAL INVESTOR UNDER SECTION   274  OF THE SFA                     OR TO
          RELEVANT   PERSON    OR ANY PERSON PURSUANT     TO SECTION    2751A                      AND      IN
          ACCORDANCE WITH THE CONDITIONS SPECIFIED IN SECTION 275 OF THE SFA
                    WHERE NO CONSIDERATION   IS   GIVEN FOR THE TRANSFER         OR
                    BY OPERATION OF LAW

                                 NOTICE TO RESIDENTS OF SPAIN

  NEITHER THE SECURITIES NOR THIS DOCUMENT HAVE BEEN APPROVED OR REGISTERED IN THE
  ADMINISTRATIVE    REGISTRIES  OF THE SPANISH SECURITIES MARKETS   COMMISSION COMISION
  NACIONAL DEL MERCADO DE VALORES ACCORDINGLY THE SECURITIES MAY NOT BE OFFERED
  IN SPAIN   EXCEPT IN CIRCUMSTANCES WHICH DO NOT CONSTITUTE             PUBLIC OFFER OF
  SECURITIES   IN SPAIN WITHIN THE MEANING    OF ARTICLE  3OBIS OF THE SPANISH SECURITIES
  MARKET LAW OF 28 JULY 1988 LEY 24/1988 DE 28 DE JULIO DEL MERCADO DE VALORES AS
  AMENDED AND RESTATED       AND SUPPLEMENTAL  RULES ENACTED THEREUNDER

                              NOTICE TO RESIDENTS         OF SWITZERLAND

  THIS   DOCUMENT HAS BEEN PREPARED FOR PRIVATE INFORMATION PURPOSES OF INTERESTED
  INVESTORS   ONLY IT MAY NOT BE USED FOR AND SHALL NOT BE DEEMED   PUBLIC OFFERING




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  OF THE   SECURITIES    NO             HAS BEEN MADE UNDER SWISS
                               APPLICATION                            LAW TO PUBLICLY
  MARKET THE   SECURITIES   OR OUT OF SWITZERLAND
                              IN                      THEREFORE  NO PUBLIC OFFER OF THE
  SECURITIES  OR PUBLIC DISTRIBUTION   OF THIS DOCUMENT MAY BE MADE IN OR OUT OF
  SWITZERLAND    THIS DOCUMENT IS STRICTLY  FOR PRIVATE USE BY ITS HOLDER AND MAY NOT
  BE PASSED ON TO THIRD PARTIES

                                    NOTICE TO RESIDENTS   OF TAIWAN

  THE SECURITIES MAY NOT       BE SOLD ISSUED OR PUBLICLY OFFERED IN TAIWAN AND MAY ONLY
  BE MADE AVAILABLE TO          TAIWAN  INVESTORS ON      PRIVATE PLACEMENT BASIS OUTSIDE
  TAIWAN NO PERSON OR          ENTITY IN TAIWAN   HAS BEEN AUTHORISED TO OFFER SELL GIVE
  ADVICE REGARDING    OR       OTHERWISE    INTERMEDIATE   THE OFFERING AND SALE OF THE
  SECURITIES

                                   NOTICE TO RESIDENTS OF THAILAND

  THE SECURITIES MAY NOT BE OFFERED OR SOLD IN THAILAND OTHER THAN TO PERSONS WHO
  CONSTITUTE COMMERCIAL BANKS WITHIN THE MEANING     OF THE COMMERCIAL BANKING ACT
  OF THAILAND   1962 AND ACCORDINGLY  NO TRANSFER OF ANY SECURITIES TO PERSONS WHO
  ARE NOT COMMERCIAL BANKS WILL BE REGISTERED RECORDED      OR OTHERWISE RECOGNISED
  BY THE ISSUER THE CO-ISSUER OR REGISTRAR

                                    NOTICE   TO RESIDENTS OF TURKEY
  THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED WITH THE SERMAYE PIYASASI
  KURULU CAPITAL MARKETS       BOARD UNDER THE CAPITAL MARKETS          LAW NO 2499 AS
  AIvIENDED   AND RELATED COMMUNIQUES OF THE REPUBLIC OF TURKEY THE SECURITIES MAY
  NOT BE OFFERED OR DISTRIBUTED     IN   MANNER THAT WOULD CONSTITUTE           PUBLIC OR
  PRIVATE   OFFERING IN TURKEY AND NEITHER THIS OFFERING MEMORANDUM NOR ANY OTHER
  OFFERING MATERIAL RELATING TO THE SECURITIES       MAY BE DISTRIBUTED    IN CONNECTION
  WITH   ANY SUCH OFFERING OR DISTRiBUTION        THE SECURITIES   MAY BE ACQUIRED BY
  RESIDENTS   OF TURKEY ONLY PURSUANT  TO ARTICLE   15 OF DECREE NO 32 ON THE PROTECTION
  OF THE VALUE OF THE TURKISH CURRENCY

                        NOTICE TO RESIDENTS OF UNITED ARAB EMIRATES

  THE OFFERING OF THE SECURITIES HAS NOT BEEN APPROVED BY THE UAE CENTRAL BANK AND
  ACCORDINGLY THE SECURITIES MAY NOT BE OFFERED IN THE UNITED ARAB EMIRATES     EACH
  OF THE CO-ISSUERS  THE SERVICER AND THE INITIAL PURCHASER REPRESENTS AND WARRANTS
  THAT THE SECURITIES   MAY NOT BE OFFERED SOLD TRANSFERRED      OR DELIVERED TO THE
  PUBLIC  IN  THE UNITED ARAB     EMIRATES   FURTHER THIS OFFERING MEMORANDUM      IS

  ADDRESSED   ONLY TO THE RECIPIENT PARTY AND MAY NOT BE TRANSFERRED THEREAFTER

                        NOTICE TO RESIDENTS OF THE UNITED KINGDOM

  THIS DOCUMENT IS ONLY BEING DISTRIBUTED   TO AND IS ONLY DIRECTED AT     PERSONS WHO
  ARE OUTSIDE THE UNITED KINGDOM      II TO INVESTMENT PROFESSIONALS     FALLING WITHIN
  ARTICLE   195 OF THE FINANCIAL SERVICES AND MARKETS    ACT OF 2000        FSMA
                                                                              FINANCIAL
  PROMOTION ORDER 2005 THE ORDER OR III HIGH NET WORTH ENTITIES AND OTHER
  PERSONS TO WHOM IT MAY LAWFULLY BE COMMUNICATED        FALLING WITHIN ARTICLE 492
  TO      OF THE ORDER ALL SUCH PERSONS TOGETHER      BEING REFERRED   TO AS RELEVANT
  PERSONS     THE SECURITIES ARE ONLY AVAILABLE AND  ANY  INVITATION OFFER INDUCEMENT
  OR AGREEMENT TO SUBSCRIBE PURCHASE OR OTHERWISE ACQUIRE SUCH SECURITIES WILL BE
  ENGAGED IN ONLY WITH RELEVANT PERSONS      ANY PERSON WHO IS NOT     RELEVANT  PERSON
  SHOULD NOT ACT OR RELY ON THIS DOCUMENT OR ANY OF ITS CONTENTS

                                              STABILISATION

  IN CONNECTION WITH THE ISSUE OF THE SECURITIES  THE INITIAL PURCHASER  OR PERSONS
  ACTING ON BEHALF OF THE INITIAL PURCHASER MAY OVER-ALLOT SECURITIES      PROVIDED
  THAT THE AGGREGATE   PRINCIPAL AMOUNT OR FACE AMOUNT OF SECURITIES  ALLOTTED DOES
  NOT EXCEED 105 PER CENT OF THE AGGREGATE PRINCIPAL AMOUNT OR FACE AMOUNT OF THE




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  SECURITIESOR EFFECT TRANSACTIONS WITH      VIEW TO SUPPORTING THE MARKET PRICE OF
 THE SECURITIES  AT    LEVEL HIGHER THAN THAT MIGHT OTHERWISE    PREVAIL   HOWEVER
 THERE IS NO ASSURANCE   THAT THE INITIAL PURCHASER  OR PERSONS ACTING ON BEHALF OF
 THE INITIAL PURCHASER    WILL UNDERTAKE STABILISATION   ACTION    ANY STABILISATION
 ACTION MAY BEGIN ON OR AFTER THE DATE ON WHICH ADEQUATE PUBLIC DISCLOSURE OF THE
 FINAl TERMS OF THE OFFER OF THE SECURITIES   IS MADE AND IF BEGUN  MAY BE ENDED AT
 ANY TIME BUT IT MUST END NO LATER THAN 30 DAYS AFTER THE CLOSING DATE




                                                                      AVAILABLE INFORMATION

  To permit compliance                        with Rule              144A        under           the       Securities              Act       Rule          144A             in    connection                  with the

  sale    of the Securities                  the Issuer         and        solely          in the          case of the Notes the Co-Issuers                                        under           the    Indenture
  referred       to    under        Description                of the Securities                      and        the    Preference                 Share       Documents               will       be required to

  furnish       upon      request           of     holder of               Security              to    such        holder           and            prospective          purchaser                 designated                  by
  such    holder the information required                                 to    be delivered                 under           Rule        144Ad4                  under       the       Securities             Act        if   at


  the    time of the request the Co-Issuers                                    are    not reporting                    companies               under           Section       13    or Section                 15d             of

  the    United        States         Securities         Exchange Act of 1934                                as    amended                   the Exchange                   Act           or       exempt               from

  reporting          pursuant to Rule                   2g3    -2b        under       the    Exchange Act                           Such information may be obtained                                           directly

  from     the       Issuer      or    through          the    paying                       in Ireland                 at    the    address set forth                  on        the    final                      of this
                                                                               agent                                                                                                                page
  Offering       Memorandum


                                    INFORMATION                       AS        TO SALE WITHIN                                     THE UNITED STATES

  This Offering               Memorandum                  is   highly confidential                         and         has been              prepared by          the       Issuer       solely           for      use        in

  connection           with this offering                      This       Offering           Memorandum                            is   personal           to   each       offeree           to     whom            it    has
  been     delivered          by       the    Co-Issuers             the       Initial      Purchaser                   or    Affiliates            thereof       and        does       not constitute                        an
  offer    to            other                     or     to   the    public          generally              to    subscribe                 for    or    otherwise                           the        Securities
                 any                  person                                                                                                                                 acquire
  Distribution           of this Offering                Memorandum                   to    any        persons other                    than the offeree               and       those persons                     if    any
  retained       to     advise         such       offeree        with          respect       thereto              is    unauthorized                     and            disclosure                 of any           of        its
                                                                                                                                                                any
  contents           without        the prior written                consent          of the Issuer                     is   prohibited                  Each    prospective              purchaser in the
  United        States                                                    of this Offering                       Memorandum                                                                         and             make
                              by      accepting          delivery                                                                                  agrees to the foregoing                                    to

  no     copies       of this Offering                  Memorandum                    or    any        documents                   related          hereto       and        if    the    offeree              does        not

  purchase           Securities         or    the offering           is   terminated                  to    return           this   Offering             Memorandum                    and        all   documents
  attached       hereto        to     the     Initial     Purchaser             at    11    Madison                Avenue New                       York New               York 10010                    Attention

  CDO      Group


  Notwithstanding                  anything        to the contrary                   herein           each       prospective                 purchaser of the Securities                            and        each           of

  their respective            employees                 representatives               or other             agents            are    hereby permitted                   to disclose                to            and           all
                                                                                                                                                                                                        any

  persons        without            limitation          of any       kind        the       tax    treatment                  and    tax       structure         of the transactions                       described

  herein         For      this
                                      purpose           the    tax    treatment             of             transaction                  is   the    purported           or       claimed            U.S         federal

  income        or    state    and      local      tax    treatment            of the transaction and                              the tax          structure         of     transaction                 is   any fact
  that    may be        relevant         to      understanding             the       purported               or    claimed              U.S        federal       income           or state         and        local       tax

  treatment           of the transaction




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                                                                                                                                                          SUMMARY OF TERMS
               The following               summary of                terms does                not purport            to       be    complete          and       is
                                                                                                                                                                       qualified       in     its    entirely         by         and     should       be     read     in   conjunction            wit/i     the    more detailed           information

appearing elsewhere                   in   this       Offering           Memorandum                    and      the      documents               referred         to    in   this    Offering           Memorandum                               Glossary          and     an Index           of Defined Terms appear                  at the         back     of
this   Offering        Memorandum
                                                                                                                                                 Principal              Terms of             the Securities

                                                                               Class A-la                        Class         A-lb              Class A-2             Notes          Class            Notes                    Class         Notes            Class            Notes                 Class                          Class     II

                                                                                      Notes                           Notes                                                                                                                                                                         Preference                     Preference

                                                                                                                                                                                                                                                                                                      Shares                         Shares

                              Type                                        Senior Secured                     Senior Secured                       Senior Secured                      Senior Secured                            Senior Secured                 Senior Secured                       Extendable                     Extendable

                                                                              Extendable                         Extendable                            Extendable                        Deferrable                               Deferrable                        Deferrable

                                                                                                                                                                                              Interest                              Interest                          Interest

                                                                                                                                                                                        Extendable                                Extendable                        Extendable


                            Issuers                                            Co-Issuers                        Co-Issuers                            Co-Issuers                        Co-Issuers                               Co-Issuers                             Issuer                          Issuer                      Issuer


             Principal Amount/Face                                       $1015000000                         $111500000                             $68000000                          $72000000                                 $75000000                         $31000000                      $52500000                        $75000000
                     Amount_U.S.$

             Expected        Moodys              Initial                         Aaa                                Aal                                   Aa2                                 A2                                   Baa2                               Ba2                                N/A                          N/A
                             Rating

         Expected          SP       Initial       Rating                        AAA                               AAA                                     AA                                                                       BBB                                BB                                 N/A                          N/A
                 Note       Interest       Rate                                LIBOR                        LIBOR               0.36%            LIBOR                0.41%          LIBOR              0.70%              LIBOR               1.55%          LIBOR               3.60%                  N/A                          N/A
                                                                                 0.245%


         Stated       Maturity           Scheduled                       November                           November                              November                           November                               November                          November                           November                    November
        Preference          Shares       Redemption                                  2021                            2021                                  2021                               2021                                     2021                              2021                            2021                         2021
                             Date

             Minimum          Denominations
                                                                              $250000                            $250000                               $250000                          $250000                                  $250000                           $250000                               N/A                          N/A
                                                                               $1000                             $1000                                 $1000                             $1000                                    $1000                             $1000
                 Integral         Multiples

                       Priority       Class                                           None                       Class A-la                              Class        A-I                    Class                         Class            Class            Class           Class              Class        Class           Class         Class

                                                                                                                                                                                                                                                                      Class                     Class        Class           Class         Class

                       Junior       Class                                     Class      A-lb               Class        A-2 Class               Class           Class              Class            Class                         Class                            Preference                           None                         None
                                                                         Class        A-2      Class             Class              Class                Class                          Preference                                Preference                          Shares

                                                                              Class            Class                Preference                         Preference                             Shares                                Shares

                                                                                 Preference                         Shares                                Shares

                                                                                     Shares

             Deferred         Interest         Notes                                   No                                No                                  No                                 Yes                                     Yes                               Yes                             N/A                         N/A
       The   Preference      Shares     will     be   issued      with        Face      Amount       of U.S.$     1000         per share

       The   Stated    Maturity       of the Notes          and    the    Scheduled            Preference       Shares         Redemption         Date     of the Preference           Shares        are subject           to    multiple     extensions      to    the applicable       Extended        Stated   Maturity    Date    in   the      case   of the

       Notes     and    the applicable           Extended         Scheduled            Preference      Shares      Redemption             Date     in     the case       of the     Preference         Shares         if   the    Issuer      provides     timely     notice      and   the    Extension     Conditions      are   satisfied        See    Risk
       Factors       The    Weighted        Average         Lives        of    the     Notes     May Vary                           Maturity     Extension             May   Result     in
                                                                                                                                                                                                    Longer      or Shorter             Holding      Period    Than        Expected            Maturity     and    Prepayment       Considerations            and

       Description         of the   Securities         Extension          of    the    Replacement        Period         the    Stated      Maturity      and    the    Scheduled      Preference            Shares    Redemption              Date
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                                 The     Senior            Notes          will        be       non-recourse                   debt obligations                         of the

                                 Co-Issuers                 The            Class                    Notes             will        be        non-recourse                    debt

                                 obligations           of the             Issuer               The        Notes         will       be       issued         pursuant              to

                                 the    Indenture



                                 The     Preference              Shares              will       be       part     of the issued                    share        capital          of

                                 the    Issuer    and accordingly                               will       not be secured                     obligations              of the

                                 Issuer           Investors                Bank                      Trust            Company                 will         act        as        the

                                 Preference            Shares             Paying               Agent            for    the        Preference               Shares            and

                                 will     perform                various              administrative                        services               pursuant                to

                                 Preference            Shares             Paying               Agency             Agreement                    dated            as     of the

                                 Closing          Date               the             Preference                        Shares                Paying                  Agency
                                 Agreement                      by        and         between               the        Issuer           and        the     Preference

                                 Shares          Paying              Agent                as        amended                 from            time         to      time            in

                                 accordance            with the terms thereof



                                 The     Preference               Shares              will      be        issued        in    two classes which                              will

                                 be    identical           in    respect              of rights             to    distributions                    except            that       the

                                 Class      II    Preference                         Shares                     are     entitled              to        the      Class           II


                                 Preference            Share          Special                  Payments                during           the        first      two         years

                                 following            the   Closing              Date          after the two-year                           anniversary                of the

                                 Closing Date                the Servicer
                                                                                               may         in    its   sole       discretion               at    any        time

                                 waive           portion             of the           Servicing                 Fees     then due               and        payable               in

                                 which      event          an amount equal                           to    such waived                  portion          will        be     paid

                                 by the Issuer              as    Class          II       Preference Share                        Special          Payments                  and

                                 ii have          total          control                  with       respect            to        the        appointment                     and

                                 removal         of the           directors                of the          Issuer        as       long        as     the        aggregate
                                 number          of        Class          II     Preference                 Shares               Outstanding                    as    of        the

                                 relevant        Voting           Record              Date          is    higher than the aggregate number
                                 of Class             Preference                     Shares          Outstanding                   as       of such           date           See

                                 Description                 of       the            SecuritiesThe                           Issuer           CharterVoting
                                 Rights


                                 Payments             to    each          Holder               of the           Notes         of each              Class             shall      be

                                 made      ratably           among               the       Holders               of the           Notes        of       that     Class           in


                                 proportion to the Aggregate                                    Outstanding                   Amount               of the Notes                  of

                                 such    Class held by each                               Holder            Payments               to       each        Holder         of the

                                 Preference            Shares             shall           be    made            ratably           among            the     Holders               of

                                 the      Preference                  Shares                   in         proportion                   to       the           Aggregate

                                 Outstanding                Amount                   of    such           Preference               Shares            held        by         each

                                 Holder          provided                 that        the        Class           II     Preference                  Share             Special

                                 Payments             shall          be        paid        solely          to     the       Holders             of       the     Class           II


                                 Preference            Shares              in        proportion to                    the     Aggregate                  Outstanding
                                 Amount          of the Class                   II   Preference                 Shares held by each                           Holder


                                 Except          as        provided                  under           Description                       of     the        Securities

                                 Priority        of    Payments                       the       Class           A-la Notes                    will       be      senior          in


                                 right    of interest and                      principal             payments               on     each       Payment Date                       to

                                 the    Class A-lb Notes                              the      Class A-2 Notes                           the       Class              Notes
                                 the    Class              Notes          the        Class                Notes        and        the       Preference                Shares
                                 the     Class        A-lb Notes                      will          be      senior           in    right           of    interest            and
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                                 principal          payments               to    the     Class A-2 Notes                         the       Class                Notes
                                the     Class             Notes           the    Class            Notes            and    the        Preference             Shares

                                the      Class           A-2        Notes         will       be        senior        in    right          of        interest        and

                                principal           payments              on     each     Payment Date                     to       the    Class                Notes
                                the     Class             Notes           the    Class            Notes            and    the        Preference             Shares

                                the     Class             Notes        will      be senior             in right          of interest             and       principal

                                payments             on    each        Payment Date                     to    the    Class             Notes              the    Class

                                      Notes         and     the       Preference              Shares               the    Class                Notes        will     be

                                 senior        in        right       of     interest          and           principal                                      on     each
                                                                                                                                payments

                                Payment             Date        to    the       Class             Notes         and       the       Preference              Shares

                                the     Class             Notes        will      be     senior         in    right of interest and                        principal

                                 payments            on each              Payment             Date       to     the       Preference                Shares          and

                                 the    Class            Preference              Shares        and       the       Class       II    Preference                 Shares

                                 will    rank pan                               in right       of interest               and     principal
                                                               passu                                                                                      payments
                                 on    each     Payment               Date        except          that                                      to      the     Holders
                                                                                                             any     payments
                                 of Class           II    Preference              Shares          of the           Class        II    Preference                 Share

                                 Special       Payments               will       have     priority            to the       extent          provided              under

                                 Description               of the SecuritiesPriority                                 of    Payments

                                 The      Securities             and        certain       other             obligations              of the           Co-Issuers

                                 will    have       the     priorities of payment                            described under                     Description
                                 of the SecuritiesPriority                              of    Payments

  Co-Issuers                     The      Issuer          has        been                                     and        exists                 an
                                                                                 incorporated                                          as                 exempted
                                 limited       liability            company under                      the    laws of the              Cayman Islands
                                 The       Issuers              activities              are       limited            to        acquiring               Collateral

                                 Obligations and                     Eligible          Investments                   entering             into       any        Hedge
                                 Agreements                 issuing             the      Securities                and     entering                 into        certain

                                 related       transactions                 The        Issuer       has been              established                as      special

                                 purpose            vehicle            for        the     purpose                  of     issuing              asset        backed

                                 securities




                                 The Co-Issuer                 is    organized           as        corporation                 under        the      laws of the

                                 State     of Delaware                    for the       sole      purpose               of co-issuing                 the       Senior

                                 Notes         The        Co-Issuer              has been              established             as          special          purpose
                                 vehicle       for the          purpose          of issuing             asset       backed           securities



                                 The      Issuer           will       not        have         any        significant                 assets          other         than

                                 Collateral               Obligations                   Eligible               Investments                                      Hedge
                                                                                                                                                 any
                                 Agreements                and        certain          other        eligible             assets            The         Collateral

                                 Obligations               Eligible             Investments                  the    rights       of the Issuer                   under

                                 any     Hedge            Agreements               and        other          collateral             will       be    pledged          to

                                 the     Trustee           as                         for                          other        things              the     Issuers
                                                                    security                   among
                                 obligations             under        the    Notes


                                 The Co-Issuer                  is   not    expected              to    have        any     significant                assets      and

                                 will not       pledge any                assets to          secure          the    Senior Notes



  Investors Corp                On       the        Closing           Date            Grayson                Investors              Corp            Investors
                                 Corp               an    exempted                limited         liability          corporation                 incorporated
                                 under     the      laws of the Cayman                         Islands             is    expected           to      purchase         all
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                                 of the Class              Preference                  Shares           and     to   finance           such purchase                    by

                                 issuing      preference               shares           the Holding Preference                                        Shares               in

                                      number        equal to            the       aggregate               number            of Class                   Preference

                                 Shares       purchased               by     it    The           Holding             Preference                 Shares        will      be

                                 offered       by       Investors            Corp             to      investors           pursuant               to         separate

                                 offering           memorandum                              the          Investors                    Corp                 Offering

                                 Memorandum                          and     are not             offered        hereby


                                 Investors         Corp         will exercise                    its    consent           and     voting             rights       in    its




                                 capacity          as           Holder             of         the       Class              Preference                  Shares              in

                                 accordance             with         the     directions                 of the         Holders              of the          Holding
                                 Preference          Shares            provided               that      Holding            Preference Shares                          held

                                 by    the   Servicer           or     any    of        its   Affiliates             will    have          no        such    right to

                                 direct      Investors           Corp             in        connection               with        the       removal               of    the

                                 Servicer          for     cause                  or         the        appointment                  of              replacement
                                 servicer           For                                of calculating                  such          consents               or    votes
                                                                purposes
                                 exercised          with        respect           to    the        Class         Preference                 Shares          held by

                                 Investors         Corp          each        consent               or   vote     exercised                 with respect               to

                                 Holding           Preference              Share              will       count        as     one           consent           or       vote

                                 exercised          with        respect            to            Class           Preference                 Share           held        by
                                 Investors         Corp          as    applicable


   Trustee                       Investors         Bank                Trust Company                          will    act       as    the       Trustee           under

                                 the   Indenture           on    behalf of the Holders of the Notes



   Servicer                      Certain      servicing           and        administrative                    functions             with respect                 to the

                                 Collateral         will    be         performed                 by     Highland            Capital              Management
                                 L.P          Delaware            limited              partnership              Highland                    Capital or                     in

                                 such        capacity            the         Servicer                          pursuant               to        the        Servicing

                                 Agreement               which         may         be         amended            from        time to             time without

                                 the   consent          of the Holders of the Securities                                         See       Risk Factors
                                 Relating          to      the        Servicing                  Agreement                  and            The             Servicing

                                 Agreement

                                 On     the        Closing            Date                       HFP          and/or        one            or        more        of        its



                                 subsidiaries             are         expected                to        purchase            all        of        the       Class           II


                                 Preference             Shares         having               an                            Face        Amount                equal          to
                                                                                                   aggregate
                                 U.S         $75000000                    directly               from         the      Issuer          at              discounted

                                 purchase          price        and       ii Highland                     Capital           or       one        or    more of           its


                                 Affiliates        other         than      HFP or any                    of    its   subsidiaries                    are    expected
                                 to    purchase          certain           of the             Class             Notes           having           an        aggregate

                                 principal          amount             equal           to     U.S.$ 16000000                          directly             from        the

                                 Issuer       at          discounted                    purchase               price        and        are           expected              to


                                 purchase          certain           of    the         Holding               Preference               Shares           having           an

                                 aggregate Face                 Amount                 equal to U.S.$20000000                                    directly         from

                                 Investors          Corp          at         discounted                  purchase               price            See        Plan           of

                                 Distribution


                                 The      Share      Registrar             will         record          in    the     register             maintained              by       it



                                 which        Preference                  Shares              are       held         by     HFP             or        any        of        its



                                 subsidiaries              Such           Preference                Shares           will    be       designated                 by    the

                                 Share       Registrar           as Class               II    Preference               Shares               HFP            and/or          its
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                                 subsidiaries               that    purchase                  Class       II    Preference                  Shares          will    agree
                                 not   to     transfer                         of    the           Class        II    Preference                  Shares       to
                                                                   any                                                                                                  any
                                 Person        other          than        Investors                  Corp              Any            transfer         of     Class        II


                                 Preference Shares                       by    HFP            or    any        of    its    subsidiaries               to    Investors

                                 Corp       will       require           redesignation                     by        the    Share           Registrar          of such

                                 Class       II        Preference                   Shares            as        Class                  Preference              Shares

                                 Investors             Corp          will           finance            the           purchase               of     any       Class         II


                                 Preference             Shares            to    be        redesignated                     in     connection                with     such

                                 transfer         by     issuing           additional                 Holding                Preference                Shares        in


                                 number equal                 to    the       aggregate number                         of and               at     price      equal to
                                 the   price       of such               Class           II    Preference                  Shares                Any     transfer         of

                                 Class        Preference                 Shares           to       HFP         or    any         of   its    subsidiaries           from

                                 Investors        Corp             will require                redesignation                     by the           Share Registrar

                                 of such      Class            Preference Shares                           as       Class        II   Preference             Shares


                                 The    Servicer              or    its    Affiliates                may        also        acquire              Securities         upon
                                 the   occurrence                   of         the        Amendment                        Buy-Out                 Option          or     in


                                 connection             with             Refinancing                       In        addition              the     Servicer        or     its


                                 Affiliates        may         acquire              all       or           portion               of any           Extension          Sale
                                                                                                    any
                                 Securities            in    connection                  with             Maturity               Extension                  See     The
                                 Servicer               Risk             FactorsRelating                               to         the        Securities

                                 Relating         to    the    Servicer                  and        Relating                     to    Certain         Conflicts          of

                                 InterestThe                   Issuer           Will          Be      Subject               to    Various            Conflicts            of

                                 Interest      Involving the Servicer                                  Description                         of the Securities

                                 Amendment Buy-Out                                   Description                     of the SecuritiesOptional

                                 RedemptionRedemption                                         by Refinancing                           Description                 of the

                                 SecuritiesExtension                                of        the     Replacement                          Period        the       Stated

                                 Maturity          and         the         Scheduled                   Preference                     Shares         Redemption
                                 Date       and        The         Servicing              Agreement


  Closing   Date                 November              30 2006

  Use of Proceeds                The   gross           proceeds            of the offering                      of the           Securities            received           on

                                 the     Closing               Date             are           expected                 to         equal            approximately

                                 $1495000000                       and     will      be used by the Issuer                                 to


                                        purchase                   portfolio          of Collateral                   Obligations


                                        fund             trust       account              for       Revolving                   Loans            the Revolving
                                        Reserve                Account                         and               trust           account            for       Delayed
                                        Drawdown                     Loans                the         Delayed                     Drawdown                   Reserve

                                        Account                    to     cover           any        future          draws            on    Revolving              Loans
                                        and       Delayed            Drawdown Loans


                                        enter          into    any       Hedge            Agreements                       as    applicable


                                        enter           into
                                                                        any          Securities                 Lending                    Agreements                and
                                        correspondingly                        to    fund the Securities                          Lending           Account


                                        enter           into
                                                                        any          Synthetic                  Security                   Agreements                and
                                        correspondingly                        to    fund the related                       accounts
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                                               repurchase                 participations             sold       to    the     Pre-Closing              Parties            to

                                               finance             the        Issuers        pre-closing               acquisition               of    Collateral


                                               Obligations



                                               fund          the     Closing           Date        Expense            Account             and       the      Interest

                                               Reserve             Account


                                               pay        certain        expenses         related         to    the    transaction and



                                               undertake certain                      related       activities




                                      See    Use          of Proceeds



   Payment      Dates                 Payment of               interest      on and             principal            of      the   Notes         will       be    made

                                      by    the    Issuer           in    U.S Dollars               on    the        first    day    of each           February

                                      May         August           and        November          of each          year        or     if   such       day      is    not

                                      Business            Day        the       next succeeding                  Business            Day          commencing
                                      May              2007         to     the    extent        of available                cash     flow        in    respect            of

                                      the Collateral                in   accordance            with the Priority of Payments



   Hedge      Agreements              At any time and                     from        time to time on                 or     after the         Closing            Date
                                      the    Issuer           at    the       direction        of the          Servicer             shall      enter        into        the

                                      Hedge          Agreements                  and     will       assign           its    rights        but none                of     its


                                      obligations                  under       the     Hedge         Agreements                to     the      Trustee                 See

                                      Hedge Agreements


   Interest    Payments    and
  Distributions     from   Interest

  Proceeds                            The Notes              will    accrue           interest      from the Closing                     Date         Interest           on

                                      the     Notes           will        be     payable            to    the        extent         of    funds            available

                                      therefor on each                    Payment Date


                                      So long          as     any        Priority       Classes are              Outstanding                with respect                  to

                                             Class of Deferred                        Interest      Notes any payment of                            interest           due
                                      any
                                      on    such       Class of Deferred                     Interest          Notes         that    is   not       available             to

                                      be    paid       Deferred Interest                             in   accordance                with the Priority of

                                      Payments                on         any      Payment                Date        shall         not      be        considered

                                      payable                for    the        purposes         of the          Indenture           and         the     failure           to


                                      pay      the        interest            shall    not     be        an     Event         of     Default               until        the

                                      Payment             Date       on        which      the       interest          is    available          to     be     paid         in

                                      accordance              with the Priority                    of Payments                     Deferred           Interest           on

                                      any    Class of Deferred                        Interest      Notes        shall        be    payable on              the        first


                                      Payment             Date       on       which      funds are              available           to    be     used        for       that

                                      purpose           in    accordance                with       the    Priority            of Payments                    To         the

                                      extent      lawful            and       enforceable            interest          on     Deferred           Interest          with

                                      respect        to    any      Class of Deferred                    Interest          Notes     shall       accrue           at    the

                                      Note      Interest           Rate        for    such      Class         and       to    the    extent           not    paid as

                                      current          interest          on    the    Payment Date                   after the        Interest          Period            in


                                      which       it
                                                       accrues            shall       thereafter          be additional              Deferred              Interest
                                      until       paid               See          Description                   of      the        SecuritiesInterest

                                      Payments               on      the       Notes         and      Payments                of     Dividends               on         the
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                                   Preference                 Shares              from            Interest              Proceeds                  Priority                   of

                                   Payments              and          The               IndentureEvents                              of Default


                                   On     each       Payment Date                           the    Issuer          will       make         distributions          to        the

                                   Preference               Shares           Paying            Agent           for       payment            to    the     Holders            of

                                   the    Preference                   Shares            as       dividends              on     the        Preference             Shares

                                   pursuant            to        the        Preference               Share              Documents                  to     the     extent

                                   legally       permitted                   to    the       extent        of available                   Interest       Proceeds            as

                                   described           under           clauses               22     and        24         under           Description             of the

                                   SecuritiesPriority                             of PaymentsInterest Proceeds                                              provided

                                   that     in lieu         of payment                   of such           Interest            Proceeds            in     whole        or    in

                                   part      the     Servicer                on     behalf         of the Issuer will have                                the   right to

                                   direct       the      Trustee             to        distribute          on        any        Payment             Date        Eligible

                                   Equity          Securities               pro         rata       to      the       Consenting                  Holders          of    the

                                   Preference               Shares            with           respect          to        such        Payment             Date      to    the

                                   extent       that        the       Market Value                   of such              Eligible             Equity      Securities

                                   determined                    by    the         Servicer           as       of the           relevant           Market         Value

                                   Determination                      Date          is       equal       to        or    lower            than     the
                                                                                                                                                           aggregate
                                   amount of             Interest            Proceeds              that       would otherwise                       be    distributed

                                   on    the    relevant              Payment Date                    to    such                                   Holders        of the
                                                                                                                         Consenting
                                   Preference            Shares                Interest            Proceeds               in    an       amount equal             to    the

                                   Market          Value           of such             Eligible          Equity           Securities              determined by
                                   the    Servicer            as      of the relevant                Market              Value           Determination            Date
                                   distributed              to     the      Consenting                  Holders               of the        Preference            Shares

                                   will    be    treated              for    all                         by the Issuer                    and     the     Servicer           as
                                                                                    purposes

                                   Principal          Proceeds                available             for     distribution                  in    accordance             with

                                   the    Priority            of       Payments               on     the       relevant              Payment              Date         The
                                   amount            of Interest              Proceeds               available                on     the    relevant        Payment
                                   Date        will      be        reduced               and       the        amount                of    Principal         Proceeds
                                   available             on        the       relevant              Payment                    Date         will     be      increased

                                   accordingly                   See         Description                    of          the     SecuritiesPriority                           of

                                   PaymentsInterest Proceeds                                             and       Preference                      Shares        Paying

                                   Agency AgreementDistribution                                                of Eligible                Equity        Securities



                                   In    addition             on       each         Payment                Date          during           the     first    two     years

                                   following           the         Closing             Date         Holders              of the           Class     II    Preference

                                   Shares          are      entitled              to        the    Class           II    Preference                Share         Special

                                   Payments              After           the       two-year              anniversary                 of the        Closing         Date
                                   the    Servicer                            in
                                                                 may                   its    sole       discretion                  at    any     time         waive

                                   portion           of the           Servicing               Fees       then           due     and        payable          in    which

                                   event       an amount equal to such                                  waived            portion           will    be distributed

                                   by the Issuer                 to    the     Holders             of the Class                 II   Preference             Shares           as

                                   Class        II     Preference                   Share           Special              Payments                  Any      Class            II


                                   Preference            Share              Special           Payment              will        be    paid by         the    Issuer           in

                                   accordance                 with          the         Priority           of        Payments                   described         under
                                   clauses                  20          and        23         under        Description                     of the       Securities

                                   Priority        of PaymentsInterest Proceeds



  Principal   Payments   and
  Distributions   from Principal
  Proceeds                         The Notes             will         mature           at    par    on     the      Payment Date                    in    November
                                   2021        or      upon                  Maturity              Extension                  if     any           the     applicable
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                                 Extended              Stated       Maturity          Date        the Stated                    Maturity                  and    the

                                 Preference                 Shares           are      scheduled                to        be      redeemed                 at     the

                                 Redemption                  Price      thereof       by     the     Issuer          on       the     Payment          Date          in

                                 November                   2021        or upon                 Maturity             Extension                if     any         the

                                 applicable                Extended           Scheduled              Preference                 Shares         Redemption
                                 Date         the Scheduled                    Preference               Shares             Redemption                  Date
                                 in    each      case        unless      redeemed            or    in    the        case of the Notes                      repaid

                                 in    full     prior       thereto           The     average           life    of each              Class of Notes                  is


                                 expected             to be        shorter      than the           number of years from                               issuance
                                 until         Stated        Maturity           for       such       Notes                See         Risk Factors
                                 Relating             to   the     SecuritiesThe                   Weighted               Average              Lives       of the

                                 Notes          May Vary                              Maturity            Extension                  May           Result       in


                                 Longer          or    Shorter Holding                Period Than                   Expected               and      Maturity
                                 and     Prepayment                Considerations



                                 In    general             principal          payments            will     not        be       made           on    the    Notes

                                 before          the        end         of    the     Replacement                    Period             except            in     the

                                 following             circumstances



                                                in    connection             with an Optional                  Redemption


                                                at     the        option        of     the        Servicer                to         effect               Special

                                                Redemption               of the Notes



                                                in    connection             with      Refinancing



                                                pursuant           to        redemption            made         in       connection                with         Tax
                                                Event         or




                                                following               mandatory            redemption                  of the Notes               caused           by
                                                     failure       to    meet              of the Coverage                          Tests or              Rating
                                                                                    any
                                                Confirmation                 Failure



                                 See       Description                   of     the       SecuritiesPriority                            of         Payments
                                 Optional                    Redemption Special Redemption                                                    of the Notes

                                 If      the         Servicer           Does        Not      Identify               Replacement                     Collateral

                                 Obligations                 as     Contemplated                   by      the           Indenture                  Optional
                                 RedemptionRedemption                                      by        Refinancing                         Mandatory
                                 Redemption                  of the      Notes         and        Security               for    the     NotesRamp-
                                 Up
                                 No      payments             of principal            will   be      made on              the        Class A-lb Notes

                                 until     the       principal          of the Class A-la Notes                            has been            paid       in    full

                                 No      payments             of principal            will      be     made          on        the    Class A-2 Notes

                                 until the           principal          of the Class A-lb Notes                            has been            paid       in    full

                                 No      payments             of principal             will       be     made             on     the     Class             Notes

                                 until     the principal                of the Class A-la Notes the Class A-lb Notes

                                 and      the    Class A-2 Notes                    has been            paid        in    full         No      payments              of

                                 principal            will    be made on             the   Class               Notes           until the principal                   of

                                 the     Class A-la Notes the Class A-lb Notes the Class A-2 Notes

                                 and      the        Class          Notes       has       been       paid       in       full         No      payments               of
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                                     principal       will        be made           on     the       Class                Notes        until the principal                        of

                                     the     Class A-la                Notes         the        Class              A-lb         Notes             the        Class          A-2
                                     Notes       the    Class             Notes          and        the       Class             Notes            has been          paid in
                                     full   other       than with respect                      to       the   use of Interest Proceeds                              to      pay
                                                     of the Class                    Notes           on                                     Date
                                     principal                                                                any Payment                               to    the extent


                                     necessary          to       satisfy       the       Class                     Coverage                Tests              However
                                                       Proceeds                          be        used                             Deferred                                and
                                     Principal                                may                              to        pay                            Interest

                                     other     amounts            before the payment of principal                                           of the Notes                    See

                                     Description              of the SecuritiesPriority                                    of       Payments

                                     No      principal            of    any        Class           of     Notes            will       be         payable           on       any

                                     Payment           Date        other           than        in       accordance                   with         the      Priority              of

                                     Payments           and       to    the    extent           funds              are    available              therefor          on       that

                                     Payment Date                 for that          purpose               except that                the principal                 of each

                                     Class      of Notes               will    be       payable               in    full       at    the      Stated          Maturity
                                     unless     repaid           before that



                                     On     each     Payment Date                       the     Issuer             will    make            distributions               to    the

                                     Preference             Shares        Paying           Agent              for     payment               to    the        Holders             of

                                     the    Preference             Shares           including                      with        respect           to     the       Class          II


                                     Preference              Shares            the        Class               II     Preference                   Share            Special

                                     Payments               pursuant          to    the       Preference                   Share           Documents                   to    the

                                     extent      legally           permitted                  to        the        extent           of available                 Principal

                                     Proceeds          as    described under                    clauses                   1A 14                   and        15        under

                                     Description                 of the       SecuritiesPriority                               of PaymentsPrincipal

                                     Proceeds


                                     For       description              of the relative                   priority          of payments                    and     level         of

                                     subordination                of the       Securities                  and       certain           fees                                 and
                                                                                                                                                      expenses
                                     other      liabilities             of     the        Co-Issuers                      see        Description                   of        the

                                     SecuritiesPriority                       of    Payments

  Extension    of the Replacement

  Period the Stated Maturity and
  the Scheduled Preference  Shares

  Redemption     Date                The     Issuer         if    directed          by    the        Servicer              shall       be        entitled         on     each

                                     Extension          Effective             Date         to       extend           the       Replacement                    Period             to

                                     the    applicable            Extended               Replacement                       Period           End       Date         up       to

                                     maximum                of    four        times           if              in     the        case         of       an     Extension

                                     Effective         Date        occurring             after the            first       Extension               Effective             Date
                                     the    Issuer      has previously effected                                     Maturity               Extension              for    each

                                     preceding              Extension               Effective                 Date          and        ii         the        Extension

                                     Conditions             are    satisfied         and       the        Issuer         has given               written         notice          of

                                     its    election        to     extend the              Replacement                      Period           no       later       than           60

                                     days      and      no         earlier          than           90      days           prior        to        such        Extension

                                     Effective          Date             For        purposes                  of     the        foregoing                  Extension
                                     Effective          Date             means             if        an       Extension                    has        occurred               the

                                     sixteenth          Payment                Date            after           the         then            current           Extension

                                     Effective         Date        or         in    the       case         of the          first      Extension                  Effective

                                     Date        the        Payment            Date             in        August               2011           and          Extended
                                     Replacement                  Period            End Date                       means              if    an     Extension                has
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                                 occurred                the      sixteenth              Payment                Date          after         the       then      current

                                 Extended                Replacement                Period              End        Date        or        in the         case     of the

                                 first    Extension                  the     Payment Date                     inNovember 2017 provided
                                 that     the       Extended                  Replacement                     Period End Date will in no

                                 event         be        date        later    than the Payment                        Date         in   November               2029

                                 if   the      Extension               Conditions              are       satisfied             the       Stated         Maturity          of

                                 the    Notes            shall    be      automatically                  extended             to the        related          Extended

                                 Stated             Maturity                 Date          the           Scheduled                      Preference               Shares

                                 Redemption                     Date          shall           automatically                    be        extended               to      the

                                 Extended                Scheduled             Preference Shares                       Redemption                     Date      and     the

                                 Weighted                Average             Life     Test          shall       be    automatically extended                              to

                                 the     related          Extended              Weighted                 Average              Life       Date          without         any

                                 requirement                   for    approval           or    consent             of any Holders                     of Securities

                                 or    amendment                  or      supplement                to    the      Indenture               or     the       Preference

                                 Share         Documents                  the Maturity                     Extension                        provided            that    the

                                 Issuer         will       not be            permitted             to    effect          more           than         four     Maturity
                                 Extensions                     For purposes                  of the foregoing                          Extended                Stated

                                 Maturity                Date             means          if         Maturity               Extension                 has      occurred

                                 the     sixteenth               Payment              Date           after         the        then       current              Extended

                                 Stated         Maturity              Date      or       in    the       case of the                first     Extended           Stated

                                 Maturity                Date             the       Payment                   Date            in        November                 2025
                                 Extended                  Scheduled                Preference                     Shares            Redemption                  Date
                                 means              if          Maturity             Extension                  has        occurred                  the      sixteenth


                                 Payment                 Date          after        the        then           current              Extended                  Scheduled

                                 Preference               Shares             Redemption                  Date        or        in    the       case        of the      first


                                 Extended                 Scheduled                 Preference                     Shares               Redemption                   Date
                                 November                        2025           and       Extended                     Weighted                   Average              Life

                                 Date means                      if       Maturity Extension                          has occurred                    the     sixteenth

                                 Payment Date                    after the then                current             Extended             Weighted               Average
                                 Life     Date           or      in the       case of the               first      Extended              Weighted Average
                                 Life       Date      May      2021 provided                                         that       the      Extended                Stated

                                 Maturity            Date will in no event be                                        date      later       than the Payment

                                 Date          in   November                  2037         the       Extended                   Scheduled                   Preference

                                 Shares Redemption                            Date        will in         no event             be         date        later    than the

                                 Payment             Date            in   November              2037            and      the        Extended                 Weighted
                                 Average             Life        Date           will      in       no     event          be             date         later     than     the

                                 Payment             Date        in       May       2033


                                 As         condition to                      Maturity             Extension                  any       Holder          of Notes          or

                                 Preference               Shares             will   have       the       right        to      offer      to     sell    their     Notes

                                 or      Preference                  Shares         to        one        or        more        Extension                    Qualifying
                                 Purchasers                for       purchase            on     the       applicable                 Extension                Effective

                                 Date

                                 If      all        Extension                 Conditions                 are         satisfied              and               Maturity

                                 Extension                is    effected            each        Noteholder                     other          than      Holders           of

                                 Extension                 Sale           Securities                will        be         entitled             to     receive          the


                                 applicable               Extension             Bonus Payment                          to      the      extent          of available

                                 funds and                as    provided            in    the       Priority           of Payments                         Holders        of

                                 Preference               Shares             will   not       be     entitled            to    receive            any        Extension

                                 Bonus Payment




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                                    See      Risk FactorsRelating                                       to     the      SecuritiesThe                     Weighted
                                    Average            Lives                of    the         Notes            May            Vary                            Maturity
                                    Extension           May             Result           in         Longer              or    Shorter         Holding               Period

                                    Than        Expected                     Maturity                and          Prepayment                Considerations
                                    and       Description                          of         the            SecuritiesExtension                               of          the

                                    Replacement                   Period               the     Stated             Maturity            and        the      Scheduled

                                    Preference Shares                        Redemption                 Date

  Security for the Notes            The      Notes       will           be       secured           by          portfolio            having         an     Aggregate

                                    Principal            Balance                       following                  the         Ramp-Up                   Period              of

                                    approximately                     U.S.$1471900000                                  in      principal           amount                 and

                                    consisting          primarily                 of Collateral                   Obligations and                   certain          other

                                    debt     securities                in     each       case       having             the     characteristics                set        forth

                                    herein           The Notes                will also            be secured            by funds on               deposit           in the

                                    Issuer           Accounts                    the          Issuers              rights             under         any             Hedge
                                    Agreements                               Securities            Lending              Agreements                 the
                                                                 any                                                                                          Servicing

                                    Agreement               and         the       Collateral             Administration                     Agreement                     See

                                    Security          for the              Notes


                                    The      Preference                    Shares           are      unsecured                 equity         interests             in     the

                                    Issuer



  Collateral   Ramp-Up     Period   The      Issuer
                                                            expects               that        as    of the             Closing          Date        it    will           have

                                    purchased           or        entered              into    commitments                     to     purchase            Collateral

                                    Obligations to                    be     included             in the       anticipated              portfolio             such        that

                                    the      Overcollateralization                             Ratio            Numerator                 will      be         at        least

                                    U.S.$l471900000                                     of the
                                                                           Ramp-Up Completion
                                                                                  as                                                                     Date             The
                                    Ramp-Up                 Completion Date is the earlier of                                                       the       Business

                                    Day      after the           90th       day after the Closing                        Date         and        ii the        first      day
                                    on    which       the        following              conditions                are    satisfied                 either                  the

                                    Aggregate           Principal                Balance            of the Collateral                   Obligations owned

                                    by    the        Issuer           equals           at     least          U.S.$l471900000                             or                the

                                    Aggregate               Principal                  Balance               of        the     Collateral               Obligations
                                    purchased           or            committed               to     be        purchased              by      the       Issuer           with

                                    proceeds          from            the        sale       of the           Securities          in each               case         in    this

                                    clause                    measured                   solely          as       of     the     date         of                            or
                                                                                                                                                    purchase
                                    commitment                        as         the          case             may            be        equals                at         least

                                    U.S.$1471900000                              for        the     avoidance                of doubt            without            giving
                                    effect      to    any        reductions                 of that          amount            that
                                                                                                                                        may        have        resulted

                                    from      scheduled                    principal           payments                  principal            prepayments                   or

                                    dispositions             made with                   respect          to
                                                                                                                  any        Collateral          Obligations on
                                    or       before          the             Ramp-Up                    Completion                    Date          and                    the

                                    Overcollateralization                                   Ratio              Numerator                      is         at              least

                                    U.S.$     1471900000

                                    In    anticipation                of the           issuance           of the         Securities              the     Issuer the
                                    Servicer          and        one        or   more         Affiliates               of the       Initial      Purchaser                the
                                    Pre-Closing                       Parties                  are           financing              the          acquisition                of
                                    Collateral          Obligations by                         the      Issuer                              to     confirmations
                                                                                                                        pursuant
                                    entered into by or on                         behalf           of the         Is   suer    confirming the Issuers
                                    commitment                   to     purchase              such        Loans          during         the        Accumulation




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                                      Period           100%         participation               in     each        such           Collateral             Obligation
                                      has been         acquired           and           will    be     acquired                  by    the     applicable            Pre

                                      Closing         Party concurrently                        with        the        acquisition                 of    each        such

                                      Collateral        Obligation by                    the    Issuer        for            purchase             price       equal to
                                      the    purchase            price       paid by           the     Issuer          for        the       related       Collateral


                                      Obligation                  On      the         Closing          Date             each            eligible          Collateral

                                      Obligation acquired                      by     the      applicable              Pre-Closing                 Party        will   be

                                      repurchased            by        the     Issuer         with      proceeds                 of the           offering        in   an

                                      amount equal                to     the    purchase              price        minus              any     distributions             of

                                      principal        on         the     obligation              received              by            the     applicable             Pre

                                      Closing     Party             The       Servicer          or    one      or      more of              its   Affiliates         will

                                      be    entitled        to    retain        all      interest       and                      fees       and    commissions
                                                                                                                   any
                                      net of any             financing              fees       payable            to    the        Pre-Closing                 Parties

                                      paid by         the    obligors              of such           Collateral              Obligations                 or    accrued

                                      from      the    time         of       purchase            to    the        Closing               Date             See     Risk
                                      FactorsRelating                     to       the    Collateral              ObligationsA                           Substantial

                                      Amount           of    Collateral                 Obligations               Was            Acquired               Before         the

                                      Closing     Date            and     the       Terms of            the       Acquisition                 May        Adversely
                                      Affect the Issuer



                                      See    Security             for the      NotesRamp-Up

   Replacement   Period Acquisition
   of Replacement   Collateral

   Obligations                        During      the       Replacement                   Period            the    Issuer
                                                                                                                                      may         generally          and
                                      subject     to    certain          requirements                  use Principal                    Proceeds              received

                                      with                         to        the        Collateral            to        purchase                  additional            or
                                                respect

                                      replacement                Collateral              Obligations                   in        compliance                with        the

                                      Eligibility            Criteria               which               Eligibility                     Criteria              includes

                                      requirements               that    an     item of Collateral                          purchased              by     the    Issuer

                                      meet      the     definition                 of     Collateral                Obligation                     and        that     the

                                      portfolio        of        Collateral           Obligations                 be        in    compliance                  with     the

                                      Concentration                 Limitations                  to      the           extent            provided               in     the


                                      Eligibility           Criteria                     See         Collateral                         Obligations
                                      Concentration                 Limitations                   and         Security                   for       the        Notes
                                      Eligibility Criteria



                                      The    Replacement                      Period            will     be       the       period          from        the    Closing

                                      Date    through            and     including             the    first   to       occur          of


                                                 the    Payment Date                      after       the    date       that          the    Servicer          notifies

                                                 the    Trustee              each        Rating         Agency               and        the       Administrator

                                                 in    the       sole    discretion             of the        Servicer                 that       in    light    of the

                                                 composition                  of the        Collateral             general              market           conditions
                                                 and        other       factors          the     acquisition                 of additional                Collateral

                                                 Obligations                   within          the      foreseeable                      future          would          be

                                                 impractical



                                      ii         the    Payment Date                     in    November                2013           or     in    the    case of an

                                                 Extension               the    Extended              Replacement                      Period End Date




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                                 iii        the      Payment Date                         on     which              all   Notes        are    to    be    optionally

                                            redeemed                 or       an      earlier date                    after      notice           of an       Optional

                                            Redemption                        chosen                 by     the           Servicer           to     facilitate         the

                                            liquidation                  of the Collateral                       for the          Optional          Redemption
                                            and


                                 iv         the date            on       which            the    Replacement                     Period terminates                    or    is


                                            terminated                   as          result          of an          Event         of Default             subject           to

                                            the      terms of the Indenture



                                No      acquisition             of Collateral                        Obligations will be                          made        after    the

                                 tennination                   of         the             Replacement                          Period               except            that

                                       Unscheduled                   Principal                Payments and                             Sale Proceeds              from

                                 Credit    Risk Obligations and                                 Credit          Improved Obligations may be
                                 used     to    purchase                 Collateral                  Obligations after                    the       Replacement
                                Period         subject          to       the       limitations                 described               under                           for
                                                                                                                                                    Security
                                 the      NotesEligibility                                Criteria                  and        Sale                of     Collateral

                                 Obligations                       Acquisition                            of              Replacement                     Collateral

                                 Obligations                    After the termination of the Replacement                                                       Period

                                 all   Principal          Proceeds              other            than Principal                   Proceeds              constituting

                                 Unscheduled                  Principal              Payments               and           Sale    Proceeds              from     Credit

                                Risk      Obligations                     and        Credit               Improved               Obligations                  must         be

                                 applied       in   accordance                  with the Priority of Payments



                                 Notwithstanding                     anything                 herein           to    the       contrary            no    acquisition

                                 or    disposition              of         Collateral                 Obligation or                    other        eligible      asset

                                 as    defined           in    Rule        3a-7           shall       be       effected           by    or on       behalf       of the

                                 Issuer    for the            primary purpose                         of recognizing                   gains or decreasing
                                 losses    resulting            from           market value changes



  Collateral Obligations                                                                                   Collateral
                                 Any      obligation                 or       security                                                  Obligation                    that

                                 when      the      Issuer           commits               to    purchase                 or     otherwise              acquire        the

                                 obligation          or       security               is         Loan            High-Yield                Bond            Structured

                                Finance          Obligation                     or        Synthetic                 Security            with              Reference

                                 Obligation              that       is          Loan                  Structured                 Finance           Obligation              or

                                 High-Yield Bond                     that       is




                                                    denominated                      and        payable               in    U.S        Dollars           and     is    not

                                                    convertible                                                  into
                                                                                by                                          any other
                                                                                        its
                                                                                               obligor                                            currency



                                  ii                an     obligation                 of an           obligor              Domiciled               in    an    Eligible

                                                    Country


                                  iii               an    obligation                 that       is   eligible             by   its   terms to be              assigned
                                                    to    the       Issuer           and        pledged              by     the      Issuer        to   the    Trustee

                                                    for       inclusion            in     the Collateral




                                  iv                not an exchangeable                               or convertible                   security



                                                    not       an     equity             security               or          component                of    an     equity

                                                    security             or          security             that        has         component               that    is       an




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                                         equity          security           other               than for               avoidance                of doubt

                                         pass-through                      trust           certificate                   in               trust           holding
                                         Collateral            Obligations



                                  vi     not       an     obligation                or     security               that       has     been            called        for


                                         redemption                 and        is    not        an    obligation                or security                 that       is


                                         the    subject             of an        Offer other                 than              Permitted                  Offer or

                                         an     exchange                  offer           in     which                      security               that     is    not

                                         registered              under           the       Securities                   Act     is       exchanged                 for

                                                        security           that           has        substantially                   identical              terms

                                         except           for transfer                restrictions                     but     is    registered             under

                                         the       Securities                  Act         or                            security              that         would
                                         otherwise               qualify             for        purchase                 under           the        Eligibility

                                         Criteria




                                  vii    an    obligation                that              has             Moodys               Rating              including

                                         any       estimated              or confidential                    rating            which          is     in    respect

                                         of     the       full       obligation                  of        the         obligor            and        which             is


                                         monitored                  and               has        an        SP           Rating           including                any
                                         confidential                    rating           which             is     in        respect            of        the     full


                                         obligation                 of     the       obligor               and          which            is     monitored
                                         which           SP          Rating           does           not     have                          pi
                                         or               subscript              unless              SP           otherwise                authorizes                  in


                                         writing



                                  viii   an     obligation                that       is         Finance                Lease         if       it    is      lease
                                         and        the        Rating               Condition                has            been          satisfied              with

                                         respect          to   the acquisition                       thereof



                                  ix            an       obligation              that       is       not          Current-Pay                      Obligation

                                         Non-Performing                          Collateral                 Obligation                   or    Credit            Risk

                                         Obligation                  and                        in     the          case            of               Collateral

                                         Obligation                 that       has              Moodys                  Rating            of        Caal              or

                                         lower           or     an        SP          Rating                of      CCC                    or        lower an

                                         obligation                 for     which               the         Servicer                has        certified               in


                                         writing          that       such           Collateral              Obligation                   is   not           Credit

                                         Risk       Obligation



                                         an     obligation                that       unless            it    is             High-Yield                   Bond          is


                                         not subordinated                        by       its   terms to                other        indebtedness                     for

                                         borrowed              money of               the        applicable                  issuer provided                      that

                                         for       the         avoidance                  of     doubt                 this      clause              shall         not


                                         prohibit              the       inclusion               as         Collateral                   Obligations                  of
                                         Subordinated                    Lien Loans                   or    Second Lien Loans



                                  xi     an     obligation               that              unless            it    is         P1K Security                      bears


                                         simple           interest         payable               in    cash            no     less       frequently              than

                                         annually              at         fixed           or     floating               rate    that          is    paid         on

                                         periodic             basis       on     an unleveraged                             basis    and            in    the    case

                                         of         floating             rate computed                           on           benchmark                    interest

                                         rate                  or     minus                 spread                if            which
                                                   plus                                                                 any                          may         vary




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                                        under          the    terms of the obligation                             and              provides           for

                                             fixed       amount of               principal           payable         in      cash        according
                                                   fixed          schedule            which                     include
                                        to                                                           may                          optional           call


                                        dates          or    at    maturity           or        fixed       notional           amount           in the

                                        case of Synthetic                      Securities



                                 xii    an        obligation               the         payment             or      repayment                   of     the

                                        principal             if               of which         is   not an amount                   determined
                                                                   any
                                        by     reference            to               formula         or    index        or     subject         to
                                                                           any                                                                       any

                                        contingency                under         the    terms thereof



                                 xiii   an        obligation              the        portion         of    which          to       be     acquired

                                        including                 through              Synthetic           Security          with respect              to

                                        the       Reference              Obligation              does       not     represent                 directly

                                        or        indirectly               more          than               25%           interest             in     the

                                        obligation



                                 xiv    not       an    obligation              with           maturity           later      than two              years

                                        after the Stated                  Maturity of the Notes



                                 xv     an     obligation            upon which                 no        payments             are      subject        to

                                        withholding                tax     imposed             by any jurisdiction                      unless        the

                                        obligor          thereof           or    counterparty               with        respect          thereto        is


                                        required             to    make         gross-up                  payments           that        cover       the

                                        full      amount of any such withholding                                    tax      on     an    after-tax

                                        basis          other        than         withholding                taxes         with          respect        to

                                        commitment                         fees          associated                  with                Collateral

                                        Obligations constituting                             Revolving              Loans           or    Delayed
                                        Drawdown Loans


                                 xvi    not         Loan          or Synthetic              Security         that       would        require         the

                                        Issuer          after       its        purchase          of       the     Loan          or       Synthetic

                                        Security             to    advance                     funds to the             related          borrower
                                                                                      any
                                        or        Synthetic              Security           Counterparty                  or        permit           the

                                        borrower             or    Synthetic            Security           Counterparty                  to    require

                                        that      any future             advances           be made             except for



                                                   any       Revolving               Loan      or    Delayed            Drawdown Loan
                                                   if        simultaneously                    with         its      purchase                 of     the

                                                   Revolving               Loan        or   Delayed             Drawdown Loan                        the

                                                   Issuer           deposits             into         the       Revolving                     Reserve

                                                   Account                or     the        Delayed           Drawdown Reserve
                                                   Account                respectively               the     maximum amount of
                                                   any       advances            that       may       be    required            of the          Issuer

                                                   under           the         related         Underlying                 Instrument                  as
                                                   provided           in       the    Indenture and


                                                   any       Synthetic           Security            if    simultaneously                     with     its



                                                   purchase               of     the     Synthetic              Security                the     Issuer

                                                   posts          cash     collateral           with        or      for      the     benefit          of
                                                   the              Synthetic                        Security                  Counterparty




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                                                    simultaneously                         with         the       Issuers            purchase           of or

                                                    entry          into    the Synthetic                     Security              in   an amount not

                                                    exceeding                 the     amount of any                      future         advances


                                  xvii    if    such      obligation                  is          Structured                Finance            Obligation
                                          that      is    collateralized                    loan        obligation                 such        obligation


                                                    has been              assigned                  rating             by     both       Moodys              and

                                                    SP
                                                    has            Moodys                  Rating            of   Ba3              or    higher and              an
                                                    SP         Rating of               BB-              or    higher           and



                                                    has not been                    placed on                the       watch        list      for possible

                                                    downgrade by Moodys                                      or    SP
                                  xviii   not            Loan             that        is     an         obligation                 of              debtor        in

                                          possession               or          trustee            for             debtor        in       an    insolvency

                                          proceeding               other       than              DIP Loan


                                  xix     with       respect             to      an        obligation                  that    provides               for     the


                                          payment             of interest              at         floating              rate an obligation                    for

                                          which such                floating            rate       is    determined                  by reference                to

                                          the       U.S       Dollar           prime         rate        or       other       base        rate London
                                          interbank            offered           rate       or     similar             interbank              offered       rate

                                          commercial                 deposit               rate     or       any         other          index        that     the

                                          Rating         Condition                  with respect                   to    each        Rating          Agency
                                          is   satisfied           with respect                  thereto



                                  xx      in     the      case           of           Synthetic                   Security               the        Synthetic

                                          Security            is   one        for     which         the       counterparty                    or    issuer as

                                          the       case       may be                      has               short-term              debt          rating        by

                                          Moodys              of    at   least      P-i or               long-term senior                          unsecured

                                          rating         by   Moodys                  of    at     least          A3          and        if    rated    A3
                                          by        Moodys                    such           rating               is     not        on         watch          for

                                          downgrade                  and       an       issuer           credit          rating          by    SP        of      at


                                          least      AA-                         short           term        debt rating                       SP           of

                                                    Al
                                                                     or                                                                  by                      at


                                          least




                                  xxi     not an         obligation              that       constitutes                Margin Stock


                                  xxii    not        Zero-Coupon                      Security



                                  xxiii   not an         obligation              that        is    currently                deferring              interest      or

                                          paying          interest            in kind                   or    otherwise                 has    an     interest

                                          in kind              balance              outstanding                   at    the    time of purchase

                                          which          interest         is     otherwise               payable              in    cash           unless     the


                                          Rating         Condition               has been                satisfied            with respect              to    the


                                          acquisition              thereof


                                  xxiv    not        security            whose repayment                           is    subject          to    substantial

                                          non-credit               related       risk as           determined                 by        the    Servicer




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                                                                     xxv             not       an        obligation                  the       interest
                                                                                                                                                                payments             of which                are

                                                                                     scheduled                to    decrease                   although           interest          payments                may
                                                                                     decrease              due        to    unscheduled                        events such           as          decrease

                                                                                     if   the       index          relating               to         Floating          Rate        Obligation                the

                                                                                     change              from              default              rate      of interest          to         non-default

                                                                                     rate       of        interest              or        an    improvement                   in     the     obligors
                                                                                     financial             condition



                                                                     xxvi            not       an        obligation                  that       will       cause        the      Issuer          the        Co
                                                                                     Issuer              or     the        pooi            of        assets       to     be       required             to    be

                                                                                                                 as        an             investment                                       under             the
                                                                                     registered                                                                       company
                                                                                     Investment                  Company                   Act           and



                                                                     xxvii           in    the      case of                Loan                an    obligation           that      is    part    of        or

                                                                                     Participation                  in           syndicated                    loan    facility       that       provides
                                                                                     for         commitment by                                 the       lenders        in the       aggregate                   of

                                                                                     no     less     than          $25000000

                                                                     Pursuant        to     the          definition              of        Synthetic                  Security              unless           the

                                                                     Rating        Condition                  is       otherwise                         satisfied         any           deliverable

                                                                     obligation           that      may be             delivered                    to    the    Issuer       as         result     of the

                                                                     occurrence           of any           credit               event               must       qualify        when          the     Issuer

                                                                     purchases            the        related               Synthetic                     Security          and            when          such

                                                                     deliverable            obligation                     is   delivered                 to    the    Issuer        as          result          of

                                                                     the   occurrence            of any            credit                 event            as         Collateral          Obligation
                                                                                 that          such           deliverable                                                                constitute
                                                                     except                                                                     obligation                may
                                                                     Defaulted          Collateral               Obligation                     when           delivered           upon            credit

                                                                     event

                                                                     See    Security             for       the        NotesCollateral                             Obligations                    and

                                                                     Eligibility        Criteria


  Concentration        Limitations                                                                            of            Collateral                                              the
                                                                     Upon            purchase                                                             Obligation                        Eligibility

                                                                     Criteria      require           that          each          of the              limits       set     forth           below         with

                                                                     respect    to        particular               type of Relevant                            Obligation measured                           by

                                                                     Aggregate          Principal               Balance                   as         percentage               of the        Maximum
                                                                     Amount          the Concentration                                      Limitations                    is       satisfied          or        if


                                                                     any    such     limit          is    not      satisfied                   the       extent       of satisfaction                  is   not

                                                                     reduced




                                                                                                                                                                              Percentage          of   the

                                                                                                                                                                              Maximum Amount

           Senior     Secured        Loans      and    Eligible   Investments                                                                                                            87.5%

           unsecured         Loans                                                                                                                                                         3.0%


           Subordinated         Lien Loans            and   Second    Lien Loans                                                                                                           10.0%


           Revolving         Loans     and      the   unfunded    portion    of Delayed          Drawdown              Loans                                                             12.0%

           DIP Loans


                    except    that   with        Rating     Confirmation       DIP Loans            may       constitute             up    to the
                                                                                                                                                                                             5%
                    percentage       of   the    Maximum Amount             specified      in the        right     column




                                                                                          17
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                                                                                                                                                                                                    Percentage    of   the

                                                                                                                                                                                                    Maximum Amount

          SP Unrated            DIP Loans                                                                                                                                                                2.5%

          P1K    Securities                                                                                                                                                                                3.0%


          High-Yield          Bonds                                                                                                                                                                       7.5%


          Structured        Finance         Obligations                                                                                                                                                   10.0%


                 except       that    Structured            Finance            Obligations                 serviced            by    the    Servicer          may      not     exceed                     2.5%
                 the    percentage           of   the      Maximum                  Amount            specified               in the     right       column


                 except       that         single       issuer     together               with      any of         its      Affiliates          excluding            Secondary                            3.0%
                 Risk    Counterparties                  of        Structured                Finance          Obligation                may      not       exceed      the


                 percentage           of the       Maximum Amount                             specified            in    the       right    column


    10    Structured        Finance         Obligations             that           are    collateralized                loan       obligations                                                            7.5%


    11    obligors      Domiciled           other       than       in    the       United          States         and Canada                                                                              15.0%


    12    obligors      Domiciled            in   Canada           or        any    single         Moodys               Group            Country                                                          10.0%


    13    obligors      Domiciled            in   any      single            Moodys              Group       II
                                                                                                                   Country                                                                                5.0%


    14    obligors      Domiciled           in    all   Moodys                Group          II    Countries             in the         aggregate                                                         10.0%


    15    obligors      Domiciled            in   any      single            Moodys              Group       III       Country                                                                            2.5%


    16    obligors      Domiciled            in   all
                                                        Moodys                Group          III    Countries               in the       aggregate                                                        5.0%


    17    obligors      organized           in      Tax       Advantaged                   Jurisdiction                                                                                                   5.0%


    18    same     SP       Industry         Classification                                                                                                                                               8.0%


                         except        that      Relevant          Obligations                    belonging              to    two      SP           Industry        Classifications

                         may each            constitute            up        to the        percentage              of       the    Maximum Amount                          specified           in         12.0%

                         the    right      column


    19    single   issuer      and any of            its    Affiliates              excluding              Secondary                Risk     Counterparties                                                1.5%


                         except        that       up     to    each           of     five         individual             issuers           and       any     of      their    Affiliates

                         excluding                Secondary                  Risk         Counterparties                       may         each        constitute            up     to        the         2.5%

                         percentage              of the       Maximum                    Amount           specified            in the      right       column


    20    Fixed Rate        Obligations                                                                                                                                                                   7.5%


    21    Pay    interest     less frequently               than        quarterly            but     no    less frequently                  than       semi-annually                                      7.5%


    22    Pay    interest     less frequently               than        semi-annually                 but     no        less frequently                than       annually                                3.0%


    23    Synthetic      Securities                                                                                                                                                                       20.0%


                                       that                                  Securities             that                             for    settlement               other        than
                         except                    Synthetic                                                  provide                                                                         by

                         physical           delivery           may           not         exceed        the        percentage               of    the        Maximum               Amount                  5.0%

                         specified          in the       right     column


                                       that                             Securities            that     reference                   senior        secured          index
                         except                   Synthetic                                                                                                                   providing

                         non-leveraged                  credit      exposure                to       basket            of     credit       default          swaps      referencing

                         diversified             group        of Reference                   Obligations                    with     respect          to    which      the     principal
                                                                                                                                                                                                          5.0%
                         or    notional           amount           of        the     credit        exposure              to       any    single        Reference             Obligation

                         does        not    increase           over          time         may       not     exceed             the      percentage              of   the     Maximum
                         Amount            specified          in the          right       column


    24    Participations             provided              that     no         Relevant               Obligations                   may         be           Participation               in

                                                                                                                                                                                                          20.0%
          Participation



    25    Relevant       Obligations              of which          are                  obligors         Domiciled                other     than          in the     United        States

          ii    Collateral        Obligations               lent        under            Securities          Lending               Agreements                iii      Participations                      20.0%

          and    iv      Synthetic           Securities                 in    the        aggregate           may            not      exceed           the    percentage             of        the




                                                                                                                  18
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                                                                                                                                                                                        Percentage        of   the

                                                                                                                                                                                       Maximum Amount

             Maximum Amount                  specified      in the      right      column


                                                                                                                                                                                               respective

                                                                                                                                                                                          percentage           in
   26        Relevant
                                                                                                                                                                ..
                                                of   which       are                         Domiciled                other     than         in the      United        States
                             Obligations                                      obligors
                                                                                                                                                                                         Secondary          Risk
             ii    Collateral      Obligations            lent    under       Securities          Lending            Agreements                    iii   Participations
                                                                                                                                                                                             Table    und
             and   iv      Synthetic         Securities          entered        into      with      or       issued       by        single           Secondary           Risk
                                                                                                                                                                                              Individual
             Counterparty
                                                                                                                                                                                       Counterparty Limit
                                                                                                                                                                                   for applicable           rating


                                                                                                                                                                                               respective

                                                                                                                                                                                          percentage           in

   27        Relevant        Obligations        of which         are          obligors       Domiciled                other     than         in the      United        States            Secondary          Risk

             ii    Collateral      Obligations            lent    under       Securities          Lending            Agreements                    iii   Participations                      Table    under
             and      iv     Synthetic        Securities           entered          into     with            or     issued         by        all    Secondary            Risk                 Aggregate
             Counterparties                                                                                                                                                            Counterparty         Limit
                                                                                                                                                                                          for applicable


                                                                                                                                                                                               rating

   28        Deep Discount             Obligations                                                                                                                                                7.5%


   29        CCC/Caaland                below    Collateral         Obligations                                                                                                                   7.5%


   30        Long-Dated          Collateral      Obligations                                                                                                                                      2.0%


   31        Collateral       Obligations       lent     under     Securities            Lending         Agreements                                                                               15.0%


   32        Collateral        Obligations           providing          for     interest      at             non-London                interbank             offered      rate

             excluding           for   the   avoidance           of doubt          the    unfunded                amount       of any Revolving                   Loan      or                    5.0%

             Delayed       Drawdown           Loan

   33        Collateral      Obligations        that     are   Loans       that    are     part    of         credit    facility        with         total


             global    aggregate         commitment            amount         of   equal     to or greater             than     $25000000                                                         10.0%

             but   less   than    $75000000

   34        Collateral      Obligations        that     are   Loans       that    are     part    of         credit    facility        with         total
                                                                                                                                                                                                       0%
             global    aggregate         commitment            amount         of less than          $25000000




             Applicable          long-term unsecured               rating       by       Moodys              or   SP       of such           Secondary           Risk     Counterparty using
             the   limit for the        lower of such          ratings     if   different


             Long-term         unsecured        rating     by     Moodys           or    SP        at    or    below           level     specified           in the     Secondary       Risk    Table

             using     the    lower of such          ratings      for      Secondary             Risk Counterparty                      if   different


                                                                                     Subject to the rights in certain                                         circumstances                  of the Servicer

                                                                                     to    determine                 otherwise                 as set out          in the        Indenture           solely          for

                                                                                     the      purpose                  of       determining                     whether           the        Concentration

                                                                                     Limitations                    are      met        Eligible              Investments              and     Cash       will       be

                                                                                     treated                 as     Senior              Secured                 Loans            and      Floating             Rate

                                                                                     Obligations



                                                                                     See     Security                  For the NotesEligibility                                   Criteria



  Coverage     Tests and the Retention

  Overcollateralization                  Test                                        The Coverage Tests                                        will consist              of the Overcollateraliza

                                                                                     tion     Tests and                   the      Interest           Coverage             Tests         In    addition             the

                                                                                     Retention                     Overcollateralization                                Test       which             is     not

                                                                                     Coverage                     Test     will         apply         as      described herein                   See        Secu
                                                                                     rity           For                the          NotesThe                             Coverage               TestsThe




                                                                                                        19
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                                                Overcollateralization                      Tests       and      The             Interest          Coverage
                                                Tests       for the         formulations of these                      tests        which        are    highly

                                                detailed              The        ratios       on    which        they         are    based           are     also

                                                described             under       such      headings             The     tests will             be     used     to

                                                determine                             other        things       whether                   Notes        will    be
                                                                       among
                                                redeemed              in    certain           circumstances              as         described              under

                                                Description                of the          SecuritiesPriority                  of Payments                    and

                                                ii in      the    case of the Coverage                     Tests        Collateral          Obligations

                                                may        be     acquired            as      described          under         Security                for    the


                                                NotesEligibility                      Criteria



                                                There       will       not       be     any        Coverage        Test         applicable              to    the

                                                Preference            Shares



      The   Overcollateralization       Tests   The     Overcollateralization                      Tests will consist                of the Class

                                                Overcollateralization                               Test                the               Class
                                                Overcollateralization                               Test                the               Class
                                                Overcollateralization                              Test          and           the          Class
                                                Overcollateralization                         Test           Each        Overcollateralization

                                                Test will be            satisfied           with respect          to    any     Class of Notes                 if

                                                as    of    any        Measurement                  Date         the     Overcollateralization

                                                Ratio      for the         Class      is at    least      equal to the specified                     required

                                                level    for the        specified           Class indicated             in the table            below


                                                                                 Test                                          Required Level

                                                Class            Overcollateralization                    Test                            110.0%

                                                Class           Overcollateralization                     Test                            105 .0%


                                                Class           Overcollateralization                     Test                            103 .0%


                                                Class            Overcollateralization                    Test                            102.2%



      The   Interest   Coverage     Tests       The     Interest                              Tests will consist                    of    the     Class
                                                                           Coverage
                                                Interest         Coverage              Test         the    Class              Interest           Coverage
                                                Test            the    Class                  Interest          Coverage                 Test        and      the

                                                Class                   Interest              Coverage            Test                   Each          Interest

                                                Coverage           Test will be             satisfied       with respect             to              specified
                                                                                                                                           any
                                                Class of Notes                if      as    of the     second          Payment            Date       and      any
                                                Measurement                 Date        thereafter         on    which         any        Notes        remain

                                                Outstanding                the    Interest         Coverage       Ratio         equals or exceeds
                                                the applicable              required          level    specified         in    the table         below        for

                                                the specified              Class




                                                                                 Test                                          Required Level

                                                Class            Interest        Coverage           Test                                  130.0%

                                                Class           Interest         Coverage           Test                                  120.0%

                                                Class           Interest                            Test                                  110.0%
                                                                                 Coverage

                                                                                                                                          105.0%
                                                Class            Interest        Coverage           Test




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     Retention     Overcollateralization        Test        test     that          will    be     satisfied          as    of     any       Measurement                      Date

                                                       during       the        Replacement                Period on              which           any       Notes        remain

                                                       Outstanding                   if   the    Retention           Overcollateralization                             Ratio      as

                                                       of such          Measurement                    Date     is at     least      equal       to        103.2%


  Collateral Quality     Tests                         The      Collateral                 Quality         Tests          will        be      used          primarily             as

                                                       criteria           for            purchasing             Collateral                 Obligations                         See

                                                       Security                    for     the        NotesEligibility                           Criteria                     The
                                                       Collateral                   Quality            Tests         will        consist         of        the     Diversity

                                                       Test         the        Weighted                 Average            Life           Test         the        Weighted
                                                       Average                Moodys                  Recovery            Rate            Test         the        Weighted
                                                       Average            SP             Recovery          Rate         Test         the    Weighted               Average
                                                       Fixed        Rate            Coupon            Test       the       Weighted               Average               Spread

                                                       Test        the        Weighted                Average           Rating            Factor           Test        and     the

                                                       SP       CDO            Monitor           Test as described below


     Diversity    Test                                 The     Diversity                 Test will be           satisfied            as    of any          Measurement
                                                       Date        if   the        Diversity          Score      equals or exceeds                         the    Minimum
                                                       Diversity              Score


      SP     CDO Monitor         Test                  The     SP              CDO         Monitor            Test        will       be     satisfied             as    of any

                                                       Measurement                       Date     if    after     giving             effect       to       the     sale      of

                                                       Collateral                  Obligation            or      the       purchase               of              Collateral

                                                       Obligation                   each         Note         Class        Loss            Differential                 of     the

                                                       Proposed               Portfolio          is   positive



      Weighted    Average       Fixed Rate

      Coupon     Test                                  The     Weighted                   Average          Fixed          Rate         Coupon               Test        will    be

                                                       satisfied              as    of                Measurement                    Date        if     the       Weighted
                                                                                           any

                                                       Average            Fixed Rate              Coupon equals                   or      exceeds           7.5%


      Weighted    Average       Life    Test           The     Weighted                  Average         Life     Test will be                satisfied            as    of any

                                                       Measurement                       Date     if    the   Weighted                 Average              Life on            that

                                                       date    of       all    Collateral             Obligations           is    equal to or less than the

                                                       greater          of           the   number of             years          including              any fraction               of

                                                            year between                   such        Measurement                   Date        and        May              2017

                                                       or     in        the        case     of           Maturity            Extension                     the    Extended

                                                       Weighted               Average            Life    Date      and               4.0
                                                                                                                                            years

      Weighted    Average       Moodys
      Recovery    Rate   Test                          The     Weighted                   Average         Moodys                Recovery               Rate        Test        will

                                                       be     satisfied             as    of any         Measurement                      Date        if    the    Moodys
                                                       Minimum                 Average           Recovery            Rate         is      greater          than or equal

                                                       to   43.63%

      Weighted    Average       Rating Factor
      Test                                             The     Weighted                  Average         Rating           Factor          Test will be                 satisfied

                                                       as     of any               Measurement                Date          if    the       Weighted               Average

                                                       Moodys                  Rating            Factor         of        the        Collateral              Obligations

                                                       excluding                   Eligible       Investments                   as     of such             Measurement
                                                       Date        is     less           than     or    equal        to     the           Maximum                 Weighted
                                                       Average            Moodys                Rating Factor




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        Weighted        Average    SP     Recovery

        Rate    Test                                    The      Weighted                     Average         SP           Recovery               Rate        Test     will       be

                                                        satisfied          as    of any          Measurement Date                           if   the    SP         Minimum
                                                        Average            Recovery               Rate       is    greater           than or equal to 52.28%



        Weighted        Average    Spread   Test        The     Weighted                   Average            Spread            Test will be              satisfied          as    of

                                                        any Measurement                          Date        if    the     Weighted              Average           Spread          as

                                                        of the        Measurement                     Date         equals            or    exceeds        the      Minimum
                                                        Weighted               Average            Spread


                                                        See     Security                 for the      NotesThe                       Collateral         Quality        Tests


  Mandatory            Redemption     of the Notes

  for   Failure    to    Satisfy   Coverage    Tests    If   any     of the Coverage                     Tests           are    not       satisfied      on    the     last   day
                                                        of any            Due       Period        each                  Determination                     Date            funds

                                                        will    be        used pursuant to the Priority of Payments to redeem

                                                        the    Notes           to    the       extent        necessary for such                        failing     Coverage
                                                        Tests        to    be satisfied that                  would otherwise be used


                                                                      to       purchase           additional               Collateral             Obligations during
                                                                      the       Replacement                  Period             or




                                                        ii            to       make           interest       and    principal              payments           on   the    Notes

                                                                      and           to    make        dividend                 or    redemption               payments             in


                                                                                          of the Preference Shares
                                                                      respect



                                                        See Description                         of the       SecuritiesMandatory Redemption
                                                        of     the        NotesMandatory                                Redemption                 of    the       Notes          for

                                                        Failure           to   Satisfy          Coverage                Tests


   Certain      Consequences        of Failure     to

   Satisfy     the Retention

   Overcollateralization           Test                 If      during                   the      Replacement                        Period             the        Retention

                                                        Overcollateralization                            Test              is        not         satisfied           on        any
                                                        Determination                          Date      certain               funds         as        described          under

                                                        clause            18        under         Description                   of the           SecuritiesPriority
                                                        of      PaymentsInterest                               Proceeds                     representing               Interest

                                                        Proceeds               that       would otherwise                       be    used        to    make       payments

                                                        on      the        Preference                 Shares             and        pay     certain           subordinated

                                                        expenses               of the           Issuer        will        be        deposited           instead        into       the

                                                        Collection                  Account             as    Principal               Proceeds            to     the      extent

                                                                                                  the    Retention                  Overcollateralization                     Test
                                                        necessary to cause
                                                        to      be         satisfied             as      of        that         Determination                   Date          after

                                                        application                 of Principal              Proceeds               as   described           under       clause

                                                                 under              Description                     of        the         SecuritiesPriority                       of

                                                        PaymentsPrincipal Proceeds


   Mandatory           Redemption     of the Notes

   Upon      Rating     Confirmation Failure            The      Issuer          will             provide               certain       information to                SP         and

                                                        Moodys                  with           respect        to        the     Collateral              Obligations                as

                                                        required               by        the    Indenture                and        described           herein         and        ii
                                                        request            SP            to     confirm            in    writing           by     the     Business            Day




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                                    after the          29th       day    after          the    Ramp-Up                    Completion                      Date     that

                                    it    has     not        reduced                suspended                   or        withdrawn                   the       Initial


                                    Rating        of any           Class of Notes                     and       that           it   has not placed any

                                    Class of Notes                  on       credit           watch         with negative                       implications
                                    If     the     Trustee              either                     does         not        receive               evidence            of

                                    confirmation                  from        SP               or     ii        receives                    written             notice

                                    from        Moodys              that      it    has reduced                   suspended                     or    withdrawn

                                    the    Initial      Rating of any Class of Notes                                            or       that    it   has placed

                                    any         Class         of        Notes             on         credit            watch                with           negative

                                    implications                   in        each         case             before               the        Business                Day
                                    following           the        29-day               period        each             such           event                Rating
                                    Confirmation Failure                                       all       Interest              Proceeds               remaining
                                    after                          of amounts                  referred           to      in clauses
                                              payment                                                                                                       through

                                    14           of      Description                          of      the            SecuritiesPriority                              of

                                    PaymentsInterest Proceeds                                             will       be    used to pay                    principal

                                    of the Class A-la Notes the Class A-lb Notes the Class A-

                                         Notes         the    Class                Notes           the     Class                Notes           and       the    Class

                                          Notes        sequentially                 in    order of their priority                                    on    the     next

                                    Payment            Date         and       each        Payment                Date               thereafter             until    the

                                    Initial       Ratings               are        confirmed                      If       necessary                      after     the

                                    foregoing            payments                   are        made            out        of         Interest             Proceeds

                                    Principal           Proceeds                   in    accordance                    with              clause                  under

                                    Description                   of      the       SecuritiesPriority                                    of      Payments
                                    Principal           Proceeds                   will       be    used         to       pay         principal             of each

                                    Class of the Notes                        sequentially                 in    order of their priority                            on
                                    each      Payment              Date        until          the     Initial                               are       confirmed
                                                                                                                      Ratings
                                    See     Description                  of the SecuritiesMandatory Redemption

                                    of the        NotesMandatory                               Redemption                           of the       Notes           Upon
                                    Rating Confirmation                            Failure


  Non-Call Period                   The     period           from        the       Closing            Date           to    but not              including           the

                                    Payment Date                   in   November                    2010 the Non-Call                                 Period

  Optional   Redemption             Upon         the   occurrence                  of         Tax Event                   or    at    any       time after the

                                    Non-Call             Period               the         applicable                  Required                    Redemption
                                    Percentage                may            require               the         Issuer               or     Co-Issuers                as

                                    applicable               to    redeem               the    Notes            in        whole           but        not    in    part
                                    from         Principal          Proceeds                  and        all    other               funds       available           for

                                    that      purpose              in        the        Collection                Account                       the       Payment
                                    Account             the       Interest              Reserve            Account                   the        Closing           Date

                                    Expense Account                          the        Revolving               Reserve                  Account            and     the

                                    Delayed            Drawdown                    Reserve               Account                in       accordance               with

                                    the       optional              redemption                       procedures                       described                  under

                                    Description                   of the SecuritiesOptional                                         Redemption


                                    Notes         to    be         redeemed                   shall        on        the                                         Date
                                                                                                                                    Redemption
                                    become            payable           at    their       Redemption                      Price            From and               after

                                    the    Redemption                   Date       the    redeemed Notes                              will      cease to bear

                                    interest




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                                     The      redemption                  price          payable                   in     connection                  with         the

                                     Optional         Redemption                   of any Class of Notes                               will      be     the       sum
                                     of

                                                 the       outstanding                  principal              amount            of the           portion           of

                                                 the       Note       being redeemed                          plus


                                     ii          accrued                interest              on         the            Note          including                   any
                                                 Defaulted                    Interest              and             interest           on          Defaulted

                                                 Interest               plus


                                     iii         in        the      case           of    any            Deferred               Interest            Note            the


                                                 applicable              Deferred Interest on                             the    Note plus


                                     iv          any         unpaid Extension                           Bonus Payment                        in respect             of

                                                 the       Note


                                     The      redemption                  price          payable                   in     connection                  with         the

                                     Optional         Redemption                   of the Preference Shares                                  will       be          at


                                     the    direction            of           Majority              of the              Preference               Shares            the

                                     entire      remaining               amount            of available                    funds           after       all       prior

                                     applications             or    ii        as    specified             by        the    unanimous                   direction

                                     of the       Holders             of the            Preference                 Shares             in    each       case         as

                                     described             under         Description                     of the           SecuritiesOptional

                                     Redemption

                                     In    addition          any        Class of Notes                    may be redeemed                             in   whole
                                     but    not       in     part        on    any        Payment                  Date        after        the       Non-Call

                                     Period from              Refinancing                 Proceeds                  obtained           from                loan     or

                                     the    issuance          of         replacement                     class          of notes            subject          to    the

                                     written        consent              of             Majority               of       the     Preference                  Shares

                                     voting        as        single       class and                 to the extent                and        subject          to the

                                     restrictions            and      conditions              described                  herein        and       set forth          in

                                     the   Indenture



   Special   Redemption              The Notes             will     be    subject             to    redemption                  in    whole           or    in    part

                                     by    the     Issuer          or    the       Co-Issuer                  as    applicable               on        Payment
                                     Dates       during          the     Replacement                     Period           if    the        Servicer          elects

                                     subject          to     the    Servicing             Agreement                       to    notify           the       Trustee

                                     and     each          Rating         Agency              that        it       has     been        unable               for    45

                                     consecutive             Business              Days            to    identify          additional              Collateral


                                     Obligations that                   are    deemed               appropriate                 by     the       Servicer           in

                                     its    sole       discretion              and        meet                the       Eligibility              Criteria           in


                                     sufficient            amounts            to    permit              the    use        of    all    or          portion          of

                                     the    funds            then        in     the       Collection                    Account              available              to

                                     purchase              additional               Collateral                 Obligations                             Special
                                     Redemption                          On        the    first          Payment               Date         following              the

                                     Due      Period          for       which           such       notice           is    effective                    Special
                                     Redemption                  Date              the    funds in the Collection                                Account            or

                                     the     Payment                Account               representing                        Principal               Proceeds

                                     which         cannot           be        used       to        purchase               additional               Collateral


                                     Obligations the Special Redemption                                                         Amount                     will     be

                                     available          to    be        applied          in    accordance                     with         the    Priority          of




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                                                 Payments                      See        Description                  of     the      SecuritiesSpecial

                                                 Redemption                 of the Notes                If    the       Servicer        Does           Not        Identify

                                                 Replacement                    Collateral            Obligations as Contemplated                                   by the
                                                 Indenture


  Additional   Issuance   of Preference

  Shares                                         At any time during                         the    Replacement                  Period           the     Issuer          may
                                                 issue        and        sell    additional             Preference              Shares        and        use the             net

                                                 proceeds            to    purchase             additional           Collateral             Obligations                 if   the

                                                 conditions                for       such        additional              issuance           described                under

                                                 Description                     of       the     SecuritiesAdditional                                 Issuance               of

                                                 Preference                 Shares               are        met          Any          amendment                    to        the

                                                 Indenture                the     Preference                Share         Documents                 or       any        other

                                                 related       documents                   required          to    provide            for   or    facilitate            such

                                                 additional              issuance          of Preference Shares                        will       not require                the

                                                 consent           of the Holders                 of Securities


                                                 It   is   expected             that      Investors          Corp            will     finance the purchase

                                                 of any         additional                Class          Preference                  Shares        issued          by        the

                                                 Issuer       by        issuing         additional           Holding            Preference               Shares           in

                                                 number             equal        to       the    aggregate              number          of and               at         price

                                                 equal        to     the        price       of such               additional           Class             Preference

                                                 Shares        purchased                by it


  The   Offering                                 The       Senior Notes                   are     initially         being offered                            in reliance

                                                 on        Regulation                            to     non-U.S                 Persons                 in        offshore

                                                 transactions                   Offshore                Transactions                        as     such           term         is


                                                 defined           in    Regulation                   and     ii         to   purchasers               that       are    U.S
                                                 persons            U.S               Persons                 as        such         term         is     defined               in


                                                 Regulation                      that      are          Qualified              Institutional             Buyers              as
                                                 defined            in     Rule         144A           each                  Qualified              Institutional

                                                 Buyer                   and         II         Qualified               Purchasers                       Subsequent
                                                 transferees              of the Senior Notes                       must        be          non-U.S Persons
                                                 that      purchase             the       Senior Notes               in      Offshore         Transactions                     or

                                                 iia           Qualified                  Institutional                Buyers           and                   Qualified
                                                 Purchasers                    The      Class            Notes           and     the    Preference                  Shares

                                                                               offered          and                 be
                                                 are       initially                                    may                   subsequently               transferred

                                                 only to purchasers that are                                      Qualified            Institutional               Buyers
                                                 and       ii       Qualified              Purchasers                   See     Plan          of Distribution

                                                 and       Transfer             Restrictions



  Form     Registration    and   Transfer   of

  the Senior   Notes                             Except        as        provided           herein          the    Senior Notes                  sold        in reliance

                                                 on     the    exemption                  from        registration            provided            by Rule               144A
                                                 and        Qualified             Purchasers                 will       be     represented               by        one        or

                                                 more permanent                        global         notes        in definitive                 fully       registered

                                                 form        without            interest
                                                                                                 coupons           each               Rule         144A            Global

                                                 Note              deposited               with       the     Trustee            as    custodian                  for        and

                                                 registered              in the       name of                nominee of               the   Depository                   The
                                                 Depository                will credit            the   account              of each        of    its   participants

                                                 with         the        principal              amount            of      the        Senior         Notes            being

                                                 purchased                 by        or     through               the        participant                     Beneficial




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                                                interests       in         Rule           144A        Global            Note        will       be    shown on and
                                                transfers         thereof                 will    be        effected               only        through            records

                                                maintained                by        the    Depository                   and        its    direct          and     indirect

                                                participants               See            Description                    of        the        SecuritiesForm
                                                Denomination                        Registration                  and         Transfer               of     the     Senior

                                                Notes


                                                Except        as          provided                herein               the        Senior            Notes         sold     in


                                                Offshore          Transactions                    to    non-U.S                    Persons           in    reliance        on

                                                Regulation                 will       be represented                     by one           or more permanent

                                                global       notes             in     definitive                 fully        registered                 form     without

                                                interest     coupons                 each              Regulation                         Global           Note          and

                                                together          with          the       Rule         144A             Global           Notes            the     Global
                                                Notes             which              will        be         deposited               with         the        Trustee        as

                                                custodian            for and              registered              in the           name        of          nominee         of

                                                the   Depository                    for the       respective                 accounts           of the beneficial

                                                owners       at      Euroclear              or     Clearstream                      Beneficial              interests      in

                                                     Regulation                      Global            Note      may be                   held           only     through
                                                Euroclear            or   Clearstream                  at    any time


                                                Except          in        the        limited            circumstances                         described            herein
                                                certificated           Senior Notes                    will not              be    issued           in   exchange         for

                                                beneficial           interests             in     Global           Notes                 See     Settlement               and

                                                Clearing

                                                Transfers            of    interests              in    the        Senior            Notes           are     subject       to

                                                certain      restrictions                  and        must         be     made            in    accordance               with

                                                the   procedures                    and    requirements                   set       forth       in the       Indenture

                                                See    Description                        of the        SecuritiesForm                               Denomination
                                                Registration                   and         Transfer               of         the     Senior               Notes           and

                                                Transfer             Restrictions                      Each           purchaser of Senior Notes                             in

                                                making        its         purchase              will        be    required               to    make         or     will    be

                                                deemed            to       have            made             as        the         case         may         be      certain

                                                acknowledgments                            representations                         and        agreements                  See

                                                Transfer          Restrictions



   Form   Registration   and   Transfers   of

   the Class   Notes                            The Class                 Notes            will    be issued             in the          form        of one       or    more
                                                certificated              Class                  Notes           in     definitive                  fully       registered

                                                form       registered                 in     the       name             of    the        owner            thereof        the
                                                Certificated                   Class              Notes

                                                Transfers            of        the        Class                  Notes             are        subject        to    certain

                                                restrictions              and         must         be        made             in     accordance                 with      the


                                                procedures and                      requirements                  set    forth       in the         Indenture             See

                                                Description                     of         the        SecuritiesForm                                 Denomination

                                                Registration               and            Transfer               of     the         Class                 Notes           and

                                                Transfer             Restrictions                       Each            purchaser of Class                             Notes

                                                in    making           its      purchase               will        be        required           to       make      certain

                                                acknowledgments                            representations                    and                                 and    will
                                                                                                                                         agreements
                                                be     required                to         deliver            various               tax        forms          including

                                                applicable             IRS           Form          W-8            or     IRS         Form            W-9          and     tax

                                                certifications                  See Transfer                     Restrictions                  for       more     details




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   Form     Registration     and   Transfers   of

   the Preference   Shares                          The        Preference                     Shares        will       be        issued           in the          form of one                or

                                                    more         certificated                        Preference                  Shares              in        definitive                 fully

                                                    registered                 form            registered             in the          name of               the    owner           thereof

                                                    the Certificated                                 Preference                 Shares

                                                    Transfers                  of        the     Preference                 Shares               are        subject          to     certain

                                                    restrictions                    and         must         be        made               in     accordance                   with         the

                                                    procedures                      and         requirements                     set       forth          in      the       Preference

                                                    Share            Documents                            See     Description                        of      the        Securities
                                                    Form             Denomination                            Registration                        and         Transfer               of     the

                                                    Preference                      Shares                and         Transfer                   Restrictions                          Each

                                                    purchaser                  of    Preference                  Shares              in   making             its       purchase            will

                                                    be          required                        to         make                 certain                 acknowledgments
                                                    representations                           and         agreements                      and        will         be    required             to

                                                    deliver           various                 tax     forms           including                   applicable                IRS Form
                                                    W-8          or        IRS             Form            W-9             and            tax        certifications                        See
                                                    Transfer               Restrictions                     for       more           details




  Ratings                                           It    is         condition                  of    the       issuance              of the           Securities             that        each

                                                    Class       of     Notes             are rated          at    least         as indicated                 in   the       table      under

                                                    Principal                       Terms            of the Securities                      on the Closing Date


                                                    No         rating           of        the        Preference                 Shares            has          been          sought         or

                                                    obtained              in    connection                  with the issuance                          thereof



                                                    Each         of            the         above            ratings             assumes                 that           no     Maturity
                                                    Extension                  occurs after the Closing Date


                                                          credit          rating           is   not         recommendation                             to    buy         sell     or      hold

                                                    securities            and         may be              subject          to    revision            or     withdrawal               at    any
                                                    time        by    the           assigning             Rating Agency                              See       Risk Factors
                                                    Relating              to    the        SecuritiesFuture                                                 of the Notes                  Are
                                                                                                                                          Ratings

                                                    Not        Assured               and        Limited          in    Scope              the Preference                    Shares         are

                                                    Not        Rated


  Listing                                           Application                     is   expected            to       be    made            to    list      each        Class of the
                                                    Senior Notes                      on       the regulated                market of the                      ISE          There          can
                                                    be     no        assurance                   that       such           admission                  will        be                        or
                                                                                                                                                                            granted
                                                    maintained                        See        Listing              and        General              Information                         The
                                                    issuance              and         settlement                of the          Senior Notes                      on    the       Closing
                                                    Date        will not                 be     conditioned                 on       the                       of the        Notes          on
                                                                                                                                               listing

                                                    the    ISE            Furthermore                      the    Co-Issuers                     will       not be required to

                                                    maintain                        listing          on           stock          exchange                   in     the       European
                                                    Union            if    compliance                      with        requirements                         of     the       European
                                                    Commission on                                member            state         becomes burdensome                                  in the

                                                    sole       judgment                  of the Servicer                        In    addition              there       is   currently

                                                    no         market               for        the      Senior             Notes               and        there         can         be      no
                                                    assurance              that               market        will       develop




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   Governing    Law                       The     terms       and      conditions        of the          Preference      Shares       as    set


                                          forth    in    the      Issuer        Charter      and         the   Resolutions           will    be

                                          governed           by     and    construed         in     accordance        with     the    law of

                                          the      Cayman              Islands               The          Notes       Indenture             any

                                          supplemental               indenture           the        Servicing         Agreement             the

                                          Collateral         Administration Agreement                          the   Preference Shares

                                          Paying     Agency Agreement                    and               Hedge      Agreements           will
                                                                                                    any
                                          be    governed          by      and     construed         in   accordance         with     the    law

                                          of the State of           New         York

   Tax Status                             See    Material           Income Tax Considerations


   Considerations     for Benefit Plans                 as    described           herein          the     Class        Notes        and     the
                                          Except
                                          Preference          Shares            may    not     be       purchased      or    held     by     or

                                          transferred             to        any        Benefit            Plan       Investor               See

                                          Considerations                    for       Benefit            Plans         and      Transfer

                                          Restrictions




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                                                                                                RISK             FACTORS

                 An         investment               in     the       Securities            involves             certain           risks        Prospective                 investors              should            carefully

 consider              the        following               factors             in     addition               to        the     matters           set     forth          elsewhere                in       this         Offering

 Memorandum                        prior to investing                    in    any        Class of Securities


 Investor          Suitability



                 An          investment              in     the       Securities           will       not be           appropriate              or    suitable          for      all    investors                  Structured

 investment                 products               like    the Securities                  are       complex instruments                          and       typically            involve                high degree                of

 risk      and     are            intended           for     sale       only        to     sophisticated                    investors           who      are      capable              of understanding                          and

 assuming              the        risks    involved              Any         investor          purchasing               Securities           should conduct                   its      own      investigation                    and

 analysis         of an            investment               in    the    Securities              and       consult           with     its   own        professional               advisors               as to        the    risks

 involved          in       making such investment


 General               Priorities              of Securities



                 The          Issuer          intends       to    acquire           securities             and        other        financial         assets       with certain            risk characteristics

 as    provided              in    the    Indenture              and    the        Servicing           Agreement                    See     Security             for the         Notes             There            can     be no

 assurance             that        the Issuer          will       be    successful              in    achieving              its   objectives          to   ensure that                investors              receive        their

 initial        investments                   under        the     Securities              and       that       they        receive             return       and        avoid                   losses
                                                                                                                                                                                       any                           including

 total     losses             on     their         investment            in    the        Securities              Prospective               investors            are    therefore              advised to review

 this    entire         Offering               Memorandum                     carefully              and        should        consider           among           other       things            the      following                risk

 factors         along              with           among          other        things            the       inherent            risks       of    investment                 activities             before             deciding
 whether          to        invest       in    the    Securities




                 Except             as    is   otherwise               stated       below            the    risk factors              are generally               applicable             to    all      the        Securities

                   the                         of risk associated                    with each              Class of Securities                                             In                                the priorities
 although                     degree                                                                                                                 may      vary                particular

 of payment                  of the Notes                  are    generally               in the       order of their alphabetic                              designation               from            the        Class A-i

 Notes          the         highest           priority           to    the     Class             Notes            the lowest                priority          the       priorities            of payment                  of the

 Notes       are       higher than priorities of payment                                         of the Preference Shares                                              with respect                to    the        amount         if
                                                                                                                                                      except

 any       required               for    payment            of Class          II    Preference Share                        Special       Payments


 Relating              to    the Securities



                  The        Securities              Will    Have        Limited Liquidity



                 There             is    currently           no        market            for    the     Securities                  There        can     be       no    assurance               that                secondary
 market for any                    Class of Securities                       will    develop               or    if         secondary           market        does develop                    that             will
                                                                                                                                                                                                         it
                                                                                                                                                                                                                       provide
 the     Holders             of the applicable                        Class of Securities                       with        liquidity       of investment                   or    that    it    will          continue            for

 the     life     of such               Class of           Securities                In    addition               each        Class of Securities                      is    subject          to     certain           transfer

 restrictions               and      can       only be           transferred              to    certain          transferees           as    described             under         Transfer                Restrictions

 The       restrictions                 on     the    transfer           of        the    Securities              may         further       limit       their      liquidity              The            Securities               are

 designed              for    long-term investors                        and        should not be                     considered                vehicle          for short-term                trading               purposes
 Consequently                      an     investor          in    the        Securities           must           be    prepared to bear the risk of holding                                             such        Securities

 until      their           Stated        Maturity               or     in    the        case     of the          Preference                Shares          the     Scheduled                 Preference                  Shares

 Redemption                   Date            To    the extent           that
                                                                                    any     secondary                 market        exists for the Securities                          in the       future            the price

 if any           at    which            Securities              may be            sold    could           be    at         discount         which          in    some cases may be                                substantial

 from       the        principal              amount of                the    Securities                To        the       extent     any       market           exists         for    the        Securities               in    the

 future          significant              delays could                  occur        in the          actual       sale       of Securities               In      addition           the       Securities               will not

 be     registered                under        the    Securities             Act or any               state       securities          laws and              the    Co-Issuers             have            no                     and
                                                                                                                                                                                                                    plans
 are under             no     obligation               to register             the Securities                   under        the     Securities          Act           Application              is      expected             to   be

 made       to     admit each                  Class of the Senior Notes                               to       the    Official        List      of the ISE                 There        can       be         no    assurance

 that    any      such            admission           will       be granted or maintained




                                                                                                                  29
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                 The       Subordination                     of the Class A-lb Notes the Class A-2 Notes the Class                                                                                 Notes           the    Class

                 Notes           the    Class               Note        and        the   Preference                 Shares            Will Affect                Their Right to Payment                             in   Relation

                 to the      More Senior                     Securities




                 The        Class A-lb Notes                            are        subordinated                    in    right        of    payment               of        interest          and        principal           to     the

  Class A-la Notes                     in   the    manner and                      to    the      extent           described           in    this         Offering           Memorandum                          Payments of
  interest       on    the       Class A-lb Notes                        will       not       be    made           until       due        and     unpaid           interest            on     the    Class A-la Notes

  and     certain          other        amounts               including                  certain          servicing              fees        payable              to    the        Servicer              certain          hedging
  termination payments                         and          certain           administrative                   fees        have        been          paid         No         payments               of principal             of the

  Class A-lb Notes                     will    be made                 until principal                  of and           due    and        unpaid interest on                      the       Class A-la Notes                      and

  certain       other      amounts            have           been       paid       in full




                 The        Class A-2              Notes               are     subordinated                    in       right        of payment                   of        interest          and        principal           to     the

  Class A-la Notes                     and        the       Class A-lb Notes                            in the          manner and                   to    the    extent          described              in    this      Offering
  Memorandum                       Payments                  of     interest            on     the       Class A-2 Notes                         will       not        be    made            until       due       and      unpaid
  interest       on        the     Class A-la and                            the    Class           A-lb Notes                   and        certain              other        amounts               including               certain

  servicing           fees    payable             to    the        Servicer              certain          hedging              termination payments                               and        certain          administrative

  fees      have       been        paid           No        payments               of principal                of the           Class A-2 Notes                        will       be     made        until         principal         of

  and     due    and       unpaid           interest          on       the    Class A-                   Notes          and     the       Class A-lb Notes                         and       certain          other      amounts

  have     been       paid in full


                 The Class                  Notes           are        subordinated                in right         of payment of interest and                                    principal          to the         Class A-

  Notes         the    Class A-lb Notes                           and        the    Class A-2 Notes                           in the        manner and                  to       the    extent        described              in    this


  Offering        Memorandum                           Payments of interest on                                the       Class             Notes           will not          be    made         until       due      and     unpaid
  interest       on the Class A-la Notes the Class A-lb Notes                                                              and       the    Class A-2 Notes                        and        certain         other      amounts

  including            certain          servicing                 fees        payable              to    the       Servicer               certain           hedging              termination                                       and
                                                                                                                                                                                                           payments
  certain       administrative                fees           have        been       paid            No        payments               of principal                of the Class                   Notes          will      be made

  until     principal            of and        due           and        unpaid           interest         on       the     Class A-                       Notes         the       Class A-lb Notes                        and       the

  Class A-2 Notes                  and       certain          other           amounts             have        been        paid       in    full       except           in    connection              with the payment

  of any       Class             Deferred          Interest




                 The Class                  Notes           are        subordinated                in right         of payment of interest                              and       principal          to the         Class A-

  Notes         the    Class A-lb Notes the Class A-2 Notes                                                        and     the       Class                Notes        in the       manner and                 to     the    extent

  described           in    this       Offering             Memorandum                            Payments                of interest             on       the    Class                Notes         will      not be         made
  until    due     and       unpaid          interest             on    the    Class A-la Notes the Class A-lb Notes the Class A-2 Notes                                                                                    and     the

  Class          Notes        and       certain             other       amounts                                     certain                                 fees
                                                                                             including                                servicing                        payable to the Servicer                              certain

  hedging        termination payments                                  and    certain          administrative                   fees        have           been        paid        No        payments              of principal

  of the Class                Notes          will       be made               until principal                  of and          due     and       unpaid interest on                          the    Class A-la Notes

  the    Class A-lb Notes the Class A-2 Notes                                                      and        the       Class             Notes            and    certain          other        amounts               have        been

  paid    in    full    except          in    connection                 with the payment                          of any Class                      Deferred               Interest



                 The         Class             Notes              are        subordinated                     in    right        of       payment                of     interest             and      principal              to     the

  Class A-la Notes the Class A-lb Notes the Class A-2 Notes the Class                                                                                                  Notes           and     the    Class              Notes        in

  the    manner            and     to       the    extent              described              in    this       Offering               Memorandum                            Payments                of     interest          on     the

  Class          Notes           will       not be           made        until          due       and     unpaid           interest             on        the    Class A-la Notes the                               Class A-lb

  Notes         the    Class A-2 Notes the Class                                             Notes            the       Class             Notes            and    certain          other        amounts               including
  certain        servicing              fees       payable               to        the       Servicer               certain           hedging               termination                                            and      certain
                                                                                                                                                                                            payments
  administrative                 fees       have        been           paid         No        payments                  of principal             of the Class                      Notes            will      be     made         until


  principal           of and       due       and        unpaid               interest        on     the       Class A-                 Notes               the    Class A-lb Notes                            the     Class A-2

  Notes         the    Class            Notes               the    Class                Notes           and    certain          other        amounts              have           been        paid     in      full       except       in

  connection            with       the                             of any           Class                Deferred              Interest          and        the       use        of Interest          Proceeds               to
                                             payment                                                                                                                                                                               pay
  principal           of the       Class                    Notes        on                  Payment                Date        to    the        extent                                  to                      the     Class
                                                                                   any                                                                           necessary                     satisfy

  Coverage            Tests


                 No     payments               will          be    made            out       of Interest                Proceeds            on       the    Preference                 Shares         on       any       Payment
  Date      other       than           as   and        to    the       extent       described                 herein           the    Class          II    Preference              Share           Special          Payments
                                                                                                                    30
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 until       due          and        unpaid            interest             on        the          Notes         including                            Deferred               Interest              and        certain          amounts
                                                                                                                                           any

 including                    certain          amounts              due        under               the     Hedge             Agreements                     certain           servicing             fees        payable           to    the

 Servicer                certain          hedging              termination payments                                   and        certain        administrative                    fees           have      been          paid on        the

 Payment Date                       in    accordance                with the Priority of Payments                                               No        payments               will       be    made         out of Principal

 Proceeds                on      the       Preference                 Shares              other            than            as     and      to       the     extent           described              herein           the       Class      II


 Preference                   Share        Special             Payments                   until           principal             of each             Class of Notes                     and        certain          other       amounts

 payable             out        of Principal                   Proceeds                  on        each        Payment                 Date         have         been        paid       in       full         In     addition            the

 Preference                   Shares          will    not be           redeemed                     until       each        Class of Notes                       and    certain             other       amounts            have        been

 paid     in    full



                    In    addition                        Co-Issuers                                have
                                                the                                   will                      only nominal                    equity           capitalization                     Consequently                  to    the

               that                 losses                 suffered
 extent                   any                       are                          by      any of the Holders                            of any        Securities              the losses             will      be borne          first    by
 the    Holders                of the Preference                      Shares                  and       then by            the    Holders            of each            Class of Notes serially                            in   inverse

 order of their alphabetic                                designations


                    See        Description                 of the Securities



                    Interest             Will       Be Deferred                     on    Deferred               Interest              Notes         if   There         Are       Insufficient                Funds under                the

                    Priority             of Payments for Payment of                                        Interest




                    So long              as     any       Class A-ia Notes                                Class A-lb Notes                           or    Class A-2 Notes                         are     Outstanding                  any
 interest           due         and        accrued             on      the          Class                 Notes            that        remains            unpaid            on        any    Payment                Date        because

 insufficient                 funds        are available                  to                       in    accordance                   with the Priority of Payments will be added                                                  to    the
                                                                                 pay          it



 Aggregate                Outstanding                  Amount                of the Class                        Notes            as    Class             Deferred               Interest         and     failure to            pay     that

  interest          on        the   Payment               Date         when              it
                                                                                               originally              became            due         will    not be              an    Event        of Default                  Class

 Deferred                Interest          will      then       be     payable                 on        subsequent               Payment              Dates           in    accordance                 with the Priority                 of

 Payments                  pursuant             to    which            it      will       remain               subordinated                to       the    payment               of interest             on     the      Class A-la

 Notes         the        Class A-lb Notes                          and      the         Class A-2 Notes                         in    the application                 of Interest Proceeds



                    So        long        as    any        Class A-la Notes                                Class           A-lb Notes Class A-2 Notes                                              or    Class             Notes         are

 Outstanding                    any       interest         due        and        accrued             on        the    Class             Notes         that       remains unpaid on                                 Payment Date
                                                                                                                                                                                                         any
 because             insufficient                funds          are         available               to                it   in     accordance                with        the       Priority          of Payments                 will     be
                                                                                                          pay
 added         to    the       Aggregate              Outstanding                     Amount               of the Class                    Notes           as     Class               Deferred           Interest         and     failure

 to    pay     that           interest         on     the      Payment Date                         when         it    originally              became             due       will not         be     an    Event          of Default

 Class              Deferred                  Interest         will         then         be        payable            on        subsequent                Payment                Dates        in    accordance                 with      the

 Priority           of Payments                      pursuant               to      which            it    will       remain            subordinated                   to    the       payment            of interest             on    the

 Class A-i Notes the Class A-2 Notes                                                      and        the       Class              Notes        in    the application                   of Interest Proceeds



                    So long              as    any     Class A-la Notes Class A-lb Notes Class A-2 Notes Class                                                                                                Notes       or    Class

 Notes         are        Outstanding                     any       interest             due        and        accrued            on     the        Class              Notes          that       remains           unpaid        on     any
 Payment                 Date        because              insufficient                   funds            are        available            to                it    in    accordance                  with        the      Priority         of
                                                                                                                                                    pay
 Payments                 will      be     added          to    the    Aggregate                     Outstanding                  Amount              of the Class                      Notes           as Class               Deferred

  Interest          and        failure to
                                                     pay       that    interest               on     the       Payment Date                    when         it
                                                                                                                                                                  originally            became            due       will    not be       an
 Event         of        Default                Class               Deferred                   Interest              will       then      be        payable            on     subsequent                 Payment               Dates      in

  accordance                  with the Priority of Payments                                          pursuant to which                         it   will     remain subordinated                           to the        payment of
  interest          on        the   Class A-la Notes                             the      Class A-lb Notes the Class A-2 Notes the Class                                                                           Notes        and      the

  Class             Notes           in    the   application                 of Interest Proceeds



                    Interest             Proceeds              May Be            Retained                 in    Priority          to    any Payments to Holders                                  of Preference                 Shares



                    During               the    Replacement                      Period              if    the        Retention            Overcollateralization                             Test        is    not       met on         any
  Determination                     Date             portion           of the Interest Proceeds                                   that    might otherwise                        have        been       paid to the Holders
  of the        Preference                     Shares          on      the          related             Payment              Date         will       instead            be       deposited              into       the     Collection

  Account                as    Principal             Proceeds                  as     described                 under           clause         18          under        Description                     of the        Securities

  Priority          of PaymentsInterest Proceeds




                                                                                                                           31
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                     The                                    Class                       Control                                       under                                        However                Some
                               Controlling                                   Will                          Many      Rights                         the      Indenture                                                 Rights of
                     the       Controlling                 Class to Sell the Collateral                                 in   Connection                 with an Event                                     Are Limited
                                                                                                                                                                                      of Default


                     Under           the       Indenture        many rights of the Holders of                                           the        Notes       will     be       controlled             by          Majority        of
  the     Controlling                     Class             Remedies pursued by the Holders                                                 of the           Controlling              Class        upon         an     Event        of

  Default            could           be     adverse               to    the        interests             of the     Holders            of Securities                 subordinated                  to    the        Controlling

  Class             After any              realization                 on        the    Collateral                               will       be     allocated          in     accordance                 with the Priority
                                                                                                             proceeds
  of Payments pursuant to which                                              the       Notes         and    certain          other     amounts                                   the    Co-Issuers                  will   be
                                                                                                                                                             owing by                                                            paid
  in    full        before                     allocation              to    the       Preference            Shares                                     and     to   the        extent       described               herein       the
                                    any                                                                                       except             as

  Class        II    Preference                 Share                                 Payments              and     each        Class of Notes                                   with certain                other      amounts
                                                                 Special                                                                                           along
  owing by                 the       Co-Issuers                   will           be     paid        serially       in                              order       until             is                in    full        before
                                                                                                                         alphabetic                                        it
                                                                                                                                                                                       paid                                       any
  allocation              is   made            to the       next Class of Notes



                    However                 the       ability          of the Controlling                     Class to direct the sale and                                 liquidation             of the Collateral                is


  subject           to certain             limitations                  As described under                         Description                   of the SecuritiesThe                              IndentureEvents
  of Default                   if    an    Event            of Default                 occurs and            is                              the      Trustee         must        retain         the     Collateral             intact
                                                                                                                   continuing
  and     collect          all                              in respect                of the Collateral                 and    continue                                                     in   accordance                with the
                                    payments                                                                                                        making payments
  Priority           of Payments and                             in    accordance                  with the        Indenture            unless           either                 the    Trustee            in consultation

  with the               Servicer              determines                   that       the     anticipated           net                           of         sale    or                                of the Collateral
                                                                                                                              proceeds                                       liquidation

  would be                sufficient             to    discharge                  in    full       the    amounts            then due         and        unpaid        on       the    Notes            for principal             and

  interest          including                  Defaulted               Interest              and     Deferred        Interest          and                   interest      on     the    Defaulted                  Interest      and
                                                                                                                                                   any
  Deferred               Interest               all        Administrative                      Expenses            all       other     amounts                if     any        then        payable            to    the    Hedge
  Counterparty                      by     the        Issuer           including                                                 termination                                          net     of             amounts             then
                                                                                                   any     applicable                                         payments                              all


  payable            to    the        Issuer          by         the    Hedge            Counterparty                and        all    other          amounts          then payable                     under         clause

  under         Description                      of the           SecuritiesPriority                          of PaymentsInterest Proceeds                                               and             Majority            of the

  Controlling                  Class agrees with that                                  determination               or            the        Holders            of                                            of each         of the
                                                                                                                                                                       Super           Majority
  Class A-la Notes the Class A-lb Notes the Class A-2 Notes the Class                                                                                                      Notes         the       Class              Notes       and

  the     Class                  Notes           direct               subject           to     the       provisions           of the         Indenture               the        sale     and                                 of the
                                                                                                                                                                                                   liquidation

  Collateral




                    Net Proceeds                      Less        Than Aggregate                         Amount of            the Securities




                    It    is   anticipated                 that        the       proceeds            received by the Issuer                        on    the    Closing           Date           from the issuance of

                                               of certain                                                                                                     aggregate amount of
  the    Securities                  net                               fees        and                            will    be    less        than      the                                                    the     Securities
                                                                                             expenses

  Consequently                       it   is    anticipated                  that      on      the    Closing        Date        the    Collateral              would be               insufficient             to
                                                                                                                                                                                                                      repay the
  purchase               price       of the Securities                       in the          event       of an Event            of Default              under        the    Indenture             on     that       date



                    In     addition              during           the        lifetime           of the transaction                    except as described herein                                  excess            interest     will

  be    distributed                 to    the       holders            of the Preference                     Shares            rather        than       being        invested           in additional                 Collateral

  Obligations                    Therefore                  it   is    highly likely that                    after      payments             of the Notes              and        the other             amounts            payable

  prior        to    the       Preference                  Shares           under            the Priority          of Payments                   Principal           Proceeds               will    be       insufficient           to

  return        the       initial         investment                  made            in the       Preference Shares                        Therefore               over the passage                     of time holders

  of Preference Shares                              will        have        to    rely       on excess        interest          for their ultimate                   return



                     The Issuer                is   Highly             Leveraged                   which     Increases Risks to Investors



                    The        Issuer          will        be    substantially                  leveraged            The use of               leverage          in    acquiring             assets        is        speculative

  technique               which            increases              the        risk to           holders       of    the       Securities             particularly                holders          of the         subordinated

  Securities                   In    certain               scenarios               the       Notes         may not be paid in full and                                 the       Preference               Shares           may     be

  subject           to    up to           100%         loss       of invested                  capital       The leverage provided to                                the Issuer             by     the    issuance           of the

  Securities              will result                 in    interest             expense           and     other     costs       incurred               in   connection               with the borrowings                        that

  may not be covered                             by        the    net interest                 income         dividends               and     other          cash    flow        in    respect          of the Collateral

  Obligations                       The     use of              leverage              generally            magnifies           the     Issuers risk of                  loss particularly                       for    the      more
  subordinate                  Classes of Notes                         and        the    Preference              Shares          The        Preference Shares                                            the       most junior
                                                                                                                                                                                      represent

  Securities              in          highly           leveraged                  capital          structure            As        result            any       deterioration              in      performance                 of the

  Collateral               including                defaults            and           losses             reduction           of realized           yield       or other           factors          will        be borne          first


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 by     holders         of the          Preference             Shares              In     addition                  the      use      of        leverage           can        magnify           the     effects          on     the

 Preference             Shares         of         deterioration                  in the                                      of the Collateral                          In    certain          circumstances                   such
                                                                                              performance
 as     in   connection            with the exercise                    of remedies following                                   an    Event            of Default                 the                             Class
                                                                                                                                                                                        Controlling                            may
 require        the      Issuer         to       dispose          of some               or    all       of the            Collateral              Obligations                     under        unfavorable               market

 conditions             thus      causing the Issuer                     to       recognize                   loss       that      might not otherwise                            have       occurred              In    certain

 circumstances                  the                               Class are entitled                                                                      of Collateral
                                        Controlling                                                          to     direct      the        sales                                    Obligations and                     may      be

 expected          to      do    so     in    their       own       interest             rather          than in the                  interests              of the         more subordinate                      Classes of

 Securities




                Each            of the       Co-Issuers                Is    Recently               Formed                Has         No         Significant                 Operating            History            Has        No
                Material              Assets Other than the Collateral                                        and       Is   Limited             in    Its    Permitted             Activities



                Each        of    the       Issuer       and      the       Co-Issuer              is         recently           formed entity                     and       has no          significant           operating

 history         other          than         with        respect            to    the        Issuer            in       connection                with           the     acquisition              of       the     Collateral

 Obligations during                     the       period       up      to    the    Ramp-Up                    Completion                   Date             Accordingly                  neither          the     Issuer       nor
 the     Co-Issuer          has             performance                history          for prospective                       investors              to    consider               The performance                       of other

 CDO         vehicles           serviced          or    advised by the Servicer                               should not be                      relied       upon          as    an indication              or prediction

 of      the    performance                      of     the       Issuer                Such        other               CDO           vehicles                may           have        significantly                different

 characteristics                 including              structures           composition                     of the collateral                    pool objectives management                                       personnel
 and         terms      when           compared                to      the        Issuer          and         the         Co-Issuer                       See      Risk            FactorsRelating                        to    the

 SecuritiesPerformance                                History of the Servicer                           May Not Be                    Indicative                 of Future Results



                Neither           the       Issuer       nor the Co-Issuer                      will          have                   material             assets        other       than        with respect              to    the
                                                                                                                          any
 Issuer the Collateral                            The     Indenture               provides              that       the     Issuer          is    not permitted to engage                               in    any     business

 activity       other           than the          issuance          of the Notes the Preference                                            Shares            and      the     Issuer         Ordinary            Shares         the

 acquisition            and       disposition             of Collateral                  Obligations                    certain        activities                conducted              in     connection            with the

 payment           of amounts                in                     of the Securities                        and        the                               of the       Collateral              and     other        activities
                                                   respect                                                                      servicing

 incidental           or    related          to    the                             and       that       the       Co-Issuer                      not                                                                 business
                                                            foregoing                                                                      is             permitted to engage                         in
                                                                                                                                                                                                            any
 activity       other       than the co-issuance                        and        sale       of the Senior Notes the issuance                                               of   its   share                      and      other
                                                                                                                                                                                                  capital

 activities        incidental               or    related      to      the       foregoing                   Income derived                       from           the    Collateral             will    be     the       Issuers

 principal         source of cash



                The        Securities             Are Not Registered                           Under                the      Securities               Act       and       the      Issuer Is Not                  Registered
                under           the    Investment             Company               Act



                The        Issuer           has       not     registered                the    Securities                  under           the         Securities             Act       and      the        Issuer        is    not

 registered           under           the    Investment                Company                Act         in      each        case         in    reliance                          applicable           exemptions               to
                                                                                                                                                                       upon
 registration            under         the        Securities           Act        and        the    Investment                   Company                   Act         The        Issuer        does        not    expect        to

                the     Securities               under                                       Act nor become                                                  under                 Investment                                  Act
 register                                                   the     Securities                                                     registered                             the                              Company
 at   any      time in the foreseeable                         future            As such            investors                should be aware                       that      the Issuer          and        the Securities

 are     not     subject          to        many         of the        regulatory               protections                   and          oversight               applicable             to    securities              that    are

                     under        the       Securities         Act or applicable                         to                            investment
 registered                                                                                                       registered                                       companies


                The        Notes        Are Non-Recourse                           Debt Obligations                              Investors                Must         Rely        on     Available              Collections

                from        the       Collateral            and     Will         Have        No     Other Source                     for Payment


                The        Class             Notes          the     Class           Notes           and           the    Class              Notes            are   non-recourse                 debt obligations                 of
 the     Co-Issuers             and     the       Class             Notes         are     non-recourse                     debt obligations                        of the Issuer                The         Securities          are

 payable         solely          from        the        Collateral               pledged           by        the       Issuer         to        secure          the     Notes             None         of the           security

  holders        members                officers            directors             partners              or    incorporators                     of the Issuer the Co-Issuer                                  the    Servicer
 the     Initial        Purchaser                 the    Trustee             the    Preference                      Shares           Paying                             the        Administrator                   the     Share
                                                                                                                                                          Agent
 Registrar            the       Share        Trustee                    of their respective                                                                      other
                                                               any                                                      affiliates              or     any                    person will be                 obligated           to

  make payments                   on    the       Notes        The Issuers                    ability          to    make          interest           payments               and     principal                                   on
                                                                                                                                                                                                        repayments
  the    Notes        will       be    constrained                by    the       terms of the Indenture                                    Holders              of the           Notes        must                             on
                                                                                                                                                                                                           rely solely

 collections            received             on    the      Collateral             pledged              to     secure           the        Notes           and      for      the                       of interest             and
                                                                                                                                                                                    payment
  principal        on      the    Notes and                 there       can        be    no     assurance                 that       those           collections              will      be     sufficient          to    pay     all



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  amounts            due        on     the       Notes             If    distributions                on    the     Collateral                    are     insufficient                to     make           payments                 on    the

  Notes no               other        assets          will    be    available             for    payment            of the deficiency                            and following                        liquidation               of    all    of

  the     Collateral                 the      Co-Issuers                 will       not         have        any     obligation                     to     pay        any         deficiency                   which            shall        be

  extinguished                 and     shall          not    revive



                    The        Preference                    Shares           are         not        Secured            Obligations                           Investors               Must            Rely         on        Available

                    Collections              from           the Collateral                and        Will    Have No Other Source for Payment


                The            Preference               Shares           will       be     part        of the       issued              share            capital        of the              Issuer               The      Preference

  Shares        are        equity           in    the        Issuer       and        are        not    secured              by     the        Collateral               Obligations or other                                  Collateral

  securing           the       Notes             As such                the    Holders               of Preference                 Shares               will     rank        behind              all    creditors               whether

  secured           or    unsecured               and        known         or      unknown                 of the       Issuer including                          without              limitation                 the     Holders            of

  the    Notes           and    any         Hedge           Counterparties                    other         than       to    the extent                 described under                      the       Description                   of the

  SecuritiesPriority                          of       Payments                the       Holders           of the Class                 II    Preference Shares                         with respect                    to     the    Class

  II   Preference               Share         Special              Payments                   Except         with respect                     to       the     obligations                  of the          Issuer        to    pay        the

  amounts            described               under           the    Description                      of the       SecuritiesPriority                              of PaymentsInterest Proceeds

  and     Principal Proceeds                                       the    Issuer          does        not however                   expect to have                      any           creditors             though           there         can

  be    no    assurance               that    this          will   be the case                  In    addition the Issuer                           is    also    subject             to limitations                    with respect

  to    the    business that                     it
                                                       may         undertake                  See      The          Co-IssuersBusiness                                           Payments                   in
                                                                                                                                                                                                                   respect           of the

  Preference              Shares            are subject            to certain             requirements                 imposed               by Cayman                  Islands             law         Any         amounts               paid

  by the Preference                         Shares          Paying        Agent           as     dividends             on     the       Preference Shares                             will       be payable               only        if    the

  Is   suer    has         sufficient             distributable                 profits          and/or           balance           in            the     Issuers            share           premium                account                  In

  addition           dividends               and        the final         payment upon redemption                                   of the Preference Shares                                          will    be payable                  only
  to the extent                that    the       Issuer       is   and        will      remain         solvent          after       such dividends                      or       redemption                  payment             is   paid
  Under Cayman                        Islands          law              company            is    generally             deemed                to    be     solvent           if   it    is    able       to       pay     its    debts        as

  they come               due


                The            Issuers            obligation              to       pay     dividends              or     to      make              other        distributions                    to    the        Holders            of the

  Preference              Shares            will       therefore           not be                secured          obligation                 of the            Issuer       and        such           Holders            will        not be

  entitled          to    the    benefits              of    the    Indenture                 nor will the Trustee                           have                    obligation              to       act    on     behalf           of the
                                                                                                                                                          any
  Holders           of Preference                      Shares            With           the     exception              of the           Class            II   Preference                Share           Special           Payments
  Holders            of the           Preference               Shares              will       only     be        entitled          to        receive            amounts               available               for       payment              of

  dividends              or    other        distributions                after      payment             of    all   amounts                  payable on                each           Class of Notes                     and     certain

  other       amounts            in     accordance                 with the Priority of Payments                                        and        only to the extent                        of distributable                        profits

  of the       Issuer           and/or           any        balance           in    the       Issuers share                   premium account                           and           in each               case only                to     the

  extent       that       the Issuer             is    and     will      remain           solvent          following             such             distributions




                    To     the extent                 the    requirements                 under        Cayman                Islands              law described                  in the          preceding                paragraphs

  are not       met           amounts            otherwise               payable          to     the   Holders              of the Preference Shares                                   with           the    exception                of the

  Class        II    Preference                  Share         Special              Payments                will        be       retained                in    the     Preference                     Shares            Distribution

  Account            until       in the          case of dividends                        the    next succeeding                    Payment Date                        on which                  the Issuer             notifies           the

  Preference                  Shares         Paying            Agent               such        requirements                   are       met             and      in     the           case        of        any         payment             on

  redemption                  of the Preference                     Shares              the     next succeeding                     Business                  Day      on        which           the    Issuer           notifies           the

  Preference Shares                         Paying Agent such requirements                                        are        met Amounts                         on deposit                 in   the    Preference                   Shares

  Distribution                 Account            will        not be          available          to    pay        amounts               due        to     the    Holders               of    the       Notes            the     Trustee

  the    Collateral              Administrator                      the       Servicer               any     Hedge            Counterparty                      or    any        other           creditor           of the           Issuer

  whose claim                   is    limited           in    recourse              to    the     Collateral                  However                     amounts            on        deposit              in    the     Preference

  Shares        Distribution                     Account                may        be     subject           to    the        claims               of     creditors            of the              Issuer           that        have        not

  contractually                 limited          their       recourse to the Collateral                                 The Indenture and                             the    Preference                     Share Documents

  will limit the                Issuers activities                       to    the       issuance           and     sale         of the            Securities           the       acquisition                     and     disposition

  of the Collateral                    Obligations and                        Eligible          Investments                  and    the           other        activities             related          to    the       issuance            and

  sale       of the Securities                   described under                        the     The         Co-Issuers The                              Issuer       therefore               does not expect to have

          significant                full    recourse              liabilities           that    would be payable                            out        of amounts               on     deposit              in    the    Preference
  any
  Shares Distribution                        Account




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                 The        Issuer        May            Distribute                Eligible          Equity        Securities                 to    the    Holders              of the Preference                            Shares        in

                 Lieu of Cash



                 The            Servicer             on        behalf          of       the     Issuer            may         direct          the        Trustee           to     distribute                 Eligible              Equity
  Securities               in    lieu       of           distribution                   of    Interest           Proceeds                in     whole         or      in                     to    the       Holders               of the
                                                                                                                                                                             part
  Preference               Shares         who        consent             to     such          distribution              with respect                 to    any        applicable                  Payment               Date       to    the

  extent        that       the       Market Value                    of such              Eligible          Equity            Securities                 determined                by        the     Servicer                as    of the
  relevant        Market              Value          Determination                       Date         is                                lower            than the                                   amount of
                                                                                                            equal to           or                                           aggregate                                             Interest

  Proceeds           that        would otherwise be                           distributed             to    such                                    Holders           of the Preference                            Shares          on    the
                                                                                                                        Consenting
  relevant        Payment Date                           The Market                 Value        of any           Eligible          Equity           Securities              is   subject           to       fluctuations                and

  may      increase             or    decrease            following                           distribution              of such                                              Securities                 to    the
                                                                                    any                                                      Eligible       Equity                                                      Consenting
  Holders         of the Preference                           Shares           which           in certain          circumstances                          may      result         in the           Consenting                 Holders
  of the Preference                      Shares                                     overall            higher           or     lower           internal          rate        of return                                       with        the
                                                              receiving                                                                                                                             compared
  internal        rate          of return            received             by        the       Holders            of the        Preference                  Shares            who        have            not        accepted              any
  distribution             of the Eligible                    Equity          Securities



                 The Issuer               May Not Be                  Able to Apply Available Funds to Acquire                                                        Appropriate                   Collateral



                 The        amount of                Collateral                Obligations purchased                            on           the    Closing           Date         the       amount and                      timing of
  the                            of
          purchase                       additional                 Collateral                Obligations                before              the     Ramp-Up                    Completion                     Date           and        the

  subsequent               application               of       Principal            Proceeds             will       affect       the          cash        flows available                     to    make            payments              on
  and     the return             to   the      Holders           of      the Securities                    Reduced                                   and                              lower         volumes                 of trading
                                                                                                                               liquidity                     relatively

  in    certain        Collateral              Obligations                    in    addition          to     restrictions                on                                                                       the
                                                                                                                                                   acquisition             represented by                                   Eligibility

  Criteria        could           result           in periods             during             which         the    Issuer           is    not able           to    fully utilize                   its    available                cash    to

  acquire        Collateral              Obligations                     and       it   is    unlikely           that    the       Issuers available                         cash       will        be                                    in
                                                                                                                                                                                                             fully          applied
  Collateral           Obligations                  at    any       time            The       longer the period                     before           application                of cash            or cash-equivalents
  to    acquire        Collateral              Obligations and                          the    larger the           amount of such cash                               or     cash       equivalents                     the       greater
  the    adverse           impact                        be    on                             interest       collected             and         distributed                      the     Issuer thereby resulting
                                          may                        aggregate                                                                                         by
  in     lower       yield           than      could           have       been           obtained            if   the        net                            associated                with         the                             of the
                                                                                                                                    proceeds                                                                 offering
  Securities           and        all    Principal              Proceeds                were                                    and                                             The      associated                    risk will          be
                                                                                                     immediately                              fully       applied
  borne       first     by the           Holders               of the Preference                      Shares            and     second              by the        Holders             of the             Notes          beginning
  with the most                  subordinated                  Class of             Notes             Although            the       Servicer                                                                       some degree
                                                                                                                                                          may      mitigate             this       risk to

  during        the    Replacement                       Period by declaring                                              Redemption                      the    Servicer                     not required                         do
                                                                                                           Special                                                                      is                                   to          so
  and                                   Redemption                                 result       in         lower                        on               Issuers                             than        could           have       been
          any        Special                                         may                                                 yield                 the                          assets

  obtained            if    the         net      proceeds                from           the                        of        the        Securities            and          all                               Proceeds
                                                                                                offering                                                                           Principal                                        were
  immediately               and                                     and        no                                                  had        taken
                                      fully applied                                     Special       Redemption                                          place


                 Generally                Principal              Proceeds               together            with Interest Proceeds                               but only to the extent                                used to pay
  for    accrued           interest           on     Collateral                                            and    Sale        Proceeds               received on                  the    Collateral
                                                                           Obligations                                                                                                                             Obligations
  will     be     applied               during            the       Replacement                      Period        and             Principal               Proceeds               constituting                     Unscheduled

  Principal           Payments and                       Sale       Proceeds                 from     Credit        Risk           Obligations and                      Credit           Improved Obligations
  may be         applied              on any         date        after        the       Replacement                Period               at    the    discretion              of the Servicer                           to    purchase
  replacement                   Collateral               Obligations                or       temporarily                held       in        Eligible        Investments                                                                  of
                                                                                                                                                                                              pending                  purchase
  replacement                   Collateral           Obligations                    in       accordance            with         the                          of Payments                            The                              with
                                                                                                                                             Priority                                                             earnings
                to     replacement                  Collateral            Obligations will depend                                                    other                         on        interest
  respect                                                                                                                          among                         factors                                       rates         available

  in    the   marketplace                 at     the      time and             on       the    availability             of Collateral                                                                         to       the   Servicer
                                                                                                                                                         Obligations acceptable
  that     satisfy         the        criteria           under                                 for    the                                                   Criteria                  The          need           to                     the
                                                                      Security                                   NotesEligibility                                                                                       satisfy
  criteria      and                           acceptable              Collateral                                                                      the                          of replacement
                           identify                                                            Obligations may require                                       purchase                                                       Collateral

  Obligations having                          lower           yields      than those                 initially          acquired              or    require           that      Principal               Proceeds              be        held

  temporarily in cash                         or    Eligible             Investments                  which         will       reduce              the    yield        earned           by        the     Issuer              Further
  issuers       of Collateral                 Obligations may be                              more     likely       to exercise                                                                   have       to    redeem them
                                                                                                                                                   any    rights       they may
  when        interest           rates    or spreads                are                               Any         decrease              in    the                on    the        Collateral
                                                                              declining                                                              yield                                                Obligations will
  reduce        the    amounts                available             to    make                               of principal                    and     interest          on       the     Notes            and
                                                                                         payments                                                                                                                  payments              on
  the    Preference Shares




                                                                                                                  35
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              The         Issuer           expects            that         as    of       the      Closing           Date         it        will       have         purchased                or         entered         into

  commitments               to       purchase                approximately                     U.S.$1400000000                              in    Aggregate               Principal              Balance          of the

  Collateral        Obligations to be included                                  in the anticipated                  portfolio          as    of the         Ramp-Up                  Completion                Date      As
  such on       the       Closing           Date        the       Issuer        is   expected           to    have        unapplied              proceeds               This will likely reduce                          the

  amount        of       Interest          Proceeds               that         would otherwise                      be     available              to     distribute              to    the        holders         of     the

  Preference         Shares               particularly              on     the    first      Distribution                Date          If    the       Issuer       issues           additional           Preference

  Shares      after       the    Closing           Date           the      Issuer         would         likely      have        unapplied               proceeds            of the          offering            pending
  the    purchase          of additional                 Collateral              Obligations                 The     extent       to        which           cash        balances            remain           unapplied
  will   be subject         to            variety       of factors including                       future         market conditions                         and    is   difficult           to    predict


               Valuation             Information


              Neither            the       Issuer       nor any            other                    will       be    required           to       provide           periodic           pricing           or     valuation
                                                                                          party

  information to investors



               Changes               in     Tax Law                 Could Result                  in    the       Imposition                of    Withholding                   Taxes            with     Respect          to

              Payments on                   the Securities                 and        the Issuer             Will   Not Gross- Up Payments                                 to    Holders



              Although               no     withholding                  tax    is   currently          imposed            by the United                    States        or the       Cayman                Islands      on

  payments          on     the       Securities              there        can     be      no     assurance           that        as          result         of any        change            in               applicable
                                                                                                                                                                                                  any
  law      treaty        rule regulation                     or     interpretation                thereof the              payments               with respect                  to    the    Securities           would
  not    in the future           become            subject           to    withholding                 taxes        If   any     withholding                  tax    is    imposed               on     payments          on

  any Securities             the Issuer             will      not gross               up         payments           to their      Holders



               The Securities                   Are Subject               to    Substantial             Transfer          Restrictions



              The         Securities             have        not been            registered            under        the    Securities                 Act     under         any       U.S         state        securities

  or    Blue Sky laws                      or    under        the    securities             laws       of any other             jurisdiction                 and    are     being issued                  and     sold     in

  reliance      upon exemptions                          from            registration             provided           by     those            laws            No      Securities                  may      be     sold      or

  transferred         unless              the    sale    or    transfer          is       exempt from               the    registration                requirements                   of the Securities                 Act

  for example               in       reliance           on    exemptions                  provided            by     Rule       144A             or    Regulation                     and        applicable            state


  securities     laws and                  the    sale       or transfer             does        not cause either of the Co-Issuers                                     or the        pool of Collateral                   to

  become        subject              to    the      registration                 requirements                 of     the       Investment                   Company                  Act           See       Transfer

  Restrictions             and       Considerations                       for   Benefit          Plans


              Non-Compliance with                              Restrictions                 on    Ownership               of the Securities                   and Acquisition or Disposition

               of    Collateral             Obligations under                         the    Investment             Company             Act Could                 Adversely            Affect           the Issuer




              Neither            of        the     Co-Issuers                   has       registered              with     the        United             States         Securities                and        Exchange
  Commission the                     SEC               as    an     investment              company               pursuant to the Investment                               Company                Act in reliance

  on     an   exclusion              from         the        definition           of       investment                company                     under       Section             3c7              for     companies
                    under                  laws of                                                     than the United                                                                           whose
  organized                      the                          jurisdiction                other                                        States          or    any of        its   states                        investors

  residing      in the       United              States       are    solely          qualified           purchasers               within               the    meaning                given        to    such     term      in


  the    Investment          Company                Act and              related          SEC      regulations


               The        Issuer          and    the    Co-Issuer               may         at   any time following                     the       Closing          Date          rely       on    exclusion           from

  the    definition         of investment                      company                    under        Rule       3a-7     in    lieu        of the exclusion                        under        Section         3c7
  upon          receipt          of an          opinion        of counsel from                         nationally           recognized                 law firm providing that neither                                   the

  Issuer      nor     the        Co-Issuer              is     required              to    register          as     an     investment                   company                  under            the     Investment

  Company            Act        in    reliance           on         such        exclusion              under        Rule        3a-7 and                          notice         to    the        Holders         of     the

  Securities         in   accordance               with the Indenture                        and       the    Preference Share                        Documents                  In   connection               with     this


  alternate      reliance                 the     Indenture               and     the       Preference              Share        Documents        may be amended without                                                 the

  consent      of any           Holders           to    prevent            the    Issuer         from        becoming            an     investment  company as defined in                                                the

  Investment             Company                Act     or     to    better          assure        compliance              with the               requirements                  of Rule            3a-7        and/or      to

  remove       transfer          restrictions               and     other        requirements                 relating      to    Section              3c7                See        The               Servicer        May


                                                                                                             36
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  Cause         the      Issuer        to    Amend              the        Indenture           to       Assure Compliance                              with Rule              3a-7     Without               the     Consent             of

  the    Holders           of the Securities                      in       Manner             that      May         Adversely                Affect the Holders                      of Securities                    below


                    No     opinion           or       no-action            position           with respect                    to the        registration             of either         of the Co-Issuers                          or the

  pool of Collateral                     under           the     Investment               Company                  Act has been                       requested of or received                               from         the      SEC
  If   the     SEC        or         court       of competent                   jurisdiction              were          to find        that          the Issuer          or the      Co-Issuer               is                         but
                                                                                                                                                                                                                  required
  in    violation           of the           Investment                                       Act        had                                                        an    investment
                                                                          Company                                  failed        to        register          as                                       company               possible

  consequences                  include            the     following                     the       SEC         could          apply to                 district      court        to enjoin             the       violation             ii
                                                                                                                                                                                                                  may be
  investors              in the       Issuer          or    the       Co-Issuer               could          sue        the    Issuer           or     the       Co-Issuer           as     the        case                            and
  recover any               damages caused                           by the violation                    and        iii any                contract          to    which         the Issuer             or     the    Co-Issuer
  as    the     case       may be                is    party         whose performance                              involves                    violation           of the        Investment                  Company                  Act

  would be                unenforceable                     by        any        party        to        the    contract               unless                 court         were        to        find        that     under             the

  circumstances                  enforcement                    would produce                           more                                 result         than non-enforcement                             and      would not
                                                                                                                        equitable

  be    inconsistent              with the purposes                         of the Investment                       Company Act

                    In    addition            the      Issuers being required                                 to                       as    an investment company would                                            result         in    an
                                                                                                                    register

  Event         of Default                   See       Description                 of the           SecuritiesThe                           IndentureEvents   of Default                                             Should             the

  Issuer        or the         Co-Issuer              be    subjected             to               or    all   of the foregoing                         the Issuer              or the      Co-Issuer                 as the       case
                                                                                        any

  may be would                    be    materially               and       adversely            affected



                    Restrictions                 on Acquisition or Disposition                                      of Collateral                    Obligations              May Reduce                  the       Earnings             of
  the    Holders           of the Securities



                    Rule        3a-7 imposes                    limitations              on     the       ability             of the Issuer                  to    purchase           or     sell       assets            including
                           the       Issuer        from         purchasing               or                        assets       for        the                                         of recognizing
  prohibiting                                                                                  selling                                               primary purpose                                                        gains or

  decreasing               losses           resulting             from           market         value              changes              The           Indenture            will      restrict            the        Issuer         from

  purchasing              and        selling          assets consistent                  with such                 requirements                      of Rule        3a-7         Under           these       restrictions               the

  Issuer                  be required to hold
                may                                                        Collateral          Obligation                 or    precluded                  from     acquiring                Collateral               Obligation
  when         it   would have                sold         such       Collateral              Obligation or acquired                                 such     Collateral             Obligation                as    applicable
  had     it    based          such     determination                      on     the    market value                                           in    the    value of such                Collateral
                                                                                                                         changes                                                                                    Obligations
  As           result       greater          losses         on       the        Collateral          may        be        sustained              and        there     may        be    insufficient                  proceeds            on
  any    Payment Date                       to    pay      in    full      any expenses                   of the Issuer                    or    any        amounts           payable            to    the    Trustee             or    the

  Administrator                  all         of which                amounts            are     payable                           to                               in                     of the                            and
                                                                                                                        prior               payments                      respect                         Notes                         the

  payments               due     on    the       Securities                See     Security               for the          NotesSale                        of Collateral            Obligations                    Acquisition
  of Collateral                Obligations


                    The     Servicer             May        Cause           the Issuer             to    Amend            the    Indenture                  to    Assure Compliance                          with     Rule         3a-7
  Without           the    Consent               of the Holders                                                                  Manner                That
                                                                                  of the Securities                      in                                        May        Adversely               Affect        the     Holders

  of Securities


                    On     the       Closing           Date          HFP         and/or one              or    more of               its    subsidiaries                 will    purchase              all   of the Class                II

  Preference              Shares             The       Servicer             will        act    as       the    manager                for       HFP              HEP      and     Highland                Financial               Trust
  HFT                    the    owner of              substantially               all    of    the limited               partnership                  interests          of   HFP may need                        to rely         on an

  exception               from         the       definition                of     investment                                               and
                                                                                                               company                                 the       requirement                to        register        under             the

  Investment              Company                 Act that            in   turn     depends              upon           the    Issuer           not being an               investment                 company               required
  to    register          under        the       Investment                Company                 Act by           reason of Rule                      3a-7        thereunder              in lieu          of the Issuers
  reliance          on     Section               3c7                 It    is    expected            that          in    connection                   with        certain       capital           raising           activities           of

  Highland               Financial           Trust          the       SEC may                 consider             the    applicability                    of Rule         3a-7      to     the        Issuer          If    it    were
  determined               that       the        Issuer         cannot                    on       Rule        3a-7            the     Servicer                          cause       the                             amend
                                                                                 rely                                                                        may                                 Issuer        to                       the

  Indenture              without         the       consent            of the Holders                    of the Notes                   and       without            the    consent           of the Holders                     of the
  Preference              Shares            to    enable the                Issuer        to    rely          on        Rule     3a-7           or     to    better        assure                                     therewith
                                                                                                                                                                                          compliance
  which         could          require           additional               limitations           and       prohibitions                     on    the        circumstances              under            which         the       Issuer

  may      sell      assets on              the    type of assets that the Issuer                                                                            of the proceeds                 of assets that                 mature
                                                                                                                     may        acquire              out

  are    refinanced              or    otherwise                sold on           the period                                  which         such        transactions
                                                                                                          during                                                                 may occur on                       the     level        of
  transactions             that       may occur                 or    on    other       provisions                 of the Indenture                     and       could adversely                     affect        the   earnings
  of the Issuer                and     its   ability        to       make payments                      on     the       Notes        and        distributions                to the      Preference                Shares              As

                                                                                                                    37
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       condition to the effectiveness                                 of any          such        amendment                 to     the       Indenture               the       Issuer the Trustee                     and        the

  Servicer          will    receive                           Rating        Confirmation                    with        respect           to       such        amendment                   and     ii           customary

  opinion         of counsel               which              may be           supported              as    to    factual             matters           by     any        relevant          certificates             or    other

  documents             necessary or advisable                             in    the    judgment                 of counsel delivering                              such        opinion           from          nationally

  recognized            law firm providing that after giving effect                                                    to   such        amendment and                           assuming           compliance               with

  the    Indenture          as so       amended                the Issuer             is   exempt           from registration                       as    an investment                     company                 under        the

  Investment            Company              Act         in   reliance          on     such exemption                       under        Rule          3a-7         Such           nationally          recognized               law

  firm               also     be                              counsel                           Servicer                              Holders             of Notes                 and/or       Preference            Shares
             may                       acting        as                         to    the                             certain

  The        interests       of any              such         parties          may         not     align         with        the        interest          of        other          Holders         of     Notes        and/or

  Preference Shares                        See     Description                  of the SecuritiesThe                               IndentureSupplemental                                        Indenture


                  The      Weighted          Average                Lives of the Notes                     May         Vary


                  The      Stated          Maturity of the Notes                           is   November                     2021         or upon                   Maturity Extension                        if    any          the

  applicable            Extended            Stated            Maturity           Date           The    weighted                  average
                                                                                                                                                   life      of each            Class of Notes                 is   expected
  to    be    shorter       than the             number of                years        until       their Stated               Maturity                   See        Description                  of the Securities

  The weighted               average              life    of         Class of Notes                   will       be     affected          by       the    amount                and    timing          of payments                of

  principal         of the        Notes           and         the    amount and                   timing          of payments                     received            on       the    Collateral             Obligations
  The        amount and               timing of payments                         of principal                on       the    Notes            will       be    affected              by among                other     things

  any    Optional           Redemption                   of the Notes any                         Refinancing                 of the Notes                          failure          of any       Coverage             Test

  Rating          Confirmation               Failure                any    failure           by     the     Servicer              to     apply           the    proceeds               of the          offering           of the

  Securities         in Collateral                Obligations                        redemption             of the Securities                       made         in      connection              with          Tax Event

  any    Special           Redemption                of one           or    more Classes of Notes and                                         an    Event            of Default             by     the       Issuer        in   the

  payment           of the Notes                  and     an        acceleration                of the      principal              of     the      Notes            in   connection               with an           Event         of

  Default           The      occurrence                  of any           of the foregoing                   unscheduled                      principal             repayments                  of the        Notes        is     in

  turn       determined               by    the     amount and                   timing           of payments                 on       the     Collateral                 which           will    be    dependent                on
  among           other      things          the         financial              condition             of    the        obligors              on     or        issuers           of    the       Collateral           and        the

  characteristics             of the          Collateral              Obligations                   including               the       existence               and        frequency              of exercise            of any

  prepayment                optional             redemption                 or        sinking         fund            features the                 prevailing                 level        of    interest           rates        the

  redemption              price        the       actual         default          rate       and     the     actual          level         of recoveries                    on               Defaulted           Collateral
                                                                                                                                                                                    any
  Obligations              the     frequency                  of tender          or     exchange             offers          for        the    Collateral                Obligations and                     any      sales       of

  Collateral            Obligations                dividends               or    other          distributions               received               on     any        obligations                that    at    the     time of

  acquisition             conversion                or    exchange               do     not      satisfy     the        requirements                    of       Collateral               Obligation            as well           as

  the risks         unique to Collateral                       Obligations of foreign                            issuers                  shortening                 of the average                life      of the Notes

  may adversely              affect         returns            on    the    Preference Shares                           See       Security               for the         Notes


                  The      Collateral             Obligations actually                           acquired             by    the       Issuer        may be               different          from        those       expected
  to    be    purchased            by      the      Servicer              on     behalf          of the          Issuer due               to      market            conditions              availability              of such

  Collateral            Obligations and                       other       factors               The    actual           portfolio              of Collateral                    Obligations owned                      by       the

  Issuer      will      change         from        time to time as                      result        of sales and                purchases               of Collateral                Obligations



                     Maturity              Extension            May        Result          in       Longer or Shorter Holding                                    Period              Than Expected


                  Under       the       Indenture               the       Issuer           if   directed          by       the    Servicer               shall       be       entitled          on each         Extension

  Effective          Date        to    extend the Replacement                                   Period                maximum                of four          times            to    the    applicable              Extended

  Replacement               Period          End          Date        if          in    the      case       of an        Extension                 Effective              Date         occurring           after      the        first


  Extension             Effective           Date          the        Issuer          has     previously                effected                Maturity               Extension              for       each     preceding
  Extension             Effective           Date         and        ii the       Extension                 Conditions              are       satisfied          and        the       Issuer       has given           written

  notice       of   its    election          to    extend the Replacement                                  Period no              later       than 60           days          and     no    earlier than              90    days

  prior      to   such      Extension              Effective              Date          Under         the        Indenture              and       the     Preference Share                       Documents                 if    the

  Replacement               Period           is    so     extended               the       Stated      Maturity               of the Notes                    or         in     the   case        of the Preference

  Shares          the     Scheduled               Preference               Shares           Redemption                  Date            will      be     equally           extended              and     the    Weighted
  Average           Life    Test shall be automatically                                 extended             without             the     requirement                  for       any    approval           or    consent           of

  any    Holders           of Securities                      Holders           of    Securities            will not             be     able       to     prevent             or    prohibit       the       extension            of

  the    Stated         Maturity            of the            Notes        or         in     the      case       of the           Preference                  Shares            the       Scheduled             Preference

  Shares          Redemption                Date          so    long as the Extension                             Conditions                 are    satisfied              which           include        the       ability       of

                                                                                                                 38
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 Holders         of Securities                 to    sell     their Securities                      at     the                                                                  to
                                                                                                                     designated           purchase              price                      designated                 purchaser
 under        the     Indenture               However               in       the    case of the Preference                           Shares           the       Indenture               provides                that    Holders

 of Preference Shares                        that    have        received                 Preference Share                        Internal       Rate       of Return equal to or in excess                                            of

  12.0%       as      of the Extension                   Effective                 Date        will not          receive                                        in                              for their         Preference
                                                                                                                                  any     payment                     exchange
  Shares       sold       in    connection            with            Maturity Extension


                As             consequence                  if   the      Servicer              elects          to    extend        the        Replacement                      Period           and        the       Extension
 Conditions                                          the    Holders            of the Securities                                               be required                       hold their Securities
                          are satisfied                                                                                may        either                                   to                                                    for

 significantly              longer          period         of time or be                      forced       to    sell    their Securities                   for       the        applicable                purchase          price

 under        the     Indenture               resulting          in           shorter          holding           period       than        expected              at    the        time of investment                         in the

 Securities




                An Amendment Buy-Out May                                           Result        in        Shorter          Holding            Period           Than Expected


                Any        Non-Consenting                        Holder            of Securities                with respect              to    an    amendment of                          the      Indenture             which
  includes         Holders            that    fail    to    respond            to         consent           solicitation            within           the                                                              be    forced
                                                                                                                                                            applicable                 period              may
 to    sell     its
                          applicable           Securities                to        the    Amendment Buy-Out                                   Purchaser               at        the    Amendment Buy-Out
 Purchase             Price          resulting         in          shorter               holding           period        than                              at    the        time           of        investment             in    the
                                                                                                                                    expected
 Securities               However              in    the     case        of the Preference                            Shares        the       Indenture              provides               that      the       Amendment
 Buy-Out Purchase                          Price     will     be        zero       for    Non-Consenting                      Holders            that      have            received                  Preference             Share
 Internal          Rate         of Return             equal         to        or    in    excess            of       12.0%         as    of     the       Amendment Buy-Out Date                                                  See
                            of the SecuritiesAmendment                                                                            Holders                                                                        amendment
 Description                                                                                        Buy-Out                                          ability          to    vote       against             an

 or    affect        or    influence           the       amendment                      process          with respect               to    the    Indenture                  may         thus          be    limited               The
 Amendment                  Buy-Out             Option            may          also       increase              the     ability         of the        Servicer                  to    affect          or    influence             the

 amendment process


                The        Servicer           has agreed              with one            or    more Multiple Class Holders that                                            to the          extent          an
 Amendment                 Buy-Out             is   effected            in    connection                 with any Class of Securities                                or         Holding              Preference

 Shares         as the         case may             be     held or            in    the       case of any Notes                    represented by Global                               Notes           beneficially

 owned        by any            such       Multiple Class Holder                              and     any other             Class of Securities                       or        Holding              Preference
 Shares         as the         case may             be     held or in the case of any Notes                                        represented by Global                               Notes           beneficially
 owned        by such               Multiple         Class Holder                   is   not considered adversely                              affected          by        the applicable                   amendment
 and    therefore              not    subject        to the        Amendment                    Buy-Out               provisions              of the Indenture                       the    Servicer             will at the

 option       of such           Multiple            Class Holder                   purchase              such        Securities          of such          non-affected                  Class          or        Holding
 Preference Shares                      as the       case may                be     from such               Multiple          Class Holder                      in   each        case           at     price          equal to
 what     the       Amendment Buy-Out                             Price        would have                  been        with respect             to    such           Class of Securities                         had       such
 Class of Securities                    been        subject        to the           Amendment Buy-Out


                The Indenture                  Requires Mandatory Redemption                                             of the Notes for Failure to Satisfy Coverage                                                        Tests



                If              of the Coverage                    Tests           are    not       satisfied          on               Determination                      Date        on       which           the    Notes           of
                      any                                                                                                     any
 the    relevant           Class are Outstanding                                               Proceeds                                  on
                                                                              Interest                                available                the related                Payment Date                      in    accordance
 with     the       Priority          of Payments                  and             to    the    extent           Interest         Proceeds            are        insufficient                   Principal              Proceeds
 available           on    the       Payment Date                  in    accordance                 with the Priority of Payments                                         are                          to    be applied                to
                                                                                                                                                                                     required

 pay    principal              of    the    relevant         Class of Notes                      and        any        Classes senior                to    it        to    the       extent          necessary for the
 relevant       Coverage               Test to be satisfied                             The     application             of Interest Proceeds                          and                              Proceeds             to
                                                                                                                                                                                 Principal                                        pay
 principal           of the Notes              to    the     extent
                                                                              necessary to restore                          the    Coverage             Tests to certain                         minimum required
 levels       could        result       in    an elimination                       deferral         or     reduction           in the         amounts            available                 to    make           distributions

 on    the     Preference               Shares        and         interest              and     principal             payments            on     one       or        more            classes          of Notes              which
 would adversely                     affect     the returns              to    the       Holders of the Securities



                The        Indenture           Requires Mandatory Redemption                                             of the Notes                                                                                 Failure
                                                                                                                                                     Upon Rating Confirmation


                If    any           rating     of any            Class of Notes                       is   reduced            or    withdrawn                   or                      on       credit          watch           with
                                                                                                                                                                      placed
 negative                                             the        Business                Day        after       the    29th                                                                                            Date
                     implications              by                                                                                 day     after       the       Ramp-Up                    Completion                              by
 either       Rating           Agency          Interest          Proceeds                and        if   Interest        Proceeds              are    insufficient                                          Proceeds              are
                                                                                                                                                                                      Principal

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  required          to     be    diverted              in    accordance                      with the Priority of Payments                                          and       used           to              the    principal                of the
                                                                                                                                                                                                   pay
  Notes        sequentially                 in    order of their relative                                    priority             on    the     next Payment                       Date           and        each       Payment               Date

  after    that       until       each       rating              is   reinstated                      The         application              of Interest Proceeds                              and     Principal                Proceeds              to

  pay     principal             of the Notes                  to      the        extent          necessary for one                         or      more       ratings           to      be        reinstated            could          result       in


  an    elimination                  deferral           or reduction                        in   one        or    more payments                     or distributions                         on    one        or    more Classes of
  Securities             which            would adversely                         affect          the       returns           to the      Holders             of those           Classes of Securities



                 The        Indenture             Permits                   Special Redemption                                of Notes          Based on                 the    Servicers                    Inability            to    Identify

                 Replacement                     Collateral                     Obligations



                 The        Servicer             is   permitted under                            the        Indenture              to   elect      to    have        all    or            portion            of the funds then in

  the     Collection              Account               available                 to       be     used           to    purchase            additional               Collateral                    Obligations applied                          to

  Special           Redemption                   of     the           Notes                in    whole             or     in       part       on    one        or        more Payment                             Dates           during           the

                                Period          because                     has been              unable                           period of                             45     consecutive                       Business
  Replacement                                                         it                                               for                              at    least                                                                    Days         to

  identify          additional             or    replacement                          Collateral                 Obligations that                  are        deemed            appropriate                   by        the    Servicer             in

  its   sole    discretion                and     meet           the Eligibility                       Criteria in sufficient                       amounts               to    permit the application                                  of    all   or

       portion        of the              funds        then           in        the        Collection                 Account            available             to    be        used          to     purchase              additional                or

  replacement               Collateral                Obligations                          On     the       Special            Redemption                    Date        in     accordance                   with the Indenture

  the     Special          Redemption                       Amount                 will          be     applied              in    accordance                 with        Description                        of the           Securities

  Priority          of PaymentsPrincipal                                          Proceeds                       to     the       extent        available             which                  includes              for       this       purpose

  unapplied           proceeds              specified                 by the Servicer                             to              the principal               of the Notes                        The     application                  of funds
                                                                                                                        pay
  in    that     manner               could           result           in        an        elimination                   deferral             or    reduction                 of     amounts                  available                to    make

  payments            on        Securities             subordinate                      in priority               to    the       Securities            being amortized                            See       Description                     of the

  SecuritiesSpecial                          Redemption                           of Notes                  If    the        Servicer           Does          Not         Identify                Replacement                      Collateral

  Obligations as Contemplated                                         by the Indenture


                 The Notes                 Are Subject                     to    Optional              Redemption



                 Subject to                satisfaction                    of certain                 conditions               on               Payment Date                                      the     occurrence                   of      Tax
                                                                                                                                        any                                        upon
  Event        or     at              time after                  the           Non-Call               Period            the                                                       Redemption
                            any                                                                                                    applicable                Required                                               Percentage                 may
  require           that        the       Notes             be        redeemed                    as        described               under          Description                       of       the       SecuritiesOptional

  Redemption                         In    the                    of an                                     Redemption                   of the         Notes                                                           be
                                                      case                        Optional                                                                                the      Servicer                  may              required to

  aggregate Collateral                       Obligations to be sold                                     together              in   one     block transaction thereby possibly                                                 resulting             in

       lower        realized              value       for the               Collateral                 Obligations sold                         There          can         be      no        assurance              that       the          market

  value       of the Collateral                       will       be        sufficient             for       the                                                                                                               to       direct       an
                                                                                                                       applicable             Required              Redemption                     Percentage

  Optional            Redemption                  of the Notes                                    decrease               in    the      market           value of the Collateral                                   would adversely
  affect       the       Sale        Proceeds               from           their           sale         Consequently                      the      conditions               precedent                   to    the       exercise             of an

  Optional           Redemption                  may          not          be     met Moreover                            the      Holders          of       the    Notes            may not be                    able      to    invest          the

  proceeds            of the          redemption                   of the Notes                        in    investments                 providing                   return           equal          to      or greater                than the

  Holders           of the Notes                expected                   to obtain             from their investment                             in the      Notes


                 The Notes                 are Subject                     to   Redemption                   by Refinancing


                 The Indenture                    provides that any                               Class of the Notes                          may be redeemed                           in    whole               but    not in part on

  any Payment                   Date       following                  the       fifth       anniversary                  of the Closing                  Date        from          Refinancing                     Proceeds                 subject

  to    the    satisfaction                of certain                 requirements                          See        Description                 of the          SecuritiesOptional                                   Redemption
  Redemption                    by    Refinancing                           Accordingly                                more         junior         Class            of     Notes              may            be     redeemed                  from

  Refinancing               Proceeds              in        whole               even        if         more            senior          Class       of    Notes           remains              outstanding                      Holders              of

  Notes        that      are     refinanced                  or       otherwise                  optionally              redeemed          may not be able to reinvest the                                                    proceeds              of

  such Notes               in assets         with comparable                                interest             rates    or       maturity An optional redemption from                                                      Refinancing
  Proceeds            may        also      result        in           shorter              investment                  than         Holder         of Notes              may have                  anticipated


                 The        Servicer             has agreed                     with one               or    more Multiple                    Class Holders                     that         to     the extent               any       Class of

  Notes        held        or        in the       case           of                   Notes           represented                  by    Global          Notes             beneficially                   owned              by                such
                                                                           any                                                                                                                                                      any
  Multiple           Class Holder                     are     subject                 to    redemption                   by    the      Issuer          with Refinancing                           Proceeds              in    connection

  with         Refinancing                   the       Servicer                  will       at    the option                  of such         Multiple              Class Holder                     purchase                          or    all    of
                                                                                                                                                                                                                             any

                                                                                                                          40
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 the    Securities                or         Holding             Preference                  Shares               as       the        case        may         be         held            or     in    the        case            of any          Notes

 represented                 by     Global           Notes                beneficially                owned                by     such           Multiple            Class Holder                      that           are        not subject               to

 redemption              by the Issuer                     with Refinancing                           Proceeds                  in    connection               with             Refinancing                          in    each        case         at    the

 applicable             Redemption                   Price           therefor



               Future               Ratings           of the Notes                     Are Not Assured                                and Limited                   in    Scope               the     Preference                       Shares            Are
               Not Rated


               It       is        condition to the                         issuance of the Notes                                     that    they        be rated              as        provided            under               Summary                   of

 TermsPrincipal                           Terms of               the        Securities                            credit          rating          is    not         recommendation                               to       buy         sell    or      hold

 securities             and       is
                                         subject          to    revision              or     withdrawal                     at               time             There           is    no     assurance                      that                           will
                                                                                                                                     any                                                                                               rating

 remain        for                     given         period           or       that         rating          will           not be           lowered             or       withdrawn                                                    each
                         any                                                                                                                                                                         entirely               by                   Rating

 Agency            if   in    its      judgment circumstances                                    in the          future           so       warrant             Any            such       action        could have                      an     adverse

 effect       on    the       Holders            of the relevant                       Class of Securities                                  If      rating          initially             assigned to                          Class of Notes

 is   subsequently                     lowered         for                                       no person                 is                           to                                    additional                  credit
                                                                 any        reason                                               obligated                    provide               any                                                 support or
 credit       enhancement                        The           ratings           of the Notes                     are       based            on    the        assumption                   that       no        Maturity                Extension

 occurs       at    any time


               No        rating           of the Preference                           Shares          will       be        sought or obtained                        in       connection                with their issuance



                   The       Issuer could be Treated as Engaged                                                       in         United States                  Trade              or Business


               Prior           to the         issuance               of the Securities                           the Issuer                will receive              an opinion                  from            Latham                      Watkins

 LLP      Tax Counsel                                which            opinion               is   based           in
                                                                                                                      part        on       the safe           harbor provided                         by Section                      864b2                of

 the    Code and               the       Treasury              regulations                  thereunder                 applying              to    non-U.S persons                              that    restrict               their activities

 in the       United           States           to   trading              in    stocks           and       securities                 for    their       own         account                   The opinion                       will       be   to       the

 effect       that           although            no        activity              closely              comparable                      to    that                                                 the        Issuer               has        been          the
                                                                                                                                                       contemplated                       by

 subject       of any               Treasury               regulation                  revenue              ruling              or judicial              decision               and        the       matter               is     not free            from

 doubt assuming                          compliance                  with        the        Issuers              Memorandum                         and        Articles              of Association                             the     Indenture
 the      Servicing               Agreement                     and         other           related             documents                    by        all    parties              thereto             the           Issuers            permitted
 activities          will         not cause               it    to    be       treated           as    engaged                  in    the        conduct           of          U.S         trade        or           business under                       the

 Code          However                   in the       absence                  of authority                on point                  whether             the    Issuer              is   or     will    be           treated           as    engaged
 in       trade         or     business              in        the    United            States             or     not       is       not     entirely          free           from        doubt             and            there        can      be       no
 assurance              that        positions              contrary              to    those           stated          in the              opinion            of Tax Counsel                          or                   other        advice             or
                                                                                                                                                                                                             any
 opinion           may        not be            asserted              successfully                    by    the        Internal              Revenue                Service              the         IRS                       The      opinion            is

 based        on    certain              assumptions                  and        on    certain             representations                        and                                                                restrictions                on       the
                                                                                                                                                             agreements                   regarding
 future       conduct               of    the    activities                of the Issuer                   and        the        Servicer               Although                the       Issuer           intends               to    conduct            its


 business           in       accordance                with           such                                                                                    and                                      if             were            nonetheless
                                                                                  assumptions                         representations                                    agreements                             it


 determined              that          the   Issuer            was engaged                   in        United              States           trade        or    business and                     had     taxable                  income          that      is


 effectively             connected                   with        such          United            States           trade          or    business                                     investors               in       Preference                  Shares
                                                                                                                                                               foreign

 that     would otherwise                        not       be        subject           to    U.S           federal              income            tax        would be               subject           to    U.S                federal        income

 tax    on    their allocable                    share          of the Issuers income                                  and        the       Issuer        would be                  required           to       withhold               on     income
 allocable          to       such        foreign           investors             of the Preference                              Shares regardless                        of whether                  distributions                     were         made
 to    such    holders                   Such withholding                         may reduce                     the       amounts               available               to    make           payments                    on     the    Notes            and

 would reduce                       distributions                    to    the        holders              of the            Preference                  Shares                    Investors               should                note        that         the

 Treasury           and       the        IRS     recently                 announced               that      they are considering                               taxpayer                  requests           for specific                    guidance

 on among                other           things        whether                    foreign             person           may            be    treated           as    engaged                in         trade           or       business          in       the

 United        States          by virtue of entering                             into        credit         default                               However                     the                           and           the     IRS have               not
                                                                                                                                 swaps                                               Treasury
                                                                on    whether
 yet    provided              any guidance                                                  they       believe              entering              into       credit       default             swaps          may               cause          foreign

 person        to       be     treated           as    engaged                  in          trade          or     business                  in    the        United            States           and        if    so what                    facts        and

 circumstances                    must be            present               for this          conclusion                    to    apply            Any         future           guidance                issued              by     the       Treasury
 and/or the IRS                               have         an        adverse
                                    may                                                impact on                  the       tax       treatment               of the Issuer                      See        discussion                  under             the

 heading            Material                  Income                 Tax        ConsiderationsU.S                                          Federal            Income                Taxation                of        the         IssuerU.S
 Federal Income                        Tax       below                There           can        be no          assurance                  that    if    the Issuer                 were        determined                       to   be engaged
 in       trade          or    business               in       the        United         States             it    would be                   able        to    make            timely payments                                 of interest                on
 payment                of                            and                                   of    other           distributions                               the                                    Stated                                      of
                              principal                              payment                                                                        at               applicable                                           Maturity                        the

                                                                                                                           41
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  Securities                  In    addition              all    or          portion              of the payments                     on    the       Securities              to          holder            that      is    not         U.S
  Holder            as         defined               in        Material                 Income                 Tax         ConsiderationsGeneral                                          below               could              in     such

  circumstance                      be        subject            to           30%             U.S             federal           withholding                  tax              See         Material                    Income             Tax
  Considerations



                   Benefit              Plan Investors



                   Certain               transactions                  involving                  the     Co-Issuers                 in    the        ordinary             course               might            be        deemed          to

  constitute             prohibited                 transactions                   under           the      United          States        Employee             Retirement                      Income            Security             Act of

  1974         as       amended               ERISA                         and     Section 4975 of the Code                                     with respect                 to     Benefit Plan Investors                               as
  defined           in    Considerations                         for       Benefit           Plans             that                         the       Securities               if    assets           of the Issuer                   and/or
                                                                                                                          purchase
  the    Co-Issuer were                        deemed            to    be plan               assets            subject         to Title          of    ERISA             or     Section 4975 of the Code                                   or

  Similar          Law as               defined           in    Considerations                          for    Benefit         Plans             The        Issuer        intends              to    restrict         ownership            of

  the    Class                Notes           and    the        Preference               Shares by              Benefit Plan Investors                             so that           no    assets           of the Issuer                will

  be     deemed               to    be        plan        assets             of          plan            subject          to    Title            of    ERISA             or        Section             4975           of the          Code
  Specifically                     the         Issuer            in         reliance               on         purchaser              and         transferee               representations                          and            deemed

  representations                       intends          to     restrict          the                                of the Class                     Notes         and       the       Preference                 Shares          so    that
                                                                                         acquisition

  less       than       25%         of the aggregate outstanding                                         amount of each                    of the Class                       Notes             the     Class              Preference

  Shares           and        the       Class       II    Preference                Shares               will       be    held by           Benefit Plan Investors                                   determined                   without

  regard           to     those           Class                 Notes          and           Preference                  Shares           held    by        Controlling                    Persons               as        defined         in

  Considerations                         for   Benefit           Plans              such           as the       Class               Notes        and    the    Class            II   Preference                  Shares           held by

  the    Servicer                  or    its    affiliates             and        employees                   thereof                However                there         can        be         no     assurance                 that     the

  ownership               of any              of the Class                    Notes                the    Class             Preference            Shares            or    Class            II       Preference              Shares        by
  Benefit Plan                     Investors             will     always            remain               below           the    25%         threshold              established                   under           the       Plan        Asset

  Regulation              as defined                 in       Considerations                       for    Benefit           Plans

                   Although               the       Co-Issuers               believe              that    the       Senior Notes             should be              classified                 as    indebtedness                  rather
  than       as     equity               for    purposes               of    the        Plan           Asset        Regulation              as        defined            in     Considerations                             for    Benefit

  Plans and                    thus       will      allow more than                          25%         of each          class      of Senior Notes                 to       be purchased                    by Benefit Plan

  Investors                   there           can        be      no         assurance                  that     the        Senior           Notes           will      be           so      characterized                         and      the

  characterization                       of one       or       more         classes           of the Senior Notes                          could       change            if   the       financial             condition               of the

  Co-Issuers              changes              or other          terms and               conditions                 of the Senior Notes                      change


                   If    the       Benefit Plan Investor                           ownership                   of any          of the Class                  Notes            the       Class           Preference                 Shares

  or    the    Class          II    Preference Shares                        were            to    meet        or   exceed           the   25%         threshold              described                above           or    any        class

  of the Senior Notes                           were          characterized                   as       equity       and        such       threshold          were         exceeded                   with respect                 to    such

  class resulting                       in the      assets        of the Co-Issuers                           being deemed                  to   be     plan         assets                certain           transactions                that

  the    Co-Issuers                     might       enter         into        or                       have     entered             into     in       the                            course            of business
                                                                                        may                                                                  ordinary                                                                  might
  constitute             non-exempt                  prohibited               transactions                    under        ERISA            and/or          Section 4975                       of the Code                  and       might
  have        to    be        rescinded              Additionally                    the          Co-Issuers              or    other        parties           in    interest                   as     defined              in    Section

  314         of    ERISA                 or    disqualified persons                                   as     defined          in    Section          4975e2                   of       the     Code may                    be     subject

  to other          penalties             and       liabilities            with respect                  to the      transaction



                   In     addition              the acquisition                    or    holding              of the Securities                  by or on behalf of                                 plan subject             to Title

  of    ERISA            or    Section 4975 of the Code                                      could give              rise      to     prohibited              transaction                  if   any         of the Co-Issuers

  the    Trustee              the        Servicer              the     Initial          Purchaser               other                                                services                  in    connection                  with     the
                                                                                                                               persons providing
  Co-Issuers                  or        any    of their respective                            affiliates             is         disqualified                 person                or     party             in     interest             with

  respect          to    that       plan        The           acquisition               or    holding           of Securities                by         governmental                           foreign           or    church           plan

  subject          to     laws substantially                          similar           to    the        provisions             of Section             406 of ERISA                            or    Section 4975                     of the

  Code could                  constitute                 violation            of    such           similar          laws       If   such     transaction                 is   not exempt from                          ERISA             and

  Section           4975 of              the    Code           or     if    applicable substantially                                similar       laws pertaining                         to    governmental                      foreign

  or    church            plans           the       transaction                              have         to    be        rescinded          and        the     Co-Issuers                      or     other          disqualified
                                                                              may
  persons                or    parties              in        interest            may             be     subject          to    other        penalties              with           respect             to     the      transaction

  Therefore               each           investor          in    the       Securities              will       be required             or    deemed            to                               and      warrant             that       either
                                                                                                                                                                    represent

        it    is   not        and        is    not using the assets of and                                     throughout              the       holding        and           disposition               of such             Securities

  will not          become               or transfer             its   interest              to         plan subject                to Title           of   ERISA              or    Section 4975 of the                              Code
                                                                                                                         42
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 or     an    entity           that      is    deemed               to       hold assets             of any            of the foregoing                       or        governmental                     foreign              or    church

 plan         which            is     subject            to                   federal           state           foreign           or     local          law        that     is    substantially                    similar           to    the
                                                                   any

 provisions                   of Section                406 of ERISA                          or     Section               4975        of    the        Code         or     ii         its      purchase                holding           and

 disposition                  of such         Securities                 will      not result in                                              prohibited                  transaction                under         Section 406 of
                                                                                                                      non-exempt
 ERISA              or    Section 4975 of the Code                                       or     in the          case of             governmental                     foreign           or    church           plan                violation

 of     any         substantially                  similar               federal           state          foreign            or     local      law            because            such           purchase                                  and
                                                                                                                                                                                                                        holding
 disposition                  either               is    not and               will      not become                    subject           to such         laws or                     is   covered           by an exemption
 from         all    applicable                prohibited                 transactions                    all       of the conditions                   of which             are       and       will       be     satisfied          upon
 the     acquisition                of and throughout                              its   holding           and        disposition            of such           Securities




                    Any         transfer           in violation                 of the foregoing                        representations                   will       be     treated             as    having            no    force       and

 effect       and         will      be null and                void ab initio potentially                                                    loss       to the investor                                            in violation             of
                                                                                                                            causing                                                       purchasing
 these        representations


                    See        Considerations                           for    Benefit Plans                         herein        for        more        detailed               discussion              of certain                 ERISA
 and      related             considerations                       with respect               to     an     investment                 in the      Securities              by     an employee                    benefit            plan    or

  similar          plan        or   arrangement



 Relating                to    the Servicing                   Agreement


                    The        Servicing            Agreement May Be Amended                                                Without         the     Consent               of Holders                 of Securities                Whether

                    or Not Such                 Amendment Adversely                                  Affects           Holders            of Securities


                    The        Issuer
                                              may             at    the       request         of the Servicer                       enter       into      an        amendment                   or     modification                  of the

  Servicing               Agreement                from            time to time without                               the    consent          of the Holders                     of the Securities                       and       without

  regard to               whether             or    not        the       interests            of the            Holders            of the         Securities               are       adversely              affected               thereby

 provided                that       with respect                   to    any       such       amendment                     or    modification                            the    Rating              Condition               is   satisfied

  and                    Majority             of the Controlling                         Class of Notes                     or      Majority             of the Holders                     of the Preference                       Shares
  have        not        objected             in   writing               to    such        amendment                    or       modification                                                        notice        to    the       Trustee
                                                                                                                                                          by        delivering

  prior       to     the        relevant                Objection               Cut-Off              Date              Holders              of the        Securities                 other           than        Holders             of the

  Controlling                  Class of Notes                      and        Holders           of    the       Preference               Shares          will       have        no        ability      to     vote        against         any
  such        amendment                    or      modification                       The          ability           of the        Holders              of the          Controlling                   Class        of Notes               and
 Holders             of the Preference                         Shares          to     influence                the    amendment process                            is     limited          to the                    of           Majority
                                                                                                                                                                                                        right

  of either          such Class to object                               as    described above                         To     the extent           that    less       than            Majority            of the Controlling

  Class of Notes                    or        Majority of the Holders                                 of the Preference Shares                                object         to the          proposed              amendment                or

  modification                     the     Servicer            may           request        that          the Issuer             enter      into    such           amendment                    or modification                     and    the

 Trustee             consent              thereto              without              regard           to    the        fact        that      certain       Holders                of       the        Securities                       have
                                                                                                                                                                                                                             may
  objected to such                       proposed              amendment                   or      modification



  Relating               to    the Servicer



                    The        Issuer Will Depend                             on    the Expertise                    Available to the Servicer                             and        its    Key Personnel


                    The        performance                     of the Issuers portfolio                                of Collateral                Obligations depends                               heavily on the                  skills


  of the Servicer                     in   analyzing                    selecting          and        monitoring the Collateral                                    Obligations                   As         result            the    Issuer

  will       be highly              dependent             on        the financial                  and                                                   of certain                                              associated               with
                                                                                                            servicing             experience                                     professionals

  the    Servicer                  none       of    whom                is    under             contractual                 obligation             to    the       Issuer        to       continue            to    be       associated

  with the Servicer                        for the        term of              this      transaction                  The        loss    of one          or    more of           these          individuals                  could have

      material            adverse             effect          on     the       performance                     of    the     Co-Issuers                 Furthermore                       the    Servicer            has          informed

  the    Issuer           that        these        professionals                     are    also          actively           involved           in      other           activities           and       will        not       be     able    to

  devote            all       of    their       time           to       the     Issuers              business               and        affairs           In        addition               individuals                not          currently

  associated                  with the         Servicer              may become                      associated              with the Servicer                       and        the       cash-flow              performance                of
  the Collateral                                                                                          on                                and
                                    Obligations may                          also     depend                    the     financial                    servicing             experience of such                            individuals

  See     The            Servicing             Agreement                      and        The         Servicer




                                                                                                                        43
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                   The            Issuer          Will       Have            Limited               Control            of the          Administration                     and Amendment                          of         Collateral

                   Obligations



                   The         Servicer            will       cause          the Issuer                 to exercise          or      enforce            or refrain          from exercising                         or     enforcing
  its    rights           in       connection                    with        the      Collateral                   Obligations               or                related            documents                    or     will       refuse
                                                                                                                                                   any
  amendments                      or   waivers              of    the        terms of any                  Collateral             Obligation and                    related           documents                 in       accordance

  with     its     ordinary                 business practices                      as    if   the Servicer                 were        administering the Collateral                                 Obligations for                   its


  own      account                     The        authority                of the        Servicer             to     cause        the    Issuer          to    change            the     terms           of the            Collateral

  Obligations will generally                                     not be          restricted             by the Indenture                  or the         Servicing               Agreement                 As              result      the

  Issuer       will          be    relying             on    the       Servicers               customary               standards                                and                              with respect                    to    the
                                                                                                                                             policies                      procedures

  servicing             of the          Collateral                Obligations                      The        Holders           of the       Securities             and         the    Issuer        will           not have          any
  right       to    compel                  the    Issuer             or     the     Servicer              to      take     or        refrain       from         taking                      actions            other        than       in
                                                                                                                                                                                  any
  accordance                 with       its   ordinary                business practices



                   In        addition              when           the       Issuer        holds                 Participation                the        Issuer      generally                will     have            no     right      to

  enforce compliance                              by the borrower                     with the loan                   or credit agreement                        or other             instrument evidencing                            the

  related          loan           obligation                no        rights        of     set-off            against           the     borrower               no     direct           interest           in    the        collateral

  supporting                 the    loan obligation                         and    no     right to            vote        with respect             to    amendments of                       or waivers                  of defaults

  under        the        loan         obligation                 An        acquisition             by the Issuer                 of      Synthetic             Security              related       to         Loan         involves

                of        the          same                                                                                                                   See
  many                                                 considerations                    relevant               to     Participations                                  Relating                      to        the         Collateral

  ObligationsLoans                                 Involve                 Particular              Risks            and     Synthetic                     Securities              Involve            Particular                Risks
  below


                          modification                      that       would          increase                the     commitment of                            lender            reduce         the       interest           rate       or

  postpone              the final maturity                        of an obligation                       under                                                                  or release                 of the collateral
                                                                                                                          participation            agreement                                     all


  for    an        obligation                 generally                requires           the       affirmative              vote        of the          Participating                 Institution              for           loan      in

  which         the          Issuer          owns                Participation                     or    of the        Issuer          for         Loan          purchased               by     assignment                    for      the

  increase           reduction                    or    postponement                     to    be       binding            The        exercise          of remedies               may         also        be    subject          to    the

  vote     of             specified               percentage                 of the            lenders             under        the     loan       obligation                    The     Servicer               will        have       the

  authority             to    cause the Issuer                        to    consent           to    certain          amendments                   waivers           or     modifications to the Collateral

  Obligations requested by obligors                                               or the       lead       agents for participation                            agreements                relating          to Participations

  subject           to        operating                procedures                 intended               to     reduce          the     risk      that        the    Issuer            would be                deemed            to    be

  engaged            in           trade       or       business in the United                             States          for    United           States       federal           income         tax       purposes                    The
  Servicer
                    may            subject             to the         transaction             documents                   cause the Issuer                to   extend or defer                   the       maturity              adjust

  the    outstanding                   balance              of any           Collateral             Obligation               reduce          or    forgive           interest           or    fees        release            material

  collateral            or        guarantees                or    otherwise              amend modify                           or    waive        the    terms of any                  related           loan agreement

  including              its      payment               terms               The      Servicer             will        make           determinations                 in      accordance               with            its    servicing

  standards              under              the    Servicing                 Agreement                        Any amendment                        waiver            or      modification                  of              Collateral

  Obligation                 could           postpone              the       expected              maturity            of the          Notes       or     the       expected            redemption                    date       of the

  Preference                 Shares           or reduce                the       likelihood             of timely and                 complete           payment of                   interest       or principal                under

  the    Notes          or         full      return         of an investment                        in the         Preference Shares



                   Performance                     History of the Servicer                                May Not Be                 Indicative           of Future Results



                   Any            prior results              of       the    Servicer              and     the       persons associated                    with       it    or   any     other        entity             may     not   be

  indicative             of the Issuers future                              results            The        nature       of and           risks associated                    with       the    Issuers future                     assets

  may       differ            substantially                  from            those assets                 historically                associated              with         the    Servicer                and        the     persons
  associated              with         it    or    any       other          entity         There           can       be    no     assurance             that     the       Issuers assets                  will          perform        as

  well     as the past                 assets          serviced             or    managed               by the Servicer                 and       the    persons associated                      with           it   or            other
                                                                                                                                                                                                                           any
  entity           Moreover                  since          the criteria that                  govern           the acquisition                of the Collateral                      Obligations do                     not govern
  the    Servicers                                                                                                    and                               of Collateral
                                    activities              generally              the    acquisition                           disposition                                           Obligations conducted                             in


  accordance                 with the             criteria            contained           in the          Indenture             and      the results           they yield may                    differ              substantially

  from      other            assets         serviced             or    managed            by the Servicer


                   Other accounts                           collateralized               debt obligations                       or other          funds managed                   or serviced              by the Servicer
  that    are       similar to               the       Issuer          Other             Debt            Funds              have        been       structured              to    comply with the exemption

                                                                                                                       44
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  from     registration                  under         the    Investment               Company                 Act provided            by Section               3c7            thereunder               whereas          the

  Issuer     is   also        structured               to    comply with the exemption                                 from      registration              provided            by Rule            3a-7       under       the

  Investment              Company                  Act            and     may          in     the       future         subject         to     the       conditions             described               herein           rely

  exclusively             on        such        exemption                  from         registration             provided            by      Rule         3a-7         Rule         3a-7        requires          certain

  additional             limitations              and            restrictions           on        the                    and                       of    assets         of the           Issuer       that     are       not
                                                                                                          buying                 selling

  applicable             to        the     assets            of     the      Other          Debt          Funds        relying         on        the     Section             3c7            exemption                  from

  registration             As             result            the     Issuers ability                  to       react    to    changes          in    market            value         of the        assets       is      more
  limited      and        the       returns            on     the       Issuers assets and                      the    Securities                                 the    returns           on     the    Preference
                                                                                                                                             including

  Shares          may not be comparable                                   to and            may      differ       materially           from         the     performance                    of the       Other          Debt
  Funds


               Notwithstanding                          the         inapplicability               of the results              obtained            and     expected            to    be     obtained          from the

  past    activities           of the Servicer                           period of increased                     volatility          in   market conditions                         including           interest        rate

  environments                     can     have         an       adverse         effect       on        the    realized        and     unrealized               returns        to    investors           in the         past

  products         of the           Servicer                 There        can     be     no       assurance           that    current        economic              conditions              and     the     effects        of
  increased         interest             rate     and        corresponding                   price       volatility          will not       adversely                              the     investment             returns
                                                                                                                                                                 impact
  ultimately         realized              by     investors               or    continued               compliance             with among                 other        things         applicable             coverage
  requirements                described in                   this      Offering         Memorandum


  Relating          to    the Collateral Obligations



               In    General                the        Collateral              Obligations Are Subject to Various Risks


               The         Collateral              Obligations are                      subject           to    credit       liquidity            and     interest           rate    risks among                  others
  The     Eligibility              Criteria            and       the    Collateral            Quality Tests have                     been        established            to    address certain                assumed
  deficiencies                in    payment                  occasioned               by      defaults           with                       to     the     Collateral                                             If
                                                                                                                             respect                                                Obligations                         any
  deficiencies            exceed           certain            modeled scenarios                         however             payments             or distributions               on       the Securities             could
  be     adversely             affected                 To        the     extent        that            default        occurs         with                        to                Collateral
                                                                                                                                                  respect               any                              Obligation
  securing          the       Notes         and         the         Issuer       on         the     advice        of     the    Servicer                sells    or     otherwise               disposes          of the
  Collateral         Obligation                         is   not likely that                the                        of the sale or other                                              will    be
                                                  it
                                                                                                    proceeds                                                    disposition                             equal to the
  amount of          principal              and        interest          owing         to the       Issuer       on the Collateral                 Obligation


               The         value           of the            Collateral           Obligations generally                         will        fluctuate           with among                  other        things          the

  financial         condition               of the                                                                of
                                                                 obligors         on        or     issuers               the    Collateral               Obligations and                        with     respect          to

  Synthetic         Securities                  both the financial                      condition              of the related             Synthetic             Security           counterparties              and       the

  obligors        on or issuers                  of the Reference                       Obligations              general        economic                conditions             the    condition of certain

  financial         markets                political              events         developments                    or    trends        in             particular                                  and                       in
                                                                                                                                            any                           industry                       changes
  prevailing         interest             rates



               The        ability          of the            Issuer        to    sell      Collateral           Obligations before                      their maturity                is    subject       to      certain

  restrictions            under            the         Indenture               including            those        described            under                                  for     the     NotesSale                    of
                                                                                                                                                       Security
  Collateral        Obligations                    Acquisition of Collateral                                  Obligations


               Below Investment-Grade                                     Obligations Involve                         Particular          Risks



                         substantial               amount               of      the     Collateral              Obligations               will     consist         of        loans          bonds        and           other

  obligations            that       are     below investment                          grade         including            high-yield           loans        and     securities               Those         Collateral

  Obligations will have                           greater            credit      and        liquidity           risk   than investment-grade                           obligations                They         are      also

  often    unsecured                 and                    be    subordinated                                                                                                        The
                                            may                                               to certain          other       obligations              of their issuer                           lower       rating       of

  those Collateral                  Obligations reflects                              greater       possibility that             adverse           changes             in the financial               condition           of

  an     issuer      or       in     general            economic                conditions               or     both                                the                      of their           issuer       to      make
                                                                                                                         may         impair                 ability

                    of principal                                           These
  payments                                       or     interest                           Collateral           Obligations may be                      speculative


               Risks           of below investment-grade                                    Collateral           Obligations may                   include         among others

                                    limited            liquidity          and    secondary                market support


                                                                                                                45
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                ii                in     the    case       of fixed-rate                   high-yield             debt         securities            substantial               market            place          volatility

                                  resulting         from      changes            in prevailing                 interest         rates




                iii               subordination               to the prior             claims of senior                    lenders           and     creditors




                iv                the     operation          of mandatory                   sinking          fund or           call       and     redemption              provisions              during          periods

                                  of     declining           interest       rates           that     could           cause           the     Issuer        to       apply       premature                 redemption

                                  proceeds           in   lower-yielding debt obligations


                                  the                          that                             of the below                                                        issuer                  be    insufficient
                                          possibility                    earnings                                          investment-grade                                      may                                       to

                                  meet       its   debt service             and



                vi                the     declining          creditworthiness                      and       potential              for    insolvency               of         below investment-grade
                                  issuer       during periods               of rising interest                     rates       and        economic            downturn


                An      economic                downturn            or     an     increase           in       interest          rates        could         severely             disrupt          the       market        for

  below         investment-grade                       obligations               and            could        adversely                affect         the        value          of        outstanding               below

  investment-grade                   obligations             and    the ability             of their issuers                   to    repay principal                  and      interest




                Issuers           that    are      below       investment                  grade     may          be      highly leveraged                      and      may        not have              available        to

  them more            traditional              methods            of financing                   The     risk associated                       with obligations                    of below investment-

  grade       issuers        is   generally            greater      than        is   the        case with investment-grade                                 issuers             For example                   during        an

  economic         downturn                         sustained                          of rising interest rates                             below                                                issuers                   be
                                          or                           period                                                                             investment-grade                                        may
  more     likely       to      experience             financial         stress            especially           if     they are highly leveraged                                    During        those          periods
              service           of debt obligations                              also       be     adversely              affected           by                       issuer         developments                  or the
  timely                                                              may                                                                           specific

  issuers inability to meet                        specific         projected              business forecasts                       or the unavailability                      of additional                financing
  The     risk    of loss            from       default       by     the    issuer           is    significantly                greater          for     the     holders            of below investment-

  grade       obligations              because           those obligations                       may be         unsecured                  and      may        be     subordinated                to       obligations

  owed     to    other       creditors           of the issuer              In       addition            the    Issuer          may        incur       additional              expenses           to      the extent        it



  is                  to     seek recovery                             default             on     such an obligation                       or participate                in
       required                                           upon                                                                                                                its   restructuring



                As           result       of the          limited        liquidity              of below investment-grade                                 obligations                 their prices                have     at

  times experienced                      significant         and      rapid       decline           when               substantial               number of               holders          decided          to    sell      In

  addition        the      Issuer         may      have       difficulty             disposing           of certain                 below        investment-grade                        obligations             because

  there
           may        be          thin       trading       market          for       them          To        the     extent          that          secondary              trading          market           for    below

  investment-grade                     obligations           does exist               it    is    generally            not as         liquid        as    the       secondary              market           for    highly

  rated    obligations                 Reduced            secondary             market liquidity                   may         have         an    adverse           impact          on    the    Issuers ability

  to    dispose        of       particular           Collateral            Obligations                  in     response               to          specific          economic               event            such      as

  deterioration            in     the creditworthiness                     of the          issuer    of the Collateral                      Obligation


                All    risks         associated           with the Issuers purchase                                of     such        Collateral           Obligations will be                         borne       by the
  holders       of the Securities                   in    reverse        order of seniority                          beginning              with the Preference                          Shares           as the     most

  junior      Class



                Limitations of Portfolio                           Divers fication



                The        Indenture             will      require        that       certain         levels          of diversification                       are     maintained                or     improved            in


  connection           with purchases                     of Collateral              Obligations                   The         Collateral           Obligations are expected                                to    consist

  primarily        of below investment                         grade            debt obligations                          To    the        extent      that      below           investment                grade      debt

  obligations          as       an     asset       class     generally            underperform                     or      experience               increased             levels          of credit          losses        or

  market        volatility             the     Collateral          Obligations will likely experience                                            credit       losses          and     losses         in    connection

  with     sales      even           with       significant           issuer         and         industry          diversification                       In     addition              given          the     leveraged

  capital       structure            of the Issuer any                 losses          resulting             from defaults                  and/or trading                    losses       will      be    borne        first


  by    the    Preference                Shares          as the      most        junior           Class           Because             the        value     of the obligations                        of any        single

  issuer      or industry              sector       will     represent                higher percentage                         of the           issuance           price       as    the    case          may be of
  the   Preference                Shares        or     any    other        junior          Class than                it
                                                                                                                          represents              in relation             to    the      aggregate principal

                                                                                                             46
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  amount of             the    total      portfolio             there    can        be        no    assurance                 that      the diversification                         guidelines             of the Indenture
  will     be        effective         in      minimizing             losses             on        the                      Classes of Securities                                                              the        Preference
                                                                                                          junior                                                                    particularly

  Shares



                 Loans Involve                  Particular Risks



                 The         Collateral         Obligations will consist                                 primarily               of Dollar-denominated                                senior         secured              and    senior

  unsecured             loans        which           are    required           by the               Indenture               to     be     obligations                    of corporations                   partnerships or
  other     entities          organized               under       the    laws            of the United                     States            or       any          of    its    states         or   of foreign                 obligors

  meeting specified                    criteria           or Synthetic              Securities                 the      Reference                   Obligations of which                            are    such           loans       See

  Security             for the       NotesCollateral                      Obligations


                 Loans may become                           non-performing                          for                            of reasons                      Non-performing                     loans
                                                                                                                   variety                                                                                           may        require

  substantial               workout                                      or                                          that                                                         other                                   substantial
                                               negotiations                        restructuring                                 may           entail              among                         things
  reduction            in    the interest           rate     or     substantial                    write-down                 of the principal                          of      loan        In      addition              because       of

  the     unique            and     customized               nature           of          loan            agreement                    and      the           private           syndication               of          loan        loans

  typically           may     not be           purchased           or sold           as easily                 as publicly                traded          securities                and     historically                 the    trading
  volume         in     the    bank term                 loan     market           has been                   small      relative              to    the       corporate             bond market                      Loans may
  encounter trading                    delays due            to their          unique and                     customized                  nature              and       transfers                                               consent
                                                                                                                                                                                          may        require          the

  of an     agent           bank     or     borrower               Consequently                          there       can      be       no assurance                      that    there      will      be any              market for

  any     Loan         if   the     Issuer       is   required           to    sell       or       otherwise               dispose of such                          Loan            Depending              on       the       terms of
  the    underlying loan documentation                                         consent              of the            borrower                            be                                   an                                 and
                                                                                                                                              may                   required          for            assignment

  purported            assignee may                  not have           any        direct          right to           enforce             compliance                     by the obligor                 with the terms of
  the loan           agreement            in the      absence           of    this       consent



                 The         Issuer
                                            may          acquire         interests                 in     loans          either           directly                 by        assignment               or       indirectly             by
  Participation              or    through           Synthetic           Securities                      The        Issuer         may          not       originate             any       loans           The purchaser of
  an    assignment of                     loan obligation                typically                 succeeds              to      all    the rights                 and       obligations            of the Participating
  Institution           and       becomes                lender     under           the loan              or credit            agreement                  with respect                to the         debt obligation                    In

  contrast              Participation                 acquired          by     the        Issuer              in        portion           of             loan       obligation             held by                  Participating

  Institution           or                          or other       debt obligation                                               results            in        contractual
                                  security                                                                typically                                                                   relationship              only with the
  Participating              Institution              not    with the borrower                                 The      Issuer            would have                     the    right to         receive            payments            of

  principal            interest         and         any     fees    to    which               it    is    entitled            under                 Participation                only from                the       Participating

  Institution           and       only upon receipt                      by        the    Participating                     Institution                  of    those                                from        the        borrower
                                                                                                                                                                               payments

                                                                                                                                                                                                           by them as they
  Participating              Institutions             commonly                reserve              the    right to            administer the Participations                                      sold

  see     fit
                 unless             their       actions           constitute
                                                                                          gross               negligence                  or        willful             misconduct                  and        to        amend        the

  documentation                    evidencing               the     obligations                     in    all                                  However                       most
                                                                                                                    respects                                                          participation                   agreements
  provide            that     the                                  Institutions                                not      vote                 favor of any                       amendment                  modification
                                     Participating                                                 may                               in                                                                                                 or

  waiver         that        forgives           principal           interest              or        fees           reduces              principal                  interest          or    fees       that          are       payable
  postpones             any       payment           of principal              whether                     scheduled                  payment                  or         mandatory                                              interest
                                                                                                                                                                                               prepayment
  or fees        or releases           any      material           guarantee or security                                without            the       consent             of the participant                    at        least to the

  extent        the     participant             would be           affected              by any               such      amendment                        modification or waiver                                     Participating
  Institutions              voting        in    connection               with                                       waiver              of                                      covenant                       have
                                                                                          potential                                                  restrictive                                    may                       interests

  different           from those of                 the     Issuer and               such           Participating                  Institutions                    might         not consider              the        interests         of
  the    Issuer        in    connection               with their votes                        In    addition               many           participation                      agreements             that    provide              voting

  rights        to    the     holder           of the        Participation                    further              provide             that         if   the        holder          does       not      vote         in       favor     of

  amendments                  modifications or waivers                                the                                                      repurchase such                                                                        The
                                                                                                   selling          lender         may                                                Participation                  at    par
  Issuer        will    be    subject          to    restrictions             on    the       amount of                 Participations                        that       may be acquired                   for       inclusion          in

  the    Collateral               See Security               for the                                                        Criteria
                                                                              NotesEligibility


                 Holders            of Participations                    are                             to    additional                 risks          not                              to         holder              of      direct
                                                                                    subject                                                                        applicable

  interest       in          loan         In    the      event      of the                                         of the Participating                              Institution               under       the       laws        of the
                                                                                     insolvency
  United         States        and        the       various        States           thereof                    holder            of                                                       be     treated
                                                                                                                                              Participation                     may                                 as          general

  creditor           of the Participating                   Institution             and       may not have                       any      exclusive                 or senior          claim with respect                        to   the

  Participating              Institutions                interest       in or the collateral                            with respect                     to        the    loan        Consequently                        the    holder
  of       Participation                will        be      subject       to        the       credit           risk      of the                                                Institution           as    well            as    of the
                                                                                                                                             Participating

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  borrower               Participants              also       often        do    not benefit                from         the collateral               if     any        supporting                 the     loans       in    which

  they have              participation                interest           because            Participations                    often       do    not provide                   purchaser with direct rights
  to   enforce           compliance                 by    the           borrower            with           the    terms            of the       loan         agreement                  or              rights      of set-off
                                                                                                                                                                                              any

  against        the     borrower                  The        Servicer           is    not required                     and        does        not    expect            to    perform             independent                credit


  analyses of the Participating                               Institutions




                 Certain            of the loans              in    the       Issuers portfolio                     may be unsecured                          or   secured              by collateral              worth less

  than the outstanding                        balance          of the loan                      In    addition           to    the    general             risks    associated                 with loans            described

  above         unsecured               loans        will      not be            secured             by     substantial              collateral             or               collateral             and     secured           loans
                                                                                                                                                                  any
           be                                     under-secured                       Without               collateral              and        with                                inadequate              collateral             the
  may            substantially                                                                                                                             materially

  ability of the holder of the loan to recover amounts                                                            due     from the borrower                        may be               substantially             limited



                 Risks Associated                     with         Appiing Proceeds                              of Dispositions


                 The        Issuers               income            will      decline            if    and        when         the        Issuer           applies           the    proceeds              from         matured

  prepaid         sold         or    called        Collateral              Obligations into lower                                  yielding          instruments                         decline           in   income           will

  affect      the     amount              available            for       distributions                on     the     Securities                  Subject           to      criteria           described           herein          the

  Servicer        will       have         discretion               to    use Principal                 Proceeds               to    purchase              Collateral           Obligations                 in    compliance
  with the Eligibility Criteria and                                     other     requirements                     for    the acquisition                    of Collateral                   Obligations described

  herein         The        yield       with respect                to    such        Collateral             Obligations will depend                               on among                   other       factors           interest

  rates    available             at the       time        the availability                      of assets satisfying                      the Eligibility                  Criteria           and     acceptable             to the

  Servicer            and        market        conditions                related       to       leveraged            Loans and                  high yield            bonds             in   general            The need            to

  satisfy        the      Eligibility              Criteria              and      other              requirements                   for    the        acquisition                  of    Collateral              Obligations
  described herein                     and                                                                                            the                          of      Collateral              Obligations with
                                               identify            acceptable               assets         may      require                     purchase
  lower       yield         than those               replaced                 with         different             characteristics                 than        those           replaced             including             but       not

  limited        to      coupon               spread           maturity               call features                 and/or           credit          quality            or    require             that     such        funds       be

  maintained                in      Eligible         Investments                  pending                  such      replacement                     of     Collateral              Obligations                  which            will

  further        reduce             the      yield       on        the     Collateral                Obligations                     Any        decrease              in      the       yield       on     the     Collateral

  Obligations             will         have       the effect             of reducing                 the    amounts            available             to    make         distributions                on    the    Securities

  especially           the       most         junior        Class of Securities                              There            can     be       no     assurance               that       in the          event      Collateral

  Obligations are                    sold prepaid                       called        or    mature               yields        on     Collateral              Obligations that                       are    available             and

  eligible for           purchase              will    be      at       the   same         levels          as those           replaced              that     the characteristics                      of any        Collateral


  Obligations purchased                            will       be    the       same         as    those       replaced               or as       to the       timing of the purchase                              of any          such

  Collateral          Obligations



                 Leveraged                Loans and                 privately          placed high yield                       bonds           are    not as easily                 or       as   quickly          purchased
  or   sold      as    publicly              traded       securities             for            variety          of reasons               including              confidentiality                    requirements                 with

  respect        to      obligor             information                   the     customized                     non-uniform                   nature           of     loan         agreements                  and        private

  syndication                  The        reduced         liquidity             and        lower           volume of                trading          in    such       debt obligations                      in addition             to

  restrictions            on        purchase           represented                by        the       Eligibility              Criteria              could        result       in       periods           of time during

  which         the      Issuer         is    not able             to    fully     apply             its    cash     to       purchase              Collateral             Obligations                    The      longer          the

  period        before           the      application               of cash           to    purchase              Collateral              Obligations                 the      greater            the     adverse           impact
           be on       aggregate Interest Proceeds
  will                                                                                collected             and      distributed                by the Issuer including                              on    the    Securities

  especially             the      most        junior          Class of Securities                            thereby           resulting              in    lower          yields            than     could       have           been

  obtained          if   proceeds             were       immediately                   applied               In    addition               leveraged              Loans        are often             prepayable               by the

  borrowers              with       no       or    limited penalty                    or        premium              As             result           leveraged Loans                     generally              prepay           more

  frequently             than other               corporate              obligations                 of the same               borrower                   Senior leveraged                        Loans         usually          have

  shorter        terms           than        more      junior            obligations                  and        often        require          mandatory                repayments                  from        excess           cash

  flow        asset          dispositions                and            offerings            of       debt         and/or            equity           securities                   The         increased            levels          of

  prepayments                    and      amortization                   of      leveraged                 Loans          increase              the        associated              replacement                  risk        on     the

  Collateral             Obligations which                          risk       will        first      be     borne            by    holders           of the          Securities                  beginning            with        the

  Preference Shares                       as the      most junior                Class




                                                                                                                   48
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                  Defaults           and Market                  Volatility



                  To      the      extent       that         default          occurs with respect                                  to    any    Collateral                 Obligation and                       the Issuer           sells    or

 otherwise              disposes of that                    Collateral             Obligation                     it     is    likely         that    the        proceeds               will      be       less       than     its   unpaid
 principal             interest         or     its    purchase                           This           could            have             material             adverse            effect         on       the                          on    the
                                                                            price                                                                                                                                 payments
 Securities               The       Issuer       also       may        incur        additional                                           to the      extent           it   is    required             to    seek recovery               after
                                                                                                              expenses
      default        or    participate               in    the restructuring                   of an obligation                                Even        in the          absence              of         default          with respect
 to    any    of the Collateral                       Obligations                  the       market               value            of the       Collateral                                                            time will vary
                                                                                                                                                                           Obligation                at    any
 and     may vary                                            from                                       which
                                  substantially                             the    price       at                        that       Collateral                 Obligation was                     initially           purchased             and
 from        the       principal          amount              of such             Collateral                 Obligation                      due      to       market            volatility                changes            in     relative

 credit       quality general                        economic                conditions                  the        level           of interest                rates                             in                                          the
                                                                                                                                                                            changes                        exchange            rates

 supply         of below investment                               grade           debt obligations                            and        other        factors              that       are       difficult             to                      In
                                                                                                                                                                                                                            predict
 addition              the    Indenture              places           significant              restrictions                    on       the    Servicers                   ability         to    buy and               sell    Collateral

 Obligations which restrictions                                    may be               greater              if    amendments                       are        made         to       assure        compliance                  with Rule
 3a-7         See         The             Servicer               May Cause                    the       Issuer           to    Amend                the        Indenture              to    Assure              Compliance              with
 Rule        3a-7 Without                 the        Consent               of the Holders                    of the Securities                                       Manner                                                           Affect
                                                                                                                                                      in                               that      May            Adversely
 the    Holders            of Securities



                  The        market          price         of below investment                               grade            debt obligations                        may         from          time to           time experience

 significant              volatility                 During            certain           periods                  this        market            has        experienced                     significant                                  with
                                                                                                                                                                                                                      volatility

 respect        to      market prices                       significant             increase                 in    issues                            at    distressed                 levels                                       increase
                                                                                                                                    trading                                                                significant

 in    default         rates        and          significant                decrease           in       recovery                   rates        No        assurance               can       be     given that                volatility       in

 the    below             investment             grade           debt market                   will       not          continue                in the          future             Such                                 can
                                                                                                                                                                                                volatility                     adversely
 impact         the       liquidity             market            prices          and     other           performance                         characteristics                     of leveraged                    Loans         and     high
 yield       bonds


                  Structured              Finance            Obligations Involve                              Particular                   Risks



                                         of the Collateral                                                                                   of Structured
                        portion                                              Obligations may consist                                                                       Finance              Obligations                   Structured

 Finance                                                                                                          those of the other
                   Obligations                 may         present          risks       similar          to                                                    types of Collateral                             Obligations which
 the    Issuer          may purchase                      and         in    fact    the        risks
                                                                                                              may             be    of greater                 significance                 in the             case        of Structured
 Finance           Obligations                       Moreover                                                Structured                   Finance                                                                                             of
                                                                              purchasing                                                                        Obligations                  may           entail              variety

 unique           risks           Among              other        risks       Structured                     Finance                Obligations may                         be        subject             to    prepayment              risk
 credit       risk liquidity                    risk market                  risk                                                                              and
                                                                                         structural                    risk         legal       risk                   interest             rate        risk      which may                  be
 exacerbated                 if   the    interest          rate       payable           on          Structured                     Finance           Obligation changes                              based         on                         of
                                                                                                                                                                                                                            multiples

 changes           in interest            rates       or inversely                 to                          in      interest                            In    addition               certain            Structured              Finance
                                                                                         changes                                           rates

 Obligations particularly                                 subordinated                  collateralized                    bond obligations                             may           provide            that      non-payment                 of
 interest         is   not        an event           of default             in certain              circumstances                         and       the        holders           of the securities                     will     therefore

 not have            available            to    them any               associated                  default             remedies                 During               the    period              of non-payment                       unpaid
 interest         will generally                 be capitalized                   and     added           to       the                                                           balance           of the related
                                                                                                                              outstanding                 principal                                                                security
 Furthermore                  the                                     of                                 Finance
                                        performance                           Structured                                       Obligation will be affected                                       by            variety        of factors

 including             its    priority          in the        capital         structure                 of    its       issuer           the                                of any              credit         enhancement                   the
                                                                                                                                                availability

 level       and       timing           of payments                   and         recoveries                 on        and         the     characteristics                      of the           underlying receivables
 loans       or other             assets       that        are   being securitized                           bankruptcy                    remoteness                 of those              assets         from        the     originator
 or transferor                the       adequacy            of and           ability          to    realize             on any             related         collateral                 and       the       skill    of the          manager
 or    the    servicer             of the         Structured                 Finance           Obligation                      in       managing                or                              securitized                 assets          The
                                                                                                                                                                      servicing

 price       of           Structured             Finance                                           if                                   be     sold                    be                                                    market         and
                                                                      Obligation                        required to                                        may                   subject           to      certain

 liquidity           risks        for    securities              of    its   type        at    the       time of sale                          In    addition               Structured                  Finance             Obligations

 may involve                 initial      and        ongoing           expenses               above           the costs                 associated              with the related                      direct          purchases


                  Synthetic             Securities           Involve          Particular Risks



                                          of         the     Collateral                                                                                   of
                          portion                                                   Obligations                         may             consist                  Synthetic                 Securities                 the     Reference

 Obligations of which                           are        Loans            Structured               Finance                  Obligations or High-Yield                                     Bonds                 Acquiring            these

 types       of assets             through            the    purchase              of Synthetic                        Securities                                risks          in    addition             to     those
                                                                                                                                               present                                                                         inherently
 associated               with      direct           purchases               of such           assets                  With                               to                                                       the        Issuer        will
                                                                                                                                        respect                 Synthetic               Securities

                                                                                                                       49
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  usually        have             contractual                  relationship            only with the counterparty                                            of the          Synthetic           Security             and     not the

  reference           obligor          on       the    Reference              Obligation                      The     Issuer             will     have       no    right to enforce compliance                                    by the
  reference           obligor           with the Reference                      Obligation nor any                                  rights       of    set-off          against           the reference               obligor            nor

  have     any        voting          or     other         consensual               rights          of ownership                         with respect              to        the    Reference               Obligation                  The
  Issuer       will    not        directly            benefit         from      any       collateral                 supporting                 the     Reference                  Obligation and                will       not have

  the benefit          of the remedies that would normally be                                                        available             to         holder of the Reference                               Obligation


                 In    addition              in the            event        of the insolvency                        of the Synthetic                        Security              Counterparty                the     Issuer           will

  be treated          as          general creditor                     of the counterparty                           and        will       not have                      claim of           title      with respect                to    the
                                                                                                                                                               any
  Reference            Obligation                     Consequently                   the       Issuer           will           be    subject           to    the     credit          risk      of the        counterparty                    as

  well     as that          of    the      reference             obligor        and        concentrations                           of Synthetic               Securities                entered         into     with any              one

  counterparty               will       subject            the        Securities          to        an    additional                     degree         of risk with respect                           to    defaults         by        that


  counterparty                   One       or    more           Affiliates          of the          Initial         Purchaser may act as counterparty                                             with respect                to    all      or

                      of the Synthetic                                              which                                                                     certain             conflicts          of interest             See
       portion                                                 Securities                           relationship                     may        create

  Relating        to        Certain             Conflicts             of InterestThe                           Issuer           Will        Be         Subject          to        Various         Conflicts            of Interest

  Involving           the        Initial        Purchaser below                           In    addition                  Synthetic               Securities
                                                                                                                                                                         may         involve           initial      and      ongoing

  expenses            above           the       costs          associated           with the              related              direct        acquisitions                         The     Issuer        will     be        subject           to

  restrictions          on the amount of Synthetic                                    Securities                it
                                                                                                                      may own                at   any        one     time


                 Some of              the    Collateral                Obligations Will Be Illiquid



                 Some            of the Collateral                     Obligations purchased                               by the Issuer                    will    have            no    or    only          limited trading

  market          The            Issuers acquisition                         of illiquid Collateral                                 Obligations may                          restrict      its    ability        to    dispose of
  Collateral           Obligations                   in         timely        fashion          and            for         fair       price        as     well       as        its   ability       to    take      advantage                  of

  market         opportunities                   although              the    Issuer           is   generally                  prohibited              by the Indenture                        from         selling        Collateral

  Obligations except under                                 certain          limited        circumstances                            described           under           Security               for the        NotesSale                      of

  Collateral           Obligations                    Acquisition of                  Collateral                 Obligations                           Illiquid Collateral                     Obligations                 may      trade

  at        discount               from         comparable                    more         liquid              assets                The         market            for        below         investment                grade             debt

  obligations           may           become               illiquid          from     time to                 time as                    result       of adverse                  market        conditions                 regulatory

  developments                   or     other         circumstances                    In       addition                  the        Issuer        may purchase                      privately              placed         Collateral

  Obligations that                    may        or    may not be              freely          transferable                    under        the        laws of the applicable                          jurisdiction               or    due

  to     contractual               restrictions                  on     resale         and           even            if    those           privately               placed            Collateral              Obligations                  are

  transferable               the      prices          realized           from        their sale                could           be        less    than those              originally              paid by          the       Issuer           or

  less than       what           may         be considered their                     fair       value



                 Insolvency                  Considerations                     With           Respect               to        Issuers           of Collateral                      Obligations              May           Affect         the

                 Issuers Rights



                 Various              laws enacted                    for    the protection                    of creditors                 may         apply           to    the       Collateral           Obligations                     If

  in      lawsuit          brought              by        creditor           or representative                       of creditors                 of    an    obligor             under           Collateral           Obligation

  such      as         trustee          in   bankruptcy                        court       were           to    find       that          the obligor              did    not receive                 fair    consideration                   or


  reasonably            equivalent                   value for incuning                         the       indebtedness                      evidenced               by        the       Collateral           Obligation                 and
  after    giving effect                   to    the       indebtedness               and       the           use of the proceeds                            thereof              the     obligor                was insolvent

  ii was engaged                        in           business           for    which            the           remaining                  assets        of the        obligor              constituted             unreasonably
  small     capital          or     iii intended to incur                            or    believed                 that       it    would incur                  debts           beyond         its   ability        to    pay     them
  as     they     mature               the       court          could         determine                  to    invalidate                   in     whole           or        in     part       the      indebtedness                    as

  fraudulent           conveyance                     to       subordinate           the       indebtedness                         to existing             or future             creditors          of the obligor                    or to

  recover        amounts                previously                paid by            the       obligor              in     satisfaction                 of the          indebtedness                        There      can         be        no

  assurance            as    to       what       standard                   court     would apply                         to    determine               whether               the    obligor           was insolvent                         or

  that regardless                  of the method of valuation                                            court        would not determine                               that        the    obligor          was insolvent
  in    each     case        after giving                  effect       to    the    incurrence                  of the Collateral                          Obligation and                     the     use of       its     proceeds

  In    addition            in    the    event            of    the    insolvency              of an obligor                        under             Collateral              Obligation               payments              made on
  the    Collateral              Obligation may                        be    subject           to    avoidance                      as      preference                       if   made within                    certain          period
  before insolvency                     which              may be as long as approximately                                                one     year



                                                                                                                      50
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               In       general               if     payments                   on              Collateral                                              are         avoidable              whether              as     fraudulent
                                                                                                                           Obligation

  conveyances                or    preferences                  the       payments               can        be    recaptured                 either           from        the    initial                             such         as    the
                                                                                                                                                                                                recipient

  Issuer      or       from        subsequent                  transferees                 of the                                 such            as     the    Holders              of the                                      To     the
                                                                                                           payments                                                                                  Securities
  extent     that       any         payments               are       recaptured                  from            the       Issuer the               resulting               reduction             in      payments               on     the

  Securities        will       be     borne          by the Holders                        of the Securities                      beginning               with the Preference Shares                                  as the          most

 junior      Class of Securities                                    court        in         bankruptcy                 or       insolvency               proceeding                would be               able    to       direct       the

  recapture         of any          payment               from             Holder             of the Securities                       to    the extent              that    the court            has jurisdiction                     over
  the    Holder         or    its    assets           Since              there        is   no judicial                                                              to    structured            securities            such
                                                                                                                       precedent              relating                                                                            as the

  Securities           there        can       be     no        assurance                 that         Holder               of    Securities              will       be     able      to    avoid                                 on    this
                                                                                                                                                                                                          recapture
  basis



               The          preceding               discussion                 is   based           on     principles              of United              States           federal         and       state      laws             Insofar

  as    Collateral           Obligations that                        are        obligations                of non-United                      States                               are     concerned                  the    laws of
                                                                                                                                                               obligors

  certain     foreign             jurisdictions                may         provide              for      avoidance                remedies under                         factual      circumstances                    similar          to
  or    broader or narrower                         than       those described above                                   with consequences                                                                  not be analogous
                                                                                                                                                                     that       may       or    may
  to those     described above                        under          United              States          federal           and    state       laws


               Collateral                Obligations consisting                                  of obligations                       of non-U.S                                                be
                                                                                                                                                                    issuers        may                 subject         to    various

  laws enacted               in     their          home         countries                for     the                                  of debtors               or        creditors             which       could
                                                                                                           protection                                                                                                      adversely
  affect     the        Issuers               ability          to        recover              amounts             owed                     These         insolvency                  considerations                   will        differ

  depending            on    the      country             in   which            each          issuer             located              and                differ                                 on     whether
                                                                                                            is                               may                          depending                                        the    issuer

  is     non-sovereign                or           sovereign entity


              International                    Collateral                 Obligations Involve                              Particular Risks



                       portion        of the Collateral                          Obligations may                           consist          of obligations                  of obligors                Domiciled             outside

  the    United         States            Acquiring                  assets           outside            the     United           States                       involve                                       than acquiring
                                                                                                                                                   may                           greater          risks

  assets in the          United           States            These                                    include
                                                                            risks          may                             less publicly                available            information                  varying           levels      of

  governmental                 regulation                 and        supervision                      and         the                               of
                                                                                                                            difficulty                        enforcing              legal        rights         in          foreign

 jurisdiction            and        uncertainties                   as    to     the       status          interpretation                   and         application             of laws               Moreover               foreign

 companies              may         be        subject           to       accounting                   auditing                  and        financial            reporting             standards                                        and
                                                                                                                                                                                                                practices
 requirements                different             from        those applicable                       to   U.S companies


              There           generally              is   less       governmental                        supervision               and       regulation                  of exchanges                brokers and                 issuers

  in                   countries               than        there                    in    the       United            States                For                                                      be
        foreign                                                            is                                                                       example                 there         may              no        comparable
 provisions             under         certain             foreign              laws        with                             to     insider                                and     similar            investor
                                                                                                         respect                                    trading                                                            protection
  securities        laws that apply                   with respect                       to securities            transactions                 consummated                       in the         United          States



              Foreign               markets           also          have        different             clearance and                        settlement               procedures                 and     in certain           markets
 there      have         been         times           when               settlements                  have            failed          to     keep         pace            with       the        volume           of        securities

                            making                                          conduct                                                                                                                             periods when
 transactions                                 it   difficult          to                         transactions                    Delays            in    settlement             could result               in

 assets      of the Issuer                are       unapplied                  and       no      return          is    earned          on     them              The                             of the       Issuer         to    make
                                                                                                                                                                           inability

  intended         purchases               of       Collateral                 Obligations                  due        to       settlement                                      or    the        risk     of
                                                                                                                                                         problems                                                intermediary
 counterparty               failures          could         cause          the        Issuer         to    miss opportunities                            to    acquire          Collateral                                             The
                                                                                                                                                                                                       Obligations
  inability       to    dispose of                   Collateral                 Obligation due                        to    settlement              problems                could result either                       in    losses      to

 the     Issuer     due       to    subsequent                 declines               in the        value of the Collateral                                                                                           has entered
                                                                                                                                                         Obligation or                    if    the Issuer

  into      contract           to    sell      the    security could                          result       in    possible              liability          to    the       purchaser              Transaction                costs       of

 buying       and        selling          foreign              securities                  including              brokerage                  tax         and                                          also      are
                                                                                                                                                                    custody           costs                                generally

 higher       than          those        involved               in       domestic                transactions                         Furthermore                    foreign          financial            markets                while

 generally          growing              in    volume                have           for       the     most        part           substantially                 less       volume than U.S markets                                      and
 securities         of many               foreign              companies                   are      less                         and        their prices                 more        volatile          than      securities             of
                                                                                                                liquid

 comparable             domestic               companies


              In        certain           foreign               countries                  there           is     the                                    of                                                                             or
                                                                                                                                possibility                         expropriation                    nationalization

 confiscatory               taxation               limitations             on       the       convertibility                    of currency               or    the       removal              of securities               property
 or other      assets         of the Issuer political                                 economic                  or social                                      or   adverse
                                                                                                                                      instability                                     diplomatic developments

                                                                                                                      51
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  each      of which               could        have         an    adverse               effect           on      the       Issuers            purchase              of Collateral                    Obligations in the

  foreign         countries              which may make                            it    more         difficult            to     pay        Dollar-denominated                            obligations              such         as    the

  Collateral            Obligations                      The      economies                    of     individual                 non-U.S              countries             may        also       differ          favorably or

  unfavorably                from         the       U.S          economy                 in     such          respects             as     growth              of gross            domestic               product               rate     of

  inflation             volatility             of     currency                exchange                   rates          depreciation                     capital           reinvestment                       resource            self-


  sufficiency              and     balance          of payments                    position



                  Lender           Liability          Considerations                       and Equitable                     Subordination                     Can        Affect           the    Issuers Rights                      with

                  Respect           to    Collateral              Obligations



                  In    recent           years              number                of judicial               decisions              in     the       United           States           have        upheld           the     right        of

  borrowers             to     sue       lenders           and     bondholders                      on     the     basis           of various             evolving               legal        theories             collectively

  termed lender                    liability                 Generally                  lender           liability          is   founded            on    the       premise that                      lender has violated

       duty whether                 implied or contractual                               of good faith and                        fair       dealing          owed         to the          debtor or has assumed

  degree       of control                over       the     debtor           resulting               in the       creation              of         fiduciary              duty owed               to     the      debtor         or     its


  other       creditors            or shareholders                          Because             of the nature                    of the Collateral                       Obligations                  the     Issuer           may      be

  subject         to    allegations             of lender               liability               In    addition               under           common                law     principles                 that    in    some         cases

  form      the        basis       for     lender          liability              claims              court           may         elect       to    subordinate                  the       claim of the               offending
  lender       to      the   claims         of the disadvantaged                              creditors                 remedy               called      equitable               subordination                       if        lender

         intentionally              takes       an       action         that       results           in the        undercapitalization                             of       borrower              to     the       detriment of

  other       creditors            of the         borrower                  ii                            in other           inequitable                 conduct           to     the       detriment of the                      other
                                                                                   engages
  creditors             iii engages                 in     fraud with                   respect          to      or     makes           misrepresentations                            to    the       other        creditors            or

  iv      uses       its     influence          as         lender           to    dominate                or control                   borrower           to       the    detriment of other                        creditors           of

  the    borrower



                  Because            the Collateral                                                                               Loans
                                                                   Obligations are primarily                                                       the Issuer             may be            subject          to    claims         from

  creditors            of an       obligor          that    Collateral                  Obligations               issued          by     the       obligor          that    are held by the Issuer                              should

  be    equitably            subordinated                    However                    the    Servicer            does          not intend              to    engage            in   conduct            that      would form
  the basis          for          successful             cause of action                      based         on    lender           liability            or the equitable                    subordination                 doctrine

  Nonetheless                 no     assurances              can       be     given that                 actions           taken        in    good       faith       by the Servicer                    will       not result in

  losses       to      issuers           of Collateral                 Obligations                    and        that       the     Issuer          will       not        be     liable for                        such         losses
                                                                                                                                                                                                        any
  Furthermore                  the       Issuer       and        the        Servicer           may         be     unable           to     control             the    conduct               of lenders             under               loan

  syndication                agreement              requiring                less       than              unanimous                 vote           yet    the       Issuer        may            be     subject           to    lender

  liability         or equitable               subordination                  for       such        conduct



                  The        preceding              discussion               is    based         on       principles              of United              States          federal           and    state        laws            Insofar

  as    Collateral            Obligations                  that    are        obligations                  of non-United                      States          obligors           are       concerned               the         laws     of

  certain      foreign             jurisdictions             may            impose             liability          on       lenders           or    bondholders                  under        factual          circumstances

  similar       to or broader or narrower                                    than        those        described above                          with consequences                           that       may     or     may not            be

  analogous             to    those described above                               under        United            States          federal          and    state       laws


                  Notes          May Be           Affected             by Interest               Rate          Risks         Including Mismatches                                Between               the    Notes            and     the

                    Collateral            Obligations


                  The Notes               bear interest                at         rate    based on               LIBOR             as    determined                 on     the    second          Business Day                    prior

  to    the    first         day     of the          relevant               Interest           Period              The           Collateral              Obligations will                        consist           primarily            of

                                    bear interest at floating
  obligations              that                                                          rates           which          floating          rates         may be            different          than the floating                    rates

  on the Floating                  Rate        Notes         Accordingly                        the      Notes         are subject                to interest            rate    risk to          the       extent        that    there

  is   an interest rate mismatch                            between                the rates          at    which           interest          accrues              on the Notes              and        the rates         at     which

  interest        accrues          on     the Collateral                     In    addition there                      may        be         timing mismatch                      between               the Floating              Rate

  Notes       and       the Floating                Rate       Obligations as the interest on                                       the Floating                   Rate        Obligations may                     adjust         more
  or less      frequently                 on    different          dates           and        based         on    different              indices          than the interest rates                            on    the     Floating

  Rate      Notes             Furthermore                   any        payments                of principal                 of or         interest            on    Collateral              received              during              Due
  Period will except to                              limited       extent               specified           in    the      Indenture               be     held       in    Eligible          Investments                  maturing
  not     later      than the Business Day                              immediately                      preceding               the    next Payment                     Date          There           is    no    requirement
  that    Eligible            Investments                  bear interest                  at     LIBOR             or             similar          rate        and        the    interest             rates       available            for


                                                                                                                      52
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 Eligible       Investments                   are inherently                   uncertain                 As           result      of these         mismatches an                      increase              or    decrease           in

 LIBOR          for the relevant                    maturity              could          adversely              affect         the ability        of the Issuer                to    make         interest          payments
 on     the   Notes         including                  due     to         rise      or        decline           in       the    value of previously issued                             Collateral                Obligations
 or other       Collateral              that       bear interest                 at         fixed        rate       as    LIBOR          decreases            or    increases              as    applicable               and        to

 make         distributions              or       final       distributions                 on         the    Preference               Shares           To     mitigate                portion              of the       interest

 rate    mismatch                 the       Issuer
                                                            may      enter          into      Hedge            Agreements                that      are       in     the    case        of Hedge                  Agreements
 entered into           on        or    after          the    Closing            Date             subject           to         Rating        Confirmation                      However                 there       can        be     no
 assurance           that     the       Collateral                Obligations and                                          Investments                                 with the Hedge
                                                                                                        Eligible                                      together                                               Agreements
 will    in    all   circumstances                      generate sufficient                            Interest          Proceeds        to     make         timely payments                      of interest on                    the

 Notes         Moreover                  the      benefits              of any         Hedge             Agreements may                       not     be      achieved              in the       event           of the early
 termination            of the               Hedge            Agreements                                              termination                             the     failure          of the
                                                                                              including                                         upon                                                    related           Hedge
 Counterparty                to    perform              its   obligations                  under         the     Hedge           Agreement                   Although            any        Hedge            Counterparty
 will    be                       rated       institution                     the     time of entering                     into       the applicable                                                             there    can        be
                    highly                                               at                                                                                         Hedge           Agreement
 no     assurance            that       it    will      meet            its    obligations               under            the    applicable             Hedge         Agreement                        In    addition               the

 actual                           balance              of any           rate     mismatch                between               the                           Obligations and                            Notes
              principal                                                                                                               Collateral                                                the                     may         not

 exactly        match            the    notional              balance            under            any        Hedge         Agreement                  All      risks       associated              with any               rate       or

 notional           balance            mismatch               will       be    borne          by the holders                     of the       Securities                                    with        the       Preference
                                                                                                                                                                     beginning
 Shares        as the       most junior                 Class            See        Security             for the          NotesHedge                     Agreements

                The     Servicer              may           direct       the Issuer               to    reduce           the notional           amount of              or      otherwise               adjust       the       terms

 of any Hedge                     Agreement                   outstanding                at    any           time subject                in the         case       of any           reduction               or    adjustment
 made on            or after the             Ramp-Up                Completion                    Date         to    obtaining               Rating Confirmation



                Changes                in     Tax        Law            Could          Result            in     the       Imposition            of       Withholding                 Taxes         with           Respect            to

                Payments on                   the       Collateral               Obligations                    and       the     Obligors on                the    Collateral              Obligations                  will       not
                Gross-           Up Payments                   to    the Issuers



                The      Issuer              expects              that
                                                                              payments                 received           on     the     Hedge            Agreements                   and        generally               on        the

 Collateral          Obligations and                         Eligible           Investments                    will       not be        subject         to    withholding                  taxes       imposed            by the
 United        States        or    reduced              by        withholding                 taxes          imposed            by            other                        from        which such payments
                                                                                                                                       any                 country
 are    sourced        unless           the       obligor           is    required            to       make gross-up                                           that    cover          the               amount of any
                                                                                                                                         payments                                               full

  such       withholding                taxes            In       the     case        of Collateral                  Obligations and                     Eligible          Investments                  issued           by        U.S
 obligors           after                    18     1984          that        are     in                             form                                thereon                                                              under
                             July                                                            registered                              payments                             generally              are        exempt
 current        United            States          tax        law         from         the     imposition                  of United             States         withholding                  tax             See     Material
 Income         Tax ConsiderationsUnited                                              States           Federal           Taxation            of the       Issuer            However                    there       can        be     no

 assurance           that         as         result         of any        change             in               applicable              law                    rule     or regulation                   or interpretation
                                                                                                   any                                        treaty

 thereof        the     payments                  on     the      Hedge             Agreements                   Collateral             Obligations and                    Eligible          Investments                  would
 not    in    the future           become              subject           to    withholding                    taxes       imposed         by      the    United        States          of America or another
                            In    that       event           if   the                         of such Hedge                                                  Collateral
 jurisdiction                                                             obligors                                               Agreements                                         Obligations and                     Eligible

 Investments            were            not    then required                     to    make            gross-up                                    that       cover        the      full    amount of any                          such
                                                                                                                                payments

 withholding            taxes               the    amounts                available               to    make          payments               on     or     distributions               to       the     holders           of the

 Notes   would accordingly   be                                     reduced                   There            can        be     no     assurance             that     remaining                 payments                 on        the

 Collateral would be sufficient                                      to       make          timely            payments            of interest            on    and        payment               of principal                  at    the

  stated      maturity of each                     Class of the Notes                         or distributions                   on the Preference Shares



                In    the    event           that       any       withholding                 tax        is   imposed            on                           on     or distributions                   to        the    holders
                                                                                                                                        payments
 of the Securities                 as         result         of any           change          in               applicable              law     treaty         rule or regulation                      or interpretation
                                                                                                       any
 thereof        the     holders              of the Securities                      will      not be entitled                    to    receive                                      amounts
                                                                                                                                                      grossed-up                                        to       compensate
 for    such        withholding               tax



                Upon         the       occurrence                 of          Tax Event                 the    Notes           shall    be redeemable                 at    the applicable                   Redemption
 Price         in    whole              but       not        in
                                                                    part         by      the       Issuer           at     the        written       direction             of     the       applicable               Required

 Redemption                                                   described under                                                    of the SecuritiesOptional
                        Percentage                     as                                          Description                                                                             Redemption

                An      investment                     in     the        Securities               involves               complex          tax      issues           particularly                 in     respect           of        the

 subordinated                Securities                     and                        in                                                       tax      information                             occur
                                                                    delays                    distributing                 important                                                 may                            Investors


                                                                                                                     53
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  should        consult               their       own         tax     advisors              before           investing              in    the       Securities               See         Material               Income                Tax
  Considerations                      herein



                 The Issuer                 Has                                                                                                                                                                       Risks and
                                                        the   Right to Engage                      in   Securities                Lending which                      Involves            Counterparty
                 Other Risks



                 The        Collateral              Obligations               may           be    loaned for                      term of 90              days       or    less to           banks         broker-dealers
  and    other        financial              institutions             other           than insurance companies                                       that      have         or     are                                      entities
                                                                                                                                                                                             guaranteed              by
  that   have         long-term and                       short-term             senior           unsecured                 debt ratings or                     guarantor               with those              ratings          at    the

  time of the loan                     of    at    least      Al and                  not        Al          but       on    credit       watch        with negative                    implications                 and         P-i
  and      not on          credit           watch         for       possible          downgrade                       from        Moodys              and            long-term senior                      unsecured                  debt

  rating       of    at    least                   from        SP           See         Security                 for    the       NotesSecurities Lending                                           The        loans       must        be

  secured        by cash or direct registered                                 debt obligations                          of the United                States      of America                    in   an amount               at    least

  equal to          102% of             the current                 Ask-Side            Market Value                        of the loaned Collateral                             Obligations                determined                 on

       daily     basis            However                 if    the    borrower                  of         loaned Collateral                        Obligation             defaults            on       its    obligation              to

  return       the        loaned Collateral                     Obligation because                               of insolvency                 or     otherwise              the        Issuer       could           experience

  delays and              costs        in    gaining           access       to     the collateral                     posted by the borrower                           and         in    extreme            circumstances

  could        be restricted                from         selling       the     collateral                    If       the    borrower              defaults the Issuer                        could        suffer           loss        to

  the extent          that       the    realized              value of the cash or securities securing                                               the       obligation           of the borrower                       to return

       loaned Collateral                     Obligation less expenses                                       is   less       than the amount required                               to    purchase              the   Collateral

  Obligation              in    the
                                       open         market            This shortfall could be due                                    to among               other         factors            discrepancies                between
  the    mark-to-market                      and        actual       transaction             prices              for the      loaned Collateral                                                                 from        limited
                                                                                                                                                                     Obligations arising

  liquidity         or     availability                 of the        loaned Collateral                           Obligations and                      in      extreme            circumstances                      the    loaned

  Collateral          Obligations being unavailable                                         at   any        price


                 The Rating Agencies                                may downgrade                       any of the Notes                       if     borrower              of          Collateral             Obligation or
  if   applicable              the                      guaranteeing              the       performance                     of the borrower                 has been                                                         of the
                                       entity                                                                                                                                     downgraded                   by one

  Rating Agencies                      such        that       the    Issuer       is    not      in    compliance                   with the Securities                     Lending            Counterparty                  rating

  requirements                        The         Securities           Lending               Counterparties                         may        be     Affiliates             of     the        Initial         Purchaser                or

  Affiliates          of the           Servicer                which                     create             certain          conflicts             of interest               See         Relating                    to    Certain
                                                                            may
  Conflicts           of InterestThe                                       Will Be
                                                              Issuer                             Subject to Various                       Conflicts             of Interest Involving                          the     Servicer
  and    The               Issuer        Will Be              Subject        to    Various              Conflicts             of Interest Involving                         the     Initial         Purchaser below


                      Substantial                  Amount            of Collateral                    Obligations Was                         Acquired           Before the                  Closing           Date        and         the

                 Terms of              the Acquisition                  May           Adversely              Affect          the Issuer



                 In       anticipation                  of the       issuance            of the             Securities              one       or     more       Affiliates              of the           Initial     Purchaser

  the Pre-Closing                       Parties                are    financing              the       acquisition                of Collateral                Obligations by                      the    Issuer
                                                                                                                                                                                                                          pursuant
  to    confirmations                   entered               into    by      or       on        behalf           of    the       Issuer                                   the      Issuers               commitment                    to
                                                                                                                                                   confirming

  purchase            such            Collateral              Obligations                during              an        accumulation                   period          before            the        Closing           Date             the
  Accumulation                        Period                   Pursuant            to            master participation                          agreement               such        Pre-Closing                  Parties           have

  acquired           and         will        acquire            from        the        Issuer          at    the        time of the                 Collateral            Obligation purchase                                    100%
  participation                interest            in    each        such      loan              which           participation                 will    be       repurchased                   by    the        Issuer       on         the

  Closing           Date         at     an        amount            equal        to     the       purchase                  price      minus          any        distributions                 of principal                 on         the

  obligation              received by               the respective                 Pre-Closing                     Party          In     consideration                for     providing                                     for the
                                                                                                                                                                                                         financing

  obligations                  the     Pre-Closing                   Parties          will        be                                                 fee       out    of      interest             and                    fees        and
                                                                                                            paid              financing                                                                        any
  commissions                  paid by the obligors                        under            such                                  or     accrued          on    such                                     from the time of
                                                                                                       obligations                                                          obligations

  purchase           through            the       Closing            Date          In    addition                 in    preparation                for the       closing           one        or    more Pre-Closing
  Parties                   acquire           Collateral              Obligations pursuant                              to    confirmations entered                              into                           behalf       of the
                may                                                                                                                                                                          by or on
  Issuer       confirming               the       Issuers commitment to purchase                                              such Collateral                  Obligations on                      the    Closing Date                  at


  the    purchase              prices        set forth          therein plus                 the       amount of accrued                            interest         thereon            in   accordance              with their

  terms        through           the        Closing            Date          Furthermore                         in    return          for     bearing          the       risk     of loss           on        the   Collateral

  Obligations acquired                            prior to the          Closing Date                        the Servicer                 or   one     or    more          if its   Affiliates              will      be entitled

  to    retain      all    interest           and                fees      and        commissions                      net of any              financing             fees        payable            to    the
                                                         any                                                                                                                                                     Pre-Closing
  Parties           paid by            the        obligors           under        such           obligations                 or     accrued          on     such          obligations                from          the     time of

  purchase           through            the       Closing            Date         Accordingly                      there       can       be no        assurance             that        the    market           value of any

                                                                                                                       54
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 such     Collateral              Obligation                on     the        Closing             Date           will    be       equal         to     or                          than        the       price          paid by          the
                                                                                                                                                              greater

 Issuer and               any     net     losses           as    well     as net           gains            experienced                   in
                                                                                                                                               respect
                                                                                                                                                                 of any             such          Collateral             Obligation

 during        the    period        in    which            they were            warehoused                       will   be for the Issuers account



 Relating            to   Certain             Conflicts            of Interest



                In    General             the       Transaction                Will       Involve            Various           Potential               and Actual                  Conflicts              of Interest


                Various                                   and                                           of interest                                        from
                                   potential                      actual         conflicts                                        may          arise                     the       overall             servicing             advisory
 and     other        activities          of the Servicer                      and        its    Affiliates              and      from          the      conduct              by        the       Initial     Purchaser                 and

 their    respective               Affiliates              of other            transactions                  with           the     Issuer            including               acting              as                                    with
                                                                                                                                                                                                         counterparty

 respect        to    Hedge         Agreements                     Securities                  Lending            Agreements and                           Synthetic                Securities                The           following

 briefly        summarizes                    some         of     these        conflicts                but       is    not       intended               to    be        an    exhaustive                   list        of    all       such

 conflicts




                The        Holders            of the Class II Preference                                 Shares             Control Appointment                               and Removal of Directors of
                the       Issuer



                HFP         and/or            one     or    more of             its       subsidiaries                 are     expected               to      purchase              all       of Class            II    Preference

 Shares         on        the     Closing            Date          Class            II    Preference                Shares               will     have         total          control               with      respect             to     the

 appointment                and    removal                of directors              of the Issuer                 as    long as the aggregate number                                              of Class         II   Preference

 Shares        Outstanding                as    of the relevant                     Voting            Record Date                   is    higher           than the aggregate number                                        of Class

 Preference               Shares        Outstanding                as    of such               date provided                  that        the holders               of the Class                    II   Preference               Shares

 may     not     vote        to    remove            less        than     all       of    the         directors          of the Issuers                       The        Class               Preference                 Shares          will

 have     no    voting           rights       with respect                to the          appointment                   or   removal             of directors                      As of          the     Closing            Date        the

 Class     II    Preference               Shares                                          will constitute                                              of the Preference Shares
                                                           Outstanding                                                            Majority                                                                         Outstanding
 IFP      and/or           its    subsidiaries              that    purchase                   Class        II   Preference                   Shares        will        agree           not to transfer                             of the
                                                                                                                                                                                                                            any
 Class     II   Preference                Shares                          Person                         than Investors                                                                       of Class                   Preference
                                                           to    any                           other                                          Corp            Any        transfer                                  II


 Shares         by        HFP      or     any        of     its    subsidiaries                   to     Investors                Corp          will        require            redesignation                      by        the     Share

 Registrar           of such            Class        II    Preference                Shares            as    Class             Preference                  Shares              If       at               time due              to       such
                                                                                                                                                                                              any
 redesignation                  upon      sale      of any         Class            II    Preference               Shares           by        HEP        or    any       of    its       subsidiaries                  to    Investors

 Corp                 aggregate number
            the                                                 of Class                  Preference               Shares                                               reduced               so that
                                                                                    II                                              Outstanding                    is                                        it    is   equal to or
 lower         than        the     number             of        Class               Preference                   Shares           Outstanding                      Class           II    Preference                     Shares          will

 automatically                   become             non-voting                shares            and         will       no     longer            be       entitled             to     vote           with      respect              to    the

 appointment                and     removal               of directors               of the Issuer                 and            in     such         case       the         directors              will    be     appointed              in

 accordance               with the definition                     of    Board              of Directors



                As long            as    Class        II    Preference Shares                          retain       the      voting            rights         with respect                   to    the     appointment                  and

 removal         of directors                 of the Issuer                   HFP         and/or one                or       more of            its    subsidiaries                  that         have      purchased                   such

 Class     II        Preference               Shares            will     be         able        to     appoint              and        remove                           of    the       directors                 The        directors
                                                                                                                                                           any
 appointed            by HFP             and/or            one     or    more of                its    subsidiaries                may         be      Affiliates              of       HFP         or     the     Servicer              No
 other    Holders               of the Securities                  will       have                                                with respect                      such                                          and        removals
                                                                                          any right to vote                                                   to                   appointments
 of directors             of the Issuer



                The        Holders            of the Class               II    Preference                   Shares           May         Control or Prevent Removal                                         of the Servicer

                Appointment                   of      Replacement                        Servicer and Optional                            Redemption                    or Refinancing                      of the Notes


                The        Class         II   Preference                Shares            to    be     purchased               by      HFP          or     any      of       its    subsidiaries                  at    closing          are

 expected            to constitute                  Majority            of the Preference Shares                                    As such and                     absent              any       express exclusion                       so

 long as        HFP         and/or one              or     more of            its    subsidiaries                 maintain             their position                   in    such Preference                          Shares           HFP
 and     such        subsidiaries              as    applicable will hold the controlling                                                vote         on any        decision                 that      requires              Majority
 of the        Preference               Shares            and     will        hold             blocking            position              with respect                   to               decision            that           requires
                                                                                                                                                                              any
 higher percentage                      of Preference Shares



                Pursuant to the Servicing                                                              such agreement
                                                                        Agreement                                                             may be terminated                          and        the     Servicer              may be
 removed             by     the     Issuer           if    directed            by        the      Trustee              acting            at    the       direction             of            Super          Majority               of the


                                                                                                                  55
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  Controlling                  Class of Notes                             or      by         Majority          of the Preference                        Shares             excluding                Preference              Shares           held

  by     the       Servicer                     any         of         its    Affiliates            or     any       account               for    which                the    Servicer               or     its      Affiliates          have

  discretionary                     voting            authority                   or       with respect              to    Class             Preference                    Shares         held by              Investors          Corp             at

  such     time Holding                              Preference                   Shares          held by the Servicer                                     of    its    Affiliates             or              account           for    which
                                                                                                                                                any                                                  any
  the    Servicer                 or      its    Affiliates                  have                                                                            other           than      with respect                   to    the    Class           II
                                                                                        discretionary               voting           authority
  Preference Shares                              HFP           or      any        of   its      subsidiaries          provided              that           with respect              to    the       voting          authority          of the

  Class       II    Preference                       Shares             owned           by      HFP      or    any    of    its      subsidiaries                    such      vote       shall          not be excluded                     only
  if    such        vote            is     determined                        by            vote     of the          majority              of the           independent                     directors                 determined                    in


  accordance                   with the                   governing                  documents             of       HFP         or    such        subsidiaries                  and       certified             in    writing           to    the

  Preference                   Shares                Paying              Agent by                  any     of       the     independent                          directors             of    HFP of HEP                            or        such

  subsidiaries                    each           such           non-excluded                      Preference              Share             Voting                Preference                Share in each                          case for
  cause upon                        10      days            prior written                    notice           Further           the       Issuers ability to appoint                                      successor servicer                       is


  subject          to among                     other           things              the     written        direction            of         Majority               of the Voting                     Preference              Shares                As
  such        if    the        Class            II    Preference                     Shares        continue          to    constitute                      Majority            of Preference                    Shares            HFP         and
         of        its       subsidiaries                      that       hold          Class       II   Preference              Shares               will                                 control             the                      of the
  any                                                                                                                                                            collectively                                          ability

  Holders           of the                Preference                    Shares             to     both     remove           the       Servicer              for        cause           and          appoint           the    Servicers

                                    Since            HFP                                                                        HFP may have                                              of interest and
  replacement                                                           managed                 by the Servicer                                                         conflict
                                                                                                                                                                                                                            may be           less
                                                                  is




  likely      to     exercise               these              rights than the Holders                           of the Class                     Preference Shares                             In    such        case       should the

  Holders           of the Class                           Preference Shares                        believe         that        cause            exists to             remove          the      Servicer              the    Holders of

  the    Class          II     Preference                   Shares             may prevent               their ability               to    do    so


                   The            Holders                 of         Majority              of the Aggregate                     Outstanding                     Amount             of the Preference                        Shares           may
  give     written                  notice            to       the       Preference                Shares           Paying           Agent             the       Trustee             the        Issuer          and        the    Servicer

                     an                                redemption                      of the Notes                        the       occurrence                  of         Tax Event               or    at              time after the
  directing                       optional                                                                     upon                                                                                            any
  Non-Call               Period                       After             such         Notes        are    retired          the        Holders            of           Majority             or    of       all   of the        Preference
  Shares           depending                         on                 form           of redemption                                                                                                           of the        Preference
                                                               the                                                        may        effect           an     optional              redemption
  Shares             As                  result       of the foregoing                            and    so    long as they hold                             controlling               block          of Preference                 Shares
  the    vote       of       HFP           and/or              its
                                                                       applicable               subsidiaries          will       be required                    to    redeem          the Securities                       As an        entity

  managed                by         the      Servicer                    HEP           may        once        again        have           interests             that        differ     from           those          of the        Class

  Preference Shares                                  Should             the       Holders          of the Class                 Preference                 Shares            seek to redeem the Securities                                    the

  Holders           of the Class                      II   Preference Shares                            may prevent              their ability to                     do so



                   In     addition                   at    any time after the Non-Call                                    Period           upon             proposal               by the Servicer                    the    Holders of

       Majority                of the           Preference                    Shares                     consent           to         redemption                     of any         Class of Notes                                           to
                                                                                                may                                                                                                                    pursuant
  Refinancing                       As           result              of the          foregoing             and       so     long as              they hold                    controlling                 block        of Preference

  Shares           the         vote        of        HEP          and/or             its   applicable            subsidiaries               will        be       required           for     such          Refinancing                   If    the

  Holders           of the Class                           Preference Shares                        seek                                        of Notes                                                                           Holders
                                                                                                                    redemption                                       pursuant to Refinancing                                the

  of the Class                 II    Preference                      Shares          could prevent their ability to achieve                                            this



                    The Issuer Will Be Subject to Various                                                      Conflicts             of Interest Involving the Servicer


                   Various                                             and          actual        conflicts         of interest                            arise        from         the        overall           activities           of the
                                           potential                                                                                            may
  Servicer               its      Affiliates                   and       the        subsidiaries              of I-IFP               The        following               briefly        summarizes                     some        of these

  conflicts             but         is    not intended to be an exhaustive                                          list   of    all       such       conflicts



                   On          the        Closing              Date                    HFP        and/or one          or        more of           its      subsidiaries               are      expected              to    purchase               all


  of    the     Class               II    Preference                     Shares            directly        from       the        Issuer          at          discounted                                                    and      ii        the
                                                                                                                                                                                       purchase                price

  Servicer           or           one       or       more of                  its    Affiliates            other          than       HFP          or       any        of     its    subsidiaries                  are      expected                to

  purchase              certain             of the              Class                  Notes        directly         from        the       Issuer           at          discounted                  purchase           price       and        are

  expected               to       purchase                  certain                 of the        Holding           Preference                  Shares               directly         from           Investors              Corp             at

  discounted                   purchase                price             The           Initial     Purchaser              will       not be                            as    Initial       Purchaser                 with                          to
                                                                                                                                                      acting                                                                     respect

  such     Class             II    Preference                    Shares             or other        Securities            purchased               by       HFP          or    any     of    HFPs               subsidiaries             or the

  Servicer           or        any        of     its       Affiliates                as    applicable               On     the       Closing               Date         the    Servicer              will      be reimbursed                      by
  the    Issuer          for certain                      of   its
                                                                        expenses                incurred       in   connection                  with the organization                               of the Issuer            including
              fees        and            expenses                        In     addition                 broker-dealer                    Affiliate             of the        Servicer                          receive                fee        for
  legal                                                                                                                                                                                             may
  placing          certain               of the Holding                       Preference Shares                      and/or certain                   of the           Securities


                                                                                                                           56
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                  Conflicts                 of interest                 may        arise        for    the       Servicer                  with respect                to        its    obligations                 to     the      Issuer         from

 the    overall           activities             of the Servicer                         its   Affiliates              and           the subsidiaries                   of       HFP          for the          accounts               of    its    other

 clients            For example                        the        Servicer            its      Affiliates              and           their respective                   clients              and     the           subsidiaries              of     HFP
 may        acquire          loans              securities               and        other       obligations                 that        would be                 appropriate                  for inclusion                    in the        Issuers

 portfolio          of Collateral                      Obligations                   as well           as in          loans            securities                and    other               obligations               that       are       senior     to
 or    have       interests             different                 from         or    adverse           to        assets              that       are    pledged              to    secure            the       Notes              Furthermore

 Affiliates            of the Servicer                                                                                                                                 of special-purpose
                                                                may       serve       as       general           partners              or       managers                                                             entities           organized
 to    issue           other           collateralized                        loan        obligations                  CLOs                            secured           primarily                   by        corporate                loans         and

 collateralized                  debt obligations                            CDOs                    secured           by corporate                        debt obligations                     or asset             backed             securities

 The        Servicer           and         its   Affiliates                  may      also       have        ongoing                  relationships                   with render                   services               to    or     engage            in

 transactions                with companies                               whose           loan        obligations                     or     securities               are    pledged                to        secure the Notes                       and

 may now                or       in     the          future            own         as     portfolio               assets              or        otherwise               loan           obligations                   or       equity         or     debt

 securities            issued           by       issuers             of or obligors                   on     Collateral                     Obligations or other                              Collateral                   An         Affiliate        of

 the        Servicer             may            earn            fees         with        respect            to    financial                     advisory               services               rendered                to       companies                  in

 connection                 with workouts                         or     the       subsequent               restructuring                       of such           companies                    Such            fees        and      advice          may
 continue           for           period of time after any                                     such     workout                  or restructure                    The           Issuer        may own                   an     interest           in the

 securities               of      such           companies                          The          Servicer                  will        endeavor                  to     resolve                conflicts                  with         respect            to

 opportunities                   in          manner               that        it    deems            equitable              to        the       extent        possible                 under         the       prevailing                  facts     and

 circumstances



                  The          Servicer                    and         its    Affiliates
                                                                                                       may            possess                   information                 relating                to        issuers           of      Collateral

 Obligations or other                            Collateral                  that           may        constrain                the         Issuers asset acquisition                                    as                                       of the
                                                                                                                                                                                                                   consequence
 Servicers              inability               to    use such               information for asset acquisition                                              purposes               or otherwise                     to    take        actions        that

 would be               in     the         best        of interests                 of the            Issuer          or        ii         is    not       known            to     the        employees                    of the           Servicer

 responsible                for       monitoring the Collateral                                      and     performing                         the    other          obligations                  of the           Servicer               under     the

 Servicing             Agreement                          The Servicer                    its   Affiliates                 and        their respective                   clients              and        the       subsidiaries              of     HFP
 may         at     certain            times be                   simultaneously                      seeking               to        purchase               or       dispose               of assets               for       the       respective

 accounts            of the Issuer any                               similar                         for    which               it    serves          as                          or        advisor            and        for     its      clients     or
                                                                                     entity                                                                 manager
 Affiliates




                  Neither              the       Servicer               nor any           of    its    Affiliates                    has any           affirmative                 obligation                 to    offer                   assets        to
                                                                                                                                                                                                                                 any
 the    Issuer          or to         inform               the       Issuer        of any           assets        before              offering                        assets           to    other        funds or accounts                          that
                                                                                                                                                           any
 the    Servicer               or                    of     its      Affiliates            manage                      service                   Furthermore                       the        Servicer                           be     bound by
                                       any                                                                       or                                                                                                 may
 affirmative                obligations                    in    the     future           whereby                the       Servicer              is    obligated             to        offer       certain           assets           to    funds or

 accounts           that         it
                                      manages                or services              before or without                              the Servicer                offering              those        assets           to    the      Issuer



                  Pursuant                 to     the        terms           of the         Servicing                 Agreement                        the       Servicer              will        not        direct          the      Trustee            to

 acquire          an      obligation                 to     be included               in       the    Collateral                 from the Servicer                          or                of    its       Affiliates            as principal
                                                                                                                                                                                   any
 or    to    sell      an      obligation                  to    the     Servicer              or    any     of       its       Affiliates             as    principal                 unless                  the       Issuer         shall       have

 received            from             the       Servicer               such         information                                                 such
                                                                                                                 relating              to                   acquisition                 or     sale           as    it
                                                                                                                                                                                                                          may         reasonably
 require          and       shall       have           approved                such       acquisition                   which               approval             shall       not        be unreasonably                          withheld            ii
  in   the    judgment                 of the Servicer                        such        transaction                 is   on        terms no less favorable                                  than would be obtained                                 in


 transaction                conducted                 on        an     arms         length           basis       between                   third parties unaffiliated                                with each                  other       and      iii
 such        transaction                   is    permitted by                      the     United           States              Investment                   Advisers                  Act     of 1940                   as     amended              the
 Advisers                 Act                The           Servicing               Agreement                also        provides                 that       the    Servicer                 will    not direct                  the    Trustee            to

 acquire          an obligation                       to    be       included            in the       Collateral                     directly         from        any account                      or portfolio                 for     which        the

 Servicer           serves            as     servicer             or     investment                  adviser           or direct                the    Trustee to                 sell       an obligation                                     to
                                                                                                                                                                                                                              directly               any
 account            or       portfolio                 for        which             the        Servicer               serves            as       servicer              or        investment                    adviser            unless            such

 acquisition                or        sale       is               in    the        judgment             of the              Servicer                  on     terms           no        less        favorable               than            would be
 obtained            in          transaction                    conducted             on        an    arms            length            basis         between               third parties                 unaffiliated                  with each

 other       and       ii permitted                        by the Advisers                      Act


                  The        Servicer                currently               serves       as the           servicer             or portfolio                 manager               for         number of                   special          purpose
 vehicles           that       have          issued             securities            secured           by or referencing                              collateral                                        of assets similar to the
                                                                                                                                                                             consisting

 Collateral             Obligations                        which                    create           conflicts                                                   time and               services                                the Issuer           and
                                                                         may                                               in    allocating                its                                                among


                                                                                                                            57
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  the    Servicers                 other        accounts                  The        Servicer              and      its    Affiliates                 and      the subsidiaries                 of   HFP may own                        equity

  or    other       securities                 of issuers                of or obligors                     on     Collateral                   Obligations or other                        Collateral                and                 have
                                                                                                                                                                                                                                 may
  provided              and        may         provide           in      the    future            advisory                and        other       services               to    issuers      of Collateral                    In    addition
  the    Servicer               and                   Affiliates                          act         as     the     Securities                  Lending                 Counterparty                under                       Securities
                                              its                              may                                                                                                                                    any

  Lending           Agreement                       entered           into     by the Issuer



                   The         Servicer               may        resign         at    any        time and                may         be     removed                 for      cause     by the Issuer                   if    directed           by
  the   Trustee acting                         at    the direction                of           Super         Majority                of the Controlling                        Class of Notes                    or    by         Majority
  of the        Voting              Preference                   Shares               Upon             the    resignation                   or        removal                of the       Servicer              the    Issuer            at    the

  written          direction              of         Majority                 of the Voting                 Preference                 Shares                                                                          servicer
                                                                                                                                                            may appoint                   replacement                                     if


       Super            Majority               of the           Controlling                    Class         of      Notes             excluding                       any     Notes       held       by        the        Servicer             its


  Affiliates            or                account              for       which        the       Servicer            or     its       Affiliates              have        discretionary               voting           authority           other
                               any
  than    HFP           or     any        of    its       subsidiaries                provided               that with respect                          to        the    voting       authority            of Notes              owned          by
  HFP     or       any        of    its   subsidiaries                    such        vote        shall       not be excluded                          only        if    such vote         is   determined                  by         vote of

  the    majority              of the independent                                directors                 determined                      in    accordance                   with the governing                       documents                of

  HFP      or       such           subsidiaries                 and       certified              in    writing            to     the       Preference                   Shares        Paying          Agent by any                       of the

  independent                      directors               of       HFP         of     HFP            or    such         subsidiaries                   each            such      non-excluded                   Note              Voting
  Note             or                   Majority               of     the      Aggregate                   Outstanding                    Amount               of the Voting                Notes          voting            as          single

  Class do               not       object            to    the      replacement                   servicer                 See        The             Servicing               Agreement                   Securities              or          with

  respect          to    Preference Shares                            held by Investors                          Corp           at    such        time Holding                    Preference Shares held by the

  Servicer              its    Affiliates                 or    any       account              for      which            the     Servicer               or        its   Affiliates         have           discretionary                 voting

  authority             other           than        HFP         or       any    of     its     subsidiaries                    will       have         no      voting          rights with respect                     to    any       vote     in

  connection                  with        removal                of the           Servicer                 for     cause                   and        will         be        deemed        not       to     be        outstanding               in

  connection                  with        any         vote          to    remove               the      Servicer               for        cause               and        to    appoint               replacement                  servicer

  provided              that        with respect                    to    the    voting           authority               of Class               II    Preference               Shares       or      Notes        owned            by     HFP
  or               of    its    subsidiaries                     such          vote       shall         be    determined                    by              vote        of the majority                   of the       independent
        any
  directors              determined                       in   accordance                 with the governing                              documents                    of    HFP     or   such       subsidiary of                     HFP      or

  such     subsidiary                          Except            to      the     extent           specified                otherwise                   Securities               or        with       respect           to    Preference

  Shares           held        by         Investors                 Corp         at       such          time Holding                         Preference                      Shares held by                     the         Servicer            its


  Affiliates            or     any        account              for       which        the       Servicer           or      its       Affiliates             have         discretionary            voting          authority              at    the

  time of such                 vote will have                         voting          rights          with respect                   to    all    other           matters         as to     which           the       Holders            of the

  Securities             are entitled                 to       vote       including                         vote     to     direct          an Optional                      Redemption              or      Refinancing                       See
                                                                                                 any
  The      Servicing                    Agreement                        Description                   of the SecuritiesOptional                                             Redemption               and         Description                   of

  the    SecuritiesOptional                                    RedemptionRedemption                                            by Refinancing


                   On         the       Closing                Date              HFP            and/or            one       or       more of                its    subsidiaries             are      expected               to    purchase
  Class       II    Preference                      Shares          having           an      aggregate Face                          Amount             equal to U.S.$75000000                                    at         discounted

  purchase              price           and     ii         the       Servicer             or     its    Affiliates               are       expected                to       purchase       Class                Notes            having         an

  aggregate              principal                   amount              equal         to        U.S.$ 16000000                             at          discounted                   purchase             price            and     Holding
  Preference Shares                            having           an       aggregate Face                      Amount                  equal to U.S.$20000000                                 at        discounted                  purchase
                   In    addition               the        Servicer                    its     Affiliates                            also                              Securities                     the       occurrence               of an
  price                                                                         or                                    may                        acquire                                  upon
  Amendment                     Buy-Out                   or             Maturity              Extension                  or     Notes            upon              the       occurrence             of           Refinancing                   as

  described herein                            The         Servicer             has also           agreed            with one                or    more Multiple Class Holders                                         to    purchase             at


  the    option          of each               such        Multiple Class Holder                                  Securities                or        Holding                Preference Shares                    as the         case may

  be     held or              in    the       case of Notes                    represented                  by     Global             Notes            beneficially                owned         by such              Multiple           Class

  Holder           in     connection                      with           an    Amendment                      Buy-Out                  or        Refinancing                    if   such        Securities                 or     Holding
  Preference              Shares               as     the case                may be             are       not     subject            to    such        Amendment                     Buy-Out              or    Refinancing                   and

  other       Securities                 or         Holding              Preference               Shares            as the            case        may be                 held or beneficially                     owned            by         such

  Multiple              Class Holder                      are       subject          to    such            Amendment                      Buy-Out                 or    Refinancing                  To     the       extent           that    the

  interests             of the Holders                     of the Notes                   differ           from the interests of the Holders                                          of the Preference                      Shares            the

  holding          of Preference Shares                                  by the Servicer                     or    its    Affiliates                          create          additional         conflicts             of interest
                                                                                                                                                  may


                   The         Servicer               will      be       entitled          to     receive           the        Senior Servicing                          Fee       the    Subordinate                  Servicing              Fee

  and     the       Supplemental                          Servicing             Fee         as    further           described                   herein             The        structure         of such           fees       may         cause

  the     Servicer                 to     direct           the        Issuer         to      purchase               more             speculative                   Collateral             Obligations                 than        it    would


                                                                                                                           58
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  otherwise             acquire              in        the     absence                    of     such         performance                         based           compensation                          See           The         Servicing

  Agreement


                 In     addition              to       acting           as     Servicer               to    the       Issuer            Highland                  Capital           will     act       as    manager               for    HFP
  which      will on              the       Closing           Date             purchase               all   of the Class                 II    Preference Shares                            Because              Highland            Capital

  will receive              both             Servicing                  Fee        from         the    Issuer         for                               the Collateral                    and                                      fee    from
                                                                                                                                servicing                                                             management
  HFP       for       managing                HFPs                 assets            which             will       include             the         Class       II    Preference                  Shares            and         therefore

  residual        interest             in the          Collateral                   Highland                Capital             has agreed                   in   connection                with the capital                      raising          of

  Highland            Financial              Trust            to    waive                 portion           of    its   Servicing                  Fees from the Issuer                           for    two                      following
                                                                                                                                                                                                                      years
  the   Closing          Date           so    as       not to reduce                      the    income            realized             by        HFP        or    any of           its    subsidiaries               that     hold Class

  II    Preference               Shares             as       the        case         may            be      in    respect              of such               Class       II    Preference                   Shares             Thereafter

                                                   at    its       discretion              continue                   waive            such portion                  of                                 Fees or
  Highland            Capital           may                                                                      to                                                          its    Servicing                                may elect             to

  receive         such       Servicing                  Fees             in    their                                  Accordingly                       during           the                    two                                            the
                                                                                               entirety                                                                             first               years following
  Closing          Date           an        amount equal                       to          portion            representing                        the     percentage                 ownership                   of the       Preference
  Shares         represented by the Class                                     II    Preference                Shares of                 the        amounts           that          would otherwise                      be     payable to
  the Servicer              as         Servicing               Fee        will           instead           be payable as                                                              to the          Holders          of the Class
                                                                                                                                               special            payment                                                                          II

  Preference             Shares              in    accordance                      with                                      of Payments                                                              Servicer
                                                                                                the     Priority                                                  Thereafter                the                          may        elect          to

  continue         to    waive              such        same            portion           of the amounts                        that     would otherwise                           be payable               to    the    Servicer             as

  Servicing            Fee            or any       lesser           portion               of such           amounts                and        an    amount equal                      to    such       waived            amounts              will

  be    paid as              special              payment                to    the        Holders           of the           Class           II    Preference                 Shares             The        Class       II    Preference
  Shares         and    the           Class         Preference Shares                               will     vote together                     as                        class Receipt                  of Servicing                 Fees in
                                                                                                                                                          single

  the   form of dividends                          on     Class           II       Preference               Shares           may cause                  HFP         to    have        different             incentives             from        the

  Holders         of the Class                     Preference Shares



                 The        Issuer Will Be Subject to Various                                                Conflicts               of Interest Involving the Initial Purchaser


                 The         Initial          Purchaser                   or        its    Affiliates
                                                                                                         may own positions     in and                                                     will        likely          have        placed           or

  underwritten               certain               of    the            Collateral               Obligations or other  obligations                                                    of     the       issuers          of        Collateral

  Obligations                when             they           were             originally               issued           and          may          have        provided                or     be       providing               investment

  banking             asset           management                         commercial                        banking              or     other            services              to    issuers            of    certain              Collateral

  Obligations                    It    is    expected                   that       from         time to            time          the     Servicer                 will       purchase             from           or    sell       Collateral

  Obligations through                             or    to     the        Initial           Purchaser                 or     its     Affiliates               including                     significant                portion           of the
  Collateral           Obligations to be purchased                                             on     or prior          to      the                          Date         and        that       one     or   more         Affiliates               of
                                                                                                                                        Closing
  the    Initial       Purchaser may                          act       as     counterparty                  with respect                     to    all      or      portion               of the                              Securities
                                                                                                                                                                                                        Synthetic
  the     Participating                     Institution                 with                           to                                                                                 under
                                                                                    respect                  Participations                             counterparty                                         Hedge            Agreement
  and/or                                                                                                                                                                               The
                   counterparty                    with respect                     to    securities             lending             transactions                  if    any                      Initial        Purchaser and                 its

  Affiliates                          act    as    placement                                    and/or                                                    in other            transactions                                         issues          of
                       may                                                     agent                             initial        purchaser                                                                   involving
  collateralized              debt obligations                           or        other        investment                 funds with assets similar to those of the Issuer which

  may have             an adverse                 effect       on the availability of collateral                                             for the         Issuer


                 The Trustee                      the    Initial             Purchaser or any                         Hedge            Counterparty                     or    any      of their respective                        Affiliates

  or    employees             may            purchase              the        Securities               either upon                   initial        issuance             or        through         secondary              transfers                or

  exercise         any      Voting             Rights              to    which            such        Securities              are entitled                    The        Initial       Purchaser                 is                as    initial
                                                                                                                                                                                                                      acting

  purchaser             with           respect           to             portion            of       the      Holding                 Preference                   Shares              The         Initial         Purchaser              or    its

  Affiliates           shall          also    provide                                      to       the Servicer                or     its    Affiliates            in       connection               with their purchase                          of
                                                                   financing

  Class     II   Preference                  Shares           which            will        be secured              by           lien     on        such       financed Class                     II   Preference               Shares


                 In     addition              to    the       foregoing                   activities              the      Initial        Purchaser                 or       one      of    its    Affiliates            holds           equity

  securities           of   HFT             issued       in        connection                   HFTs             acquisition                 of the limited                   partnership               interests            in    HFP        and

  acted     as         co-manager                  in    connection                       with the offering                     of such             equity         securities


                 The        Issuers purchase                              of Collateral                     Obligations prior                           to    the    Closing               Date        was financed                     in part

  through         the       sale       of participation                        interests therein                      to     Pre-Closing                     Parties                 portion           of the proceeds                    from
  the     offering          of the            Securities                  will        be        paid to           the      Pre-Closing                    Parties             to                             such
                                                                                                                                                                                    repurchase                           participation

  interests




                                                                                                                           59
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               The     Initial     Purchaser        and     its   Affiliates        may      by       virtue     of the     relationships          described     above      or

  otherwise       at      the date      hereof or    at           time hereafter be              in    possession of information regarding                       certain    of
                                                           any
  the   issuers      of Collateral           Obligations and                their                                         that    is               be     material   in    the
                                                                                    respective         Affiliates                       or   may
  context      of the       Securities        and   that    is    or    may       not be    known           to   the    general        public      None     of the   Initial


  Purchaser or any            of     its   Affiliates     has any       obligation         and    the offering           of the Securities         will    not create      any

  obligation         on     their     part     to   disclose           to
                                                                            any     purchaser          of    the       Securities       any     such     relationship       or

  information          whether         or not confidential




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                                                                   DESCRIPTION                            OF THE SECURITIES

                The        Notes            will       be    issued          pursuant              to    the        Indenture                The         terms        of the           Preference                 Shares            are

  contained           in the         Issuer       Charter          and       in certain            resolutions                                          the     Issuers Board of Directors                                     on
                                                                                                                               adopted            by                                                                                 or

  before       the       Closing            Date           authorizing           and        approving                    the    issuance            of the           Securities               as    reflected                 in    the

  minutes           thereof           the Resolutions                            and          together              with        the     Issuer           Charter           and        the      Preference                 Shares

  Paying        Agency               Agreement                   the     Preference                     Share           Documents                            The     following               summary                   describes

  certain      provisions of the Notes the Preference                                                   Shares           the    Indenture               and    the     Preference Share            Documents
  The     summary does not purport                                  to    be    complete                and        is    subject       to and            qualified            in     its   entirety         by         reference

  to    the                            of the Indenture                   and     the      Preference                    Share     Documents                        Copies of the Indenture                                          be
               provisions                                                                                                                                                                                                may
  obtained          by     prospective                purchasers                                           in writing              to       the    Trustee                 200 Clarendon                     Street Mail
                                                                               upon        request                                                                   at

  Code EUC                 108 Boston                      MA      02116 Attention                       CDO             Services            Group            and     will       be     available            at    the        office

  of Affi       International                Financial             Services           Ltd in such capacity                                          Irish Paying
                                                                                                                                             the                                      Agent             in the           City of
  Dublin             Copies           of the           Preference              Share        Documents         may be obtained upon request in writing                                                                         to    the

  Administrator                 at    P.O Box                 1234           Queensgate                 House George Town Grand Cayman Cayman                                                                           Islands
  Attention            the      DirectorsGrayson                             CLO Ltd

  Status       and Security


                The        Senior Notes                     are    non-recourse                  debt obligations                      of the Co-Issuers                             The      Class                Notes            are

  non-recourse                 debt obligations                   of the Issuer                  Each Note                 within             Class will rank pan                                       with            all    other
                                                                                                                                                                                             passu
  Notes        of that          Class            Under            the    Indenture               the      Issuer           will    grant           to    the        Trustee                first-priority security

  interest        in      the        Collateral             to     secure        the       Issuers                                           under            the    Indenture                the      Notes
                                                                                                                   obligations                                                                                            Hedge
  Agreements               and        the        Servicing              Agreement              collectively                      the        Secured Obligations                                        The         Notes            are

  payable         solely         from amounts                      received           in    respect            of the           Collateral              pledged            by      the       Issuer     to        secure the
  Notes         If     the      amounts received                         in respect           of the           Collateral              net of           certain           expenses             are     insufficient                  to

  make        payments               on    the    Secured              Obligations               in     accordance                with the Priority of Payments                                        no    other            assets

  will    be      available            for       payment                of the        deficiency                and            following            liquidation                 of     all    the      Collateral                   the

  obligations            of the Issuer                or the       Co-Issuer            as the           case       may be             to    pay       the deficiency                 will     be     extinguished


                The Preference                        Shares        are      entitled         to    proceeds               of the Collateral                    only to the extent                      that                       such
                                                                                                                                                                                                                       any
  proceeds           are     remaining                on    any     Payment Date                    after          payment of                all   interest          and        principal           payable             on each
  Class of Notes                on     that       Payment Date                   and       the     satisfaction                 of certain              other       amounts            payable in accordance
  with the Priority of Payments                                     In    addition            the       Holders            of the Class                 II    Preference Shares                     will      be        entitled

  as    and    to    the       extent        set      forth       herein         to    the       Class                  Preference            Share
                                                                                                               II                                             Special           Payments pursuant                             to    the

  priority      provided              in    the Priority               of Payments



                In       furtherance                  of the                            of payments                                         the    Classes of Notes                          and       the        Preference
                                                                   priorities                                             among
  Shares        the        Indenture             contains
                                                                    express subordination                                provisions               pursuant to              which            the     Holders             of each
  Class of Notes                that        is        Junior Class as described below                                                       for the          benefit       of the Holders                   of the Notes
                                                                                                                               agree
  of each       Priority         Class with respect                       to the       Junior Class that                        the    Junior Class shall be subordinate                                          and junior
  to the      Notes        of each          Priority Class to the extent                                and        in the      manner provided                       in the        Indenture



                If       any     Event           of Default               has    not       been          cured            or    waived             and        acceleration                 occurs       under             and        in

  accordance             with the Indenture                        each        Priority          Class of Notes                    shall       be paid in              full     in    cash        or   to    the        extent

  Majority          of each           Class consents                    other     than in cash before any                                   further                             or distribution                        made on
                                                                                                                                                             payment                                              is


  account       of any          Junior Class of Notes                           with respect                  to    the Priority              Class            The Holders of each                          Junior Class
  of Notes          agree        for the          benefit          of the Holders                  of the Notes                  of each                            Class not to cause                       the filing              of
                                                                                                                                                   Priority

       petition      in    bankruptcy                 against          the     Issuer       or the        Co-Issuer                for failure to                  pay     to    them amounts due                             to    the

  Junior Class                 of the Notes                       each       Class of Notes as the case
                                                            or
                                                                                                                                             may be             or     under          the     Indenture                until        the

                                 of the Priority Classes or
  payment           in   full                                                           all    the       Classes            as the          case       may be and               not        before one             year and
  day     or   if    longer           the                                                  period then in effect                             has elapsed since                     the
                                             applicable             preference                                                                                                               payment


                For purposes                     of   this       provision            with respect                  to    each     Class of Notes the Classes of Notes                                                  that        are

  Priority Classes and                      Junior Classes are as follows

                                                                                                               61
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                                         Class                                        Junior            Classes                                                  Priority Classes


                                                                        A-lb A-2                                   Preference
                                         A-la                                                                                                                              None
                                                                                                Shares

                                                                              A-2                           Preference
                                         A-lb                                                                                                                              A-la
                                                                                                Shares

                                          A-2                                               Preference               Shares                                                   A-i


                                                                                          Preference Shares                                                              A-i A-2

                                                                                      Preference              Shares                                                   A-i A-2

                                                                                    Preference Shares                                                             A-i A-2

                               Preference Shares                                                None                                                             A-i A-2



                                            Other            than with             respect        to    the        Class       II    Preference                 Share      Special       Payments
                              which may be                  payable           to    the    Holders            of the          Class           II    Preference            Shares       as     set    forth

                              herein     and     will       have       priority       to the extent                provided              in   the Priority             of Payments


                                            The             Preference              Shares         will       be    entitled             to     certain          residual       cash     flow         after


                              payment          of senior          obligations             in   accordance                with the Priority of Payments



                 If    notwithstanding                 the    provisions             of the Indenture                     any        Holder              of Notes         of any       Junior Class has

  received any                              or       distribution            in                   of    the       Notes                             to    the                         of the Indenture
                             payment                                               respect                                     contrary                           provisions

  then      until      each       Priority     Class with respect                    to    the     Junior Class of Notes                             or   each        Class of Notes as the case

  may be or                 to the    extent          Majority          of the Priority Class or the Class                                          as the       case     may be        consents          other

  than in cash               in   accordance           with the Indenture                       the     payment               or    distribution                shall    be    received         and     held in

  trust    for the benefit              of and         shall forthwith               be paid over and                     delivered                to the Trustee               which         shall    pay and
  deliver        the    same       to the      Holders of the applicable                           Priority         Classes of Notes                       or the       Holders        of     all   Classes of

  Notes       as the         case     may be           If
                                                             any such         payment             or    distribution                is   made        other        than in cash           it    shall    be held

  by    the   Trustee as part             of the Collateral                   and    subject           in   all    respects          to the         Indenture



                 Each         Holder        of Notes              of any           Junior Class agrees                        with        all       Holders            of the       applicable         Priority

  Classes that               the     Holder          of Junior          Class        Notes         shall          not    demand                    accept         or    receive        any      payment          or

  distribution              in respect      of the Notes                in    violation           of the Indenture                        After            Priority        Class has been               paid     in


  full     the    Holders            of Notes         of the related               Junior Class or Classes shall be                                       fully       subrogated        to     the    rights     of

  the     Holders           of the     Priority       Class            Nothing         in these             provisions              shall       affect          the    obligation       of the Issuer            to

                            of any Junior            Class of Notes
  pay Holders


                 Distributions            to    Holders           of the Preference Shares                           are       subordinate                 to    distributions          on     the    Notes      as

  described            in    the     Priority        of Payments              other         than        as     and       to    the        extent          set    forth     herein       with        respect      to

  distribution              of the Class        II    Preference Share Special                          Payments

                 The Servicing Fees                    shall      have       priority          only to the extent                    provided              in    the Priority        of Payments



  Interest          Payments            on the Notes                and Payments                    of Dividends                    on the Preference                         Shares     from          Interest

  Proceeds



                 The         Notes      of each             Class      will        accrue         interest         during           each           Interest           Period    on     their        Aggregate

  Outstanding                Amount       determined                   as    of the       first    day       of the Interest Period                             and    after    giving effect            to    any
                                                            of principal
                            or other                                                                                  day                                                per annum
  redemption                            payment                                     occurring            on       that               at    the      applicable                                 interest       rates

  for     each      such      Class the          Note         Interest             Rate         equal to           LTBOR             for      Eurodollar deposits                    for the applicable

  Interest        Period plus the                spread           as    specified          above            under        Summary                    of TermsPrincipal                         Terms of         the

  Securities                 Interest    accrued             on   the       Notes     shall        be       calculated              on    the       basis       of the actual          number of days

  elapsed in the applicable                      Interest          Period divided                 by    360 Payment                       of interest on                each    Class of Notes                shall




                                                                                                        62
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  be     subordinated                   to     the                               of     interest       on        the       related                              Classes             and            other        amounts            in
                                                          payments                                                                         Priority

  accordance                with the Priority of Payments



                  So long              as     any        Priority        Classes are Outstanding                              with respect                 to               Class of Deferred                          Interest
                                                                                                                                                                 any
  Notes any                 payment                of Deferred              Interest         in   accordance                 with        the                         of Payments                     on
                                                                                                                                                Priority                                                   any        Payment
  Date       shall       not       be       considered                payable               for    the                             of the       Indenture                  and          the        failure       to               the
                                                                                                            purposes                                                                                                   pay
  interest        shall          not be        an Event               of Default            until the           Payment Date                   on     which           the     interest              is    available          to    be

  paid in accordance                          with the Priority                    of Payments                       Deferred            Interest          on    any        Class of Deferred                          Interest

  Notes        shall        be    payable on the                    first    Payment Date                  on     which           funds are available                       to     be    used for that                 purpose
  in    accordance                with the Priority of Payments                                     To      the       extent        lawful          and     enforceable                   interest              on    Deferred
  Interest        with respect                 to               Class of Deferred                   Interest          Notes         shall      accrue                 the     Note        Interest              Rate       for the
                                                     any                                                                                                        at

  Class      and        to       the extent          not paid as current                      interest          on    the                                    after the Interest
                                                                                                                              Payment Date                                                               Period       in    which
  it   accrues          shall thereafter                      be additional             Deferred          Interest            until       paid


                  Interest             shall       cease         to    accrue         on    each      Note            or     in    the                of
                                                                                                                                          case                       partial       repayment on                        the    part

  repaid          from           the    date        of repayment                   or      its    Stated        Maturity             unless                                of principal
                                                                                                                                                      payment                                              is    improperly
  withheld         or unless                there        is   some       other     default         with respect               to    the                              of principal
                                                                                                                                           payments


                  On        each        Payment Date                     the     Issuer      will    make            distributions              to    the       Preference Shares                          Paying           Agent
  for                                   rata        to        the   Holders           of the       Preference                Shares                  dividends              on                Preference
         payment pro                                                                                                                       as                                       the                                 Shares

  pursuant         to       the        Preference              Share        Documents                to     the       extent                                                  to    the       extent            of available
                                                                                                                                    legally          permitted
  Interest        Proceeds              as     described under                    clauses         22        and       24          under        Description                  of the SecuritiesPriority

  of PaymentsInterest Proceeds



                  In    addition              on     each        Payment Date during                        the       first   two        years        following             the         Closing           Date         Holders
  of the Class               II    Preference                 Shares        will      be    entitled                                            on
                                                                                                            to       distributions                          pro        rata        basis from                   the    Class       II

  Preference                Share           Special            Payment            Account                             to     the     Class           II    Preference                   Share            Senior
                                                                                                      equal                                                                                                             Special
                       the       Class             Preference               Share       Subordinated
  Payment                                     II
                                                                                                                      Special        Payment and                      the     Class           II    Preference              Share

  Supplemental                     Special            Payment                if       any         collectively                    the      Class                II     Preference                        Share         Special
  Payments                       After the two-year                      anniversary              of the Closing                   Date        the        Servicer          may          in        its   sole    discretion

  at   any     time waive                     portion           of the Servicing                  Fees      then due               and    payable               in    which         event            an    amount equal
  to    such      waived                             will       be paid by the Issuer                                      Class          Preference                  Share
                                   portion                                                                 as    the                 II                                             Special              Payments             Any
  payments             to    the       Holders           of Class           II   Preference           Shares           of the Class              II       Preference               Share           Special           Payments
  will   have                           to the extent                                   under                                     of the SecuritiesPriority                                   of
                       priority                                       provided                      Description                                                                                      Payments

                  For                               of calculating                 the       Class         II    Preference               Share                                                           the
                             purposes                                                                                                                      Special            Payments                               following
  definitions           shall          apply


                  Class            II   Preference                    Share Percentage                          means         for    any Payment                      Date              fraction            expressed as

       percentage                the    numerator                   of which          is   the    number             of Outstanding                   Class           II   Preference                    Shares        on    such

  Payment          Date           and        the     denominator                  of which           is    the       total        number of Outstanding                                 Preference                   Shares       on
  such Payment Date



                  Class            II    Preference                   Share Portion                  means             for               Payment Date                       100%          minus            the
                                                                                                                              any                                                                                    Servicing
  Fee    Portion for such                      Payment Date


                  Class            II   Preference                    Share Senior                Special         Payment                 means            for                                       Date        an amount
                                                                                                                                                                     any Payment
  equal      to the         product of                        the     Senior Servicing               Fee        for    such        Payment Date                      and            the       Class        II    Preference
  Share      Portion             for    such        Payment Date


                  Class            II   Preference                    Share Subordinated                                           Payment                  means
                                                                                                                 Special                                                    for         any        Payment Date                   an
  amount equal                    to    the        product          of           the       Subordinated               Servicing            Fee        for       such       Payment                  Date        and               the

  Class      II   Preference                 Share        Portion         for    such       Payment Date




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                    Class         II    Preference                Share Supplemental                               Special           Payment                  means           for
                                                                                                                                                                                         any        Payment Date an
  amount equal                   to    the    product            of           the       Supplemental                     Servicing           Fee        for        such      Payment                   Date        and                the

  Class       II    Preference Share                  Portion for such Payment Date



                    Servicing                Fee Portion                 means 100%                      minus                  for
                                                                                                                                           any     Payment               Date           from           the    Closing              Date

  until       and         including             the        Payment            Date           on     or     immediately                     preceding               the       second               anniversary                  of the

  Closing           Date         the     Class        II    Preference                  Share          Percentage              for        such     Payment                Date          and                   for                other
                                                                                                                                                                                                                       any
  Payment            Date              percentage               between                0%     and        100%            selected           by     the    Servicer                in    its       sole       discretion               and

  reported          to the       Trustee        in    writing           on    or       before the related                     Determination                   Date


                   For purposes                of calculating                 interest            on     each       Class of Notes                       the       Issuer         will                                                the
                                                                                                                                                                                              initially            appoint
  Trustee           as     calculation                            the Trustee                  in      that                           and        each         successor                 calculation                                   the
                                                    agent                                                         capacity                                                                                           agent
  Calculation                   Agent

                   As soon             as possible              after    1100 a.m                   London time                      on     the     second           Business                 Day        before           the       first


  day of each              Interest          Period         but in no event                   later      than 1100               a.m London time on                                     the       next Business                  Day
  the Calculation                 Agent         will calculate                    the    Note       Interest            Rate        for    each         Class of Floating                         Rate        Notes           for the

  related          Interest           Period        and         the    amount            of interest                for       the     Interest           Period           payable                 in                      of each
                                                                                                                                                                                                        respect

  $100000                in principal          amount of each                       Class of Floating                         Rate     Notes            in each           case          rounded               to    the       nearest

  cent        with half               cent    being rounded                   upward              on the related                 Payment Date                      and       will       communicate                      the     Note
  Interest         Rate        for     each    Class of Floating                        Rate      Notes           and     the       date     of the next Payment                              Date           to    the    Trustee
  the     Initial         Purchaser             each        paying            agent           Euroclear              Clearstream                    the       Depository                      and        as long               as     the

  Senior Notes                 are listed       on        the    ISE     the       ISE


                   The         Calculation Agent may                          be        removed by                the     Co-Issuers               at    any       time            If   the       Calculation                  Agent
  is   unable or unwilling                      to    act       as    such        or    is   removed by                  the    Co-Issuers               or    if    the      Calculation Agent                               fails    to

  determine              the     Note        Interest       Rate        for       each       Class of Floating Rate                             Notes         or    the      amount of                   interest         payable
  in    respect          of each        Class of Floating Rate                           Notes         for               Interest          Period         the Issuer               will                                                as
                                                                                                              any                                                                             promptly               appoint

       replacement               Calculation Agent                           leading          bank which                  is   engaged             in   transactions                    in    U.S        Dollar deposits

  in    the    international                  U.S     Dollar            market           and        which          does        not        control        and        is    not          controlled                 by     or     under

  common             control           with the Co-Issuers                        or    any    of their respective                         affiliates              The       Calculation                 Agent may not
  resign       its      duties        without             successor having                     been        duly appointed                        The      determination                       of the Note                  Interest

  Rate      with respect                to    each    Class of Floating                        Rate       Notes          for     each        Interest          Period by the Calculation                                       Agent
  shall     in      the    absence            of manifest error be final and                                  binding                        all
                                                                                                                                upon               parties



                   LIBOR                 means        the        offered          rate as determined                          by the Calculation Agent for any                                           Interest          Period
  for three          month Dollar               deposits              that    appears             on    Moneyline               Telerate            Page           3750       as       reported              on    Bloomberg
  Financial              Markets         Commodities News                               or          page          that    replaces              Moneyline                Telerate                 Page            3750        for     the

  purpose           of displaying               comparable                   rates           as    of    1100            a.m         London              time           on    the        second              Business               Day
  before the             first    day of the relevant                    Interest            Period



                   If     on     the    second        Business Day                      before         the    first      day        of any       relevant            Interest            Period               that       rate      does
  not
          appear          on     Moneyline                Telerate           Page        3750          as reported              on    Bloomberg                    Financial             Market               Commodities
  News or                  page        that    replaces              Moneyline               Telerate          Page            3750        for the        purpose             of displaying                        comparable
  rates            the    Calculation                Agent            shall       determine              the        arithmetic              mean          of the             offered               quotations                 of      the

  Reference               Banks         to    prime         banks            in    the       London           interbank               market            for    three          month Dollar                         deposits            in


  Europe            by     reference           to    requests           by    the        Calculation Agent to four                                 major           banks          in the           London              interbank

  market selected                     by the Calculation                     Agent after                 consultation                with the Servicer                        the Reference                              Banks
  for quotations                 as    of approximately                      1100        A.M London                       time on            the        second          Business Day                      before the                first


  day of the Interest Period                               If   at    least       two    of the Reference                      Banks provide                   quotations                    as   requested               LIBOR
  shall     equal such                arithmetic           mean          If   fewer than two Reference                                     Banks provide                     quotations                 LIBOR             shall        be
  the     arithmetic             mean of            the    offered           quotations             that      one        or    more        leading         banks             in    New            York City               selected

  by the Calculation Agent after consultation                                                  with the Servicer                          are    quoting           to    the principal                   London               offices

  of leading              banks        in the       London            interbank              market          on     the       second         Business Day                     before              the    first       day        of the

  relevant          Interest          Period for three                 month Dollar deposits



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                  If     the       Calculation                   Agent          is    unable            to     determine                    rate       in       accordance                 with       any         of the          above

 procedures                  LIBOR              for        the    Interest           Period        shall          be      calculated             on    the           last    day     of the Interest                      Period      and

 shall       be    the       arithmetic               mean         of the rate              of interest for each                           day    during              the    Interest          Period           determined              by
 the    Calculation                 Agent             as    being the rate                  of interest              most         recently         announced                  by the Bank                  at     its     New      York
 office       as       its   base rate prime                       rate reference                  rate or similar rate for Dollar loans                                                 or     if   the       Bank         ceases to

 exist       or   is    not quoting                    base rate prime rate reference                                          rate        or similar rate                  for    Dollar loans                  another major

 money            center          commercial                 bank         in    New          York City                  selected           by    the       Calculation                Agent after                     consultation

 with the Servicer



                  For        the        first    Interest           Period           and         unless           the     Maturity              Extension                   occurs        the    last          Interest          Period

 LIBOR             shall       be       determined                 based        on     the       actual           number            of days           in the          Interest        Period using                    straight-line

  interpolation                of two rates                 calculated               in    accordance                  with the above                  procedure                   except that              instead          of using

 three       month deposits                           one        rate    shall        be    determined                    using the             period           for    which         rates          are       obtainable             next

  shorter         than the Interest                        Period and            the       other       rate       shall        be determined                     using the period for which                                 rates      are

 obtainable                 next        longer             than     the        Interest          Period                 All     calculations                    shall        be     calculated              to       at    least      four

 decimal           places          and      rounded               to four       decimal            places



 Principal                  Payments                  on the             Notes             and     Distributions                         on the            Preference                 Shares               from            Principal
 Proceeds



                  The         principal           of each               Note     of each           Class matures                      at
                                                                                                                                            par and             is   payable          on    the      Payment Date                     that

  is   the    Stated          Maturity                for the       Class of Notes unless                                 the     unpaid         principal                  of the Note becomes payable                                  at


  an    earlier date                by     declaration                  of acceleration                      call      for     redemption                  or        otherwise             The        Preference                 Shares

  are    scheduled                 to     be     redeemed                on     the        Scheduled                Preference              Shares              Redemption                 Date            unless          redeemed
  prior      thereto              The       average              life    of each           Class of Notes                      is   expected           to       be     shorter        than the number                        of years

  from       issuance              until        Stated       Maturity                for    such        Notes               See    Risk FactorsRelating to the SecuritiesThe
  Weighted                   Average              Lives            of      the         Notes            Interests                 May Vary and    Maturity and    Prepayment
  Considerations                                                                                                    and
                                          Notwithstanding                       the        foregoing                           except as set forth                      below            the    payment of                  principal

  of each          Class of Notes                                may only occur                    after          principal           on     each          Class of Notes                   that      is          Priority         Class

  with respect                to    the        Class has been                    paid in          full        and       ii      is    subordinated                    to     the    payment               on     each       Payment
  Date       of the principal                     and        interest          payable           on     the Priority                 Classes           and           other        amounts            in    accordance                 with

  the    Priority            of Payments                         However                     Interest             Proceeds               may      be       used         to    pay        principal             of the Class

  Notes           on        any     Payment                  Date         to     the        extent                                    to     satisfy             the        Class               Coverage                   Tests      and
                                                                                                              necessary
  ii Principal                 Proceeds                may         be    used         to    pay       Deferred                 Interest         and        other        amounts            before              the        payment       of

  principal            of the Notes                    See       Description                 of the SecuritiesPriority                                     of    Payments

                   In    general               principal           payments                will    not be              made on             the   Notes               before the end               of the Replacement

  Period           except           in     the        following            circumstances                                  in   connection                  with        an     Optional           Redemption                       ii     in


  connection                 with          Refinancing                    iii         at   the    option             of the          Servicer              to    effect             Special          Redemption                   of the

  Notes           iv         pursuant            to         redemption                made         in    connection                  with          Tax Event                  or           following                      mandatory

  redemption                 of the Notes                   caused        by          failure to              meet        any of the Coverage                               Tests     or                          Confirmation
                                                                                                                                                                                                Rating
  Failure               After       the         Replacement                    Period            Principal              Proceeds             will          be    applied            on     each           Payment            Date        in

  accordance                 with the Priority                      of Payments                   to    pay         principal              of each              Class of Notes                  except               for Principal

  Proceeds              constituting                  Unscheduled                Principal              Payments and                       Sale Proceeds                      from        Credit          Risk            Obligations
  and    Credit              Improved Obligations which                                                  be       applied           to     purchase              Collateral           Obligations to the extent
                                                                                             may
  described             herein              No        principal           of any           Class of Notes                      will      be payable on                      any    Payment Date                      other       than in

  accordance                 with the Priority of Payments                                       and         to     the     extent         funds are available                        therefor             on     that      Payment
  Date       for that                                                                                        of each           Class of Notes                                be
                               purpose                except that the principal                                                                                  will              payable in              full      at    the    Stated

  Maturity              unless          repaid         before           that



                   On        each        Payment Date                     the Issuer              will        make          distributions              to       the     Preference              Shares            Paying          Agent
  for    payment pro                      rata        to     the        Holders            of the       Preference                   Shares           as    dividends                on    the       Preference                  Shares

  pursuant             to    the        Preference               Share         Documents                     to   the       extent         legally          permitted                to    the       extent           of available

  Principal             Proceeds                 as        described             under           clauses                     1A             14         and            15           under        Description                      of    the

  SecuritiesPriority                            of PaymentsPrincipal Proceeds



                                                                                                                       65
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  Legal        Provisions Applicable                               to    the Payments                    of Dividends                      from         Interest         Proceeds                  and Dividends                         or
  Other Distributions                         from Principal                        Proceeds



                Interest         Proceeds               and                            Proceeds              paid to the Preference Shares                                                                        for
                                                                   Principal                                                                                                   Paying              Agent                 payment
  of dividends             on         or    the     payment                   of the Redemption                       Price           in                    of     the        Preference                 Shares              will        be
                                                                                                                                            respect

  distributable            to        the     Holders               of     the       Preference                Shares           only         if     the     Issuer         is    and           will       remain              solvent

  following          such        distribution                 and        Interest           Proceeds           and        Principal               Proceeds            paid to            the       Preference                 Shares

  Paying        Agent        for       payment               of dividends                   in    respect           of the Preference                       Shares            will       be    distributable                      to    the

  Holders           of the       Preference                      Shares         only        if    the        Issuer       has         sufficient            distributable                     profits         and/or              share

  premium and              if    the        Issuer          is   and      will      remain          solvent           following                 such      distribution                   Payments                 will       be        paid

  by     the   Trustee          to    the       Preference               Shares                                           on     behalf            of the Issuer for payment                                  of dividends
                                                                                        Paying           Agent
  and      other      distributions                    to        the     Holders             of    the        Preference                   Shares                              to        the        Preference                    Share
                                                                                                                                                          pursuant
  Documents             to      the        extent       legally               permitted            on         pro      rata           basis        according             to    the       number              of Preference

  Shares held by each                       Holder           on        the    Record         Date       for     such Payment Date



  Extension           of the           Replacement                        Period the Stated                           Maturity                   and the Scheduled                             Preference                    Shares

  Redemption               Date


                General



                The     Issuer              if    directed              by     the     Servicer               shall       be     entitled            on     each         Extension                 Effective                 Date        to

  extend the Replacement                            Period to the applicable                                 Extended                                           Period End Date                                                   times
                                                                                                                                 Replacement                                                            up to four
  if        in the     case           of an        Extension                  Effective           Date                                 after       the     first      Extension                Effective                Date            the
                                                                                                              occurring
  Issuer       has previously effected                                  Maturity Extension                          for   each         preceding                Extension            Effective                Date           and        ii
  the    Extension           Conditions                 are       satisfied          and     the    Issuer          has given the Trustee written                                    notice             of   its   election              to

  extend the Replacement                            Period no                  later    than 60          days         and        no    earlier          than 90 days                 prior to such                  Extension
  Effective          Date             If    the     Extension                  Conditions               are        satisfied               the     Stated        Maturity                of the          Notes           shall          be

  automatically              extended              to       the        related        Extended               Stated                               Date          the   Scheduled                    Preference                 Shares
                                                                                                                          Maturity

  Redemption            Date           shall       be       automatically                   extended            to    the        related           Extended           Scheduled                    Preference                 Shares

  Redemption            Date           and        the       Weighted                Average             Life        Test         shall       be     automatically                   extended                 to    the       related

  Extended           Weighted               Average               Life        Date      without              any     requirement                   for    approval             or    consent             of any          Holders
  of Securities         or      amendment                    or        supplement            to the          Indenture           or the          Preference Share Documents



                In   the     case          of      Maturity Extension                                        Holder         of    Notes            or    Preference Shares                                              to    sell      all
                                                                                                  any                                                                                              wishing
  or       portion      of      its        Securities             or          with respect              to    any     Preference                   Shares        held by            Investors                Corp            at    such

  time any Holder                     of Holding                  Preference Shares                      wishing            to    sell       all    or      portion            of the Holding                      Preference
  Shares       held by          such         Holder               to    an     Extension                                       Purchaser pursuant to the Extension                                                 Conditions
                                                                                                    Qualifying
  must                     the                                   Extension             Sale       Notice            within        the       Extension              Sale        Notice              Period
           provide                    applicable                                                                                                                                                                  pursuant to
  Extension                  Procedure                      below             such      Securities              or        Holding                Preference              Shares               as    applicable                    as     to

  which        an    Extension               Sale       Notice               has    been         duly given               Extension                      Sale Securities                                Notwithstanding

  anything          to the contrary                 herein              each       Holder         providing an Extension                                 Sale    Notice         shall          be       deemed           to       agree
  that    no   Extension               Sale       Securities                 of any Holder               shall       be purchased                   unless         all   Extension                  Sale Securities                      of

  all    Holders        are          purchased                and        settled        at       the     applicable               Extension                 Purchase            Price              on     the       applicable

  Extension          Effective              Date       and        the other            Extension             Conditions                are       satisfied       as      of such date



                The     Maturity                  Extension                   shall    be        effective            only        if       the     following             conditions                  the          Extension
  Conditions               are        satisfied




                                 the        purchase              of    all    Extension           Sale Securities                     has been            settled       by the designated Extension

                                 Qualifying                  Purchasers                at    the       applicable              Extension                 Purchase             Price           as    of the          applicable

                                 Extension                  Effective           Date


                ii               all       such     purchases                  of Extension                  Sale     Securities                individually             and        in    the      aggregate comply
                                 with            the        applicable                 transfer          restrictions                      in     the      Indenture                 the           Preference                     Share

                                 Documents                        and         the      Holding               Preference                    Share          Documents                  and            described                 herein

                                 immediately                      after       such      purchase              and     the        legends on               such        Extension                Sale Securities                         and

                                                                                                                66
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                                   all       applicable               law        rules           and       regulations               including                    without         limitation               rules         regulations

                                   and         procedures                     of any            applicable               securities                 exchange                 self-regulatory                 organization                  or

                                   clearing              agency


                iii                          the       Rating Condition                          has been              satisfied              with respect              to      SP       so        long as any Notes                   are

                                   then rated                  by     SP             and               Rating           Condition                  has been             satisfied         with respect               to     Moodys
                                   so        long as any Notes                            are     then rated by                   Moodys

                iv                 the Issuer                has not effected                        more than               three        prior          Extensions               and



                                   such           extension               is   not effected                 for the          primary purpose                          of decreasing losses                     or    recognizing

                                   gains resulting                       from         market value changes



                In      the       case         of            Maturity                Extension               each            Noteholder                       other        than     Holders             of Extension                  Sale

 Securities                shall       be     entitled              to        receive           an     amount                equal        to       the                              Extension              Bonus
                                                                                                                                                              applicable                                                   Payment
 Holders        of Preference                      Shares           shall not              be entitled                                                                          Bonus Payment
                                                                                                                  to receive                  any Extension


                The         Extension                  Bonus Payment                            shall      be     payable                to    any        applicable              qualifying            beneficial              owners
 who      have         provided               the       Trustee               with         an    Extension                   Bonus            Eligibility             Certification                on    the       first    Payment
 Date     from         and        including the Extension                                       Effective             Date         on     which               funds are available                    for     such        purpose           in

 accordance                with the Priority of Payments                                          but in any                 event            no    later       than the earlier of the Stated                              Maturity
 and    the date            of redemption                      of the Notes                      Extension              Bonus Payments which                                    are     not available               to    be paid on

      Payment Date                     in    accordance                  with the Priority of Payments on                                                       Payment Date shall not be considered
 due      and        payable                 hereunder                   The         failure to
                                                                                                           pay        any         such        Extension            Bonus Payment on such date shall
 not    be an Event                of Default                   unless          the Issuer             shall          fail    to               in   full        such Extension                Bonus Payment on                         the
                                                                                                                                    pay
 earlier      of the           Stated             Maturity                 and        the       date       of redemption                           in               of the        relevant          Securities
                                                                                                                                                         full                                                                   Unpaid
 Extension            Bonus Payments                            shall         not accrue               interest              Such        amounts                shall      be paid        in the         case of the Notes
 to    the    accounts              designated                  in the           applicable                Extension                 Bonus               Eligibility            Certification                or    to     the    extent

 otherwise            required by                      the     rules          of any                                     securities                exchange                or                                       in          manner
                                                                                                applicable                                                                      clearing           agency
 determined                by the Issuer


                Extension                   Procedure



                Not         later        than three                 Business               Days following                         receipt           by        the     Trustee          of the notice                given       by     the

 Issuer      of      its    election              to    extend the Replacement                                    Period            the Extension                           Notice             the      Trustee            shall     mail

 the    Extension             Notice              to     all    Holders              of Notes the Preference                                       Shares         Paying          Agent for forwarding                           to    the

 Holders        of the Preference                            Shares and                                                Preference                  Shares
                                                                                           the    Holding                                                           Paying Agent for forwarding                                    to the

 Holders           of the          Holding                Preference                  Shares and                      each         Rating               Agency          so                as                 rated         Notes       are
                                                                                                                                                                                 long              any
 Outstanding                   in      the        form          set      out         in    the       Indenture                and        shall                          the      Rating            Confirmation                 for    the
                                                                                                                                                        request

 Maturity Extension                          from         each        Rating              Agency            if    applicable



                Any          Holder            of Securities                    may         deliver          an       irrevocable                  notice         an       Extension                Sale      Notice             to    the

 Issuer      and       the     Trustee                 within         30       days        after the         Trustee               has mailed                   the   Extension            Notice            the Extension
 Sale Notice                Period                 of     its    intention                to    sell   all       or          portion           of       its   Securities          or with            respect         to    Investors

 Corp         in     its    capacity              as         Holder             of    the       Class            Preference                   Shares            all   or        portion        of Holding                Preference

 Shares         as      the    case           may be                to     an    Extension                 Qualifying                   Purchaser                in    the      case     of         Maturity             Extension

 Any      Extension                 Sale Notice                     received                by       the     Trustee               after       the        Extension               Sale     Notice            Period         shall          be

 disregarded                and        deemed             not       to     have       been           given            No      Holder               of Securities                that    has not          delivered           such          an

 Extension             Sale        Notice              within            the     Extension                 Sale       Notice             Period           shall       be     entitled         to    sell     its    Securities             or

 Holding           Preference                 Shares             as       applicable                 to    an     Extension                   Qualifying               Purchaser              in    connection              with the

 Maturity Extension



                If    any      Holder              of Class              II    Preference Shares                        delivers              an Extension                   Sale      Notice        notifying             the Issuer

 and    the     Trustee of                  its   intention              to    sell       all   or        portion            of    its   Class           II   Preference Shares                              such       Holder        will

 sell   such       Class          II    Preference Shares                            to    Investors             Corp             and     such Preference Shares                              will      be    redesignated                 as

 Class          Preference                    Shares             ii           Investors              Corp             will        issue        additional               Holding           Preference                 Shares           in


                                                                                                                        67
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  number             equal           to    the      aggregate               number               of and           at          price        equal           to     the      price          of     such         redesignated
  Preference                  Shares         purchased                by     it    and        iii         the     Extension               Qualifying                  Purchaser                will      purchase              such
  additional              Holding           Preference             Shares              in   lieu        of such       redesignated Preference Shares


                    On         the        applicable             Extension                  Determination                     Date            the     Issuer          or        its       agent          shall        confirm

        whether            or    not Extension                  Qualifying Purchasers for                                   all   Extension               Sale      Securities             have       been      designated
  to   purchase               such        Extension          Sale        Securities                in   compliance                with    all    transfer           restrictions            in the        Indenture             the

  Preference                  Share        Documents                  and        the        Holding            Preference               Share         Documents                 and        the     legends            on       such

  Extension               Sale       Securities           and      all     applicable               laws        rules       and        regulations              including             without            limitation            any
  rules        regulations                 and      procedures                   of any            securities              exchange             self-regulatory                   organization                  or    clearing

  agency             ii         whether           the     requirements                      of clause           iii of         the      Extension               Conditions                are     satisfied          as    of the

  applicable              Extension              Determination                    Date        and        iii whether               all    other       Extension               Conditions                can     be   satisfied

  as    of the applicable                    Extension             Effective                Date


                    On        each        Extension             Effective              Date         the    Maturity               Extension               shall     automatically                 become             effective

  under        the        terms           of the        Indenture                 and        the        Preference            Share           Documents                                          that     all    Extension
                                                                                                                                                                           provided
  Conditions                  set forth         above        are      satisfied             as     certified          to the Trustee                 by         certificate          of    an Authorized                  Officer

  of the       Issuer            No        later    than two Business Days after each                                              Extension              Effective           Date          the    Trustee based                on
       determination                  made by             the    Issuer           at    the
                                                                                                 expense          of the Co-Issuers                        shall      mail            notice       to    all    Holders          of

  Notes            the     Preference               Shares         Paying              Agent             for forwarding                   to     the       Holders            of Preference                   Shares            the

  Servicer           the        Initial      Purchaser                each        Rating           Agency             so     long as any                  rated     Notes         are      Outstanding                and       the

  ISE        if and           for     so    long        as               Class of Senior Notes                               is    listed       thereon                                         whether          or not         the
                                                                any                                                                                                 confirming

  Maturity Extension                         became             effective               If    the       Maturity           Extension             became             effective              the    Issuer        shall      make

  any required                 notifications              thereof           to    the       Depositary            for              Securities              subject         to the         Maturity Extension
                                                                                                                           any


                    None of           the       Initial      Purchaser                 the    Servicer           or    any        of their respective                   Affiliates              shall    have        any       duty
  to act       as   an Extension                  Qualifying Purchaser



  Optional            Redemption


                    Notes                 The      applicable                Required                   Redemption                 Percentage                   may        give       written            notice           to    the

  Preference              Shares           Paying Agent                    the     Trustee               the    Issuer       and       the Servicer               directing           an    optional            redemption
  of the Notes                 with                        to    the     Notes an Optional                                 Redemption                                 the     occurrence                of       Tax Event
                                            respect                                                                                                        upon
  or    at            time after the                    Non-Call             Period                Such         notice        must        be                    not     later     than 45                        before         the
              any                                                                                                                               given                                                 days

  Payment            Date            on    which          the    redemption                   is    to    be    made              In    the     event        that       the     Preference               Shares           Paying

  Agent            the    Trustee           and        the   Issuer          receive           notice          directing           an     optional           redemption               from                    one     or   more
                                                                                                                                                                                                   any
  Holders of Preference                           Shares          holding              less   than             Majority           of the Preference Shares                                the    Preference               Shares

  Paying Agent shall                         within              Business Days of receipt                                  of such        notice           notify       the     Holders of the Preference

  Shares           and        the    Holding            Preference                Shares           Paying         Agent for forwarding                                to   the       Holders            of the       Holding
  Preference Shares                               of the receipt                  of such           notice       and        ii     that       any     Holder          of Preference                   Shares         may join
  in   directing              an Optional              Redemption                 by notifying                  the    Issuer the Trustee and                           the     Preference Shares                         Paying
  Agent         in    writing              within            Business              Days            after       such        Holders             receipt           of the        Preference                Shares           Paying

  Agents notice


                    Upon         receipt         of the written                  notice          directing            an    Optional            Redemption                 of the Notes the Co-Issuers

  with        respect           to    the    Senior Notes                   and         the      Issuer         with                       to       the    Class              Notes         are                                 the
                                                                                                                            respect                                                                   required            by
  Indenture              to    redeem            the    Notes         in whole                but not           in     part       from        amounts             available           therefor           in     accordance
  with        Optional                     Redemption                  Procedures described                                 below                                                                         of the
                                                                                                                                               Any         Optional           Redemption                                   Notes
  shall       be     made            at    the    applicable                Redemption                    Price            Upon          an     Optional             Redemption                   of the        Notes           the

  Replacement                   Period           will     terminate               in    accordance                with the              definition              of that       term          The         Issuer       shall       at

  least       30 days           before the Redemption                             Date        unless            the    Trustee shall agree to                              shorter         notice        period            notify

  the    Trustee              the     Preference Shares                      Paying Agent for forwarding                                        to    the       Holders         of    Preference              Shares            the

  Holding            Preference                 Shares          Paying           Agent           for forwarding                    to    the     Holders             of Holding                 Preference            Shares
  and        each     Rating              Agency          of the         Redemption                      Date        the                             Record           Date           the                        amount of
                                                                                                                             applicable                                                     principal

  Notes        to    be       redeemed on               the      Redemption                   Date        and    the applicable                 Redemption                    Prices



                                                                                                                  68
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               Preference                      Shares              On         any        Payment                Date            on     or       after      payment            in     full        of       the        Notes         all


 administrative                     and     other          fees    without               regard to                        payment               limitations             payable           under           the       Priority       of
                                                                                                                any

 Payments                including               the        Senior           Servicing           Fee           and        the        Subordinated                Servicing              Fee          and        all    amounts

 owing under                  the     Indenture             and     any       Hedge           Agreement                   to    any Hedge               Counterparty                have        been       discharged



                                                       at   the    direction             of         Majority              of the Preference                        Shares      the        Issuer          shall       cause       the

               Trustee               to     make           payments           in    redemption                  of    all       of the Preference                     Shares         in   an     aggregate amount

               equal to               all      of the proceeds                     from        the    sale       or       other        disposition               of   all    of the remaining                         Collateral

                   less       any     fees           and    expenses               owed        by     the        Issuer          including                 the     Redemption                 Price        of any            Notes

               being simultaneously                                redeemed                   the    aggregate amount                           to    be    distributed            to     the    Preference                 Shares

               Paying               Agent            for distribution               to     the   Holders              of the Preference Shares pro rata                                         in   accordance                  with

               their respective                       holdings               or




                                     ii                at    the    unanimous                  direction              of the Holders                       of the       Preference               Shares              the     Issuer

                   shall       cause           the    Trustee to make                    payments                in   redemption                   of   all   or        directed          portion              representing
                   less       than all of the Preference                                 Shares           to    the       Preference                 Shares        Paying       Agent            for distribution                   to

                          Holders              of the Preference Shares based
               the
                                                                                                                 upon such direction


 with        respect           to    the       Preference Shares                     and       each       of clauses                      and     ii above              an Optional                      Redemption

               Upon                  distribution             pursuant to clause                                above            the       Servicer         will      subject           to    the     standard of care

 specified           in the          Servicing              Agreement                 on       behalf of the Issuer                         and         subject        to clause          ii above direct                         the

 sale     of       all                                Collateral                                                                                                                        clause ii above
                              remaining                                      Obligations                   Upon                  distribution                 pursuant         to                                                 the

 Servicer           will       effect          the     sale    of Collateral                  Obligations                  in    accordance                with the unanimous                            direction           of the

 Holders           of the Preference                        Shares



               Upon             receipt          of the written                   notice       directing             an     Optional              Redemption                of the Preference Shares                              the

 Issuer       is   required               by the Preference Shares                             Paying            Agency Agreement                             to   redeem          the       Preference               Shares        in

 the    applicable                  manner            described              above             Any         Optional                  Redemption               of the         Preference                  Shares         shall      be

 made        at the applicable                       Redemption                   Price



                   Optional               Redemption               Procedures                       The        Trustee               will    give       notice         of      redemption                      by     first-class

 mail postage                   prepaid               mailed        not       later        than       10       Business               Days and              not earlier than                   30     days          before        the

 applicable              Redemption                   Date         to             each        Holder           of Notes              to    be     redeemed             at    the     Holders              address in the

 Indenture           Register               or   otherwise              in    accordance              with the rules and                           procedures               of the Depository                         Euroclear

 and     Clearstream                      as    applicable              to    the    Preference                 Shares           Paying           Agent for forwarding                              to    the       Holders        of
 Preference               Shares and                  to    the    Holding            Preference                Shares                                           for forwarding                     to    the       Holders        of
                                                                                                                                 Paying            Agent

 Holding           Preference                  Shares and                ii        in the        case      of an           Optional             Redemption                  of the       Notes            to    each        Rating

 Agency                  In    addition              for so                                Senior Notes                                           on the ISE           and
                                                                  long as any                                              are       listed                                    so       long as the rules of the
 exchange                so     require              notice        of    an        Optional           Redemption                       of       Senior        Notes          shall        also       be        given        to    the

 Company             Announcements                           Office of the               ISE


                   Notice           of redemption                  having            been        given          as    provided               above          the       Notes     to      be     redeemed                shall       on
 the    Redemption                    Date           become         payable              at    the    Redemption                      Price       therein          specified            and     from and               after      the

 Redemption                    Date        unless           the    Issuer           shall      default           in       the    payment              of the          Redemption                 Price         and      accrued

 interest          the        Notes         shall      cease to bear interest on the Redemption                                                   Date


                                final
                   Upon                        payment on                    Note     to      be so redeemed                         the    Holder          shall present               and     surrender              the    Note

 at    the                                           in the       notice          of redemption                  to       receive           the                                                       Price          unless       the
              place           specified                                                                                                              applicable         Redemption
 Holder        provides               an undertaking                    to    surrender             the    Note           thereafter



                   The Notes                may       not     be optionally                   redeemed               unless          either       of the following                 conditions              is       satisfied




                                                       at    least       10 Business                 Days before                      the    Redemption                 Date         the      Servicer               shall       have

                   furnished to the Trustee                              evidence              in form               reasonably                 satisfactory           to    the     Trustee              that        the    Issuer

                   has entered into                         binding                                   with                 financial            or    other        institution or                              whose short
                                                                              agreements                                                                                                       entity


                                                                                                                 69
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            term         unsecured               debt obligations                      other         than obligations                        whose         rating           is    based           on    the       credit        of

            person            other        than the             institution              have             credit       rating           of    at    least       A-i               from        SP             and     of    P-i
            and          not    on     credit          watch           for    possible              downgrade                 from           Moodys               or        to               other           institution             or
                                                                                                                                                                                   any

            entity        if   the    Rating Condition                        with respect                 to   Moodys                 is    satisfied          with respect                  to    the other             entity
            to   sell     to    the financial                   or other        institutions               not       later    than the Business Day                                    before the Redemption

            Date         in    immediately                  available             funds         all       or    part    of the              Collateral          directly                or    by       participation                 or

            other         arrangement                  at             Purchase          Price        at    least       equal           to    an amount                sufficient              together              with        any
            Cash and             other          Eligible              Investments              not subject              to   the        agreements                and       maturing               on        or    before           the


           Redemption                  Date           and        any       payments            to    be received                 with respect               to        the    Hedge            Agreements                   on        or

            before the Redemption                                Date         to    pay      all     administrative                    and     other       fees        and        expenses               payable           under

            the      Priority              of    Payments                   without            regard           to     any        payment                limitations                   including                  the     Senior

            Servicing            Fee        and        the       Subordinated                  Servicing               Fee            all    amounts            owing under                       the    Indenture                  all


            amounts             owing under                      the       Hedge         Agreements                    to    the        Hedge         Counterparties                         and        to    redeem                the

            Notes         on    the        Redemption                  Date       at    the applicable                 Redemption                   Prices            or




                               ii                before              entering           into
                                                                                                    any        binding           agreement                 to        sell        all    or             portion            of        the

            Collateral           and        selling             or    terminating                     Hedge            Agreement                    the    Servicer               shall       have       certified             that
                                                                                               any
            in     its
                          commercially                     reasonable judgment                             the       settlement               dates        of the           sales        will       be       scheduled               to

            occur         on    or    before the Business Day                                  before           the    Redemption                   Date         and        that       the    expected              proceeds
            from          the    sales          are        to    be        delivered           to    the        Trustee           no        later     than           the     Business                  Day        before            the

            Redemption                 Date            in       immediately              available              funds            in    an     amount calculated                              as    applicable              in the

            manner provided                           below            sufficient            together                with     any           Cash and             other           Eligible          Investments                      not

            subject           to the       agreements                  and    maturing              on     or       before the Redemption                             Date         and       any payments                      to   be

            received            with        respect              to    the    Hedge            Agreements                   on    or        before        the        Redemption                    Date            to     pay       all


            administrative                  and        other          fees    and                              payable under                  the Priority                 of Payments including                                    the
                                                                                        expenses
            Senior             Servicing              Fee            and     the        Subordinated                   Servicing               Fee              all     amounts                   owing            under            the

            Indenture                all    amounts                  owing under               the    Hedge            Agreements                   to     the        Hedge            Counterparties                     and        to

            redeem             the    Notes           on    the       Redemption                Date           at the       applicable              Redemption                    Prices               For purposes                  of

            this     paragraph                  the    amount              shall       be calculated                 with respect              to the       classes              of Collateral                listed in the

            table         below by               multiplying                  the       expected               proceeds               of sale         of the           Collateral                  by    the        indicated


            percentage               in    the table             below



                                                                                                                                         Number of Business Days Between
                                                                                                                                        Certification                 to the           Trustee and                 Sale


                                                                                                                        Same Day                                to                            to                          to    15

           Cash          or other          Eligible             Investments                                                  100%                          100%                          100%                           100%
           Loans other than                            below                                                                 100%                          93%                           92%                            88%
           High-Yield                 Bonds            other               than          below             and               100%                          89%                           85%                            75%
           Structured                Finance           Obligations in                        each         case
           other         than         below
           High-Yield                 Bonds            other               than          below             and               100%                          75%                           65%                            55%
           Structured                Finance               Obligations                  in   each         case

           with            Moodys                Rating              of    B3          and     on     credit

           watch              with         negative              implications                  or     below


           Synthetic             Securities                                                                                  100%                          65%                           55%                            35%


            Any          certification            delivered                 by the Servicer                    shall    include                     the prices              of and            expected              proceeds

  from    the      sale        of any           Collateral                 Obligations               Eligible           Investments                   or    Hedge                 Agreements                      and               all


  calculations        required             by    the       Indenture




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               Any        notice           of redemption                                  be    withdrawn
                                                                           may                                           by the Issuer               up    to      the       fourth          Business              Day before
  the   scheduled              Redemption                   Date                                                               Preference              Shares Paying
                                                                     by        written           notice       to     the                                                                    Agent for forwarding
 to    the    Holders          of Preference Shares                                 the                       Preference                  Shares
                                                                                               Holding                                                   Paying          Agent for forwarding                                  to    the

 Holders           of Holding              Preference Shares                             the    Trustee            and    the       Servicer         only if


                                                     in the        case of an Optional                         Redemption                   of Notes the Servicer                              does          not deliver             the

                sale      agreement                   or       certifications                  required            under            the    Indenture               as        the        case       may         be        in     form

                satisfactory               to the         Trustee



                                    ii               in     the     case            of    an     Optional             Redemption                    in    whole              of either             the        Notes           or     the

               Preference                 Shares           as    described                above        in    Optional RedemptionNotes                                                        and      clause                  of the
               first      paragraph                   under         Optional                       RedemptionPreference                                      Shares                    the     Issuer          receives              the

               written             direction              of the       Preference                  Shares            or        in    the     case        of an          Optional                  Redemption                  of the

               Notes               the    Affected              Class          to    withdraw               the      notice         of redemption                  delivered                       the                                of
                                                                                                                                                                                             by              percentage
               the       Preference                  Shares         or         in    the        case     of an           Optional               Redemption                   of the           Notes           the        Affected

               Class requesting                           redemption                 under         Optional RedemptionNotes                                                            or    clause                of the           first


               paragraph under                        Optional RedemptionPreference                                                         Shares            as    applicable or


                                   iii               in     the     case        of an            Optional             Redemption                   of Preference                       Shares         as      described                in

               clause              ii     of the           first    paragraph                  under         Optional                RedemptionPreference                                         Shares            the       Issuer

               receives             the        unanimous             written              direction          of the Holders                     of the Preference                       Shares        to      withdraw               the

               notice              of redemption                   and         the        Issuer                                          for    the     benefit             of the                                Holders             to
                                                                                                       hereby            agrees                                                              directing

               withdraw                  the    applicable           notice              of redemption                   if   it    receives        the written                   direction         refened              to    in the

               preceding                 clause       ii or         this       clause           iii

               Notice              of any       withdrawal                shall          be sent         not later than the third Business Day                                               before          the    scheduled

 Redemption               Date            assuming                 that        the        Trustee        has         received              timely written                     notice           from          the        Issuer        as

 provided           above                by     the       Trustee          to       each         Holder            of Notes               scheduled           to    be            redeemed              at    the        Holders
 address in the Indenture                            Register         by overnight                  courier           guaranteeing                  next day            delivery              or to           the extent             the

 address contained                        in    the       Indenture                                 is   not
                                                                                Register                             sufficient            for     that      purpose                   by    first-class            mail             the

 Preference              Shares           Paying           Agent for forwarding                                      each          Holder        of Preference
                                                                                                              to                                                                   Shares and                  the       Holding
 Preference              Shares           Paying           Agent for forwarding                               to     the       Holders           of Holding                  Preference                 Shares                 if    the

 Issuer       so    withdraws                  any    notice        of redemption                       or    is    otherwise              unable to complete                                                                 of the
                                                                                                                                                                                         any       redemption
 Notes        the    Sale          Proceeds           received from                       the    sale    of any           Collateral             Obligations sold                       in    accordance                 with the
 Indenture           may            during            the       Replacement                     Period         and             in    respect         of      Sale        Proceeds                  from        Credit              Risk

 Obligations and                    Credit        Improved                Obligations                  after       the     Replacement                   Period              at    the       Servicers              discretion

 be used to purchase                       replacement               Collateral                 Obligations in accordance                                with the Eligibility Criteria



               Notice              of redemption                  shall        be given by the Co-Issuers                                  or upon an              Issuer              Order by              the    Trustee            in

 the    name and              at   the
                                           expense             of the Co-Issuers                        Failure          to give           notice      of redemption                         or   any        defect       therein
 to    any Holder              of any Note                 selected        for       redemption                the       Preference Shares                      Paying Agent for forwarding                                           to

 each     Holder          of Preference Shares or the Holding                                                 Preference                  Shares       Paying           Agent for forwarding                                  to     the

 Holders           of Holding                 Preference             Shares               shall     not       impair or affect                     the    validity                of the                                      of any
                                                                                                                                                                                                  redemption
 other       Securities




                                              by Refinancing                                                             Class of the Notes
               Redemption                                                            In    addition           any                                               may be redeemed                               in    whole but
 not    in    part       on        any     Payment              Date       following               the       fifth                                 of the                               date       from
                                                                                                                         anniversary                            Closing                                        Refinancing
 Proceeds           if   the        Servicer              on     behalf         of the           Issuer proposes                      to     the     Holders             of the              Preference                 Shares        in

 writing       by        notice           to    the       Preference                Shares         Paying           Agent for forwarding                             to       the        Holders             of Preference

 Shares and               to       the    Holding              Preference                 Shares        Paying            Agent for forwarding                                to       the    Holders              of Holding
 Preference              Shares                with                       to    the       Trustee            and      the                                                                    30
                                                            copy                                                               Rating           Agencies                at        least            days        prior          to     the

 Payment            Date           for        such        redemption                 such          date            the     Refinancing                    Date                    to    redeem           such           Notes          in

 accordance           with         the     Indenture               which            notice       shall                             other                                          the                                   Date        and
                                                                                                              among                         things         specify                          Refinancing
 the    Class of Notes                    to    be Refinanced                        Such redemption                          will    be    effected                                                                      loan or
                                                                                                                                                              by the Issuer                       obtaining
 an     issuance of                 replacement                  class         of notes          Refinancing                         Notes             the    terms of which loan                                  or    issuance
 will    be    negotiated                 by     the       Servicer             on        behalf        of the           Issuer from                one      or     more               financial             institutions             or

                                                                                                               71
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  purchasers              which may                    include           the        Servicer            or    its    Affiliates           selected        by    the        Servicer                  refinancing

  provided              pursuant          to    such         loan or            issuance                    Refinancing                    and     provided           that                  such     proposal           is


  approved              by         Majority           of the Preference                      Shares            voting        as         single     class       at    least        15        days    prior    to       the


  Refinancing                Date        and    ii      the        Servicer           completes               such     Refinancing              and     causes       the    Refinancing                   Proceeds

  to    be    deposited with the Trustee in immediately                                                       available       funds no            later    than the close                    of the Business

  Day immediately                     preceding              the     Refinancing                  Date


                   The       Issuer       will    obtain                Refinancing                    only    if   the    Servicer        determines            and       certifies to              the   Trustee

  that



                                      Rating Agency                      Confirmation                   has been           obtained from              SP       for    such Refinancing



                   ii              the    proceeds                from        the    Refinancing               will    be    at       least sufficient         to            the       Refinancing               Price
                                                                                                                                                                     pay

             any Administrative
  plus                                                Expenses               of the Issuer              related       to   the    Refinancing



                   iii              the     interest          rate      payable             in    respect           of the    obligations             providing            the    Refinancing                is       less

  than the interest rate payable on                                     the    Notes        being refinanced



                   iv               the    principal              amount of any                       obligations          providing the Refinancing                         is    no        greater       than the

  principal         amount of              the    Notes            being redeemed with the proceeds                                      of such        obligations



                                    the     stated          maturity            of the           obligations           providing           the     Refinancing               is    no        earlier       than        the

  Stated       Maturity of the Notes                             being refinanced



                   vi               the    Refinancing                  Proceeds             will       be    used     to    the       extent     necessary           to    redeem             the    applicable

  Notes


                   vii              the        agreements                 relating           to        the     Refinancing               contain          non-recourse                  and         non-petition

  provisions              investor          qualification                provisions                and       transfer      restrictions           equivalent          to    those applicable                    to     the

  Notes        being redeemed                     as    set       forth       in the    Indenture



                   viii             the    obligations               providing              the        Refinancing           are       subject     to    the   Priority           of Payments               and        do

  not    rank higher in priority                            pursuant to               the Priority             of Payments than the Class of Notes                                          being redeemed
  and



                   ix               the     expenses               in   connection                 with       the    Refinancing            have        been        paid or        will        be    adequately

  provided          for



                                         Proceeds                       not constitute                                Proceeds                                 Proceeds            but will be
  Any        Refinancing                                     will                                       Interest                         or Principal                                                       applied

  directly         on     the      related       Refinancing                   Date     pursuant to the Indenture                            to    redeem           the    Notes            being refinanced
  and               Administrative                     Expenses                in    connection               with     the    Refinancing               without        regard to              the     Priority          of
             pay

  Payments               provided               that    to        the    extent        that           any     Refinancing              Proceeds         exceed        the     amount               necessary to
  redeem            the       Notes            being          refinanced               and              any     associated              Administrative                Expenses                     such      excess

  Refinancing                Proceeds           will        be    treated           as Principal             Proceeds


                   In    addition           the       Servicer           has agreed                with one          or    more Multiple Class Holders                                 to    purchase            at    the


  option        of each            such     Multiple              Class Holder                   Securities           or    Holding         Preference           Shares           as the           case    may be
  held or in the case of any Notes                                       represented by Global                         Notes           beneficially        owned           by such            Multiple           Class

  Holder           in    connection             with              Refinancing                    if    such    Securities             or   Holding         Preference              Shares            as    the        case

  may be            are      not     subject           to    such        Refinancing                   and     other       Securities       or        Holding        Preference                Shares        as        the

  case       may be               held or        in    the       case        of any     Notes            represented             by Global            Notes     beneficially                  owned        by     such

  Multiple              Class         Holder            are         subject            to        such         Refinancing                   See         Risk         FactorsRelating                        to         the

  SecuritiesThe                     Notes        are subject              to    Redemption                   by Refinancing


                                               Notes                    be                  from time to time pursuant to                                                                    described above
                   Refinancing                              may                issued                                                                     Refinancing              as

  and        subject         to    and     in    compliance                   with     the        terms of the             Indenture              Any     such       Refinancing                   Note     will       be

  issued           by    the       Issuer       and          if               such     Refinancing                   Note        is      Senior         Note        the     Co-Issuer               and     will        be
                                                                   any

                                                                                                                72
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  authenticated                   by     the     Trustee                                                   to    the     Trustee             of an    order of the                                   and
                                                                          upon        delivery                                                                                       Issuer                  the       applicable

  opinion           of counsel as set forth in the Indenture


  Special           Redemption                   of Notes                  If    the       Servicer              Does        Not Identify Replacement                                      Collateral Obligations
  as Contemplated                         by the Indenture


                   Principal             payments                on        the       Notes          shall       be made           in    whole        or   in               at               in    accordance              with the
                                                                                                                                                                part            par
  Priority          of Payments                  if        at               time during                    the                                  Period          the       Servicer              elects
                                                                 any                                              Replacement                                                                                subject           to    the

  Servicing                 Agreement                 to        notify          the       Trustee           and        each        Rating           Agency           that       it    has        been        unable        for       45
  consecutive                 Business           Days                to    identify             additional             or                             Collateral                                                          deemed
                                                                                                                             replacement                                       Obligations that                    are

  appropriate                 by the Servicer                    in       its    sole      discretion             and       meet        the    Eligibility           Criteria in sufficient                        amounts            to

  permit the application                          of       all       or         portion             of the funds then                   in    the    Collection             Account               available          to   be     used
  to    purchase              additional          or       replacement                     Collateral            Obligations


                   On        the Special
                                                      Redemption                      Date           the                                              Amount              will       be available                   be
                                                                                                            Special          Redemption                                                                       to          applied
  in    accordance                  with       Priority                      of PaymentsPrincipal                                      Proceeds            to    the       extent           of available                Principal
  Proceeds                   Notice         of payment                      of the                                                            Amount                       be
                                                                                               Special           Redemption                                    shall                 given        by       first-class          mail
  postage           prepaid              mailed            not        later          than three             Business              Days         before      the       applicable                  Special          Redemption
  Date        to        each        Holder        of Notes                      to    be       redeemed                at    the       Holders            address in                 the    Indenture                                 or
                                                                                                                                                                                                                   Register
  otherwise                    accordance                  with the rules and
                         in                                                                           procedures of the Depository                                        In    addition             for     so    long as any
  Senior Notes                    are    listed       on the ISE and                           so   long as the rules of the exchange                                     so    require notice                    of      Special
  Redemption                  of the Senior Notes                                                    be given to the Company                              Announcements
                                                                            shall          also                                                                                                  Office of the            ISE

                   In       connection            with                                                                 the                          of the Notes                           be
                                                                      Special             Redemption                             principal                                      will              paid from Principal
  Proceeds              in    an aggregate amount equal to the Special                                                                                Amount
                                                                                                                             Redemption                                   first        to   any        Class A-i               Notes
  to    be        redeemed               then         to                  Class           A-lb Notes                         be                           then
                                                            any                                                     to              redeemed                         to        any     Class           A-2 Notes               to    be
  redeemed                  then to any           Class                   Notes           to    be redeemed                  then to any             Class            Notes           to    be redeemed and                      then
  to    any       Class              Notes        to       be        redeemed                  in    each       case        until                                    accordance
                                                                                                                                       paid in full             in                                with       the    Priority         of
  Payments                   See Description                         of the SecuritiesPriority                                    of PaymentsPrincipal Proceeds



  Mandatory                   Redemption                    of the Notes



                   General



                   In       the     event        of                              Confirmation                    Failure           or         failure      to
                                                            Rating                                                                                               meet           any        Coverage               Test    on        any
  Determination                     Date          mandatory                                                 of one          or    more Classes of Notes                                whole
                                                                                 redemption                                                                                      in                    or in part          will      be
  required               Any        mandatory                   redemption                     could       result       in    an       elimination             deferral          or        reduction          in    interest         or

  principal             payments            to    one           or    more Classes of                       Securities                 which        would adversely                    affect          the returns          to      the
  Holders              of     the       Class     or        Classes                  of    Securities                  See        Risk FactorsRelating                                 to        the     SecuritiesThe
  Indenture             Requires            Mandatory Redemption                                           of the       Interests             for   Failure          to    Satisfy           Coverage              Tests            and
  The              Indenture             Requires Mandatory Redemption                                                  of the Notes                Upon       Rating Confirmation                           Failure


                   Mandatory Redemption                                    of the Notes                for Failure to Satisfy Coverage                                     Tests



                   Except           with respect                 to                             made pursuant                           an Optional
                                                                          payments                                                to                           Redemption                   or         redemption              made
  in   connection                 with         Tax Event                   as        described under                   Optional Redemption                                      on     any        Payment Date                  with
  respect         to    which           any Coverage                      Test as described under                                                    for the         NotesThe
                                                                                                                                  Security                                                       Coverage              Tests          is

  not    met on             any Determination                         Date            principal                                   on    the    Notes       will      be     made           as    described under
                                                                                                           payments
  Priority         of    Payments


                   Mandatory Redemption                                    of the Notes                Upon Rating Confirmation                                 Failure



                   Upon           the    event         of                             Confirmation                                             Interest
                                                                     Rating                                        Failure              all                    Proceeds               remaining              after      payment
  of amounts                 referred       to    in       clauses                     through             14      of       Priority of PaymentsInterest Proceeds                                                         will       be
  used       to    pay                           of the Class A-ia Notes the Class A-lb Notes the Class A-2
                              principal                                                                     Notes the                                                                                                     Class
  Notes           the    Class            Notes            and       the     Class                  Notes       sequentially              in   order of their priority                          on     the   next Payment


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  Date    and        each       Payment              Date           thereafter             until          the    Initial          Ratings               are    confirmed                     if                              after    the
                                                                                                                                                                                                   necessary

  foregoing          payments                are    made        out        of Interest                Proceeds                  Principal              Proceeds            in     accordance                  with clause

  Priority             of PaymentsPrincipal                                     Proceeds                   will       be    used         to       pay        principal           of each               Class of the Notes

  sequentially             in order of their priority on each                                        Payment Date                      until the             Initial       Ratings are confirmed



               Upon         receipt               of notice          of          Rating          Confirmation                         Failure           and         if   available           Interest             Proceeds            and

                     Proceeds                                                                                                                     of the           Notes                 par on any
  Principal                                  are    insufficient                to     effect             the    redemption                                                       at                                   subsequent
                 Date                  accordance               with the                                   of Payments                                and                                    necessary for each
  Payment                       in                                                     Priority                                             as                to     the    extent                                                      of

  Moodys             and    SP               to    confirm           in    writing           the          Initial        Ratings             assigned by                   it    on     the       Closing              Date     to     the

  Notes then           at       the    direction           and        in    accordance                    with the              instructions                 of the Servicer                  the           Trustee          shall    sell


  Collateral         Obligations so that                        the       proceeds              from         the      sale        and        all       other        funds available                     for the         purpose         in

  the    Collection             Account             will       be    used         to    redeem               the      Notes            but only                to    the        extent       necessary                 for     each     of

  Moodys             and    SP               to    confirm           in    writing           the          Initial        Ratings             assigned by                   it    on     the       Closing              Date     to     the

  Notes and           to    pay        all    administrative                    and     other         fees expenses                     and           obligations               payable under                  the Priority             of

  Payments            Any         sale       under       these        provisions                shall        be conducted                        in    such          manner that


                                                    after      giving effect                 to the          sale        each         Overcollateralization                            Test       is    satisfied         or     if
                                                                                                                                                                                                                                      any
               Overcollateralization                           Test        is   not     satisfied               the      extent         of compliance                      with the Overcollateralization

               Test        is   not reduced



                                 ii                 if   the    sale       occurs on                 or after            the     second               Payment Date                     after        giving effect                to    the

                sale       each        Interest          Coverage               Test       is   satisfied             or        if               Interest          Coverage             Test           is   not    satisfied           the
                                                                                                                                      any
               extent           of compliance                  with the Interest Coverage                                       Test        is   not reduced                    and



                                 iii                after      giving effect                    to    the       sale       each         Collateral                 Quality Test                is      satisfied         or     if    any
               Collateral              Quality Test                  is    not    satisfied                the      extent           of compliance                       with the Collateral                       Quality Test
                is   not    reduced



  Redemption                of the Preference                        Shares            in    Connection with Mandatory                                                   Redemption                    of the Notes



               The         Preference               Shares           will       be     redeemed                  in   whole             in       accordance                with the            Priority            of Payments

  and    the    Preference                   Share       Documents                    on     any          Payment                Date         on        which              mandatory                   redemption               of the

  Notes     described                 under         Mandatory                          Redemption                     of the           Notes                results        in     the    payment                  in    full    of the

  Aggregate           Outstanding                  Amount             of each          Class of Notes



  Priority of Payments


                Collections                  received           on        the     Collateral                during              the     related              Due         Period          will          be    segregated               into

  Interest      Proceeds               and        Principal          Proceeds                and      applied              on        each        Payment              Date        in the          priority         below under
  Interest                 Proceeds                  and        Principal                            Proceeds                        respectively                    collectively                      the        Priority              of

  Payments

               Interest           Proceeds



                On     each            Payment             Date           Interest           Proceeds                 with           respect            to    the        related         Due           Period          other          than

  Interest      Proceeds                previously used                     during              such         Due           Period            to       purchase             accrued            interest            in    respect         of

  Collateral          Obligations                  or    otherwise               used           as        permitted under                         the        Indenture                will    be        distributed             in     the

  following          order of priority



                                  to     the       payment            of any               taxes          and       registration                      and     filing       fees        owed            by     the       Co-Issuers

                                  without                limit            and         then           to     the       payment                    of     Administrative                        Expenses                          to     the
                                                                                                                                                                                                                        up
                                  Administrative                     Expense            Cap as follows


                                             FIRST        in   the        following             order of priority



                                                                      fees expenses                       and       indemnities of the Trustee                                    and        then



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                                ii               fees expenses               and        indemnities of the Collateral                               Administrator                  and       then



                                iii              fees        expenses            and     indemnities of the                       Preference             Shares             Paying       Agent
                                                 and



                                iv               fees expenses               and        indemnities of the Holding                                Preferences               Shares       Paying

                                                 Agent


                     SECOND                in the      following            order of priority



                                                 fees    and    expenses               of the Administrator                          and     then


                                                 fees    and        expenses             of     the        Co-Issuers             including              fees         and                           of
                                                                                                                                                                                 expenses
                                counsel          and     ongoing            surveillance                   credit        estimate            and     other           fees                          the
                                                                                                                                                                             owing           to

                                Rating           Agencies             and                    other                                          the     Servicer
                                                                                 any                     person           except                                            if    specifically

                                provided          for in the          Indenture               and       to the                             but not fees                of the Servicer              if
                                                                                                                    expenses

                                payable under                 the   Servicing            Agreement


              the    excess           if   any of        the        Administrative                  Expense             Cap over            the    amounts             paid pursuant to
              clause              above          to deposit           into       the   Expense Reimbursement                                 Account


              FIRST        to    deposit          in the       Class        II   Preference                Share                           Payment Account                       for
                                                                                                                        Special                                                        payment
              in    accordance              with        Security            for        the    NotesThe                    AccountsClass                       II      Preference             Share

              Special           Payment Account                       an     amount equal                     to   the     product          of          the     Class        II   Preference

              Share        Portion for                 such     Payment            Date            if               and      ii               accrued            and                     Senior
                                                                                                        any                           any                                   unpaid
              Servicing           Fee       then due            and       payable            and        SECOND             to    the
                                                                                                                                           payment         to      the      Servicer         of an

              amount equal                  to    the    difference              between                   the     accrued           and     unpaid Senior                  Servicing             Fee

              as    of such           Payment Date                  and      ii        the    amount deposited                        to    the    Class        II    Preference             Share

              Special           Payment Account                     in    accordance               with the preceding                       clause


              to    the     payment               of     all    amounts                due      to      the        Hedge         Counterparties                      under        the    Hedge
              Agreements               if       any     other       than     any        Defaulted             Hedge          Termination                Payments


              FIRST        to    the                         of accrued            and                                                        Class A-
                                        payment                                               unpaid interest                   on     the                                 Notes and              any
              accrued           and    unpaid Defaulted                     Interest          on        and              Defaulted           Interest                            with respect
                                                                                                               any                                            Charge
              to     the    Class A-la Notes                        and     SECOND             to    the      payment of accrued                        and          unpaid       interest         on
              the     Class        A-lb Notes                   and        any         accrued           and        unpaid            Defaulted          Interest             on       and        any
              Defaulted           Interest         Charge           with respect              to the Class A-lb Notes


              to    the    payment of accrued                         and        unpaid        interest            on    the     Class A-2 Notes and                             any    accrued
              and     unpaid Defaulted                       Interest        on        and              Defaulted               Interest                        with respect                      the
                                                                                              any                                             Charge                                     to
              Class A-2 Notes



              if   the     Class            Coverage            Tests are not satisfied on                                the related             Determination                  Date        to   the

              payment            of principal                of the Class A-la Notes the                                     Class A-lb Note                     and        the    Class A-2
              Notes        in the       Note        Payment Sequence                          in     the      amount necessary                     so   that         all   of the Class

              Coverage            Tests would be                      met on           such         Determination                 Date        on         pro forma                basis       after

              giving effect                to    any     payments            in    reduction               of the principal                  of Notes            made            through          this

              clause        or     until         paid    in    full       Interest           Proceeds              to   be      applied       pursuant               to    this    clause

              before        the                                 of                                         Proceeds                        described          under
                                       application                        any      Principal                                     as                                              Principal
              Proceeds            below           on    the current              Payment Date


              to    the    payment of accrued                         and        unpaid interest                   on   the     Class              Notes        excluding               Class

              Deferred            Interest             but     including           interest             accrued           for    the       preceding             Interest          Period          on
              Class             Deferred          Interest




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               if   the     Class             Coverage              Tests are not satisfied                        on       the     related         Determination                   Date        to   the


               payment            of principal                of the Class A-i                    Notes          the    Class A-lb Notes the Class A-2 Notes

               and        the     Class              Notes          in     the       Note        Payment            Sequence                  in     each        case       in      the       amount

               necessary              so that       all   of    the      Class             Coverage            Tests would be                       met on such Determination
               Date        on        pro forma basis                  after       giving effect             to   any         payments              in   reduction           of the principal

               of Notes              made         through        this      clause           or    until     paid        in       full    Interest             Proceeds         to       be    applied

               pursuant           to    this clause                      before           the    application            of any Principal                      Proceeds             as    described

               under        Principal Proceeds                                 below        on the current                  Payment Date


        10     to    the    payment of Class                          Deferred             Interest




        11     to    the    payment of accrued                           and      unpaid          interest        on        the    Class             Notes           excluding               Class

               Deferred              Interest       but       including           interest        accrued          for the             preceding          Interest       Period on               Class

                    Deferred            Interest



        12     if   the     Class             Coverage              Tests       are       not satisfied            on       the     related         Determination                   Date        to   the

               payment of               principal          of the Class A-la Notes the Class A-lb Notes the Class A-2 Notes

               the    Class             Notes           and     the    Class               Notes       in the      Note           Payment Sequence                          in     each       case     in

               the    amount necessary                         so     that     all      of the Class                    Coverage              Tests           would be             met on        such

               Determination                  Date        on        pro forma              basis       after     giving effect                 to             payments              in reduction
                                                                                                                                                    any
               of the principal                   of Notes          made through                   this    clause            or until         paid       in   full    Interest           Proceeds

               to    be    applied          pursuant to             this     clause         12        before the application                            of any       Principal           Proceeds

               as    described under                    Principal Proceeds                                below         on the current                  Payment Date


        13     to the       payment of Class                          Deferred             Interest




        14     to    the    payment of accrued                           and      unpaid          interest        on     the       Class             Notes           excluding               Class

               Deferred              Interest       but including                 interest        accrued          for the             preceding          Interest       Period on               Class

                    Deferred            Interest



        15     if   the     Class             Coverage              Tests are not satisfied                        on       the     related         Determination                   Date        to   the

               payment            of principal                of the Class                  Notes         in the    amount necessary                           so that      all     of the Class

                     Coverage               Tests       would be met on such Determination                                               Date       on         pro forma                basis    after

               giving effect                 to   any      payments               in      reduction         of the principal                    of Notes             made through                    this

               clause           or     until      paid in full               or    if       Rating          Confirmation                     Failure          exists     on        the       Payment
               Date         to    the       payment            of principal                of the         Class A-la Notes                          the       Class A-lb Notes                       the

               Class A-2 Notes the Class                                     Notes          the       Class         Notes              and    the    Class            Notes           in the     Note

               Payment Sequence                           in   each      case        in    the    amount necessary                       so    that           Rating Confirmation                      is


               obtained               or until      paid in         full     Interest            Proceeds          to       be applied              pursuant to          this         clause         15
               before            the    application                 of                  Principal          Proceeds                 as       described           under             Principal
                                                                           any
               Proceeds                below on           the current             Payment Date


        16     to the       payment of Class                          Deferred             Interest




        17     to    deposit          in the       Collection            Account            as Principal            Proceeds                 amounts           representing              Principal

               Proceeds              previously            used to pay               amounts           referred             to    in clauses                   through                           10
               11 13 14                           and     16        above         and       not previously restored                           to    the       Collection            Account           or
               if   not restored              to the Collection                   Account             used to purchase                       Collateral          Obligations



        18     during           the    Replacement               Period            if     the    Retention         Overcollateralization                             Test     is   not       satisfied

               on     the       related           Determination                 Date            for   deposit          to        the    Collection             Account             as     Principal

               Proceeds               the     lesser       of            50%           of the         remaining              Interest          Proceeds              available               after   the


               payments                pursuant           to    clause            17        above          and     ii            the     amount           necessary              to      cause       the

               Retention              Overcollateralization                       Test to be satisfied                      as    of such          Determination                   Date




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              19             to     the       payment                of     any    remaining                Administrative                   Expenses                    not     paid       under            clause

                             above            in the respective                   priorities         specified          in      clause




              20             FIRST            to    deposit          in the       Class        II    Preference              Share       Special               Payment Account                             for    payment
                             in    accordance                  with Security                    for       the    NotesThe                  AccountsClass                              II    Preference                  Share

                             Special           Payment Account                           an amount equal to the product of                                                     the    Class           II    Preference

                             Share            Portion            for        such        Payment                 Date         if                 and     ii any                       accrued               and         unpaid
                                                                                                                                   any
                             Subordinated                      Servicing          Fee        then due           and     payable and                  SECOND to                   the       payment               pro     rata

                             according               to the          amounts        payable               under       clauses                  and                  below to                     the        Servicer          of

                             an     amount              equal          to    the     difference                 between                  the        accrued               and        unpaid           Subordinated

                             Servicing               Fee        as    of such            Payment               Date     and        ii     the        amount deposited                            to        the    Class        II


                             Preference                 Share         Special       Payment Account                          in    accordance                  with the preceding                           clause           and

                                    pro        rata       to    each        Holder           of Securities            entitled          thereto the applicable                              Extension                  Bonus
                             Payment               as   described under                      Extension                  of the Replacement                               Period        the    Stated             Maturity
                             and     the       Scheduled                  Preference Shares                     Redemption               Date

              21             to    the    payment of any Defaulted                                   Hedge         Termination                 Payments


              22             to     the       Preference                  Shares        Paying            Agent         on        behalf        of the                  Issuer        for    deposit              into       the

                             Preference                 Shares             Distribution              Account            for        payment               pro            rata    to    the     Holders                  of the

                             Preference                 Shares            until    the       Holders           of the Preference                     Shares              have        realized               Preference

                             Share        Internal             Rate        of Return of 12.0%



              23             FIRST            to    deposit           in the      Class        II    Preference              Share       Special               Payment Account                         for        payment
                             in    accordance                  with Security                    for       the    NotesThe                  AccountsClass                              II    Preference                  Share

                             Special               Payment                Account             of      an       amount             equal        to        the        product           of               the        Class        II


                             Preference                 Share             Portion        for        such        Payment            Date                                  and     ii        the    Supplemental
                                                                                                                                                    if    any
                             Servicing               Fee        if    applicable              and        SECOND            to     the    payment                   to    the    Servicer          of an            amount
                             equal to the difference                             between                  the     accrued          and    unpaid Supplemental                                Servicing                 Fee    as

                             of     such           Payment            Date        and        ii      the       amount                                    to    the        Class       II    Preference                  Share
                                                                                                                                deposited

                             Special           Payment Account                          in   accordance               with the preceding clause                                  and



              24             any     remaining                 Interest           Proceeds               to the    Preference Shares                           Paying           Agent on behalf of                           the

                             Issuer for deposit                           into    the    Preference               Shares          Distribution                 Account               for                                 rata
                                                                                                                                                                                            payment pro
                             to    the    Holders              of the Preference Shares



              provided            that        in    lieu       of payment                of Interest              Proceeds              referred              to    under        clauses          22             and     24
 above              whole                                  any Payment Date
              in              or in part             on                                                  the    Servicer           on    behalf the Issuer will have                                        the    right to

 direct     the      Trustee        to    distribute                 Eligible       Equity               Securities                     rata        to        the       Consenting               Holders               of the
                                                                                                                             pro
 Preference          Shares        with respect                 to    such Payment                  Date        to the       extent       that       the       Market            Value        of such Eligible

 Equity       Securities           determined                  by      the       Servicer           as    of the       relevant           Market               Value            Determination                     Date         is


 equal to or lower than the aggregate amount of Interest Proceeds                                                                     that      would otherwise be due                                     and     payable
 on    such    Payment             Date        to       such     Consenting                  Holders            of the Preference                        Shares                Interest          Proceeds               in    an
 amount equal              to the    Market             Value          of such Eligible                   Equity       Securities              determined                      by the Servicer                    as   of the
 relevant          Market Value                    Determination                  Date          distributed             to      the      Consenting                     Holders            of the           Preference

  Shares      with     respect           to    any        such        Payment            Date            will    be    treated           for    all                              by     the      Issuer            and       the
                                                                                                                                                          purposes
  Servicer         as Principal          Proceeds               available           for distribution                  in   accordance                    with the Priority                    of Payments on

 the   relevant       Payment Date                        The amount of                  Interest          Proceeds             available            on the relevant                    Payment Date                     will

 be reduced          and     the    amount of                                     Proceeds
                                                           Principal                                 available          on        the relevant                Payment Date                  will       be        increased

 accordingly



              Principal           Proceeds



              On      each    Payment Date                      Principal           Proceeds               with respect             to the related                      Due Period            other         than




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                        Principal             Proceeds            previously used                   to        purchase              Collateral          Obligations                including               any
                        related          deposit          into    the       Revolving          Reserve               Account             or    the     Delayed            Drawdown                Reserve

                        Account            or       the    posting           by     the    Issuer         of cash            collateral              with      or        for    the     benefit          of
                        Synthetic             Security           Counterparty                simultaneously                    with           the    Issuers             purchase           of or entry

                        into         Synthetic            Security             or   otherwise         used as permitted under                                 the    Indenture



                        Principal          Proceeds              on    deposit        in the    Revolving                   Reserve            Account             the    Delayed            Drawdown
                        Reserve           Account                the    Synthetic            Security           Collateral               Account            or      the    Securities             Lending

                        Account               and



                        Principal             Proceeds           on     deposit       in the        Collection               Account            in    an aggregate amount equal to

                        the    agreed          Purchase           Prices          for Collateral               Obligations with respect                             to    which        the    Issuer       has

                        entered into                  commitment before                        the       end        of the Due                Period for their purchase                             but has

                        not settled the purchase                            by the end        of the Due                Period



  shall   be   distributed     in   the    following             order        of priority



                                                    the
                               FIRST          to            payment of               the   amounts             referred         to       in   clauses                   through               under

                        Interest          Proceeds               above        and      in the       same manner and                           order of priority                   to the      extent        not

                        previously paid                   in    full    thereunder            and              SECOND               to    the    payment                of amounts           referred          to

                        in clause                    under        Interest Proceeds                             above          to    the       extent       not previously paid in                         full


                        thereunder              and       to   the     extent        necessary to cause                      the     Class             Overcollateralization                        Test to

                        be    met              of the related                 Determination                Date         on                                  basis        after
                                         as                                                                                         pro fonna                                     giving          effect       to

                        any     payments              made through                  this   clause                   or until         such       amounts             are   paid     in full




                        to    the    payment of                the     amounts         referred          to    in     clause                  under     Interest Proceeds                              above

                        to    the extent            not previously paid in                     full      thereunder



                        to    the    payment of                the     amounts         referred          to    in clause                      under     Interest Proceeds                              above

                        to    the    extent          not previously paid in                        full        thereunder             and       to    the     extent        necessary             to     cause

                        the    Class               Overcollateralization                     Test to be met as of the related                                    Determination                Date        on

                        pro forma              basis       after giving             effect    to    any        payments              made through                   this clause                     or    until


                        such        amounts           are      paid     in    full



                        to    the     payment              of the           amounts          referred           to     in    clause           10       under            Interest Proceeds
                        above        to    the extent            not    previously paid                  in    full    thereunder



                        to    the     payment              of the           amounts          referred           to     in    clause           11       under            Interest Proceeds
                        above        to    the extent            not    previously            paid       in    full    thereunder



                        to    the     payment               of the          amounts          referred           to     in    clause           12       under            Interest Proceeds
                        above        to       the    extent       not        previously paid in                  full       thereunder               and      to    the    extent        necessary to
                        cause        the       Class             Overcollateralization                         Test to         be     met       as     of the           related        Determination

                        Date        on         pro forma               basis      after    giving         effect        to     any       payments              made through                  this      clause

                                or   until         such        amounts         are    paid    in full




                        to    the     payment               of the          amounts          referred           to     in    clause           13       under            Interest Proceeds
                        above        to the extent               not    previously paid                   in   full     thereunder



                        to    the     payment               of the          amounts          referred           to     in    clause           14       under            Interest Proceeds
                        above        to the extent               not        previously        paid        in   full     thereunder



                        to    the    payment               of principal              of the     Notes            in    the     Note           Payment              Sequence            in    an     amount

                        necessary to                           cause        the   Class         Overcollateralization                            Test to be               met     as    of the related

                        Determination                     Date         on         pro forma              basis         after        giving           effect        to     any     payments               made



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                         through           this    clause                     or    until        paid in         full     or              if        Rating       Confirmation                     Failure           exists

                         on    the    Payment Date                       obtain             Rating Confirmation                                or until         paid      in full




              10         to    the     payment             of the             amounts              referred              to    in    clause          16         under        Interest Proceeds
                         above        to the extent                not previously paid in                            full       thereunder



              11

                                          if   the   Payment Date                      is         Redemption                   Date       in the         following           order of priority                            to

                                          the     payment               in the      Note          Payment Sequence                             of the Redemption                       Prices        of    all      of the

                                          Notes          to    be        redeemed                      ii      to        the     payment                 of     the       amounts             referred              to    in

                                          clauses          19           through           23            under        Interest Proceeds                                    above         and          in    the       same
                                          manner and                order of priority                         to    the        extent      not       previously paid                    in    full    thereunder

                                          and        iii      to    the        Preference                 Shares              Paying           Agent            on    behalf           of     the     Issuer             for

                                                           into         the        Preference                 Shares            Distribution                  Account             for                            to      the
                                          deposit                                                                                                                                           payment
                                          Holders             of the           Preference                Shares               of the       Redemption                     Price        of any         Preference

                                          Shares         to   be        redeemed                 and



                                          if   the      Payment Date                      is           Special           Redemption                  Date        to    the       payment             in the           Note

                                          Payment             Sequence               of principal                  of the Notes                 in   an       aggregate amount                       equal to the

                                          Special          Redemption                  Amount                 in    each        case until paid in full



              12         during        the        Replacement                     Period           all       remaining               Principal             Proceeds              to    the       acquisition              of

                         additional             Collateral              Obligations in accordance                                    with the Indenture                          and         until        so    applied

                         including                any      related             deposit            into        the        Revolving               Reserve              Account               or    the          Delayed
                         Drawdown                 Reserve           Account                 or    the     posting              by the          Issuer         of cash        collateral              with        or      for

                         the        benefit          of            Synthetic                Security                Counterparty                    simultaneously                     with          the       Issuers

                         purchase           of or entry                 into         Synthetic               Security               to    be    deposited in the Collection Account
                         as Principal              Proceeds


              13         after      the    Replacement                       Period                FIRST            at    the       discretion            of the Servicer                    with         respect         to

                         Unscheduled                    Principal              Payments                  and        Sale         Proceeds                from         the        sale        of      Credit           Risk

                         Obligations and                   Credit            Improved              Obligations                   to the         purchase             or    funding           of additional                or

                         replacement                 Collateral               Obligations in                       accordance                  with       the                            Criteria              and       the
                                                                                                                                                                 Eligibility

                         applicable               provisions                 of     the        Indenture                 when            appropriate               Collateral               Obligations                  are

                         available             and       until          such        time          to    the      Collection                Account              for    the       purchase             of Eligible

                         Investments                 and      ii SECOND                     to     the       payment            in the         Note        Payment Sequence                          of principal

                         of Notes           until       paid       in full




              14         to    the    extent         not previously                    paid in            full      under           clause          11         above         after       the      Replacement
                         Period           to      the    payment               of the            amounts             referred             to    in       clauses          19       through            23            under

                         Interest Proceeds                               above         and             in the       same         manner and                   order of priority                    to the        extent

                         not previously                 paid in          full       thereunder                and



              15         after       the    Replacement                      Period          to    the       Preference                  Shares          Paying           Agent          on       behalf         of the

                         Issuer for deposit                    into          the     Preference                Shares           Distribution                  Account            for   payment pro                    rata

                         to the       Holders of the Preference Shares



              The    calculation          on      any     Coverage                 Test on             any    Determination                     Date          shall   be     made by giving                         effect

 to   all   payments     to    be    made pursuant                      to    all    subclauses of the Priority of Payments                                                  as       applicable               payable
 on   the    Payment Date            following            such          Determination                    Date            In    addition             no    Principal          Proceeds                will      be     used

 to   pay     subordinated           Class on                 Payment Date                     if after          giving effect                 to    such       payment                       Coverage                Test
                                                                                                                                                                                       any
 of         more    senior     Class        of Notes                                      on      such                               Date                 would                               result           of     such
                                                                   is    failing                               Payment                              or                    fail    as

 application        of the Principal              Proceeds              on    such Payment Date




                                                                                                        79
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                     If    on    any       Payment Date                       the       amount            available              in the          Payment Account                                is   insufficient                  to    make            the

  full     amount                of        the        disbursements                      required               by         the        Valuation                   Report               the       Trustee                shall           make            the

  disbursements                       called          for     in       the        order        and        according                   to    the       priority             under            Interest Proceeds                                           and

  Principal Proceeds                                       to the extent                 funds are available                          therefor



                     The Trustee                     shall    remit funds                     to    pay     Administrative                            Expenses              of the              Issuer          or     the        Co-Issuer                  in


  accordance                with the Priority of Payments under                                                  Interest Proceeds                                        and         Principal Proceeds                                       above
  to     the    extent           available              to    the        Issuer the Co-Issuer                              as    directed              and        designated                    in    an       Issuer         Order which

  may be          in the             form       of standing                 instructions              delivered                  to the         Trustee no                 later       than the Business Day                                   before
  each     Payment Date


  Form          Denomination                           Registration                     and Transfer                       of the Senior                     Notes



                  The           Senior Notes                  sold          in    Offshore           Transactions                     may only be                    sold         to    non-U.S Persons                                in reliance

  on     Regulation                         Except            as       provided               below          the       Senior              Notes           sold      in     reliance                 on    Regulation                         will          be

  represented               by one              or    more Regulation                              Global Notes                       The        Regulation                       Global Notes                        will        be    deposited
  with         the    Trustee              as    custodian                  for and            registered              in       the        name            of         nominee                   of the Depository                             for       the

  respective               accounts                  of the        beneficial                 owners            at    Euroclear                  and         Clearstream                         Beneficial                   interests                in

  Regulation                     Global              Note                    be    held only through                            Euroclear                       Clearstream
                                                                  may                                                                                  or                                         Investors                 may hold                   their

  interests           in         Regulation                       Global Note                  directly          through              Euroclear                 or    Clearstream                         if   they are participants
  in     such                              or        indirectly                                                                  that           are                                    in       such                                   Beneficial
                     systems                                                through            organizations                                           participants                                            systems
  interests in                   Regulation                       Global Note                  may not be held by                                U.S         Person              at    any time                  By     acquisition                     of

  beneficial               interest         in        Regulation                        Global Note                   the       purchaser              thereof             will        be       deemed               to represent                 that       it



  is     not          U.S            Person           and     that           if    in the          future        it    determines                     to    transfer             such           beneficial               interest                 it    will

  transfer           such        interest            only to             person           whom         the       seller          reasonably                  believes             to       be         non-U.S Person                           or to

  person         who        takes          delivery           in       the    form        of an interest in                           Rule           144A         Global Note



                  The           Senior Notes                  initially            sold       in    non-Offshore                      Transactions                   or to        U.S           Persons               in reliance                 on    the

  exemption                from           registration             provided               by Rule               44A may only                          be sold         to               Qualified                Institutional                 Buyers
  that    are        also       ii        Qualified           Purchasers and                         except as provided                               below           will        be        represented by one                               or        more
  permanent                Rule           144A         Global            Notes                Investors              may        hold their interests in the Rule                                                144A          Global              Notes

  directly           through              the    Depository                  if   they        are the       Depository                     participants                   or indirectly                   through             organizations

  that    are        the    Depository                  participants                     The        Rule        144A            Global            Notes           will      be         deposited with the Trustee                                           as

  custodian for the Depository                                         and        registered          in the          name of                    nominee              of    the        Depository


                  Beneficial                    interests              in    Senior            Notes         represented                        by     Global              Notes            will          be         subject            to    certain

  restrictions                  on    transfer              set    forth           therein           and        in     the        Indenture                  and          such          Global                 Notes          will          bear        the

  applicable               legends regarding the restrictions                                          set       forth          under           Transfer              Restrictions                                   beneficial               interest

  in      Regulation                       Global Note                   may        be transferred                    to         person           who        takes          delivery              in the         form of an                   interest

  in       Rule            144A           Global            Note         only           upon        receipt           by        the    Trustee               of           written               certification                 from                      the

  transferor               in    the       form        provided               in the          Indenture               to    the       effect          that        the transfer                  is   being made                    to         person
  whom           the        transferor                reasonably                  believes            is             Qualified                  Institutional               Buyer who                           is    also              Qualified
  Purchaser and                      in    accordance                  with any               applicable              securities                laws of any                 state           of the United                     States           or       any
  other        jurisdiction                and                the       transferee              in    the       form            provided              in the         Indenture                   to       the        effect        that       among
  other        things            the      transferee              is    both            Qualified            Institutional                      Buyer and                    Qualified                    Purchaser                    Beneficial

  interests in the                    Rule           144A         Global          Notes         may        be        transferred                to         person          who          takes         delivery               in    the       form of
  an     interest          in         Regulation                       Global           Note        only upon receipt                            by the Trustee                       of         written             certification                     from

          the transferor                    in       the     form           provided           in    the     Indenture                     to    the effect               that        the transfer               is     being made                     to

  non-U.S Person                           in    an    Offshore                  Transaction               in    accordance                     with Regulation                                 and                   the     transferee                 in
  the     form            provided              in    the     Indenture                  to    the    effect           that                            other         things                the       transferee                          non-U.S
                                                                                                                                      among                                                                                   is

  Person


                  Any            beneficial             interest             in         Regulation                     Global               Note           that      is   transferred                     to         person            who         takes

  delivery            in    the       form       of an interest                    in         Rule     144A            Global              Note        will upon transfer                                 cease         to    be       an     interest

  in   such      Regulation                          Global        Note           and     become             an interest                   in   the    Rule          144A             Global Note and accordingly

  will thereafter                    be    subject           to    all      transfer          restrictions                 and    other           procedures                 applicable                    to    beneficial                  interests

                                                                                                                           80
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 in      Rule        144A         Global            Note           for as       long as              it    remains such                         an    interest                Any        beneficial            interest          in         Rule

   44A       Global          Note        that           is    transferred                 to              person              who         takes           delivery            in     the       form          of an        interest           in

 Regulation                 Global            Note           will upon transfer                                cease           to    be        an    interest            in the         Rule       144A        Global            Note            and

 become         an        interest       in        the       Regulation                        Global               Note            and         accordingly                   will        thereafter           be     subject               to    all


 transfer       restrictions             and        other          procedures                  applicable                     to    beneficial                 interests           in        Regulation                    Global           Note

 for as      long as         it   remains such                     an     interest              No             service             charge           will       be    made          for
                                                                                                                                                                                          any       registration             of transfer

                           of Senior Notes but the Issuer
 or    exchange                                                                                      or        Co-Issuers                     as    the     case       may be             or      the    Trustee           may        require

 payment           of         sum         sufficient                 to       cover            any         tax           or    other           governmental                        charge          payable           in     connection

 therewith



              Except              in the       limited             circumstances                      described                     in    this       paragraph                owners              of beneficial             interests              in

 Senior      Notes           held        in    the        form           of Global                  Notes                will       not        be    entitled            to    receive             delivery          of certificated

 Senior      Notes                The     Senior              Notes            are       not        issuable                  in    bearer form                               Global           Note          deposited            with           the

 Depository               pursuant            to    the       Indenture                  shall       be         transferred                    to    the       beneficial               owners           thereof                      if     such
                                                                                                                                                                                                                           only
 transfer       complies            with the Indenture                              and        either                    the    Depository                  notifies          the       Co-Issuers            that    it    is   unwilling

 or    unable to continue                     as depository                    for         Global               Note           or ceases              to    be           Clearing              Agency           registered                  under

 the    Exchange            Act and                 successor depository                                  is    not       appointed                  by     the      Issuer          within         90       days    of such           notice

 or    ii as          result        of any              amendment                   to    or    change                   in the laws                  or regulations                    of the         Cayman             Islands           or     of

 any    authority           therein           or thereof                having           power             to       tax       or in the             interpretation                 or administration                      of such            laws

 or    regulations            which become                           effective                 on     or        after          the        Closing              Date           the       Issuer         or     the    Paying            Agent
 becomes aware                    that    it       is    or will         be     required to make                                any       deduction                 or    withholding                  from         any     payment                in

 respect      of the         Senior Notes                     which            would not be required                                      if    the       Senior Notes                   were          in definitive             form              In

 addition          the     owner of                     beneficial             interest             in          Global              Note           will     be      entitled         to receive                certificated                 Note
 in    exchange            for     such        interest             if    an    Event               of Default                     has        occurred              and       is   continuing                  In    the     event               that

 certificated             Senior         Notes           are       not    so        issued          by         the       Issuer           to    such        beneficial               owners            of interests in Global

 Notes       the        Issuer       expressly                 acknowledges                          that           such           beneficial               owners             shall         be    entitled          to     pursue               any
 remedy         that       the     Holders               of        Global            Note           would be                    entitled             to
                                                                                                                                                           pursue          in      accordance                with the            Indenture

 but only            to    the     extent           of such              beneficial                 owners                    interest             in the        Global            Note           as    if   certificated              Senior
 Notes       had      been         issued                                       on        such                                            Senior           Notes                     be       made
                                                         Payments                                         certificated                                                    will                               by wire         transfer              in

 immediately               available               funds           to          Dollar-denominated                                    account                maintained                  by     the       owner        or         if          wire

 transfer     cannot              be effected                 by         Dollar check                      delivered                to the           owner            See Settlement                         and Clearing


              The          Senior          Notes              will        be        issued                in        minimum                    denominations                       of     U.S$250000                      and         integral

 multiples           of U.S$ 1000                   in    excess          thereof              for    each           Class of Senior Notes



 Form        Denomination                          Registration                     and Transfer                          of the Class                           Notes



              The          Class               Notes               will    be        issued               in    the           form        of one               or   more           certificated               Class              Notes             in


 definitive           fully registered                       form         registered                 in the              name            of the owner                  thereof           the Certificated                         Class
 Notes



              The          Class              Notes           may         only be              sold            to    persons              who         are      Qualified Institutional                          Buyers            who             are

 also    Qualified Purchasers


              The          Class              Notes           may         be    transferred                         only upon inter a/ia                                 receipt          by      the    Trustee           of         written

 certification             in      the    form           provided               in the          Indenture                       from           the        transferee            to      the    effect         that                          other
                                                                                                                                                                                                                          among
 things       the         transferee               is         Qualified                  Institutional                    Buyer who                       is    also            Qualified                Purchaser               and         such

 transfer       is   being made                    in    accordance                  with any                  applicable                 securities                laws      of any           state     of the United                  States

 or    any    other        jurisdiction                       Each        initial          Holder                   as    well           as    each         transferee               of the         Class             Notes            is    also

 required       to     provide           certain             tax    forms           and        other           tax-related                certifications                      See Transfer                   Restrictions



              The          Class               Notes               will        be        issued            in       minimum                    denominations                        of     U.S$250000                      and        integral

  multiples          of U.S$ 1000 in excess                               thereof




                                                                                                                          81
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   Form         Denomination                        Registration               and Transfer                of the Preference                         Shares



                 The Preference Shares                            will       be     issued     in the       form       of one           or    more         certificated            Preference              Shares     in

   definitive           fully           registered           form            registered            in     the     name             of    the         owner             thereof       the         Certificated

   Preference            Shares

                 Preference                  Shares        may         only be        sold     to
                                                                                                     persons           who         are    Qualified               Institutional            Buyers           who      are

   also   Qualified           Purchasers



                 Preference                  Shares        may         be     transferred           only        upon inter alia                           receipt       by     the     Preference             Shares

   Paying        Agent of                    written       certification             in      the    form        provided            in    the       Preference             Share       Documents                   from

   the transferee             to    the effect             that        among         other     things        the      transferee               is     Qualified              Institutional            Buyer who
   is   also      Qualified Purchaser                            and    such        transfer       is   being made in accordance                                  with any         applicable              securities

   laws        of any     state              of the    United           States        or     any     other       jurisdiction                      Each      initial         Holder        as    well        as    each

   transferee          of the           Preference               Shares        is    also     required to              provide           certain            tax     forms        and     other         tax-related

   certifications             See Transfer                  Restrictions



                 Ogier         Fiduciary Services                           Cayman            Limited            has       been         appointed            and        will     serve      as       the    registrar

   with        respect        to    the           Preference            Shares        the        Share Registrar                               and        will      provide          for    inter alia               the


   registration          of        the        Preference               Shares         and      the      registration               of     transfers               of    the      Preference                Shares     in

   accordance            with           the       Preference             Share        Documents                 and        the     Administration                      Agreement            in        the    register

   maintained            by    it        The        Preference               Shares       will     be    issued        in    minimum numbers                             of 100        Preference             Shares

   per    investor       and        integral          multiples             of one     Preference            Share          in    excess           thereof



   The     Indenture



                 The      following                 summary             describes            certain       provisions              of the            Indenture               The     summary                does    not

   purport       to   be complete                   and     is   subject          to and      qualified          in    its       entirety          by reference              to the provisions                    of the

   Indenture



                 Events            of Default


                 Event             of Default               is    defined           in the    Indenture as



                                                          default        for four          Business Days                   in the        payment             of any          interest      on               Class of
                                                                                                                                                                                                     any
                 Notes         that          is   currently       part       of the Controlling                  Class when                   it   becomes payable or                       in       the case       of

                 default           in    payment due               to    an administrative                  error      or    omission                by    the    Trustee          the     Irish Listing            and

                 Paying Agent                      or the    Indenture              Registrar           after    seven Business                      Days

                                                          default        in the                          of principal               including                Deferred                                of any        Note
                                                                                      payment                                                                                    Interest

                 when         the       same becomes payable                           at    its   Stated        Maturity or on                     the    Redemption              Date


                                                     the    failure          on     any     Payment             Date        to    disburse            amounts            available          in       the    Payment
                 Account                in   accordance             with the Priority of Payments and                                        the failure           continues           for three            Business

                 Days


                                                     on     any        Measurement                 Date     for       so    long         as    any        Class A-Ia Notes                      or    Class A-lb

                 Notes        are        Outstanding               the       Class          Overcollateralization                        Ratio        is    less       than    100%


                                                     either       of the Co-Issuers                  or the      pooi of Collateral                        becomes an investment company
                 under        the       Investment               Company Act

                                                     breach         of any          other      covenant           or       other        agreement             of the Issuer                or    the       Co-Issuer

                 under         the       Indenture           other           than any         failure       to    satisfy          any        of the Collateral                  Quality Tests                any     of

                 the     Concentration                     Limitations                        of the        Coverage                Tests           the     Retention             Overcollateralization
                                                                                      any
                 Test         or    other          covenants            or    agreements             for   which                 specific          remedy has been                   provided              under     the



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               Indenture               in   any        material                 respect        or the failure                       of any         representation                     or                          of the issuer                or
                                                                                                                                                                                            warranty
               the       Co-Issuer               made            in    the        Indenture                  or     in                  certificate             or       other                            delivered
                                                                                                                              any                                                     writing                                  pursuant
               thereto           or    in       connection                  therewith                   to    be         correct             in
                                                                                                                                                  any         material           respect             when           made           and        the

               breach           or failure            continues                 for     30    days           after either                of the Co-Issuers has actual                                                               of
                                                                                                                                                                                                           knowledge                     it    or

               after      notice           to    the       Issuer the Co-Issuer                               and         the       Servicer              by    the       Trustee            or to         the      Issuer the             Co
               Issuer the Servicer                           and       the       Trustee by                  the       Holders               of   at     least       25%         of the Aggregate                       Outstanding
               Amount               of the        Controlling                    Class by               registered                  or    certified            mail or overnight                           courier           specifying

               the       breach        or       failure          and        requiring              it    to       be     remedied                 and         stating          that       the    notice           is         Notice            of

               Default under                     the        Indenture



                                                  the       entry           of        decree            or    order by                    court         having competent                         jurisdiction                 adjudging
               the       Issuer       or        the    Co-Issuer                  as     bankrupt                  or     insolvent                or        approving               as     properly filed                         petition

               seeking           reorganization                        arrangement                       adjustment                      or       composition                   of the Issuer                  or      the    Co-Issuer
               under           the    Bankruptcy                      Law          or       any         other           applicable                 law         or        appointing                   receiver               liquidator

               assignee               or    sequestrator                        or     other        similar                  official             of the            Issuer           or    the       Co-Issuer                or    of any

               substantial             part       of       its    property              or    ordering the winding                                            or     liquidation                of   its       affairs        and     if   the
                                                                                                                                                       up
               decree          or    order remains unstayed                                  and        in effect              for      45    consecutive                  days


                                                  the       institution                by the shareholders                               of the Issuer                   or the       Co-Issuer                of Proceedings                  to

               have        the       Issuer           or    Co-Issuer                  as    the        case           may be                adjudicated                  as     bankrupt             or       insolvent            or     the

               consent           by        the    shareholders                       of the         Issuer               or    the        Co-Issuer                 to    the        institution               of bankruptcy                   or

               insolvency              Proceedings                     against          the       Issuer           or Co-Issuer                     or the filing                by the Issuer                   or the       Co-Issuer
               of        petition           or    answer               or       consent        seeking reorganization                                        or relief          under        the      Bankruptcy                   Law         or

               any       other        similar          applicable                 law        or the           consent               by the Issuer                   or the       Co-Issuer                to     the filing         of any
               such                                                                                of
                          petition          or        to the       appointment                                 receiver                 liquidator                 assignee               trustee          or sequestrator                    or
               other       similar          official              of the Issuer                   or         the    Co-Issuer                 or       of any        substantial                           of     its                         or
                                                                                                                                                                                                part                     property
               the       making            by     the       Issuer          or       the     Co-Issuer                   of an                                       for       the    benefit             of creditors              or     the
                                                                                                                                         assignment
               admission              by        the    Issuer              or    the     Co-Issuer                  in writing                of                                 to               its      debts                              as
                                                                                                                                                       its
                                                                                                                                                              inability                   pay                           generally

               they become                  due            or the          taking       of any               action           by the Issuer                   or the           Co-Issuer             in furtherance                 of any
               such       action           or




                                                  one        or       more         final      judgments                       is    rendered against                       the       Issuer          or    the      Co-Issuer             that

               exceed           in    the       aggregate U.S.$2000000                                            or                                amount
                                                                                                                          any        lesser                              specified           by      any         Rating        Agency
               and       that    remain                                                                           and         unsatisfied               for     30                   after      the                                become
                                                      unstayed                  undischarged                                                                             days                             judgments

               nonappealable                      unless              adequate               funds            have            been        reserved              or               aside       for       their                               and
                                                                                                                                                                         set                                         payment
               unless                                  otherwise
                               except            as                              specified              in    writing              by    Moodys                    the    Rating Condition                          with respect               to

               each       Rating Agency                      is    satisfied             with respect                    thereon



               Upon        the       occurrence                  of an Event                 of Default                   the       Trustee must give                          prompt           and        in    no     event       later

  than five Business                  Days        after          becoming aware                          of such              event           notice           thereof          to    the    Noteholders


               If    an Event              of Default                 is    continuing              other               than an           Event              of Default              described              in    clauses

  or           under           Events                  of Default                       above                the         Trustee              may            with         consent            of the             Majority            of     the

  Controlling            Class        and        must upon                  the       written           direction               of           Majority              of the Controlling                       Class            declare       the

                    of   all    the   Notes            to    be                                                                                                 Co-Issuers
  principal                                                           immediately                  payable                by notice               to the                                   and       the       Noteholders                 and

  upon    that       declaration            the       unpaid principal                       of    all       the       Notes             together            with        all its      accrued             and       unpaid interest
  and    any         applicable             Defaulted                  Interest            Charge                  and         other          amounts               payable               under       the        Indenture               shall

  become        immediately                 payable                The Replacement                                Period shall terminate                                                  declaration               of acceleration
                                                                                                                                                                         upon
  subject       to    re-commencement                             as       described           below                     If    an Event                of Default               described             in    clauses                           or

        above         under          Events                   of Default                     occurs                all       unpaid           principal                  together           with       all       its    accrued            and

  unpaid       interest          and            any        applicable                Defaulted                    Interest           Charge                   of    all        the    Notes            and          other      amounts

  payable       under          the    Indenture                  shall          automatically                     become             payable                 without           any        declaration             or    other       act       on
  the   part     of      the     Trustee              or                   Noteholder               and            the                                         Period           shall        terminate automatically
                                                            any                                                               Replacement

  subject       to    re-commencement                             as       described          below



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                At any time               after the declaration                     of acceleration                 of maturity                 has been           made and               before             judgment
         decree      for   payment of               the
   or                                                          money due             has been              obtained           by the Trustee                           Majority            of the Controlling
   Class by written               notice            the        Issuer the Trustee and                               Preference Shares
                                              to                                                             the                                             Paying Agent                       may rescind                the

   declaration         and       its                                 if
                                       consequences


                                 the     Issuer      or the         Co-Issuer            has paid or deposited with the Trustee                                                sum         sufficient          to    pay


                                               all    unpaid installments                        of interest and                    principal          on        the    Notes        then due            other            than

          as    result          of the acceleration



                                               to     the       extent           that    payment                of the            interest       is    lawful            interest          on                Deferred
                                                                                                                                                                                                   any
          Interest      and        Defaulted              Interest          at     the    Applicable                Note            Interest          Rate        or     Default            Interest           Rate         as

          applicable



                                               all       Administrative                  Expenses               of the Co-Issuers                      and        other       sums paid                 or   advanced

          by   the    Trustee under                the     Indenture



                                               all    unpaid Senior Servicing                              Fees and


                                               all    amounts               then payable to any                     Hedge               Counterparty                   and



                ii               the     Trustee          has determined                  that              Events            of Default               other       than the                                          of the
                                                                                                     all                                                                               nonpayment
                                 interest       on        or    principal           of the       Notes           that         have        become            due        solely        by     the     acceleration

                                 have        been                   cured        and          Majority             of the           Controlling              Class by written                       notice           to    the

                                 Trustee has agreed                       with that determination                             or              waived        as    provided            in the        Indenture



                No     rescission            shall        affect      any        subsequent            Default               or    impair any           right resulting                    from the Default

   The    Issuer       shall       not terminate any                       Hedge         Agreement                 at    any        time after                   declaration               of acceleration                  of

   Maturity          of the       Notes       has been               made          unless        such        declaration                 and     its
                                                                                                                                                        consequences                      may      no        longer be
   rescinded and             annulled          in   accordance               with the Indenture                       and         liquidation          of the Collateral                    has begun



                If   an Event            of Default             is    continuing              the     Trustee           will retain              the Collateral                    collect         and       cause the
   collection        of the proceeds                 of the Collateral                    and       make         and         apply        all                           and                        and         maintain
                                                                                                                                                 payments                          deposits

   all   accounts          in    respect       of    the       Collateral           and       the     Notes        and                   Hedge         Agreements                    other         than amounts
                                                                                                                                  any
   received       under            Hedge        Agreement                   that    are       used     in putting                   replacement                  hedge        in    place          in    the    manner
   described under                Priority of Payments                                  and    the    Indenture               unless          either




                                               the        Trustee           in    consultation              with the Servicer                      determines                 bid         prices        having        been

                obtained           with respect                to    each        security       contained               in    the       Collateral          from        two        nationally            recognized
                dealers          or    if   there     is    only one             dealer        that    dealer           and       if    there    is    no    dealer           from           pricing           service
                selected           and      specified           by    the        Servicer        to   the       Trustee             in    writing           at    the    time making                         market         in

                those       securities          and        having           computed            the     anticipated                 proceeds           of sale or liquidation                           on   the      basis

                of the          lower        of the bid prices                     for    each        security               that       the     anticipated             net        proceeds             of       sale       or

                liquidation              of the       Collateral              would after deduction                                 of the        reasonable                                     of the          sale       or
                                                                                                                                                                             expenses

                liquidation be                 sufficient             to    discharge           in    full      the      amounts              then due            and        unpaid         on     the       Notes         for

                principal           and      interest          including            Defaulted              Interest           and        Deferred           Interest          and         any    interest        on        the

                Defaulted              Interest      and        the       Deferred            Interest           all     Administrative                     Expenses                all    other        amounts             if
                any        then payable              to     the      Hedge         Counterparty                 by the Issuer                   including                      applicable                termination
                                                                                                                                                                        any

                payments               net    of    all    amounts            then payable to the Issuer                                 by the Hedge                   Counterparty                and        all   other

                amounts            then payable under                       clause               under          Priority                  of PaymentsInterest Proceeds                                               and

                Majority           of the Controlling                      Class agrees with that determination                                         or



                                 ii            the        Holders           of      Super        Majority               of each          of the Class A-la Notes the Class A-lb

                Notes           the    Class A-2 Notes                       the    Class             Notes             the       Class           Notes           and        the    Class               Notes        direct

                the    sale      and      liquidation               of the Collateral




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                             the    continuance                   of an       Event            of Default                                               of the Controlling                        Class
                During                                                                                                              Majority                                                                  may         institute

  and   direct the          Trustee       in    the    conduct               of any proceedings                                for                remedy          available           to    the     Trustee or for the
                                                                                                                                      any
  exercise       of any      right       of the Trustee under                            the       Indenture                   if    the        direction         does not conflict                    with any            rule       of

  law or with any express provision of the Indenture                                                            and           the    Trustee has been                     indemnified                to       its   reasonable

  satisfaction          Any        direction           to    the       Trustee to               undertake                          sale     of the Collateral                   shall        be    by        the    Holders           of

  Notes       representing          the     requisite                                         of the Aggregate                                                         Amount              of the Notes
                                                                  percentage                                                               Outstanding                                                                specified

  in the      Indenture            The    Trustee              need          not    take           any     action              that        it    determines             might         involve           it    in    liability         or

  expense       unless       it   has received an indemnity                                   reasonably satisfactory                                  to                       the
                                                                                                                                                             it   against                  liability         or     expense


                     Majority        of the Controlling Class                                 may         on behalf                  of the Holders                 of    all   the        Notes before                   the   time

    judgment           or    decree       for       the      payment               of money                    due        has been                obtained          by     the       Trustee            waive         any           past

  Event     of Default            or event       that with notice                        or the           lapse           of time or both                     would become                     an Event              of Default
  and   its   consequences               except such                        default



                              in the      payment of                   principal              or    Redemption                       Price        of any Note              or in the           payment of                  interest

                              including              Defaulted                Interest              Deferred                  Interest            and       any    interest           on     Defaulted              Interest          or

                              Deferred           Interest               on the Notes



                ii            with respect                to           provision of the Indenture                                      that        cannot         be    modified              or    amended               without

                              the    waiver           or     consent              of the Holder                          of each                                       Note                              affected
                                                                                                                                           Outstanding                           adversely                                     by the
                              modification                  or    amendment


                iii           in the      payment of amounts                                  due         to        the       Servicer            the       Trustee         or the          Hedge            Counterparty
                              which may only be waived                                        with the consent                         of the affected                  party         or




                iv            arising          as           result           of    an     Event                of        Default                described          in    clause                               or               under

                              Events                 of Default



                No     Holder        of any           Note         may            institute           any           proceeding                   with       respect        to    the        Indenture                or    for       the

  appointment           of        receiver          or trustee               or for                  other           remedy under                      the    Indenture               unless
                                                                                         any


                              the    Holder           has previously given to the Trustee                                                       written      notice       of an Event               of Default



                ii            the     Holders                of        not        less        than        25%                 of     the         Aggregate              Outstanding                 Amount                 of        the

                              Controlling              Class shall have                         made                written                            to    the    Trustee to               institute
                                                                                                                                     request                                                                      Proceedings
                              with respect                to      the       Event        of Default                      in    its   own name                as    Trustee            under        the       Indenture              and

                              the    Holders            have           offered           to    the       Trustee               indemnity                satisfactory             to          against           the
                                                                                                                                                                                       it
                                                                                                                                                                                                                      expenses
                              and     liabilities            to    be       incurred           in    compliance                      with the request



                iii           the    Trustee           for        30    days        after          its                         of the notice                                  and          offer    of indemnity                    has
                                                                                                         receipt                                             request
                              failed      to    institute               Proceeding                       and



                iv            no    direction             inconsistent               with the written                              request         has been             given to the Trustee                         during the
                              30 day period by                          Majority               of the Controlling                               Class



                If   the     Trustee           receives                                        or        inconsistent                                        and                               from           two         or    more
                                                                   conflicting                                                            requests                      indemnity

  groups       of Holders            of the          Controlling                   Class            each            representing                   less      than                                 of the
                                                                                                                                                                          Majority                                 Controlling
  Class       the    Trustee        shall       take        the    action           requested by                         the       Holders          of the largest percentage                                 in    Aggregate

  Outstanding           Amount           of the Controlling                         Class            notwithstanding                             any    other          provisions             of the Indenture                       but

  subject      to    such     Holders           having            offered           to        the    Trustee                  indemnity              satisfactory               to    it    against           the    costs          and
  liabilities        that    might        reasonably                   be     incurred              by         it    in       compliance                with        the     request            as      provided                in    the

  Indenture




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   Supplemental Indentures


                 Without          Consent       of Holders


                 Without          the    consent         of the Holders                  of any          Securities              other         than with respect                      to    the      consent        of the

   Majority           of the Controlling                 Class specified                 in clause              15          below             but with the consent                          of the parties the

   consent       of which           is   required          as    described               in the          following               paragraph                the       Co-Issuers                  in   each      instance

   when      authorized           by     resolutions             of the           respective             Boards            of Directors                  and        the    Trustee              at    any     time and

   from      time       to   time        subject          to    the     requirement                   provided                below            with        respect             to     receipt          of          Rating

   Confirmation              may         if     with      respect            to
                                                                                   any        matters            described               in    clauses                     through              23          below        the

   interests      of the Holders               of the          Securities           except            in the          case       of clause               12      below any Holders of Notes

   subject       to    the   applicable          Refinancing                   are      not        materially              and     adversely              affected             thereby           the Co-Issuers
   and     the   Trustee      will       be bound by                   standard of good faith and                                  fair       dealing          in    making such determination
   enter     into     one    or    more        indentures             supplemental                  to     the       Indenture                in    form       satisfactory                to   the    Trustee            for

   any     of the following              purposes


                              to    evidence              the     succession                  of    another                              to    the        Issuer          or    the        Co-Issuer           and       the
                                                                                                                       person

                              assumption              by       the     successor person of the obligations                                           of the Issuer                  or the      Co-Issuer           under

                              the       Indenture and                 in the       Securities



                              to    add       to the      covenants               of the Co-Issuers                    or the        Trustee for the benefit                               of the Noteholders

                              or to surrender any right in the Indenture                                               conferred               on    the      Co-Issuers



                              to    convey          transfer            assign           mortgage                or   pledge any                   property to the Trustee                             or    add    to the

                              conditions              limitations             or restrictions                on       the     authorized                 amount           terms and                                 of the
                                                                                                                                                                                                 purposes
                               issue authentication                         and     delivery          of the Notes



                              to    evidence              and        provide            for    the       acceptance                of     appointment                     under        the       Indenture           by

                               successor            Trustee            and         to    add        to     or        change          any           of     the       provisions              of       the     Indenture

                              necessary to                facilitate          the       administration                     of the        trusts          under       the       Indenture              by     more than
                              one        Trustee          pursuant to the requirements                                     of the Indenture



                              to    correct         or    amplify           the description                 of any            property              at   any time subject                       to the       lien   of the

                              Indenture             or to        better       assure convey                      and        confirm            to    the      Trustee any                 property subject                    or

                              required to be                   subject        to    the       lien    of the Indenture                         including             all       actions          appropriate              as

                              result          of changes          in    law        or to       subject           to the lien             of the Indenture                             additional             property
                                                                                                                                                                               any


                              to        conform                      provision            in       the     Indenture                to    the        related          provision                 in    this    Offering
                                                          any
                              Memorandum                       that    is   intended to be                      verbatim            recitation             of such provision



                              to    modify          the restrictions                 on and          procedures for resales                              and     other         transfers             of the Notes             to

                               reflect        any     changes           in applicable                 law        or        its   interpretation                  or to         enable the Co-Issuers                          to

                               rely on          any      less     restrictive             exemption                  from        registration                 under        the       Securities             Act     or    the

                               Investment             Company                Act or to remove restrictions                                     on resale            and        transfer         to the extent            not

                               required under                  the     Indenture



                               with the consent                   of the Servicer                     to    modify                       the restrictions                  on       the    sales       of Collateral

                               Obligations                described                in    Security                 for        the     NotesSale                       of         Collateral             Obligations

                               Acquisition                of     Replacement                   Collateral                  Obligations                   or               with         the       consent            of    the


                               Majority          of the Controlling                      Class which                   consent            shall not             be unreasonably                      withheld             the


                               Eligibility            Criteria          described              in    Security                 for    the       NotesEligibility                            Criteria            and        the

                               related         definitions              provided               that        for       the    avoidance                of doubt the consent                             of      Majority

                               of       the    Controlling              Class            shall       not        be     required               if    such        amendment                   also       satisfies          the

                               requirements               of clause            24        below




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               to    make        appropriate           changes          for
                                                                                  any     Class of Senior Notes                                 to    be        listed          on       an    exchange
               other       than the      ISE


        10     otherwise          to correct
                                                      any    inconsistency                 or       cure any ambiguity                          or errors                in the          Indenture



        11     to     accommodate                the       issuance           of     the        Senior             Notes         in        book-entry                     form           through               the

               facilities        of   DTC       or   otherwise



        12     to    accommodate                     Refinancing             effected              pursuant to and                    in    compliance                     with the terms of

               the     Indenture             provided         that      no     Holders                  of Notes           or    Preference                     Shares              are       materially

               adversely          affected       thereby           other       than Holders                    of Notes          subject             to    such           Refinancing


        13     to    take       any    appropriate               action       to    prevent              the       Issuer            the     Holders                of      Securities                 or      the

               Trustee          from    becoming             subject          to    withholding                    or    other        taxes          fees           or     assessments                    or    to

               prevent          the    Issuer        from     being          treated          as        being       engaged               in         U.S            trade           or    business or
               otherwise          being       subject        to    U.S        federal              state      or    local       income            tax          on          net       income              basis

               so    long as the action                will      not cause          the       Holders              of any Securities                       to   be        adversely                 affected

               to    any    material          extent        by               change           to     the      timing            character                 or    source of the                        income
                                                                  any
               from      the                          as evidenced             by an opinion                            counsel which                                     be
                                 Securities                                                                        of                                      may                  supported as to
               factual          including        financial          and       capital         markets                matters          by                  relevant              certificates                  and
                                                                                                                                                any
               other        documents                                   or     advisable                 in    the                               of        counsel                                             the
                                                 necessary                                                                judgment                                                  delivering

               opinion


        14     to     authorize         the      appointment                  of    any            listing         agent             transfer             agent             paying              agent           or

               additional          registrar         for            Class of Notes                       appropriate                 in    connection                     with the                              of
                                                            any                                                                                                                                 listing


               any      Class of Senior                Notes         on      the     ISE           or    any       other        stock           exchange                   and           otherwise              to

               amend            the    Indenture            to      incorporate                    any         changes               required              or            requested                  by        any
               governmental              authority            stock          exchange               authority                               agent              transfer                              paying
                                                                                                                           listing                                                   agent
               agent       or additional             registrar      for      any     Class of Notes                       in   connection                 with           its   appointment                      so

               long        as    the    supplemental                 indenture                would            not        materially              and           adversely                     affect
                                                                                                                                                                                                              any
               Noteholders              as    evidenced             by       an     opinion              of counsel                  which                           be                                  as     to
                                                                                                                                                      may                      supported
               factual          including        financial          and                       markets                matters                              relevant              certificates                  and
                                                                              capital                                                 by any
               other        documents                                   or     advisable                 in    the        judgment               of        counsel                                            the
                                                 necessary                                                                                                                          delivering

               opinion           or      certificate          of an          Authorized                 Officer           of the          Servicer                  to    the       effect          that      the

               modification would not be materially                                      adverse              to the      Holders               of any Class of Notes



        15     with the consent               of the Majority                 of the Controlling                          Class        to       amend modify                             enter       into       or

               accommodate               the     execution              of any           contract             relating          to          Synthetic                    Security             including

               posting          collateral       under                                                                                          such                                     action
                                                                  Synthetic              Security             Agreement                    if              particular                                    is   not

               otherwise          permitted under                 the     Indenture



        16     to    modify        certain      representations                   as to       Collateral                in the       Indenture                 in    order that                it
                                                                                                                                                                                                    may        be
               consistent          with applicable                laws or Rating                    Agency requirements


        17     to    evidence          any      waiver        by     any      Rating            Agency               as    to    any         requirement                       or    condition                  as

               applicable of the Rating                       Agency           in   the       Indenture


        18     to    facilitate        the   issuance            of participation                   notes          combination                   notes              composite                  securities

               and     other      similar securities




        19     to   facilitate        hedging         transactions



        20     to    facilitate        the    ability       of the        Issuer         to    lend collateral                   pursuant                 to             Securities                 Lending

               Agreement




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                 21               to    modify            any       provision          to    facilitate               an exchange                    of one           security        for      another           security          of

                                  the        same         issuers          that        has       substantially                       identical             terms         except           transfer              restrictions

                                  including              to effect         any    serial         designation                relating            to    the    exchange


                 22               with the           consent           of the          Servicer             to    enter          into
                                                                                                                                               any     additional                 agreements               not     expressly

                                  prohibited              by     the       thdenture             as    well           as    any       amendment                       modification                   or     waiver           if   the

                                  Issuer       determines               that      the       amendment                      modification                    or     waiver           would not upon                       or     after

                                  becoming               effective           materially               and    adversely                 affect         the rights             or interest            of the Holders                 of

                                  any        Class of Securities                      as    evidenced                 by an          opinion           of counsel which                          may        be    supported
                                  as    to    factual       including                 financial          and          capital         markets               matters          by any           relevant           certificates

                                  and        other        documents                                                                                                               of counsel
                                                                                 necessary or                    advisable                 in the       judgment                                           delivering             the

                                  opinion            or         certificate            of an          officer          of the Servicer                       to    the       effect       that       the    modification

                                  would not be                  materially             adverse           to the            Holders              of any       Class of Securities                           provided            that

                                  for     the       avoidance              of doubt               this       clause             22             shall       not        permit        the       Co-Issuers               and        the

                                  Trustee           to    effect       any       amendment                   that       expressly                requires             the    consent            of the Majority                    of

                                  the     Controlling               Class without                 such       consent



                 23               to    provide           for the       issuance            of additional                   Preference Shares                           to the        extent         permitted by the
                                  Preference               Share           Documents                  and        to    extend              to    such        additional               Preference                 Shares           the

                                  benefits          applicable             to    the       Preference Shares                         under        the       Indenture              and    the       Preference Share

                                  Documents                 or




                 24               to      prevent          the        Issuer          from        becoming                      an     investment                      company                 as     defined            in       the

                                  Investment               Company                Act       or    to    better          assure            compliance                  with the           requirements                   of Rule

                                  3a-7 and/or               to       remove           transfer           restrictions                 and        other           requirements                  relating          to     Section

                                  3c7               provided               that       as          condition                to        the       effectiveness                 of any            such         supplemental

                                  indenture               each        of the          Issuer           the       Trustee             and        the     Servicer              shall       have         received

                                  Rating        Confirmation                     with respect                to        such          supplemental                     indenture           and                     customary

                                  opinion            of    counsel              which            may         be        supported                 as    to       factual           matters           by      any        relevant

                                  certificates             or       other        documents                                             or       advisable               in    the                                of     counsel
                                                                                                             necessary                                                                   judgment

                                  delivering              such        opinion              from              nationally                   recognized                  law     firm providing                      that         after

                                  giving effect                to    such       supplemental                 indenture                    the Issuer             is   exempt from                registration                as   an

                                  investment                company                   under       the       Investment                 Company Act                       in reliance             on       the    exemption

                                  provided            by Rule          3a-7



                 Without            the      consent           of the Servicer                    no     supplemental                      indenture
                                                                                                                                                                  may         be    entered into                 that    would
   reduce       the        rights       decrease            the      fees        or    other          amounts              payable               to    the        Servicer          under           the     Indenture              or

   increase      the       duties       or obligations                of the Servicer                    The Trustee                      is    authorized             to join        in the        execution            of any

   such   supplemental                  indenture           and       to   make any               further             appropriate                agreements                 and     stipulations                that    may be
   in   the    agreements               but the Trustee                    should not be                 obligated               to       enter       into               such       supplemental                  indenture
                                                                                                                                                                 any
   that   affects          the    Trustees               own        rights        duties          liabilities              or    immunities under                            the    Indenture               or    otherwise

   except       to    the    extent          required           by     law        Unless notified                       by            Majority              of any           Class of Securities                        that      the

   Class of Securities                  would be                                  and        adversely                affected             the    Trustee                                 on         certificate             of the
                                                            materially                                                                                                 may        rely

   Servicer          and    an                      of counsel which
                                  opinion                                                   may be supported                          as to          factual          including               financial          and     capital

   markets           matters                        relevant          certificates               and     other         documents                                                                      in
                                       by any                                                                                                     necessary or advisable                                    the   judgment
   of counsel              delivering           the       opinion            as       to    whether              the       interests             of any           Holder            of    Securities              would be

   materially          and       adversely           affected          by any such                supplemental                       indenture



                 If   any Outstanding                     Notes        are rated            by         Rating Agency                           the    Trustee will enter                       into         supplemental
   indenture          without           the     consent             of Holders              only        if   either                    the       Rating           Condition               with        respect           to    each

   Rating Agency                  is   satisfied          with respect                to   the    supplemental                       indenture              or           the Servicer                 and       the    Holders

   of 100%           in    Aggregate           Outstanding                 Amount of each                        Class of Notes                      the    ratings          on    which         would be reduced
   or   withdrawn            consent           to    the    supplemental                    indenture                  Prior         to    the entry              into              supplemental                  Indenture
                                                                                                                                                                            any
   with       respect        to   which              Rating           Confirmation                    for    one           or    more Classes of Notes                                   is    not     expected              to   be

   delivered           the    Trustee           shall       provide             written          notice          to    each          Holder            of each           Outstanding                  Note        informing
   them of such fact

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                At        the     cost          of the       Co-Issuers                  the        Trustee           will          mail to         the    Noteholders                   the        Preference           Shares

  Paying Agent for forwarding                                      to    the       Holders              of Preference                  Shares          the      Holding            Preference Shares                     Paying

  Agent for forwarding                            to    the       Holders               of Holding              Preference                Shares            each        Rating          Agency            for     so     long as

  any    Notes            are    Outstanding                  and        rated          by         Rating        Agency                 and      each       Hedge            Counterparty                                of any
                                                                                                                                                                                                                copy
  such                                                         indenture                                       Business Days before                                    execution                                          or
          proposed               supplemental                                           at    least 15                                                           its                         by the Trustee                       60

  calendar days                 before execution                       in the       case of               supplemental                    indenture             for the                           described         in    clause
                                                                                                                                                                              purpose
         above         which           shall      be        identified             as    such       in     certificate                 of the Servicer                  delivered            to     the   Trustee         before

  the date      on        which           such        notice       is    required             to   be    given

                With           Consent            of Holders


                If    the       Rating           Condition              is   satisfied             with respect                to   each       Rating Agency                       with the consent                 of           the

  Servicer           if    the        supplemental                  indenture                 would reduce                       the      rights          decrease            the       fees        or other        amounts

  payable        to       it   under        the       Indenture               or    increase             the    duties           or    obligations               of the        Servicer                          Majority         of
  each    Class of Notes                        adversely           affected             thereby           by Act of                the     Holders         of each           such       Class of Notes                  and

    Majority              of the Preference                       Shares           adversely             affected                               the    Trustee and                 the       Co-Issuers
                                                                                                                               thereby                                                                            may          enter

  into         supplemental                     indenture           to       add                                          to     or                   in               manner           or eliminate                      of the
                                                                                    any           provisions                           change               any                                                   any

  provisions              of     the       Indenture              or     modify              in            manner              the     rights        of the Holders                     of the        Notes        under         the
                                                                                                   any
  Indenture



                Any proposed                          supplemental                  indenture             that       would            also     necessitate                   change          to     the    Issuer       Charter

  or     the    memorandum                        and        articles          of association                   of Investors                   Corp may                  only be             made         after          Special

  Resolution              as     defined                               has been                                                                             or
                                                      therein                                passed        to    permit the Issuers                                  Investors           Corp.s            constitutional

  documents               to    be    altered          to    conform            with such                proposed              change           to the      Indenture              as certified            to the       Trustee

  by    the    Issuer



                Notwithstanding                         anything               in the         Indenture               to    the       contrary            without            the    consent          of the Holder                of

  each    Outstanding                     Note adversely                     affected              thereby           and       the     Holder         of each           Outstanding                  Preference            Share

  adversely           affected             thereby           no     supplemental                    indenture              shall




                                                       change            the    Stated             Maturity of the principal                               of or the due                date        of any       installment

                of interest on                              Note        or     of any                                to    the      Preference Shares                                                     for                     to
                                                  any                                          payment                                                                   Paying           Agent                  payment
                the        Holders              of the Preference                       Shares            reduce           the        principal        amount            or    the      rate        of interest          on     any
                Note            or the          Default        Interest            Rate           or the   Redemption                       Price     with respect                 to   any       Note      or   Preference

                Share             or       change           the     earliest             date       on     which               Notes        of any          Class or           Preference                 Share         may       be
                redeemed                   at    the        option           of the          Issuer        change                the      provisions                 of the        Indenture              relating        to     the

                application                 of proceeds                  of any          Collateral             to    the      payment           of    principal             of or interest                on    Notes         or to

                payment                to       the    Preference                  Shares          Paying            Agent            for      payment           to     the    Holders              of the       Preference

                Shares               or    change            any       place        where            or the          coin        or    currency            in    which         Notes           or    their principal              or

                interest             are    paid or impair the right to                                                     suit for the            enforcement                of any          such
                                                                                                        institute                                                                                          payment on             or

                after          their Stated                 Maturity           or        in       the    case        of redemption                    on    or       after the          applicable              Redemption
                Date


                                     ii                reduce          the     percentage                of the Aggregate                       Outstanding                  Amount            of Holders           of Notes
                of each              Class or Holders                        of Preference                 Shares              whose consent                    is   required           for the       authorization               of

                any            such       supplemental                  indenture                 or for   any            waiver        of compliance                    with certain                provisions           of the

                Indenture                  or     certain          defaults              under           the     Indenture                or    their                                        provided             for     in     the
                                                                                                                                                            consequences
                Indenture



                                     iii               permit the creation                          of any           lien      ranking          prior      to or        on         parity         with the lien of the
                Indenture                 with                         to                          of the       Collateral                or    terminate              the    lien      on
                                                      respect                 any       part                                                                                                   any        property        at    any
                time subject                    hereto                                   the       Holder        of any             Note       of the                          afforded
                                                              or       deprive                                                                              security                                by the lien of the
                Indenture




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                                       iv               reduce         the       percentage                of the Aggregate                        Outstanding             Amount                of Holders                  of Notes

                  of each              Class whose consent                          is   required            to       request          the       Trustee to retain the Collateral                                      pursuant to
                  the       Indenture              or to      sell    or liquidate               the Collateral                   pursuant to the Indenture



                                                        modify             any      of     the        provisions                 of the            Indenture             with     respect              to         supplemental
                  indentures                or     to     provide            that        certain           other        provisions                 of the        Indenture             cannot               be     modified           or

                  waived              without           the     consent          of the Holder                   of    each       Outstanding                 Note        and    Preference Share                            affected

                  thereby



                                       vi               modify          the       definition                of Outstanding                            Controlling                Class             or        Majority                 or

                  the Priority               of Payments                   in the        Indenture               or




                                       vii              modify         any        of the         provisions                 of the           Indenture           in      such         manner                as     to    affect      the

                  calculation                of the amount of any                           payment                of Redemption                      Price         or   of interest or principal                              on    any
                  Note           or    any payment                to the         Preference Shares                          Paying Agent for the payment of dividends                                                        or other

                  payments               on      the      Preference Shares                       on        any       Payment Date                    or to      affect     the       rights          of the Holders                  of

                  Notes           or    Preference               Shares to the benefit                           of any          provisions              for the         redemption               of the Notes                  or the

                  Preference                Shares            contained in the Indenture



                  Not        later      than        15     Business Days                        prior       to    the       execution              of any        proposed              supplemental                      indenture


  pursuant             to        the    above            provision                the      Trustee                at       the                           of     the      Co-Issuers                   will         mail        to    the
                                                                                                                                      expense
  Noteholders                    the        Servicer             the       Preference                 Shares            Paying               Agent for forwarding                                to     the         Holders           of

  Preference                Shares               the      Holding            Preference                 Shares              Paying            Agent for forwarding                                to        the        Holders        of

  Holding          Preference                 Shares and                each        Rating            Agency so long                         as     any     rated        Notes        are    Outstanding                            copy
  of such          proposed                 supplemental                    indenture             and        will           request          any         required         consent            from            the        applicable

  Holders          of Securities                   to     be     given           within         the     Initial         Consent              Period              Any      consent            given            to         proposed

  supplemental                    indenture              by     the    Holder             of any            Securities                will       be      irrevocable            and        binding                on     all    future

  Holders          or        beneficial             owners            of that            Security                irrespective                of the        execution             date        of       the         supplemental
  indenture                 If   the    Holders               of less than the required                                percentage                of the Aggregate                     Outstanding                      Amount         of

  the relevant               Securities             consent           to         proposed             supplemental                     indenture           within the            Initial         Consent                Period        on

  the     first    Business Day                     after the          Initial         Consent              Period           the       Trustee           will notify            the    Issuer          and         the       Servicer

  which       Holders                 of Securities              have        consented                to    the       proposed               supplemental                indenture               and         which           Holders

  and       to    the extent                such        information               is   reasonably available                             to    the     Trustee            which        beneficial                 owners             have

  not consented                   to    the      proposed             supplemental                    indenture                  If    it   intends        to    exercise         its      Amendment Buy-Out
  Option         the Amendment Buy-Out Purchaser must                                                            so notify             the    Trustee which                 notice           will designate                         date

  for the        Amendment Buy-Out to occur no earlier                                                           than       10 Business                  Days       after the          date       of such               notice        no

  later    than five Business Days after the Servicer                                                       is   so notified                by     the    Trustee and            the       Trustee will promptly

  mail such notice                     to    all    Noteholders                  the     Preference Shares                            Paying Agent for forwarding                                      to    the        Holders       of

  Preference                Shares and                  the     Holding            Preference                Shares              Paying            Agent for forwarding                            to       the        Holders        of

  Holding              Preference              Shares                 Any         Non-Consenting                            Holder           may         give       consent           to    the        related           proposed

  supplemental                   indenture              until    the       5th   Business Day                    prior       to the date              of the Amendment                          Buy-Out designated
  by    the      Amendment Buy-Out                                Purchaser                and         in    such          case       will       cease to           be      Non-Consenting                              Holder        for


  purposes             of    the       Amendment                  Buy-Out                  If    the       Amendment Buy-Out                                  Purchaser exercises                           its    Amendment

  Buy-Out Option                        and        purchases           the       applicable                Securities                 the    Amendment                   Buy-Out Purchaser                              as     Holder

  or    beneficial                owner            of the                                  Securities                             consent             to      the     related         proposed                    supplemental
                                                                 applicable                                            may
  indenture            within five Business Days of the                                          Amendment Buy-Out


                  It    is       not    be       necessary             for       any       Act        of Noteholders                         under         the      above        provision                  to     approve           the

  particular            form           of any           proposed            supplemental                    indenture                 but     it    shall     be      sufficient            if   the        Act         or   consent

  approves             its   substance



                  The            Trustee           at    the     expense               of the         Co-Issuers                  will       mail to            the      Noteholders                   the        Servicer           the

  Preference                 Shares          Paying             Agent for forwarding                                   to    the       Holders             of    Preference                Shares                  the       Holding
  Preference                Shares          Paying            Agent         for forwarding                       to    the       Holders            of Holding             Preference                  Shares and                   each

  Rating         Agency                 copy            of any       supplemental                  indenture                 promptly              after      its   execution              by    the        Co-Issuers               and

  the     Trustee

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  Additional                 Issuance            of Preference                  Shares



                     The      Preference              Share            Documents                will       provide            that        at    any     time during                the     Replacement                     Period
  the    Issuer                                 and                                        Preference                 Shares
                         may        issue                sell      additional                                                        and        use the proceeds                     from          such     issuance              and
  sale     to    purchase                additional          Collateral              Obligations or as otherwise                                       permitted under                     the      Preference                  Share
  Documents                  and         the    Indenture                provided               that       the        following                conditions             are     met                   the     terms              of the
  Preference               Shares         issued         must          be identical             to the          terms of previously issued                              Preference Shares                        and              the

  net    proceeds              of any           additional             Preference               Shares           are       used      to                          additional           Collateral
                                                                                                                                           purchase                                                             Obligations
  Such      additional               Preference              Shares            may        be     offered             and      sold    at        prices      that      differ       from         the       initial         offering

  prices         of      the       outstanding               Preference                   Shares            provided                that        the     initial                                             of       additional
                                                                                                                                                                       offering            prices

  Preference               Shares          shall      not be           below 100% of                      the    face        amount thereof                       The       Issuer       must cause purchases
  of additional                Preference              Shares           made pursuant                      to    an     additional              issuance           of Preference                   Shares            to    comply
                              and     in the
  individually                                        aggregate with the                        applicable              purchase               and     transfer         restrictions               for the       Preference
  Shares         set     forth      herein in Transfer                         Restrictions                     and     all                            laws       rules       and
                                                                                                                               applicable                                             regulations                including
  without              limitation                      rules                                        and     procedures                of any             securities
                                               any                      regulations                                                                                           exchange                    self-regulatory

  organization                or clearing             agency


                  Any         additional              Preference              Shares            issued          will to the extent                                                                         be    offered
                                                                                                                                                       reasonably             practicable                                          by
  the    Issuer          first      to     the     existing             Holders            of the          Preference                Shares            in    such       amounts               as                                    to
                                                                                                                                                                                                    are     necessary
  preserve             their    pro        rata       holdings            of the Preference                           Shares          By         its                            of the          Preference                 Shares
                                                                                                                                                       acceptance
  each     Holder             of         Preference               Share                                                         Preference                  Shares
                                                                               agrees that                 additional                                                     can      be      issued          in    accordance
  with the Preference Share                              Documents                  and        the     Indenture              without           consent          of any       Holder            of the Securities


                  It    is    expected            that    Investors              Corp           will       finance            the                        of any         additional                 Class         Preference
                                                                                                                                     purchase
  Shares         issued          by       the    Issuer                                   additional                                  Preference                 Shares         in         number                                 the
                                                                  by    issuing                                      Holding                                                                                 equal to
  aggregate              number            of and            at          price       equal           to    the        price        of such             additional             Class             Preference                     Shares
                               it
  purchased              by



                  Except            as     contemplated                   in     connection                 with              Refinancing                   the       Indenture            does        not       permit           the

  issuance             of additional                 Class A-ia Notes                           Class A-lb Notes                               Class A-2 Notes                     Class              Notes Class
  Notes         or     Class             Notes        or other                                      with terms similar to those                              of such          Classes of Notes                            See
                                                                        obligations

  Redemption                  by Refinancing


  Amendment Buy-Out


                  In     the       case        of any        supplemental                      indenture              that                        the    consent             of one           or    more Holders                   of
                                                                                                                              requires

  Securities             the       Amendment Buy-Out                                Purchaser               shall       have         the        right       but     not      the     obligation                 to    purchase
  from      Non-Consenting                            Holders           all    Securities                 held                such        Holders            of the          Class         of      Securities                  whose
                                                                                                                      by
  consent              was     solicited              with                          to     such                                           indenture                     with                                              Class
                                                                  respect                                 supplemental                                           or                respect            to     any
  Preference Shares                       held by Investors                    Corp             if   the    consent            of the Holders                    of Holding             Preference               Shares           has
  been      solicited                to        purchase            from                                                                         Preference               Share           Holders
                                                                                 Non-Consenting                            Holding                                                                           all          Holding
  Preference               Shares          held by           such         Holders              the        Amendment                            Buy-Out            Option                 in     each        case           for    the

  applicable               Amendment Buy-Out                                   Purchase               Price            provided                however            that       the      Amendment Buy-Out
  Purchaser may                     not exercise              the       Amendment                                                                           the     Non-Call             Period                  connection
                                                                                                      Buy-Out Option                           during                                                      in

  with          proposed              amendment                   to   reduce            the    rate      of interest           on                   Securities         or    to                     the     earliest            date
                                                                                                                                          any                                        change
  on    which           Notes        of any           Class or Preference                            Shares                    be    redeemed
                                                                                                                     may                                    at    the     option         of the Issuer                     If    such

  option         is     exercised               the      Amendment                       Buy-Out             Purchaser               must             purchase          all     such          Securities                  of    Non-
  Consenting                 Holders            and    all    such        Holding               Preference                 Shares         of the        Non-Consenting                        Holding            Preference
  Share     Holders                 as    the    case     may be               in    each        case        for the          applicable               Amendment                Buy-Out Purchase                                Price
  regardless             of     the       applicable                                           of    the                                                              Amount             of     the        Securities             the
                                                                   percentage                                   Aggregate             Outstanding
                     of whose
  consent                                  Holders           is    required               for    such           supplemental                    indenture          an Amendment Buy-Out
  provided             that    if               Non-Consenting                      Holder            holds Class               II    Preference                 Shares                 such
                                     any                                                                                                                                                            Non-Consenting
  Holder         will        sell     such       Class        II       Preference              Shares           to    Investors                          and       such       Preference               Shares                      be
                                                                                                                                               Corp                                                                        will

  redesignated                as    Class             Preference               Shares            ii        Investors                            will     issue        additional                                 Preference
                                                                                                                                Corp                                                          Holding
  Shares         in           number             equal        to        the                               number              of     and
                                                                               aggregate                                                         at         price       equal         to      the      price              of such
  redesignated Preference Shares                                       purchased               by    it   and        iii the Amendment                           Buy-Out Purchaser                         will       purchase

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   such     additional               Holding                  Preference                Shares              in    lieu       of      such        redesignated                 Preference              Shares                    By        its


   acceptance            of    its    Securities                under         the       Indenture                or     the     Preference              Share        Documents                  as    applicable                  each

   Holder      of Securities                    agrees           that        if   the        Amendment Buy-Out                                   Option        is    exercised              any       Non-Consenting
   Holder     and                   Non-Consenting                       Holding                  Preference                 Share         Holder        will       be    required           to    sell        its
                          any                                                                                                                                                                                        applicable

   Transaction               Securities                  to    the      Amendment                           Buy-Out                Purchaser               Neither                 the    Amendment Buy-Out
   Purchaser nor any                     other           Person         shall          have                                     to              Holder         or    beneficial            owner of Transaction
                                                                                                      any    liability                any
   Securities        as        result          of an election                     by    the      Amendment Buy-Out                               Purchaser not to exercise                            the       Amendment

   Buy-Out Option


                All      purchases              made pursuant                          to    an       Amendment Buy-Out                             Option          individually               and        in   the    aggregate
   must     comply with                       the     applicable                  transfer            restrictions              for       the    relevant           Transaction                 Securities             set       forth

   herein     in     Transfer                 Restrictions                    or       in    the       Investors             Corp          Offering        Memorandum                      as     applicable                and       all


                        laws        rules       and                                                               without
   applicable                                                 regulations              including                                     limitation           any rules regulations                           and        procedures
   of any    securities              exchange                  self-regulatory                    organization                  or clearing             agency

                In      addition              the Servicer              has agreed                    with one           or     more Multiple Class Holders                                 to    purchase                 at   the

   option    of each           such           Multiple Class Holder                                   Securities           or      Holding          Preference Shares                       as the             case may           be
   held or in the case of Notes                                 represented                  by Global Notes beneficially                                   owned             by such          Multiple              Class

   Holder     in     connection                 with an Amendment                                 Buy-Out               if    such        Securities        or       Holding             Preference              Shares              as

   the   case may            be      are not             subject        to    such           Amendment Buy-Out                               and       other    Securities                or    Holding              Preference

        as the case may be held or beneficially
   Shares                                       owned                                                                         by such            Multiple           Class Holder               are    subject          to       such

   Amendment Buy-Out See Risk FactorsRelating       to                                                                        the    SecuritiesAn Amendment                                     Buy-Out May
   Result in            Short holding                     Period Than                   Expected




   Notices



                Notices             to    the       Holders            of the Securities                         will      be      given by            first-class            mail postage                                      to    the
                                                                                                                                                                                                           prepaid

   registered           Holders               of the           Notes         at    their respective                        addresses appearing                           in    the       Indenture              Register              the

   Preference           Shares           Paying               Agent for forwarding                                 to    the        Holders            of Preference                 Shares and                 the        Holding
   Preference Shares                     Paying               Agent     for forwarding                           to the         Holders          of Holding              Preference Shares                            If    and       for

   so    long as any            Class of Senior Notes                                  is    listed         on    the      ISE       and     the rules          of the exchange                      so    require notice
   will also       be     given to the Company                                Announcements                           Office of the ISE



              Any            Holder            or    beneficial               owner of any                       Class A-i                Notes        may     elect          to    acquire       bond insurance

   surety    bond                  credit           default          swap          or       similar          credit          enhancement                 supporting                 the    payment               of principal

   and/or     interest          on such              Class        A-i         Notes              on    terms and              conditions               acceptable             to    such     Holder             or    beneficial

   owner     and        at    the    sole
                                                expense              of such Holder                         or beneficial                 owner          On    or    after          any    such      acquisition                  such

   Holder      or       beneficial              owner may                    deliver              notice          and         if   from            beneficial             owner                      such        notice          shall
                                                                                                                                                                                           any
   include       certification                 that           such     owner                is        beneficial              owner          of the       Class          A-          Notes           to    the       Trustee              in


   substantially             the     form       set       out in the              Indenture                 specifying               the    name and            contact             information of the insurer

   surety credit              protection                 seller or       enhancer                 of such Class A-i Notes                                each        an       Insurer                     After receipt                   of

          such       notice         by        the    Trustee            the        Trustee             shall                    the       related       Insurer          on    all       notices                           or other
   any                                                                                                             copy                                                                                   reports

   documents            delivered              to    the       Noteholders



   Certain       Covenants


                The          Indenture               contains            certain                 covenants              restricting              the    conduct           of the           Co-Issuers                 including

         restrictions           on       consolidations                       mergers and                        transfers           or    conveyances                   of assets          involving                either          Co
   Issuer     ii        restrictions                on    incurrence               of debt other                   than the Notes                   and     certain           obligations             incidental                to    the

   performance                by     each       Co-Issuer               of        its       obligations               under          the    Indenture               iii restrictions                 on        the    ability             of

   either     Co-Issuer                  to     conduct               activities                 inconsistent                 with         its    special-purpose                        nature       and            iv     certain

   restrictions          on    amendments of                         the Collateral                    Administration Agreement                                 and       the       Servicing             Agreement




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  Certain            Additional                  Issues Relating                       to      Listing of Senior                          Notes



                    Application                  will        be       made        to      admit            each        Class            of Senior           Notes           to     the       Official           List       of the           ISE
  There        can        be no       assurance               that                  such         admission                 will     be       granted or maintained
                                                                            any


                    The     Indenture                 provides              that so long as any Senior Notes                                              remain           Outstanding                   the    Co-Issuers                  shall

  use    all    reasonable                 efforts          to    obtain          and       maintain                  the    listing          of the Senior Notes                       on     the                              market           of
                                                                                                                                                                                                         regulated

  the    ISE         provided              that       the     Co-Issuers                will          not be          required            to   maintain                listing          on          stock exchange                        in   the

  European                Union            if    compliance                   with          requirements                         of the         European               Commission on                               member                   state

  becomes burdensome                                in    the sole           judgment of                        the   Servicer



  Cancellation


                    All    Securities                 that       are    paid in           full        or    redeemed and                       surrendered for cancellation                                    will forthwith                   be
  canceled           and                   not be         reissued                   resold
                             may                                               or



  No Gross-Up


                    All
                            payments                  made            by     the     Issuer            under           the        Securities              will    be       made          without           any        deduction                  or

  withholding                for          or     on       account             of                  tax           unless           the     deduction               or
                                                                                       any                                                                                 withholding                is       required by                     any
  applicable              law        as    modified               by the practice                     of any           relevant              governmental                  revenue                                 then in effect
                                                                                                                                                                                              authority
  if    the     Issuer          is     so       required               to    deduct              or    withhold                   then        the     Issuer          will        not     be                               to
                                                                                                                                                                                                    obligated                        pay       any
  additional              amounts              in                      of the withholding                             or    deduction
                                                    respect



  Petitions              for Bankruptcy



                    The     Indenture                 provides               that      the       Trustee               each        Hedge            Counterparty                  the        Servicer           and        the       Holders
  of the Notes                             not cause the Issuer                                  Co-Issuer                                                                         before one               year and
                            may                                                           or                               to petition              for   bankruptcy                                                                 one       day
  have        elapsed since                     the    final       payments                 to    the           Holders           of    all    Notes        or    if       longer         the       applicable              preference
  period then in effect                             including               any period established                                pursuant to the laws of the                                Cayman             Islands



  Standard of Conduct


                    The     Indenture                 provides               that         in     exercising                 any         of    its    or    their voting                 rights        rights          to    direct             and
  consent           or    any     other          rights          as         Noteholder                 under           the       Indenture                             to the       terms and                  conditions of the
                                                                                                                                                      subject

  Indenture                 Noteholder                    shall         not       have                     obligation               or       duty to                  Person            or    to    consider           or        take          into
                                                                                               any                                                         any
  account           the    interests             of any Person                      and      shall         not be           liable to                                                                                                      them
                                                                                                                                               any Person              for       any action              taken        by        it   or

  or    at    its    or their direction                      or       any     failure            by        it    or   them         to    act    or to       direct         that     an       action        be     taken              without

  regard to              whether           the        action           or    inaction            benefits              or                            affects                  Noteholder                   the
                                                                                                                             adversely                                any                                          Issuer or any
  other       Person except                         for      any                            to    which               the        Noteholder                           be                       to    the        extent           the       same
                                                                        liability                                                                         may               subject

  results       from        the       Noteholder                        taking          or                             an        action         or                    to    take        or    direct        an                         in      bad
                                                                                                 directing                                            failing                                                      action
  faith or          in    violation             of the express terms of the Indenture



  Satisfaction              and Discharge                          of Indenture



                    The     Indenture                 will        be    discharged                    with respect                  to   the        Collateral             upon         delivery           to    the       Trustee             for

  cancellation              of       all   of the Notes or within                                     certain              limitations                                     the                             to               interest
                                                                                                                                                    including                      obligation                    pay                            on
  or principal             of the Notes                                                     with the Trustee of funds sufficient                                              for the
                                                             upon           deposit                                                                                                            payment            or       redemption
  thereof           and    the       payment by                   the       Co-Issuers                or the           Issuer as applicable of                              all    other          amounts due                   under          the

  Indenture



  Trustee



                    Investors              Bank               Trust          Company                   will       be       the     Trustee           under        the       Indenture                 The        Co-Issuers                    the

  Servicer           and     their respective                      Affiliates                          maintain
                                                                                            may                                  other       banking        relationships                    in    the    ordinary course of
  business with the Trustee and                                                                            The
                                                                       its    Affiliates                              payment of                the fees         and       expenses                of the Trustee relating


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   to    the   Notes            is   solely        the       obligation                  of the          Issuer        The        payment of                the       fees       and        expenses             which           will       be

   paid in accordance                          with the Priority of Payments                                        is   secured           by         lien       on the Collateral                        which        is   senior          to

   the    lien       of      the       Holders               of the            Notes                The        Trustee            and     its       Affiliates              may         receive           compensation                      in


   connection              with the purchase                             of trust assets                  in certain           Eligible          Investments                     as    provided            in    the     Indenture

  Eligible         Investments                     may            include               assets      for        which      the      Trustee            or    its       Affiliates             provide            services               The
   Indenture            contains               provisions                 for       the        indemnification                    of the        Trustee           for                   loss                           or
                                                                                                                                                                             any                    liability                expense

   including               reasonable                  attorneys fees                        and      costs       incurred              without        negligence                      willful        misconduct                  or   bad

   faith arising             out of or             in   connection                      with the acceptance                       or administration                    of the Indenture



                 Pursuant                 to     the        Indenture                   as     security         for     the       payment            by     the        Issuer           of the           compensation                  and

   expenses           of the Trustee                        and        any         sums         the      Trustee         may       be     entitled          to    receive              as    indemnification                      by    the

   Issuer the Issuer                      will         grant       the        Trustee                 senior       lien      on    the     Collateral                 which            is   senior        to     the   lien       of the

   holders       of the Secured                        Obligations on                        the Collateral




                 Pursuant to the Indenture                                                   Trustee may resign                          any time by providing 30
                                                                                    the                                             at                                                               days        written          notice

   to    the   Co-Issuers                   the        Servicer               the       Holders           of each        Class of Notes the Preference                                             Shares        Paying           Agent
   for forwarding                      to    the        Holders               of Preference                    Shares          the       Holding           Preference                  Shares         Paying           Agent for
   forwarding              to     the       Holders           of Holding                     Preference            Shares and                 each        Rating           Agency upon                     receipt          of which

   the    Co-Issuers                 shall        at    the       direction              of        Majority            of the Controlling                       Class           promptly             appoint                successor

   trustee      that        meets           the    requirements                         set forth         in the       Indenture                if   no     successor trustee                        is    appointed              within

   60    days    after           such       notice            the resigning                     Trustee or any                 Holder           of         Class of Notes                     may         petition          any     court

   of competent                  jurisdiction                for the           appointment                     of such        successor               The Trustee may be removed                                                  at   any
   time by            Majority                 of the Controlling                            Class or          ii by         order of               court       of competent                   jurisdiction                 If    at   any
   time the          Trustee                ceases           to    be         an        eligible         trustee       under         the      Indenture                and        fails       to     resign          after       written


   request       by        the       Co-Issuers                   or          Majority              of the       Controlling               Class           or     the       Trustee           becomes incapable                             of

   acting       or      is       adjudged               bankrupt                or       insolvent              then                the       Co-Issuers               may             and      at       the     direction             of

   Majority          of the Controlling                            Class shall                  remove           the     Trustee          or               any     Holder              of      Security              may     petition

           court          of competent                      jurisdiction                  for      the    removal            of the Trustee                     and        the    appointment                   of          successor
   any
   trustee         if      the       Trustee           is    removed                or       becomes incapable of acting                                   or    if
                                                                                                                                                                           vacancy            occurs in the office                          of

   the    Trustee            for      any         reason other                          than resignation                     the     Co-Issuers                 shall       promptly                appoint                 successor

   trustee            If     the          Co-Issuers                   fail        to    appoint                 successor              trustee        within              60      days        after           the     removal              or

   incapability              or      the     occurrence                  of the vacancy                          successor trustee                     may be               appointed              by          Majority           of the

   Controlling               Class by written                          instrument                   If    no    successor trustee                    has been               so    appointed               by the Co-Issuers

   or      Majority               of the Controlling                           Class            then the Trustee                   to    be replaced                  or    any        Holder         of         Security              may
   petition      any         court          of competent                      jurisdiction                for the        appointment                 of         successor trustee                          Notwithstanding

   anything           to        the       contrary                no      resignation                    or    removal            of     the     Trustee              will        become              effective             until       the

   acceptance              of appointment                         by          successor trustee                    pursuant to the terms of the Indenture



   Governing Law


                 The             Notes            the        Indenture                    the      Preference                Shares           Paying            Agency                Agreement                  the        Servicing

   Agreement                    the       Collateral                   Administration                         Agreement                 the     Subscription                     Agreements                      the     Securities

   Lending           Agreements and                           the        Hedge            Agreements               will       be governed                  by the laws of the State                              of    New         York
   The      Administration                        Agreement                     and          the    Issuer        Charter           will       be     governed                   by     the        laws        of the        Cayman
   Islands



   Method            of Payments



                 Payments of                       principal              and           interest         on     any      Note       or    payments                on       or     in    respect           of    the    Preference

   Shares       including                   any        Redemption                       Price       paid on         the      applicable              Redemption                    Date            and     of    any        payments
   on     any    Notes               or     Preference                   Shares              will        be    made       to      the     person            in    whose name                        the        related       Note           or

   Preference               Share           is    registered                  fifteen          days           before     the       applicable              Payment                Date        the Record                      Date
   Payments               will       be     made                   in         the       case       of          Global        Note        to     the       Depository                   or    its    designee           and        to    the

   Holder        or        its    nominee               with respect                      to        Definitive            Security              by     wire transfer                    in     immediately                  available

   funds to                United            States          dollar            account             maintained             by       the    Depository                  or     its       nominee            with respect                 to

   Global        Note            and        to    the       Holder             or        its   designee           with        respect          to          Definitive                 Security            if    the    Holder           has

                                                                                                                        94
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  provided            written          wiring instructions                             to    the     Trustee               and           if    the     payment              is    to    be made               by        the    Irish    Paying
  Agent          the       Irish           Paying               Agent on                or      before           the           related              Record          Date           or        ii         jf
                                                                                                                                                                                                  appropriate                           wiring
  instructions              are       not received                    by        the    related         Record                  Date           by      check        drawn on                   U.S bank mailed                            to    the

  address of the Holder                               in    the       Indenture              Register            or             in the             case of the Preference                           Shares               the    Preference
  Share         register               Final                                     of principal                   of the              Notes            or     Preference                 Shares           will       be     made
                                                       payments                                                                                                                                                                         against
  surrender            of the           related             Notes            or       Preference                Shares                        the      office                                            the           Trustee         and     the
                                                                                                                                     at                                designated                 by
  Preference               Shares          Paying               Agent             None          of the Issuer the                               Co-Issuer               the       Trustee               the       Preference            Shares

  Paying         Agent            the       Servicer               the          Initial      Purchaser                    any        paying               agent        or               of their respective                          affiliates
                                                                                                                                                                             any
  will    have                                                    or                         for                                     of the records                    maintained
                       any    responsibility                               liability                 any        aspects                                                                            by the Depository                      or       its

  nominee             or   any        of     its      direct          or     indirect           participants                    including                  Euroclear              or     Clearstream                     or            of their
                                                                                                                                                                                                                               any
  respective           direct          or indirect                participants                  relating             to        payments               made on account                         of beneficial                   interests        in

  Global         Note


                  The        Co-Issuers                    expect            that       the         Depository                      or    its       nominee             upon             receipt             of     any        payment             of

  principal           or interest             in respect                of            Global         Note        held by the Depository                                     or     its       nominee               will       immediately
  credit        participants                   accounts                 with                                    in    amounts                                                     to      their                                  beneficial
                                                                                       payments                                                    proportionate                                        respective

  interests           in the      Global              Note         as       shown on                the    records                  of the Depository                        or        its   nominee                    The     Co-Issuers
  also     expect that                payments                   by    participants                  i.e         direct              participants                 to    owners               of beneficial                    interests       in

  Global         Note         held           through              the                                  i.e                 indirect                                              will        be
                                                                                participants                                                       participants                                     governed                  by standing
  instructions             and        customary                  practices              as     is   now the               case           with securities held for the accounts                                                of customers

  registered           in the          names of nominees                                  for the          customers                          The      payments              will        be       the     responsibility                 of the

  participants



                  For       so    long         as                  Senior Notes                      are    listed              on        the       ISE and            the       rules        of the exchange                          shall       so
                                                       any
  require the Issuer                       and     the          Co-Issuers                      applicable will have
                                                                                          as                                                          the Irish         Paying Agent for the Senior Notes
        Ireland        and                                 on              Senior Notes                   may be
  in                                                             the                                                            effected
                                 payments                                                                                                            through           the       Irish       Paying Agent                       If   the Irish

  Paying Agent                                                    any time during the period                                                          of the appointment
                                 is                                                                                                   notice
                                      replaced              at                                                                                                                                     of any replacement                         will

  be given to the                 Company Announcements                                             Office of the                    ISE


  Preference               Shares            Paying Agency Agreement


                  General



                 Pursuant               to     the         Preference                  Shares             Paying               Agency                Agreement                    the        Preference                  Shares         Paying
  Agent         will       perform            various             fiscal          services           with respect                        to    the     Preference                 Shares           on     behalf          of the Issuer

  including            the    maintenance                        of the Preference                        Shares               Distribution                 Account              and      the      making of                  distributions

  on     the     Preference                 Shares                The           Preference             Shares                  Paying              Agent         will       deliver           or                         the    Trustee            to
                                                                                                                                                                                                    request
  deliver        all   Monthly Reports and                                      Valuation             Reports                  prepared              pursuant to the Indenture                                     to    the    Holders            of
  the    Preference              Shares               and        the    Preference                  Shares                                                                                                                       Trustee
                                                                                                                     Paying               Agent            will    deliver              or    shall       cause           the                      to

  deliver              copy       of any              other       notice           or     information                     it   receives              from        the    Trustee              under           the       Indenture         to    the

  Holders         of the Preference                          Shares              in    each         case             by first-class mail postage                                                              to   each        Holder         of
                                                                                                                                                                                        prepaid
  Preference               Share                       address appearing
                                       at     the                                                    in the          Preference                    Share         register         or     ii with               respect          to   delivery
  of Monthly                Reports              and        Valuation                                                                      such
                                                                                       Reports             by        making                               reports       available                 via        its   internet          website

  initially       located             at     http//www.cdocalc.comlibtlcdo/                                                         All       information made                          available                 on     the    Preference
  Shares         Paying           Agents                   website              will      be        restricted                 and        the        Preference              Shares            Paying              Agent         will        only
  provide         access          to       such        reports             to    those         parties          entitled              thereto                                to    the       Preference                  Shares
                                                                                                                                                           pursuant                                                                    Paying
  Agency          Agreement                      In        connection                 with                                     access           to     its   website              the        Preference                  Shares
                                                                                                providing                                                                                                                              Paying
  Agent may                require           registration                   and       the      acceptance                      of         disclaimer                Questions                 regarding                  the    Preference
  Shares        Paying           Agents               website can                     be directed               to the          Preference                   Shares Paying                    Agents customer                          service

  desk     at    617         937-5585                       The payment of                          the    fees       and           expenses               of the Preference Shares                                    Paying Agent                 is


  solely        the    obligation              of the Issuer                       The Preference Shares Paying Agency Agreement                                                                              contains          provisions
  for    the     indemnification                       of the Preference Shares                                                                            for              loss
                                                                                                                     Paying              Agent                   any                    liability            or    expense           incurred

  without         gross negligence                           willful            misconduct                 or    bad           faith          on     its                                out    of or in connection                           with
                                                                                                                                                           part arising
  the    performance                  of     its   function                under        the     Preference Shares                              Paying Agency                      Agreement




                                                                                                                          95
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                     Redemption


                     On         the        Scheduled               Preference                   Shares         Redemption                     Date         the       Issuer        is       scheduled              to     redeem               the

  Preference                    Shares           for          redemption                   price           equal to           all       amounts            distributable                    to   the        Preference               Shares

  Paying         Agent                for       distribution              to        the    Holders            of the Preference                       Shares            as       provided           under           Priority                    of

  Payments                      unless          the     Preference                   Shares           have        been        redeemed           earlier             through            an       optional          redemption                   as

   described herein                        or    otherwise



                     Governing                  Law


                     The             Preference               Shares            Paying               Agency                 Agreement            will           be      governed                 by         and       construed                    in

   accordance                   with        the       laws        of the State                  of    New York                    The      rights         of    the     Holders             of the Preference                        Shares

   will   be governed                      by         and    construed                in   accordance                   with        the    laws of the Cayman                           Islands



                     Redesignation                      of Class                Preference                  Shares           and Class          II    Preference                  Shares



                     The         Share          Registrar               will    record in the register                            maintained               by     it   which           Preference                  Shares        are          held

   by    HFP         or      any       of       its    subsidiaries                      Such Preference Shares                               will    be        designated                  by the          Share        Registrar              as

   Class        II    Preference                      Shares              IFP             and        its    subsidiaries                will
                                                                                                                                                agree            not        to    transfer
                                                                                                                                                                                                       any       of      the     Class             II


   Preference Shares                            to    any    third party                  other       than     Investors               Corp       Any           transfer          of Class             II   Preference               Shares

   by    HFP         or      any       of       its    subsidiaries                 to    Investors            Corp           will require                redesignation                     by    the       Share        Registrar              of

   such     Class               II    Preference                 Shares             into    Class             Preference                  Shares          and                    transfer         of Class                 Preference
                                                                                                                                                                     any
   Shares        to        HFP          or any              of    its    subsidiaries                  from         Investors             Corp        will        require              redesignation                  by       the       Share

   Registrar              of such            Class            Preference                  Shares            into       Class      II    Preference              Shares             Investors                Corp         will finance

   the    purchase                   of any           Class        II    Preference                   Shares           to    be     redesignated                 in    connection                 with           such      transfer             by

   issuing       additional                  Holding              Preference Shares                          in         number equal                 to the          aggregate number of and                                   at         price

   equal to the price                        of such Class                     II    Preference Shares



                     Distribution                     of Eligible          Equity               Securities




                     If    the        Servicer              on    behalf            of the Issuer desires                          to    make        distributions                 of Eligible               Equity            Securities

   on     any        Payment                 Date           in    lieu     of Interest                     Proceeds           that        are   otherwise                  available             for        distribution             to        the

   Holders            of Preference                     Shares            on        such        Payment Date                      pursuant           to    the       Priority           of Payments                      the     Servicer

   will    notify            the       Trustee               the    Preference                   Shares           Paying           Agent and               the       Holding            Preference                 Shares            Paying

   Agent        not        later       than 20              calendar days                   prior to          such          Payment Date                   and       provide           the       Trustee           the     Preference

   Shares        Paying               Agent for forwarding                                 on     the       Record           Date        or   promptly               thereafter              but       in    any event              no        later


   than two Business                            Days         after       the        Record           Date         to    each       Holder        of the Preference Shares                                    registered             as    such

   on     the        Record                Date        for       such      Payment                    Date          and       the       Holding            Preference                  Shares           Paying             Agent for
   forwarding                   on     the      Record            Date         or    promptly               thereafter              but in any             event           no     later      than two Business Days

   after the          Record Date                       to       each     Holder            of the Holding                        Preference Shares                        registered             as    such        on     the      Record

   Date      for          such        Payment               Date          with                  details       of the Eligible                   Equity           Securities                 to    be    distributed                  ii        the

   Market             Value                of        such         Eligible               Equity             Securities              determined                  as         of     the        relevant              Market                Value

   Determination                       Date                              other           information considered                                                                                                  connection                   with
                                                                                                                                              necessary by the Servicer
                                                      iii any                                                                                                                                               in

   such     proposed                   distribution                and     iv             any     information as otherwise                                 required              by the Trustee                    the     Preference

   Shares        Paying               Agent and/or the Holding Preference Shares Paying Agent with respect to such proposed
   distribution                      The Preference Shares Paying Agent will then mail such materials within two Business

   Days         of        its    receipt             thereof            from         the        Servicer               to    each       registered              Holder            of    Preference                  Shares           on        the

   Record            Date            for    such        Payment                Date        along with                       form        of notice          and         consent          in             form attached                     to    the

   Preference                   Shares           Paying            Agency                 Agreement                     seeking           the    written               consent              of    each           such      Holder                  of

   Preference                Shares             to    distribute          such            Eligible          Equity           Securities          to    such          Holder            in   lieu       of    all   or       portion                of

   the Interest                 Proceeds              available           for distribution                     to      such       Holder        on     such          Payment Date                           Each Holder of                     the

   Preference                   Shares          wishing            to    receive            such           Eligible          Equity           Securities              in    lieu       of        distribution              of       all       or

   portion           of the Interest Proceeds                              available                 for distribution                   to such       Holder               on    such       applicable              Payment Date
   each such Holder                             with respect              to        such        Payment Date                        Consenting                   Holder of the Preference                                      Shares
   must      deliver                 to the      Preference Shares                          Paying Agent                          written       consent              which         consent              will       be irrevocable

   not    later       than five                 Business Days                        prior to           such       Payment               Date         If               Holder           of Preference                    Shares           does
                                                                                                                                                               any

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  not                    deliver        its        written          consent           to    the       Preference                  Shares                                            in the         manner
         timely                                                                                                                                    Paying          Agent                                             set     forth        in

  such        notice      indicating               its    consent              to the      receipt          of such           Eligible             Equity          Securities                in   lieu    of         distribution

  of          or                       of the Interest Proceeds                                 available              for distribution                       such        Holder             on    such
        all            portion                                                                                                                          to                                                     Payment Date
  such        Holder           will    be      deemed                to    have         not          given        its       consent           and        shall       not       be            Consenting               Holder             of

  Preference              Shares        with         respect              to    such        Payment               Date             On        each        applicable                 Payment             Date         or      as       soon
  thereafter           as      reasonably                 practicable                   Eligible             Equity            Securities                will       be        distributed                       rata        to        each
                                                                                                                                                                                                        pro
  Consenting                Holder            of     the       Preference                  Shares            with          respect           to     such          Payment                Date            Each         Holder             of

  Preference             Shares        that        is    not         Consenting                  Holder            of Preference                    Shares          and         for       the      avoidance              of doubt
  each        Consenting             Holder             of the Preference Shares                                 to    the extent             the    Market              Value          as    of the relevant                Market
  Value        Determination                   Date           of the pro              rata       portion               of Eligible                                Securities             distributed            to          on        such
                                                                                                                                              Equity                                                                  it



  Payment Date                  is   less     than the pro rata                       portion             of the Interest Proceeds                            that       it    would have                received on                  such

  Payment            Date        had       the                            Equity           Securities                  not been              distributed             on       such                             Date          on
                                                     Eligible                                                                                                                             Payment                                      any
  applicable             Payment              Date            will        receive                distribution                 of Interest                Proceeds                  to     the      extent        available               in


  accordance              with        the     Priority              of Payments                      on     such        Payment               Date            See        Description                    of the        Securities-

  Priority         of PaymentsInterest Proceeds



                   Amendment


                   Without           the      Consent               of Holders                       The         Preference                  Shares       Paying               Agency              Agreement                may          be
  amended            by        the    parties            thereto           without              the       consent            of the          Holders              of any            Preference            Shares              for       the

  purpose           of curing                        ambiguity                   or     of curing                                            or                                                    defective
                                           any                                                                     correcting                       supplementing                        any                              provision
  contained            therein or in regard to matters                                      or questions                                     under       the       Preference Shares
                                                                                                                            arising                                                                       Paying            Agency
  Agreement               as    the    Issuer            and       the     Preference                 Shares            Paying           Agent may deem necessary                                        or    desirable               and
  which        shall      not     materially               adversely              affect         the        interests         of Holders                 of the Preference                         Shares        In        addition
  the    Preference             Shares                             Agency Agreement                                          be     amended              without                    consent             of any       Holders             of
                                               Paying                                                             may                                                         the

  the    Preference             Shares         and        without              regard to whether                           or not       such       amendment adversely                               affects         the interest

  of the       Holders            of the           Preference                  Shares           in    order to                                the       Issuer          from                              an     investment
                                                                                                                            prevent                                                 becoming
  company                 as     defined             in       the         Investment                  Company                 Act            or    to     better          assure              compliance                   with         the

  requirements                 of Rule              3a-7           and/or        to     remove               transfer              restrictions              and         other                                                           to
                                                                                                                                                                                        requirements                 relating
  Section          3c7               provided             that        as          condition                 to    the       effectiveness                of any           such           amendment               each            of the

  Issuer the Trustee                       the      Preference                 Shares           Paying           Agent and               the       Servicer             shall       have          received            customary
  opinion           of counsel             which may                      be     supported                 as     to    factual          matters          by       any        relevant             certificates             or        other

  documents                                    or       advisable               in the      judgment                   of counsel delivering                            such                            from
                         necessary                                                                                                                                                  opinion                           nationally

  recognized              law        firm providing                       that     after         giving effect                     to    such       amendment                       the      Issuer       is                          from
                                                                                                                                                                                                                exempt
  registration            as    an    investment                    company                 under           the    Investment                 Company               Act        in    reliance           on the exemption

  provided          by Rule           3a-7



                   With        the     consent                of Holders                        Unless            otherwise                  set    forth          in     the                                                           the
                                                                                                                                                                                    preceding              paragraph
  Preference Shares                                                                                                         amended
                                       Paying             Agency               Agreement                  may be                                  with the consent                       of Holders            of          Majority
  of the Preference Shares                               materially             and     adversely                affected           thereby



                   Any amendment                         to the      Preference Shares Paying Agency                                                Agreement                  must          be    in   writing executed
  by each          party       thereto The                 Preference                 Shares Paying                     Agent           is   entitled         to    receive              and       subject       to        its   duties

  and                                in the        Preference                  Shares           Paying                                                            shall       be
          obligations                                                                                            Agency             Agreement                                           fully protected                in    relying

  upon         an      opinion         of      counsel               consent               or    certificate                of the           Issuer          in    determining                    whether            or     not        any
  proposed           amendment                 is    permitted under                       Preference Shares                            Paying Agency                    Agreement


                   Any amendment                         to    the    Preference                 Shares           Paying            Agency Agreement                               that      would        also       necessitate

       change        to     the      Issuer         Charter               may      only be                made          after            Special          Resolution                    as defined              in    the        Issuer

  Charter           has        been        passed             to    permit            the       Issuer           Charter           to    be        altered          to    conform                 with     such           proposed
  amendment


  The     Issuer Charter



                   The         following             summary                    describes                 certain           provisions              of       the        Issuer           Charter          relating               to     the

  Preference Shares                    that        are    not referred                to    elsewhere in                    this                         Memorandum
                                                                                                                                    Offering

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                      Voting Rights


                  Other than as provided                                 below only               the        holders             of the Issuer                  Ordinary          Shares          shall    have          the right

  to   receive             notice         of    attend         at   and        vote     as        shareholder                    of the Issuer                 at                           meeting           of the Issuer
                                                                                                                                                                     any general

  Every          holder of an                  Issuer         Ordinary           Share          present           at    any        meeting              shall        on       show         of hands           be entitled         to

  one     vote         and on                  poll shall be entitled to one                            vote           per Issuer                 Ordinary           Share held by such                   holder



                  Other than as provided                                 below         the      Holders            of the Preference                           Shares        shall    have        the right to receive

  notice         of        attend         at    and       vote      as         shareholder              of the Issuer                        at    any       general         meeting         of the Issuer                only in

  respect             of           resolution             which           relates          to               circumstance                          or    matter         which         under         the    Indenture              the
                                                                                                 any
  Preference                Share         Documents                 or the        Servicing             Agreement                       can       take       place     or    occur         only    at    the    direction         of

  the    Holders              of      the      Preference Shares                            Preference                      Share             Vote                 Every      Holder         of    Preference              Shares

  present         shall            on          show       of hands              be     entitled         to    one           vote        and on                poll shall be entitled                     to    one       vote    per
  Preference                 Share          held         by    such        Holder            except          that           in      relation            to          Preference             Share        Vote        relating      to

  certain         matters             as       set    out      in   the    Indenture                  Preference                 Shares            held by certain                   Holders        as        set    out in the

  Indenture                 shall        be     ignored


                  The            Class         II    Preference                Shares           will     have               total        control             with     respect         to    the     appointment                  and

  removal              of the            directors            of    the    Issuer          as    long as               the       aggregate number                           of Class         II    Preference              Shares

  Outstanding                    as      of the          relevant          Voting            Record           Date               is     higher           than        the     aggregate            number            of    Class

  Preference                Shares             Outstanding                as    of such           date            If    the        aggregate number                          of   Class      II    Preference              Shares

  Outstanding                    as     of the        relevant            Voting           Record Date                      is   lower             than or equal to                  the     aggregate number                     of

  Class           Preference                   Shares         Outstanding               as      of such           date           only        the       Issuer       Ordinary         Shares         will      be    entitled      to

  vote      with respect                  to the         appointment                 and     removal of the directors                                   of the Issuer



                      Liquidation



                      In    the    event        of any voluntary or involuntary                                         liquidation                    dissolution           or   winding          up of       the    Issuer



                                         the    Holders             of the           Issuer       Ordinary                  Shares            at       the    time         outstanding            will     be       entitled      to

  receive         out        of the assets of the Issuer                               available            for distribution                       to    shareholders                before                distribution           of
                                                                                                                                                                                                   any
  assets         is    made         to    Holders             of the Preference                   Shares               an    amount equal                     to    U.S.$2.OO         in respect           of each          Issuer


  Ordinary                 Share held by each                       such       holder           and



                      ii                 the    Holders             of the           Preference              Shares                at    the       time        Outstanding                 will    be     entitled          to   the

  balance             of the assets                 of the Issuer              available              for distribution                     to      shareholders               after distribution                   of amounts

  due     to     holders              of Issuer          Ordinary              Shares        under          the        above            subparagraph                  pro     rata    according            to      the    number
  of Preference Shares                              held by each               such holder



                      If   the     assets        available           for distribution                  to    holders               of the Issuer                Ordinary          Shares          are    not sufficient           to


  pay       to    such           holders            U.S.$2.OO             in     respect          of each               Issuer           Ordinary               Share         the     available           assets         shall    be

   distributed              to     holders           of the Issuer               Ordinary              Shares pro                   rata          according           to   the    number of              Issuer       Ordinary

   Shares held by each                          such          holder



                      Transfer


                      The        rights         of        Holder           of         Preference              Share                to    transfer            such      Preference             Share        are       subject      to

   restrictions              set      out in the Preference                       Share Documents                            and        as    described in Transfer                          Restrictions



                      Petitions           for Bankruptcy


                      Each         Holder           of        Preference Share                    will       be        required            to      agree       or     be deemed             to    have        agreed        not to

   cause the filing of                              petition        in    bankruptcy              or    winding                  up      against         the        Issuer    before         one    year and             one     day

   have      elapsed since                     the       payment          in    full       of the Notes                 or       if     longer           the applicable              preference            period then             in


   effect




                                                                                                                       98
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                                                                          USE OF PROCEEDS

                The    Securities         will   be     issued     and        sold    for   Cash on              the    Closing Date                 The        gross       proceeds           from     the

  issuance       of such       Securities         on    the      Closing       Date        are     expected             to                                                U.S.$    1495000000
                                                                                                                             equal approximately
  and    will   be used by the Issuer                  to



                      purchase            portfolio         of Collateral            Obligations


                      fund the Revolving                    Reserve       Account            and       the       Delayed           Drawdown               Reserve           Account            to    cover

                      any     future      draws        on Revolving             Loans and Delayed                            Drawdown Loans

                      enter     into     any Hedge           Agreements               as    applicable


                      enter       into    any    Securities         Lending               Agreements and                       correspondingly                       to   fund     the     Securities

                      Lending           Account

                      enter     into     Synthetic          Security      Agreements and correspondingly                                        to       fund the related                accounts


                      repurchase           participations           sold       to     the    Pre-Closing                 Parties        to    finance           the       Issuers pre-closing

                      acquisition         of loans


                      fund the Closing                Date     Expense          Account            and       the Interest           Reserve          Account


                      pay     certain                        related      to the       transaction and
                                          expenses


                      undertake certain                related     activities




                                                                  SECURITY                  FOR THE NOTES

                The Notes         and     the    Issuers obligations                   under          the    Hedge           Agreements             and        the    Servicing          Agreement
  will   be   secured       by    the    following


                                           the Collateral           Obligations and                    all       Workout           Assets



                             ii            the     Custodial             Account             the       Collection               Account              the        Payment             Account             the

                Revolving          Reserve         Account              the    Delayed             Drawdown                   Reserve         Account                 the    Interest          Reserve

                Account           the    Closing        Date       Expense             Account               the       Expense           Reimbursement                      Account            and      the

                Securities         Lending         Account              such         accounts               collectively                the    Issuer                Accounts                  Eligible
                Investments         purchased           with funds on                                 in the Issuer            Accounts             and        all    income        from       funds in
                                                                                     deposit

                the   Issuer      Accounts


                             iii           the     Synthetic             Security           Counterparty                     Account          and          together           with        the       Issuer

                Accounts           the    Synthetic           Security          Collateral             Account               and     the      Hedge            Counterparty               Collateral

                Account           the    Accounts                  and        assets        included              therein          subject          to    the        terms         of    the    related

                Synthetic          Security           provided            however                  that          any     such        rights         in
                                                                                                                                                               any        Synthetic            Security

                Counterparty             Account         shall     be    held        in    trust      by     the       Trustee       or       securities              intermediary              first    to

                secure      the    Issuers         payment          obligations               to      the        relevant          Synthetic             Security           Counterparty               and
                second      for the      benefit       of the Secured                Parties



                             iv            the
                                                   Servicing             Agreement                    the        Synthetic              Security           Collateral              Account              the

                Securities        Lending         Agreements             and        all   Securities                               Collateral            and     the      Securities
                                                                                                                 Lending                                                                       Lending
                Account          the     Hedge         Agreements              as     set   forth           in    the    Indenture            and        all    Collateral              securing        the

                Hedge         Counterparty                    obligations             thereunder                  including              without               limitation               the         Hedge
                Counterparty             Collateral         Account           and     the     Collateral               Administration                Agreement                to    the    extent        of

                any   rights      of the Issuer         therein



                                           all   Cash       or   money         delivered           to the         Trustee          or   its   bailee and

                                                                                                 99
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                                   vi               all    proceeds            with respect              to    the          foregoing              collectively              the       Collateral

                 For the           avoidance               of any        doubt            Collateral           will          exclude                  amounts              released           from      the     Trustees

   lien     in     connection                 with         certain           Synthetic             Securities                     Hedge             Agreements                   and         Securities            Lending

   Agreements            in       accordance              with the Indenture                      and    ii        the       Excluded               Property



   Purchase of Collateral Obligations


                 The Indenture                    will     provide           that    the    Servicer              will       use commercially                        reasonable efforts                    to   cause       the

   Issuer    to       purchase          or    enter        into    binding           commitments                    to      purchase               Collateral          Obligations that                    meet       certain

   minimum             amounts           and       characteristics                   The composition                         of the portfolio                    of Collateral               Obligations will be
   determined            by       the     selections              of the         Servicer           designed                     to    meet        the     Eligibility             Criteria           the       Collateral

   Quality Tests              the    Coverage               Tests and            the       requirements                     provided           in    paragraphs                    through            ix      in     Sale
   of Collateral             Obligations                  Acquisition               of      Collateral              Obligations                       See        Eligibility Criteria                                The
   Collateral          Quality          Tests            The              Coverage              Tests and                   Sale              of Collateral                 Obligations               Acquisition             of
   Collateral          Obligations


                 The     Servicer             expects that                   by the end            of the          Ramp-Up                   Period            the    Issuer       will       have      purchased             or

   committed            to    purchase              Collateral            Obligations having                           an        Aggregate                Principal          Balance            of approximately

   $1471900000                     for       the       avoidance             of doubt             without           giving effect                    to    any       reductions              of that       amount          that

   may      have       resulted          from          scheduled             principal          payments                    principal           prepayments                  or    dispositions             made with

   respect       to    any Collateral                  Obligations on                or    before the              Ramp-Up                   Completion                Date


   Eligibility          Criteria



                  On     any       date       during         the       Replacement                 Period              and            in    respect        of Principal                 Proceeds           constituting

   Unscheduled                Principal            Payments              and        Sale    Proceeds               from           Credit           Risk        Obligations and                   Credit         Improved

   Obligations               on    any       date      after the          Replacement                   Period               so       long     as     no       Event        of Default           is   continuing              at


   the direction             of the Servicer                    the     Issuer                  direct        the      Trustee to apply                                           Proceeds                                 with
                                                                                     may                                                                       Principal                              together
   Interest       Proceeds              but only to               the        extent        used     to       pay        for       accrued            interest          on    Collateral           Obligations                 to

   purchase           Collateral          Obligations including                             any    related             deposit              into    the    Revolving              Reserve            Account           or the

   Delayed            Drawdown                Reserve            Account             or     the    posting               by       the        Issuer        of cash          collateral           with       or       for    the

   benefit       of          Synthetic            Security             Counterparty               simultaneously                           with the Issuers purchase                            of or entry            into

   Synthetic           Security              if   the      conditions               specified           in    the           Indenture              are     satisfied              No         obligations             may    be

   purchased            unless          each        of     the         conditions           in     the        following                    clauses                   through           12        the       Eligibility

   Criteria             is    satisfied           as    evidenced             by           certificate            of the Servicer                     as       of the date             the     Issuer       commits           to

   make      the       purchase              in     each        case      after       giving        effect             to    the           purchase        and        all   other        purchases              and     sales

   previously           or    simultaneously                    committed             to


                                  the     obligation              is      Collateral            Obligation


                                  for     any       date    occurring               during the Replacement                                  Period



                                                    each        Overcollateralization                         Test          is    satisfied          and        if   the    commitment                is    made on           or

                                                    after the           second        Payment Date each                                Interest          Coverage           Test        is   satisfied          or



                                                    if    any     such       Coverage             Test       is   not satisfied                    both


                                                                       the    extent       of    satisfaction                of the Coverage                     Test       is    not   reduced            and



                                                    ii                 the     Collateral           Obligation                        is    being         purchased              with        Principal          Proceeds

                                                                       other     than



                                                                                      Principal           Proceeds                    received            in   respect        of         Defaulted              Collateral


                                                                                      Obligation                  or




                                                                                                              100
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                                                                     Principal            Proceeds            received          in
                                                                                                                                         respect        of            Workout               Asset       that

                                                                     has       been           received             in    exchange                for             Defaulted                  Collateral

                                                                     Obligation


                    for    any date       occurring             during the Replacement                              Period          the        Diversity             Test       is   satisfied       or   if


                    not satisfied          the extent                of satisfaction              is   not        reduced


                    for           date         occurring             during         the       Replacement                 Period              the     Weighted                  Average            Rating
                           any
                    Factor Test          is    satisfied         or     if   not satisfied                  the   extent       of satisfaction                  is   not reduced



                    for          date     occurring             during            the    Replacement                 Period          each        of the limits in the definition
                           any
                    of Concentration                    Limitations                 is    satisfied          or     if          such          limit    is   not satisfied                   the    extent
                                                                                                                         any
                    of satisfaction            is   not reduced



                    for    any    date        occurring              during         the       Replacement                 Period              the    Weighted                   Average            Spread
                    Test    is   satisfied         or    if   not satisfied               the     extent          of satisfaction               is   not    reduced


                    for    any   date     occurring              during the Replacement                              Period          the       Weighted               Average Fixed Rate
                    Coupon Test               is   satisfied          or     if   not    satisfied           the    extent      of satisfaction                      is   not reduced



                    for    any   date     occurring             during the Replacement                              Period          the        Weighted              Average               Life    Test   is


                    satisfied      or     if   not satisfied               the extent            of satisfaction               is   not reduced



                    for
                           any    date     occurring                 during        the     Replacement                   Period          the     Weighted                  Average            Moodys
                    Recovery            Rate        Test        is    satisfied           or      if    not        satisfied             the    extent          of        satisfaction             is   not

                    reduced


        10          for    any     date        occurring              during            the    Replacement                 Period               the     Weighted                     Average         SP
                    Recovery            Rate        Test        is    satisfied           or      if    not        satisfied             the    extent          of        satisfaction             is   not

                    reduced


        11          for    any    date        occurring              during         the    Replacement                   Period           the        SP         CDO             Monitor            Test   is


                    satisfied      or     if   not       satisfied            the    extent        of satisfaction                  is    not    reduced provided                             however
                    that    this Eligibility             Criterion             11         shall    not apply either to the application                                           of the proceeds

                    from     the     sale          of         Credit         Risk         Obligation                Non-Performing                      Collateral                   Obligation           or

                    Workout         Asset           or     to        the     application               of     Principal          Proceeds                  in    respect              of    Defaulted

                    Collateral       Obligations                 and



        12          for    any   date     occurring             after the           Replacement                   Period



                                  each     Coverage              Test        is   satisfied        and        the extent         of satisfaction                     is    not reduced



                                  each         Collateral              Quality            Test         is    maintained              or        improved                   and        the     Weighted
        Average      Rating Factor Test                   is    satisfied



                                  each         Concentration                  Limitation                is    maintained                 or    improved                   and    the        Aggregate

        Principal     Balance       of     all      CCC/Caal                  Collateral           Obligations do                    not exceed                 7.5% of              the    Maximum
        Amount


                                  the    Weighted Average                          Life       Test     is    satisfied



                                  the    SP         Rating            of such           Collateral           Obligation             is at       least      equal to the                SP          Rating
        of the    Collateral       Obligation being the                             source of the                  Unscheduled                  Principal             Payments                or   of the

        Credit    Risk      Obligations or                 Credit          Improved Obligation being                                     the        source of Sale Proceeds                               as

        applicable         and




                                                                                           101
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                                                     the        current          Moodys                  Rating            on        Class        A-la Notes                     is    Aaa            and       the     current

                     Moodys              Ratings          on        the    Class A-lb Notes                          the    Class A-2 Notes the Class                                            Notes          the    Class

                     Notes       and     the    Class                Notes        are     no lower            than one               subcategory                 below           their     initial    rating



                     Notwithstanding                   the      foregoing                      one       or   more         Collateral                 Obligations                may       be purchased               pursuant
  to          Portfolio           Improvement Exchange                                   effected             in    compliance                   with        Sale                of Collateral               Obligations

  Acquisition               of Replacement                      Collateral              ObligationsCredit                             Improved               Obligations                   regardless            of whether

   such       purchase            would otherwise                         satisfy       the Eligibility                   Criterion             set    forth          in clause            12     above         and     ii the
   Issuer       or     the        Servicer          on        its    behalf            shall    not direct                the        Trustee           to   purchase              any       Collateral            Obligation

  following            receipt           by    the       Servicer            of notice              of removal                  or    resignation                pursuant             to    the    provisions            of the

   Servicing           Agreement                until               successor servicer                     is      appointed               pursuant              to    the    provisions             of the        Servicing

  Agreement                     See    The      Servicing                 Agreement

                     The        Issuer     may           at    the        direction           of the          Servicer               exchange                    Collateral              Obligation for another
   Collateral          Obligation               in     an      exchange                of one         security             for       another           security             of the         same       issuers          that    has

   substantially                identical       terms except transfer restrictions



                     Cash on           deposit           in    the        Collection            Account              may         be       held in Eligible                       Investments               in   accordance

   with       this    Eligibility              Criteria section                    pending            the application                      thereof          to   purchase              Collateral          Obligations


                     The     Indenture           provides             that       any      sale      or    purchase               by the Issuer                   of        Collateral            Obligation shall be
  conducted                on     an     arms        length           basis        and         if    effected             with        the       Servicer              or         person          Affiliated           with      the

   Servicer           or   any        fund     or    account              for    which         the       Servicer           or       an    Affiliate             of the Servicer                  acts     as    investment

   adviser           shall       be    effected          in    accordance                with the requirements                              the        Servicing              Agreement              on     terms no           less

  favorable           to    the Issuer          than would be the case                               if   the      person were                  not     so Affiliated




   The        Collateral Quality                     Tests



                     The        Collateral           Quality               Tests         will        be       used          primarily                 as     criteria            for       purchasing             Collateral

   Obligations                   See     Eligibility                       Criteria above                     and         Sale               of Collateral                    Obligations                 Acquisition            of
   Collateral          Obligations                  below             The       Collateral            Quality Tests are described below


                     Measurement                of the degree                    of compliance                      with the Collateral                          Quality Tests will be                          required        on
  each        Measurement                 Date       on and           after the          Ramp-Up                Completion                  Date


                     The Diversity              Test




                     The        Diversity            Test            is         test    that        will      be     satisfied             on     any       Measurement                     Date      if    the    Diversity

   Score       as of the Measurement                                Date     equals or exceeds                        the       Minimum                 Diversity             Score             For the purposes                 of

   calculating             the     Diversity             Test                   Structured            Finance              Obligation that                       is        collateralized                loan     obligation
                                                                      any
   will   be disregarded



                     Weighted            Average          Lfe         Test




                     The        Weighted Average                             Life       Test          is           test    that       is    satisfied            on        any    Measurement                   Date      if    the

   Weighted            Average            Life       on       that    date       of     all    Collateral            Obligations                  is   equal to             or less        than      the                  of
                                                                                                                                                                                                            greater

   the    number of years including                                   any fraction               of        year between                      such           Measurement                    Date      and    May               2017

   or    in   the     case of            Maturity Extension                             the    Extended              Weighted               Average              Life        Date       and           4.0
                                                                                                                                                                                                                years



                     Weighted            Average          Moodys                Recovery             Rate          Test




                     The        Weighted                      Moodys Recovery Rate Test
                                                         Average                                                                                            is         test      that      is    satisfied        as    of any

   Measurement Date                       if   the     Moodys Minimum Average Recovery Rate                                                                 is   greater          than      or    equal to 43          .63%




                                                                                                                102
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                Weighted              Average             SP        Recovery            Rate          Test




                The        Weighted                    Average             SP              Recovery                   Rate            Test             is          test      that      is    satisfied         as      of     any
  Measurement              Date           if   the    SP        Minimum               Average              Recovery                   Rate        is   greater          than or equal to 52.28%



                SP Minimum                             Average             Recovery                   Rate            is        rate as of any                      Measurement                   Date      equal to          the

  number obtained by


                                                     summing              the    products               obtained                 by        multiplying                 the     Principal           Balance            of each

                Collateral            Obligation by                  its   respective                 SP        Priority              Category               Recovery             Rate


                                 ii                  dividing            the     sum        determined                     pursuant               to    clause                 above          by     the     sum        of the

                Aggregate              Principal            Balance             of   all   Collateral              Obligations                     and



                                 iii                 rounding            up    to the       first      decimal               place



                Weighted              Average Fixed Rate                         Coupon               Test




                The        Weighted                    Average             Fixed           Rate         Coupon Test                               is         test       that      is   satisfied          if     as    of any

  Measurement              Date           the     Weighted               Average           Fixed Rate                  Coupon equals                         or    exceeds          7.5%


                Weighted              Average Spread                      Test



                The       Weighted Average                                Spread           Test            is         test      that        is    satisfied            as   of any          Measurement                Date     if


  the    Weighted           Average               Spread            as    of the       Measurement                         Date            equals           or    exceeds           the     Minimum Weighted
  Average        Spread


                Weighted              Average Rating Factor                            Test




                The Weighted Average                                     Rating        Factor              Test            is        test    that       is       satisfied      on     any Measurement                      Date
  if    the   Weighted                Average               Moodys               Rating           Factor              of        the        Collateral              Obligations               excluding                Eligible

  Investments              as        of    the       Measurement                 Date            is    less      than           or     equal           to        the    Maximum Weighted                            Average
  Moodys           Rating            Factor



                SP         CDO Monitor                      Test



                The        SP CDO                       Monitor                Test         is         test      that           is    satisfied             on     any       Measurement                  Date        if    after

  giving      effect       to    the       sale      of        Collateral            Obligation or the                                                 of          Collateral                                    each       Note
                                                                                                                                 purchase                                               Obligation
  Class       Loss     Differential                  of the         Proposed               Portfolio             is     positive                  The            SP         CDO        Monitor            Test        shall    be

  considered          to   be        improved             if   each       Note       Class Loss                 Differential                 of the Proposed                        Portfolio        is at     least       equal
  to    the   corresponding                    Note       Class Loss             Differential                 of the Current Portfolio                                      The     SP        CDO         Monitor           Test
  is   not required             to   be    satisfied           or   improved               upon        the      sale       of         Credit           Risk Obligation and                        the application              of

  the    related      Sale       Proceeds              to      purchase          additional                Collateral                 Obligations                      For purposes               of the       SP          CDO
  Monitor       Test



                                 the      SP          Rating of any                  SP      Unrated               DIP Loan                  shall          be    CCC             and



                ii               the       SP          Industry            Classification                    for             Synthetic                 Security             shall      be     that       of the        related

                                 Reference                Obligation and                   not the Synthetic                         Security


                The        Note           Class         Loss        Differential                      with respect                    to    any        Measurement                     Date       and               Class of
                                                                                                                                                                                                           any
  Notes       that   is    rated          by    SP          the     rate       calculated             by      subtracting                   the    Class Scenario Loss                            Rate     for the         Class

  from the then-applicable                           Note       Break-Even                 Loss        Rate        for the            Class of Notes


                The       Note Break-Even                            Loss        Rate            with respect                   to    each        Class of Notes                    that     is   rated    by     SP          the

  maximum             percentage                  of      defaults         that       the        Current               Portfolio                 or     Proposed               Portfolio           can       sustain          and


                                                                                                                103
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  nevertheless             sufficient            funds will remain               for the
                                                                                                 payment of               principal          of the Class of Notes                     in   full    by        its


  Stated     Maturity and                  the    timely payment                of interest on the Class A-la Notes the Class A-lb Notes                                                           and    the

  Class A-2 Notes                    and       the    ultimate
                                                                    payment of              interest          on    the     Class            Notes         the        Class          Notes       and      the

  Class         Notes        using          SPs             assumptions          on    recoveries              defaults and              timing            and     taking       into    account           the

  Priority      of Payments                 and       the    adjusted       Weighted             Average            Spread        level       specified           in the      applicable           row of
  the   table    below               The       adjusted        Weighted           Average              Spread        as    of any       Measurement                    Date     is    the    Weighted
  Average        Spread              as    of the       Measurement               Date           minus        the     amount        of any            Spread           Excess         added         to    the


  Weighted Average                    Fixed Rate              Coupon        as   of the Measurement                        Date



                                      Row                                  Adjusted              Weighted            Average            Spread

                                                                                  Greater than or equal to 3.05%


                                                               Greater than or equal to 2.95% but less than 3.05%


                                                               Greater than or equal to 2.85%                               but    less      than 2.95%


                                                               Greater than or equal to 2.75%                               but    less      than 2.85%


                                                               Greater than or equal to 2.65% but less than 2.75%


                                                               Greater than or equal to 2.55% but less than 2.65%


                                                               Greater than or equal to 2.45%                               but less than 2.55%


                                                               Greater than or equal to 2.35% but less than 2.45%


                                                               Greater than or equal to 2.25%                               but less than 2.35%



  The      Coverage             Tests



                General



                The        Coverage              Tests       will    be     used       to    determine                among        other         things           whether            Notes       will         be

  redeemed            in    certain            circumstances               as    described              under         Description                of      the      SecuritiesPriority                          of

  Payments             and       whether              additional          Collateral             Obligations                       be        acquired            as    described            under
                                                                                                                          may
  Eligibility        Criteria              There       will    not be any          Coverage             Test applicable                 to   the     Preference          Shares



                The    Overcollateralization                        Tests



                The        Overcollateralization                          Tests         will      consist           of the      Class              Overcollateralization                     Test         the

  Class               Overcollateralization                         Test         the        Class               Overcollateralization                        Test         and         the      Class

  Overcollateralization                     Test



                Each        Overcollateralization                     Test       will       be    satisfied           with      respect         to    any         Class       of Notes             on    any
  Measurement               Date          if     as   of such       Measurement                  Date         the    Overcollateralization                       Ratio     for   the        Class        is   at

  least    equal to the specified                      required level for the Class indicated                                in the          table    in   Summary               of   TermsThe
  Overcollateralization                     Tests


                The    Overcollateralization                        Ratio       with respect             to    each       Class of Notes              on     any Measurement                     Date          is


  referred      to    as   an    Overcollateralization                          Ratio            and    is    the ratio calculated                   by dividing


                                the Overcollateralization                        Ratio Numerator                     by



                ii              the       Aggregate           Outstanding             Amount            of the Class of Notes                      and      all   Notes       ranking        senior           to

                                it   excluding              any Deferred           Interest        on    the        Notes    and    all      Notes         ranking       senior        to   it




                                                                                                   104
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          The   Overcollateralization                 Ratio        Numerator                     is    on any     date         the    sum of


                   the    Aggregate           Principal        Balance               of    all    Collateral          Obligations                other        than    any      Excess
                   CCC/Caa                  Collateral        Obligations                  any        Non-Performing                  Collateral              Obligations              any
                   Deep       Discount        Obligations and                         Collateral             Obligations loaned pursuant to                                Securities
                                                                              any

                   Lending       Agreement            with respect              to    which           an event         of default                under and           as    defined      in


                   the   Securities         Lending         Agreement                is    continuing           plus



                   unpaid       Accrued          Interest          Purchased                With        Principal           excluding                         unpaid         Accrued
                                                                                                                                                   any
                   Interest     Purchased         With         Principal             in    respect      of Non-Performing                        Collateral         Obligations

                   plus



                   the    Aggregate           Principal        Balance           of any           Eligible       Investments                that       were    purchased            with

                   Principal         Proceeds         and     the       amount            of Principal          Proceeds             on     deposit          in the        Collection

                   Account       plus



                   the    Aggregate           Principal            Balance           of     Eligible          Investments              on        deposit       in          Securities

                   Lending       Account         that       relate      to      Securities             Lending        Agreement                with respect           to    which       an
                   event        of    default         under             and     as        defined        in    the     Securities              Lending             Agreement            is


                   continuing          plus


                   with respect         Collateral           Obligation that                 are      Non-Performing                  Collateral           Obligations            Deep
                   Discount           Obligations             or     Excess               CCC/Caal               Collateral               Obligations                the      amount
                   determined          by     using     one     of the following                      methods                               to    such               of Collateral
                                                                                                                      applicable                           type

                   Obligation          provided         that       if         Collateral          Obligation           falls     within           more       than one         of such

                   types      the Issuer       will    be required              to   use the method that results                          in     the   smallest       amount


                                with respect           to    any     Excess           CCC/Caal Collateral   Obligations                                       an    amount equal
                                to    the    product of                 the    lower    of  70% and       the CCC/Caal                                             Excess     Market

                                Value         Percentage                 multiplied               by     ii       the       Excess               CCC/Caal                  Collateral

                                Obligations


                                with respect           to    any        Non-Performing                  Collateral          Obligations                the    aggregate of the

                                Applicable            Collateral              Obligation               Amounts          for      all      included            Non-Performing
                                Collateral        Obligations                 other         than        Defaulted           Collateral             Obligations             that   have
                                been        held by     the     Issuer         for        more than          three                   which         shall      be    deemed        to    be
                                                                                                                       years
                                zero    for                     of this clause                          and
                                               purposes


                                with        respect     to    any       Deep         Discount            Obligations             the      Aggregate            Purchase           Price

                                Amount          for   all    Deep Discount                  Obligations



          Applicable          Collateral Obligation                      Amount                  for    any     Non-Performing                     Collateral             Obligation
  means


                   the    lesser       of             the     Market            Value            Percentage            of      the                                         Collateral
                                                                                                                                       Non-Performing
                   Obligation           and              the       Applicable                Percentage               for      the     Non-Performing                      Collateral

                   Obligation multiplied                by

                   if   the                                 Collateral
                              Non-Performing                                    Obligation is



                                any     Pledged         Obligation other                    than       those     in    clauses                   through                  below        the

                                outstanding            principal              amount             of    the    Pledged           Obligation              as     of    the     relevant

                                Measurement              Date


                                     Synthetic        Security the notional                       amount        specified            in the Synthetic               Security




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                                                   any        Revolving            Loan        or    Delayed            Drawdown Loan                              its   Principal          Balance         including

                                                   any         unfunded               amount          thereof           regardless                  of        the        nature        of     the        contingency

                                                   relating         to     the    Issuers obligation                    to    fund the unfunded                           amount              and



                                                   any P1K Security                      its   Principal          Balance


                 As        used        in    the        calculation              of    Market             Value         Percentage                  of        the        Non-Performing                    Collateral

  Obligation               the     Principal             Balance            of     any       Defaulted             Collateral              Obligation                    shall     be         if    the    Defaulted

  Collateral       Obligation                is




                                  any        Pledged               Obligation               other      than        those           in    clauses                   ii      through            iv          below           the


                                  outstanding                 principal          amount of            the    Pledged               Obligation as of the relevant                                    Measurement

                                  Date


                 ii                   Synthetic           Security the notional                        amount            specified          in the Synthetic                      Security



                 iii              any       Revolving               Loan         or   Delayed             Drawdown Loan                         its
                                                                                                                                                          Principal              Balance            including             any
                                  unfunded               amount            thereof          regardless             of    the       nature           of        the        contingency               relating          to    the

                                  Issuers obligation                       to    fund the unfunded                  amount               and



                 iv               any       P1K Security                 its     Principal          Balance


                 The Interest               Coverage               Tests



                 The       Interest         Coverage               Test     in    respect       of each          Class of Notes                 each an Interest                             Coverage                Test
   is     test   the       first      Measurement                   Date        for   which          will   be     on        the     second          Payment Date                       and       that    is    satisfied

   with respect            to    any      specified           Class of Notes                 if as     of the second                 Payment Date and                            any     Measurement Date
  thereafter          on    which any                   Notes       remain            Outstanding                the     Interest          Coverage                  Ratio        equals or              exceeds           the

   applicable         required            level        specified          in the table          in    Summary                 of   Terms                  The        Interest          Coverage            Tests


                 The        Interest                   Coverage             Ratio              with        respect           to      any        specified                  Class        of         Notes        on        any
  Measurement                   Date        the    ratio calculated                by dividing


                                  the       sum of


                                                       the Interest         Proceeds           received or scheduled                           to    be received with respect                              to   the       Due
                                                   Period in which                    the    Measurement                 Date        occurs              minus



                                                       amounts           payable            under      clauses                                            and                of        Description                   of    the

                                                       SecuritiesPriority                      of     PaymentsInterest Proceeds                                             on     the        related           Payment
                                                       Date by


                 ii                all    accrued             and    unpaid           interest        on     the        specified          Class              of Notes            and       all    Notes         ranking
                                   senior         to    the    Class       including           any     Deferred              Interest       on the related                   Payment Date


                 For purposes                 of the Interest                   Coverage            Ratio     only the amount                        of any              interest       payment including
   any    gross            up         payment                 on    any         Collateral           Obligation               in     excess              of    any        withholding                tax        or    other

   deductions          on       account           of tax of any jurisdiction                         on     any    date       of determination                           shall    be    included           in Interest

   Proceeds



                 Retention               Overcollateralization                        Test




                 The       Retention                    Overcollateralization                         Test         is         test      that        is   satisfied           as    of any           Measurement
   Date     during              the      Replacement                 Period            on      which         any         Notes          remain                Outstanding                    if    the      Retention

   Overcollateralization                      Ratio as of such                   Measurement Date                       is at      least   equal              to    103.2%




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  Ramp-Up

                In    connection               with the           Ramp-Up                   Completion                  Date        the Issuer          shall use                    best efforts             to
                                                                                                                                                                              its
                                                                                                                                                                                                                    purchase
  Collateral          Obligations on                              Business                                                                                                                           commitments
                                                          any                               Day       during           Ramp-Up Period
                                                                                                                       the                                          or     enter          into                                    to

  purchase           Collateral              Obligations on                                Business              Day during the Ramp-Up                                 Period           for                        on      or    as
                                                                                any                                                                                                             purchase
  soon     as    practicable                 thereafter             not          to        exceed           60     days       thereafter               in        each      case           for        inclusion           in      the

  Collateral          so       that    the     Overcollateralization                             Ratio Numerator with respect                                     to    the     Class                Notes         is at      least

  U.S.$    1471900000


                No         Collateral              Obligations may                          be     purchased                 prior    to     the       Ramp-Up                  Completion                   Date        unless

  immediately              following               the     purchase              of any           Collateral             Obligation          as        certified          by        the    Servicer           in    writing
  the                           funds in the Collection                           Account                  after                                   such
         remaining                                                                                                 giving effect             to                  purchase             are      sufficient           as     of the
  date    of     determination                      to    purchase               Collateral                                          for    inclusion               in     the       Collateral               so     that        the
                                                                                                            Obligations
  Overcollateralization                        Ratio Numerator with respect                                         to    the       Class             Notes        is at       least       U.S.$1471900000
                into       account           the     Collateral                                                                     of the Collateral
  taking                                                                    Obligations already part                                                                    without            giving effect                 to    any
  reductions              of        that     amount             that        may             have           resulted          from         scheduled               principal               payments                  principal

  prepayments                  or    dispositions               made        with respect                    to    any     Collateral            Obligations on                      or    before        the        Ramp-Up
  Completion               Date

                Notwithstanding                          the     foregoing                   or       any        other        provision           of        the        Indenture                if    the     Issuer           has
                       entered into                      commitment
  previously                                                                          to    purchase               Collateral             Obligation to be                    included            in    the Collateral

  such     commitment                      initially        not       to        exceed           60      days and              at    the    time           of the        commitment                     the        Collateral

  Obligation complied                         with the            definition                of Collateral Obligation                                  and    the        requirements                   set    forth        under

  Ramp-Up                            the    Issuer       may consummate                           the      purchase           of the Collateral                   Obligation notwithstanding                                   that

  the    Collateral                  Obligation             fails          to    comply                with        the       definition           of        Collateral                                              and          the
                                                                                                                                                                                         Obligation
  requirements                 set    out above            on    the date             of settlement



                The         Issuer           will        use     commercially                         reasonable              efforts        to       purchase                or     to     enter          into      binding

  agreements              to    purchase             Collateral             Obligations by                       the     Ramp-Up            Completion                   Date that               together           with the
  Collateral         Obligations purchased                             on       or    before the Closing Date                             and     then held by the Issuer will satisfy                                            as

  of the     Ramp-Up                  Completion                Date        without                               effect      to            reductions                 of that       amount                                   have
                                                                                                  giving                            any                                                                that        may
  resulted       from           scheduled                                                                                                             or                                  made         with respect
                                                     principal             payments                   principal          prepayments                        dispositions                                                          to

  any    Collateral             Obligations on                   or    before the                 Ramp-Up               Completion               Date            the     Collateral              Quality Tests                   the

  Concentration                 Limitations                the    criteria            set    forth         in the      Indenture           and    the Overcollateralization                                  Tests



                Within                     Business         Days           after           the    Ramp-Up                Completion               Date            the     Issuer           or     the      Servicer            on
  behalf     of the Issuer                     shall
                                                           request               SP              Rating          Confirmation               and       shall        provide                report        to    the        Rating
  Agencies           identifying              the        Collateral             Obligations then included                             in    the       Collateral           and        the      Issuer        shall       obtain

  and     deliver          to       the     Trustee        and        the        Rating           Agencies               together          with the              delivery            of          report        and            with

  respect       to    SP              the    Excel         Default              Model            Input      File       and with            respect          to    each        Collateral              Obligation                 the

  name      of the          obligor           thereon            the       CUSIP number                          thereof        if applicable                     and     the       SP           Priority          Category
  thereof        substantially                  in        the     form           of              Monthly            Report           as    of     the       Ramp-Up                                                Date          an
                                                                                                                                                                                      Completion
  accountants              certificate




                                     confirming             the       maturity              date         rating spread and                      recovery            rate       for       each        item of original

  Collateral          Obligations owned                           by       the        Issuer          as    of the         Ramp-Up               Completion                Date           and        the     information

  provided           by    the        Issuer        with respect                 to                   other        asset      included           in    the       Collateral                      reference           to       such
                                                                                       every                                                                                              by
  sources as shall be                      specified        therein



                ii                   confirming that as of the                              Ramp-Up                Completion              Date


                                                    each        of the Coverage                       Tests        are satisfied



                                                    the     Aggregate                 Principal              Balance          of Collateral                 Obligations that                     the    Issuer           owned
                or    committed                to    purchase              as    of the           Ramp-Up                Completion              Date        is    at    least       equal to          the     Maximum
                Amount                 and


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                                          the    Collateral              Obligations comply with                                     all     of the requirements                          of the Collateral

              Quality       Tests        and     the      Concentration                       Limitations                and            the        criteria          set      forth       in     Eligibility
              Criteria           and



              iii           specifying          the     procedures                 undertaken               by them to review                              data         and    computations                relating

  to   the   foregoing      statements



              If         Rating        Confirmation                Failure         should            occur          the        Notes               will       be        redeemed              pursuant         to    the

  Indenture        and     as    described        in     Description                    of the          SecuritiesMandatory Redemption                                                        of the      Notes
  Mandatory Redemption                    of the Notes              upon Rating Confirmation                                       Failure


  Sale of Collateral Obligations                          Acquisition                   of Replacement                        Collateral Obligations



              Pursuant to the Indenture                       and        so    long as no               Event        of Default                    has occurred                  and     is   continuing             the

  Issuer     may     at    the     direction       of the           Servicer                 direct       the    Trustee                to        sell    and           the    Trustee           will     sell       any
  Collateral       Obligation or Workout                       Asset          if   the       sale    meets          the       requirements                     in    paragraphs                   through            ix
  below


                            Credit       Risk      Obligations                     At        the     direction                of the          Servicer                  the    Issuer                   direct       the
                                                                                                                                                                                              may
                            Trustee       to    sell               Credit          Risk        Obligation                at                time during                   or    after      the     Replacement
                                                         any                                                                   any
                            Period        without         restriction               and           the     Trustee              shall          sell        the       Credit          Risk        Obligation               in

                            accordance           with such               direction                Following            any          sale      of          Credit         Risk       Obligation pursuant
                            to    the   Indenture         at       the    direction            of the Servicer                     during the Replacement                                Period         the Issuer

                            shall       use commercially                      reasonable                efforts        to     purchase                   additional            Collateral             Obligations

                            to     the    extent        the    purchase                 is   in     the    best       interest               of the           Issuer          meeting           the     Eligibility

                            Criteria      with an         Aggregate                Principal              Balance             at     least         equal       to    the      Sale       Proceeds         received

                            by     the    Issuer        with        respect             to     the        Collateral               Obligation                  sold            For       this     purpose            the

                            Principal          Balance         of any          Revolving                Loan        or      Delayed                Drawdown Loan                         shall    only include
                            its   funded       amount


               ii           Credit Improved                   Obligations                    At     the     direction               of the Servicer                      the     Issuer         may     direct       the

                            Trustee       to    sell    any    Credit          Improved                 Obligation                 if   either




                                          during         the       Replacement                    Period         the        Servicer               has     identified            in      writing        before       the

                                          sale     one    or       more        specific            manners          in      which            it    will    be able            in    compliance             with the

                                          Eligibility              Criteria         and        the        requirements                     set      forth          in    paragraph              ix      below            to

                                          cause         the        Issuer          to        use     the        Sale          Proceeds                   it    being           understood               that        such

                                          identification                 shall      not       be     considered                either                 requirement                  or    an     assurance            that


                                          any     specified              purchase             will      be consummated                              to    purchase            one       or more additional

                                          Collateral           Obligations with an                            Aggregate                  Principal              Balance             at    least    equal to          the

                                          Purchase            Criteria          Adjusted             Balance             of the Credit                    Improved               Obligation by the end
                                          of     the     immediately                     succeeding                 Due             Period               for       this
                                                                                                                                                                              purpose            the      Principal

                                          Balance         of any              Revolving              Loan        or      Delayed                  Drawdown Loan                          shall    only include
                                          its    funded            amount and                 Principal             Balance                shall          include          the     principal           balance           of

                                          Collateral               Obligations                 in       which          the          Trustee               does          not      have             first    priority

                                          perfected            security            interest             which          in      aggregate                  will       result        in           the     Collateral

                                          Quality Tests the Interest Coverage                                            Tests             the Overcollateralization                             Tests and           the

                                          Concentration                   Limitations                   herein         being             satisfied              or       if   one        or     more       of       such

                                          Collateral           Quality             Tests           Interest         Coverage                  Tests           Overcollateralization                        Tests or

                                          Concentration                   Limitations                are      not      satisfied                  the     degree           of compliance                 therewith

                                          being improved                       ii the          quality          of the         total          portfolio             of Collateral               Obligations as
                                          measured                 by         such            Collateral               Quality                     Tests            Interest             Coverage               Tests

                                          Overcollateralization                          Tests          and     Concentration                         Limitations                being improved                     on

                                          net    basis        in    the    commercially                    reasonable judgment                                of the Servicer                   and     iii     in   the

                                          case         of each           of clause                    and       ii any                  other            Collateral           Quality Tests                Interest


                                          Coverage             Tests            Overcollateralization                               Tests           or     Concentration                      Limitations            not


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                                 being violated                   or         in    the        commercially                    reasonable judgment                              of the        Servicer            the

                                 likelihood            of such violation                            in the future               not    being significantly                          increased            or



                                 after the           Replacement                       Period          the        Sale     Proceeds               received              in respect           of the Credit

                                 Improved Obligation                                   are    at    least     equal to              its   Purchase               Criteria           Adjusted            Balance

                                 for         this
                                                      purpose                the         Principal               Balance             of        any     Revolving                    Loan       or       Delayed
                                 Drawdown Loan                              shall        only include                     its    funded              amount             and       Principal             Balance

                                 shall       include           the      principal              balance            of Collateral                  Obligations                 in     which       the     Trustee

                                 does not have                        first       priority           perfected            security             interest



               and     the        Trustee             shall           sell        the        Credit         Improved                 Obligation                   in    accordance                 with        such

               direction



         iii   Non-Performing                        Collateral               Obligations                        At   the       direction            of the Servicer                     the      Issuer        may
               direct       the       Trustee         to       sell                                                       Collateral                                                     time during              or
                                                                       any Non-Performing                                                        Obligation               at      any
               after        the       Replacement                     Period             without            restriction               and        the        Trustee            shall       sell     the       Non-
               Performing                Collateral               Obligation                   in     accordance                    with       such         direction                 Non-Performing
               Collateral                                                    be sold                                     of price
                                      Obligations                may                               regardless



         iv    Non-qualifying                      Collateral                Obligations                     At     the       direction              of the           Servicer          the       Issuer
                                                                                                                                                                                                                may
               direct        the      Trustee             to    sell                    obligation               that     at    the       time of acquisition                            conversion               or
                                                                            any
               exchange               does           not       satisfy             the        requirements                     of           Collateral                 Obligation              the        Non
               Qualifying                Collateral Obligation                                        at              time during                 or      after the                                       Period
                                                                                                            any                                                              Replacement
               without            restriction              and         the        Trustee             shall        sell       that                                in     accordance                with        such
                                                                                                                                       obligation

               direction



               Withholding                   Tax Sales                At     the        direction            of the Servicer                     the Issuer              may        direct        the   Trustee

               to    sell    any Collateral                    Obligation subject                           to    withholding                  tax     at              time during                or after       the
                                                                                                                                                             any
               Replacement                    Period             without                 restriction                and         the       Trustee                shall         sell      the       Collateral

               Obligation               in   accordance                 with such direction



         vi    Optional               Redemption                         After               the     Issuer           has        notified              the        Trustee             of     an      Optional

               Redemption                    of     the    Notes              at        the        direction          of the           Servicer                  the    Issuer          shall      direct       the

               Trustee           to   sell     all    or         portion               of the Collateral                   Obligations as contemplated                                       therein       if

               the    requirements                    in                          of an        Optional               Redemption                     under         the    Indenture               have         been
                                                               respect

               satisfied          and                the        independent                    certified           public            accountants                  appointed                                to   the
                                                                                                                                                                                        pursuant
               Indenture              have        confirmed              the           calculations               contained               in              required            certificate           furnished
                                                                                                                                                 any
                     the     Servicer
               by                                 pursuant to the Indentures                                       Note         redemption                  procedure               provisions                After
               the    Holders            of         Majority             of the Preference Shares                                    have        directed             an Optional             Redemption
               of the Preference                     Shares            in    accordance                    with the Indenture                        at     the direction               of   the     Servicer
               the    Issuer          shall       direct the            Trustee to                  sell    all   of the remaining                        Collateral              Obligations in the
               case         of     an        Optional                                                                     to     clause                     under                                         of
                                                                  Redemption                        pursuant                                                              Description                           the

               SecuritiesOptional                               RedemptionPreference                                           Shares                or           portion           of the         remaining
               Collateral             Obligations                 in     accordance                    with         the       unanimous                   directions              of Holders              of the

               Preference               Shares         in        the     case           of an         Optional             Redemption                     pursuant             to     clause        ii     under
                                              of                                                                                                                                                        and
               Description                           the        SecuritiesOptional                                    RedemptionPreference                                        Shares                        the

               Trustee           shall       sell    the       remaining                Collateral               Obligations                in   accordance               with such direction



         vii   Rating            Confirmation                    Failure                      After         the       Servicer              has        received              notice          of          Rating
               Confirmation                   Failure             and         if        available            Interest            Proceeds                 and          Principal             Proceeds           are

               insufficient             to effect              the                                  of the Notes
                                                                       redemption                                               at    par on           any        subsequent               Payment             Date
               in    accordance                with the Priority                         of Payments                            and
                                                                                                                         as               to     the      extent         necessary for each                      of

               Moodys              and       SP           to    confirm                the    Initial       Ratings assigned by                             it   on    the     Closing          Date       to   the

                                        the       Issuer                                the
               Securities                                        may              at               direction            of the            Servicer               direct        the      Trustee          to     sell


               Collateral             Obligations as contemplated                                            in     the       Indenture              and         the     Trustee             shall      sell    the

               Collateral             Obligations                in    accordance                    with such            direction


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                   viii           Workout Assets                       At     the      direction              of the Servicer                  the Issuer            may        direct           the   Trustee            to       sell


                                 any     Workout                Asset       at     any time during                     or after the            Replacement                  Period without                        restriction

                                 and     regardless                  of price          and       the    Trustee          shall       sell     the    Workout               Assets in accordance                                with

                                 such       direction




                   ix            Supervening                    Requirement                      Notwithstanding                       anything            herein          to    the        contrary              the     Issuer

                                 at     the    direction               of the Servicer                   or     otherwise               will not           acquire          or       dispose of                   Collateral

                                 Obligation or                      other     eligible            asset        as      defined           in    Rule        3a-7          for     the        primary purpose                          of

                                 recognizing                   gains        or     decreasing                 losses        resulting          from           market            value        changes                    For        the

                                 avoidance                of doubt                         Issuer                                            of the Servicer                          otherwise
                                                                                 the                     at    the     direction                                                or                               may          direct

                                 the     Trustee               to    sell   any        CCC/Caal                     Collateral            Obligation or Deep                            Discount                  Obligation

                                 only               if    it   constitutes              Credit          Risk      Obligation or Non-Performing                                         Collateral                 Obligation

                                 or            in    connection                  with the               Optional            Redemption                as      set    out        in    paragraph                  vi       above
                                 The Trustee                   will     have          no    obligation            to    monitor              compliance              by     the       Issuer           or the          Servicer

                                 with respect                  to the       requirement                 set    out     in   this    paragraph



                   Notwithstanding                   the        foregoing                  the     Issuer        or         the     Servicer             on    its       behalf             shall       not       direct           the

   Trustee         to    sell    any       Collateral                Obligation                 other         than      the       sale        of         Credit          Risk        Obligation                   or          Non-

   Performing             Collateral           Obligation pursuant to                                    sale     that       meets        the       requirements                 in     paragraph                        or        iii

   above       as       applicable          following                 receipt         by     the       Servicer        of notice              of removal             pursuant to                  the provisions                     of

   the      Servicing           Agreement                 until             successor                  servicer         is       appointed            pursuant              to       the         provisions               of       the


   Servicing            Agreement             See        The          Servicing             Agreement

   Certain Determinations                            Relating               to    Collateral Obligations



                   The     Indenture           provides               that        notwithstanding                      anything           to       the    contrary              contained              therein                solely

   for the                        of calculations                     in    connection                 with the         Eligibility                Criteria          the    Issuer           or     the       Servicer              on
                purpose
   behalf      of the Issuer            shall       be deemed                 to      have       purchased                        Collateral             Obligations as of the date                                 on    which
                                                                                                                       any
   the      Issuer      enters      into           contract            to   purchase                    commitment                  letter               confirmation or                          due        bill      for     such

   Collateral           Obligation            in    each            case entitling the Issuer                         or      the      Trustee as assignee thereof                                     to    receive           such

   Collateral            Obligations             and            in    such         event          the         Issuer        shall       be     deemed               to    have         acquired                  granted             or

   delivered            as the      case may             be         such    Collateral             Obligations on                   such       date



                   The     Indenture           provides               that        notwithstanding                      anything           to       the    contrary              contained              therein                solely

   for the      purpose           of calculations                     in    connection                 with      the    Eligibility                Criteria          the    Issuer           or     the       Servicer              on

   behalf      of the Issuer             shall       be        deemed            to    have        sold                Collateral             Obligations as of the date                                    on    which            the
                                                                                                              any
   Issuer      enters        into       contract               to    sell          commitment                   letter            confirmation or                         due        bill    for       such         Collateral

   Obligation             in    each    case        entitling the                Issuer          or      the    Trustee           as    assignee thereof                        to    sell and              requiring              the


   purchaser to purchase                       such            Collateral             Obligations and                    in      such     event          the    Issuer          shall        be     deemed               to    have

   sold      such       Collateral       Obligations on                     such date



                   Under         the       circumstances                      described                 in      the      two         preceding                paragraphs                     if     the          transaction

   contemplated                by    the    contract                 commitment                   letter        confirmation                  or    due       bill       referred           to    therein              does        not

   settle     on     or before           the       60th        day     following                 the    scheduled                settlement           date      the         Deadline                          the       deemed

   purchase          or sale        shall   be      deemed             not to have                occurred             provided               however           that       the       Servicer               shall      have        the

   right to        extend the Deadline                         for    an additional                period        not        to    exceed           an additional                60     days by               notice           to    the

   Trustee           which       notice       shall        include          the       Servicers               certification             to the       effect         that    the        Servicer              believes              that

   the      settlement          shall   occur        on or before                  the      extended            Deadline



                   Scheduled            distributions                 with respect                 to            Pledged            Collateral             Obligation shall be                          determined                   in
                                                                                                         any
   accordance             with the applicable                        provisions             of    the    Indenture



   The       Accounts


                   The     Indenture           provides                that      the       Trustee            will     establish             separate          segregated non-interest                                   bearing

   trust     accounts            which        will       be         designated             as    the     Collection               Account            the      Payment Account                               the     Custodial

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  Account             the      Revolving                 Reserve                Account                 the     Delayed            Drawdown                  Reserve           Account                   the       Synthetic

  Security            Collateral            Account                 the     Hedge               Counterparty                 Collateral           Account                the       Closing           Date           Expense
  Account             the     Expense Reimbursement                                    Account                  the       Interest        Reserve            Account               the    Securities                 Lending
  Account          and        the        Class      II    Preference              Share             Special           Payment             Account                 In    addition           Synthetic                 Security

                              Accounts                                be established
  Counterparty                                     may         also                                           Any         account        may contain any number of subaccounts


                 Collection               Account              The Trustee                  shall        deposit          into the        Collection               Account


                                    any      funds            transferred              from                     the       Closing          Date         Expense             Account                                    to     the
                                                                                                                                                                                                pursuant
                                    Indenture            or           the Interest                 Reserve           Account                                to the      Indenture
                                                                                                                                        pursuant



                 ii                 all    Principal           Proceeds               unless                    simultaneously               used           to    purchase          Collateral                Obligations
                                    in    accordance                with the Indenture                                                       into       the                              Reserve              Account          or
                                                                                                                           deposited                              Revolving
                                    the     Delayed             Drawdown                   Reserve             Account             or            posted by              the    Issuer          as    cash          collateral

                                    with      or     for        the       benefit          of            Synthetic               Security         Counterparty                 simultaneously                       with      the

                                    Issuers          purchase               of        or     entry            into          Synthetic             Security             or     in                          Investments
                                                                                                                                                                                    Eligible
                                    received         by the Trustee



                 iii                all    Interest           Proceeds            received                by       the     Trustee         unless            simultaneously                    used           to    purchase
                                    accrued         interest          in respect                of Collateral                Obligations               in    accordance              with the Indenture                        or

                                    in Eligible               Investments                  and



                 iv                 all    other     funds received by the Trustee                                         and    not excluded               above


                 The         Issuer       and      the Servicer                 may         but will not be required                         to    jointly             deposit       from time                to    time any
  monies         in the       Collection Account                                deems
                                                                           it                      in    its   sole       discretion         to    be advisable                and may                   designate any
  amounts          so   deposited as Principal                            Proceeds               or Interest              Proceeds          in   its   discretion



                 Any         Principal           Proceeds             received during                        the     Replacement             Period              and     Sale Proceeds                    from       the     sale

  of    Credit          Risk         Obligations                and        Credit            Improved                                            and        Unscheduled
                                                                                                                      Obligations                                                        Principal                 Payments
  received            after     the        Replacement                    Period             which             have        not     been      used           to                       additional                    Collateral
                                                                                                                                                                  purchase
  Obligations on                   the     Business Day                   of receipt               shall       be     deposited in the Collection                              Account              and        shall    at   the

  direction           of the        Servicer             be     applied          to    the                                of additional            Collateral                                            in   accordance
                                                                                                   purchase                                                                 Obligations
  with     the        Eligibility           Criteria            and       the     other                                           set    forth     in       the    Indenture              or    the                            of
                                                                                                   requirements                                                                                               purchase
  Eligible       Investments                 pending            such                                    or     used to enter              into    additional
                                                                            application                                                                                  Hedge           Agreements or used
  in    connection            with                                                                                    Proceeds                         than Sale            Proceeds            from the sale                  of
                                             Special            Redemption                       Principal                                other
  Credit      Improved Obligations                                  Credit        Risk                                       and        Unscheduled                                                                 received
                                                                                                 Obligations                                                       Principal             Payments
  after    the     Replacement                   Period shall be                  deposited                   into    the    Collection            Account              and                         to    the
                                                                                                                                                                                 applied                            purchase
  of Eligible           In   vestments



                 The         Collection            Account            shall       be        maintained                for     the       benefit        of the Noteholders                       the           Trustee        the

  Servicer            and     each          Hedge             Counterparty                   and         amounts             on                        in    the       Collection              Account               will     be
                                                                                                                                    deposit

  available           for      application                in    the        order of                                   under                                       of     the                                                   of
                                                                                                   priority                         Description                                    SecuritiesPriority
                        and        for     the                              of Collateral
  Payments                                         acquisition                                               Obligations under                    the       circumstances            and pursuant to the
  requirements                in    the     Indenture                 Amounts                   received             in    the    Collection            Account               during    Due Period and
  amounts          received               in prior        Due        Periods           and         retained           in    the     Collection              Account            under       the       circumstances
  stated      above            in     Description                    of     the        SecuritiesPriority                           of      Payments                   will    be                             in
                                                                                                                                                                                         applied                     Eligible

  Investments                with         Stated         Maturities              no        later        than        the    Business          Day            before       the       next                              Date
                                                                                                                                                                                            Payment                            as

  directed        by     the       Servicer         which                        be        in   the      form        of standing            instructions                    All
                                                                      may                                                                                                           proceeds              deposited            in


  the    Collection            Account             will        be    retained          therein            unless          used to purchase                   Collateral            Obligations during                        the

  Replacement                 Period         or          in    respect          of Principal                   Proceeds           constituting               Unscheduled                 Principal                 Payments
  and     Sale     Proceeds               from      Credit          Risk        Obligations and                       Credit                                                        after      the
                                                                                                                                    Improved            Obligations                                       Replacement
  Period         in    accordance               with the Eligibility Criteria                                   to   honor        commitments with                                       thereto              entered into
                                                                                                                                                                         respect

  during      or       after       the     Replacement                    Period            or     used         as    otherwise            permitted under                     the       Indenture                  See

  Eligibility          Criteria




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                     The        Trustee              shall      transfer             to    the    Payment               Account           from      the        Collection              Account                 for      application

   pursuant              to     the      Priority          of Payments                     no     later       than the Business                    Day         preceding               each          Payment Date                       the

   amount            set forth            to    be    so transferred                     in the    Valuation              Report for the Payment Date


                     At any time during                              or      after        the    Replacement                  Period         at    the        direction          of the             Servicer               the    Issuer

   may     direct             the     Trustee             to                 from        amounts          on                        in the    Collection                 Account               on                  Business
                                                                pay                                                deposit                                                                           any                               Day
   during any                 Interest          Period from                   Interest          Proceeds            only any Administrative Expenses                                            that          require        payment
   before the next Payment                                  Date        to     the extent          that       the       amount of           the    payments                does not exceed                         the     aggregate
   amount            that        may           be     paid on                the     next       payment             Date        under        and         at    the        level       of priority                   specified           by
   Description                   of the SecuritiesPriority                                      of PaymentsInterest Proceeds



                     Custodial Account                                 The          Trustee        will       from time              to     time deposit                  collateral            into           the      Custodial
   Account                    over which the Trustee will have                                       exclusive                control       and     sole           right    of withdrawal                          in   accordance
   with        the       Indenture                   All       assets          or    securities          at               time on                             in    or    otherwise                 to    the       credit        of the
                                                                                                               any                         deposit

   Custodial Account                            will       be    held in trust by the Trustee for the benefit                                                 of the Noteholders                              the       Trustee         the

   Servicer          and         each       Hedge              Counterparty



                    Revolving                  Reserve           Account              and Delayed Drawdown Reserve                                Account Upon                                      the       purchase            of any

   Collateral              Obligation                 that        is           Revolving             Loan           or    Delayed            Drawdown Loan at                                   the           direction           of the

   Servicer              the     Trustee             shall deposit                  Principal        Proceeds                 into   the     Revolving                  Reserve           Account                  in the        case of

        Revolving                Loan           and        the       Delayed              Drawdown                 Reserve           Account             in        the    case       of         Delayed                 Drawdown
   Loan         each            equal to             the       unfunded              commitment amount                               of the       Revolving                Loan           or    Delayed                 Drawdown
   Loan         respectively                    and        the Principal                  Proceeds            so    deposited shall be considered                                    part      of the Purchase                       Price

   of    the    Revolving                  Loan           or    Delayed             Drawdown Loan                        for
                                                                                                                                 purposes          of the Indenture                         At      the        direction          of the

   Servicer           at      any        time during                 or      after        the    Replacement                  Period         the    Trustee              shall       withdraw                  funds from               the

   Revolving                  Reserve               Account             or     the        Delayed         Drawdown                   Reserve         Account                to       fund       extensions                   of credit

   pursuant to Revolving                                  Loans          or     Delayed           Drawdown Loans                           respectively                    In    addition                to    the       extent         that

   the    Issuer           receives             proceeds               of           repayment            in                     of        Revolving                Loan except                  to       the       extent         of any
                                                                                                               respect

   concurrent                 commitment reduction                                   at
                                                                                           any    time during                  or    after the      Replacement                       Period              the       Trustee            shall

   deposit          the       proceeds              into the          Revolving                 Reserve            Account


                     Upon            the       sale        of          Revolving                 Loan         or    Delayed           Drawdown Loan                             in    whole              or     in      part      or    the

   reduction               in    part       or       termination                    of the       Issuers            commitment thereunder                                  an    amount                  on     deposit           in    the

   Revolving               Reserve              Account              or the          Delayed         Drawdown                  Reserve        Account                   as the       case       may be               specified           by
   the    Servicer              as    being equal to                            the       unfunded            amount of              the    commitment in                        the      case           of        sale      in   whole

   or      termination                    of the          commitment ii the                               proportionate                amount of               the       amount on                                      in   the       case
                                                                                                                                                                                                    deposit

   of      sale          in     part           or    iii        the      amount by which                           the    commitment                is    reduced               in     the      case           of          reduction

   thereof          in    part           shall       be transferred                  by the Trustee to the Collection                                Account                as Principal                  Proceeds



                     Amounts                   on     deposit             in       the    Revolving                Reserve           Account             or        the     Delayed              Drawdown                       Reserve

   Account               will       be     held in Eligible                         Investments               with       Stated       Maturities               as       directed       by       the           Servicer            which
   may         be    in       the        form        of        standing             instructions               not       later       than    the     Business                   Day        after         the        date       of their

   purchase                   All        interest           and        other          income         from           amounts            in    the     Revolving                   Reserve                 Account               and      the

   Delayed            Drawdown                      Reserve             Account             deposited              to    the     Collection          Account                under           the      Indenture                 shall     be

   considered Interest Proceeds                                       in the         Due Period               in   which         they are so deposited



                     Synthetic              Security             Collateral                Account                 On    or    before        the    date           on     which        the          Issuer          enters        into

   Synthetic               Security                 the    Trustee              shall       create                 sub-account              of     the        non-interest                  bearing                trust       account

   established                for Synthetic                    Security             Collateral       the Synthetic Security Collateral                                                 Account                       with respect

   to     the        Synthetic                  Security                     All         Synthetic            Security              Collateral            posted            by                      Synthetic
                                                                                                                                                                                      any                                    Security

   Counterparty                     in     support              of     its
                                                                               respective           obligation                 under          Synthetic                  Security           shall             be     immediately

   deposited               into       the       Synthetic               Security            Collateral              Account           and     posted               to    the     sub-account                       related        to    the

   Synthetic              Security                  On     each         day         on     which      amounts                 are    payable        to        the       Issuer       out       of Synthetic                  Security

   Collateral                 the     Issuer          shall       direct            the    Trustee        to       withdraw           amounts             on        deposit          in the          Synthetic               Security

   Collateral              Account              in    an       amount              sufficient       to    make           the     payment including                         any        total         or    partial release                 of



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  Synthetic        Security              Collateral                The only permitted withdrawal                                             from        or application              of funds on                   deposit      in
  or    otherwise        to       the credit          of     the    Synthetic                                  Collateral               Account               shall   be
                                                                                          Security



                                   for application                 to                               of the relevant
                                                                         obligations                                                   Synthetic              Security        Counterparty                     to the       Issuer

                                   under          Synthetic              Security              if   the                                                  becomes                           to                  termination
                                                                                                            Synthetic              Security                              subject                    early
                                   or in the exercise                     of remedies                    under         the                                                                      event           of default
                                                                                                                              Synthetic                  Security       upon any
                                   under         and        as    defined           in    the        terms          of the             Synthetic              Security         including                 liquidating           the

                                   related       Synthetic              Security          Collateral                Account                  or



               ii                  to return          the Synthetic                 Security             Collateral               to    the relevant             Synthetic           Security                 Counterparty
                                   when        and      as       required by              the       terms       of the            Synthetic              Security in each                  case           as    directed        by
                                   the    Servicer



  Amounts          on        deposit           in the        Synthetic           Security                Collateral               Account                will    be   held      in Eligible                    Investments

  having      Stated          Maturities              not                than one             Business
                                                             later                                                  Day       after their                purchase           as directed                  by the Servicer
  which       may       be        in the       form      of standing                 instructions                   and       shall          not be       considered an                              of the Issuer
                                                                                                                                                                                      asset                                    for

  the   purposes         of the Coverage                         Tests



               Hedge              Counterpart-v                  Collateral           Account                  The        Trustee             will deposit            all     collateral             received            from
  Hedge                                    under
              Counterparty                               any       Hedge            Agreement                  into       the      Hedge                 Counterparty Collateral Account
  The     only permitted withdrawal                                 from        or                               of funds on                                     in or otherwise
                                                                                      application                                                 deposit                                            to    the      credit     of
  the   Hedge        Counterparty                 Collateral              Account              will       be           for application                    to    obligations          of the relevant                     Hedge
  Counterparty               to    the     Issuer       under                                                                                                                 becomes
                                                                          Hedge               Agreement                 if   the        Hedge            Agreement                                   subject          to     early
  termination or                  ii to        return        collateral          to      the        relevant           Hedge             Counterparty                 when          and        as    required by               the
  relevant     Hedge              Agreement                  in    each    case                                                        Servicer
                                                                                         as     directed             by      the                              Amounts          on     deposit              in the        Hedge
  Counterparty               Collateral           Account               will    be       held       in    Eligible           Investments                  with Stated           Maturities                    no    later     than
  the   Business         Day            before the next Payment                               Date        as directed              by the Servicer                    which          may        be        in the      form      of
  standing      instructions                   and      shall      not     be    considered                    an asset of the Issuer                           for the                             of the Coverage
                                                                                                                                                                              purposes
  Tests



               Closing             Date Expense                   Account                Amounts               deposited                in    the    Closing Date Expense Account                                               on
  the                   Date                     be    withdrawn
         Closing                        will                                    to       pay        certain         administrative
                                                                                                                                                         expenses        of the           Co-Issuers                   On      the

  Payment Date                in    August            2007        or      at    the       discretion             of the           Servicer               on     the   Payment Date                       in    May 2007
  the   Trustee         shall        transfer                    funds on
                                                       all                           deposit             in the         Closing               Date        Expense           Account             to       the       Collection
  Account       as                          Proceeds              and                                                Date
                        Principal                                         close          the     Closing                          Expense               Account          Amounts                    on    deposit           in the

  Closing      Date          Expense Account                       shall       be     held in Eligible                       Investments                  with Stated           Maturities                    no    later     than
  the   Business Day                 before                  second
                                                      the                  Payment Date                        as    directed            by       the     Servicer       which             may           be    in the        form
  of    standing         instructions                  and        shall     not          be     considered                   an        asset       of     the    Issuer        for       the
                                                                                                                                                                                                    purposes             of    the

  Coverage         Tests



              Expense               Reimbursement                       Account                 On        any        Payment                 Date        and     on any         date           between              Payment
  Dates      the   Trustee will apply amounts                                                                                            Reimbursement                        Account
                                                                                 if      any        in   the    Expense                                                                                  to the     payment
  of expenses            and        fees       that     must        be     paid between                        Payment             Dates            or    that    are    due        on     that          Payment             Date
  under      clause                 of Description                       of the                                                              of PaymentsInterest
                                                                                         SecuritiesPriority                                                                                Proceeds                   and      the

  Trustee      shall         on            Payment Date
                                   any                                     transfer            to     the      Expense Reimbursement                                  Account             an        amount equal                to
  the    excess         if                of      the        Administrative                                                        over                   amounts             due
                                  any                                                           Expense                Cap                        the                                    under            clause                of
  Description            of the SecuritiesPriority                                   of PaymentsInterest Proceeds                                                 to the      Expense Reimbursement
  Account       in    accordance                 with clause                     of Description                           of the SecuritiesPriority                                 of PaymentsInterest
  Proceeds               Amounts                 on     deposit           in     the      Expense                Reimbursement                            Account           shall         be        held       in    Eligible
  Investments           with            Stated        Maturities           as       directed                   the        Servicer
                                                                                                         by                                       which         may      be    in    the        form           of standing

  instructions           no        later    than the Business Day                              before          the     next Payment Date


              Securities                Lending         Account                The Trustee                  will deposit                 all      Securities          Lending            Collateral                posted by
  any    Securities           Lending             Counterparty                  in                        of                                                             under             Securities
                                                                                         support                 its
                                                                                                                          respective                obligation                                                      Lending
  Agreement             in          non-interest                  bearing        trust          account              the          Securities                   Lending          Account                            The       only
  permitted        withdrawal                  from          or                                of        funds       on                                          otherwise
                                                                   application                                                deposit              in     or                         to        the        credit      of       the


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   Securities          Lending               Account                will       be              for    application                 to    obligations                    of the relevant                    Securities               Lending

   Counterparty               to       the    Issuer           under                 Securities                 Lending            Agreement                           the    Securities
                                                                                                                                                                 if                                    Lending            Agreement
   becomes             subject          to     early           termination                     or     in        the        exercise              of     remedies              under          the        Securities                 Lending

   Agreement                upon any               event                of default                   under           and      as       defined              in     the       Securities              Lending             Agreement
   including           liquidating             the       related           Securities                 Lending               Collateral                or    ii to           return       collateral           to    the       Securities

   Lending          Counterparty                   when            and     as required                    by          Securities             Lending               Agreement                    Amounts              on       deposit        in


   the Securities             Lending              Account                shall          be    held        in   Eligible              Investments                 with Stated              Maturities               as    directed         by
   the Servicer             which may be                       in the          form           of standing instructions                                  no    later         than the Business Day                             before the

   next Payment               Date             Amounts                   on     deposit              in the          Securities              Lending               Account               shall       not     be     considered             an

   asset    of the Issuer                   for the       purposes                  of the Coverage                         Tests           but the loaned security                               or    asset       that       relates to

   the Securities            Lending               Account                shall          be    so    considered               an asset of the Issuer



                 Payment Account                               The Trustee                     will        deposit           collateral               into    the       Payment                 Account                   over which
   the     Trustee          will       have        exclusive              control              and        sole        right       of withdrawal                         in    accordance                with the              Indenture

   All     assets or securities                    at    any time on                      deposit          in or       otherwise                 to    the credit            of the Payment                   Account               will   be

   held     in   trust      by        the    Trustee for the benefit                                 of the Noteholders                               the     Trustee              the    Servicer            and        each       Hedge
   Counterparty                  The         only permitted withdrawal                                          from        or application                    of funds on                deposit           in or otherwise                  to

   the     credit      of     the       Payment                Account                   shall       be    to                amounts                  due     and       payable            on     the       Notes         and       to
                                                                                                                     pay                                                                                                                  pay
   Administrative                  Expenses                   and        other           amounts                specified             in     the        Indenture                  each      in      accordance                with        the

   Priority       of Payments



                 Interest             Reserve           Account                 Amounts                   deposited in the Interest                                    Reserve            Account                  on    the       Closing
   Date      will      be    withdrawn                             to    pay         amounts                                       such          that       the        amounts            referred           to     in    clauses
                                                                                                           necessary
   through        20         of Description                         of the           SecuritiesPriority                               of PaymentsInterest Proceeds                                                 will       be    paid in
   full    on each          Payment Date                      occurring                  on    or    before the Payment Date                                      in    August           2007        or     ii at        any       time     to

   be transferred                at    the    discretion                 of the            Servicer             to    the     Collection                    Account           as Principal                  Proceeds                On     the

   Payment Date                  in    August            2007            or         at    the       discretion              of the Servicer                       on        the    Payment Date                    in    May 2007
   the    Trustee will transfer                         all    funds on                  deposit          in the       Interest             Reserve           Account               to    the Collection                  Account           as

   Principal        Proceeds                and        close        the        Interest             Reserve           Account                    Amounts                on    deposit           in the        Interest             Reserve
   Account          will     be        held        in    Eligible              Investments                     with        Stated          Maturities                  as    directed           by     the    Servicer              which
   may be         in the         form of           standing               instructions                     no        later       than the Business Day                               before            the    second           Payment
   Date


                  Class II Preference                              Share            Special           Payment Account                                  On        each        Payment              Date        to    the        extent       of

   available        funds in accordance                                  with the Priority of Payments                                            the       Trustee           will deposit                  into    the       Class         II

   Preference               Share            Special               Payment                    Account                  amounts                   equal        to       the        products             of               the        Class     II


   Preference            Share         Portion for such Payment                                       Date           and               on                                     Date                                            two
                                                                                                                                                 any Payment                                                the    first
                                                                                                                                                                                          during                                        years

   after    the     Closing             Date        or        with respect                     to    which            the     Servicer                has     notified             the    Trustee            on     or     before          the

   related       Determination                     Date        that       it    is       waiving           its       Servicing             Fee         the    Servicing              Fees then due                      and        payable
   as     described in Description                                 of the SecuritiesPriority                                     of    Payments                       for    payment            to     the Servicer                on    such

   Payment Date The                          Servicer              has agreed                  to    waive           such        amounts                which          would otherwise                       be payable to the

   Servicer         as    Servicing               Fees on each                       Payment Date                         during        the           first   two        years       following               the    Closing              Date

   and     an amount equal to such                                  waived                amounts              will    be     distributed                   by the Trustee                 to     the       Preference Shares

   Paying        Agent           subject          to     the       laws of the Cayman                                Islands for payment pro rata                                        to the        Holders of the Class

   II   Preference           Shares           as    Class                Preference Share                                                                        After the two-year                                                     of the
                                                                    II                                               Special          Payments                                                              anniversary

   Closing        Date        the       Servicer               may         in       its       sole    discretion                 at    any        time waive                       portion         of the          Servicing             Fees

   then due         and      payable               in    which           event            an amount equal to such                                     waived           portion           will     be    paid by the Trustee
   to the    Preference Shares                          Paying Agent subject                                    to   the     laws of the Cay                      man        Islands for payment pro rata                                   to

   the     Holders           of the           Class                 Preference                      Shares           as     Class                 Preference                  Share                                                       For
                                                              II                                                                            II                                             Special            Payments
                       of any           calculation                 under            the        Indenture                  and        the                                                            the     Servicer              will    be
   purposes                                                                                                                                      Servicing              Agreement
   deemed         to     have         received            the       Servicing                  Fee        in    an amount               equal to the sum of the Servicing                                               Fee        actually

   paid to the Servicer                      and        the    amount               distributed                 to the       Holders             of the Class                 II   Preference                Shares as Class                 II


   Preference Share                    Special           Payments




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                Synthetic           Security             Counterpartv                  Account                To      the       extent       that    any     Synthetic           Security             requires          the

  Issuer     to    secure         its    obligations                to    the    Synthetic           Security              Counterparty               or to       the    extent        that      any        Synthetic

  Security        has      an     unfunded               amount payable by                         the     Issuer          that    does not by               its   terms require                 collateral             the

  Issuer     shall         direct       the      Trustee             and        the    Trustee            shall        establish               segregated               non-interest                                   trust
                                                                                                                                                                                                   bearing
  account         the Synthetic                      Security                 Counterparty                 Account                     for    the    Synthetic            Security            which            shall      be
  held in trust for the                      benefit          of the related                                                                                       and     over        which          the       Trustee
                                                                                             Synthetic               Security           Counterparty
  shall    have        exclusive          control             and        the    sole                of withdrawal                  in    accordance            with the applicable
                                                                                        right                                                                                                               Synthetic

                   and      the      Indenture                     In     the                                                                                                           Account                           be
  Security                                                                        alternative                    Synthetic               Security          Counterparty                                        may
  established              with              trustee           designated                by        the        Synthetic                Security                                        that        satisfies            the
                                                                                                                                                       Counterparty
                            with                         to                       securities            intermediary with respect                             to    the
  requirements                          respect                being                                                                                                       posted collateral                      if   that

  trustee       would        qualify           to    be            successor trustee                    under          the       Indenture           and     the     account           satisfies            the      other

  requirements             of       Synthetic             Security              Counterparty               Account               under       the    Indenture



                As      directed         in writing             by the           Servicer           the       Trustee shall deposit                     or     deliver          for     deposit             into     each

  Synthetic            Security          Counterparty                         Account         all    amounts                or     securities          that        are     required            to        secure         the

  obligations           of the          Issuer       in    accordance                  with       the     related                                                  and     without                                        an
                                                                                                                           Synthetic           Security                                       duplication
  amount equal              to    the    unfunded               amount of                   Synthetic           Security               including       the     entire       notional           amount of any
                                        in    the        form       of          credit       default                             other       similar       transaction                 The
  Synthetic            Security                                                                            swap            or                                                                    Servicer            shall

  direct     any        such      deposit            only during                  the       Replacement                    Period        and        only to         the    extent           that      monies            are

  available          for   the     purchase              of Collateral                 Obligations pursuant to the                                  Indenture             Any        income           received            on
  amounts          in the        Synthetic               Security             Counterparty                Account               shall     after      application            in       accordance                with the
  relevant         Synthetic             Security               be        withdrawn                from         the                                                                              Account                and
                                                                                                                           Synthetic           Security            Counterparty

  deposited in the Collection                             Account              for distribution                as Interest             Proceeds



                As      directed         by      the      Servicer              in writing           and        in    accordance              with the applicable                      Synthetic               Security

  and     the     Indenture              amounts              on        deposit        in         Synthetic             Security             Counterparty               Account             shall        be     held      in

  Synthetic          Security           Collateral



                In     connection              with the             occurrence               of      credit          event        or    an event        of default             or       termination event

  each      as defined            in the applicable
                                                                         Synthetic           Security            under           the related          Synthetic           Security amounts                        in    any
  Synthetic          Security           Counterparty                     Account         shall      be     withdrawn                by the Trustee                 or     the    Trustee            shall       request
  their    withdrawal               and                            toward         the                           of any           amounts
                                               applied                                      payment                                                 payable        by     the        Issuer      to      the    related

  Synthetic          Security           Counterparty                     in   accordance            with the Synthetic                       Security          as directed              by     the       Servicer         in

  writing          Any       excess           amounts              held in             Synthetic              Security            Counterparty               Account             or held directly                    by
                                                                              after                       of               amounts
  Synthetic            Security          Counterparty                                  payment                   all                          owing from                 the     Issuer        to        the    related

  Synthetic            Security          Counterparty                    in     accordance              with         the    related          Synthetic                               shall     be        withdrawn
                                                                                                                                                                  Security
  from      the        Synthetic              Security                                             Account              and                             in     the        Collection               Account              for
                                                                    Counterparty                                                   deposited
  distribution          as Principal                Proceeds



                Amounts             on       deposit          in
                                                                     any       Synthetic            Security           Counterparty                 Account          shall       not be          considered               an
  asset     of the Issuer               for the          purposes               of the       Coverage              Tests          but    the       Synthetic                            that     relates to             the
                                                                                                                                                                    Security

  Synthetic          Security           Counterparty                     Account         shall       be    so considered                  an       asset   of the Issuer               with           the      notional

  amount        as the Principal                 Balance             unless            default          exists        under       the    applicable           Synthetic              Security



  Hedge         Agreements


                At any time and                     from        time to time on or after the Closing                                          Date      the       Issuer        at    the     direction           of the
  Servicer         and       with        the        consent              of                              of     the                                 Class          shall       enter        into         the
                                                                                      Majority                             Controlling                                                                          Hedge
  Agreements               and     will                       its                     but none            of    its                                under      the                                                 to    the
                                              assign                 rights                                            obligations                                      Hedge         Agreements
  Trustee pursuant                 to    the        Indenture                  The Trustee will on behalf                                of the Issuer              and     in       accordance                with the
  Valuation            Report                   amounts                  due     to    the    Hedge                                            under       the                                                  on
                                        pay                                                                    Counterparties                                       Hedge            Agreements                        any
  Payment Date               in   accordance                  with the Priority of Payments



                Each Hedge                Counterparty                    will    be required              to    have                   debt rating          by    Moodys              for     long-term debt
  of    Al        or    higher      if    the       Hedge           Counterparty                  has only             long-term rating or                          debt rating             by     Moodys               for

  long-term debt of                 A2              or   higher and                   debt rating by                 Moodys              for short-term              debt of          P-i           if   the    Hedge

                                                                                                           115
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   Counterparty                    has     both       long-term and                       short-term              ratings       and       ii       short-term                  debt rating          by      SP        of not

   less      than       A-i or              if   the    Hedge          Counterparty                     does not have                     short-term              debt rating              by    SP            long-term
   debt rating of not less than                                            the Required                       Rating

                   If    at        any      time           Hedge                Counterparty                  does            not   have         the     Required                   Rating        then        the    Hedge
   Counterparty                    shall    be    required            at    its       sole       expense           to     within the applicable                         period specified                 in the      related

  Hedge         Agreement                   either




                                     post        collateral           with the Trustee                       to    secure        the     Hedge         Counterparty                       obligations          under        the


                                     Hedge             Agreement                     in    an     amount            and       of the        type        specified              under        the    relevant          Hedge
                                     Agreement               provided                 that       the    Hedge            Counterparty             shall           at    the    time such          collateral          is first


                                     posted            deliver        to        the       Issuer       the    Trustee            and      the    Rating Agencies                       an       opinion       of counsel

                                     of nationally                recognized                    standing in the jurisdiction                            in    which            the    Hedge        Counterparty               is


                                     incorporated                confirming that                        such       collateral            will    be     available              in     timely manner upon

                                     bankruptcy             of the Hedge                        Counterparty


                   ii                obtain             guarantor                that       has         short-term               debt rating            by        SP          of not less than                A-i and
                                     otherwise            has the Required                         Rating              subject      to    satisfaction             of the Rating Condition                           or


                   iii               replace            itself     under              the        related          or     substantially            equivalent                   Hedge        Agreement                with

                                     substitute           Hedge            Counterparty                   that         has the Required                 Rating            subject          to    satisfaction         of the

                                     Rating           Condition


                   provided               that    failure to take                            such       steps          set forth         under    paragraphs                         through       iii above               shall
                                                                                     any
                   be    treated           as    an    Additional                 Termination                 Event            under       such Hedge                   Agreement

   If   at   any    time the Hedge                      Counterparty                      has           no    short-term            Moodys              rating          and          long-term           Moodys             that

   is   below           A3          or            both           short-term                and      long-term     Moodys                        rating       and        either       the    long-term           Moodys
   rating       that          is    below         A3             or    the           short-term              Moodys rating                       that        is    below             P-2          then        the    Hedge
   Counterparty                    shall    be    required                  its       sole                         to within the applicable                             period specified                 in   the    related
                                                                      at                         expense
   Hedge        Agreement                   either


                                     obtain              guarantor                that       has       the        Required          Rating            subject            to    satisfaction            of the        Rating
                                     Condition              or



                   ii                replace            itself        under           the        related          or     substantially            equivalent                   Hedge        Agreement                with

                                     substitute           Hedge            Counterparty                   that         has the Required                 Rating            subject          to    satisfaction         of the

                                     Rating           Condition


                   provided               that    failure to           take          any        such     steps          set   forth      under        paragraphs                      and       ii above            shall    be

                   treated          as     an    Additional                Termination                  Event             under       such Hedge               Agreement

                   If    at    any         time the         Hedge                Counterparty                 has             long-term unsecured                             debt rating          by       SP        below
   BBB-                 then the            Hedge         Counterparty                       will       be    required              within        the    applicable                  period        specified          in    the

   related      Hedge              Agreement               to    replace              itself      under       the       related        or substantially                  equivalent             Hedge         Agreement
   with         substitute                Hedge         Counterparty                      that    has the Required                       Rating         subject           to    satisfaction             of the Rating

   Condition             provided               that    failure to              do    so shall          be treated             as   an Additional                      Termination              Event         under        such

   Hedge        Agreement

                   Whenever                 the        Issuer         enters              into          Hedge            Agreement               the     Hedge                Counterparty               thereto           shall

   comply with                 the       then currently               applicable                 rating      criteria         of each       Rating Agency                      from time to time


                   Any         payments                required            to    be        made        under           the    Hedge        Agreements                    shall       be     made       in     accordance

   with the Priority                      of Payments                  Defaulted                  Hedge            Termination              Payments                   shall    be    subordinate              to    interest

   and       principal             payments            on the Notes                   and               other                             required        to       be made            by the Issuer            under        the
                                                                                                 any                   payments

   Hedge           Agreements                    but     senior            to        distributions                to     Holders          of the         Preference                  Shares                           to    the
                                                                                                                                                                                                   pursuant
   Indenture



                   Unless the Rating                      Condition                   with respect                to    each     Rating Agency                     is    otherwise          satisfied          following
   the early            termination of                   Hedge             Agreement                   other than on                     Redemption                Date         the    Issuer       at   the    direction

   of the       Servicer                 shall    promptly             but no               later      than 60            days      after       the    early           termination               and     to    the    extent


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  possible        through          Hedge             Termination              Receipts            enter        into           replacement                 hedge                unless           in the       exercise        of

  the    Servicers            commercially                  reasonable judgment                             to do      so     would not be                     in    the best            interest           of the Issuer

  and     the    Rating       Condition               with respect            to     each        Rating Agency                     is    satisfied         with respect                    to    not entering             into

       replacement            hedge            In    addition                                                                 not       be entered into unless
                                                                          replacement                  hedge        may                                                                     the    Issuer          provides
  the                                      with                     seven          Business                                                                          of
        Rating         Agencies                       at   least                                       Days            prior       written          notice                its       intention          to    enter    into

  replacement               hedge        together           with    its   form        and        the    Rating          Condition              with respect                    to    each       Rating Agency                is


  satisfied       with respect                 to    the   replacement               hedge             The        Issuer       shall         use commercially                            reasonable            efforts       to

  cause     the       termination of                       Hedge         Agreement                other           than             termination                                       from         the
                                                                                                                                                               resulting                                    bankruptcy
  insolvency            or similar             event        with respect              to    the       Hedge         Counterparty                    to    become               effective           simultaneously
  with     its   entering          into             replacement           hedge             To        the    extent          that             the    Servicer              detennines                  not to replace

  the    Hedge         Agreement                    and    the    Rating           Condition                with                        to    each        Rating               Agency            is    satisfied          with
                                                                                                                       respect

  respect        to     the       determination                   or      ii         termination               is      occurring              on               Redemption                    Date            the     Hedge
  Termination               Receipts           shall       become                    of Principal                 Proceeds          and        be     distributed                   in   accordance                with the
                                                                          part

                 of Payments                  on     the    next following                  Payment Date                     or     on       the                                     Date              the     Notes
  Priority                                                                                                                                           Redemption                                   if                       are

  redeemed on               the    Redemption                Date


                 The        notional           amounts            of the        Hedge            Agreements outstanding                                   at               time                       be     reduced
                                                                                                                                                                    any                   may                                or

  increased           from        time to           time by         the    Issuer               and    the     Hedge           Agreements                      may be               amended                modified          or

  terminated           in    accordance               with the Hedge                  Agreements                  if   the    Rating Condition                         with respect                   to    each     Rating
  Agency         is    satisfied         with respect              to     the      reduction                increase          amendment                    modification                      or    termination               as

  the   case     may be

                 Each Hedge               Agreement                may     be terminated                     pursuant to             its     terms by the Hedge                             Counterparty                  upon
  an Optional           Redemption                   of the Notes an acceleration                                 of maturity of the Notes                                followed                    the
                                                                                                                                                                                             by              liquidation

  of any         or   all    of the           Collateral          after       an     Event            of Default              or    the                    into        certain             amendments                to    the
                                                                                                                                              entry
  Indenture           without       the        consent        of the Hedge                                                  The Hedge                                               will    not be permitted to
                                                                                           Counterparty                                              Agreement
  be    terminated            by        the    Issuer        as    the    result           of         Default           or    Event           of Default                  unless                   acceleration              of
                                                                                                                                                                                           any
  maturity of the Notes                        resulting          from     the       Event        of Default             is   no     longer permitted to be                                 rescinded              pursuant
  to the    Indenture



                 Except           for    Hedge            Agreements               entered            into    on       or    before           the    Closing               Date            the    Issuer        shall      not

  enter     into               Hedge            Agreement                unless        the                        Condition              with                                   each
                       any                                                                       Rating                                              respect              to                Rating            Agency         is

  satisfied




  Securities           Lending


                 The        Indenture           permits the Issuer                    to   engage            in        limited          number of                   securities            lending           transactions

  as    described below



                 The        Servicer
                                               may         instruct       the        Trustee           to    cause           Collateral             Obligations that                        are        not    Defaulted
  Collateral          Obligations              to     be lent for             term of 90 days                     or less to            banks broker-dealers and                                      other     financial

  institutions          other           than         insurance           companies                    having        long-term and                     short-term                    senior        unsecured               debt

  ratings        or    guarantors              with        ratings       of     at    least       Al              and        not     Al             but        on     credit             watch         with        negative
  implications              and     P-i and                 not on        credit       watch           for possible                downgrade                   from        Moodys                 and         long-term
  senior        unsecured           debt rating              of at least                         from        SP         each                 Securities                   Lending                Counterparty
  pursuant to one                 or more agreements                      each                  Securities              Lending              Agreement                          provided              that    Collateral

  Obligations           the    Market Value                  of which           cannot           be determined                 under          clause                   ii or             iii of that           definition

  may not be           lent
                                  pursuant to               Securities             Lending            Agreement                    Upon        receipt          of an Issuer                Order            the   Trustee
  shall    release                      lent    Collateral
                            any                                        Obligations to                        Securities             Lending              Counterparty                      as     directed           by    the

  Servicer            The     Securities             Lending        Counterparties                     may        be Affiliates               of the       Initial         Purchaser or Affiliates                           of
  the    Servicer            The        duration           of any       Securities              Lending           Agreement                  shall       not        exceed           the    Stated          Maturity         of
  the    Notes          Collateral                  Obligations representing                           no     more than                  15% measured                           by       Aggregate             Principal

  Balance             of the       Maximum Amount                          may         be       loaned         pursuant             to       Securities              Lending               Agreements                at   any
  time




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           Each   Securities       Lending                  Agreement                shall       be     on     market          terms            as     determined               by     the    Servicer


  except   to the extent     specified            in the      Indenture               and        shall




                    require      that        the       Securities             Lending            Counterparty                return        to    the    Issuer       debt obligations                    that

                    are     identical        in terms of issue                       and      class to the lent Collateral                              Obligations



           ii       require       that       the       Securities             Lending            Counterparty                pay      to    the       Issuer       amounts            equivalent           to

                    all    interest      and       other           payments            that      the    owner          of    the   lent         Collateral           Obligation              is   entitled

                    to     for the     period during                     which        the     Collateral           Obligation               is    lent       and     require          that    any        such

                    payments            not        be        subject          to     withholding               tax      imposed                 by             jurisdiction                 unless        the
                                                                                                                                                       any
                    Securities          Lending               Counterparty                  is   required         under         the        Securities           Lending              Agreement             to

                    make        gross-up                payments               to    the    Issuer       that     cover        the     full      amount of               the    withholding               tax

                    on an       after-tax          basis



           iii      require       that       the       Rating           Condition             with respect              to     each        Rating            Agency            shall    be        satisfied

                    with respect             to    the       execution              of the Securities               Lending            Agreement


           iv       satisfy      any     other          requirements                  of Section             1058       of the Code                   and    the    Treasury           Regulations

                    promulgated               under          it



                    be     governed          by the laws of                    New York

           vi       permit       the      Issuer             to    assign           its    rights       under          the     Securities              Lending            Agreement                 to    the

                    Trustee pursuant to the Indenture



           vii      provide       for early                 termination and                   the     delivery          of any         lent          Collateral          Obligation with no

                    penalty       if     the       Collateral             Obligation becomes                                 Credit         Risk        Obligation or                  is    subject       to


                    redemption               in   accordance                  with    its    terms


           viii     provide       for early                 termination and                   the      delivery         of any         lent          Collateral          Obligation with no

                    penalty                                                         of the Notes             in   whole
                                  upon any redemption


           ix       require       the    Securities                Lending            Counterparty                to    post       with the Trustee collateral                               consisting

                     of cash      or direct             registered             debt obligations                   of    the     United            States       of America that                     have

                     maturity         date        no    later       than the Business Day                          preceding               the        stated    termination date                    of the

                     Securities         Lending              Agreement                to    secure       its    obligation            to    return           the Collateral             Obligations

                     or    in   the    alternative                 post       that        collateral         with            custodian                for    the     benefit          of the        Issuer


                     designated          by        the       Securities              Lending           Counterparty                that         satisfies          the    requirements                   with

                     respect      to     being                securities             intermediary with                       respect            to     the     posted          collateral           if   that

                     custodian         would            qualify          to   be          successor trustee                  under         the    Indenture



                     provide          that     the          Securities             Lending            Collateral             shall     be        maintained               at    all    times in            an

                     amount equal                 to    at    least       102%            of the       current         Ask-Side             Market            Value        determined                 daily

                     and     monitored                 by    the        Servicer            of the       lent      Collateral               Obligations and                     if    securities          are

                     delivered          to        the       Trustee            as     security           for      the        obligations                of     the       Securities           Lending

                     Counterparty                 under           the    related          Securities         Lending            Agreement                    the    Servicer           on     behalf       of

                     the    Issuer      will negotiate                    with the           Securities           Lending            Counterparty                     rate      for the           loan    fee

                     to    be paid to the Issuer                        for   lending         the lent Collateral                  Obligations



           xi        the    lent Collateral                  Obligations shall be marked-to-market                                              on          daily    basis       by the Servicer

                     on    the basis         of their Market                   Value


           xii       the     Collateral                will       include           the      Issuers           rights         under             the     related          Securities               Lending

                     Agreement            rather            than the loaned Collateral                            Obligation




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                     xiii                 provide           for early termination                         within          10 days           at    the        option        of the Issuer                 and      the delivery               of

                                          any    lent        Collateral             Obligation with no                           penalty           if    the        Securities              Lending              Counterparty                 is


                                          no    longer            in     compliance                  with           the    requirements                      relating            to        the     credit         ratings           of      the

                                          Securities             Lending            Counterparty                    and     the       noncompliance                         is    not       cured        as                            in   the
                                                                                                                                                                                                                 provided
                                          Indenture              and



                     xiv                  contain          appropriate              limited          recourse and                    non-petition                   provisions               to       the     extent         the       Issuer

                                          has    contractual                 payment             obligations               to    the        Securities               Lending               Counterparty                     equivalent
                                          mutatis           mutandis               to those          in the          Indenture



                     In     addition              each           Securities              Lending            Agreement                  must           provide              that       if    either        Moodys                  or    SP
  downgrades                        Securities              Lending           Counterparty                     such       that       the    Securities               Lending               Agreements to which                              the

  Securities               Lending              Counterparty                  is                     are       no                     in                                 with the requirements                                               to
                                                                                         party                       longer                compliance                                                                       relating

  the     credit            ratings             of     the        Securities              Lending                                                 then         the         Issuer            within              10                 of      the
                                                                                                                Counterparty                                                                                            days
  downgrade                      shall                     terminate               its        Securities             Lending                                                with            the         Securities
                                                                                                                                            Agreements                                                                            Lending
  Counterparty                      unless                  guarantor               for        the     Securities                Lending                Counterpartys                                                       under           the
                                                                                                                                                                                                 obligations

  Securities               Lending               Agreements                   has         been        obtained                  or     ii        reduce             the      percentage                  of       the       Aggregate
  Principal               Balance              of the Collateral                    Obligations lent to                          the       downgraded                    Securities              Lending               Counterparty
  so     that        the       Securities              Lending               Agreements                   to    which            the       Securities                Lending               Counterparty                     is         party
  together            with          all    other       Securities             Lending             Agreements                     are       in                                with the requirements
                                                                                                                                                 compliance                                                                       relating

  to    the     credit           ratings         of Securities                 Lending               Counterparties                    or        iii take            any         other       steps          Moodys                or    SP
  may         require            to       cause        the       Securities              Lending               Counterparty                       obligations                under           the        Securities               Lending
  Agreements                   to     which           the    Securities             Lending            Counterparty                    is
                                                                                                                                                 party         to    be     treated          by       Moodys                or    SP         as

  the    case        may be                as    if   the        obligations              were       owed by                    counterparty                  having                  rating       at    least         equivalent            to

  the    rating            that       was        assigned               by    Moodys                 or     SP             as    the        case        may          be      to       the    downgraded                      Securities

  Lending             Counterparty                    before           its   being downgraded


                     The         Servicer             shall           instruct          the     Trustee              in    writing           with            respect         to        the       administration                    of       any
  Securities               Lending              Agreement                                        with respect                                                      and                                   of rights under
                                                                          including                                             to    any        default                    the exercise                                                    it
  The      Trustee               shall         not have            any       responsibility                 for evaluating                   the       sufficiency                    validity           or acceptability                    of

  any      Securities                 Lending               Agreement                    or    for     the          qualifications                 or                                 of                Securities
                                                                                                                                                             eligibility                    any                                  Lending
  Counterparty                        Nothing               in    the     Indenture              shall         be    construed               to       cause         the     Trustee              to     have          any        fiduciary
  duties        to               Securities
                      any                              Lending               Counterparty


                     So long               as    any        Collateral             Obligation                  is   on loan pursuant                          to           Securities              Lending              Agreement
         the    Trustee               shall      have         no                         for              failure or                                  on      its                to   receive                     information or
                                                                       liability                any                              inability                           part                               any
  take     any            action          with        respect           to    the       Collateral              Obligation                 because             of                            on       loan including
                                                                                                                                                                     its
                                                                                                                                                                             being                                                          any
  failure to              take      action        with respect                to         notice       of redemption                        consent                                                                     tender offer
                                                                                                                                                              solicitation                 exchange               or

  or similar              corporate              action           and              the     loaned Collateral                         Obligations shall not be disqualified                                              for return           to

  the    Trustee               as         Collateral              Obligation by                                             in       circumstance                   or     status                        the      time while on
                                                                                                 any       change                                                                          during
  loan     including                  any       change            that       would cause               the      Collateral             Obligation to be                          ineligible             for      purchase           by the
  Issuer        under            the       Indenture              if                      to                                                     of                 the                    market                 the       time of
                                                                        applied                   proposed                purchase                      it    in            open                            at                               its

  return        from           loan


                                                      MATURITY AND PREPAYMENT                                                               CONSIDERATIONS

                     The         Stated          Maturity               of each           Class        of Notes                 will       be      November                           2021         or upon                       Maturity
  Extension                if     any           the    applicable             Extended               Stated          Maturity Date                      however                  the principal                of each            Class of
  the    Notes            is                                be
                               expected               to          paid       in    full       prior    to      its   Stated          Maturity                or     Extended                Stated          Maturity Date                    as

  applicable                     Average             life    refers to            the
                                                                                          average          amount of time                       that       will elapse                from the date                   of delivery            of

       security           until       each       dollar          of    the principal              of such                              will       be paid to the investor                                 The                           lives
                                                                                                                     security                                                                                          average
  of the Notes                   will      be determined                     by the amount and                        frequency              of principal                                          which
                                                                                                                                                                           payments                                   are   dependent

  upon         among             other          things           the    amount of               sinking             fund    payments                  and      any other               payments               received             at or     in

  advance            of the scheduled                                             of Collateral
                                                             maturity                                           Obligations whether through                                           sale maturity                     redemption
  default        or other             liquidation                or    disposition



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                  The         actual          performance                   of the           Securities        will       also     be    affected          by     the    financial             condition of the

   obligors           on     or     issuers          of the Collateral                       Obligations and                the     characteristics               of the Collateral                       Obligations

   including            the      interest           rate       or    other        rate      of distribution               the     actual       default      rate       and     actual          losses          sustained

   the existence                 and     frequency                  of exercise              of any        prepayment              optional          redemption               or    sinking             fund        features

   and     any        related          premium                  the    prevailing               level       of interest         rates                sales       of Collateral                 Obligations                 and
                                                                                                                                           any

   any unique                risks     of the Collateral                     Obligations                   Any     disposition           of      Collateral             Obligation may                        change        the


   composition                and        characteristics                 of the portfolio                    of Collateral              Obligations and                 their rate            of payment                   and

   accordingly                 may       affect           the       actual        performance               of each        respective           Class of Securities                           The       ability          of the

   Issuer        to    apply         any       Interest             Proceeds            or    Principal        Proceeds            in the        manner described under                                 Security               for

   the     Notes              will       also         affect          the         performance                of     the     Securities                Redemptions                   will           also        affect       the

   performance                 of    the Securities




                                                                                                   THE SERVICER

                      The     information                  appearing               in       this   section        has      been     prepared              by the Servicer                     and has              not been

   independent/v                    verified         by the Co-Issuers                        or the Initial Purchaser                         According/y                notwithstanding                          anything
   to    the     contrary herein                      neither          the        Co-Issuers              nor the Initial Purchaser                        assume any               responsibility                   for the

   accuracy             completeness                      or applicability                   of such        information



   General


                      Based         in    Dallas            Texas            Highland               Capital         is      registered           investment               adviser             specializing                 in

   below         investment-grade                           credit       and           special        situation           investing              As       of August            31 2006                    Highland

   Capital            managed            over         $30       billion           in   leveraged            loans         high yield           bonds        structured             products               and       other

   assets for           banks            insurance companies                             pension plans               foundations               and    high net worth individuals



                      Highland                                                         or     services         these        assets        through                                  of        fund         structures
                                              Capital           manages                                                                                           variety

   including            separate              accounts                CDOs             hedge        funds      and        mutual         funds            As of June 30 2006                              Highland

   Capital            invested           in    approximately                      1200 below investment                            grade       and        credit       sensitive             credit       positions
   and     Highland                 Capitals              62    person credit                  team        followed         approximately                   1400 below                  investment                  grade
   and     credit            sensitive          credit          positions              across         over     36        industries            Highland            Capital          or        an    Affiliate             or

   predecessor thereof                         has been              an SEC-registered                      investment            adviser       since       April        1993


   Philosophy                 and Process


                      Highland            Capital              has           large       range        and     depth         of experience                   It    has     expertise                in    the       fields       of

   syndicated                loans       high yield                 bonds          and        distressed          assets          Highland           Capital        believes            it    is   in         position          to

   maximize                the    spread differential between                                   the      yields     on    underlying collateral                    and        the cost         of financing                     In

   addition Highland                          Capital           seeks        to    construct              portfolios       to           maximize            relative          value          based        on       its   credit

   views         and                maximize                diversification                   in    order to         minimize            the    effect          of isolated             credit          events on           the

   overall        portfolio              utilizing             Highland            Capitals               infrastructure           to    minimize           defaults          of underlying assets and

   to    maximize                recoveries               in    the    case        of defaults                Highland            Capital        has over              $500     million             of firm capital

   exposure             to    the      firms          funds           and     expects              that     HFP      an     Affiliate          of the       Servicer            and/or             one        or    more of
   HIP           subsidiaries                 will     on       the    Closing           Date       purchase         all    of the Class             II   Preference Shares



                      Highland            Capital              believes           that       its   disciplined            selection        process minimizes                            portfolios                  risk    and

   that    its    analysis             seeks to maximize yield                                spread while limiting                     downside           risk         Portfolio            managers               actively

   follow         each           credit        and        several        times each                   year the           entire     staff      reviews           all    positions             during            multi-day

   monitoring                meetings                 Highland               Capital           diversifies          its
                                                                                                                           portfolios          with       set    limits       on    exposure                  to            one
                                                                                                                                                                                                                    any

   given industry                   or issuer              Highland               Capital          believes       that     this    philosophy              and     selection            process has resulted
   in    positive           returns        on       its   underlying loan                     portfolio        and       consistent        outperformance                     relative         to       its   indices



                      Highland            Capital           focuses on                   team             approach         that    it   has used since                 1990        It    is   Highland               Capital

   managements                      belief       that       this      style       creates          the     optimum environment                       for the        exchange                 of information and

   the     development                   of     all       asset        management                   professionals                  All     aspects         of the        selection                 monitoring               and

   servicing                                  are     coordinated                  through            the    senior        asset        portfolio          managers                direct          interaction
                        process

                                                                                                                  120
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  committee               of senior         portfolio                                    and                                                                           Chief Investment                        Officer        and
                                                                      managers                      analysts Highland                            Capitals                                                                             its

  Head      of Structured                   Products                  meets       every morning                      to    discuss           the       status       of the credits                        Collectively               the

  committee               utilizes              selection              and        monitoring                                    which            is   driven                 fundamental                      credit     research
                                                                                                            process                                                    by
  Each      portfolio            manager/analyst                            makes        specific              credit       recommendations                            based            upon        industry           coverage
  The    credit         recommendation                           is   then brought to the committee                                        for    consideration                     Based upon                  the    consensus
  decision         the portfolio                 manager with                      the   recommendation                              will direct                                  traders          to    execute        the    trade
                                                                                                                                                            Highland
  Highland           Capital           has also                 provided           its    committee                  with              strong          commitment                      to                               The      firm
                                                                                                                                                                                             technology
  developed             Wall          Street          Office                which        is
                                                                                                    proprietary                 software              system that                 allows           Highland            Capital        to

  model         portfolio             manage                and        trade       syndicated               loans               This        software             has    been           licensed           to    more than 70
  financial        institutions             that          acquire           syndicated              loans



  Professionals of the Servicer



                Set        forth       below               is    information                  regarding              certain           persons              who        are     currently                 employed          by        the

  Servicer              Such                                          not necessarily                     continue                    be
                                      persons             may                                                                   to          so        employed              during            the       entire    term        of the

  Servicing          Agreement


                Senior Management



                James Dondero                              CFA CPA CMA                                   Managing               Partner               President



                Mr         Dondero               is         Founder              and     President              of Highland                  Capital              Formerly                   Mr     Dondero             served

  as    Chief Investment                        Officer           of Protective                  Lifes          GIC                                    and        helped                          the    business         from
                                                                                                                            subsidiary                                            grow
  concept          to     over        $2    billion              between               1989         to    1993             His        portfolio             management experience                                     includes

  mortgage-backed                      securities                 investment-grade                          corporates                 leveraged             bank loans emerging  markets
  derivatives              preferred             stocks           and       common              stocks            From               1985     to       1989        he managed                      approximately               $1
  billion       in        fixed        income                   funds        for       American                 Express                 Prior          to        joining           American                   Express          he

  completed               the    financial                training          at    Morgan            Guaranty               Trust        Company                   Mr         Dondero               is     Beta        Gamma
  Sigma graduate                      of the          University                 of Virginia                   1984        with        degrees              in    Accounting                  and Finance                     Mr
  Dondero            is         Certified             Public           Accountant                   Chartered              Financial               Analyst             and             Certified              Management
  Accountant



                Mark Okada CFA                                        Managing            Partner              Chief Investment                        Officer



                Mr         Okada           is         Founder               and    Chief Investment                         Officer           of Highland                   Capital                He     is   responsible

  for   overseeing Highland                               Capitals           investment                  and                           activities            for    its     various           funds and            has over
                                                                                                                servicing

  19    years      of experience                      in    the       leveraged               finance          market                Formerly               Mr         Okada            served as Manager                       of
  Fixed      Income             for    Protective                 Lifes           GIC         subsidiary             from            1990     to       1993         He was                  primarily          responsible
  for the     bank         loan        portfolio                and    other       risk       assets           Protective               was one             of the          first      non-bank               entrants        into

  the    syndicated              loan market                          From        1986         to    1990 he               served as Vice                        President              for       Hibernia         National
  Bank       managing                 over           $1     billion          of high           yield        bank loans                      Mr         Okada           is    an     honors              graduate         of the

  University              of California                   Los Angeles                  with degrees                  in    Economics                   and        Psychology                       He    completed             his

  credit     training            at    Mitsui              and        is         Chartered               Financial              Analyst               Mr         Okada            is    also        Chairman of               the

  Board of         Directors               of   Common                     Grace    Ministries                 Inc



                Todd         Travers                 CFA              Head of Structured                        Products               Senior Portfolio                      Manager


                Mr         Travers              is   responsible                 for     Highland              Capitals               CDO             business and                 is       the    primary portfolio

  manager          for     Highland                  Capitals              par debt funds                      He     is        member of                   the    Credit          Committee and                       heads

  team      that     is    responsible                for structuring                    new        transactions                 and                                        additional
                                                                                                                                            implementing                                            opportunities               in


  Highland              Capitals            core           businesses                  Formerly                 Mr         Travers               served as             Portfolio                  Manager/Portfolio
  Analyst          from         1994        to        1998            for    Highland                                      In        1999        he     was                                   to    Senior        Portfolio
                                                                                                    Capital                                                        promoted
  Manager          and      his duties                were        expanded               beyond            sector                                                            to     include             the
                                                                                                                          portfolio              management                                                    origination
  structuring             and     issuance                 of    new        structured              vehicles              including              all    structured                vehicles              since     Highland
  Loan Funding                         Ltd and                  Restoration              Funding               Ltd          His                                                         included
                                                                                                                                       prior          responsibilities                                         managing
  portion       of        Highland              Capitals                   leveraged            loan        and                                   debt                                  with        an                         on
                                                                                                                      high           yield                   portfolios                                   emphasis

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   technology               and    aviation               transactions                  Prior        to joining                 Highland           Capital          Mr         Travers        was                Finance

   Manager             at    American Airlines                               Mr        Travers             is
                                                                                                                       graduate             of Iowa          State        University              with             BS     in


   Industrial          Engineering                    He        received           his    MBA             with an               emphasis         in    Finance            from        Southern          Methodist

   University               Mr      Travers              is      Chartered Financial                            Analyst


                  Traders



                  Brad Borud                        Senior Trader                  and Co-Director                          Portfolio          Management


               Mr Borud      Senior Trader of leveraged loans and high
                                              is                                                                                                       yield        bonds             Prior       to    his       current

   duties     Mr Borud served as Portfolio Analyst for Highland Capital                                                                                from        1996        to    1998         From            1998    to

   2003       Mr Borud was    Portfolio Manager covering     wide range                                                                                    of industries               including             Wireline

   Telecommunications                               Wireless            Telecommunications                                  Telecommunication                        Equipment Manufacturers
   Multi-channel                  Video             and        Media             Prior       to    joining             Highland             Capital         Mr      Borud worked                       as         Global

   Finance         Analyst              in the        Corporate                  Finance           Group              at   NationsBank                from         1995        to     1996     where              he    was
   involved            in    the       originating                   structuring             modeling                  and       credit       analysis            of leveraged               transactions                for


   large     corporate             accounts               in the        Southwest              portion               of the United             States             During            1994      Mr       Borud            also

   served     at       Conseco              Capital           Management                 as    an Analyst                  Intern       in the     Fixed Income                     Research           Department

   following            the       Transportation                      and        Energy           sectors                  He    has          BS      in    Business            Finance           from            Indiana

   University



                  Paul        Kauffman                    CFA CPA                       Senior Trader                      and Co-Director                   of Portfolio             Management


                  Mr         Kauffman                is         Senior Trader                 for        loan        and    high yield           credit         products              He    joined Highland

   Capital        in    1998           as          Portfolio           Analyst           and        was              Portfolio          Manager            prior     to       moving         into       his       current

   role       At            Highland                Capital             Paul           has        followed                       variety         of        industries               including               Paper

   Packaging                General Industrials                         Metals            and       the         Automotive                  sector          Prior        to    Highland            Capital          Mr
   Kauffman             spent          four
                                                   years
                                                                in    the    public       accounting                   industry             including           two and              half
                                                                                                                                                                                             years          at    KPMG
   Peat    Marwick                 At        KPMG Mr                     Kauffman                 gained audit                  experience            in        wide          range    of industries                    with

   particular          focus on the Energy                             and       Cable       industries                He was           the    Supervising               Senior Accountant                        on one
   of the Dallas offices                           largest clients                 He     received                    BBA        in    Accounting               from      Baylor        University and                    an

   MBA       from           Duke         University                  Mr      Kauffman               is          Chartered Financial                       Analyst


                  Senior Portfolio                    Managers


                  Patrick                     Daugherty                      Senior Distressed                        Portfolio         Manager


                  Mr         Daugherty               is         Senior Portfolio                   Manager and                    General Counsel                   at    Highland            Capital              He    is    co
   head      of        the    Distressed                   Group             where        he        is    responsible                  for     managing              the        sourcing               investing              and

   monitoring                process                In         addition           he     serves            as        head        manager             of     the     Private           Equity           Group            and     is


   responsible              for    all      portfolio            companies                   Prior        to joining              Highland            Capital        in       early    1998            Mr        Daugherty
   served as Vice President                               in   the     Corporate Finance                             Group       at    NationsBanc               Capital        Markets Inc                      now     Bank
   of America Capital                         Markets                 Inc        where         he    originated                 and     structured              leveraged            transactions                 for        $2.5

   billion     portfolio               of mid-cap                companies               located           in        the    Southwest              Prior        to joining            Bank        of America                  Mr
   Daugherty                was an Associate                         with the          law firm of Baker                          Brown          Sharman and                   Parker        in   Houston                Texas

   where      he       represented                  banks        and         financial            institutions              in the       liquidation              of various           RTC         portfolios                 Mr
   Daugherty                has over           15    years           of experience                  in    distressed              high yield              and     corporate           restructuring                     He    has

   been      involved             in     over       100        bankruptcy               situations               and       held steering              committee               positions        in      over 35           cases

   Mr      Daugherty               currently               serves           on    the    Board            of Directors                  of Norse            Merchant             Group and                  its    affiliates

   Ferrimorac               Holdings               Limited             Nexpak            Corporation                   and       its   affiliates          as Chairman                     Moll        Industries             and

   its   affiliates          as Chairman and                                is     former           board             member of Mariner                         Health         Care Inc                He         received

   BBA       in    Finance              from        The         University              of Texas                at    Austin          and       Juris       Doctorate               from     The        University             of

   Houston         School              of     Law              Mr      Daughertys                   professional                  certifications             include           membership                   in    the    Texas

   Bar Association                     and     admittance                to the        American Bar Association                                 in    1992


                   John Morgan                       CFA               Senior Portfolio                    Manager

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              Mr       Morgan             is         Senior Portfolio                       Manager           covering               the    Retail          Food                 Drug        and         Restaurant

  Lodging         sectors       Prior           to    joining          Highland               Capital          Mr         Morgan             served as Portfolio                         Analyst              for    Falcon
  Fund Management                        LTD          from        August               995-February                2000              There        he    created            comparables                   to    assess       the

  attractiveness           of companies                    within industries                      and     across        the      portfolio              He       assisted          the
                                                                                                                                                                                    manager  portfolio

        the security        selection
                                                 process and                 management of                                                                       Falcon he was an Analyst for
  in                                                                                                           the                            Prior         to
                                                                                                                       portfolio

       Convertible         Arbitrage             Fund           at          Investments                  His    primary responsibility                                included           analyzing              financial

  statements           and      related               corporate               disclosures                 and         performing                                            on                                investment
                                                                                                                                                   analysis                        potential

  opportunities              He      received                  both          BS        in    Biological            Sciences                and     an       MBA             from        Southern               Methodist

  University



              Kurtis            Plumer CFA                               Senior Distressed                     Portfolio              Manager


              Mr        Plumer            is     co-head              of     the        Distressed             Group            at     Highland               Capital             and     is    responsible                 for

  managing          the     sourcing            and        monitoring                 process            He     has       over         14    years          of experience                 in    distressed                 high
  yield     bond and          leveraged               loan products                         Prior       to joining             Highland            Capital             in    1999         Mr         Plumer was
  distressed        high     yield        bond            trader       at    Lehman               Brothers           in   New York                     where          he     managed                     $250       million

  portfolio       invested           in    global              distressed             securities              While            at     Lehman                he    also       traded          emerging                market

  sovereign         bonds            Prior           to    joining           Lehman               Brothers            Mr            Plumer was                        corporate           finance              banker          at

  NationsBanc              Capital        Markets                Inc        now          Bank       of America                   Capital          Markets                  Inc      where           he     focused             on
  MA        and     financing transactions                             for       the     banks           clients           Mr          Plumer           earned               BBA          in    Economics                  and
  Finance      from         Baylor             University              and         an       MBA          in    Strategy              and      Finance             from           the     Kellogg               School          at

  Northwestern             University                 Mr Plumer                  is         Chartered Financial                       Analyst


              David Walls                  CFA                 Senior Portfolio                   Manager


              Mr       Walls        is         Senior Portfolio                    Manager with                 oversight              of the Cable Wireless/Wireline                                          Telecom
  Satellite    Aerospace/Defense                               and    Equipment Rental sectors                                      Prior    to joining               Highland            Capital              Mr     Walls
  worked      for      Lend          Lease                Real        Estate            Investments                as          an      Associate                           their        Asset
                                                                                                                                                                 in                                      Management
  unit    underwriting            and                                                               of bulk                                   of       distressed                Korean         real                       and
                                               structuring                 acquisitions                                portfolios                                                                             estate

  corporate         debt        Before                his       international                responsibilities                   at    Lend         Lease              Mr          Walls         performed                  loan

  workouts        on         domestic                portfolio             of sub-          and                                            real    estate         secured           assets           Prior       to       Lend
                                                                                                    non-performing
  Lease       Mr       Walls        worked                at   U.S         Trust        Company               of California                  as    an       Assistant             Vice         President              Junior
  Portfolio       Manager             in       their           Fixed        Income           Portfolio           Management                       group           and        for       Capital           Research

  Management               Company               as             fixed        income           trader           He      holds                BA         in    Economics                  from Northwestern
  University         and       an        MBA              in     Finance              and      Marketing                from           the        Kellogg             School            of     Management                      at

  Northwestern              University                    Mr         Walls         is         member            of        AIMR             and     DAIA                    Mr      Walls            is         Chartered
  Financial       Analyst



              Joe      Dougherty                 CFA CPA                         Senior Portfolio                  Manager


              Mr       Dougherty                 is            Senior        Portfolio             Manager                 Additionally                     Mr         Dougherty               heads           Highland
  Capitals        retail     funds business unit                           Highland Funds                            and        serves        as       Senior Vice President                             and    Director
  of the Firms             two NYSE-listed                           bond funds               which           invest       in        both investment                       grade       and                                debt
                                                                                                                                                                                               high           yield

  Additionally             Mr     Dougherty                     serves       as    Senior           Vice       President              and        Director             of    the    Firms two 1940                          Act

  Registered         floating            rate        funds           which         primarily              invest          in    senior           secured                                rate     loans               In    this
                                                                                                                                                                  floating

  capacity        Mr        Dougherty                 oversees               investment                 decisions              for    the     retail          funds          alongside               several              other

  Portfolio       Managers                and                              the     team        dedicated             to    their                                  administration
                                                     manages                                                                               day-to-day                                                     Prior       to    his

  current     duties  Mr Dougherty                                   served as              Portfolio           Analyst              for     Highland                 from        1998         to        1999             As
  Portfolio    Analyst Mr Dougherty                                   also       helped follow                 companies               within           the      Chemical Retail                         Supermarket
  and     Restaurant         sectors             Prior          to joining             Highland            Mr        Dougherty                served as an                   Investment                  Analyst           with
  Sandera      Capital        Management                       from         1997       to    1998         Formerly he was                              Business Development                               Manager              at

  Akzo Nobel           from       1994          to    1996           and         Senior Accountant                        at    Deloitte                Touche               LLP        from         1992       to    1994
  He     received            BS      in        Accounting                  from         Villanova             University               and        an     MBA               from         Southern              Methodist

  University           Mr     Dougherty                   is      Chartered Financial                         Analyst           and          Certified           Public           Accountant




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                 Brett           Pope CFA                   Senior Portfolio                      Manager


                 Mr         Pope        is          Senior        Portfolio              Manager              covering            the     Healthcare              Financial             Services                 Building

   Products           and        Metals              Mining            sectors                Prior    to joining            Highland              Mr      Pope        served as                  Senior Equities

   Analyst       in    Healthcare               at   Street       Advisor.com                     from        1999      to    2001           His experience               also       includes            working               as

        Senior    Research                   Analyst        covering              the         Building         Products             and       Financial          Service           sectors          at      Southwest

   Securities         from         1996        to    1999              Prior        to        1996 he          served as                Senior Financial                 Analyst              with          Associates

   First Capital            Corporation                   Mr      Pope         is        graduate of the University of Texas                                      at   Austin           where          he graduated

   Magna Cum Laude                            Mr     Pope         is       Chartered Financial                        Analyst



                 See        Risk FactorsRelating                                     to         the     ServicerThe                     Issuer           Will     Depend             on       the        Managerial

   Expertise          Available to the Servicer                            and       Its       Key Personnel


                                                                          THE SERVICING AGREEMENT

                 The following                     summary             describes                certain       provisions            of the Servicing                   Agreement                   The        summary
   does    not        purport           to     be    complete              and           is
                                                                                               subject         to and          qualified             in    its   entirety          by        reference             to      the


   Servicing          Agreement


                 Pursuant to                 the     terms of the                 Servicing             Agreement                 and        in    accordance            with the requirements                             set

   forth   in    the    Indenture               the       Servicer           will select              the     portfolio        of Collateral                Obligations and                   will instruct                the

   Trustee       with        respect            to   any         acquisition                   disposition           or      sale       of         Collateral           Obligation                or     an       Eligible

   Investment                Neither            the        Initial        Purchaser               or                Affiliate           thereof           will    select                     of the         Collateral
                                                                                                         any                                                                   any

   Obligations


                 Pursuant               to    the     terms          of the              Servicing            Agreement                 the        Servicer        will       monitor              the       Collateral

   Obligations and                 provide            the     Issuer         with certain                   information received                          from     the   Collateral                Administrator

   with respect             to    the    composition                 and     characteristics                   of the Collateral                   Obligations           any       disposition                or tender

   of      Collateral             Obligation                the        application               of the        proceeds             of any          such      disposition               to    the      purchase                of

   Eligible       Investments                  and        with       respect             to     the    retention           of the         proceeds           of any           such       disposition                or     the

   application          thereof              toward        the    purchase               of additional               Collateral           Obligations                  The     Servicer             will and              will

   be    authorized              to negotiate               on     behalf           of the Issuer with                        respect         to    all    actions       to   be        taken       by      the     Issuer

   under    any Hedge               Agreements


                 As compensation                      for        the      performance                  of   its   obligations                as    Servicer        the     Servicer               will      be     entitled

   to   receive



                                        fee     the Senior                   Servicing                 Fee          that      accrues             from     the    Closing           Date          payable           to     the

                                   Servicer           in    arrears          on      each         Payment            Date         equal to          0.30% per annum                          of the         Maximum
                                   Amount            if    and       to    the      extent            funds are available                    for    that    purpose           in    accordance                   with the

                                   Priority          of Payments                    with         the     Senior         Servicing             Fee        being     calculated                on    the      basis         of


                                   360-day           year consisting                     of twelve            30-day         months


                 ii                an    amount the Subordinated                                         Servicing             Fee           payable on            each       Payment Date                       equal to
                                   the       sum of                    fee     that       accrues           from     the      Closing             Date     payable       to    the       Servicer             in   arrears

                                   on    each        Payment Date                    equal to 0.25%                     per    annum              of the    Maximum Amount                             if   and      to    the

                                   extent          funds      are         available             for    that    purpose            in    accordance               with the Priority                     of Payments

                                   and               on     any        Payment Date                     that      any      part     of the          Subordinated              Servicing                Fee        was      not

                                   paid on           the    preceding               Payment Date                     an amount equal to interest on                                 such          unpaid amount
                                   at         rate    of    LIBOR            for         the     applicable          period plus 3.00%                       per       annum         with          the      portion            of

                                   the        Subordinated                  Servicing                 Fee      in    clauses                      and             above            as     applicable                 being
                                   calculated              on the basis of                      360-day           year consisting                  of twelve           30-day       months                  and



                 iii                    fee    the Supplemental                                ServicingFee and together with the                                        Senior Servicing                         Fee     and

                                   the       Subordinated                 Servicing              Fee the Servicing Fee if any                                            payable             on    each          Payment
                                   Date        to the       Servicer           in    an amount equal to                                 20%        of the remaining                  Interest            Proceeds               if




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                                    any            available                after         making             the        distributions                 on    such        Payment               Date         pursuant              to     clause

                                    22             under         Description                        of the SecuritiesPriority                                    of PaymentsInterest Proceeds                                                   and

                                    ii 20%                  of the remaining                             Principal            Proceeds                if   any        available              for    payment               in respect             of

                                    the       Supplemental                          Servicing               Fee        pursuant to clause                     11A                 and        if   applicable clause                         14
                                    in    each            case            pursuant to Description                                  of        the   SecuritiesPriority                         of PaymentsPrincipal

                                    Proceeds


                On        each           Payment                 Date               as    and       to      the        extent       described               under        Description                      of the           Securities
  Priority      of     Payments                      the        Trustee will deposit                              the       Class       II    Preference              Share Portion                  of the Servicing                       Fees

  into    the      Class           II    Preference                       Share           Special           Payment                Account                 The     Servicer              has       agreed            to        waive        such

  amounts            which              would otherwise                              be       payable             to    the       Servicer            as    Servicing              Fees on               each           Payment             Date

  during     the       first       two         years            following                 the       Closing             Date       and        an    amount equal                   to    such        waived              amounts             will

  be     paid     to    the         Preference                       Shares           Paying             Agent              for                                  rata        to        the    Holders              of      the    Class
                                                                                                                                   payment             pro                                                                                        II

  Preference            Shares            as       Class             II    Preference                 Share                                                   After the two-year                                                        of the
                                                                                                                       Special          Payments                                                              anniversary
  Closing       Date            the       Servicer                   may            in    its      sole     discretion                  at    any     time waive                  the    Class           II    Preference                  Share

  Portion       of      its     Servicing                   Fees           then          due        and          payable            in       which         event       an     amount               equal           to     such        waived

  portion       will       be       paid by the                      Issuer          as       Class         II    Preference                  Share        Special       Payments                    For purposes                      of any
  calculation             under           the         Indenture                     and        the                                                          the        Servicer                       be       deemed                       have
                                                                                                         Servicing                Agreement                                                  will                                  to

  received         the                                    Fee         in       an     amount                                                 sum      of the                                 Fee
                             Servicing                                                                    equal to                the                                 Servicing                       actually                 paid to          the

  Servicer        and      the          amount             distributed                   to    the    Holders               of the Class              II   Preference              Shares as Class                        II   Preference

  Share      Special            Payments                        as        described                above               See        Security             for       the     NotesThe                        AccountsClass                            II


  Preference           Share             Special            Payment Account


                In                                                                                                          out above
                       addition                notwithstanding                                anything            set                               the     Servicer           may            in    its    sole         discretion

  waive      all     or    any           portion             of the             Servicing                Fee                  funds                                      the       waived                                      Fees        to    be
                                                                                                                       any                     representing                                          Servicing
  retained         in the          Collection                   Account                  for       distribution               as    either          Interest          Proceeds               or Principal                 Proceeds              as
  determined              by       the        Servicer                    pursuant             to    the     Priority              of Payments                   or    ii     defer          all    or                                  of the
                                                                                                                                                                                                           any          portion

  Servicing            Fee          any            funds             representing                   the          deferred           Servicing               Fees        to    be        retained              in     the        Collection

  Account              when              they             will            become                payable                in     the        same          manner            and            priority              as        their      original
  characterization                  would have                        required unless                       deferred              again


                The        Servicer                       its    directors                    officers             stockholders                       partners           agents              and         employees                    and        its

  Affiliates         and        their directors                           officers             stockholders                   partners agents                    and     employees                   shall         not be         liable to

  the    Issuer the Co-Issuer                               the       Trustee                 the   Preference Shares                                                         the       Holders of the Securities
                                                                                                                                               Paying Agent                                                                                      or

  any     other        person             for                        losses              claims           damages                                            assessments                                  or
                                                     any                                                                           judgments                                                 costs                 other         liabilities


  collectively               Liabilities                             incurred                 by      the        Issuer           the        Co-Issuer            the        Trustee               the     Preference                  Shares

  Paying        Agent           the       Holders of the Securities                                        or               other                      that      arise       out of or in connection                              with the
                                                                                                                  any                    person
  performance              by           the    Servicer                   of             duties          under          the                                                       and
                                                                                its                                               Servicing            Agreement                             the     Indenture                  except           by
  reason of                acts          or        omissions                constituting                    bad        faith        willful          misconduct                                                           or    breach           of
                                                                                                                                                                               gross          negligence
  fiduciary          duty          in     the        performance                          or       reckless            disregard                  of the      obligations                of the           Servicer              under           the

  Servicing            Agreement                     and         under          the           terms         of the           Indenture              applicable           to             or    ii         with                          to
                                                                                                                                                                                  it
                                                                                                                                                                                                                     respect                    any
  information              included                  in     this          Offering              Memorandum                         in the           sections          entitled           The         Servicer                   and        Risk
  FactorsCertain                         Conflicts                   of InterestConflicts                                    of Interest              Involving              the       Servicer               that        contains
                                                                                                                                                                                                                                                any
  untrue     statement of material                                   fact       or       omits to state                      material          fact                           in   order to make                        the     statements
                                                                                                                                                       necessary
  therein       in     the         light       of the                circumstances                     under            which           they were             made           not        misleading                   the preceding
                       and      ii                                          being the Servicer                                                             The
  clauses                                 collectively                                                                       Breaches                                 Servicer           will       be    liable for             any        non
  waivable         breaches               of applicable                        securities             laws


                The        Issuer             will         indemnify                     and        hold         harmless           the        Servicer            its   directors                 officers              stockholders

  partners agents and                          employees                       such           parties            collectively                in    such     case        the       Indemnified                      Parties                  from

  and    against        any         and        all    Liabilities                    and        shall      reimburse each                         such Indemnified                                  for    all     reasonable fees
                                                                                                                                                                                       Party
  and    expenses              including                   reasonable fees and                               expenses               of counsel               collectively                    the     Expenses                         as    such

  Expenses           are      incurred               in investigating                                                                          or                                      claim        action                                       or
                                                                                                preparing                pursuing                    defending           any                                            proceeding
  investigation              with respect                       to    any       pending               or threatened                 litigation             collectively                 the       Actions                      caused           by
  or    arising      out      of    or        in   connection                   with            the      issuance            of the Securities                    the transactions                    contemplated                     by the



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  Offering           Memorandum                              the       Indenture              or     the       Servicing              Agreement                    and/or            any        action       taken              by        or     any
  failure       to          act        by         such        Indemnified                     Party            provided               however                 that         no        Indemnified                  Party              shall           be

  indemnified                     for       any        Liabilities                or    Expenses                it    incurs           as          result           of                 acts       or       omissions                      by
                                                                                                                                                                              any                                                                any
  Indemnified                 Party constituting                            Servicer           Breaches                Any           such     indemnification by the Issuer                                           will      be        paid in
  accordance                 with and                 subject          to the Priority of Payments



                   Pursuant                  to       the    terms of the                   Servicing                Agreement                the        Servicer              will                       that    on         the      Closing
                                                                                                                                                                                          agree
  Date             HFP              and/or             one    or        more of             its    subsidiaries                 will      purchase             all       of the Class                 II    Preference                    Shares

  having        an          aggregate                 Face        Amount                equal to           U.S $75000000                             directly                 from        the    Issuer           at            discounted

  purchase             price            and        ii        the       Servicer              or     one        or     more           of     its    Affiliates                 other         than          HFP          or       any        of        its


  subsidiaries                    will       purchase              certain             of the       Class              Notes           having            an    aggregate                  principal              amount equal                        to

  U.S.$     16000000                        directly          from           the    Issuer          at         discounted              purchase               price           and     will       purchase                  certain         of the

  Holding          Preference                     Shares            having             an     aggregate               Face        Amount                equal to               U.S.$20000000                               directly            from

  Investors            Corp             at        discounted                 purchase              price


                  The         Issuer             may         at    the       request              of the       Servicer               enter       into        an    amendment                    or       modification                     of the

  Servicing            Agreement                       from        time to time without                              the    consent           of the Holders                         of the Securities                      and       without

  regard to             whether                  or    not     the       interests             of the          Holders            of the           Securities                 are     adversely              affected                 thereby

  provided           that with respect                            to    any       such amendment                       or modification                                    Rating           Condition                  is    satisfied            and

            Majority                   of the          Controlling                 Class of Notes                     or         Majority               of the Holders                     of the Preference                              Shares

  have      not objected                      in writing               to    such        amendment                   or     modification prior to the relevant                                             Objection                  Cut-Off

  Date      as     defined               below


                  if    at    any           time the Servicer                      desires          to    amend            or    modify            the    Servicing                  Agreement                   the Servicer                   will

  notify     the        Issuer              and        the    Trustee               providing              details          of such               proposed               amendment                   or     modification                         Not
  later    than five                   Business              Days           after       receipt          of such           notice           the     Trustee               will       mail such               notice             to              each

  Noteholder                 at    such           Holders               address          in       the    Indenture              Register           or     otherwise                  in   accordance                   with the rules

  and     procedures                    of the Depository                          Euroclear               and       Clearstream                   as    applicable                   ii       to the       Preference                    Shares

  Paying Agent for forwarding                                            to the         Holders            of Preference                    Shares iii                    to    the       Holding           Preference                    Shares

  Paying        Agent for forwarding                                        to    the    Holders               of the Holding                     Preference                  Shares and                   iv         to    each          Rating
                                        Holder              of the Controlling                      Class of Notes
  Agency                                                                                                                                     any Holder                                   Preference              Shares
                       If                                                                                                              or                                 of    the
                             any                                                                                                                                                                                                      notifies

  by delivering                         written         notice           to the         Trustee within                     35    days        after the             Trustee has mailed                            such        notice              that

   it   objects        to     such          proposed               amendment                   or    modification                     the    Trustee will within                               two     Business                 Days            after

  receiving            such            notice         of objection                 mail             notice          of the receipt                of such           objection              to the          Issuer the Servicer
  and      other        Holders               of the          Controlling                   Class of Notes                      and       other      Holders                  of the Preference                        Shares                  Each
  Holder        of the Controlling                                Class of Notes                     and        each        Holder           of the Preference                            Shares           that       also       wishes to

  object      to       such             amendment                  or       modification                  must by                delivering                   written               notice           so    notify            the      Trustee

  within        seven             Business Days after the Trustee has mailed                                                           such        notice          of the receipt                 of such                                       the
                                                                                                                                                                                                                       objection

  last    day      of such               seven          Business Day                     period            the       Objection                Cut-Off               Date                  If      Majority                  of either            the

  Controlling                 Class           of Notes                 or    the       Preference                Shares           notifies          the        Trustee               in    writing           on        or       before           the

  Objection             Cut-Off                  Date        that       they object                 to     the       proposed               amendment                    or     modification                     to    the       Servicing

  Agreement                  such           amendment                   or    modification will not be                                made


                  The         Servicing                 Agreement                      provides            that       the       Servicer           will        not        direct          the    Trustee               to       acquire              an
                                  be     included                      the Collateral                from the Servicer                              any of
                        to                                    in                                                                              or                        its    Affiliates            as                              or    to    sell
  obligation                                                                                                                                                                                               principal

  an     obligation                to    the      Servicer              or              of    its    Affiliates             as principal                 unless                 the       Issuer          shall        have          received
                                                                              any
  from      the        Servicer               such          information relating                          to    such        acquisition              or       sale        as    it
                                                                                                                                                                                      may        reasonably                  require             and

   shall    have             approved                  such        acquisition                    which         approval              shall        not    be        unreasonably                      withheld                  ii         in    the

  judgment              of the              Servicer               such          transaction              is    on     terms          no      less       favorable               than          would be                obtained                 in


  transaction                conducted                 on     an       arms        length           basis       between              third parties unaffiliated                                with each               other          and        iii
   such     transaction                     is    permitted by                     the       Advisers               Act          The        Servicing                Agreement                   also        provides                 that       the

   Servicer        will           not direct the Trustee to acquire                                            an    obligation              to    be    included               in the          Collateral                 directly            from

   any     account                or    portfolio             for       which           the       Servicer            serves          as     servicer              or    investment                  adviser               or    direct          the

  Trustee to                sell       an    obligation                directly         to               account            or portfolio             for       which            the       Servicer           serves             as    servicer
                                                                                               any
   or    investment                adviser             unless           such       acquisition                 or    sale       is          in     the    judgment                   of the       Servicer                  on terms no


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  less   favorable              than would be                       obtained               in         transaction               conducted                 on      an    arms                           basis     between                   third
                                                                                                                                                                                       length

  parties unaffiliated                        with each             other          and     ii permitted                    by the Advisers                        Act


               Subject to the provisions                                      for          successor servicer                         discussed below                         the      Servicer              may resign upon
  90    days      written            notice           to the Issuer                 or         such shorter               notice          as    is   acceptable              to the          Issuer


               The            Servicing              Agreement                  will       be       terminated                 and        the       Servicer           will      be    removed                 by the Issuer                     if


  directed        by       the       Trustee              acting           at      the        direction          of                                                  of the                                     Class           of Notes
                                                                                                                               Super           Majority                            Controlling

  excluding              any        Notes            that       are      not       Voting           Notes             or       by          Majority               of the Voting                   Preference                Shares               in

  each     case      for       cause                 upon           10 days               prior       written          notice            to     the    Servicer             and        upon        written            notice          to     the

  Holders         of the            Securities                as    set       forth       below                For purposes                     of determining                    cause                with      respect              to    any
  such     termination of the Servicing                                       Agreement                   such        term shall mean any one                                 of the following                      events



                                                         the       Servicer              willfully          breaches                in    any        respect           or takes                        action       that        it    knows
                                                                                                                                                                                            any
               violates              in                                                                     of the Servicing                                                                  terms of the Indenture
                                              any        respect           any          provision                                                    Agreement                or      any

               applicable                  to       it




                                    ii                   the       Servicer              breaches               in    any        material              respect          any        provision                 of the         Servicing

               Agreement                       or    any       tenns          of the Indenture                       or     the      Collateral              Administration                       Agreement                applicable

               to        it    or    any        representation warranty                                     certification                  or       statement           given          in                             the       Servicer
                                                                                                                                                                                             writing           by
               shall          prove            to    have          been       incorrect              in              material             respect           when        made           or    given            and     the       Servicer
                                                                                                          any
               fails          to    cure such                 breach          or        take     such          action       so       that       the    facts         after giving                 effect        to such              action
               conform                   in    all    material                                 to    such       representation warranty                                     certificate            or     statement                  in    each
                                                                           respects

               case           within 30                  days      of becoming                      aware        of       or    receiving              notice          from           the    Trustee           of such breach
               or materially                        incorrect         representation warranty                                       certificate             or    statement



                                    iii                  certain           events of bankruptcy                            or    insolvency                 occur          with respect                to the       Servicer



                                    iv                   the       occurrence                  of any       Event           of Default                under          the    Indenture              that       results        from           any
               breach               by    the        Servicer            of   its       duties       under        the       Indenture or the Servicing                                  Agreement                   which            breach

               or default                 is    not cured             within any applicable                               cure period                  or



                                                                   the      occurrence                    of    an     act        by          the     Servicer             related           to    its       activities              in     any
               servicing                  securities                financial             advisory             or other             investment               business that constitutes                              fraud                    the

               Servicer                  being           indicted             or        any     of    its      principals                being convicted                         of          felony           criminal               offense

               related              to    its   activities            in                 servicing              securities               financial                               or other              investment               business
                                                                              any                                                                            advisory
               or              the       Servicer             being indicted                     for adjudged                   liable in                 civil      suit    for or convicted                       of          violation

               of the Securities                          Act or any                    other       United           States         Federal securities                      law or any                 rules     or regulations

               thereunder



               No         removal               or resignation                     of the Servicer                   will       be       effective          under          the     Servicing              Agreement                   unless

               at        the       written            direction               of          Majority              of the           Voting              Preference               Shares              the        Issuer        appoints
  successor servicer                      and         such         successor servicer                          has agreed                in    writing          to   assume            all   of the           Servicers               duties

  and                                                                                                                          and               Indenture              and
         obligations                pursuant               to      the     Servicing                Agreement                            the                                     ii         the    successor servicer                            is


  not    objected              to    within              30     days          after        notice         of such              succession                         either                                                              of the
                                                                                                                                                           by                                 Super            Majority

  Controlling                 Class           of Notes                excluding                             Notes           that         are        not                       Notes               or                                             in
                                                                                                 any                                                        Voting                                                    Majority
  Aggregate              Outstanding                     Amount             of the Voting                   Notes           voting             as         single        Class          or               if      Majority              of the

  Voting      Preferences                       Shares             has     nominated                  two       or     more           successor servicers                          that       have           been      objected                  to

  pursuant          to     the      preceding                  clause           Aii              or    has failed               to       appoint                 successor servicer                      that       has         not        been

  objected        to      pursuant to the preceding                                       clause          Aii within                      60        days       of the date             of notice              of such           removal
  or    resignation                of the            Servicer                      at    the     written             direction            of                                             of the                                        Class
                                                                                                                                                      Super          Majority                             Controlling
  excluding               any        Notes            that         are     not          Voting            Notes             the       Issuer          appoints                   successor               servicer           and            such

  successor servicer                       has agreed                 in                       to    assume           all      of the Servicers                        duties         and
                                                                            writing                                                                                                           obligations                  pursuant to
  the    Servicing             Agreement                      and     the       Indenture                 and        ii     the       successor servicer                         is    not        objected            to    within           30

  days     after notice                  of such          succession by either                                         Majority                of the Voting                 Preference                 Shares                              as
                                                                                                                                                                                                                       voting
  single     class            or                 Majority             in      Aggregate                Outstanding                   Amount               of the Voting                  Notes           voting            as         single


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   Class          provided                     that     if         Majority               of    the      Voting               Preference              Shares            and              Super      Majority               of         the

   Controlling                  Class          excluding                           Notes        that    are     not Voting                   Notes              have        each      nominated               two     or        more
                                                                       any
   successor servicers                          that       have     been       objected to pursuant to the preceding                                              clauses           Aii and Bii or                               have

  otherwise                failed         to    appoint                successor servicer                     that       is    not objected to                    pursuant to the                  preceding           clauses

   Aii or Bii within                                       120     days       of the date              of notice              of such           removal           or resignation                of the Servicer                   any
  Holder          of the Controlling                          Class of Notes                    excluding               any Notes                that      are    not Voting               Notes         any        Holder             of

  Voting          Preference                    Shares          or the        Trustee           petitions               court         of competent                  authority             to    appoint             successor

   servicer            In       addition any                  successor servicer                       must    be an established                           institution            which            has demonstrated

  an     ability           to    professionally                    and       competently                perform               duties        similar         to    those           imposed                     the     Servicer
                                                                                                                                                                                                  upon
  under         the        Servicing             Agreement                    ii     is    legally         qualified            and        has the capacity                   to    act    as    Servicer           under             the

   Servicing           Agreement                      as     successor to the Servicer                          under           the       Servicing             Agreement                in the    assumption                   of    all


  of the responsibilities                              duties       and       obligations              of the Servicer                    under       the       Servicing           Agreement             and       under            the

  applicable                terms          of the           Indenture               iii        shall     not       cause         the       Issuer          or     the       pool     of Collateral               to    become
  required            to    register             under        the      provisions              of the Investment                       Company                  Act         iv     shall       perform        its     duties           as

   successor servicer                           under        the    Servicing              Agreement               and         the     Indenture                without           causing the Issuer the                          Co
  Issuer         or                   Holder           of Preference                  Shares            to    become                 subject          to    tax        in            jurisdiction              where             such
                           any                                                                                                                                               any
   successor               servicer             is    established             as    doing         business           and                   each                                          has     confirmed             that          the
                                                                                                                                                      Rating           Agency
  appointment                    of such             successor servicer                    shall       not cause               its   then-current                 rating          of any       Class of Notes                   to    be

  reduced             or    withdrawn                      No    compensation                   payable to                    successor from payments                               on     the    Collateral           shall          be

  greater         than           that       paid        to      the      Servicer           without           the       prior         written           consent             of          Super      Majority            of            the

  Controlling                   Class of Notes                        Majority of the Notes                         and          Majority             of the Preference Shares


                  The            Servicing              Agreement                   and        any      obligations                  or    duties          of the           Servicer           under      the       Servicing

  Agreement                     cannot           be    delegated              by     the        Servicer           in     whole            or    in                                to            entity        that        is    both
                                                                                                                                                       part        except                any
         controlled                  by   all    or    any       of James Dondero                        Mark           Okada             and    Todd           Travers           and    ii      one     in   which             all    of

  James          Dondero                  Mark         Okada           and    Todd Travers or any Approved                                            Replacement                  thereof         is   involved            in the

  day      to    day        management                      and     operations              and         in   any     such            case       pursuant to an                    instrument of delegation                             in

  form          and        substance                 satisfactory             to    the    Issuer            without             the       prior      written           consent           of the        Issuer              Super

  Majority             of the             Controlling                  Class        of     Notes           excluding                 any        Notes           that        are    not     Voting         Notes             and

  Majority             of        the       Voting            Preference              Shares            and         notwithstanding                                 such           consent          no     delegation                   of
                                                                                                                                                           any
  obligations                   or    duties          by     the    Servicer              including            without                limitation             to    an        entity      described            above             shall

  relieve         the Servicer                   from                                 under          the     Servicing               Agreement
                                                             any      liability




                                                                                                THE          CO-ISSUERS


  General


                  The           Issuer          was        incorporated              as    an    exempted               limited            liability        company on February                                2006         in the

  Cayman               Islands             under           registration             number             MC- 162048                         The     registered                office       of the         Issuer        is    at       the

  offices         of Ogier Fiduciary Services                                      Cayman Limited P.O Box 1234                                                    Queensgate              House          George            Town
  Grand Cayman                            KY1-1108                 Cayman             Islands                The     Issuers               telephone              number            is    345          945-6264                  The
  Issuer         has       no        prior       operating             experience               other        than        in     connection                 with the           acquisition           of the          Collateral

  Obligations during                             the       Accumulation                    Period and                will        not        have                  material            assets       other       than                  the
                                                                                                                                                        any
  Collateral               pledged              to    secure       the       Secured           Obligations               and         ii $500 of                  which        $250        represents           the     Issuers

  ordinary share                      capital         and     $250        represents                 fee for issuing                  the       Securities


                  The            Co-Issuer             was incorporated                        on October                13 2006                in the State            of Delaware                under       registration

  number 060941313                               as         corporation              and       has         perpetual            existence                  The     registered             office       of the Co-Issuer

   is at    do        National              Corporate              Research                Ltd         615     South           DuPont Highway                           Dover            Delaware             19901              The
   Co-Issuers                   telephone              number            is   302          738-6680                The         Co-Issuer              has no           prior       operating           history        and        will

   not     have       any        material             assets




                  The            Senior          Notes           are     non-recourse                  debt obligations                     of the          Co-Issuers                  The      Class              Notes            are

   non-recourse                      debt       obligations              of the           Issuer       and     the        Preference                  Shares           are    equity           interests       only in the
   Issuer             The            Securities              are    not       obligations               of the           Trustee                the   Preference                  Shares         Paying         Agent                the

   Servicer            the           Initial     Purchaser               the       Administrator                   the        Holders           of the Preference                       Shares         Ogier        Fiduciary

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  Services         Cayman                     Limited           as    the share           trustee       in such capacity                       the    Share Trustee                             or    any directors
  or officers           of the Co-Issuers                       or    any of their respective                       Affiliates




                  At        the        Closing          Date         the     authorized             share        capital         of the Issuer              consists        of 250 ordinary shares

  U.S.$1.OO             par value per share                          the Issuer Ordinary                           Shares                all   of which             will   have          been        issued      prior to

  the   Closing              Date           and     127500 Preference Shares                                U.S.$0.01             par value per share                      127500              of which           will      be

  issued      on        or    about           the       Closing         Date         The           authorized          common             stock          of the      Co-Issuer             consists             of    1000
  shares      of       common                stock           U.S.$    0.01        par value the Co-Issuer                            Common Stock                              all       of which          shares         will

  be    issued          on    or       about        the      Closing         Date         All       of the outstanding                   Issuer          Ordinary          Shares          and       all    of the        Co
  Issuer      Common                     Stock           will    be     held        by    the       Share         Trustee            For        so       long       as   any        of the           Securities            are

  Outstanding                 no       transfer          of any       Issuer        Ordinary           Shares          or    Co-Issuer          Common               Stock          to         U.S     Person          shall

  be registered



  Investors             Corp


                  On         the       Closing          Date Grayson                 Investors          Corp Investors                          Corp                an exempted                  limited         liability


  corporation                incorporated                    under    the       laws of the            Cayman            Islands          is   expected             to   purchase              all   of the Class

  Preference                Shares           and        to    finance        such     purchase              by                                             shares        the Holding Preference
                                                                                                                  issuing         preference
  Shares                in         number               equal to the aggregate number                                  of Class              Preference              Shares          purchased              by    it      The
  Holding          Preference                  Shares          will     be offered             by Investors             Corp        to    investors                                                                  Corp
                                                                                                                                                              pursuant to the Investors
  Offering             Memorandum                       and     are     not offered                hereby         In    case of any             transfer            of Class         II    Preference                Shares

  by    HFP        or       any        of    its    subsidiaries             to   Investors           Corp          Investors            Corp         is    expected           to    purchase              all   of such

  Class      II   Preference                  Shares redesignated                        as    Class        Preference             Shares           and     finance        such          purchase           by issuing
  additional                Holding                Preference           Shares           in          number            equal       to     the       aggregate              number              of     such       Class

  Preference                Shares purchased                     by     it




                  Investors                 Corp         will exercise             its   consent        and       voting         rights        in    its   capacity         as           Holder        of the Class

    Preference                Shares               in   accordance              with the directions                     of the Holders                   of the                           Preference             Shares
                                                                                                                                                                     Holding

  provided             that       Holding               Preference           Shares           held by        the       Servicer         or     any       of   its    Affiliates           will       have        no such
  right      to        direct          Investors              Corp         in     connection             with          the       removal            of     the      Servicer             for    cause                or    the

  appointment                 of         replacement                 servicer            For purposes               of calculating              such consents                  or    votes exercised with
                            the    Class                Preference           Shares           held                                               each                                                                     with
  respect         to                                                                                   by     Investors            Corp                       consent          or        vote exercised

  respect         to         Holding               Preference           Share       will       count     as      one    consent          or vote          exercised         with respect                   to     Class

  Preference                Share held by Investors                           Corp            as   applicable



  Capitalization



                  The         initial         proposed           capitalization                 of the       Issuer         as   of the        Closing           Date      after         giving effect               to    the

  initial     issuance                  of     the       Securities           and        the       Issuer                          Shares            before                                                          of the
                                                                                                                 Ordinary                                            deducting                 expenses
  offering             is   as set forth                below


                                                                                                                                                                         Amount U.S.$
                  Class A-la Notes                                                                                                                                          $1015000000
                  Class A-lb Notes                                                                                                                                           $111500000
                  Class A-2 Notes                                                                                                                                                    $68000000
                  Class                Notes                                                                                                                                         $72000000
                  Class                Notes                                                                                                                                         $75000000
                  Class                 Notes                                                                                                                                        $31000000
                                  Total Notes                                                                                                                               $1372500000
                  Class                Preference             Shares                                                                                                          $52500000
                  Class           II   Preference Shares                                                                                                                             $75000000
                  Issuer           Ordinary              Shares                                                                                                                                       $250
                                  Total        Equity                                                                                                                            $127500250
                  Total           Capitalization                                                                                                                            $1500000250



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               The     Co-Issuer           will    be    capitalized             only to           the       extent        of   its    common          equity       of U.S.$10 will have

   no assets other           than    its   equity       capital      and        will      have        no debt        other       than as Co-Issuer of the Senior Notes



   Business



               General



               The     Issuer       Charter provides                 that      the     objects          for    which        the       Issuer     is   established        are limited         and     the

   Issuer     may     exercise       the    power           contained           in    Section 226                  of the Companies                   Law 2004 Revision                       Article

   III   of the Co-Issuers               Certificate           of Incorporation provides                               that      the    principal        purpose         of the Co-Issuer             is


   the    issuance     of     the    Senior Notes              and        to                     in            activity          and      to   exercise                               permitted to
                                                                                engage                 any                                                    any      powers

   corporations         organized           under        Delaware              Law          which            are    incidental          to      or    connected         with        the    foregoing
   and                       suitable      or   convenient               to    accomplish              the    foregoing
          necessary


               The Issuer



               The Indenture               provides that the activities                           of the Issuer             are limited          to the      following



                              acquisition          and       disposition             of Collateral                 Obligations and               Eligible     Investments


               ii             entering          into     and     performing                 its    obligations              under         the    Indenture             the   Preference           Share

                              Documents                any     Hedge           Agreements                    the     Securities           Lending         Agreements                the    Servicing

                              Agreement               the    Placement               Agency            Agreement                 the    Collateral        Administration                  Agreement
                              and    the    Administration Agreement



               iii            the issuance             and    sale       of the       Securities             and     the    Issuer      Ordinary         Shares



               iv             the    pledge of the Collateral                          as security             for    its   obligations              in respect        of the Notes          and    any

                              Hedge        Agreements


                              entering          into    certain          pre-closing              warehousing                   arrangements            and     the     agreements           relating

                              thereto and


               vi             undertaking              certain      other        activities            incidental           to the      foregoing


               The     Co-Issuer



               The     activities        of the Co-Issuer                 are to       be      limited        to    the     following


                              the    co-issuance and                 sale      of the Senior Notes and



               ii             to    engage       in
                                                       any     activity          and      to     exercise
                                                                                                                   any      powers         permitted to corporations                       organized
                              under        Delaware            Law             which        are        incidental           to     or     connected           with       the       foregoing       and

                              necessary           suitable          or   convenient               to    accomplish              the    foregoing


   Administration



               Ogier        Fiduciary Services                   Cayman                Limited           Ogier Cayman Islands company will                                                     act    as

   the    administrator           of the Issuer          in such capacity                        the    Administrator the Share Registrar and the                                                 Share

   Trustee       Ogier became               the    Administrator                 of    the       Issuer       on     October           14 2006 when               it
                                                                                                                                                                       replaced the original
   administrator         of the Issuer Maples                        Finance              Limited            in such            capacity         the   Original              Administrator
   The     office     of the Administrator                    will       serve       as    the     principal           office         of the Issuer           Through              this   office    and

   pursuant      to    the       terms     of an       agreement               by     and      between              the     Administrator              and    the       Issuer      as amended
   supplemented             and     modified           from      time to             time the Administration                                    Agreement                    the    Administrator

   will    perform      various          administrative              functions              on     behalf          of the Issuer including                      the     provision of certain
   clerical    and     other        services        including             acting          as     Share        Registrar           until        termination        of the           Administration

   Agreement                In     consideration               of    the        foregoing                the        Administrator                will     receive            various       fees     and


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  reimbursement                               of     its    expenses                     Ogier          Fiduciary                    Services                Cayman                     Limited            will       also        act        as     the

  administrator                       of      Investors          Corp and                   the registrar               of the Holding                         Preference               Shares



                         The        activities             of the Administrator                              under            the         Administration                         Agreement                will       be     subject          to     the

  overview                    of the Issuers                    Board of Directors                                 The         Administration                          Agreement                           be       terminated
                                                                                                                                                                                                may                                          by     the

  Is   suer             upon        14     days            written        notice            following              the                                      of certain            events or upon                      90                  written
                                                                                                                              happening                                                                                      days
  notice                in    all    other          cases           Upon           the       earlier         of the termination                                of the            Administration                     Agreement                or     the

  dissolution                   of the Issuer the Administrator                                         shall           cease to serve                      in    such      capacity


                         The        Administrators                        principal               office           is    at     P.O Box                      1234           Queensgate                  House George Town
  Grand Cayman                                KY 1-1108               Cayman                Islands



  Directors



                         The        Issuer          will     have       three           directors            each         of       whom               will       initially        be     an employee                  or     officer         of the
  Administrator                          or   an Affiliate             of the Administrator



                         The        directors              of the Issuer                 who        are      also        the        directors               of Investors                Corp            are Scott           Dakers             Evan
  Burtton                and                                                                 Holders           of the
                                    Vijayabalan                 Murugesu                                                            Class            II    Preference              Shares            may            for    so    long        as     the

  aggregate                    number               of     Class        II       Preference               Shares               Outstanding                        is   greater           than        the        number            of Class
  Preference                    Shares             Outstanding                   vote       at            time to remove                              all    but       not       less        than all of the directors                              and
                                                                                                  any
  appoint                other        directors             who may be employees                                    officers              or     designees of the Servicer


                         Directors               of the Issuer                                                 directors                 of and
                                                                              may           serve       as                                                  provide              services          to     other           special        purpose
  entities               that        issue          collateralized                                             and                                     other         duties            for    the       Administrator                    and        the
                                                                                    obligations                               perform
  Servicer                    as the       case         may be They may                             be contacted                    at        the    address of the Administrator



                         The        director            of the Co-Issuer                      is    Donald Puglisi                              Mr         Puglisi          is   also        the    President               Secretary               and
  Treasurer                    of     the          Co-Issuer                 Mr          Puglisi          is            Professor                     of     Finance              at     the       University               of     Delaware
  Mr         Puglisi             serves            as       director         of and provides                        services                  to          number of               special          purpose           entities            He may
  be contacted                      at     the     address of the Co-Issuer



                                                                 PREVENTION                                  OF MONEY LAUNDERING

                         To      ensure compliance                           with           applicable              statutory                  requirements                  relating           to      anti-money                laundering
  and            anti-terrorism                     initiatives              the        Share                                  on         behalf            of the          Issuer            will                         verification              of
                                                                                                     Registrar                                                                                          require

  identity               and        source of funds from                              all                                purchasers of the Preference                                          Shares                                        on
                                                                                             prospective                                                                                                            Depending                       the

  circumstances                          of each                                                    not always                 be                                                                                                evidence            of
                                                            purchase               it
                                                                                        may                                              necessary to obtain                            full       documentary
  identity               and/or          source of funds where



                                            The           purchaser              is              licensed           entity               or         financial            institution                regulated               in           country
  recognized                    as    having              an adequate              anti-money                  laundering                      regime

                                            The         purchaser            is    an       entity      or     financial                      institution            listed       on      the      Cayman             Islands           or     other

  approved                    stock        exchange2              or




                                            The         funds         have         been          paid        from         an          account               held       in    the        name         of        the    purchaser                at

  financial                  institution             based                                    recognized                                              an adequate
                                                                 in       country                                        as        having                                        anti-money                laundering               regime




    The          list    of    acceptable          countries     is    Argentina            Australia        Austria          Bahamas                Bahrain       Barbados                          Bermuda          Brazil
                                                                                                                                                                                       Belgium                                    British      Virgin

  Islands          Canada           Denmark          Finland     France        Germany            Gibraltar        Greece          Guernsey Hong                 Kong       Iceland       Ireland       Isle   of   Man    Israel   Italy      Japan
  Jersey           Liechtenstein              Luxembourg              Malta        Mexico           Netherlands               New        Zealand            Norway       Panama              Portugal          Singapore         Spain       Sweden
  Switzerland                 Turkey       United       Arab   Emirates          United      Kingdom         and    United          States      of    America

                  of approved            Stock      Exchanges       can   be     found      under                             of                           Islands
          list
                                                                                                     Appendix                      the    Cayman                       Money       Laundering        Regulations           as amended
  which                  be    accessed       on    the    Cayman      Islands                                          website               www.cinioney.com.kv
                 may                                                                Monetary         Authority                           at




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                                                         MATERIAL INCOME TAX CONSIDERATIONS

   General


                   The following                   summary                 describes             the      principal        U.S           federal        income        tax     and      Cayman             Islands        tax


   consequences                 that        are    expected              to    be    applicable             to    the     purchase               ownership           and      disposition            of the Notes

   but does          not      purport to be                     comprehensive                        description           of     all    the     tax     considerations               that    may be            relevant

   to      decision             to     purchase              the     Notes               In    particular           special         tax        considerations               that    may        apply       to    certain


   types        of       taxpayers                 including                  without            limitation               securities              dealers            banks         financial          institutions

   partnerships insurance                           companies                      purchasers              of Notes         who          did not acquire               the     Notes          at    the    applicable

   issue price                 defined            below              and       subsequent              purchasers of the Notes are not addressed                                               In    addition            this

   summary              does     not describe                             tax                                     resulting         from          or    relating       to    the    Preference              Shares        or
                                                                any                 consequences

   any    tax     consequences                    arising           under       the       laws of any state                   locality           or taxing       jurisdiction            other       than the         U.S
   federal        government                 and    the        Cayman               Islands           In    general         the     summary              assumes           that       purchaser acquires
   Note      at    original            issuance              and     holds          such       Note        as       capital         asset        and     not as part           of        hedge            straddle or

   conversion                transaction within the meaning                                         of section          1258       of the        U.S      Internal         Revenue            Code of 1986                as

   amended              the     Code
                   This        summary                  is    based           on     the       U.S         and      Cayman               Islands         tax     laws        regulations              rulings            and

   decisions            in    effect        on    the        date    of    this      Offering             Memorandum                      All     of the foregoing                 are   subject           to   change
   which                                                                                 and    could affect              the   continued                             of    this
                change          may         apply retroactively                                                                                         validity                    summary


                   Prospective               purchasers                  of the Notes                should note that                   no     ruling     from the Internal                   Revenue           Service

   the     IRS                will     be sought with respect                             to    any       tax    matters        discussed herein                     and    there      can     be no       assurance

   that    the     IRS        will
                                       agree        with such                 statement and                 conclusions                  Prospective             purchasers of the Notes                         should

   consult         their       tax      advisors              as    to     U.S           federal          income        tax     and           Cayman           Islands       tax      consequences                of the

   purchase             ownership                 and        disposition             of the Notes                 and     the      possible            application          of state          local        foreign        or

   other     tax        laws


                   As used             in   this    section              Material               Income Tax Considerations                                      the   term     U.S            Holder means
   beneficial            owner of                 Note         who        is        citizen          or    individual           resident          of the United               States               corporation           or
   any     other        entity        treated       as          corporation                   for    U.S        federal       income             tax    purposes            created      or        organized          in or

   under      the       laws of the United                          States          or   an estate          or trust       other          than          foreign            estate      or          foreign        trust
   each     as    defined            in the       Code

                   If          partnership                   including               any        entity          treated       as             partnership             for    U.S        federal            income         tax

   purposes              is      beneficial                  owner of              the    Notes            the    U.S      federal            income          tax    treatment           of         partner       in     the

   partnership               will generally                  depend           on the status of the partner                          and        the activities          of the partnership



        TO COMPLY WITH     TREASURY DEPARTMENT     CIRCULAR  230   YOU ARE
   HEREBY NOTIFIED THAT        ANY DISCUSSION OF FEDERAL TAX ISSUES IN THIS
   OFFERING   MEMORANDUM    IS  NOT INTENDED OR WRITTEN    TO BE USED AND
   CANNOT BE USED BY YOU FOR THE PURPOSE OF AVOIDING PENALTIES THAT MAY
   BE IMPOSED ON YOU UNDER THE INTERNAL        REVENUE CODE       ANY SUCH
   DISCUSSION  IS INCLUDED HEREIN BY THE ISSUERS IN CONNECTION WITH THE
   PROMOTION OR MARKETING WITHIN THE MEANING OF CIRCULAR 230 BY THE
   ISSUERS OF THE TRANSACTIONS    OR MATTERS ADDRESSED HEREIN AND      YOU
   SHOULD SEEK ADVICE BASED ON YOUR PARTICULAR CIRCUMSTANCES FROM AN
   INDEPENDENT TAX ADVISOR

   U.S      Federal Income Taxation                                  of the Issuer



                   US          Federal            Income            Tax            Although            the       Issuer     will         elect     to    be    treated       as       partnership               for   U.S
   federal        income             tax    purposes                there      can        be no       assurance            that     it    will not        treated      as     or    become                corporation
   for    U.S        federal         income             tax    purposes                  If    the   Issuer        is   treated          as       partnership the Issuer                      will    not       itself    be




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  subject        to    U.S        federal         income               tax        The      following                  discussion               assumes               that    the        Issuer         will    be        treated           as

  partnership              of    U.S        federal         income            tax    purposes                  at    all    times



                    Section        864b2                    of the Code              provides                       specific          exemption                from        U.S      federal            income             tax       to   non
  U.S       persons             which         either                   trade        stocks           or        securities               through                 resident           broker              commission agent
  custodian            or other            independent                              or    ii restrict                 their activities                   in    the    United            States         to trading              in stocks
                                                                       agent
  and     securities             and        any    other          activity          closely           related              thereto            for their             own      account              whether               such        trading

  or     such other              activity         is    by such              person or           its      employees                   or     through                resident        broker             commission agent
  custodian            or    other          agent            This            particular          exemption                       described               in    clause         ii        above           does        not        apply            to

  foreign        persons that                are dealers                in    stocks       and       securities                  Moreover                 the        Treasury            and      the    Internal              Revenue
  Service recently                    announced                  that       they are considering                             taxpayer              requests           for     specific            guidance                on among
  other                      whether                                                                  be
            things                                     foreign           person           may                   treated            as    engaged               in       trade       or        business             in     the       United
  States       by     virtue          of entering                into       credit        default                                However                 the                            and       the                          Revenue
                                                                                                               swaps                                             Treasury                                Internal

  Service have                  not yet                                                                on           whether
                                                 provided               any       guidance                                            they believe                   entering            into      credit          default
                                                                                                                                                                                                                                     swaps
  may      cause                              person to be                   treated        as    engaged                   in        trade        or    business in the United                              States           and
                            foreign                                                                                                                                                                                                      if   so
  what      facts          and        circumstances                     must        be     present                  for     this        conclusion               to     apply             If                 future
                                                                                                                                                                                                  any                          guidance
  concludes            that       foreign                                                  into      certain               credit        default                           will     be       treated          as
                                                  persons entering                                                                                        swaps                                                     engaged                in

  trade     or business in the United                                 States        such guidance                                                             impact the Issuer
                                                                                                                           may        adversely


                 Prior       to    the      issuance             of the Securities                        the Issuer               will receive                 an                       from Latham                            Watkins
                                                                                                                                                                      opinion
  LLP      Tax             Counsel                based            in
                                                                         part on           the       exemption                   described in the preceding                                   paragraph                 to    the effect

  that                           no                                                                       to        that                                                                     has been
           although                     activity         closely             comparable                                     contemplated                      by the         Issuer                                the        subject           of

  any      Treasury              regulation                 revenue               ruling        or     judicial                decision             and        the     matter            is    not       free           from         doubt
  assuming             compliance                 with           the     Issuers            Memorandum                             and       Articles            of Association                        the      Indenture                     the

  Servicing            Agreement                 and     other          related          documents                    collectively                  the       Documents                           by    all    parties           thereto
  the    Issuers permitted activities                                   will      not cause               it    to    be treated              as    engaged            in the       conduct              of         U.S         trade           or

  business under                  the      Code             Investors             should note that                                                  on                                                                   person of
                                                                                                                           gain       or loss                   disposition               by           foreign
  United        States          real                                                      be
                                           property interest may                                 subject              to    United           States           federal        income            tax     even         if   the foreign

  person        is    otherwise              not engaged                     in      U.S         trade              or     business                Because            the     determination                     of whether                     an
  asset     constitutes                      United              States           real                               interest           is    made                                                                  the        Issuer
                                                                                          property                                                            periodically                   although                                           is


  prohibited           from        acquiring an asset that constitutes                                                    United           States        real                           interest               is                          that
                                                                                                                                                                    property                             it
                                                                                                                                                                                                                    possible

  an     asset      that        was not                United           States           real    property interest                            at    the       time such             asset         was acquired                      by        the

  Issuer       will        become                United           States          real     property                  interest         after        the    asset        is    acquired                  Because                the    Issuer

  may      be       treated           as    engaged              in          U.S         trade        or        business                solely          with        respect         to       such       gain        or        loss         Tax
  Counsels              opinion             will not         address the taxation                              of the Issuer                 with respect               to    such disposition                           In    addition
  in    interpreting              and       complying                 with the            Documents                        the     Issuer          and        the    Servicer            are      entitled          to        rely       upon
  the    advice and/or opinions                             of their selected                    counsel                   and     the                         of Tax Counsel                     will       assume             that
                                                                                                                                             opinion                                                                                       any
  such      advice          and/or          opinions               other          than advice                   given                   Tax Counsel                                                and                                     The
                                                                                                                                 by                                     are       correct                     complete
  opinion           of Tax            Counsel               will       be     based         on        the           Code           the       Treasury               regulations                final                                       and
                                                                                                                                                                                                              temporary
  proposed thereunder                            the     existing             authorities                 and        Tax Counsels                        interpretation                 thereof          all       as    in    effect           as

  of the        date        of such          opinion               and        on    certain           factual                                             and                                           as     to       the     Issuers
                                                                                                                            assumptions                              representations

  contemplated                  activities             The         Issuer          intends           to        conduct           its     business in accordance                                with       the       assumptions
  representations                 and       agreements                  upon which                the          opinion           of Tax Counsel                       is    based            However                                       and
                                                                                                                                                                                                                    opinions
  advice        of Tax            Counsel              or    other           counsel           are        not        binding             on    the       IRS                                            in    the        absence                of
                                                                                                                                                                       Accordingly
  authority           on    point          whether           the        Issuer       is   or will              be treated               as                      in          trade       or     business in the United
                                                                                                                                             engaged
  States       or    not    is    not entirely               free       from doubt and                          there       can       be no         assurance               that    positions            contrary               to       those
  stated       in the                         of Tax Counsel                                         other           advice or opinion                                             be
                            opinion                                                 or    any                                                                  may         not           asserted             successfully                    by
  the    IRS


                    U.S Federal                  Withholding                   Taxes             Generally                   U.S           source interest                   income            received             by              foreign

  person        not    engaged              in     trade          or     business within the United                                      States          is   subject        to    U.S         withholding                    tax     at      the

  rate    of    30%         of the amount thereof                              The        Code provides an exception                                          for interest              that      constitutes                 portfolio
  interest            which           is    exempt from                      withholding                  tax            The       term portfolio                     interest               is                           defined              as
                                                                                                                                                                                                  generally

  interest          paid with              respect          to    debt        issued           after           July        18      1984        that       meets            the     registration                     requirement
  unless       the     interest            constitutes                  certain          type        of contingent                      interest         or     is    paid to                10%        shareholder                  of the



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   payor         to         controlled                 foreign         corporation                      CFC               related            to    the
                                                                                                                                                              payor        or     to        bank with                 respect             to

   loan     entered into                    in    the     ordinary             course of             its    business               For purposes                      of applying                 the        10%           shareholder

   and     related           CFC            rules         certain         constructive                  ownership               rules         contained               in     the       Code           apply               The       Issuer

   intends        that       all       of the Collateral                      Obligations purchased                             that      consist             of obligations                  of       U.S           issuers        to    the

   extent        that       they        are        treated          as    debt           for     U.S        federal           income              tax
                                                                                                                                                             purposes             will       either
                                                                                                                                                                                                                      pay       interest


   qualifying              as    portfolio               interest             for    which           federal       income            withholding                     tax    is    not    otherwise                   applicable                or

   ii     require           the     obligor             to    make        gross-up                   payments            to     offset            fully       any     such        tax       on        any       such       payments
   However              withholding                     tax       may     be       imposed           on     certain          payments               received              by the Issuer                    as        result         of one

   or    more non-U.S persons                                     ownership               of Preference                 Shares            Furthermore                      there        can       be       no     assurance               that

   the    Issuer           will        not become                  subject           to     such        withholding                  without             gross-up                  payments                  as           result         of

   change         in       or     the       adoption              of          U.S         tax     statute          or     any        change              in    or     the        issuance              of            regulation                or

                                                       Any        such     change                                        issuance                            constitute                                                   Tax Event
   equivalent              authority                                                            adoption           or                             may                                   Withholding
   See     Description                  of the SecuritiesOptional                                       Redemption

                  The           Issuer
                                                 may         acquire           certain           types      of     Collateral                Obligations not                       constituting                   debt         for       U.S
   federal        income               tax
                                                 purposes              under         the        assumption               that        they          are       not     subject           to     U.S            withholding                  tax

   despite        the      absence               of clear         authority          that        withholding              tax      is   not payable



                  Any commitment                               fees      and        any        lending        fees       received             under                 Securities              Lending               Agreement                    or

   similar fees              or other              items of income                        other         than interest                received by                    the    Issuer           may        be       subject         to       U.S
   withholding               tax         However                  the     Issuer          does not anticipate                      that      it    will       derive        material             amounts                  of any         such

   commitment                   fees        and        lending fees                or similar           fees      or    other        items          of income                that      would be                 subject         to       U.S
   withholding               taxes



                  The        Issuer          may         also      acquire           Collateral             Obligations that consist                               of obligations                     of non-U.S                issuers


   Payments                in      respect              of     such       Collateral                 Obligations                may           be        or     could          become                  subject             to    foreign

   withholding                  tax         In     this       regard           the        Issuer      is    not        generally             permitted to                  purchase                             obligations                the
                                                                                                                                                                                                   any
                        on      which            are     subject         to    withholding                 tax     unless          the       issuer           of the obligation                       is    required           to    make
   payments

   gross-up                payments                that       cover       the      full    amount of any such withholding                                            tax



   U.S      Federal              Income                Taxation           of       U.S         Holders        of Notes



                  Status           of the Notes                     In    the      opinion           of Tax Counsel the Senior Notes                                              issued           on       the      Closing          Date

   will     be    treated              as    debt for              U.S         federal           income           tax     purposes                   The        Issuer           will       treat           and       each          person

   acquiring            an      interest           in         Note        will      be     deemed            to   agree         to      treat        the       Notes         as    debt               The       opinion          of Tax

   Counsel            is    based           on     current          law        and        certain         representations                    and        assumptions                 and          is   not binding                   on     the

   IRS     or     the      courts            and        no     ruling         will        be    sought from               the      IRS regarding                      this        or    any           other          aspect         of the

   U.S      federal             income            tax     treatment             of the Notes                  Accordingly                    there           can     be    no     assurance                 that      the      IRS        will

   not     contend              and         that          court        will        not     ultimately             hold        that      for        U.S         federal          income             tax      purposes                one        or

   more Classes of                     the       Notes         are properly                treated         as equity          in     the     Issuer             In    that      case        there           might be            adverse

   U.S      federal             income            tax     consequences                    to       U.S       Holder           of Notes              upon           the     sale redemption                           retirement                or

   other     disposition                of        or the receipt               of certain            types        of distributions                   on        the    Notes Except                         for the discussion

   under         United                States           Income           Taxation               of the        Class                Notes            if    Characterized                     as        Equity              below            the

   remainder               of the           discussion              assumes               that     the     Notes         are     properly characterized                                 as       debt for             U.S        federal

   income         tax
                            purposes


                  Maturity                  Extension              and Extension                     Bonus Payment                           Because                 the    Stated          Maturity                 of the          Notes

             be       extended               if    certain          conditions                        met               is    unclear              whether            the        Notes           should              be
   may                                                                                         are                it                                                                                                       treated             as

   maturing            on       November                          2021        or    November                      2037          or      on          date       between             such          dates            The          Treasury

   regulations               do    not provide                    clear       guidance             on      debt instruments                        with terms               similar           to      the       Notes           Absent

   further        guidance                  the        Issuer      intends           to    take      the     position           that         the    Notes            should be              treated             as    maturing             on

   November                      2021             If    the   Notes        are       extended              the    Issuer        intends             to    treat      each        Note            solely         for       purposes             of

   sections           1272         and           1273        of    the    Code            as     retired       and       reissued             for        an    amount equal                      to    the        adjusted            issue

   price     on       the       date     of the new                Extension               Effective           Date           Prospective                     investors           in the         Notes           should         consult

   their tax          advisors              regarding              whether            the       Notes       should           be treated              as       maturing            on          different               date      and        the

   tax    consequences                      if   the     Notes         have          different             maturity          date       than that chosen                     by the Issuer

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                 If    the       Stated Maturity                          is   extended                the        extension              of the           Stated                                    would be               treated
                                                                                                                                                                           Maturity                                                          as

  modification                  of the Notes                              Notes                   be                          an Extension
                                                          if   the                     may                   sold       to                                  Qualifying Purchaser that                                       is   related          to

  the    Issuer        within the meaning                            of section             267b                 of the       Code             If    such extension                   constitutes                      modification
  there     is         significant             risk that          U.S           Holders            who            continue              to    hold their Notes                     after            such       extension               will    be
  treated        as    having               exchanged            their          Notes            for    new            Notes         New                 Notes             in        deemed                exchange                for       U.S
  federal        income               tax    purposes                 Deemed Exchange                                              Any         such       Deemed Exchange would                                         be       treated          as

       taxable        exchange                resulting              in    gain       or    loss            if
                                                                                                                 any          Furthermore                      if   the    Notes          are        treated           as    exchanged
  for    New      Notes           in         Deemed Exchange as     result                                         of         Maturity Extension                               whether              the    New          Notes           would
  be     treated           as    debt        for U.S federal income   tax                                                                    will        depend           on      the      facts          and circumstances
                                                                                                                    purposes
  existing        at      the     time of such                 Deemed Exchange                                     Tax Counsel                      is    unable to opine on                             whether            New         Notes
  treated        as    received              in      Deemed Exchange for the                                            Notes           will        be    treated          as    debt for             U.S            federal          income
  tax    purposes                 In    the       event of Deemed Exchange                                                   U.S         Holders           are       strongly             urged           to    consult           their tax

  advisors        regarding                 the tax
                                                          consequences                      of such              Deemed Exchange


                 The            tax    treatment               of the           Extension                   Bonus            Payment                and        the      CDS/TRS                     Termination                   Payment
  Amount          is       unclear            The        Issuer           intends          to    take            the    positions             that       the     full      amount of                 the       Extension               Bonus
  Payment             should            be    taxable            to       U.S         Holders                as        ordinary income                         in    accordance                     with        their        method               of

  accounting                that       the        CDS/TRS                 Termination                   Payment                    if
                                                                                                                                         any         should           be       treated          as       part        of the           amount
  realized                                                     of the Notes                     and         that       none        of the Extension                        Bonus Payment                                         CDS/TRS
                  upon                 disposition                                                                                                                                                                    the

  Termination                   Payment            Amount                 or    the     Issuers                  options           to     extend           the       Stated          Maturity                  should            cause        the

  Notes      to       be    treated           as                          to    the    rules                                    to                                                         debt instruments                             under
                                                       subject                                         applicable                        contingent                  payment
  Section         1.1275-4              of the Treasury                        regulation               U.S            Holders           should consult                     their tax               advisors           regarding              the

  taxation        of the Extension                        Bonus Payment and                                             CDS/TRS
                                                                                                              the                                 Termination                  Payment Amount                               and        the    tax

                                 of the Notes
  consequences                                             if   they are treated                       as        contingent              payment debt instruments


                  Taxation              of Interest              Income                    Stated            interest          on        the      Notes          that       is    considered                    unconditionally
  payable as described below                                         will       be    includable                   in    income              by          U.S        Holder        when              received or accrued                           in

  accordance               with such              Holders             method of                  tax    accounting                  as       ordinary           interest          income             from sources                     outside

  the    United           States



                 If    the       issue price                   of any           Note        is    less           than the stated                     redemption                  price         at    maturity                SRPM
  of such        Note           the     excess          of the        SRPM            over the issue                      price         may         constitute            original         issue           discount              OlD
  Under           de        minimis            rule       if    the        excess           of the           SRPM             of such               Note       over        its    issue         price           is    less       than one-
  fourth        of     one        percent              of the         SRPM             multiplied                   by       the        weighted               average            maturity                determined                    under

  applicable              Treasury            regulations                  of such           Note                such        Note        will not          be treated              as     issued           with         OlD             If
                                                                                                                                                                                                                                             any
  such     Notes           are    issued          at      greater              than de minimis discount                                      or are       otherwise              treated            as                     been         issued
                                                                                                                                                                                                          having
  with     OlD            the    excess           of the        SRPM             of such               Notes            over       their issue              price          will constitute                      OlD          Under            the

  Code            U.S            Holder           of such            Notes           would be                    required           to       include        the                                           of        OlD          if               in
                                                                                                                                                                      daily        portions                                           any
  income         as       interest          from        sources outside                     the        United             States         over the term of such                                 Notes            under             constant
  yield     method               that        reflects          the        time        value        of        money              regardless                of        such       U.S Holders                           method            of tax

  accounting               and        without          regard to the timing of actual                                        payments


                 The issue price                         of the           Notes        is   the        first      price       at    which                substantial             amount of                 the       Notes            are    sold

  for    money excluding                               sales    to        bond houses                        brokers           or       similar
                                                                                                                                                          persons           or     organizations                       acting           in    the

  capacity        of underwriters placement                                      agents           or    wholesalers                                                                                                  for                          of
                                                                                                                                             Treasury               regulations            provide                         purposes
  determining               whether                    debt     instrument                  is    issued               with     OlD            that       stated        interest           must           be        included            in    the

  SRPM           of        debt instrument                      if    such       interest              is    not       unconditionally                         payable               in   money                at    least       annually
  Interest        is       considered                                                                                        reasonable                               remedies
                                                   unconditionally                          payable                     if                               legal                             exist           to        compel            timely
  payment            or    terms and               conditions                  of the debt instrument make                                          the    likelihood              of                                       other            than
                                                                                                                                                                                          late       payment
  late    payment               that        occurs        within                reasonable                                   period                                                                                                            of
                                                                                                             grace                             or     nonpayment                   ignoring                    the    possibility

  nonpayment                due        to    default insolvency                        or similar                 circumstances                           remote contingency                                   Stated        interest          on
  the Class A-                        Notes        the     Class A-lb Notes                                 and        Class A-2 Notes                         will       be     unconditionally                           payable                at

  least     annually              and        thus        will        be        included            in        income             in       accordance                  with             U.S            Holders                 method            of

  accounting                Because               interest       on        the    Class                Notes             the       Class              Notes          and       the    Class                Notes                       not be
                                                                                                                                                                                                                            may
  due     and                          on
                  payable                    any Payment Date                          to       the     extent           that      funds are not available                                on        such       Payment                Date        to




                                                                                                                       135
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   pay the        full      amount of such                        interest          or in       order to satisfy certain                              Coverage                   Tests        the Issuer              intends          to take

  the    position             that     payment of                     interest          on     the       Class                Notes        the        Class                Notes           and     the       Class              Notes           will

   not    be viewed               as    unconditionally                           payable                    Assuming                 such       treatment                 is   respected               all    interest          payments
   on    the     Class               Notes           the       Class               Notes           and        the       Class              Notes           would be               required              to    be     included              in    the

   SRPM          of such           Notes          and          therefore accrued                             by         U.S         Holder           pursuant to these                       OlD rules Accordingly
   the   Class              Notes           the      Class              Notes           and        the       Class                 Notes        would be              subject             to theOlD rules whether                                 or

   not   they are issued                    at   an       issue        price       equal to their principal                                amount


                  Because              the       Floating              Rate        Notes           provide              for         floating          rate       of interest                     U.S         Holder             of Floating

  Rate      Notes           must       include              in    income            interest            or        OlD         if
                                                                                                                                   any     on        the       Floating           Rate       Notes            at    the    floating             rate

   in   effect       for the         first       accrual              period        assuming                      the    Floating Rate                    Notes           are     issued         without             OlD other than
   any     deemed                  discount               attributable                  to    the       accrual             of interest                   The        amount of                   interest           or OlD actually

  recognized                for    any      applicable                 period will increase                              or        decrease               if   interest          actually          paid during                   the period

   is   more or less than                        the      amount accrued                           at   the        initial         floating       rate



                  If     the       Notes          of             Class            are        not    issued              at     an     issue          price        equal           to       their    principal                   amount            in

  computing     OlD with respect to such Notes                                                               the       Issuer        intends          absent               definitive             guidance                 to    determine

  the     amount of OlD to be included in income                                                                  annually           by    U.S            Holders               of such          Notes             under        an    income

   accrual        method               prescribed                 by        Section            272a6                        of the        Code            applicable                 to    debt instruments                      payments
   under        which may be                         accelerated                   by        reason               of    prepayments                   of other                  obligations              securing                such           debt

   instruments               or        pool of debt instruments                                     the       yield          on     which        may be               affected             by reason of prepayments
  that      uses         an       assumption                     as    to        the     expected                  prepayments                   on        the        Notes The                    application                  of     section

   l272a6                   of the         Code           to     debt instruments                            with        prepayment                  features              similar          to    the        Notes         is    uncertain

   however             and     may         be     challenged                  by the          IRS            In    the      event        that    the       IRS        successfully                 challenged                the      Issuers

  characterization                     of such              Notes            as    subject              to    section               272a6                  of the           Code            any     such            Notes            might       be

   treated       as      contingent               payment debt instruments                                              Prospective                  investors             should            consult           their tax             advisors

   regarding             the      potential               application                  of the           method               under         section               272a6                     of the        Code             and        the    rules

   governing             contingent               payment debt instruments                                         for      accruing            any       prospective                 OlD        on the Notes



                  Disposition                   of Notes                In    general                   U.S            Holder         of        Note           will    have                basis    in       such         Note        equal to
   the    cost       of such           Note          to     such        Holder               increased                 by     any     amount              includable                 in    income            by such             Holder           as

   OlD      and        reduced             by    any        payments                of principal                    and       interest          on    such           Note            other       than payments                       of stated

   interest       that       are     not required                 to    be        included              in the          SRPM          of such             Note


                  Upon            the       sale          exchange                     retirement                  or       other        disposition                 of     such           Note                U.S         Holder               will

   recognize             taxable           gain        or      loss         if    any        generally                 equal        to    the    difference                 between              the         amount             realized         on

   the sale        or other            disposition                other            than accrued                     stated          interest         that       was        not       required           to    be     included              in the

   SRPM          of such           Note           which           interest             will    be        taxable             as     such        and        such       U.S Holders                       adjusted            tax       basis       in

   such     Note            Any        such       gain or loss will generally                                       be       long-term capital gain or loss provided                                                  that       such       Note

   had    been         held for more than                         one        year       at    the       time of the sale or other                               disposition                  In    certain           circumstances
   U.S      Holders            that        are    individuals                    may         be entitled                to preferential                treatment                 for net         long-term capital                         gains
   however             the ability              of   U.S          Holders              to offset             capital          losses       against             ordinary              income         is       limited



                   United States                     Income             Taxation               of the             Class              Notes           if    Characterized                     as Equity                    As discussed
   above         the        Issuer         will      treat            and     each                            acquiring              an    interest             in         Note           will     be        deemed             to                to
                                                                                             person                                                                                                                                  agree
   treat       the     Class               Notes            as    debt of the                  Issuer             and       the     discussions                 above           assume            that       the     Class                 Notes

   would be            characterized                   as debt              for   United            States             federal        income           tax      purposes                  However                  the    United           States

   federal        income             tax    treatment                 of the Class                       Notes           is    subject          to    significant                uncertainty                 and     no                     from
                                                                                                                                                                                                                            ruling

   the    IRS      has        been         sought regarding                         this       issue Accordingly                                there          can    be        no     assurances                  that    the       IRS        will

   not    contend             and      that           court           will    not ultimately                       hold        that      the     Class               Notes           are equity              of the Issuer



                  If     the      Class                Notes           were         treated             as        equity              U.S        Holder              of Class                    Notes         will        generally             be

   treated        as          partner            of the Issuer                     and        would be                   generally              required             to     take          into     account               such        Holders
                                     of the Issuers items                              of income                               loss deduction                        and                                                        year of the
   allocable           share                                                                                       gain                                                     credit          for the          taxable

   Issuer       ending            within          or      with the               taxable           year of the                 U.S         Holder              regardless                 of whether               such         Holder          has

   received            or     will      receive             corresponding                       distributions                      from         the       Issuer                Investors           are       strongly               urged        to


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  consult        their          tax        advisors            as        to    the    possible               characterization                       of    the      Class                 Notes            as                     the       tax
                                                                                                                                                                                                                 equity

  consequences                   resulting            from          such       characterization                          and     the      advisability                of filing an IRS Form                             8865


  Tax Treatment                       of Tax-Exempt                           U.S      Holders                of Notes



                 U.S            Holders          which              are       tax-exempt               entities           Tax-Exempt                        U.S Holders                             will    not be            subject       to

  the    tax    on        unrelated             business taxable                       income               UBTI                     with respect                to    interest          and         capital       gains         income
  derived           from         an        investment                    in    the     Notes                However                        Tax-Exempt U.S                             Holder              that     also        acquires

  Preference               Shares           should          consider                whether                                                                                 of the Notes                            be
                                                                                                       interest           it    receives            in respect                                             may                treated       as

  UBTI         under        rules          governing                certain          payments               received             from controlled                      entities




                 Notwithstanding                           the       discussion                 in     the        preceding               paragraph                    Tax-Exempt U.S                             Holder          which

  incurs       acquisition                   indebtedness                      as     defined           in    Section               514c           of the        Code           with respect                to the        Notes        may
  be subject              to the       tax      on    EJBTI with respect                          to    income               from the Notes                  to the extent                    that    the      Notes          constitute

  debt-financed                   property                 as defined                in    Section            514b              of the        Code          of the Tax-Exempt                             U.S Holder


                 Tax-Exempt U.S Holders should                                                   consult           their tax              advisors         regarding              an investment                    in the       Notes


  Transfer               Restrictions                on the Class                          Notes



                 The        Issuer           will     not recognize                   any transfer                     of Class                Notes        if   the       proposed                transfer        will       cause        the

  Issuer       to    have        more than                 ninety-nine                 beneficial                 owners             as       determined               for                           of the provisions                      of
                                                                                                                                                                                purposes
  Treasury           Regulation                 section             1.7704-1h                    of    its    Class                 Notes        and      Preference Shares                          unless        it   receives           the

  consent           of    all    of    the      Holders             of the Preference Shares                                   and       an    opinion           of counsel to the effect                               that    Holders
  of the        Notes           will        not recognize                      gain        or    loss        for       U.S          federal           income           tax       purposes             as          result        of such

  transfer           and        will       be   subject             to    U.S        federal           income             tax       on     the      same amounts                      in the         same manner and                        at

  the    same times               as       would have                    been        the    case        if   such         transfer            had     not been              made              In    addition            the     Class

  Notes        may         not        be     traded            on        an    established                   securities              market               and      the          Issuer         will       not     recognize             any
  transfers          made             pursuant            to     any          such     trades                For        this
                                                                                                                                 purpose              the    term          established                    securities            market
  includes                      national             securities               exchange                                         under          Section             of the           Securities
                     any                                                                             registered                                                                                            Exchange Act of
  1934         as        amended                or    exempted                  from        registration                  because              of the            limited          volume              of       transaction              any
  foreign           securities              exchange                 that           under        the         laws         of        the     jurisdiction                where                   is                              satisfies
                                                                                                                                                                                         it
                                                                                                                                                                                                      organized
  regulatory              requirements                    that       are       analogous               to    the        regulatory               requirements                    imposed             under        the      Securities

  Exchange                Act         of     1934                                           or        local                                   and                  interdealer
                                                            any          regional                                      exchange                          any                                    quotation               system          that

                     disseminates                    firm buy or                sell                                   by identified                brokers or dealers                                                         means
  regularly                                                                                quotations                                                                                          by electronic                                or

  otherwise



                 Holders              of the Class                        Notes        will       not be permitted to transfer                                    any of the Class                              Notes         they hold
  unless        the       transferee             provides                 among            other         things              the     Trustee                     appropriate                  documentation                    required
  under        the       Code and               the       applicable             Treasury               regulations                  establishing                that      the     beneficial               owner         is    either

  non-U.S person                   e.g               an    IRS Form                  W-8BEN                  or    an IRS Form                     W-8IMY               with appropriate                         attachments                or

       U.S     person            e.g an              IRS Form                  W-9                     if   the        beneficial             owner         is   not            U.S Holder                  certification               that

        the    beneficial              owner          either             is   not         bank        or     is        person that               is   eligible for benefits                          under        an income                tax

  treaty with the United                             States          that      eliminates               U.S            federal        income             taxation           of Unites               States        source interest
  not    attributable                 to         permanent                    establishment                   in       the     United            States      and           ii      the        beneficial           owner          is    not

  purchasing               the    Class               Notes              in order          to    reduce            its   United            States        federal           income             tax                        or
                                                                                                                                                                                                     liability                 pursuant
  to      tax       avoidance                plan         and                  for         beneficial               owner            that     is    treated           as                                                                    or
                                                                                                                                                                                 partnership                S-corporation

  grantor       trust for              U.S       federal             income           tax        purposes                      written         representation                    that               there        will not        be     any
  interests          in    such       beneficial               owner where                                                     all   of the value                of such          interest           is    attributable           to       the
                                                                                                substantially

  value of the Class                            Notes          proposed               to   be     transferred                  to    such beneficial                                                        with the value of
                                                                                                                                                                       owner            together

  any    Class                  Notes Holding                        Preference                  Shares            and         Preference                Shares         already               held by            such     beneficial

  owner and                ii     the        beneficial              owner           is    not           part          of any        arrangement                        principal              purpose            of which            is    to

  cause        the       Class             Notes           and       Preference Shares                            to    be treated             as     owned                     100                        or    less     within the
                                                                                                                                                                      by               persons
  meaning            of Treasury                     Regulation                section           1.7704-1h                           Each        transferee                of         Class               Note          will    also       be

  required           to    agree        to      provide                  properly           completed newly                              executed           U.S         tax       form and                other     certificate             in

  each     of the following                      circumstances                              no       later        than       120                                  the expiration                                                  of the
                                                                                                                                     days        prior to                                            if applicable

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  last    previously provided                               U.S        tax        form            or    certificate                 ii upon             any        change               of circumstance                            that       would
  cause that             the     last      previously provided                               U.S        tax       form         or certificate                to    be    incorrect                 and        iii upon                    request

  by the Issuer                 or the          Share Registrar                         Each           transferee              will also          be required                     to                    that       if   such transferee
                                                                                                                                                                                        agree
  fails    to    provide                   properly completed newly                                         executed            U.S         tax    form or other                        certificate                no        later    than 120

  days      prior         to    the        expiration             of the           last       previously provided                            U.S         tax        form           or        if    earlier              within           the       time

  specified              in    any        request          by    the        Issuer           or    the       Share        Registrar              which             shall           not       be     less       than           30     days           the

  Issuer        will      have        the        unconditional                    right to             cause           such     transferee              to    sell                     and        all    Class                Notes            to   the
                                                                                                                                                                         any
  Issuer        or to           person chosen                     by        the        Issuer          or    the       Issuers agent                on        such           terms as the Issuer                              may choose
  For this purpose an                            IRS Form W-8IMY                                   or       any        successor form                   thereto                will          be    deemed                to    expire           upon
  the expiration                of any           withholding                  statement or                    U.S        tax        forms     associated                 with such                  IRS Form                  W-8IMY

  U.S      Federal              Income                Taxation              of Non-U.S                      Holders


                    The        summary                contained               in       this       subsection                  outlines       certain              significant                     U.S         federal              income           tax

  principles             that       are     likely         to    apply            to         beneficial                owner         that     is   treated              as          non-resident                     alien          or    foreign

  corporation                 for    U.S         federal          income               tax        purposes                    Non-U.S Holder                                       It    assumes                that         the     Non-U.S
  Holders             investment                 in the         Issuer        is       not    effectively                connected                with the conduct                           by      such          Non-U.S                 Holder

  of      trade          or    business in the United                             States



                 Payments                   on     the       Notes           to         Non-U.S                   Holder             will    generally                  be     exempt from any                                U.S          federal

  income            or    withholding                  taxes           as    will gains                 derived           from        the     sale exchange                             or    redemption                      of the Notes

  provided            that      such           payments            or gains                 are    not effectively                    connected               with                U.S         trade           or    business of such

  Holder            and         generally                  in    the        case        of        gain       excluding                accrued                OlD             if    any            of           non-resident                        alien

  individual              Holder            the       Holder           is    not present                 in the          United        States           for       183        days        or       more during                      the    taxable

  year of the sale                    and        certain         other        conditions                    are    satisfied             However                   if   it    were           determined                  that        the       Issuer

  were      engaged                 in         U.S         trade       or     business                       portion            of the       payments                   on        the        Notes        paid           to          Non-U.S
  Holder        may           be subject              to        30% U.S                 withholding                    tax



                    As discussed                      above        the        United               States          federal            income            tax        treatment                  of the           Class                  Notes              is


  subject        to      significant              uncertainty                and        no        ruling          from the IRS has been                                 sought regarding                           this       issue            If   the

  Class             Notes           were        treated          as equity              of the Issuer among                            other       things                Non-U.S                    Holder              may be             subject

  to   withholding                  taxes        with respect                to        payments              under            the    Class          Notes Furthermore                                     in       such        event           if   the

  Issuer        were          engaged            in        U.S         trade           or   business                   Non-U.S              Holder            would               also       be     treated             as    engaged               in


  U.S       trade         or    business               and       would be               required              to       file    and     pay        U.S         federal              income               taxes           on     its   allocable

  share        of the Issuers                     income           and            possibly              on    any        gain on                 disposition                  of       Class              Notes               that       is    or        is


  deemed            to    be     effectively                connected                  with such              U.S         trade       or business                 at    graduated                  U.S         federal             income           tax

  rates     applicable                to       U.S         Holders           corporate                  Non-U.S                 Holders            may            also       be        subject           to    the       branch            profits

  tax          Investors             are       strongly          urged            to consult                their tax           advisors           as to          the    possible                 U.S          federal             income           tax

  characterization                        of     the        Class                  Notes               as     equity            and         the     tax                                                  resulting                 from            such
                                                                                                                                                                  consequences
  characterization




  Information                   Reporting                  and Backup                       Withholding


                    Information                  reporting              to    the           IRS        generally               will     be       required               with            respect           to       payments                on       the

  Notes and                   proceeds            of the sale                of the Notes                    to        U.S      Holders            other          than corporations                             and          other        exempt
  recipients                        backup                 withholding                      tax    generally              will       apply         to   those
                                                                                                                                                                         payments                   if    such          Holder            fails          to

  provide           certain           identifying                 information                      such           as     the        Holders             taxpayer                  identification                     number                   to    the

  Trustee             Non-effectively                           connected                    gain or distributions                       received                 by         Non-U.S                    Holder               will generally

  not     be    subject              to    U.S         information                     reporting             requirements                   or     U.S backup                                withholding                     tax      although
   such     Holder             may         be     required             to     furnish                  certificate              to    the    paying               agent           of the Issuer                    attesting              to       their

   status      as         Non-U.S                 Holder          in    order to avoid                        the       application              of such            information reporting                                     requirements
  and                                                                                                                  not an                                           and
          backup              withholding                       Backup withholding                                is                  additional              tax
                                                                                                                                                                                   may be refunded or                                    credited

  against        the          Holders U.S                   federal          income               tax       liability          if    any     provided                  that       certain           required information                                 is


  furnished              to    the    IRS        in        timely           manner




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  Cayman              Islands Tax                  Considerations



                 The following                     discussion             of certain             Cayman                   Islands      income           tax    consequences                 of an          investment           in

  the   Securities               is   based         on       the     advice          of Ogier                  as    to    Cayman            Islands          law         The        discussion              is      general

                       of present             law            which                               to                                   and        retroactive                                     assumes             that     the
  summary                                                                 is    subject                   prospective                                                   change             It



  Issuer        will       conduct           its    affairs          in       accordance                  with        assumptions                 made        by        and                                       made         to
                                                                                                                                                                                representations

  counsel             It   is    not intended                 as    tax       advice           does not consider                                  investors particular                      circumstances                     and
                                                                                                                                       any
  does not consider tax consequences                                           other       than those                 arising         under        Cayman           Islands          law


                 Under           existing          Cayman             Islands          laws


                                                    payments                  of principal                 and            interest     on        the    Notes           and     dividends              and        capital       in

                 respect          of the           Preference                 Shares           will       not        be     subject         to    taxation          in the          Cayman            Islands           and    no

                 withholding                 will        be     required            on     such           payments               to               Holder           of     Security              and     gains        derived
                                                                                                                                       any
                 from           the   sale     of Securities                  will     not be             subject          to    Cayman            Islands         income           or    corporation              tax        The
                 Cayman               Islands           currently             have        no     income                   corporation             or    capital         gains        tax   and        no     estate       duty
                 inheritance             tax       or    gift      tax



                                  ii                no        stamp       duty       is    payable                  in respect         of the issue            or transfer               of Securities             although

                 duty may be                 payable            if   Notes          are    executed                  in or      brought          into   the    Cayman Islands                         and



                                  iii               certificates                evidencing                      Securities             in        registered             form         to     which            title      is    not

                 transferable             by delivery                     should not attract                         Cayman            Islands                      duty            However             an       instrument
                                                                                                                                                        stamp
                 transferring             title         to         Note        if   brought               to    or    executed             in the       Cayman Islands would                                be    subject      to

                 Cayman               Islands        stamp           duty


                 The        Issuer      has been               incorporated                under           the        laws       of the Cayman                 Islands          as    an    exempted company
  and            such           has                      for       and        obtained          an                                    from              Governor                     Cabinet          of the
           as                          applied                                                            undertaking                             the                          in                                  Cayman
  Islands        in substantially                  the       following           form


                                                                              THE TAX CONCESSIONS LAW
                                                                                                1999 REVISION
                                                              UNDERTAKING                                 AS TO TAX CONCESSIONS

                 In        accordance               with        Section              of        the        Tax Concessions                         Law         1999        Revision                the       Governor            in


  Cabinet undertakes                     with


                 Grayson              CLO Ltd                 the Company


                                                    that        no       Law        which            is    hereafter             enacted           in    the       Islands          imposing            any       tax    to    be

                                                    levied           on       profits          income                gains       or    appreciations                shall      apply        to    the       Company            or

                                                    its      operations              and



                                                    in       addition           that      no     tax       to       be     levied      on        profits       income           gains       or     appreciations               or

                                                    which            is   in the nature               of estate              duty or inheritance                    tax    shall         be payable



                                                                         on    or    in        respect              of the        shares          debentures              or    other           obligations             of the

                                                                         Company                or



                                                    ii                   by way          of the withholding                           in   whole        or    in   part       of any       relevant          payment           as

                                                                         defined          in    Section              63         of the Tax Concessions                         Law 1999 Revision

                 These           concessions                 shall       be for           period of                 TWENTY                 years       from the 14th                day    of February               2006


                 GOVERNOR                          IN    CABINET



                                                                                                                     139
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                 The Cayman                      Islands             does    not have              an    income           tax    treaty          arrangement                with the           U.S       or     any     other

   country



         THE PRECEDING DISCUSSION  IS ONLY   SUMMARY OF CERTAIN OF THE TAX
   IMPLICATIONS OF AN INVESTMENT IN THE SECURITIES PROSPECTIVE INVESTORS ARE
   URGED TO CONSULT    WITH THEIR OWN TAX ADVISORS PRIOR TO INVESTING     TO
   DETERMINE THE TAX IMPLICATIONS     OF SUCH INVESTMENT   IN LIGHT  OF SUCH
   INVESTORS CIRCUMSTANCES

                                                                CONSIDERATIONS                                  FOR BENEFIT PLANS

                                  as    described below the Preference Shares                                                   and       the    Class           Notes                      not be purchased
                 Except                                                                                                                                                          may                                         by

   any     Benefit           Plan        Investor                 Subject             to     the      following           discussion                  the     Senior         Notes            may        generally           be

   acquired           by Benefit Plan Investors                                       Any        fiduciary          or    other          person           contemplating                 an     investment              in    the

   Securities          by        on     behalf          of or using                the        assets       of an employee                        benefit         or    similar         plan        or   arrangement
   whether        or     not          subject         to     Title            of       ERISA as               defined            below               or    Section          4975 of           the       Code         should

   consider           among            other      things              the matters               described below                 before deciding                   whether              to    invest      in            of the
                                                                                                                                                                                                               any
   Securities




                 The United                   States         Employee                 Retirement              Income            Security             Act    of 1974              as    amended           ERISA
   establishes          fiduciary              standards               for    persons having                   authority                 or control         of the assets                   of employee              benefit

   plans    subject          to       Title        thereof including                          collective        investment                  funds and            other       entities         whose underlying
   assets       are    treated          as       if   they           were        the       assets       of such          plans           collectively                 ERISA                 Plans            pursuant            to

   Section       342             of    ERISA              and         the    regulation               issued        by    the       United           States      Department                  of Labor             DOL
   and     found        at       29 C.F.R               Section              2510.3-101                 the Plan Asset                          Regulation                   or       otherwise              pursuant            to

   ERISA Under                    Title            of   ERISA                any       person           who     exercises                any     authority            or    control          with respect              to    the

   management                or disposition                     of the assets of an                     ERISA            Plan       is   considered to be                        fiduciary           of such        ERISA
   Plan


                 Investments                  by      ERISA             Plans are                subject       to    ERISA                  general         fiduciary             requirements                  including

   the    requirement                 of investment                    prudence                 and     diversification                  and     the       requirement                that     an      ERISA Plans
   investments              be    made           in    accordance                 with the              documents              governing              the     relevant           plan        The        prudence            of

   particular          investment                must           be    determined                 by     the   responsible                 fiduciary          of an         ERISA            Plan by           taking        into

   account        the        ERISA Plans                             particular            circumstances                  and         all       of    the     facts         and       circumstances                   of     the

   investment                    fiduciary            of an           ERISA            Plan should             consider               for       example           that      in    the       future      there
                                                                                                                                                                                                                    may      be

   no    market        in    which          to     sell      or      otherwise             dispose of the Securities                             whether          an investment                   in    the    Securities


   may     be    too     illiquid             or too         speculative                   and     whether          the       assets        of the         ERISA            Plan would be                    sufficiently

   diversified




                 Section              406 of ERISA and                             Section            4975      of the           Code           effectively            prohibit             certain          transactions

   involving          the    assets           of an        ERISA            Plan           as    well    as those             plans       that       are not subject              to Title              of   ERISA          but

   are    subject       to       Section          4975          of the Code                  each        such       plan       or     ERISA Plan                       Plan                 and      certain        persons
                certain                                                such       Plans referred
   having                         relationships                  to                                                 to   as     parties              in interest            or    disqualified                persons
   unless         statutory             or administrative                        exemption               applies         to    the transaction                        violation             of these         prohibited
   transaction              rules       may        generate             excise          tax      or other      penalties             and        liabilities       under          ERISA            and    the      Code       for

   such    person



                 Additionally                    the acquisition                   or      holding         of Securities                 by or on           behalf         of benefit          plans         that    are    not

   subject       to    Title           of     ERISA              or    Section             4975       of the        Code         such          as    foreign          plans       governmental                    plans      as
   defined        in    Section             332            of     ERISA                and       certain      church            plans          as defined              in    Section           333           of     ERISA
   could                rise      to    similar            liabilities            under          federal                                              local      law which                         be
             give                                                                                              state          foreign           or                                      may              substantially

   similar       to    Section            406         of     ERISA               or     Section          4975 of              the        Code              Similar            Law                 and/or        might        be

   prohibited          or    otherwise                restricted            as    described herein



                 Section              342        of     ERISA           and       the       Plan Asset Regulation                           define         plan assets                 of      Plan with respect

   to the    Plans investment                           in   an       entity      for
                                                                                            purposes          of certain             provisions             of   ERISA                including          the fiduciary


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  responsibility                 and     prohibited                transaction            provisions                of Title               of    ERISA                and         Section 4975                   of the        Code
  Under Section                   342            of   ERISA             and    the     Plan Asset Regulation                               if      Plan invests                        in    an    equity interest of
  an               that          is    neither               publicly-offered                     security                nor                               issued              by      an       investment
        entity                                                                                                                        security                                                                          company
  registered           under           the       Investment              Company             Act            the    Plans            assets       include              both           the     equity        interest           and        an

  undivided            interest             in    each       of the entitys                  underlying assets                        unless           it    is   established                     that     the     entity          is    an

  operating            company                    or that         Benefit Plan Investors                           hold less than                25%         of the value of any                            class       of equity

  interest       of the entity                   determined              as   of the most               recent          acquisition              of an equity                    interest           The       term Benefit

  Plan Investor                   includes                   an     employee             benefit            plan as defined                  in   Section                  33         of     ERISA            that      is    subject

  to    Title     of    ERISA                               plan described in Section                             4975e1                   of the Code                     that       is   subject       to    Section 4975

  of the Code               and                                         whose underlying
                                              any      entity                                                 assets          include        plan assets                          of any           of the foregoing                     by
  reason of an               investment                    in the       entity      by    such               plan or arrangement                                  Benefit                    Plan Investor                           For

  purposes        of making                   the      25%        determination                 the         value of any              equity           interests             held by                person other                    than

       Benefit     Plan Investor                       who         has discretionary                   authority              or    control        with respect                       to     the    assets       of the entity

  or    who      provides               investment                 advice         for         fee           direct        or       indirect            with           respect               to    such      assets            or    any
  affiliate            of such                               as         defined       under        the       Plan Asset Regulation                                    will        be                                   Under            the
                                              person                                                                                                                                       disregarded
  Plan Asset Regulation                               an    affiliate of                  person includes                      any    person            directly                or     indirectly          through            one        or

  more intermediaries controlling                                         controlled              by    or    under            common             control             with the person                         and       control
  with respect              to         person other                than an individual                        means         the                    to    exercise                                              influence             over
                                                                                                                                    power                                            controlling

  the    management or policies                               of such          person


                 An equity                       interest          is    defined          under             the    Plan        Asset        Regulation                      as       an      interest         other          than        an
  instrument which                       is      treated          as     indebtedness               under           applicable              local           law        and           which has                no      substantial

  equity     features



  Senior         Notes



                 The        Co-Issuers                 believe          that     at    the    time of their issuance                               the       Senior Notes                         should       be      treated           as

  indebtedness                   without              substantial             equity         features              for                            of        the        Plan             Asset                                       This
                                                                                                                              purposes                                                               Regulation
  determination                  is    based           in    part       upon        the    traditional                  debt features                  of such               Senior              Notes        including                 the

  reasonable           expectation                    of purchasers               of such          Senior Notes                     that    they        will          be repaid                  when      due         as well           as

  the    absence        of       conversion                 rights        warrants         and      other          typical          equity        features                  The Co-Issuers                    will therefore

  not    monitor            the    investment                by Benefit Plan Investors                                  in the      Senior Notes                      It    should be noted                      that    the        debt

  treatment        of the Senior Notes                              for       ERISA          purposes              could           change         subsequent                     to     their      issuance            i.e          they
  could     be     treated             as    equity           if    the    Issuers         incur        losses           or    the    rating           or    other           terms and               conditions                of the

  Senior Notes                   changes              The        risk     of recharacterization                          is    enhanced            for       subordinate                         classes      of the          Senior

  Notes The             Co-Issuers                    have        not     obtained           an    opinion               of counsel              regarding                  the        debt treatment                  of Senior
  Notes     under           local       law or the Plan Asset Regulation



  Regardless            of the characterization                               of the Senior Notes                         as   debt or equity                     under           the        Plan Asset Regulation

  and     regardless              of the level of Benefit Plan Investor                                            investment               in               class          of Securities                  the
                                                                                                                                                  any                                                                 acquisition

  or    holding        of Senior Notes                       by or on behalf                  of            Plan could              give        rise    to            prohibited                  transaction            if              of
                                                                                                                                                                                                                              any
  the    Co-Issuers               the       Trustee           the       Servicer          the     Initial         Purchaser                the    Preference                    Shares            Paying                        other
                                                                                                                                                                                                                 Agent
  persons providing services                                 in    connection             with the Issuers or any of their respective                                                        affiliates        is       party            in

  interest        or    disqualified person                               with respect             to       that    Plan            Persons            acting          on       behalf            of Plans that acquire
  the    Securities              should           also      consider          that     an indirect                                      transaction                   could result in connection                                    with
                                                                                                                  prohibited

  the     Issuers                                      of Collateral                  from                                Purchaser                                        of
                            acquisition                                                           the       Initial                               or        one                   its      affiliates            if    the     Initial

  Purchaser            is        disqualified person                             or                          interest with respect                           to       such                                 Plans
                                                                                      party            in                                                                            Regulated                               Certain

  exemptions                from        the       prohibited             transaction              rules       could           be    applicable however                                     depending             in part
                                                                                                                                                                                                                                   upon
  the    type of fiduciary                       making           the    decision         to acquire               Senior Notes                 and     the       circumstances                      under          which           such

  decision        is    made            Included              among           these       exemptions                    are    the    statutory              prohibited                    transactions               exemption
  under      Section             408b17                     of    ERISA          available             to     service              providers                to    the        Plan other                  than           fiduciary

  with respect              to    the       Plan assets used                   to                      the        Senior Notes               or                  of    its                                                   that       the
                                                                                      acquire                                                      any                          affiliates            provided
  transaction           is       for        adequate               consideration                   United               States        Department                      of Labor                   DOL                  Prohibited

  Transaction               Class Exemption                        PTCE 84-14                           regarding              transactions                 effected               by independent                      qualified
  professional              asset       managers P1CE 90-1                                   regarding                  investments              by insurance                         company            pooled          separate



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   accounts              PTCE           91-38                regarding             investments                      by         bank             collective                 investment                 funds            PTCE                95-60

   regarding            investments                by        insurance company                            general               accounts                  and        VICE 96-23                      regarding              transactions

   effected        by     certain           in-house                asset        managers                      However                    even        if       the conditions                   specified             in    one       or    more
   of these        exemptions                  are       met         the
                                                                                scope         of the relief                    provided                by       these          exemptions                  might           or    might           not

   cover    all     acts        which might be construed                                      as prohibited                    transactions                     There              can    be no       assurance                 that       any    of

   these      or    any         other        exemption                    will     be     available                 with respect                    to     any           particular            transaction              involving                the

   Senior Notes



                  Similarly                 the        acquisition                or      holding                  of        Senior             Notes               by        or     on        behalf          of     foreign              plans

   governmental                 plans         as         defined            in     Section               332             of     ERISA                  and          certain              church       plans           as         defined             in


   Section         333          of     ERISA                 which          are        not      subject             to       Title             of     ERISA               and/or           Section 4975                    of the          Code
   could give            rise    to         prohibited               transaction               or other             liabilities                under           Similar             Law


                  By      acquiring                    Senior Note                  each           purchaser and                          transferee                will       be    deemed           to       represent               warrant

   and    covenant              that    either                 it    is   not and             is    not acquiring                         such       Senior Note                     with the assets of                              Plan or

   foreign         governmental                    or    church            plan subject                  to    Similar               Law            and        throughout                 the    holding              and       disposition

   of such         Senior         Note            it    will        not    become              or    transfer                 its    interest             to    any        Plan or foreign                       governmental                     or

   church       plan or to an entity                         using the assets thereof or                                        ii the            acquisition                      holding        and       disposition                of such

   Senior Note                by the         purchaser or transferee                                 throughout                      its       holding              and       disposition             of such              Senior Note

   will    not result in                    non-exempt                prohibited                transaction                    under           Section 406 of                       ERISA            or    Section 4975                    of the

   Code     or          in the        case        of         foreign             governmental                       or       church            plan            any       violation             of Similar             Law             because

   such     purchase             holding               and    disposition                either                    is    not and               will      not become                      subject      to       such        laws or                    is


   covered         by     an     exemption                   from         all    applicable               prohibited                      transactions                    all      of the conditions                       of which              are

   and     will     be        satisfied                       its                               of and              throughout                      its    holding                 and                                of such              Senior
                                                  upon               acquisition                                                                                                          disposition

   Note      Each         investor            in         Senior Note                     will       be    deemed                to        represent                 warrant              and    covenant              that       it   will       not

   sell    pledge         or    otherwise               transfer           such         Senior Note                     in violation                of the foregoing                           and    that       it   and       any person
   causing         it    to    acquire            such        Senior Note                     agree           to    the        fullest extent                       permissible                 under          applicable               law          to

   indemnify             and     hold harmless the Issuer the Co-Issuer                                                             the    Trustee              the       Servicer              the       Initial      Purchaser and

   their respective               Affiliates                 from         any      cost        damage                   or    loss        incurred              by       them        as         result          of such           purchaser
   not    satisfying             the        foregoing               or     as           result       of        its       transferring                    its    interest             to         Person            not       meeting              the


   foregoing             requirements                   Any          purported                transfer             of the           Senior Note                     to          purchaser             that       does           not    comply
   with the requirements                           of the foregoing                       shall          be    null          and         void ab           initio             and        will vest         in the          transferee             no

   rights    against            the    Trustee or the Co-Issuers



   Class           Notes         and Preference                           Shares



                  Although              the        Issuer            will        treat        the    Class                     Notes             as       debt           this        characterization                      is    subject             to


   uncertainty            and     the        Class             Notes            may       be       characterized                         as equity             interests            for    purposes             of the Plan Asset

   Regulation                  The      Preference                   Shares         are        equity              of the           Issuer          and         will          be    treated          as    equity           interests            for


   purposes             of Section            342            of      ERISA             and      the       Plan Asset Regulation                                           Accordingly                     the    Issuer          intends             to

   limit the        purchase                and    holding            of each            of        the    Class                 Notes               the    Class                Preference                Shares        and          the    Class

   II   Preference              Shares         by       Benefit            Plan Investors                      to       less       than        25%         of the aggregate outstanding                                          amount of
   each     of the Class                     Notes           the      Class            Preference                   Shares               and    the       Class          II    Preference Shares                       excluding                 for


   purposes             of such        determination                      any     Class              Notes               or    Preference Shares                              held by           Controlling                 Persons                  as

   defined         below               by     requiring              each         purchaser                   or    transferee                  thereof             to     make           certain          representations                       and

   agreements                 with     respect           to     its       status        as          Benefit Plan Investor                                      or    Controlling                 Person and                     to    agree          to

   additional            transfer           restrictions             described under                          Transfer                   Restrictions                     In       making        the       25%         determination

   Class            Notes         and        Preference                   Shares          held by                                                              than                Benefit        Plan Investor                       that       has
                                                                                                               any           person other

   discretionary                authority               or    control             with        respect               to       the         assets       of the              Issuer          or          person           who            provides

   investment             advice for                                                                      with respect                                                        of the Issuer
                                                       fee     direct or indirect                                                              to the assets                                              or    any affiliate as
   defined         in     29     C.F.R             Section            2510.3-10103                                  of any               such         person             any         such        person                 Controlling
   Person                such          as    the        Class              Notes             and         the       Class            II    Preference                     Shares           held       by     the       Servicer              or    its


   affiliates           and     employees                thereof                will     be    disregarded                     and         not treated                   as    outstanding                      No      purchase                of

   Class           Note         or          Preference               Share         by         or    proposed                  transfer            to            person that                has represented                       that      it    is


   Benefit Plan Investor                          or         Controlling                Person            will      be permitted to the extent                                       that       such purchase                    or transfer




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  would         result in
                                  persons that                    have        represented that                    they are Benefit Plan Investors                                             owning             25%      or   more of
  the     aggregate              outstanding                 amount of                   the     Class                 Notes            the      Class             Preference                   Shares           or     the    Class        II

  Preference            Shares              as      applicable                    excluding                for                             of such           determination                              Class                  Notes       or
                                                                                                                  purposes                                                                      any
  Preference            Shares               as        applicable                 held     by any                                           Person                                            after      such                              or
                                                                                                              Controlling                                       immediately                                             purchase
  proposed             transfer             determined                       in    accordance                 with           Section            342              of     ERISA                 the      Indenture               and      the

  Preference Share                     Documents


                 In    addition the Servicer                                 the     Preference Shares                           Paying         Agent and                the       Trustee will agree                        that after
  the     initial      distribution                    of the          Class               Notes            and    the           Preference                Shares             neither                                           of their
                                                                                                                                                                                                they nor               any
  respective            affiliates               will       acquire           any         Class               Notes              or    Preference                 Shares                                                         to     the
                                                                                                                                                                                       including                 pursuant
  Extension            Procedure                       Refinancing                   or the           Amendment Buy-Out Option                                               unless           such      acquisition              would
  not     as    determined                  by the Trustee                    in reliance             on                                         made            in the applicable                    transfer           certificates
                                                                                                             representations

  with respect               thereto result                      in                               have                                                                       Benefit Plan Investors
                                                                       persons that                              represented                that          they    are                                                           owning
  25%       or    more of          the           aggregate              outstanding                   amount of any                        of the          Class              Notes            the     Class             Preference
  Shares         or    the       Class       II        Preference                 Shares         immediately                     after      such           acquisition                 determined                 in     accordance
  with Section               342            of   ERISA                the     Indenture               and    the       Preference               Share           Documents                      The Class                  Notes        and
  the    Preference              Shares            held as principal                              the       Servicer              the                                    of their respective
                                                                                           by                                               Trustee              any                                                   affiliates       as
  defined        in the          Plan Asset Regulation                                   and    persons that have                          represented that they are Controlling                                               Persons
  will     be    disregarded                 and        will          not be        treated           as                                for                             of determining                                                with
                                                                                                            outstanding                          purposes                                                   compliance
  such     25%         limitation            to the          extent          that     such Controlling                        Person            is   not         Benefit Plan Investor



                 Each        purchaser and                        transferee              will    be        further          required           to        represent               warrant and               covenant            that       no
  transfer        of         Class                Note           or         Preference               Share        will       be       made           to      Benefit Plan Investor                                or    Controlling
  Person         except as provided                          herein           and        that    it   and                   fiduciaries              or other          Person                                    to                   such
                                                                                                                 any                                                                     causing            it
                                                                                                                                                                                                                       acquire
  Securities           agree           to    the        fullest extent                   permissible under                                                  law         to                             and        hold harmless
                                                                                                                                  applicable                                  indemnify
  the     Issuer the             Co-Issuer                   the       Trustee            the     Servicer                  the    Initial           Purchaser                the       Preference                Shares        Paying
  Agent and             their respective                         Affiliates          from        any         cost           damage          or       loss        incurred              by them          as            result     of any
  transfer       of Class                   Notes           or   Preference Shares                          as                                                          of the foregoing
                                                                                                                  applicable in violation



  Independent Review                               and Consultation                            with        Counsel


                 Any         person proposing                           to    purchase               Securities              with assets                  of an       employee                 benefit           plan or similar
  plan     or    arrangement                       including                      collective           investment                  fund          insurance                                                            account         or
                                                                                                                                                                         company                general

  foreign         governmental                     or    church             plan         should consult                     with            counsel with respect
                                                                                                                                      its                                                     to among                other      things
  the     limitations             applicable                 to       Benefit Plan Investors                                                     herein            and        the                                                          of
                                                                                                                            specified                                                    potential               applicability

  ERISA           the       Code        and                  Law
                                                       Similar                      to    such        investment                  and       whether                      exemption                   from         the
                                                                                                                                                                 any                                                      prohibited
  transaction           provisions                 of    ERISA and                   Section 4975                  of the Code                   or       such     Similar Law                   would be applicable
  Each      investor             must        determine                 on     its    own        whether            all       conditions               of any                                                              have        been
                                                                                                                                                                       applicable               exemption
  satisfied            Moreover                  each        ERISA                Plan fiduciary                  should              determine              whether                   under     the        general           fiduciary
  standards           of investment                    prudence               and     diversification                       an    investment                in    the Securities                 is                              for the
                                                                                                                                                                                                       appropriate
  ERISA Plan taking into                                account              the     overall          investment                 policy         of the          ERISA Plan                     the    composition                 of the
  ERISA Plans investment                                    portfolio              and     the risk/return                   characteristics                     of the Securities



                                                                                     PLAN OF DISTRIBUTION

                 The        Initial         Purchaser will pursuant                                    to    and        subject            to   the        terms        and            conditions            of the Purchase

  Agreement              agree         to    purchase                 all    of the Offered                  Notes               The                                         and        other    terms of the offering
                                                                                                                                           offering             price
  of the         Offered          Notes                the Offering                                     be                                                time        without
                                                                                           may                   changed              at    any                                           notice             Pursuant            to    the

  Purchase            Agreement                  the     Initial        Purchaser will receive                               certain        fees          and                            on the Closing                   Date
                                                                                                                                                                  expenses


                 On     the       Closing              Date                  HFP         and/or one               or    more of             its      subsidiaries                 are     expected               to    purchase         all

  of the Class                   Preference                  Shares                             an                                          Amount                                      U.S $75000000
                            II                                                having                   aggregate Face                                            equal            to                                           directly
  from     the      Issuer        at         discounted                 purchase               price        and    ii        the      Servicer              or    one        or    more of                   Affiliates
                                                                                                                                                                                                      its                        other
  than     HFP         or    any        of       its
                                                        subsidiaries                     are    expected               to    purchase                certain          of the            Class               Notes                          an
                                                                                                                                                                                                                          having
  aggregate principal                        amount equal                     to     U.S.$16000000                            directly           from           the     Issuer           at      discounted                   purchase
  price     and       are    expected                  to                           certain           of the                               Preference              Shares
                                                             purchase                                              Holding                                                              having        an         aggregate           Face

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   Amount             equal to              U.S.$20000000                        directly           from        Investors              Corp                 at          discounted                 purchase              price               In

   addition               the    Issuer        will                      to    sell     and         Investors              Corp             will                       to        purchase            all      of the              Class
                                                         agree                                                                                          agree
   Preference               Shares          in privately            negotiated               transactions                  The        Initial          Purchaser                  is    not acting            as         placement

   agent    or       initial          purchaser with respect                       to the         Notes         and        the    Preference                     Shares           sold       by the Issuer               to       HFP        or

          of                                                                            any of
   any          its       subsidiaries          or the            Servicer       or                  its    Affiliates




                    Each         purchaser              of the           Class           Notes         and        the       Preference                      Shares           on        the     Closing             Date           will       be

   required          to     execute          and     deliver               subscription              agreement                   in   form            and         substance              satisfactory              to    the       Issuer

   which        will            include                           other        things                                                and         warranties                                               similar             to    those
                                               among                                          representations                                                               substantially

   described under                     Transfer          Restrictions



                    The         Issuer       has been              advised by           the       Initial        Purchaser that                        it
                                                                                                                                                            proposes               to    resell the            Offered              Notes

          only to Qualified                     Institutional                 Buyers         that    are        also       Qualified Purchasers                                   in reliance            on     an       exemption
   under       the         Securities          Act       and                  through         Credit            Suisse Securities                           Europe                 Limited           acting             as    its      sales


   agent       to     non U.S                persons          in        offshore        transactions                  in    reliance              on        Regulation                         Any         offer         or        sale      of

   Offered           Notes            in the   United             States        in the       Offering            will       be       made by                the    Initial            Purchaser or other                          broker-

   dealers           including              Affiliates             of     the    Initial          Purchaser                 who            are       registered                  as     broker-dealers                   under              the


   Exchange Act


                    The         Initial       Purchaser             will       represent            and         agree       that           it    has        only communicated                             or       caused           to       be

   communicated                       and     will   only communicate                          or    cause            to    be       communicated                       an        invitation             or    inducement                    to


   engage           in      investment               activity            within         the         meaning                of    Section               21         of    the           FSMA           received                 by       it    in


   connection               with        the    issue         or     sale       of the Offered                   Notes           in    circumstances                         in    which         Section             211             of the

   FSMA does not apply to                               the       Issuer and            it   has complied                   and        will          comply with                   all    applicable               provisions                of

   the FSMA with respect                                to    anything             done        by     it    in    relation             to        the        Offered          Notes             in from             or        otherwise

   involving              the    United        Kingdom


                    The         Initial     Purchaser has represented                               and     agreed              that



                                       it   will     not      underwrite                or    place         Offered              Notes               otherwise               than         in    conformity                   with           the

   provisions               of        the    Investment                  Intermediaries                Act            1995            of        Ireland            as       amended                 including                     without

   limitation              Sections             and      23 including                   advertising              restrictions                   made thereunder                           thereof         and       the       codes          of

   conduct           made under                Section 37                thereof        or    in the        case of                  credit          institution exercising                         its    rights            under          the

   Banking            Consolidation                  Directive                 2000/1 2/EC                 of    20th           March                2000          in       conformity               with          the       codes           of

   conduct           or     practice          made       under           Section        1171           of the Central                       Bank            Act        1989            of Ireland             as    amended                  in

   each     case with respect                      to   anything               done     by     it   in relation             to       the        Offered           Notes           if    operating          in or otherwise

   involving               Ireland



                    ii                 in   connection              with offers              or     sales       of Offered                 Notes             it    has only issued                   or       passed              on        and

   will    only           issue       or pass    on           in    Ireland           any     document                 received                 by     it   in     connection                 with       the       issue          of such

   Securities              to   persons        who are             persons to           whom          the       documents                   may         otherwise                 lawfully          be issued                or    passed

   on     and



                    iii                in respect            of         local    offer       within             the    meaning of Section                               381              of the Investment                         Funds

   Companies                    and     Miscellaneous                    Provisions Act                    2005        of Ireland                    the 2005                     Act           of Offered                   Notes            in

   Ireland           it   has complied               and          will    comply with Section 49 of the 2005                                                Act


                    The         Initial       Purchaser             has        agreed         that    it    has        not       made            and         will       not make               any        invitation                to      the


   public       in        the    Cayman Islands                    to    subscribe           for the        Offered             Notes


                    The         Issuer      extends to each                    prospective            investor              the       opportunity                   prior to             the   consummation                         of the

   sale    of the Offered                    Notes           to    ask questions              of and            receive              answers            from the Issuer                       or         person          or       persons

   acting       on        behalf        of the Issuer including                         the       Initial       Purchaser                  concerning                  the        Offered          Notes        and          the    terms

   and     conditions                  of this Offering                   and      to   obtain         any        additional                    information                  it
                                                                                                                                                                                   may         consider            necessary                  in


   making            an         informed           investment                 decision         and                    information                    in     order to               verify          the                             of       the
                                                                                                           any                                                                                            accuracy
   information set forth                        herein             to    the    extent        the    Issuer                                     the     same           or    can        acquire          the       same without
                                                                                                                      possesses

                                                                                                                 144
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  unreasonable                   effort         or   expense                   Requests            for        such        additional              information can                       be       directed          to     the     Initial


  Purchaser at 11                   Madison Avenue                             New York New                          York 10010 Attention                                     CDO        Group

                 No         action         is   being taken                    or    is    contemplated                   by the Issuer                that            would permit                    public            offering           of

  the     Offered           Notes          or        possession or                    distribution                 of any           Offering           Memorandum in                                preliminary              or       final

  form      or        any        amendment                 thereof               any        supplement                  thereto           or    any        other         offering           material          relating            to       the

  Offered        Notes            in    any jurisdiction                       where         or    in               other       circumstances                      in    which          action         for    those purposes
                                                                                                         any
  is    required                 The       Initial         Purchaser                  understands                   and         agrees          that        it     is     solely        responsible                 for     its        own
  compliance                with        all      laws         applicable               in    each           jurisdiction              in       which         it    offers        and          sells    Offered             Notes            or

  distributes              any      Offering               Memorandum in                                preliminary                  or     final      form              or    any       amendments                      thereof            or

  supplements                thereto            or   any      other           material           and     it
                                                                                                               agrees          to    comply with                   all    of these          laws


                 The         Issuer           has       agreed            to     indemnify               the        Initial         Purchaser               the          Servicer             the     Administrator                        the

  Collateral               Administrator                      and         the        Trustee            against              certain            liabilities                                      liabilities              under            the
                                                                                                                                                                          including

  Securities           Act        or to         contribute               to    payments            it
                                                                                                        may         be required to make                            in respect           thereof



                 One         or    more         Affiliates               of the       Initial       Purchaser are financing                                 the acquisition                   of Collateral

  Obligations by                   the Issuer            prior to              the    Closing Date                      In   return         for      bearing the risk of loss on the Collateral

  Obligations acquired                           prior to the                 Closing Date                  the     Servicer           or      one    or    more of             its    Affiliates            will       be entitled
  to    retain              interest          and       any fees and                  commissions                   net of any
                  all                                                                                                                                                  fees
                                                                                                                                               financing                       payable to the Pre-Closing
  Parties paid by the obligors                                     of such           Collateral             Obligations or accrued                                from the time of purchase                                to the

  Closing        Date             In    addition                   broker-dealer                  Affiliate          of the Servicer                   may             receive          fee for         placing            certain

  of the Holding                  Preference               Shares              and/or certain                 of the Securities                       The         Initial      Purchaser or                  its   Affiliates

  shall also          provide             financing             to the          Servicer          or    its    Affiliates             in       connection                with their purchase                       of Class           II

  Preference               Shares         which          will       be        secured        by         lien       on     such financed                    Class         II   Preference              Shares

                 In        addition           to     the      foregoing               activities              the       Initial       Purchaser or one                         of     its     Affiliates           holds         equity

  securities          of     HFT          issued         in     connection                 with     HFTs             acquisition                of the limited                   partnership             interests              in   HFP
  and     acted       as         co-manager                   in   connection                with the offering                       of such                            securities
                                                                                                                                                      equity


                 The         Initial          Purchaser                  or     its    Affiliates
                                                                                                               may own positions    in and                                       will         likely     have             placed            or

  underwritten                   certain           of    the        Collateral                                     or other obligations                                        of     the        issuers           of     Collateral
                                                                                             Obligations
  Obligations                   when          they         were           originally              issued            and        may         have        provided                or     be       providing                 investment

  banking         services              and        other        services              to    issuers           of certain             Collateral             Obligations                        is                         that       from
                                                                                                                                                                                         It
                                                                                                                                                                                                      expected
  time     to     time           the      Servicer              will                              from         or       sell    Collateral                                                                         to     the
                                                                              purchase                                                                     Obligations through                           or                      Initial

  Purchaser or               its    Affiliates             including                                                                 of the Collateral
                                                                                           significant             portion                                                Obligations to be purchased                                      on
  or    prior         to    the        Closing             Date               and     that        one         or    more            Affiliates             of      the        Initial         Purchaser             may          act        as

  counterparty                  with respect               to      all    or          portion          of     the    Synthetic                 Securities               the                                  Institution              with
                                                                                                                                                                               Participating

  respect        to    Participations                         counterparty                   under                 Hedge        Agreement                  and/or               counterparty                 with respect                   to

  securities           lending            transactions                   if     any              The         Initial         Purchaser               and         its    Affiliates
                                                                                                                                                                                              may       act        as    placement

  agent     and/or              initial       purchaser              in other              transactions                 involving              issues        of collateralized                        debt                                  or
                                                                                                                                                                                                               obligations

  other    investment                   funds with assets similar to those                                           of the Issuer which                                       have         an adverse
                                                                                                                                                                    may                                            effect        on        the

  availability             of collateral                for the          Is   suer



                 The        Initial        Purchaser and                       its   Affiliates
                                                                                                            may purchase                    Securities              for their         own         account



                                                                               SETTLEMENT AND CLEARING

  Book Entry                 Registration                  of the Global                     Notes



                 So long               as the        Depository                  or    its   nominee                is    the       registered         owner              or   Holder            of     Global Note                        the

  Depository               or    the      nominee               as the          case may            be        will       be considered                 the        sole        owner         or    Holder           of the Senior
  Notes      represented                   by           Global                Note         for    all                           under           the    Indenture                 the        Issuer       Charter            and            the
                                                                                                         purposes
  Global        Notes and                  members of                     or participants                     in    the                                          well                                                           whose
                                                                                                                             Depository                as                 as    any      other         persons on
  behalf     the participants                        may      act        including               Clearstream                 and      Euroclear              and         account         holders         and            participants

  therein         will           have       no        rights         under            the        Indenture                the       Issuer        Charter                or       Global              Note              Owners              of
  beneficial           interests           in         Global             Note         will not          be     considered                 to    be owners                or    Holders            of the related                Senior

                                                                                                                     145
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  Note      under           the     Indenture               or     the       Issuer         Charter                 Unless         the        Depository              notifies          the       Co-Issuers                  that        it   is


  unwilling            or    unable             to      continue              as      depositary                for          Global            Note        or      ceases         to    be             clearing               agency
  registered           under        the       Exchange Act owners                                   of          beneficial              interest         in        Global         Note        will not            be     entitled              to

  have              portion              of          Global            Note           registered               in their          names             will       not receive              or    be     entitled             to    receive
            any

  physical         delivery              of Senior Notes                           in certificated                   form         and        will    not be           considered               to      be     the        owners                or

  Holders         of any            Senior              Notes          under          the     Indenture                    In     addition           no       beneficial              owner of an                  interest           in

   Global     Note           will        be     able        to     transfer            that        interest          except        in     accordance                with the Depositorys                                 applicable

   procedures               in      addition                to        those           under         the         Indenture               and         if    applicable                   those        of       Euroclear                    and

   Clearstream


               Investors                 may         hold their interests in                                  Regulation                  Global           Note          directly        through             Clearstream                       or

  Euroclear            if   they are participants                             in      Clearstream or Euroclear                                 or    indirectly            through            organizations                    that        are

   participants              in      Clearstream                       or     Euroclear                        Clearstream                   and      Euroclear                  will        hold        interests              in         the


   Regulation                Global             Notes            on    behalf          of their participants                            through          their respective                    depositories                    which             in

   turn     will       hold         the        interests               in    Regulation                        Global            Notes         in     customers                   securities             accounts               in         the


   depositories              names on                   the      books            of the         Depository                     Investors           may         hold their interests                         in         Rule         144A

   Global      Note           directly             through              the       Depository                   if   they        are     participants                in     the    Depository                      or    in     directly

   through        organizations                    that       are participants                     in the        Depository



               Payments of                      principal               of       or    interest          or other            distributions                on        Global            Note         will      be        made      to        the


   Depository            or       its    nominee                 as the          registered              owner thereof                        The     Co-Issuers                  the    Trustee              the       Preference

   Shares     Paying              Agent            the      paying           agents           the        Initial       Purchaser               the       Servicer           and       their respective                      Affiliates

   will    not have           any        responsibility                     or    liability         for
                                                                                                              any      aspect          of the records                 relating          to    or    payments                  made on

   account        of beneficial                    ownership                 interests             in         Global            Note      or    for      maintaining                   supervising                 or       reviewing

   any     records          relating          to     the beneficial                   ownership                 interests




               The           Co-Issuers                   expect            that       the       Depository                  or    its       nominee                upon         receipt          of    any            payment                 of

   principal           interest           or other            distributions                   in    respect          of         Global         Note        representing                 any       Senior Notes as the

   case     may be held by                         it    or      its   nominee                will       immediately                    credit      participants                  accounts             with payments                           in

   amounts         proportionate                     to     their respective                       beneficial              interests          in the          stated       aggregate principal                           amount                or

   number of                Global            Note          for the          Senior Notes as shown on                                     the      records of the Depository                                 or    its       nominee
   The     Co-Issuers               also        expect             that      payments                by        participants              to    owners           of beneficial                 interests                in       Global

   Note     held through                   the       participants                 will      be      governed               by     standing           instructions                and     customary                 practices as
   is   now   the       case with securities held for the accounts                                                      of customers                  registered            in the           names of nominees                             for

   those    customers                    The payments                       will      be the responsibility                            of the participants



   Global      Note Settlement                            Procedures



               Transfers                  between                the        participants                 in    the      Depository                 will       be    effected            in     the      ordinary               way             in

   accordance               with the            Depository                   rules       and        will        be     settled          in    immediately                  available           funds               The         laws of

   some       states             require             that        certain
                                                                                      persons            take          physical              delivery           of        securities              in     definitive                  form

   Consequently                   the                       to transfer               beneficial              interests           in      Global          Note        to    these                                       be limited
                                          ability                                                                                                                                       persons may
   Because         the       Depository                   can          only act          on behalf                   of participants                     who        in     turn       act     on       behalf           of indirect

                            and         certain          banks              the                     of                                                   beneficial          interest             in         Global            Note            to
   participants                                                                    ability                      person holding

   pledge     its      interest          to                        or entities              that        do     not     participate             in the         Depository               system           or    otherwise               take
                                               persons
   actions        in    respect            of      its      interest             may        be      affected            by        the    lack       of          physical           certificate               of the            interest

   Transfers           between                participants                  in     Euroclear                  and      Clearstream                 will       be    effected            in     the       ordinary               way            in


   accordance            with their respective                              rules       and        operating            procedures



                  Subject to                  compliance                with the transfer                           restrictions             applicable             to     the    Securities              described above

   and     under        Transfer                Restrictions                       cross-market                     transfers           between           the       Depository                on       the    one           hand          and

   directly       or    indirectly                 through             Euroclear              or    Clearstream                   participants                 on    the     other           will      be     effected               in    the


   Depository               in    accordance                  with          the       Depository                rules        on    behalf           of Euroclear                 or     Clearstream                     as    the     case

   may      be      by       its
                                        respective               depositary                 however                  the     cross-market                  transactions                 will       require              delivery               of

   instructions              to     Euroclear                 or       Clearstream                   as        the     case        may         be        by     the       counterparty                  in    the           system             in


   accordance               with        its    rules        and        procedures                  and        within       its     established                deadlines           Brussels              time                Euroclear

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  or    Clearstream                    as    the       case        may        be      will     if   the       transaction                     meets        its     settlement                requirements                 deliver

  instructions              to    its   respective                 depositary          to    take       action          to     effect         final    settlement                 on    its       behalf      by delivering
  or    receiving               interests         in        Senior Note               represented by                           Regulation                   Global              Note         in   the     Depository                and

  making         or        receiving              payment                in   accordance                with        normal                   procedures               for       same-day               funds         settlement

  applicable               to     the       Depository                    Clearstream                                                   and     Euroclear                                                          not    deliver
                                                                                                     participants                                                          participants                may
  instructions              directly         to the         depositories              of Clearstream                    or Euroclear



               Because                 of time zone differences cash                                    received in Euroclear                              or    Clearstream                  as        result       of sales of
  interests       in              Regulation                       Global       Note         by     or                                   Euroclear               or    Clearstream                                          to       the
                                                                                                             through                                                                                participant

  Depository               participant             will       be     received with value on the Depository                                                 settlement                 date    but will be               available

        the relevant              Euroclear                    Clearstream               cash account                   only as of the business day following
  in                                                    or                                                                                                                                                    settlement                 in

  the    Depository



               The              Depository              has        advised the              Issuer        that       it      will        take        any     action             permitted to                 be     taken       by
  Holder       of Securities                  including               the     presentation               of Securities                   for       exchange             as   described above                         only      at    the

  direction       of one              or    more        participants               in the                                    to    whose account                       with the Depository                          interests            in
                                                                                               Depository
  the    Securities              are    credited            and      only       in respect          of the portion                       of the Aggregate                       Outstanding               Amount               of the
  Securities          as to        which          the participant                or participants                   has or have                 given the direction


               The              Depository              has         advised          the     Issuer          as     follows                  The      Depository                  is         limited-purpose                     trust


  company             organized              under            the    New        York Banking                   Law                     banking             organization                  within the meaning                              of

  the    New      York Banking                         Law               member of                the    Federal             Reserve               System                  clearing               corporation               within

  the    meaning of                the      UCC         and          Clearing               Agency             registered                pursuant to the provisions                                 of Section            17A of
  the    Exchange                 Act         The       Depository                 was      created           to    hold           securities           for       its      participants                and        facilitate         the

  clearance            and        settlement                of securities              transactions                 between                                                                  electronic
                                                                                                                                             participants               through                                     book-entry
  changes        in        accounts          of    its   participants                 thereby eliminating                              the    need    for physical                 movement                  of certificates

  Participants              in the          Depository               include         securities          brokers and                     dealers           banks           trust                                  and
                                                                                                                                                                                       companies                         clearing

  corporations                  and     may        include            certain         other        organizations                         Indirect          access            to    the                                                   is
                                                                                                                                                                                             Depository                 system
  available           to    others          such       as     banks           brokers          dealers             and       trust                                    that      clear                        or maintain
                                                                                                                                             companies                                       through
  custodial       relationship                    with             participant         either        directly             or      indirectly



               Although                  the      Depository                  Clearstream               and       Euroclear                  have     agreed            to      the    foregoing             procedures                  to

  facilitate          transfers              of    interests             in     Regulation                    Global              Notes                                                           of    the
                                                                                                                                                   among              participants                                 Depository
  Clearstream                   and         Euroclear                they       are    under            no                                    to                           or     continue              to                           the
                                                                                                                  obligation                         perform                                                      perform
  procedures                and       the    procedures may                      be    discontinued                 at                  time         Neither            the       Co-Issuers              nor the Trustee
                                                                                                                             any
  will    have                                                     for    the                                                                                                                      Euroclear
                       any        responsibility                                 performance                   by       the       Depository                 Clearstream                     or                          or     their

  respective               participants                or      indirect          participants                 of     their              respective               obligations                 under         the        rules         and

  procedures governing                            their       operations



                                                                                TRANSFER                      RESTRICTIONS

               Because                  of the         following              restrictions              purchasers                     are     advised           to     consult                         counsel                          to
                                                                                                                                                                                         legal                           prior

  making any offer resale pledge                                          or transfer             of the Securities                           Purchasers of Senior Notes                                  represented by
  an    interest           in         Regulation                     Global           Note        are     advised                 that       such     interests              are       not transferable                  to      U.S
  Persons        at    any time except                        in   accordance               with the following                          restrictions



               Each              prospective             purchaser of Securities                             that       is        U.S         Person         or       is   purchasing               the      Securities             in

  non-Offshore                   Transaction                       U.S         Offeree                  by accepting                     delivery          of     this       Offering             Memorandum                        will

  be deemed                      have
                           to               represented and                   agreed         as    follows



                                                       The         U.S        Offeree         acknowledges                        that        this    Offering               Memorandum                      is    personal              to

               the         U.S         Offeree          and        does not constitute                    an       offer          to    any     other                        or to       the public               generally              to
                                                                                                                                                            person
               subscribe                 for or        otherwise                              the    Securities                other          than pursuant to transactions
                                                                              acquire                                                                                                                         exempt from
               the         registration                requirements                  under     the       Securities                Act        or in    Offshore                 Transactions                 in     accordance
               with Regulation                                 Distribution              of   this                                Memorandum                     to                                           than the           U.S
                                                                                                         Offering                                                       any       person other
               Offeree                and      those                                          retained                    advise the                 U.S         Offeree           with respect
                                                              persons           if
                                                                                      any                          to                                                                                             thereto and

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                other          persons that                    are                  in    the       case         of the          Senior Notes Qualified                                  Institutional               Buyers or non-
                U.S            Persons               or                  in    the         case            of the              Class              Notes            or     the       Preference                 Shares             Qualified

                Institutional                   Buyers              is    unauthorized                         and                   disclosure              of any          of     its     contents           without            the
                                                                                                                          any                                                                                                                prior

                written             consent           of the Co-Issuers                              is       prohibited


                                                       The          U.S         Offeree                 agrees            to    make         no photocopies                        of    this      Offering              Memorandum
                or       any     documents                     referred              to    herein              and         if   the     U.S        Offeree              does not purchase                          the     Securities              or

                the       offering              is    terminated                     to       return            this       Offering              Memorandum                        and       all       documents                referred           to

                herein           to      the     Initial            Purchaser                  at    11        Madison                Avenue New                     York New York 10010                                         Attention

                CDO            Group

                Under            the      Indenture                  with           respect              to     the       Co-Issuers                  and     the       Preference                Share        Documents                     with
  respect      to        the    Issuer               the       Co-Issuers                     or    the         Issuer          will                    to comply with                         the      requirements                   of Rule
                                                                                                                                           agree
   144A     relative           to     the       dissemination                       of information to prospective                                            purchasers in the secondary                                      market          See

  Available              Information


                The        Securities                have           not been              registered                 under           the    Securities              Act and                       in    the    case of the Senior

  Notes may not be                             offered          or       sold        in       non-Offshore                      Transactions                  or     to       or    for      the        account           or    benefit           of
  U.S      Persons               except              to     Qualified                     Institutional                   Buyers             in       transactions                 exempt               from        the        registration

  requirements                 of the Securities                          Act       who            are        also     Qualified Purchasers                             and                  in    the     case      of the Class

  Notes        or    the        Preference                     Shares                                            be        offered                     sold                                        Institutional
                                                                                    may             only                                     or                 to       Qualified                                              Buyers             in

  transactions             exempt               from           the        registration                        requirements                  of the            Securities               Act        who         are        also     Qualified

  Purchasers



                Any        purported                  transfer            of         Security                 not in accordance                        with     this         section           shall       be null and             void and

  shall   not       be    given effect                 for                                         hereunder
                                                                any        purpose


  Transfer           Restrictions                     Applicable                    to     Rule 144A                      Global            Notes



                Each           purchaser of                         beneficial                 interest              in   Senior Notes                  represented                    by         Rule        144A            Global         Note

  will    be deemed                 to    represent             and        agree              on        its    own        behalf            or    if   the    purchaser                is   acquiring              the    Senior Notes

  for
         any    account                  on     behalf          of each               such          account and                         each       transferee                of         beneficial             interest           in         Rule

   144A     Global             Note            will       be        required              or        deemed                to    represent              and     agree              as     follows           terms used                   in    this

  paragraph that are defined in Rule                                                144A           or    Regulation                     are      used herein                 as    defined therein



                                                                    The       purchaser                    is         Qualified Institutional                             Buyer and                      Qualified              Purchaser

                          the       purchaser                  is    purchasing                     the        Senior Notes                  for       its    own        account             or      the      account           of another

                Qualified                 Purchaser                  that           is     also                 Qualified               Institutional                Buyer              as      to      which            the     purchaser
                exercises                 sole        investment                    discretion                              the       purchaser               and                  such         account             is                            the
                                                                                                                                                                        any                                               acquiring

                Senior Notes                     as principal                   for        its      own          account              for    investment                 and       not       for sale          in    connection                with

                any        distribution                   thereof                         the       purchaser                   and               such        account              was not formed                         solely        for the
                                                                                                                                        any

                purpose               of investing                   in the          Senior Notes                         except when                   each        beneficial               owner of the purchaser or
                any        such          account               is         Qualified                 Purchaser                               to   the     extent          the       purchaser               or       any        account            for

                which                                                                Senior Notes
                                 it      is    purchasing                 the                                              is         private          investment                  company formed on                              or    before

                April          30 1996                 the      purchaser and                           each         such        account              has received the necessary consent                                               from        its


                beneficial                    owners                          the          purchaser                   is       not              broker-dealer                     that        owns           and         invests            on

                discretionary                    basis         less       than           $25000000                        in    securities             of unaffiliated                   issuers                    the       purchaser             is


                not              pension                  profit-sharing                       or        other            retirement              trust        fund           or       plan        in      which          the      partners
                beneficiaries                    or    participants                      or    affiliates
                                                                                                                       may           designate          the     particular                investment                to    be     made
                the       purchaser agrees                          that       it    and       each            such account                  shall      not hold such Senior Notes                                       for the benefit

                of any other                    Person              and       shall       be the sole beneficial                                 owner        thereof          for       all    purposes            and         that    it   shall

                not       sell      participation                    interests             in       the       Senior Notes                  or enter           into      any        other         arrangement                  pursuant to
                which                         other       Person              shall        be       entitled           to            beneficial             interest         in the         distributions                 on    the     Senior
                                 any
                Notes           except               when            each           beneficial                  owner           of the purchaser                        or    any        such          account           is       Qualified

                Purchaser                             the      Senior Notes                         purchased                  directly          or    indirectly             by the purchaser or any                                  account
                for       which           it    is   purchasing                     the       Senior Notes                      constitute             an     investment                 of no          more than 40% of                          the



                                                                                                                               148
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        purchasers                and        each          such           accounts               assets        except when                       each          beneficial             owner of             the    purchaser
        or    any       such           account                 is          Qualified              Purchaser                                the        purchaser                 and     each         such        account              is


        purchasing                the       Senior Notes                       in         principal            amount of not                          less      than the              minimum denomination
                                      for the                                   and       each         such                                      the                                                                       of the
        requirement                                  purchaser                                                  account                                    purchaser will provide                             notice

        transfer            restrictions                 set    forth          in the       Indenture              including                    the exhibits                   thereto to any                 transferee             of

        its   Senior Notes                    and                    the       purchaser understands                               and                         that                                       transfer         of the
                                                                                                                                                agrees                     any       purported
        Senior Notes                   to         purchaser that does not comply with the requirements                                                                           of    this                                     shall
                                                                                                                                                                                                 paragraph
        be    null      and       void ab            initio



                                             The          purchaser                 has      such        knowledge                    and            experience                  in    financial           and        business

        matters         as       to    be    capable                of evaluating                 the     merits           and        risks          of     its     investment              in     Senior Notes and

        the    purchaser                and         any         account             for     which         it   is    acting            are           each      able        to    bear the economic                      risk         of
        the   purchasers                    or     its    investment


                                             The          purchaser                 understands                 that          the     Senior               Notes           are       being         offered        only          in

        transaction               not        involving                                                                   in    the       United                States          within         the                          of the
                                                                      any           public        offering                                                                                              meaning
        Securities            Act           the    Senior Notes                      have        not been            and       will        not be registered                         under         the Securities               Act
        and       if   in the          future            the    purchaser decides to offer resell                                                pledge or otherwise                             transfer        the    Senior

        Notes          or              beneficial                interest            therein           such        Senior Notes
                             any                                                                                                                      or    any          beneficial           interest        therein           may
        be offered                resold pledged                          or    otherwise              transferred                              in   accordance                  with the applicable
                                                                                                                                only                                                                                    legend
        in    respect             of    such             Senior            Notes           set        forth     in                  below             and         the      restrictions              set      forth        in    the

        Indenture                 The         purchaser                   acknowledges                    that       no        representation                        is    made        by     the       Co-Issuers               the

        Servicer            or the          Initial        Purchaser as to the availability of any                                                    exemption                 under       the     Securities          Act or

        other      applicable                laws of any jurisdiction                                  for resale              of the Senior Notes


                                             The          purchaser                  is    not        purchasing                the         Senior             Notes            or    any        beneficial            interest

        therein         with                view           to       the    resale distribution                            or       other                                       thereof         in       violation          of the
                                                                                                                                                 disposition

        Securities            Act           The purchaser understands                                        that    an        investment                  in the         Senior Notes                  involves        certain

        risks          including              the          risk       of        loss       of     its    entire           investment                      in      the      Senior           Notes          under        certain

        circumstances                        The         purchaser has had                            access        to    such        financial                and        other       information concerning
        the   Co-Issuers                    the     Senior Notes                     and        the Collateral                 as     it    deemed                necessary or appropriate                            in    order
        to    make          an    informed                 investment                  decision          with respect                      to    its   purchase                 of the Senior Notes                     or       any
        beneficial               interest          therein                including              an    opportunity to                      ask questions                       of and                          information
                                                                                                                                                                                              request
        from      the       Co-Issuers                   and        the    Initial         Purchaser


                                             In    connection                   with the purchase                         of Senior Notes                           or    any beneficial                 interest      therein

        provided              that      no         such         representation                    is    made with                                     to    the      Servicer                             Affiliate         of or
                                                                                                                                   respect                                              by any
        account             serviced              by the            Servicer                      none         of the          Co-Issuers                      the       Trustee           the      Initial      Purchaser

        any       Hedge               Counterparty                        the       Preference               Shares            Paying                Agent           or     the       Servicer           is                     as
                                                                                                                                                                                                               acting

        fiduciary            or financial                  or       investment              adviser           for the          purchaser                   ii       the        purchaser           is   not relying             for
        purposes              of       making                              investment                  decision                       otherwise                                               advice           counsel
                                                               any                                                            or                                     upon         any                                                or

        representations                     whether                 written          or     oral of the Co-Issuers                                    the      Trustee            the      Initial       Purchaser               any
        Hedge           Counterparty                           the        Preference                  Shares         Paying                Agent               or        the     Servicer           or                of     their
                                                                                                                                                                                                           any
        respective               Affiliates               other        than          in    the    Offering               Memorandum                            and        any     representations                 expressly

        set   forth          in         written                agreement                  with        such                     iii none                    of the          Co-Issuers                the      Trustee            the
                                                                                                               party
        Initial        Purchaser
                              any Hedge Counterparty                                                         the     Preference                  Shares             Paying Agent                   or the      Servicer              or

                of their respective Affiliates has given                                                       to     the                                                        or
        any                                                                                                                     purchaser                   directly                   indirectly             through            any
        other       person                           assurance                                            or                                               whatsoever                 as      to    the                              or
                                            any                                     guarantee                       representation                                                                            expected
        projected                success                 profitability                    return         performance                        result              effect            consequence                    or    benefit

        including                legal        regulatory                       tax        financial            accounting                   or       otherwise                  of the        Senior          Notes         or       an
        investment                therein            iv          the      purchaser has consulted                                   with         its   own           legal regulatory                      tax     business
        investment                    financial            and        accounting                 advisors            to       the     extent                   has        deemed                                 and             has
                                                                                                                                                       it
                                                                                                                                                                                           necessary                       it


        made           its       own          investment                       decisions               including                decisions                   regarding                 the      suitability             of       any
        transaction               pursuant                to    the       Indenture               based          upon           its    own judgment                            and     upon any               advice        from
        such      advisors              as         has deemed                    necessary and                   not                                  view                                     the       Co-Issuers              the
                                              it
                                                                                                                           upon            any                      expressed by
        Trustee             the       Initial        Purchaser                   any       Hedge          Counterparty                          the       Preference                 Shares         Paying         Agent             or




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         the   Servicer                         of their respective
                                 or   any                                           Affiliates                   the    purchaser has determined                          that    the    rates

         prices     or    amounts           and       other       terms of the purchase                     and       sale    of the Senior Notes                   or           beneficial
                                                                                                                                                                          any
         interest     therein          reflect         those      in    relevant       market         for       similar       transactions             vi      if   the     purchaser           is


         acting     for       the   account           of another investor the purchaser represents                                      that      the       investment            on    behalf
         of such         account           is   based        on         determination              that     the       investment       is   suitable          based         on    the     risks

         referred        to    in this      Offering           Memorandum                   including             without        limitation            the    Risk Factors                    and

         the    Transfer              Restrictions                Applicable          to     Rule          144A        Global        Notes              given        the        investment

         objectives            of    the    account            for      which       the     purchase             is             made        and        that    the        investment            is
                                                                                                                      being
         consistent           with any           applicable             legal   requirements                    vii     the    purchaser          is                            the     Senior
                                                                                                                                                        purchasing
         Notes      or any          beneficial             interest     therein       with          full        understanding          of   all    of the       terms            conditions

         and   risks      thereof          economic               and    otherwise and                it    is   capable        of assuming             and     willing          to    assume

         financially            and    otherwise              those      risks and          viii     the        purchaser       is     sophisticated                investor


                                                        The       purchaser          understands                that    the     Senior      Notes           offered        to     Qualified

         Institutional           Buyers          in    reliance         on    the                           from        the                                                      under        the
                                                                                     exemption                                 registration        requirements
         Securities           Act provided              by     Rule      144A               will    bear the legend substantially                            in the       form        set forth

         below      unless          the    Co-Issuers             determine          otherwise             in    accordance          with applicable                 law               will    be

         represented            by one          or     more Rule              144A        Global      Notes and                      may     not       at    any     time be           resold

         pledged         or    transferred            to    U.S        Persons       that     are    not        Qualified Institutional                 Buyers            and     Qualified
         Purchasers              Before         any        interest      in     Rule        144A      Global           Note     may    be    offered           resold pledged                  or

         otherwise            transferred         to         Person       who       takes     delivery           in the       form   of an     interest         in        Regulation
         Global     Note            the    transferor          will     be    required to provide                     the    Trustee   with            written           certification         as

         to   compliance             with the transfer restrictions


         THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN HAS NOT BEEN AND WILL NOT
   BE REGISTERED   UNDER THE UNITED STATES SECURITIES ACT OF 1933 AS AMENDED
   THE SECURITIES                     ACT
                            AND THE CO-ISSUERS HAVE NOT BEEN REGISTERED UNDER
   THE UNITED    STATES IN VESTMENT   COMPANY ACT OF 1940 AS AMENDED THE
   INVESTMENT  COMPANY                 THE PURCHASER        ACT
                                                           HEREOF    BY PURCHASING THIS
   NOTE AGREES FOR THE                   OF THE CO-ISSUERS      THAT THIS NOTE OR ANY
                                                           BENEFIT
   BENEFICIAL INTEREST     HEREIN   MAY BE OFFERED SOLD PLEDGED OR OTHERWISE
   TRANSFERRED     ONLY        TO               A1
                                     PERSON WHOM THE SELLER REASONABLY BELIEVES
   IS    QUALIFIED INSTITUTIONAL     BUYER WITHIN THE MEANING OF RULE 144A UNDER
   THE SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF
   QUALIFIED INSTITUTIONAL     BUYER IN      TRANSACTION MEETING THE REQUIREMENTS
   OF RULE 144A UNDER THE SECURITIES ACT SO LONG AS THIS NOTE IS ELIGIBLE FOR
   RESALE IN ACCORDANCE WITH RULE 144A OR                  TO      NON-U.S  PERSON IN AN
   OFFSHORE TRANSACTION COMPLYING WITH RULE 903 OR RULE 904 OF REGULATION
   UNDER THE SECURITIES ACT AND IN CASE OF CLAUSE              TO   PURCHASER THAT        IS

       QUALIFIED   PURCHASER     WITHIN    THE    MEANING    OF   SECTION  3c7    OF   THE
   IN VESTMENT   COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF IN VESTING
   IN THE ISSUER EXCEPT WITH        EACH BENEFICIAL OWNER OF THE PURCHASER            IS

   QUALIFIED PURCHASER          TO THE EXTENT THE PURCHASER OR ANY ACCOUNT FOR
   WHICH IT IS PURCHASING THE NOTES IS           PRIVATE  INVESTMENT COMPANY FORMED
   ON OR BEFORE APRIL 30 1996 HAS RECEIVED THE NECESSARY CONSENT FROM ITS
   BENEFICIAL OWNERS         IS NOT     BROKER-DEALER THAT OWNS AND INVESTS ON
   DISCRETIONARY     BASIS LESS THAN $25000000          IN SECURITIES OF UNAFFILIATED
   ISSUERS AND       IS NOT    PENSION PROFIT-SHARING       OR OTHER RETIREMENT TRUST
   FUND OR PLAN IN WHICH         THE PARTNERS       BENEFICIARIES OR PARTICIPANTS        OR
   AFFILIATES MAY DESIGNATE THE PARTICULAR INVESTMENT TO BE MADE                      IN
   PRINCIPAL AMOUNT OF NOT LESS THAN U.S.$250000           FOR THE PURCHASER AND FOR
   EACH ACCOUNT FOR WHICH          IT IS  ACTING AND          IN ACCORDANCE     WITH ALL
   APPLICABLE    SECURITIES LAWS OF THE         STATES OF THE UNITED       STATES    EACH
   TRANSFEROR     OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL PROVIDE
   NOTICE OF THE TRANSFER RESTRICTIONS         AS SET FORTH HEREIN TO ITS TRANSFEREE
   EACH PURCHASER      OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL BE

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  DEEMED TO HAVE MADE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS       SET
  FORTH IN THE INDENTURE  ANY TRANSFER IN VIOLATION OF THE FOREGOING WILL BE
  OF NO FORCE AND EFFECT AND WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO THE
  TRANSFEREE NOTWITHSTANDING    ANY INSTRUCTIONS TO THE CONTRARY TO THE CO
  ISSUERS THE TRUSTEE OR ANY INTERMEDIARY    IN ADDITION TO THE FOREGOING THE
  CO-ISSUERS MAINTAIN THE RIGHT TO RESELL NOTES OR ANY BENEFICIAL INTEREST
  THEREIN PREVIOUSLY    TRANSFERRED   TO NON-PERMITTED U.S HOLDERS AS DEFINED
  IN THE INDENTURE     IN   ACCORDANCE  WITH AND SUBJECT TO THE TERMS OF THE
  INDENTURE

        UNLESS THIS NOTE IS PRESENTED BY AN AUTHORIZED REPRESENTATIVE OF THE
  DEPOSITORY     TRUST  COMPANY    DTC     TO THE   INDENTURE  REGISTRAR     FOR
  REGISTRATION     OF TRANSFER  OR PAYMENT AND ANY CERTIFICATE        ISSUED   IS

  REGISTERED   IN THE NAME OF CEDE    CO OR IN SUCH OTHER NAME AS IS REQUESTED
  BY AN AUTHORIZED REPRESENTATIVE OF DTC AND ANY PAYMENT MADE TO CEDE
  CO OR TO SUCH OTHER          ENTITY   AS  IS REQUESTED   BY AN AUTHORIZED
  REPRESENTATIVE OF DTC ANY TRANSFER PLEDGE OR OTHER USE HEREOF FOR VALUE
  OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
  OWNER HEREOF CEDE       CO HAS AN INTEREST HEREIN
        THE FAILURE TO PROViDE THE ISSUER THE TRUSTEE AND ANY PAYING AGENT
  WITH THE APPLICABLE U.S FEDERAL INCOME TAX CERTIFICATIONS GENERALLY AN
  INTERNAL REVENUE SERVICE FORM W-9 OR SUCCESSOR APPLICABLE FORM IN THE
  CASE OF    PERSON THAT IS   UNITED STATES PERSON WITHIN THE MEANING OF
  SECTION 7701A30 OF THE INTERNAL REVENUE     CODE OF 1986 AS AMENDED THE
  CODE OR AN APPLICABLE INTERNAL REVENUE SERVICE FORM W-8 OR SUCCESSOR
  APPLICABLE FORM IN THE CASE OF       PERSON THAT IS NOT    UNITED STATES
  PERSON WITHIN THE MEANING OF SECTION 7701A30 OF THE CODE MAY RESULT IN
  U.S FEDERAL WITHHOLDING FROM PAYMENTS     TO THE HOLDER IN RESPECT OF THIS
  NOTE

          THE PURCHASER     HEREOF BY PURCHASING THIS NOTE AGREES FOR THE
  BENEFIT   OF THE CO-ISSUERS THAT THIS NOTE AND ANY BENEFICIAL INTEREST HEREIN
  MAY NOT BE OFFERED SOLD PLEDGED OR OTHERWISE TRANSFERRED EXCEPT TO
  PERSON THAT REPRESENTS      WARRANTS AND COVENANTS THAT EITHER         IT IS NOT

  AND IS NOT USING THE ASSETS OF AND THROUGHOUT THE HOLDING AND DISPOSITION
  OF SUCH NOTES WILL NOT BECOME OR TRANSFER ITS INTEREST TO AN EMPLOYEE
  BENEFIT    PLAN WITHIN THE MEANING OF SECTION 33 OF THE UNITED STATES
  EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974 AS AMENDED ERISA THAT
  IS SUBJECT   TO TITLE   OF ERISA   PLAN DESCRiBED IN SECTION 4975e1 OF THE
  UNITED STATES INTERNAL REVENUE CODE OF 1986 AS AMENDED THE               CODE
                                                                            THAT IS
  SUBJECT TO SECTION 4975 OF THE CODE OR AN ENTITY WHOSE UNDERLYING ASSETS
  INCLUDE THE ASSETS OF ANY SUCH PLAN OR       GOVERNMENTAL FOREIGN OR CHURCH
  PLAN SUBJECT      TO ANY FEDERAL     STATE   FOREIGN OR LOCAL LAW THAT          IS

  SUBSTANTIALLY     SIMILAR TO THE PROVISIONS  OF SECTION 406 OF ERISA OR SECTION
  4975 OF THE CODE OR II iTS PURCHASE      HOLDING AND DISPOSITION OF THIS NOTE
  WILL NOT RESULT IN       NON-EXEMPT PROHIBITED   TRANSACTION UNDER SECTION 406
  OF ERISA OR SECTION 4975 OF THE CODE OR IN THE CASE OF ANY GOVERNMENTAL
  FOREIGN OR CHURCH PLAN ANY VIOLATION OF FEDERAL STATE FOREIGN OR LOCAL
  LAW SUBSTANTIALLY SIMILAR TO SECTION 406 OF ERISA OR SECTION 4975 OF THE
  CODE BECAUSE SUCH PURCHASE HOLDING AND DISPOSITION OF SUCH NOTE EITHER
      IS NOT AND WILL NOT BECOME SUBJECT     TO SUCH LAWS OR     IS COVERED   BY AN
  EXEMPTION     FROM ALL APPLICABLE PROHIBITED        TRANSACTIONS    ALL OF THE
  CONDITIONS    OF WHICH ARE AND WILL BE SATISFIED UPON THE ACQUISITION OF AND
  THROUGHOUT ITS HOLDING AND DISPOSITION OF THIS NOTE              ANY PURPORTED

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   TRANSFER OF THIS NOTE THAT DOES NOT COMPLY WITH                                                                                              THESE REQUIREMENTS                                               SHALL
   BE NULL AND VOW AB INITIO


                       ii                In      addition             each       Regulation                        Global           Note         representing                 any         Senior            Note        will

         contain       the    following                 additional          legend


         EACH TRANSFEREE OF THE NOTE REPRESENTED HEREBY WILL IF REQUIRED BY
   THE TNDENTURE  BE REQUIRED TO DELIVER     TRANSFEREE CERTIFICATE IN FORM
   PRESCRIBED  IN THE  INDENTURE  OR WILL BE DEEMED TO HAVE MADE THE
   REPRESENTATIONS AND AGREEMENTS   SET FORTH IN THE INDENTURE


                                         The purchaser                    will    provide               notice         to   each        person to               whom          it
                                                                                                                                                                                    proposes               to    transfer

         any     interest         in    the       Senior Notes                 of the transfer                      restrictions                and    representations                         set    forth        in the

         Indenture           including             the exhibits                referenced therein


                                         The       purchaser               understands                  that       the      Indenture              permits the                Issuer            to    compel            any
         Holder        of the          Senior Notes                  or    any        beneficial               interest          therein           who        is        U.S         Person                and     who     is

         determined              not        to    have             been     both                         Qualified                 Institutional                               and
                                                                                                                                                                Buyer                                       Qualified
         Purchaser          at     the      time of acquisition                        of the          Senior Notes                   or              beneficial              interest          therein           to    sell
                                                                                                                                             any
         such     interest          or      to    sell        such    interest          on       behalf           of such                                  to                                              both
                                                                                                                                    purchaser                           person that                  is


         Qualified           Institutional                    Buyer and                                 Qualified                Purchaser               in             transaction                  meeting            the

         requirements              of Rule              144A         or to         person              that       is        non-U.S Person                         in   an     Offshore               Transaction

         meeting the requirements                              of Regulation


                                         The       purchaser understands                                that      in the         case        of any        supplemental                       indenture            to   the

         Indenture          that       requires          consent          of one           or    more Holders of                        the     Senior Notes the Indenture                                       permits
         the    Amendment Buy-Out                                  Purchaser to purchase                            Senior Notes                   from         any      Non-Consenting                           Holder
         thereof       at the       applicable                Amendment                 Buy-Out Purchase                              Price        and      such         Non-Consenting                           Holder
         will    be required to                  sell    such        Senior Note                to the        Amendment                    Buy-Out Purchaser                             at    such price


                       10                The purchaser understands                                     that       the Stated            Maturity            of the Senior Notes                             is    subject

         to    multiple          extensions               of four                          each         without          consent              of any          Holders               of Securities                  at   the
                                                                           years

         option       of the Issuer                if   directed          by     the    Servicer               upon         satisfaction              of certain             conditions


                       11                The       purchaser acknowledges                                    that      no     action            was taken               or    is    being contemplated
         by the Co-Issuers                    that      would permit                       public        offering           of the Senior Notes                          in    any jurisdiction                         The
         purchaser          further           acknowledges                     that     no           action       was taken                or    is   being           contemplated                        by     the    Co
         Issuers       that        would permit possession                                       or     distribution                  of     the      Offering               Memorandum                          or     any
         amendment               thereof           or     supplement              thereto              or     any       other         offering           material             relating           to        the    Senior
         Notes       in                                        other       than Ireland                      where          or     in            circumstances                      in    which            action       for
                           any jurisdiction                                                                                             any
         those       purposes          is   required                Nothing           contained               in the offering                   memorandum                     relating              to    the    Senior

         Notes       shall       constitute             an offer to            sell    or            solicitation             of an offer             to    purchase                           Senior Notes               in
                                                                                                                                                                                   any
         any jurisdiction                where           it   is   unlawful           to    do       so absent the taking                        of such           action          or the availability                   of

         an exemption              therefrom


                       12                The purchaser                    will    not           at    any     time          offer       to    buy     or offer           to    sell       the        Senior Notes

         or    any    beneficial            interest           therein         by any           form         of general             solicitation              or    advertising                 including               but

         not     limited          to                 advertisement                     article               notice         or     other         communication
                                         any                                                                                                                                             published                in    any

         newspaper  magazine                             or    similar          medium                 or     broadcast               over       television              or        radio        or        seminar        or

         meeting whose attendees                              have        been    invited              by general             solicitations                or    advertising


                       13                        Either               the      purchaser                is    not and            is     not using the assets                         of and               throughout
         the     holding         and        disposition              of the        Senior              Notes           will      not       become           or      transfer             its    interest           to    an

         employee           benefit           plan or other               fund or arrangement                            subject           to    Title          of the Employee                           Retirement

         Income        Security             Act of            1974        as    amended                ERISA                            plan       subject          to       Section           4975e               of the
         Internal         Revenue             Code of 1986                 the        Code                   or        governmental                    foreign           or    church            plan which               is


         subject      to    any        federal state                 foreign          or     local          law that          is    substantially                  similar to             the    provisions              of



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        Section 406 of              ERISA               or    Section 4975                of the Code                   or    ii     the        purchasers                  purchase            holding             and

        disposition           of such          Senior           Notes           will     not        result         in         non-exempt                       prohibited              transaction             under

        Section 406 of              ERISA               or    Section 4975               of the Code                or         in    the        case of               governmental                      foreign      or

        church        plan      any      federal              state       foreign        or local          law that             is   substantially                    similar          to Section 406 of

        ERISA          or Section             4975            of the        Code         because              such       purchase                   holding            and        disposition             of      such

        Senior Notes             either                  is   not and           will     not       become               subject           to    such           laws        or           is   covered           by    an

        exemption          from        all    applicable               prohibited             transactions                   all    of the conditions                           of which are and                  will

        be    satisfied         upon       the      acquisition              of and            throughout                its    holding               and       disposition                 of such         Senior

        Notes              the    purchaser shall not transfer an                                       interest        in    such        Senior Notes                     to   any transferee              unless

        such     transferee            meets            the    foregoing            requirements                    and               the           purchaser               and        any    fiduciaries            or

        other     Person                                                      such       Senior Notes
                                causing            it   to    acquire                                                   agree         to       the    fullest extent                   permissible under

        applicable            law      to      indemnify                  and      hold         harmless                the     Issuer              the        Co-Issuer                the    Trustee              the

        Servicer         the     Initial      Purchaser                the      Preference               Shares          Paying Agent and                             their respective                  Affiliates

        from      any    cost       damage               or     loss       incurred           by        them       as         result           of such           purchaser               not    meeting             the


        foregoing         requirements                   or    as         result    of    its      transferring               its    interest             to      transferee                not meeting             the

        foregoing         requirements                    Any        purported           purchase               or transfer               of the Senior Notes                           to     purchaser or

        transferee         that     does       not           comply with               the         requirements                of this paragraph                            13         shall       be     null      and

        void     ab    initio



                       14              The       purchaser understands                              that      the       Co-Issuers                  may        receive                list   of participants

        holding        positions         in    its      securities          from       one         or    more book-entry                        depositories


                       15              The       purchaser                agrees that              it    will    not         offer    or        sell       transfer              assign        or       otherwise

        dispose of the Senior Notes                              or    any      interest           therein         except                 pursuant to an exemption                                  from         or in

             transaction         not subject                 to the registration                    requirements                   of the Securities                       Act and                  applicable
                                                                                                                                                                                             any
        state    securities         laws or the applicable                          laws of any                 other        jurisdiction                 and     ii in           accordance              with the

        Indenture          to    which         provisions              the      purchaser hereby agrees                              it    is   subject


                       16              The purchaser                   is   not        member of                 the public               in the          Cayman Islands

                       17              The     beneficial                 owner      will
                                                                                                   agree to        treat       the    Senior Notes                     as       unconditional               debt of

        the Issuer       for      tax accounting                     and     financial             reporting            purposes


                       18              To     the        extent       required            as       determined                 by     the       Is   suer       or the           Servicer       on        behalf       of

        the    Issuer the Issuer                                             notice                the                                           additional
                                                    may         upon                      to              Trustee             impose                                       transfer          restrictions            on

        the     Senior          Notes          to        comply             with       the         Uniting              and         Strengthening                      America                by        Providing

        Appropriate             Tools         Required               to     Intercept          and        Obstruct             Terrorism Act                      of 2001               the U.S             Patriot

        Act      and    other       similar             laws or regulations                        including             without           limitation                  requiring             each       transferee

        of      Senior Note            to     make            representations                 to    the Issuer           in    connection                  with such              compliance


                       19              The       purchaser understands that                                   to    the       extent           required               as    determined              by     the      Co
        Issuers         the      Co-Issuers                   may     amend            the         Indenture             and         with            respect           to       the     Issuer          only        the

        Preference            Share      Documents                     without           the       consent          of any           Holders               of the           Securities          and        without

        regard to         whether             or        not    such        amendment                    adversely             affects           the       interest          of the           Holders           of the

        Securities         to          remove any                restrictions             and           limitations           imposed                on    the    Co-Issuers                 or the       Holders

        of     the     Securities             that           solely        relate        to        compliance                 with         Section               3c7                  and      ii        add        any

        requirements              that       are                             for     compliance                    with       Rule         3a-7           if     at               time following                    the
                                                        necessary                                                                                                      any
        Closing         Date        the        Co-Issuers                 elect     to        rely       on     exclusion                 from            the     definition                 of investment

        company            under       Rule             3a-7    in    lieu    of the exclusion                     under           Section           3c7
                       20              The          purchaser               understands                  that       the        Issuer
                                                                                                                                                may            enter            into     amendments                   or

        modifications             to     the       Servicing              Agreement                 without         the        consent              of any            Holders           of the          Securities

        and      without          regard           to    whether             or    not        such         amendment                  adversely                  affects           the       interest       of the

        Holders         of the Securities




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                                 21                   The          purchaser                      agrees not                       to    cause               the        filing           of           petition            in    bankruptcy                    or

                                                                the         Issuer           before one                                                                  have
                winding              up    against                                                                        year and                 one           day                 elapsed since                       the    payment               in    full


                of the Notes                or        if   longer             the applicable                         preference                        period          in     effect



                                 22                   The             purchaser                    acknowledges                               that           the        Co-Issuers                       the       Servicer               the         Initial


                Purchaser                 and     others               will                                   the         truth          and                                   of the              foregoing             acknowledgments
                                                                                   rely           upon                                                 accuracy
                                                      and                                         and        agrees that                          any of the acknowledgments
                                                                                                                                             if                                                                                                               or
                representations                                  agreements                                                                                                                                               representations

                agreements                 deemed                to have            been               made by                it
                                                                                                                                   by        its       purchase               of the Senior Notes                          or       any beneficial
                interest         therein              are        no         longer           accurate                it       shall          promptly                  notify        the           Co-Issuers              the       Servicer               and

                the      Initial          Purchaser                     If    the        purchaser                   is       acquiring any                            Senior Notes                      or               beneficial                 interest
                                                                                                                                                                                                               any
                therein         as          fiduciary                 or     agent           for        one       or      more           institutional                       accounts               it
                                                                                                                                                                                                         represents             that       it    has sole

                investment                  discretion                  with            respect              to      each               such           account                and        it    has        full
                                                                                                                                                                                                                     power           to    make             the

                foregoing                 acknowledgments                                representations                            and           agreements                   on    behalf of such                      account


   Transfer         Restrictions                  Applicable                       to    Regulation                                Global              Notes



                Each purchaser of                                beneficial                   interest              in        Regulation                              Global Note                   will       be further            deemed                and
   each     transferee           of          beneficial                     interest                                                                   Global            Note         will          be                                   deemed
                                                                                                  in          Regulation                                                                                   required or                                        in

   addition     to       making            the    representations                             set forth                  in   paragraphs                                                      and                through            22          above         in

   Transfer               Restrictions                 Applicable                       to    Rule           144A             Global              Notes                to represent                  and       agree       as    follows



                The       purchaser               is    aware               that        the        Senior Notes                         have           not been                and       will not              be registered                under           the

   Securities           Act     or        any     other            applicable                      state          securities                   law          and        the         sale        of    such          Senior           Notes            or     any
   beneficial           interest          therein          to     it    is    being made                       in reliance                        on    the       exemption                    from registration                         provided            by

   Regulation                  and        understands                       that    the           Senior             Notes              offered                  in reliance                  on    Regulation                      will        bear the

   appropriate           legend set forth                        in     paragraph                             above                in    Transfer                            Restrictions                Applicable                 to    Rule         144A
   Global       Notes            and        will        be        represented                          by     one         or        more Regulation                                       Global              Notes             The        purchaser

   acknowledges                 that        no        representation                              is    made              by        the           Co-Issuers                   or    the            Initial        Purchaser               as         to    the

   availability          of any           exemption                    under            the        Securities                  Act           or other                 applicable               laws        of any          other         jurisdiction

   for    resale        of the        Senior Notes                            The            purchaser                   and            each           beneficial               owner               of the         Senior           Notes            or     any
   beneficial           interest therein                   that        it   holds            is   not and                will       not           be         U.S             Person           as    defined          in    Regulation                       and

   its    purchase        of    the       Senior Notes                       or    any            beneficial                  interest             therein             will        comply with                     all    applicable                 laws in

   any jurisdiction              in       which            it    resides            or       is    located               and        will          be        in         principal              amount of not                     less      than U.S.$

   250000            The        purchaser               has           such         knowledge                        and        experience                        in    financial              and        business              matters           as    to    be

   capable      of evaluating                    the            merits         and           risks           of     its       investment                     in        Senior         Notes              or               beneficial                 interest
                                                                                                                                                                                                               any
   therein      and        it    and        any        accounts                    for       which             it    is       acting              are       each          able       to       bear the economic                            risk        of    its


   investment              Before               any         interest               in             Regulation                             Global              Note             may         be        offered              resold           pledged             or

   otherwise            transferred              to             person             who            takes        delivery                  in       the       form          of an          interest             in         Rule        144A            Global

   Note      the transferor                and        the transferee                         will       be     required                 to        provide             the     Trustee with written                             certifications                 as

   to    compliance            with the transfer restrictions



   Transfer         Restrictions                  Applicable                       to        Class                Notes



                Each           purchaser               of Class                         Notes               acquiring such                             Class                  Notes            in    the       initial         offering              will    be

   required        to    enter        into            Subscription                       Agreement                        with the Issuer                             or      otherwise                  provides          the       Issuer           with

   certification           pursuant               to       which              each           such           purchaser                   will           be    required               to        represent             and                    and             each
                                                                                                                                                                                                                               agree

   subsequent            transferee              will       be        required               to represent                     and        agree               on        its    own        behalf           as     follows terms used in

   this    paragraph that are defined                                   in    Rule                44A        are       used herein                      as       defined therein



                                                      The         purchaser                       is         Qualified                   Institutional                       Buyer and                   is    aware           that       the        sale     of

                Class                Notes        to       it    is    being made                       in    reliance                  on     an exemption                         from the registration                            requirements

                provided              by Section                  42           and           is    acquiring                  the       Class                    Notes         for       its   own         account             and        not        for the

                account              of
                                           any        family or other                             trust        any            family member or any                                        other          person                In     addition              the


                purchaser                 has such               knowledge                        and       experience                   in       financial                  and     business matters                          as to      be     capable
                of evaluating                   the        merits            and        risks          of     its    investment                        in    Class                 Notes and                   the   purchaser                  is   able     to

                bear the economic                               risk        of the purchasers                             investment


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                                            The     purchaser                  understands                      that     the       Class                     Notes            are        being         offered              only         in


        transaction              not        involving                          public          offering                in     the        United               States           within            the        meaning               of the
                                                                 any
        Securities          Act         the        Class              Notes          have           not         been         and        will           not be           registered               under         the          Securities

        Act       and      if     in    the       future        the       purchaser                 decides to offer resell                                        pledge or otherwise                                 transfer           the

        Class          Notes such                   Class                Notes           may be             offered               resold pledged                          or    otherwise                   transferred                  only
        in    accordance               with the                                in respect              of such                Class                    Notes            set    forth            in            below            and        the
                                                           legend
        restrictions            set forth           in the       Indenture                    The purchaser acknowledges                                                 that       no     representation                      is   made
        by    the     Issuer the                  Servicer          or     the       Initial         Purchaser                    or    any         of their respective                               Affiliates             as     to    the

        availability            of any            exemption               under          the        Securities               Act or other                                                 laws of any jurisdiction
                                                                                                                                                              applicable

        for resale         of the Class                       Notes


                                            The     purchaser                  agrees          that        it    will        not offer                 or     sell       transfer                assign            or       otherwise

        dispose of the Class                              Notes           or     any      interest              therein            except                    pursuant to an                          exemption               from             or

        in        transaction                 not        subject           to       the        registration                   requirements                         of     the            Securities               Act        and         any
        applicable            state          securities              laws           or      the       applicable                   laws                of    any         other            jurisdiction                  and         ii        in

        accordance              with the Indenture                          to      which           provisions                the        purchaser agrees                           it    is    subject


                                            The     purchaser                  is    not       purchasing                    the        Class                 Notes            with                  view         to     the      resale
        distribution              or        other        disposition                 thereof               in        violation               of        the        Securities                Act              The            purchaser
        understands               that        the       Class              Notes              will     be         highly           illiquid                 and     are        not        suitable            for        short-term

        trading         The            Class              Notes           are            leveraged                   investment                   in        the    Collateral                  Obligations that                          may
                      the     Class                 Notes           to                                                                                        in        value                                      in respect                 of
        expose                                                            disproportionately                             large          changes                                           Payments
        the    Class              Notes            are    not guaranteed                       as     they are                dependent                      on    the        performance                    of the            Issuers

        portfolio       of Collateral                    Obligations                     The purchaser understands                                            that        an    investment                    in the          Class

        Notes       involves            certain          risks including                       the risk              of loss of               all      or         substantial                           of    its      investment
                                                                                                                                                                                            part
        The     purchaser               has had           access           to       such       financial                and        other           information concerning                                     the        Issuer the
        Class           Notes               and     the        Collateral              as            deemed                                             or                                      in     order to              make             an
                                                                                               it
                                                                                                                             necessary                            appropriate

        informed           investment                   decision            with respect                        to     its                              of the           Class                   Notes                                        an
                                                                                                                              purchase                                                                             including

        opportunity to ask questions                                     of and       request              information from the Issuer                                          and        the        Initial          Purchaser



                                            In     connection                  with           the     purchase                    of      Class                    Notes                                                     no      such
                                                                                                                                                                                     provided                     that

        representation                 is    made with               respect             to    the Servicer                   by        any        Affiliate             of or account                       serviced             by the
        Servicer                   none            of the Co-Issuers                          the     Trustee                the        Initial             Purchaser                any        Hedge             Counterparty
        or the      Servicer            is    acting       as            fiduciary            or financial                   or    investment                     adviser           for the            purchaser                  ii the
        purchaser           is    not relying              for purposes                       of making                                investment                  decision               or    otherwise
                                                                                                                         any                                                                                                upon any
        advice         counsel              or     representations                     whether                   written           or        oral           of the         Co-Issuers                       the     Trustee               the

        Initial       Purchaser                   any    Hedge            Counterparty                      or        the     Servicer                  or                of their respective                               Affiliates
                                                                                                                                                              any
        other       than     in    the        Offering           Memorandum                           and         any        representations                        expressly                   set    forth           in      written

        agreement            with           such         party           iii none              of      the           Co-Issuers                   the        Trustee            the         Initial          Purchaser                   any
        Hedge         Counterparty                  or the Servicer                      or    any of their respective                                      Affiliates          has given to the purchaser

        directly        or       indirectly              through               any       other        Person                 or    documentation                           for       the        Class                  Notes             any
        assurance             guarantee                   or    representation                        whatsoever                        as        to    the        expected                or         projected              success

        profitability                  return            performance                     result                 effect            consequence                            or     benefit                including                    legal

        regulatory           tax financial                     accounting                     or    otherwise                 of the Class                          Notes            or    an investment                       therein

        iv      the   purchaser has consulted                                   with       its      own         legal regulatory tax business                                                   investment                   financial

        and       accounting                 advisors            to       the        extent                     has      deemed                                                and                   has     made                        own
                                                                                                      it
                                                                                                                                                  necessary                                it                                its

        investment            decisions                 including               decisions              regarding                   the       suitability                of any            transaction                  pursuant to
        the    documentation                      for the       Class                Notes based                       upon            its   own        judgment                and         upon any                advice from

        such                                      has deemed                necessary and
                  advisors             as                                                                        not upon                              view        expressed by the Co-Issuers                                            the
                                             it
                                                                                                                                         any
        Trustee         the       Initial         Purchaser                          Hedge            Counterparty                           or    the       Servicer            or                   of their respective
                                                                           any                                                                                                            any
        Affiliates                     the        purchaser has                  determined                     that        the    rates               prices       or        amounts                 and     other          terms of
        the     purchase               and         sale        of     the        Class                     Notes             reflect              those            in     relevant                   market            for        similar

        transactions              vi         the    purchaser               is      purchasing                  the      Class                Notes           with             full       understanding                      of     all       of

        the    terms        conditions                  and     risks          thereof             economic                   and        otherwise and                              it    is    capable            of assuming




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         and     willing        to     assume            financially              and        otherwise               those       risks           and        vii     the     purchaser             is


         sophisticated           investor



                                               The        purchaser              is                   Qualified           Institutional            Buyer and                             Qualified

         Purchaser                   the      purchaser             is   acquiring          the       Class           Notes        as    principal           for    its    own     account           for

         investment        and        not for sale in connection                            with any distribution                       thereof                the       purchaser was not
         formed        solely        for     the    purpose              of investing             in the       Class             Notes           except when                each        beneficial

         owner      of the        purchaser              is         Qualified              Purchaser                       to   the     extent         the    purchaser            is      private

         investment         company                formed            before       April          30 1996              the       purchaser           has      received         the        necessary
         consent       from      its    beneficial            owners                   the    purchaser              is   not      broker-dealer               that       owns      and     invests

         on        discretionary               basis          less       than     $25000000                   in     securities             of    unaffiliated             issuers                   the

         purchaser        is    not           pension               profit-sharing               or    other       retirement            trust      fund       or    plan      in       which        the

                         beneficiaries                                                     affiliates                                        the                           investment                be
         partners                                   or    participants                or                      may         designate                 particular                                  to

         made              the       purchaser            agrees          that    it   shall      not hold           such       Class             Notes        for the       benefit           of any

         other    Person        and         shall    be       the    sole      beneficial             owner        thereof       for     all     purposes           and     that    it    shall      not

         sell    participation              interests         in the       Class            Notes        or    enter        into      any      other        arrangement             pursuant to
         which      any        other         Person           shall       be     entitled         to          beneficial           interest            in    the    dividends             or    other

         distributions           on     the        Class              Notes        except              when        each         such     other         Person         is                 Qualified
         Institutional         Buyer and                            Qualified Purchaser                       and               the     purchaser            understands            and        agrees

         that    any     purported            transfer         of the Class                      Notes        to          purchaser          that      does        not     comply with               the

         requirements            of    this    paragraph              shall      be null and            void ab initio



                                       The      purchaser                understands             that        the   Class               Notes                 will     be     represented             by
         either    one    or more Class                        Note        certificates           which        will        bear the legend substantially                            in the       form

         set forth       below        unless        the Issuer            determines             otherwise            in   accordance              with applicable                 law     and

         may      only     be        resold         pledged              or    transferred              to    Qualified            Institutional              Buyers          who         are     also

         Qualified Purchasers                       The purchaser understands                                 that    before          the    Class            Notes        may      be     offered

         resold pledged                or    otherwise          transferred                the   transferee           will      be required            to    provide        the    Trustee and

         the Issuer       with          written       certification               as to      compliance              with the transfer                  restrictions




         THE       NOTES
                    REPRESENTED  HEREBY  HAVE NOT BEEN AND WILL NOT BE
   REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933 AS AMENDED THE
   SECURITIES ACT AND THE ISSUER HAS NOT BEEN REGISTERED UNDER THE UNITED
   STATES INVESTMENT   COMPANY ACT OF 1940 AS AMENDED THE INVESTMENT
   COMPANY ACT THE NOTES REPRESENTED HEREBY HAVE NOT BEEN OFFERED SOLD
   PLEDGED OR OTHERWISE TRANSFERRED             EXCEPT        TO    PERSON WHOM THE SELLER
   REASONABLY       BELIEVES     IS      QUALIFIED     INSTITUTIONAL     BUYER    QUALIFIED
   INSTITUTIONAL BUYER WITHIN THE MEANING OF RULE 144A UNDER THE SECURITIES
   ACT PURCHASING FOR ITS OWN ACCOUNT IN                         TRANSACTION    MEETING THE
   REQUIREMENTS       OF  RULE  144A  SO LONG  AS  THE     NOTES  ARE ELIGIBLE FOR  RESALE IN
   ACCORDANCE WITH RULE l44A WHO IS ALSO                   QUALIFIED PURCHASER    QUALIFIED
   PURCHASER         WITHIN    THE MEANING       OF SECTION       3c7 OF THE INVESTMENT
   COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF INVESTING                        IN THE
   ISSUER EXCEPT WHEN EACH BENEFICIAL OWNER OF THE PURCHASER                   IS   QUALIFIED
   PURCHASER AND THAT                HAS RECEIVED THE NECESSARY           CONSENT   FROM ITS
   BENEFICIAL OWNERS WHEN THE PURCHASER                 IS    PRIVATE  INVESTMENT COMPANY
   FORMED ON OR BEFORE APRIL 30 1996             IS NOT      BROKER-DEALER THAT OWNS AND
   IN VESTS  ON        DISCRETIONARY      BASIS LESS THAN $25000000 IN SECURITIES OF
   UNAFFILIATED      ISSUERS AND          IS NOT      PENSION PROFIT-SHARING       OR OTHER
   RETIREMENT TRUST FUND OR PLAN IN WHICH THE PARTNERS                      BENEFICIARIES OR
   PARTICIPANTS     OR AFFILIATES MAY DESIGNATE THE PARTICULAR INVESTMENT TO BE
   MADE         IN       PRINCIPAL AMOUNT      OF NOT LESS THAN U.S.$250000          FOR THE
   PURCHASER AND            IN ACCORDANCE WITH        ALL APPLICABLE SECURITIES LAWS OF
   ANY STATE OF THE UNITED STATES AND ANY OTHER APPLICABLE JURISDICTION EACH
   TRANSFEROR      OF THE NOTES REPRESENTED          HEREBY OR ANY BENEFICIAL INTEREST

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  THEREIN  WILL PROVIDE NOTICE OF THE TRANSFER         RESTRICTIONS   AS SET FORTH
  HEREIN TO ITS PURCHASER     EACH PURCHASER OF THE NOTES REPRESENTED HEREBY
  WILL BE REQUIRED TO MAKE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS
  SET FORTH    IN THE INDENTURE        THE NOTES REPRESENTED       HEREBY   MAY BE
  PURCHASED BY OR TRANSFERRED       TO     BENEFIT PLAN INVESTOR OR CONTROLLING
  PERSON EACH AS DEFINED IN THE INDENTURE          ONLY UPON THE SATISFACTION    OF
  CERTAIN CONDITIONS    SET FORTH IN THE INDENTURE      ANY TRANSFER IN VIOLATION
  OF THE FOREGOING WILL BE OF NO FORCE AND EFFECT WILL BE VOID AB INITIO AND
  WILL   NOT    OPERATE    TO   TRANSFER      ANY  RIGHTS   TO    THE   TRANSFEREE
  NOTWITHSTANDING     ANY INSTRUCTIONS      TO THE CONTRARY TO TIlE ISSUER THE
  TRUSTEE OR ANY INTERMEDIARY         IN ADDITION   TO THE FOREGOING THE ISSUER
  MAINTAINS THE RIGHT TO RESELL ANY NOTES PREVIOUSLY TRANSFERRED            TO NON-
  PERMITTED HOLDERS OR NON-PERMITTED BENEFIT PLAN INVESTORS AS DEFINED IN
  THE INDENTURE     IN ACCORDANCE      WITH AND SUBJECT TO THE TERMS         OF THE
  INDENTURE

           THE FAiLURE
                    TO PROVIDE THE ISSUER AND ANY PAYING AGENT WHENEVER
  REQUESTED            BY THE
                    ISSUER OR THE SERVICER ON BEHALF OF THE ISSUER WITH THE
  APPLICABLE U.S FEDERAL INCOME TAX CERTIFICATIONS GENERALLY AN INTERNAL
  REVENUE SERVICE FORM W-9 OR APPLICABLE SUCCESSOR FORM IN THE CASE OF
  PERSON THAT   IS   UNITED STATES PERSON WITHIN     THE MEANING OF SECTION
  7701A30 OF THE CODE OR AN APPROPRIATE INTERNAL REVENUE SERVICE FORM W-8
  OR APPLICABLE SUCCESSOR FORM IN THE CASE OF PERSON THAT IS NOT    UNITED
  STATES PERSON WITHIN    THE MEANING OF SECTION 770 1A30 OF THE CODE MAY
  RESULT IN THE IMPOSITION OF U.S FEDERAL WITHHOLDING FROM PAYMENTS TO THE
  HOLDER IN RESPECT OF THE NOTES REPRESENTED HEREBY

           THE NOTES REPRESENTED                                   HEREBY                 MAY NOT BE ACQUIRED OR HELD BY   ANY
  EMPLOYEE             BENEFIT       WITHIN PLAN
                                            THE MEANING OF SECTION                                          33 OF THE EMPLOYEE
  RETIREMENT            INCOME SECURITY ACT OF 1974 AS AMENDED
                                                        ERISA THAT IS SUBJECT
  TO TITLE    OF ERISA II ANY PLAN DESCRIBED BY SECTION 4975e1 OF THE
  INTERNAL REVENUE CODE OF 1986 AS AMENDED THE CODE THAT IS SUBJECT TO
  SECTION 4975 OF THE CODE OR III ANY ENTITY WHOSE UNDERLYING ASSETS INCLUDE
  PLAN ASSETS OF ANY PLAN DESCRIBED IN          OR II BY REASON OF       PLANS
  INVESTMENT IN SUCH ENTITY EACH OF      II AND III    BENEFIT PLAN INVESTOR
  EXCEPT IN ACCORDANCE WITH THE RESTRICTIONS   SET FORTH IN THE INDENTURE

           EACH TRANSFEREE WILL BE REQUIRED TO DELIVER                                                                               TRANSFEREE CERTIFICATE
  IN   FORM    PRESCRIBED IN THE INDENTURE


                                       The purchaser              will    provide          notice          to    each    Person       to   whom                               to    transfer
                                                                                                                                                        it
                                                                                                                                                              proposes
           any    interest      in    the    Class           Notes       of the          transfer          restrictions        and                                    set   forth         in the
                                                                                                                                      representations

           Indenture       including          the exhibits          referenced             in the          Indenture



                                       The        purchaser        understands                 that   the        Indenture      permits the                 Issuer     to   compel          any
           Holder      of the        Class               Notes    who     is    determined                 not to       have    been                   Qualified            Institutional

           Buyer and                   Qualified           Purchaser           at   the    time of acquisition                   of the Class                   Notes       to     sell    such
           Class        Notes         or to       sell    such    Class         Notes           on    behalf of such                                   to      Person        that          both
                                                                                                                                purchaser                                             is


                   Qualified Institutional                   Buyer and                     Qualified Purchaser                              transaction
                                                                                                                                     in
                                                                                                                                                                     exempt from             the

           registration      requirements                 under    the    Securities            Act


                        10             The        purchaser acknowledges                         that       no    action   was taken              or    is    being contemplated
           by    the   Issuer        that   would permit                  public          offering          of the       Class             Notes The             purchaser            further

           acknowledges              that    no     action       was taken          or    is    being contemplated                   by    the    Issuer        that    would permit
           possession or distribution                      of the Offering            Memorandum                    or   any    amendment thereof                      or   supplement
           thereto     or any         other       offering        material          relating          to    the    Securities         in                                     other         than
                                                                                                                                            any    jurisdiction


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         Ireland          where          or in      any        circumstances                  in       which             action         for those          purposes             is   required                  Nothing
         contained          in the          offering           memorandum relating                                  to    the         Class          Notes         shall       constitute                 an    offer          to

         sell   or         solicitation             of an          offer         to    purchase                          Class                Notes     in                jurisdiction                    where           it    is
                                                                                                              any                                                 any
         unlawful          to    do    so    absent the taking                        of such          action        or the availability                     of an exemption                         therefrom



                      11                 The purchaser understands                                      that        in    the       case      of any        supplemental                      indenture              to    the

         Indenture          that       requires           consent            of        one      or       more Holders                        of the     Class                  Notes                the    Indenture

         permits the Amendment                            Buy-Out Purchaser                              to       purchase             Class          Notes         from any               Non-Consenting
         Holder      thereof           at    the     applicable              Amendment Buy-Out                                      Purchase          Price         and        such        Non-Consenting
         Holder      will        be required              to    sell    such           Class             Notes            to    the     Amendment                  Buy-Out Purchaser                            at    such

         price



                      12                 The       purchaser                understands                      that    the         Stated         Maturity             of the           Class                    Notes            is


         subject      to    multiple           extensions               of four                          each        without              consent       of any            Holders              of Securities                    at
                                                                                            years

         the    option of the Issuer                      if   directed            by the Servicer                        upon         satisfaction           of certain             conditions


                      13                    The      purchaser              will        not        at    any         time             offer    to    buy      or     offer          to     sell      the       Class

         Notes       by any             form         of general                  solicitation                or     advertising                 including                but     not           limited          to        any
         advertisement                  article          notice        or    other          communication                           published          in     anynewspaper magazine or
         similar     medium              or    broadcast over television                                 or radio              or     seminar or           meeting whose attendees have

         been     invited         by general             solicitations                 or    advertising



                      14                 The       beneficial           owner            will      agree            to treat           for    U.S      federal           income            tax       purposes
         the    Preference             Shares           as equity           of the Issuer                                the    Notes         as indebtedness                   of the Issuer                   and

         the Issuer         as         partnership              except            to the extent                   the Issuer            can    no longer be               treated              as     partnership

         as       result        of any         election                 the           Issuer changes                       in    ownership             of the Issuer                     or     changes              in the
                                                                   by
         manner       in    which            the equity            of the Issuer                  is    traded                The      beneficial           owner         will       be        deemed           to    have

         acknowledged                   that       the    Issuer            is    not       authorized                   to                     in    activities              that       could            cause       it        to
                                                                                                                                engage
         constitute               finance          or    lending            business for                     U.S         federal          income        tax       purposes                and       agrees        that           it



         will report            its   investment               in the       Notes        consistent                 with such              limitation




                      15                 The       beneficial               owner            if    not              U.S Person                  either               is   not             bank within                      the

         meaning           of Section              881c3A                          of the          Code             as        defined         below          in    paragraph                  23          or   ii         is


         person       that        is     eligible          for       benefits            under               an     income              tax    treaty         with        the        United               States          that

         eliminates             United         States         federal        income               taxation           of Unites                States       source interest not attributable

         to      permanent               establishment                  in the          United               States             The       beneficial          owner            is    not        purchasing                 the

         Class            Notes        in order          to    reduce            its   United           States           federal          income        tax       liability          or    pursuant to                         tax

         avoidance          plan



                      16                 To       the    extent         required              as        determined                    by the Issuer           or        the    Servicer              on behalf of
         the                     the                                                                                                         and     the      Indenture
                Issuer                      Issuer       may           upon            notice           to     the       Trustee                                                         Registrar              impose

         additional              transfer          restrictions                  on      the           Class                    Notes          to     comply              with            the        Uniting              and

         Strengthening                 America                by     Providing                                                  Tools         Required             to     Intercept                 and        Obstruct
                                                                                             Appropriate
         Terrorism Act                  of 2001            the U.S                 Patriot         Act             and        other       similar       laws         or       regulations                  including

         without          limitation              requiring            each           transferee              of          Class               Note      to    make            representations                        to        the

         Issuer      in   connection               with such            compliance



                      17                 The         purchaser              agrees           not         to       cause          the      filing       of           petition              in    bankruptcy                      or

         winding          up     against          the Issuer            before one                year and               one        day    have       elapsed           since        the       payment               in    full


         of the Notes             or     if   longer           the     applicable             preference period                           in effect




                      18                 The purchaser                  is       not        member of                    the public            in the      Cayman              Islands



                      19                 The       beneficial               owner           will
                                                                                                       agree         to       treat    the     Class              Notes        as     unconditional                       debt

         of the Issuer             for      tax accounting                  and        financial              reporting               purposes




                                                                                                       158
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                        20                 The        purchaser understands                                that        prior to              any        sale       or other            transfer             of any         interest

        in    Class               Notes               or     the       transferee           as                                     will       be                            to                         to    the       Issuer     and
                                                it
                                                                                                     applicable                                        required                   provide
        the    Trustee              duly executed                       transfer         certificate                                                in    the      form          provided               in       the    Indenture
                                                                                                                  substantially

        and       such       other        certificates                 and    other       information as they                                                                                                     confirm
                                                                                                                                              may         reasonably                   require              to                    that

        the       proposed            transfer              complies              with      the        restrictions                     in        the                                            on each               certificate
                                                                                                                                                          legend            placed
        representing                the    Class                 Notes        and       in the       Indenture



                        21                 The        purchaser understands                                that        to the           extent           required as determined                                       by   the    Co
        Issuers             the     Co-Issuers                   may amend                 the         Indenture                   and            with        respect             to        the        Issuer           only       the

        Preference                Share      Documents                       without        the        consent               of any               Holders              of the          Securities                 and      without

        regard          to    whether            or     not        such        amendment                    adversely                   affects           the       interest           of the               Holders           of the
        Securities            to           remove any                   restrictions             and        limitations                 imposed               on       the       Co-Issuers                 or the         Holders
        of     the      Securities                   that     solely           relate       to         compliance                       with            Section              3c7                  and            ii     add       any
        requirements                 that        are                               for     compliance                       with        Rule            3a-7        if      at               time                                  the
                                                            necessary                                                                                                             any                        following
        Closing              Date         the        Co-Issuers               elect        to    rely            on     exclusion                   from           the       definition                 of        investment
        company               under         Rule        3a-7 in lieu of the exclusion                                       under           Section            3c7
                        22                 The         purchaser                  understands                    that        the        Issuer               may         enter          into           amendments                     or

        modifications                 to    the        Servicing              Agreement                    without            the       consent               of any             Holders              of the           Securities

        and       without           regard             to    whether              or     not         such        amendment                                                  affects              the        interest        of the
                                                                                                                                                   adversely
        Holders             of the Securities


                        23                 The purchaser understands and                                              agrees        that          no     purchase                or transfer                of the Class

        Notes                to       purchaser                         transferee          that           has                                                                   Benefit Plan Investor
                                                                  or                                                  represented                   that      it    is                                                             as
        defined         in    Section            342          of the Employee                        Retirement                    Income               Security            Act of 1974                      ERISA                    or

             Controlling              Person            as         defined           under           the     Indenture                      will        be     effective                and        the           Issuer     or     the

        Indenture             Registrar              will        not recognize                  or                          such        purchase                  or   transfer              if    such                               or
                                                                                                      register                                                                                                    purchase
        transfer            would     result           in    Benefit Plan Investors                              owning 25%                         or more of the aggregate outstanding

        amount of Class                               Notes            determined               pursuant                to    Section               342             of      ERISA                29         C.F.R Section
        25 10.3-101 and                    the       Indenture               or   ii      will       be permitted                      if    such        purchase                or transfer                will result           in

        prohibited            transaction               under           Section 406 of                     ERISA             or    Section 4975 of the Internal                                             Revenue            Code
        of 1986             the    Code                or         in    the    case of               governmental                        foreign              or   church          plan                violation            of any

        substantially               similar            federal               state       foreign            or        local        law              The           purchaser                 or    transferee                further

        understands                and                       that              transfer          in violation                     of the applicable                                                    of the Indenture
                                           agrees                       any                                                                                                 provisions
        will      be    null       and     void         ab        initio          For purposes                   of the            determination                       described                 in clause                    of the

        preceding             sentence                the    Class                Notes         held by               the     Trustee               the       Servicer                           of their respective
                                                                                                                                                                                       any
        affiliates           as     defined             in       29     C.F.R Section                       2510.3-10103                                     and                  other                                          have
                                                                                                                                                                       any                        persons that
        represented                that     they            are       Controlling               Persons               will        be        disregarded                  and       will           not        be        treated        as

        outstanding                unless            such         person           is    also              Benefit            Plan            Investor                 The        purchasers                      acquisition
        holding             and     disposition                  of the        Class                 Notes            will        not       result           in                                   transaction                 under
                                                                                                                                                                       prohibited
        Section 406 of                   ERISA              or    Section 4975 of the Code                                    or         in       the    case          of        governmental                          foreign     or

        church                        violation
                        plan                                  of       any     substantially                 similar              federal               state       foreign            or    local           law           because
        such purchase                                       and                                                                                                        become
                                         holding                       disposition          either                     is    not and               will not
                                                                                                                                                                                             subject             to    such      laws
        or             is    covered         by an            exemption                 from         all                                                                                              all    conditions            of
                                                                                                            applicable                  prohibited                  transactions

        which          are    and    will        be been               satisfied        throughout                its       holding               and                                  of such              Class           Notes
                                                                                                                                                          disposition
        The       purchaser and                  any fiduciary                    or other           Person            causing                    to acquire                the   Class                 Notes                         to
                                                                                                                                             it
                                                                                                                                                                                                                        agree
        the    fullest extent               permissible                  under          applicable               law         to                               and      hold harmless the Issuer the
                                                                                                                                   indemnify
        Co-Issuer             the     Trustee                the        Servicer           the                        Purchaser                    the       Preference                 Shares
                                                                                                     Initial                                                                                                Paying          Agent
        and       their respective                    Affiliates             from                                                                 loss       incurred                   them
                                                                                         any     cost            damage                 or                                        by                    as            result     of
        breach         of the representations                            set forth         in    this       paragraph                   23          and       paragraph                24              If    the       purchaser
        is   an    insurance              company                 investing             through            its   general            account                  as    defined             in   PTCE                 95-60      for    so

        long as         it    holds the Class                           Notes such purchaser                                                             that      the                                  of the assets of
                                                                                                                             represents                                     percentage
        such       insurance                                                      account                                                                                                                         ERISA
                                         company                  general                            that        may be             treated              as       plan assets                     under                           and
        the    Code          will    always remain                      below           25% as             determined                   pursuant              to       ERISA           and        the       Code



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                           24                           The         funds         that          the    purchaser                  is    using           or     will        use        to    purchase            the     Class

         Notes         are_                  are       not_            check           one            assets          of         person            who        is   or      at    any       time while the Class

         Notes         are      held by the purchaser will be                                                    an employee                       benefit           plan          as      defined         in   Section          33
         of    ERISA              that       is    subject           to Title               of    ERISA                               plan              described in Section                         4975e                   of the

         Code         that      is     subject          to    Section 4975 of the Code                                       or              an entity               whose underlying                       assets       include


         plan         assets            of either             of the foregoing                         by reason of the investment                                          by an           employee             benefit         plan
         or    other        plan in the entity                           within the                  meaning of Section                             342              of    ERISA             or    29      C.F.R Section
         25 10.3-101                 the          plans        and         persons described                                in    clauses                                  and                 being       referred           to    as

         Benefit Plan Investors


                                                        The         purchaser               is_                  is    not_                 check            one          the      Issuer the              Co-Issuer               the

         Servicer                             other                                             than         Benefit Plan Investor                                    that       has discretionary
                             or      any                     person other                                                                                                                                              authority

         or control             with respect                  to the assets                 of the Issuer                   or         person           who          provides investment                         advice for

         fee     direct or                  indirect           with respect                     to    the        assets           of the Issuer or                                    affiliate            as      defined          in
                                                                                                                                                                           any
         29    C.F.R              Section 25                 10.3-101f3                           of        any        such            person             any           such           person               Controlling
         Person

                           25                 The         purchaser                   agrees           to        provide               and          agrees            it        will       cause        any       subsequent
        transferee              of   its     Class                Notes          to    provide               the       Indenture                  Registrar                      appropriate               documentation

        required           under            the    Code             and      the       applicable                 Treasury                  regulations               establishing                 that     the       beneficial

        owner of             the       Class                 Notes         is    either               non-U.S                    person           e.g         an      IRS        Form            W-8BEN            or    an      iRS
        Form         W-8IMY                 with appropriate                          attachments                     or         U.S         person           e.g           an     IRS Form              W-9          and            if


        such     beneficial                 owner            is     treated           as         partnership S-corporation                                         or      grantor          trust for           U.S      federal

        income            tax     purposes                    written            representation                       from such               beneficial                owner           that            there     will      not be

        any     interests              in     such           beneficial               owner            where               substantially                  all      of the          value          of such          interest          is


        attributable              to    the       value of the Class                                 Notes        proposed                   to    be     transferred              to      such      beneficial          owner
        together           with the value                      of any            Class                Notes Holding                           Preference                   Shares          and     Preference               Shares

        already           held         by         such        beneficial                owner           and            ii         such            beneficial               owner            is    not           part     of        any

        arrangement                     principal                                     of which              is    to    cause the Class                              Notes            and      Preference             Shares        to
                                                               purpose
        be    treated           as     owned            by        100      persons or                  less       within               the     meaning               of Treasury                  Regulation             section


        1.7704-1h                      The        purchaser agrees                         to    provide                properly completed newly                                           executed         U.S        tax    form

        and     other        certificate                in   each         of the following                        circumstances                                 no    later        than        120      days      prior to         the

        expiration              if applicable                       of the       last       previously provided                               U.S            tax   form or certificate                          ii upon            any

        change            of circumstance                           that        would cause                      that        the        last       previously                   provided             U.S        tax     form        or

        certificate             to     be    incorrect               and        iii upon                     request              by        the    Issuer          or      the     Indenture             Registrar               The

        purchaser agrees that                            if    it    fails       to   provide                    properly completed newly                                          executed           U.S        tax    form        or

        other        certificate             no        later      than       120       days          prior       to    the        expiration                 of the         last      previously provided                        U.S
        tax    form          or        if    earlier           within            the       time        specified                 in                request            by        the     Issuer        or    the       Indenture
                                                                                                                                        any
        Registrar            which                shall      not be             less       than        30    days                the        Issuer        will       have          the      unconditional               right       to

                      such
                                                                                                                                                                                             person chosen
        cause                     purchaser              to       sell                and       all    Class                 Notes           to     the Issuer              or to                                           by     the
                                                                           any
        Issuer        or the         Issuers agent                    on such terms                     as the          Issuer          may choose                        For this purpose                      an IRS Form

        W-8IMY or                      any        successor                form         thereto              will          be     deemed                to    expire            upon        the      expiration             of any

        withholding                  statement or                   U.S         tax   forms associated                            with such IRS Form                              W-8IMY

                           26                 The         purchaser                   understands                     and        agrees that                  the       Issuer          will      not      recognize               any
        transfers          of Class                     Notes         if   the        proposed              transfer              will       cause the Issuer                      to      have      more than           ninety-

        nine         beneficial              owners               as       determined                  for
                                                                                                                  purposes                  of the           provisions                 of Treasury               Regulation
        section           1.7704-1h                     of     its    Class                 Notes           and        Preference                  Shares            unless        it      receives        the     consent          of

        all   of the Holders                      of the Preference Shares                                   and        an                          of counsel to the effect                              that    Holders           of
                                                                                                                                 opinion
        the    Notes            will     not recognize                     gain        or       loss    for       U.S            federal           income            tax        purposes           as       result       of such

        transfer           and         will       be    subject            to    U.S        federal              income               tax    on     the       same amounts                       in the         same manner
        and     at    the       same times               as       would have                been        the       case           if   such        transfer           had        not been          made


                           27                 The purchaser                       represents                that       it    has not acquired                        the        Class             Notes         pursuant to
        trade        on    an established                         securities            market               and                                                                                     Class             Notes        on
                                                                                                                           agrees that               it      will not           trade       any


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             an     established                 securities             market                  For        this        purpose               the     term        established                securities              market
             includes         any        national              securities          exchange                   registered               under       Section              of the          Securities            Exchange
             Act      of     1934            as     amended                 or     exempted                    from         registration                because          of       the     limited            volume               of

             transaction                any       foreign         securities                exchange                 that       under         the       laws     of the jurisdiction                        where        it       is


             organized                 satisfies         regulatory               requirements                       that       are        analogous            to    the      regulatory              requirements

             imposed           under          the        Securities           Exchange                   Act         of 1934                any     regional           or     local       exchange                and        any
             interdealer               quotation                            that       regularly               disseminates                  firm buy           or     sell                                   identified
                                                          system                                                                                                                  quotations           by
             brokers or dealers                        by electronic               means            or    otherwise                   The purchaser understands and                                    agrees that                in


             the     event        that        the      purchaser             acquires               or    trades            the       Class              Notes        on      an    established               securities

             market          as        described              above         the        Issuer        will        not       recognize                       transfers           of Class                 Notes           made
                                                                                                                                                   any

             pursuant         to       such       acquisition           or       trade



                              28                  The         purchaser            acknowledges                       that        the       Issuer the           Servicer               the     Initial       Purchaser

               and        others          will           rely     upon            the         truth            and                                 of    the         foregoing             acknowledgments
                                                                                                                           accuracy
               representations                  and       agreements               and        agrees that               if      any      of the acknowledgments                               representations                     or

               agreements               deemed            to    have         been        made            by     it   by      its     purchase            of the Class                   Notes          are    no    longer
               accurate           it    shall      promptly            notify          the    Issuer the Servicer                            and    the    Initial         Purchaser



  Transfer          Restrictions               Applicable               to    Preference                      Shares



               Each        initial       purchaser              of Preference                  Shares               acquiring               such    Preference               Shares        from         the    Issuer             in

  the    initial     offering           will      be     required            to    enter          into              Subscription                  Agreement             with        the    Issuer                                 to
                                                                                                                                                                                                            pursuant
  which      each     such        initial       purchaser              will       be    required               to represent                 and                and       each       subsequent                transferee
                                                                                                                                                   agree
  will   be required          to       represent          and         agree         on      its   own          behalf           as    follows terms used                      in    this      paragraph that are
  defined      in   Rule      144A           are used herein                  as    defined              therein


                                                  The         purchaser            is         Qualified                Institutional                Buyer and                is    aware        that        the     sale          of

               Preference               Shares            to     it    is    being            made             in     reliance              on     an      exemption                from        the         registration

               requirements               provided              by Section                  42      and        is    acquiring              the    Preference               Shares        for    its   own         account

               and        not for the account                     of any family or other                               trust           any family member                       or   any       other         person                In

               addition           the     purchaser has such knowledge                                          and                                in financial             and     business matters                     as to
                                                                                                                           experience
               be    capable            of evaluating                  the        merits          and         risks        of      its      investment           in     Preference              Shares             and        the

               purchaser           is    able       to   bear the economic                          risk       of    its    investment


                                                  The         purchaser understands that                                   the       Preference           Shares         are       being offered               only in
               transaction              not       involving                                                                      the        United        States        within          the                         of the
                                                                        any        public           offering               in                                                                   meaning
               Securities              Act     the       Preference Shares                     have            not been              and     will not      be        registered          under         the Securities

               Act        and      if    in    the       future        the    purchaser                  decides to                  offer resell              pledge or            otherwise               transfer          the

               Preference                Shares               such      Preference                  Shares                             be     offered           resold             pledged             or     otherwise
                                                                                                                       may
               transferred              only in accordance                        with the legend in respect                                 of such        Preference Shares                       set forth           in

               below         and         the        restrictions              set        forth           in     the        Preference               Share            Documents                      The       purchaser
               acknowledges                   that       no    representation                  is   made by                the       Issuer the Servicer                     or the       Initial       Purchaser or
                      of their respective                       Affiliates              as to       the                                    of any                              under          the   Securities               Act
               any                                                                                             availability                             exemption
               or other        applicable                laws of any jurisdiction                              for resale              of the Preference Shares



                                                  The         purchaser            agrees that                 it    will       not offer           or    sell       transfer           assign         or     otherwise

               dispose of the Preference Shares                                        or     any        interest          therein          except              pursuant to an                  exemption               from
               or    in       transaction                 not     subject              to     the        registration                requirements               of the            Securities           Act        and        any
               applicable               state       securities              laws         or       the         applicable               laws        of     any        other        jurisdiction               and        ii in
               accordance               with the Preference                            Share        Documents                     to     which                                the
                                                                                                                                                        provisions                  purchaser               agrees
                                                                                                                                                                                                                             it   is


               subject



                                                  The         purchaser           is    not purchasing                       the       Preference           Shares           with          view        to    the    resale
               distribution              or       other         disposition                 thereof            in     violation              of     the     Securities              Act             The       purchaser
               understands               that       the       Preference               Shares        will        be    highly              illiquid      and     are       not suitable             for      short-term

               trading          The Preference Shares                               are           leveraged                investment              in    the    Collateral           Obligations that                    may

                                                                                                               161
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                        the      Preference              Shares          to                                                                                   in     value                                    in respect
         expose                                                                   disproportionately                        large        changes                                      Payments
         of the        Preference               Shares            are     not       guaranteed               as    they are                                          on     the                                      of the
                                                                                                                                          dependent                                   performance
         Issuers portfolio                   of Collateral                                             The
                                                                           Obligations                            purchaser understands that                                     it   is    possible           that due
         to    the     structure             of the          transaction             and        the        performance                   of the           Issuers portfolio                          of Collateral

                                   dividends                                                                                      of the Preference                            Shares                     be    reduced
         Obligations                                     or       other       distributions                in respect                                                                         may
         or    eliminated entirely                       Furthermore                      the       Preference              Shares         constitute                equity       in       the      Issuer are not
         secured           by    the    Collateral                and     will      rank behind                  all   creditors               secured               and       unsecured              and       whether

         known         or    unknown               of the Issuer including                                 without           limitation             the        Holders           of the Notes and                          any
         Hedge         Counterparties                    The           Issuer       has assets              limited          to     the        Collateral             for
                                                                                                                                                                               payment of                 all   Classes

         of the Notes              and       dividends                 and    other           distributions             on     the        Preference                 Shares            and         the    Preference

         Shares        bear        pro rata             the        first     risk    of loss The                  purchaser                understands that                       an        investment               in the

         Preference             Shares          involves           certain          risks                              the risk           of loss of               all    or      substantial                         of    its
                                                                                                    including                                                                                                 part

         investment                The       purchaser has had                       access           to    such       financial              and     other          information concerning                                the

         Issuer the Preference                          Shares          and        the    Collateral              as   it    deemed             necessary or appropriate                                  in    order to

         make         an    informed              investment                  decision              with     respect           to        its    purchase                 of the        Preference               Shares

         including            an      opportunity                 to    ask        questions           of and           request               information                  from         the        Issuer       and        the

         Initial      Purchaser



                                           In    connection                  with        the        purchase           of Preference                      Shares            provided                 that       no such
         representation                is    made with                 respect       to       the    Servicer           by any            Affiliate            of or account                     serviced            by the
         Servicer                     none       of the Co-Issuers                        the       Trustee            the    Initial          Purchaser                          Hedge             Counterparty
                                                                                                                                                                          any
         the     Preference                Shares        Paying               Agent            or    the     Servicer               is    acting          as             fiduciary             or        financial              or

         investment              adviser         for the           purchaser              ii the                                  is   not relying                 for purposes                    of making
                                                                                                           purchaser                                                                                                       any
         investment              decision          or    otherwise                                                      counsel or representations                                    whether                 written
                                                                                   upon any advice                                                                                                                              or

         oral of the Co-Issuers                          the       Trustee           the       Initial      Purchaser                  any Hedge                   Counterparty                    the    Preference

         Shares Paying                                                                         any of their respective
                                       Agent        or the          Servicer             or                                                     Affiliates               other        than in the Offering

         Memorandum                    for      such     Preference                 Shares           and     any       representations                        expressly           set forth              in      written

         agreement              with        such        party           iii none               of the       Co-Issuers                   the     Trustee                 the    Initial          Purchaser                 any
         Hedge          Counterparty                    the        Preference                  Shares            Paying           Agent             or        the        Servicer           or       any        of     their

         respective             Affiliates         has given to the purchaser directly                                              or     indirectly               through                    other          Person            or
                                                                                                                                                                                      any
         documentation                  for the         Preference                 Shares any                assurance                 guarantee                or representation                        whatsoever

         as     to     the       expected               or        projected              success             profitability                     return              performance                      result           effect

                                      or     benefit          including              legal regulatory                        tax                                                            or      otherwise               of
         consequence                                                                                                                     financial              accounting
         the    Preference              Shares           or       an    investment                  therein            iv      the        purchaser                 has     consulted                with       its        own
         legal regulatory                    tax        business              investment               financial             and         accounting                 advisors           to    the      extent          it   has

         deemed            necessary             and         it   has made               its   own         investment               decisions                 including               decisions               regarding
         the                           of any
                suitability                         transaction                   pursuant to the documentation                                       for the            Preference                 Shares based
         upon        its   own        judgment           and           upon any advice from such                                    advisors             as     it   has        deemed              necessary and
         not     upon any              view        expressed                 by     the       Co-Issuers               the     Trustee              the        Initial          Purchaser                 any      Hedge
         Counterparty                  the       Preference                Shares             Paying        Agent            or     the        Servicer              or               of      their        respective
                                                                                                                                                                            any
         Affiliates                    the      purchaser               has determined                     that    the       rates         prices         or       amounts             and         other       terms of
         the     purchase              and       sale        of    the        Preference               Shares           reflect           those          in        relevant           market             for     similar

         transactions              vi        the    purchaser                 is   purchasing               the     Preference                  Shares             with          full       understanding                   of

         all    of    the       terms           conditions              and        risks        thereof           economic                 and        otherwise and                           it    is    capable           of

         assuming            and       willing      to       assume           financially                  and    otherwise                   those       risks           and     vii         the     purchaser                 is


              sophisticated             investor



                                                   The            purchaser              is                 Qualified               Institutional                   Buyer and                                 Qualified
         Purchaser                      the      purchaser              is    acquiring              the    Preference                 Shares            as principal                 for     its    own        account

         for    investment              and      not for sale in connection                                 with any           distribution                   thereof                   the        purchaser               was
         not     formed                          for     the                             of                            in    the         Preference                  Shares                              when          each
                                   solely                              purpose                  investing                                                                             except
         beneficial             owner of           the       purchaser              is         Qualified Purchaser                                       to     the       extent        the         purchaser              is


         private           investment              company                 formed              before        April           30          1996         the          purchaser               has       received              the

         necessary consent                      from         its   beneficial              owners                      the    purchaser                  is   not          broker-dealer                    that      owns
         and     invests         on         discretionary                basis       less       than       $25000000                     in     securities               of unaffiliated                 issuers



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                                                                                                                                                            plan in which the
        the    purchaser         is   not        pension          profit-sharing              or    other       retirement           trust   fund    or

                        beneficiaries                                                                                                                          investment                be
        partners                                 or   participants              or    affiliates     may         designate           the    particular                              to

        made              the    purchaser agrees                 that    it    shall    not hold such Preference                          Shares    for the       benefit         of any

        other    Person         and     shall    be     the    sole      beneficial           owner           thereof       for    all                   and     that        shall       not
                                                                                                                                         purposes                       it



        sell    participation           interests       in the     Preference              Shares         or enter          into           other
                                                                                                                                    any             arrangement              pursuant
        to     which     any     other         Person       shall     be        entitled      to          beneficial          interest       in    the    dividends           or    other

        distributions           on    the      Preference         Shares          except           when        each         such    other     Person        is               Qualified
        Institutional          Buyer and                      Qualified Purchaser                        and            the       purchaser understands                 and        agrees
        that    any    purported             transfer      of the Preference                Shares        to         purchaser that does                 not comply with the

        requirements            of    this    paragraph shall be null and                       void ab          initio




                                      The      purchaser understands                     that      the    Preference Shares                         will    be   represented by
        either    one     or    more Preference Share                          certificates         which            will    bear the        legend       substantially            in the

        form     set    forth    below          unless      the    Issuer         determines             otherwise           in    accordance            with applicable             law
        and            may     only be resold pledged                          or transferred            to    Qualified           Institutional         Buyers     who       are    also

        Qualified        Purchasers                The        purchaser              understands              that    before        the     Preference           Shares       may        be

        offered        resold         pledged         or   otherwise            transferred              the    transferee          will    be    required to           provide          the

        Preference        Shares         Paying         Agent and              the Issuer       with            written       certification         as to      compliance            with

        the    transfer    restrictions



         THE PREFERENCE SHARES REPRESENTED         HEREBY HAVE NOT BEEN AND WILL
  NOT   BE REGISTERED    UNDER THE UNITED STATES SECURITIES ACT OF 1933 AS
  AMENDED THE SECURITIES                                      ACT
                                       AND THE ISSUER HAS NOT BEEN REGISTERED
  UNDER THE UNITED STATES INVESTMENT COMPANY ACT OF 1940 AS AMENDED THE
  INVESTMENT COMPANY                                  ACT
                                    THE PREFERENCE SHARES REPRESENTED             HEREBY
  HAVE NOT BEEN OFFERED SOLD PLEDGED OR OTHERWISE TRANSFERRED                 EXCEPT
  TO      PERSON   WHOM THE SELLER REASONABLY BELIEVES IS                     QUALIFIED
  INSTITUTIONAL   BUYER QUALIFIED INSTITUTIONAL BUYER WITHIN THE MEANING
  OF RULE 144A UNDER THE SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT TN
  TRANSACTION     MEETING THE REQUIREMENTS         OF RULE     144A   SO LONG AS THE
  PREFERENCE SHARES ARE ELIGIBLE FOR RESALE IN ACCORDANCE WITH RULE 144A
  WHO IS ALSO       QUALIFIED   PURCHASER    QUALIFIED PURCHASER             WITHIN   THE
  MEANING OF SECTION 3c7 OF THE INVESTMENT COMPANY ACT THAT WAS NOT
  FORMED FOR THE PURPOSE OF INVESTING           TN THE   ISSUER EXCEPT WHEN EACH
  BENEFICIAL OWNER OF THE PURCHASER       IS     QUALIFIED PURCHASER AND THAT
  HAS RECEIVED THE NECESSARY CONSENT FROM ITS BENEFICIAL OWNERS WHEN THE
  PURCHASER    IS  PRIVATE  INVESTMENT COMPANY FORMEDON OR BEFORE APRIL 30
   1996    IS NOT   BROKER-DEALER THAT OWNS AND INVESTS ON               DISCRETIONARY
  BASIS LESS THAN $25000000 IN SECURITIES OF UNAFFILIATED ISSUERS AND            IS NOT

  PENSION PROFIT-SHARING     OR OTHER RETIREMENT TRUST FUND OR PLAN IN WHICH
  THE PARTNERS BENEFICIARIES OR PARTICIPANTS        OR AFFILIATES MAY DESIGNATE THE
  PARTICULAR INVESTMENT TO BE MADE           IN EACH CASE IN       NUMBER OF NOT LESS
  THAN 100 PREFERENCE SHARES FOR THE PURCHASER AND                IN ACCORDANCE WITH
  ALL APPLICABLE SECURITIES LAWS OF ANY STATE OF THE UNITED STATES AND ANY
  OTHER APPLICABLE JURISDICTION      EACH TRANSFEROR       OF THE PREFERENCE SHARES
  REPRESENTED HEREBY OR ANY BENEFICIAL INTEREST THEREIN WILL PROVIDE NOTICE
  OF THE TRANSFER    RESTRICTIONS   AS SET FORTH HEREIN TO ITS PURCHASER             EACH
  PURCHASER OF THE PREFERENCE SHARES REPRESENTED HEREBY WILL BE REQUIRED
  TO MAKE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS                SET FORTH IN THE
  PREFERENCE SHARE DOCUMENTS         THE PREFERENCE SHARES REPRESENTED            HEREBY
  MAY BE PURCHASED       BY OR TRANSFERRED        TO     BENEFIT    PLAN INVESTOR OR
  CONTROLLING PERSON EACH AS DEFINED IN THE PREFERENCE SHARE DOCUMENTS
  ONLY UPON THE SATISFACTION         OF CERTAIN CONDITIONS          SET FORTH     IN  THE
  PREFERENCE SHARE DOCUMENTS        ANY TRANSFER TN VIOLATION OF THE FOREGOING
  WILL BE OF NO FORCE AND EFFECT WILL BE VOID AB INITIO AND WILL NOT OPERATE


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   TO   TRANSFER   ANY   RIGHTS  TO   THE   TRANSFEREE   NOTWITHSTANDING   ANY
   INSTRUCTIONS  TO THE CONTRARY TO THE ISSUER THE PREFERENCE SHARES PAYING
   AGENT OR ANY INTERMEDIARY        IN ADDITION   TO THE FOREGOING THE ISSUER
   MAINTAINS   THE   RIGHT   TO RESELL    ANY   PREFERENCE SHARES   PREVIOUSLY
   TRANSFERRED    TO NON-PERMITTED    HOLDERS   OR NON-PERMITTED  BENEFIT PLAN
   INVESTORS  AS DEFINED IN THE PREFERENCE SHARE DOCUMENTS IN ACCORDANCE
   WITH AND SUBJECT TO THE TERMS OF THE PREFERENCE SHARE DOCUMENTS

         THE FAILURE TO PROVIDE THE ISSUER AND ANY PAYING AGENT WHENEVER
   REQUESTED BY THE ISSUER OR THE SERVICER ON BEHALF OF THE ISSUER WITH THE
   APPLICABLE U.S FEDERAL INCOME TAX CERTIFICATIONS GENERALLY AN INTERNAL
   REVENUE SERVICE FORM W-9 OR APPLICABLE SUCCESSOR FORM IN THE CASE OF
   PERSON THAT IS     UNITED STATES PERSON WITHIN THE MEANING OF SECTION
   7701A30 OF THE CODE OR AN APPROPRIATE INTERNAL REVENUE SERVICE FORM W-8
   OR APPLICABLE SUCCESSOR FORM IN THE CASE OF PERSON THAT IS NOT    UNITED
   STATES PERSON WITHIN    THE MEANING OF SECTION 770 1A30 OF THE CODE MAY
   RESULT IN THE IMPOSITION OF U.S FEDERAL WITHHOLDING FROM PAYMENTS  TO THE
   HOLDER IN RESPECT OF THE PREFERENCE SHARES REPRESENTED HEREBY

          THE PREFERENCE SHARES REPRESENTED      HEREBY MAY NOT BE ACQUIRED OR
   HELD BY      ANY EMPLOYEE BENEFIT PLAN WITHIN THE MEANING OF SECTION 33 OF
   THE EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974 AS AMENDED ERISA
   THAT IS SUBJECT TO TITLE        OF ERISA II ANY PLAN DESCRIBED BY SECTION
   4975e1    OF  THE INTERNAL  REVENUE  CODE OF 1986 AS AMENDED THE CODE THAT
   IS SUBJECT   TO SECTION 4975 OF THE CODE OR III ANY ENTITY WHOSE UNDERLYING
   ASSETS INCLUDE PLAN ASSETS OF ANY PLAN DESCRIBED IN         OR II BY REASON OF
      PLANS INVESTMENT IN SUCH ENTITY EACH OF          II AND III    BENEFIT PLAN
   INVESTOR EXCEPT IN ACCORDANCE WITH THE RESTRICTIONS           SET FORTH IN THE
   PREFERENCE SHARE DOCUMENTS

         EACH TRANSFEREE WILL BE REQUIRED TO DELIVER  TRANSFEREE CERTIFICATE
   IN   FORM PRESCRIBED IN THE PREFERENCE SHARE DOCUMENTS


                                       The purchaser                will     provide       notice       to    each       Person       to   whom         it
                                                                                                                                                             proposes          to   transfer


         any    interest        in   the        Preference         Shares of the transfer                restrictions           and    representations               set forth        in the

         Preference             Share            Documents             including           the        exhibits           referenced             in     the    Preference              Share

         Documents


                                       The           purchaser         understands             that     the    Preference              Share          Documents            permit          the

         Issuer      to   compel            any      Holder        of the Preference              Shares           who     is   determined             not to     have         been

         Qualified         Institutional               Buyer and                      Qualified          Purchaser              at    the       time of acquisition                   of the

         Preference            Shares           to   sell   such    Preference            Shares        or    to    sell   such       Preference             Shares       on    behalf         of

         such     purchaser                to        Person     that    is    both               Qualified            Institutional             Buyer and                       Qualified

         Purchaser             in     transaction            exempt from          the registration                 requirements             under      the    Securities            Act


                      10               The           purchaser acknowledges                     that    no     action      was taken              or   is    being contemplated

         by the Issuer              that    would permit                public       offering          of the Preference               Shares           The     purchaser further

         acknowledges                that       no    action    was taken         or      is   being contemplated                     by    the Issuer        that    would permit

         possession            or distribution              of the Offering           Memorandum                    or   any amendment                  thereof      or    supplement
         thereto      or       any    other          offering      material       relating        to     the       Securities         in             jurisdiction          other          than
                                                                                                                                            any
         Ireland          where        or       in   any    circumstances            in   which         action       for those         purposes          is   required              Nothing
         contained         in the          offering         memorandum relating                   to    the    Preference             Shares          shall   constitute            an offer

         to   sell   or        solicitation           of an offer to purchase                          Preference Shares                   in          jurisdiction            where           is
                                                                                                any                                             any                                       it



         unlawful         to    do so absent the taking                      of such action            or the availability                 of an exemption            therefrom




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                      11               The         purchaser understands                                that          in    the    case       of any            supplemental                         indenture              to        the

        Indenture          that       requires            consent            of one          or        more Holders                     of the Preference                             Shares              the     Indenture

        permits        the       Amendment Buy-Out                                    Purchaser                       to    purchase           Preference                       Shares            from            any           Non-

        Consenting            Holder           thereof           or        with respect                     to    any        Preference                 Shares        held by               Investors                 Corp                to

        purchase           the     Holding               Preference               Shares               from any                  Non-Consenting                       Holding                   Preference                      Share

        Holder        thereof            in    each         case         at     the     applicable                     Amendment Buy-Out                                  Purchase                   Price            and        such

                                         Holder            or                                                                    Preference Shares                        Holder                will      be
        Non-Consenting                                          Non-Consenting                          Holding                                                                                                  required to
        sell   such    Preference                  Shares        or     Holding              Preference                     Shares         as the         case may                be        to       the    Amendment
        Buy-Out Purchaser                      at    such price



                      12               The          purchaser                understands                    that           the    Scheduled                Preference                      Shares              Redemption
        Date     of the Preference                       Shares         is    subject         to       multiple              extensions              of four                          each           without           consent
                                                                                                                                                                      years
        of            Holders            of        Securities                    the                             of the            Issuer                 directed                         the        Servicer
               any                                                         at              option                                                   if                           by                                             upon
        satisfaction          of certain             conditions



                      13                The         purchaser                will     not         at    any           time        offer       to    buy         or    offer           to    sell       the       Preference

        Shares        by any           form          of general                 solicitation                     or    advertising                 including                but            not       limited               to any
        advertisement                  article          notice        or      other        communication                           published                                                                magazine                      or
                                                                                                                                                           in    any        newspaper
        similar       medium            or broadcast over television                                        or radio             or seminar or meeting whose attendees                                                           have

        been     invited         by general               solicitations               or   advertising



                      14               The         beneficial            owner          will       agree              to    treat       for   U.S         federal           income                tax      purposes
        the    Preference             Shares            as equity            of the Issuer                                 the    Notes       as        indebtedness                   of the             Issuer           and

        the Issuer         as         partnership               except           to the extent                    the Issuer            can        no    longer be treated                           as         partnership

        as      result       of any           election           by      the      Issuer changes                             in    ownership               of the Issuer                        or    changes               in        the

        manner        in    which        the equity              of the Issuer                    is    traded                  The     beneficial              owner            will       be       deemed                to    have

        acknowledged                   that        the     Issuer          is    not       authorized                      to     engage           in     activities              that          could           cause            it       to

        constitute               finance           or     lending            business for                   U.S            federal       income            tax        purposes                  and        agrees           that          it



        will report          its   investment               in   Preference Shares                               consistent             with such               limitation




                      15               The          beneficial               owner           if    not                U.S Person either                                    is    not             bank within                          the

        meaning         of       Section            881c3A                       of the            Code               as defined below                          in    paragraph                      23          or    ii            is

                      that       is    eligible            for     benefits             under               an        income            tax                      with            the        United               States              that
        person                                                                                                                                     treaty

        eliminates           United           States        federal             income            taxation                 of Unites          States        source interest                          not attributable

        to      permanent              establishment                    in      the    United               States                The    beneficial              owner                is    not purchasing                            the

        Preference           Shares           in    order to reduce                    its   United               States          federal          income            tax                             or
                                                                                                                                                                                liability                  pursuant to
        tax    avoidance           plan



                      16               To      the        extent        required              as       determined                   by the          Issuer           or    the        Servicer              on        behalf              of

        the                  the       Issuer                                    notice
               Issuer                                   may        upon                            to       the        Preference             Shares            Paying                Agent and                   the           Share

        Registrar           impose            additional              transfer             restrictions                    on     the    Preference                   Shares               to    comply with                          the

        Uniting        and       Strengthening                   America by Providing                                       Appropriate                  Tools            Required                to       Intercept                 and
        Obstruct        Terrorism                  Act      of 2001              the U.S                    Patriot              Act     and         other           similar           laws           or       regulations

        including             without               limitation                  requiring               each               transferee              of            Preference                       Share               to        make
        representations                to the Issuer               in    connection                with such                     compliance



                      17               The          purchaser                agrees          not        to        cause           the     filing          of              petition              in     bankruptcy                         or

                                               the        Issuer        before         one
        winding        up       against                                                           year and                 one     day     have          elapsed            since           the      payment                in       full


        of the Notes             or    if   longer          the applicable                    preference period in effect



                      18               The purchaser                     is     not        member of                       the    public       in the       Cayman                    Islands



                      19               The         purchaser understands                                that prior to any                          sale    or other               transfer             of any              interest

        in    Preference           Shares            it   or     the transferee                        as    applicable                 will       be     required               to    provide              to    the       Issuer

        and     the   Preference               Shares           Paying            Agent                 duly executed                      transfer             certificate                 substantially                       in    the

        form         provided           in     the         Preference                  Share            Documents                       and        such          other            certificates                   and            other


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         information as they                                                                                      confirm                                                                                                     with
                                                       may          reasonably             require          to                            that      the       proposed               transfer          complies
         the    restrictions                in the        legend placed on                       each       certificate                  representing                 the      Preference                  Shares        and     in

         the   Preference                Share Documents



                          20                The purchaser acknowledges                                      that         the Issuer                 has the right pursuant to Section                                            of

         the   Preference                Shares Paying Agency                              Agreement                     to    issue          additional             Preference Shares



                          21                The        purchaser understands                              that to the extent                             required as determined                                   by the       Co
         Issuers          the         Co-Issuers      may amend                                the       Indenture                  and         with          respect           to     the        Issuer           only         the

         Preference               Share          Documents without                             the       consent              of any           Holders              of the        Securities                 and        without

         regard        to        whether           or     not        such      amendment                   adversely                    affects          the        interest          of the          Holders            of the

         Securities              to         remove any                    restrictions           and       limitations                   imposed              on     the       Co-Issuers              or the          Holders

         of    the        Securities               that         solely         relate          to        compliance                      with           Section           3c7                   and        ii          add     any
         requirements                  that       are         necessary             for    compliance                     with           Rule           3a-7        if    at     any       time         following               the

         Closing            Date            the     Co-Issuers                elect        to       rely       on        exclusion                  from           the     definition                 of     investment

         company                 under       Rule         3a-7 in lieu of the exclusion                                   under           Section             3c7
                          22                The          purchaser              understands                    that           the        Issuer           may         enter            into          amendments                  or

         modifications to                        the     Servicing            Agreement                   without              the       consent              of any           Holders            of the          Securities

         and     without               regard            to    whether             or     not        such        amendment                         adversely              affects           the        interest          of     the

         Holders          of the Securities


                          23                The          purchaser              understands                    and            agrees           that       no         purchase               or        transfer           of     the

         Preference               Shares          to                  purchaser             or      transferee                that        has represented                       that       it    is        Benefit Plan

         Investor           as        defined          in      Section        342           of the Employee                             Retirement                  Income            Security             Act         of 1974

         as    amended                ERISA                    or         Controlling               Person          as        defined under                     the       Indenture               will      be effective

         and     the      Issuer         or the           Share           Registrar            will      not recognize                        or    register          such        purchase                 or transfer           if


         such     purchase                  or    transfer            would         result          in    Benefit Plan                        Investors             owning             25%            or    more of             the

         aggregate               outstanding                   amount           of        Class             Preference                        Shares           or     Class           II    Preference                   Shares

         determined pursuant                              to     Section            342          of      ERISA                29        C.F.R Section 2510.3-101                                           the     Indenture

         and     the      Preference                Share            Documents                  or    ii       will           be    permitted                 if    such        purchase              or    transfer           will

         result      in           prohibited                  transaction           under           Section              406 of ERISA                          or    Section           4975 of               the        Internal

         Revenue            Code            of 1986            the        Code             or         in the        case of                   governmental                      foreign          or    church            plan
         violation           of        any       substantially                 similar           federal             state              foreign           or        local       law             The        purchaser             or

         transferee               further          understands                  and         agrees             that           any        transfer              in     violation                 of     the        applicable

         provisions              of the Preference Share                             Documents                   will         be null and                void ab           initio           For purposes                     of the

         determination                  described               in    clause               of the preceding                         sentence              the       Preference                  Shares        held by the

         Trustee            the       Servicer                any     of their respective                      affiliates                as        defined           in    29     C.F.R Section 2510.3-

         10103                   and     any       other         persons            that       have       represented                    that       they       are        Controlling                 Persons           will    be

         disregarded                  and        will     not be             treated        as       outstanding                    unless           such          person         is       also            Benefit            Plan

         Investor           The         purchasers                   acquisition               holding           and           disposition                of the Preference                           Shares           will    not

         result      in          prohibited              transaction               under        Section 406 of                      ERISA                or   Section 4975 of the Code                                   or      in

         the case           of         governmental                       foreign         or   church            plan          any        violation                of substantially                   similar           federal

         state    foreign              or    local        law             because          such       purchase                 holding              and       disposition               either                    is   not and
         will    not        become                subject            to    such         laws        or              is    covered                  by    an        exemption               from         all       applicable

         prohibited               transactions                  all       conditions             of      which            are           and        will       be    been         satisfied             throughout               its



         holding          and         disposition               of such            Preference              Shares                  The        purchaser               and        any       fiduciary              or     Person

         causing            it    to     acquire               the        Preference             Shares             agree                to     the       fullest           extent              permissible                  under

         applicable               law        to        indemnify              and         hold        harmless                 the        Issuer              the     Co-Issuer                   the       Trustee             the

         Servicer           the        Initial      Purchaser                 the    Preference Shares                             Paying           Agent and                  their respective                    Affiliates

         from                cost        damage                or     loss    incurred              by them as                      result          of        breach           of the representations                           set
                  any
         forth       in     this       paragraph                 23          and     paragraph                 24                  If    the        purchaser              is     an       insurance               company
         investing               through           its
                                                              general         account            as      defined              in    PTCE                95-60         for        so     long          as     it    holds        the

         Preference               Shares               such         purchaser             represents                that           the    percentage                  of assets                 of such            insurance

         company             general             account              that
                                                                              may be             treated         as       plan            assets              under        ERISA                and     the       Code         will


         always remain                   below           25% as              determined               pursuant to                   ERISA               and    the       Code
                                                                                                         166
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                       24                       The        funds            that    the           purchaser                is    using           or     will       use to purchase                        the        Preference

        Shares         are_                  are     not_              check              one            assets            of              person            who         is    or    at       any         time        while            the

        Preference            Shares           are       held by the purchaser will be                                                      an employee                       benefit                           as    defined           in
                                                                                                                                                                                               plan
        Section             33         of      ERISA                 that      is        subject               to     Title                 of        ERISA                               plan                 described                in


        Section        4975e                   of the Code                  that        is   subject            to    Section 4975                          of the Code               or              an entity              whose
        underlying assets                     include           plan         assets                of either           of the foregoing                            by reason of the investment                                         by
        an     employee             benefit              plan    or     other            plan           in     the     entity              within            the        meaning            of Section                  342              of

        ERISA          or 29 C.F.R                  Section 25 10.3-101 or otherwise



                                                The purchaser                      is_                  is   not__ check                          one         the       Co-Issuer              the Servicer                  or       any
        other                                   than             Benefit Plan Investor                                     that       has discretionary                                                   or control              with
                    person other                                                                                                                                                authority

        respect        to    the    assets          of the Issuer                 or         person            who          provides                  investment               advice for                      fee     direct or
        indirect            with       respect            to    the        assets            of        the     Issuer            or                    affiliate                as        defined               in    29     C.F.R
                                                                                                                                           any
        Section        2510.3-10103                             of any         such person



                       25                The         purchaser                agrees               to        provide             and             agrees            it    will        cause            any            subsequent
        transferee           of    its   Preference                  Shares         to                              the     Share                                                                         documentation
                                                                                             provide                                        Registrar                         appropriate

        required           under         the    Code           and     the        applicable                                                                                                    that           the    beneficial
                                                                                                              Treasury                regulations                  establishing

        owner of            the    Preference                  Shares         to    be        transferred                  is    either                non-U.S                person           e.g             an     IRS Form
        W-8BEN              or     an IRS Form                   W-8IMY                  with appropriate                             attachments                       or      U.S        person               e.g         an IRS
        Form         W-9         and                if   such        beneficial               owner            is    treated               as         partnership S-corporation                                       or    grantor

        trust for          U.S      federal              income         tax        purposes                     written               representation                         from     such           beneficial              owner
        that          there        will not          be any          interests            in       such        beneficial                  owner where                                                    all    of the value
                                                                                                                                                                             substantially

        of such        interest          is    attributable             to    the        value of the Preference Shares                                                  proposed              to    be        transferred              to

        such        beneficial           owner            together           with the value of any                                    Class                  Notes Holding                      Preference                  Shares
        and     Preference Shares                                          held by such                                               owner and
                                                         already                                             beneficial                                         ii such              beneficial                 owner            is   not

             part     of any                                                                                         of which                          to    cause           the     Class                 Notes           and         the
                                    arrangement                        principal                  purpose                                        is



        Preference            Shares                 be                             owned                      100
                                               to          treated           as                         by                 persons or less within                                  the     meaning of Treasury
        Regulation               section        1.7704-1h                         The         purchaser                agrees               to        provide                properly           completed newly
        executed            U.S        tax     form        and        other         certificate                in    each          of the following                           circumstances                                no     later

        than 120            days    prior to             the expiration                   if applicable                          of the          last       previously provided                            U.S         tax       form

        or     certificate             ii upon                 any     change             of circumstance                              that           would cause                   that       the        last       previously
        provided            U.S        tax     form        or    certificate                 to    be        incorrect            and           iii upon                     request           by    the        Issuer          or     the

        Share        Registrar                 The        purchaser                                    that                                to
                                                                                  agrees                        if    it    fails                 provide                    properly completed                              newly
        executed            U.S     tax       form        or other           certificate                no     later        than 120                  days     prior to             the expiration                    of the          last


        previously provided                         U.S         tax    form            or         if   earlier         within               the        time specified                    in    any        request            by        the

        Issuer        or    the     Share           Registrar              which              shall           not     be         less       than         30     days               the     Issuer              will    have            the

        unconditional               right to             cause        such         purchaser to                     sell                   and        all    Preference              Shares               to    the    Issuer           or
                                                                                                                                any
        to      person chosen                  by the Issuer                 or the           Issuers agent on                             such        terms as the Issuer                    may choose For
        this    purpose an IRS Form                                  W-8IMY or                          any         successor form                          thereto            will       be deemed  to expire

        upon        the     expiration              of any            withholding                      statement                 or    U.S             tax    forms            associated                 with        such            IRS
        Form        W-8IMY


                       26                The         purchaser               understands                      and          agrees               that    the        Issuer           will       not        recognize                   any
        transfers           of Preference                  Shares            if    the       proposed                transfer               will        cause           the     Issuer          to        have        either

        exactly        one        beneficial              owner        or                more than                   ninety-nine                      beneficial              owners           as         determined                   for

        purposes            of the provisions                    of Treasury                                                    section                                         of             Class                 Notes            and
                                                                                                  Regulation                                          1.7704-1h                          its


        its    Preference           Shares           unless           in    the     case of clause                                    it   receives            the       consent           of       all   of the Holders

        of the Preference                     Shares           and    an opinion                   of counsel to the effect                                  that       Holders            of the Notes                    will       not

        recognize            gain or loss for                   U.S         federal               income            tax         purposes               as       result         of such              transfer               and        will

        be     subject       to    U.S         federal          income             tax       on        the     same amounts                            in    the        same manner and                          at    the       same
        times as would have                         been        the    case        if    such           transfer           had        not been               made




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                                 27               The        purchaser represents                        that        it   has not acquired                    the       Preference              Shares        pursuant
               to         trade       on     an     established                 securities             market              and      agrees           that    it   will     not trade             any        Preference

               Shares           on an        established                  securities          market                  For        this
                                                                                                                                         purpose             the    term        established                  securities

               market                includes
                                                        any        national       securities             exchange                registered            under            Section             of the           Securities


               Exchange Act of 1934                                 as   amended             or   exempted from                         registration              because        of the          limited       volume
               of transaction any                        foreign          securities           exchange               that        under        the     laws        of    the jurisdiction                   where        it    is


               organized                  satisfies          regulatory           requirements                     that      are        analogous            to     the       regulatory              requirements

               imposed               under        the    Securities              Exchange Act of 1934                                    any       regional         or     local         exchange             and        any
               interdealer                quotation           system that              regularly            disseminates                     firm buy or            sell      quotations              by     identified

               brokers or dealers                        by electronic                 means        or    otherwise                 The         purchaser understands                            and        agrees that
               in    the        event         that       the        purchaser           acquires              or      trades        the        Preference                Shares           on     an      established

               securities             market            as    described           above            the      Issuer          will        not recognize                          transfers           of Preference
                                                                                                                                                                        any
               Shares           made pursuant                  to    such       acquisition            or     trade



                                 28               The        purchaser           is_              is   not_               check          one         Highland            Financial             Partners            L.P        or

                         of    its    subsidiaries
               any



                                 29               The         purchaser           acknowledges                       that    the        Issuer the                Servicer           the       Initial       Purchaser

               and         others           will                                 the         truth        and                                  of      the        foregoing               acknowledgments
                                                        rely         upon                                                 accuracy

               representations                    and    agreements               and        agrees       that        if    any     of the acknowledgments                                 representations                    or

               agreements                  deemed             to    have        been     made            by     it    by     its    purchase                of the       Preference               Shares           are        no

               longer accurate                     it   shall       promptly           notify       the      Issuer the Servicer                        and       the    Initial         Purchaser



                                                             LISTING              AND GENERAL INFORMATION

                                 The        Is   suer    and        the     Co-Issuer             accept           responsibility               for     the        information contained                           in    this


   document              To    the     best      knowledge                and    belief       of the Issuer                 and     the       Co-Issuer             the       information contained                           in

   this    document             is   in    accordance                with the          facts      and        does         not omit anything                        likely      to    affect           the    import of

   such     information



                                 Application                 will     be made           to    list     the     Senior Notes                   on      the    ISE         However                there        can    be no

   assurance         that      any     admission               will       be granted           or      maintained                   In    connection               with the          listing          of the Senior

   Notes      on    the       ISE      this      Offering            Memorandum                    will       be      filed       with the Registrar                      of Companies                      of Ireland

   pursuant to the ISE Listing                           Rules           and     the   IFSRA Rules                          Prior       to    the     listing            legal       notice       relating          to the

   issue    of the        Senior Notes                  and        copies of the Issuer                       Charter            and      the       Certificate           of    Incorporation                  and       By
   laws of the Co-Issuer                     will       be deposited with AIB                          International                Financial               Services          Ltd and            at    the principal

   office     of the Issuer where                       copies thereof                 may     be obtained                   free       of charge            upon        request


                                 As long           as    any        of the Senior Notes                        are        Outstanding                and     listed       on    the       ISE         copies        of the

   Issuer     Charter           and        the    Certificate               of Incorporation                    and         By-laws             of the            Co-Issuer              the     Administration

   Agreement              the    Resolutions                  the        resolutions           of the          Board of             Directors               of    the    Co-Issuer               authorizing              the

   issuance         of    the        Senior        Notes            the     Indenture              the       Servicing              Agreement                     the    Collateral              Administration

   Agreement              the    Preference               Shares            Paying       Agency               Agreement                   any        Hedge         Agreement                and        the    Monthly
   Report      will      be     available          for       inspection           at   the     offices          of the Co-Issuers                       and        the    Irish      Paying            Agent        in the

   City     of Dublin where                   copies thereof                   may be obtained upon                           request           in    printed       form


                                 For fourteen                 days        following           the      date        of     listing        of the Senior Notes                        on     the    ISE        copies of
   the    Issuer     Charter           and       the    Certificate             of Incorporation                      and       By-laws              of the Co-Issuer                    the     Administration

   Agreement              the    Resolutions                  the        resolutions           of the Board of Directors                                    of the Co-Issuer                     authorizing              the

   issuance         of    the        Senior        Notes            the     Indenture               the       Servicing             Agreement                     the    Collateral              Administration

   Agreement             the    Preference               Shares          Paying Agency                   Agreement                  and       any Hedge             Agreement                  will    be available

   for    inspection           at the       principal              office       of the       Co-Issuers               and        the     Irish       Paying         Agent           in    the    City        of Dublin

   and     copies thereof              may be           obtained            upon request


                                 Copies           of    the        Issuer      Charter         and       the    Certificate                  of Incorporation                  and       By-laws            of the       Co
   Issuer      the       Administration                  Agreement                the    Resolutions                      the     resolutions               of the       Board of               Directors           of the

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  Co-Issuer                                     the     issuance            of the            Senior     Notes               the    Indenture              the
                       authorizing                                                                                                                                 Servicing            Agreement                 the

  Collateral           Administration                   Agreement                  the        Preference           Shares           Paying           Agency            Agreement                any         Hedge
  Agreement             and         the    Monthly               Report            prepared          by       the        Servicer          on        behalf         of     the        Issuer        containing
  information relating                    to    the     Collateral            will       be    available       for inspection                   so                               of the Securities
                                                                                                                                                      long as any                                                 are

  Outstanding            at    the    Corporate Trust Office                             of the Trustee



                                Each       of the Co-Issuers                                           that    as       of the date            of this Offering              Memorandum                       there
                                                                                   represents

  has been        no    material          adverse           change           in    its   financial       position             since      its   date        of incorporation                  Since      its      date

  of incorporation                   neither         the     Issuer         nor the           Co-Issuer        has           commenced                operations             other         than the Issuer

  purchasing            certain        Collateral            Obligations and                     selling      participation               interests              therein     pursuant           to          master

  participation             agreement            preparatory                to     the    offering          of the Securities                       and     no     annual reports               or    accounts
  have     been        prepared as of the date                         of   this    Offering        Memorandum


                                The       Co-Issuers                  are   not     involved           in     any       litigation         or       arbitration          proceedings                 including
         such      proceedings                 which         are                         or    threatened           of which              the       Co-Issuers                                  which
  any                                                                  pending                                                                                             are    aware                          may
  have     or   have          had within             the     last      twelve        12         months             significant            effect          on     the   financial           position         of the

  Co-Issuers



                                The       issuance           of the Securities                   was authorized                    and    approved               by the Board of Directors                         of

  the    Issuer        by     the    Resolutions                      The    issuance            of the       Senior           Notes       was authorized                   and approved                    by    the

  Board of        Directors           of the Co-Issuer by resolutions                                  passed           on    or before         the       Closing Date


                                Since          the    date       of    their       incorporation              no    financial            statements              of the Co-Issuers                   have     been

  prepared             The     Issuer      is    not required by                   Cayman           Islands         law to publish                   financial         statements              and    does not
  intend     to    publish any                 financial         statements                   The   Issuer         is   required          to    provide           written        confirmation               to    the

  Trustee         on    an     annual basis that                      no Event           of Default           or    other          matter that             is   required         to   be                    to    the
                                                                                                                                                                                           brought
  Trustees         attention          has occurred



                                                                              IDENTIFYING NUMBERS

                The         Senior Notes                sold      in    offshore              transactions          in       reliance          on    Regulation                  and       represented             by

  Regulation                  Global       Notes           have         been        accepted         for      clearance              under           the    Common               Codes         in     the     table

  below         The         table     also      lists      the    CUSIP Numbers                     and       the       International                Securities          Identification               Numbers
  ISIN




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                             Security                                              CUSIP                      Common Code                           ISIN


   Class   A-la      Notes
   Rule    144A     Global   Notes                                           389669       AA                        N/A                      US389669AA07

   Regulation           Global   Notes                                       G40763       AA                   027591256                     USG40763AA52


   Class   A-lb      Notes

   Rule    144A     Global   Notes                                           389669        AB                       N/A                      US389669AB89
   Regulation           Global   Notes                                       G40763        AB                  027591299                     USG40763AB36


   Class   A-2 Notes

   Rule    144A     Global   Notes                                           389669        AC                       N/A                      US389669AC62

   Regulation           Global    Notes                                      G40763        AC                  027591388                     USG40763AC19


   Class         Notes
   Rule    l44A Global       Notes                                           389669        AD                       N/A                      US389669AD46
   Regulation           Global    Notes                                      G40763        AD                  027591426                     USG40763AD91


   Class         Notes
   Rule 144A        Global      Notes                                         389669       AE                       N/A                      US389669AE29
   Regulation           Global    Notes                                      G40763        AE                  027591469                     USG40763AE74


   Class         Notes
   Certificated Class            Notes                                       389668        AA                       N/A                      US389668AA24


   Class         Preference Shares

   Certificated Preference              Shares                                389668       20                       N/A                       US3896682032



   Class    II   Preference Shares

   Certificated Preference              Shares                                389668       30                       N/A                       US3896683022




                                                                     LEGAL MATTERS

                  Certain    legal      matters    will   be passed        upon     for    the   Co-Issuers     and       the   Initial   Purchaser by Latham

         Watkins      LLP New             York     New York              Certain    matters       with respect       to    Cayman         Islands   corporate    law

   and     tax    law    will    be     passed     upon     for    the    Issuer    by Ogier George                 Town        Grand      Cayman KY1-1 108
   Cayman          Islands        Certain                matters    will     be    passed               for   the   Servicer       by     Orrick    Herrington
                                                 legal                                           upon
   Sutcliffe       LLP      Los Angeles California




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                                                                    GLOSSARY OF DEFINED TERMS

                    Accrued         Interest               On      Sale means               interest       accrued               on     Collateral             Obligation               at   the     time of sale

  or    other       disposition           to    the       extent        paid to        the       Issuer      as                  of the      sale       or    other                                               of the
                                                                                                                   part                                                    disposition              price

  Collateral             Obligation            after        deduction            of     any       amount           representing                    Accrued            Interest              Purchased              With
  Principal          of the Collateral                Obligation


                Accrued                 Interest           Purchased             With         Principal means                                interest          accrued           on     or    purchased             with

    Collateral             Obligation as part                    of the price          paid by the Issuer                        to acquire            the Collateral                                        less
                                                                                                                                                                                      Obligation                    any
  amount of              Interest       Proceeds                applied        as     Interest      Proceeds                 applied          by       the     Issuer       to    acquire           the       accrued
  interest      at   the    time of purchase                      and    ii     interest         accrued          on        Loan        that      constitutes           part          of the price            paid by
  the    Issuer       to    repurchase               and        terminate                                     sold          to                                Parties       to    finance           the       Issuers
                                                                                 participations                                   Pre-Closing

  pre-closing            acquisition           of such           Loan


                Act           means any                   request         demand              authorization                      direction             notice        consent                 waiver          or    other

  action       to   be     given    or    taken           by Noteholders               or     Holders         of Preference Shares                            under        the    Indenture              embodied
  in    and    evidenced           by     one        or     more instruments                     which may                  be    an    electronic             document                                       but not
                                                                                                                                                                                        including
  limited       to       in the    form        of e-mail            to    the    extent          permitted by applicable                               law     of substantially                    similar tenor

  signed by           Noteholders               or    Holders           of Preference               Shares         in       person or by agents duly appointed                                           in writing

  provided           that    no    signature               shall   be required              on    electronic            documents                  including            but not limited                      to in the
  form        of e-mail to the extent                       permitted by               law         Except          as otherwise                   expressly          provided                in   the    Indenture
  the    action       shall   become                effective       when         the    instruments               are       delivered             to    the    Trustee           which            instrument or

  instruments              may     be    delivered              through         the    Preference            Shares              Paying                        in the       case of the Holders                       of
                                                                                                                                               Agent
  the   Preference            Shares and                   if   expressly        required to the Issuer                               The    instruments              and         the       action       embodied
  in    them         are    referred           to    as     the    Act          of the           Noteholders                or    Holders              of Preference                  Shares         signing         the

  instruments



                Administrative Expense                                   Cap         means an amount on any Payment Date                                                   equal to the excess                      of


                                                    the    sum of 0.04%                 of the         Maximum Amount                              on    the     related          Determination                    Date

                plus       $150000              over



                               ii                   the    sum of         the    amounts            paid for Administrative                              Expenses             in the          twelve          months

                preceding           the    current              Payment Date


                Administrative Expenses                                       means amounts                due         or   accrued          representing


                                                    tax    preparation               filing      and      registration                fees   or                         and                  other       filing     and
                                                                                                                                                       expenses                   any
                registration             fees       owed         by the Co-Issuers                  or    Investors               Corp        including              all    filing           registration           and
                annual return              fees       payable to the Cayman                         Islands            government                 and    registered              office       fees


                               ii                   fees        indemnities            and        expenses             of        the    Trustee              including                all    amounts              under
                Section 6.7 of the Indenture the Administrator                                                     the      Preference Shares                     Paying Agent                     the       Holding
                Preference Shares                     Paying Agent                   the Collateral               Administrator and                      the Original                 Administrator



                               iii                  fees        indemnities and                                        of    the       Co-Issuers              and      Investors                             and     of
                                                                                                 expenses                                                                                         Corp
                accountants               agents and               counsel for each                of the Co-Issuers                     and       Investors          Corp


                               iv                   fees     and    expenses            of the Rating                  Agencies              in    connection               with         any      rating          of the
                Notes        owed         by        either        Co-Issuer           including            fees         and                             for     ongoing           surveillance                    credit
                                                                                                                                  expenses
                estimates          and     other           fees    owing        to    the    Rating Agencies



                                                    expenses            and     indemnities               but      not           Servicing             Fees      of     the       Servicer              if   payable
                under        the   Servicing               Agreement




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                              vi               fees       indemnities               and        expenses            for     third-party              loan        pricing         services             and

                accountants              and



                              vii              amounts          due    other        than indemnities                  to
                                                                                                                            any      other    Person        except            the    Servicer           if


                specifically             provided         for    in    the    Indenture                                  fees     or                       in    connection               with
                                                                                                     including                            expenses                                                   any
                Securities          Lending           Agreement


                Affected             Class             Any      Class of          Notes        that    as          result    of      the    occurrence            of          Tax Event              has
   received or will receive                    less    than the aggregate amount of principal                                   and       interest that         would otherwise have
   been   payable to           such       Class on        the Distribution                Date       related       to the       Due Period with                                to    which          such
                                                                                                                                                                respect

   Tax Event         occurs



                Affiliate            or   Affiliated means with                           respect      to      Person


                                               any     other     Person        who        directly       or indirectly               is    in control       of     or    controlled             by     or

                is   under     common               control     with     the      Person        or




                              ii               any     other     Person        who        is     director          officer      or     employee                  of the Person                         of

                any                            or                                   of the       Person         or              of any        Person        described                    clause
                       subsidiary                    parent      company                                                                                                            in


                above


   For the purposes               of this definition             control          of      Person       shall       mean     the                 direct       or indirect
                                                                                                                                     power


                                               to    vote     more than 50% of                    the       securities          having        ordinary          voting         power           for   the

                election       of directors            of the Person or



                                                     direct     the
                                               to                     corporate           management and                   corporate          policies          of the Person              whether

                by    contract           or   otherwise          this does              not    include       the     Servicing             Agreement             unless        it   is    amended
                expressly to provide                   those     services


   For    the                       of   this       definition         the    Administrator                  and     its    Affiliates         are       neither        Affiliates             of    nor
                 purpose
   Affiliated         with     the       Co-Issuers            and     the        Co-Issuers           are     neither          Affiliates          of     nor    Affiliated              with       the

   Administrator             or           of their Affiliates
                                  any



                Aggregate                Outstanding             Amount                 means when             used with respect                to    any       of the Notes              as    of any

   date   the    aggregate principal                   amount of such Notes                     on    that     date        When         used with respect                to    the

   Preference Shares                as   of any date            means        the   number of such Preference Shares Outstanding                                               on     such       date



                Except       as     otherwise          provided        herein



                                               the     Aggregate         Outstanding                 Amount          of the        Class A-i               Notes        at
                                                                                                                                                                              any        time       shall

                include                  Defaulted            Interest       in                  thereof        and        to     the      extent     not       included            in              such
                              any                                                  respect                                                                                                any
                Defaulted           Interest         accrued      interest         on    such     Defaulted           Interest



                              ii               the     Aggregate         Outstanding              Amount             of the       Class A-lb Notes                      at    any        time       shall

                include                  Defaulted            Interest       in respect          thereof        and        to     the      extent     not       included            in              such
                              any                                                                                                                                                         any
                Defaulted           Interest         accrued      interest         on    such     Defaulted           Interest



                              iii              the     Aggregate         Outstanding                 Amount           of the         Class A-2           Notes          at    any        time       shall

                include       any        Defaulted            Interest       in    respect       thereof        and        to     the      extent     not       included            in              such
                                                                                                                                                                                          any
                Defaulted           Interest         accrued      interest         on    such     Defaulted           Interest



                              iv               the     Aggregate          Outstanding                 Amount          of     the       Class             Notes      at        any        time       shall

                include       all    Class           Deferred         Interest attributed              thereto


                                               the     Aggregate          Outstanding                 Amount          of     the       Class             Notes      at        any        time       shall

                include       all    Class           Deferred         Interest attributed              thereto and


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                                   vi                the     Aggregate             Outstanding                     Amount             of the          Class            Notes            at    any         time        shall

                 include           all    Class             Deferred         Interest          attributed            thereto



                 Aggregate                     Principal           Balance              means when                   used with respect                     to    the    Pledged              Obligations                   the

  sum of     the        Principal              Balances        of     all    the   Pledged              Obligations                   When        used with respect                     to        portion            of the

  Pledged         Obligations                   the    term Aggregate                       Principal         Balance            means           the    sum of         the     Principal             Balances               of

  that   portion           of the Pledged                  Obligations



                 Aggregate                      Purchase              Price            Amount                 means              when            used      with         respect              to     the     Pledged

  Obligations                the     sum        of the Purchase                   Price        Amounts               of    all       the    Pledged        Obligations                       When         used        with

  respect        to        portion             of the Pledged                Obligations                 the       term Aggregate                     Purchase         Price        Amount                means            the

  sum of     the       Purchase             Price       Amounts             of that          portion      of the Pledged                    Obligations


                 Allocable                 Principal               Balance                  means         with        respect              to         Synthetic         Security              based         upon            or

  relating       to          senior        secured           index         providing            non-leveraged                    credit                          to         basket of credit                     default
                                                                                                                                                exposure

             referencing                       diversified                         of Reference                 Obligations                     with respect           to    which            the    principal              or
  swaps                                                              group
  notional        amount of                the       credit
                                                               exposure                to    any    single          Reference               Obligation does                  not    increase              over time

  the    portion           of      the     aggregate               Principal            Balance           of        such        Synthetic             Security         that        is    allocable              to    each

  Reference            Obligation comprising                           such        index           or    indices          based                                         the                             Balance             of
                                                                                                                                           upon       allocating                  Principal

  such    Synthetic                Security            among         such         Reference              Obligations in the                       same proportion                       as    each        Reference

  Obligation bears                   to the          aggregate Principal                     Balance          of such           Synthetic          Security


                 Amendment                       Buy-Out             Purchase                Price means                   the       purchase          price     payable by the                   Amendment
  Buy-Out Purchaser for Transaction                                         Securities             purchased          in    an Amendment                    Buy-Out                if   any        in   an amount

  equal     to          in    the     case of the Notes the Aggregate                                     Outstanding                  Amount           thereof                    accrued           and        unpaid
  interest       including               Deferred Interest                   if   any         as   of the date             of    purchase             payable to the Non-Consenting
  Holder         giving         effect          to   any amounts              paid to the Holder                     on such date                     pj any           unpaid Extension                     Bonus

  Payment             plus      in the         case of any Notes                  held or with respect                          to    any Notes           representing              Global           Notes
  beneficially             owned           by          CDS/TRS              Purchaser              the    applicable             CDS/TRS                Termination               Payment Amount                            if


  any      ii
          and                in the      case of the Preference Shares                                  and    the    Holding              Preference           Shares            an amount that
  when taken together                          with    all   payments             and        distributions            made            in   respect       of such Preference                       Shares         since

  or    Holding         Preference Shares                      as     applicable the Closing Date                                    and        any    amounts         payable               if   any      to the

  Non-Consenting                     Holder           or the       Non-Consenting                    Holding          Preference                 Share Holder                as    applicable on                     the

  next succeeding                  Payment Date                     would cause such Preference Shares                                           or    Holding         Preference Shares                         as

  applicable to have                      received           as     of the date              of purchase            thereof                 Preference Share Internal                             Rate     of

  Return or                Holding         Preference               Share Internal                 Rate       of Return as applicable of 12.0% assuming such

  purchase            date    was          Payment Date provided                                   however            that       in
                                                                                                                                       any      Amendment Buy-Out                            from         and    after

  the date       on     which            the    Non-Consenting                    Holders           of Preference Shares                         or the     Non-Consenting                        Holding
  Preference Share Holders                             have        received                 Preference Share                    Internal         Rate    of Return or                   Holding
  Preference Share Internal                            Rate        of Return as applicable equal to or in excess                                                 of 12.0%               the       Amendment
  Buy-Out Purchase                       Price        for    such Preference Shares                           or    Holding           Preference           Shares            as    applicable shall be
  zero



                 Amendment                           Buy-Out           Purchaser                    means            the        Servicer          or      any      of       its    Affiliates              acting           as

  principal           or     agent             provided             that     in    the        event       that       the        Servicer          elects        not     to                           Transaction
                                                                                                                                                                               purchase
  Securities           from        Holders            pursuant to Description                            of the SecuritiesAmendment                                     Buy-Out                    Amendment
  Buy-Out             Purchaser                  shall       mean          one     or        more        qualifying              purchasers              which            may           include           the        Initial


  Purchaser             the     Investors             Corp         Initial       Purchaser or any                    of their respective                   Affiliates                             as principal              or
                                                                                                                                                                                  acting

  agent designated                        by     the     Servicer            provided               however               none        of the          Servicer         the        Initial         Purchaser                the

  Investors           Corp           Initial         Purchaser         or                   of their respective                      Affiliates         shall      have                  duty        to    act       as     an
                                                                                 any                                                                                          any
  Amendment                  Buy-Out Purchaser


                 Applicable                    Discount            Rate            means           for
                                                                                                          purposes              of determining              the       CDS/TRS                Termination

  Payment Amount                         with    respect       to    any CDS/TRS                   Purchaser          in    connection with                 an Amendment                      Buy-Out                USD
  LIBOR-BBA                     as   defined           in    the    Annex         to the       2000 ISDA               Definitions                as   determined by the applicable



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   CDSITRS          Purchaser on the Business Day preceding                                 the date         of    purchase          of the applicable               Notes      from such

   CDS/TRS          Purchaser          in   connection       with    such Amendment                        Buy-Out


               Applicable               Note       Interest       Rate means                with respect              to the        Notes        of any Class             the    Note        Interest

   Rate    with respect          to    such       Class



               Applicable               Percentage             means       the    lesser         of the       Moodys                Priority      Category                              Rate       and
                                                                                                                                                                     Recovery
   the    SP       Priority      Category          Recovery         Rate    applicable            to the         Collateral          Obligation as specified                         in the tables

   below



   Moodys           Priority                                                                          Moodys              Priority Category
   Category                                                                                                        Recovery           Rate

   Synthetic        Securities                        In    the    case of

                                                                          Form-Approved                       Synthetic              Security          the       Moodys                      Priority

                                                      Category            Recovery               Rate            given         by     Moodys             to     the       Form-Approved
                                                         Synthetic        Security         at    the       time of approval                of the Form-Approved Synthetic

                                                         Security     by   Moodys                and

                                                      ii            any     other          Synthetic               Security           the        Moodys              Priority           Category

                                                      Recovery            Rate        given by             Moodys              to   the    Synthetic          Security          at   the     time of

                                                      acquisition          of the Synthetic                  Security

   Structured        Finance

   Obligations                                        The      Moodys Priority Category Recovery   Rate determined                                                           in      accordance

                                                      with     the Moodys Structured  Finance Obligation Recovery                                                          Rates            set forth

                                                      in    Schedule            to    the       Indenture           by reference            to    the type       of asset and                its   then

                                                      Moodys          Rating          or        with respect              to    assets      to   which        that    schedule              does not

                                                      apply on              case-by-case                   basis    in    connection             with the grant            of the relevant

                                                      Collateral          Obligation

   unsecured         DiP Loans and

   any Collateral          Obligations
   not covered           above    or    below.        As determined by Moodys                                on       case-by-case basis




   For    High-Yield             Bonds Moodys                 Senior        Secured             Loans and             Moodys               Non     Senior        Secured              Loans         the

   relevant        Moodys         Priority         Category         Recovery           Rate           is   the     rate    determined             pursuant           to   the        table    below

   based      on     the    number           of    rating     subcategories                difference              between           the    High-Yield               Bonds             or    Loans
   Moodys           Obligation Rating                and    its    Moodys         Default             Probability              Rating       for purposes              of clarification                if

   the    Moodys           Obligation             Rating      is    higher       than           the    Moodys              Default          Probability              Rating            the     rating

   subcategories           difference         will   be positive          and    if   it   is   lower negative




   Number           of   Moodys             Rating       Subcategories                                                          Moodys
           Difference Between the Moodys                                                        Moodys                         Non Senior
          Obligation Rating and the Moodys                                                       Senior                             Secured                   High-Yield
                   Default       Probability          Rating                           Secured              Loans                    Loans                       Bonds
                                       or    more                                                 60.0%                              45.0%                       40.0%
                                                                                                  50.0%                              42.5%                       35.0%
                                                                                                  45.0%                              40.0%                       30.0%
                                        -l                                                        40.0%                              30.0%                           15.0%
                                        -2                                                        30.0%                              15.0%                           10.0%
                                  -3   or less                                                    20.0%                              10.0%                           2.0%




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  If   no    Moodys           Priority          Category          Recovery            Rate          has    been        specifically          assigned with               respect         to         Loan

  pursuant        to the      above         table and           the    Loan     is        secured          DIP Loan             the    relevant           Moodys           Priority       Category

  Recovery        Rate       is   50.0%


                                                                                                                       SP Priority Category
              SP         Priority Category                                                                                      Recovery            Rate

  Secured       Loans        other       than                                                                                                55.0%
  Subordinated              Lien Loans or DIP

  Loans
  Senior Unsecured                 Loans                                                                                                     37.5%
  Second Lien Loans                                                                                                                          37.5%
  Subordinated              Lien Loans other               than                                                                              21.5%
  DIP Loan
  Senior Secured              High-Yield             Bonds                                                                                   44.0%
  Senior Unsecured                 High-Yield Bonds                                                                                          30.0%


  Subordinated              High-Yield           Bonds                                                                                       18.0%

  Structured         Finance           Obligations         ...                 The        SP             Priority        Category            Recovery              Rate          determined                in

                                                                               accordance                  with        the      SP           Structured             Finance          Obligation

                                                                               Recovery              Rates        set     forth       in     SP           Recovery           Rate    Matrix               by
                                                                               reference            to    the    type of asset and                  its   then     SP        Rating       or          with

                                                                               respect         to    assets      to    which       that     table      does not apply on                       case by

                                                                               case       basis      in    connection           with the grant              of the relevant              Collateral


                                                                               Obligation

  Synthetic          Securities                                                As assigned by                    SP      on        case-by-case              basis      in   connection               with

                                                                               the    grant         of the relevant            Collateral           Obligation
  DIP Loans and               any      Collateral

  Obligation not covered                       above                           As assigned by                   SP      on       case-by-case basis



                Approved                 Pricing          Service             means Loan                  Pricing       Corporation               Mark-It-Partners                  Inc         or        any
  other      nationally          recognized          loan       pricing       service          approved          in writing           by    SP
                Approved                 Replacement                   means an            individual            who      shall             be    proposed          by     Highland            Capital

  to    replace        James Dondero                     Mark     Okada         or     Todd          Travers           or       prior       Approved             Replacement                  therefor
  within       30 days           after      James        Dondero             Mark     Okada              or Todd        Travers            or       prior    Approved             Replacement
  therefor        fails      to   be           partner         director        officer         or    management-level                      employee          of Highland             Capital              or
  following          any     objection          pursuant to the following                           clause              to   the    first    proposed         replacement                 within           30

  days       after     such       objection          and              not     have        been        objected          to    by      either                  Super          Majority           of        the

  Controlling            Class of Notes              or                Majority           of the Preference                   Shares        excluding             any    Preference             Shares

  held by Highland                  Capital         or           of    its    Affiliates             within       30     days      after     written        notice       of such         Approved
                                                          any
  Replacement               has     been        given      by     the        Servicer          to    the     Controlling              Class       of Notes           and      the    Holders               of

  Preference Shares



                Ask-Side               Market          Value means                   as   of any          Measurement Date                       the   market value              determined               by
  the       Servicer       and     reported          to    the    Trustee        as       an    amount           rather       than as                                    or fraction            of par
                                                                                                                                                    percentage
  expressed            in     Dollars           of       any     lent        Collateral             Obligation           based                      the     Servicers             commercially
                                                                                                                                       upon
  reasonable judgment and                        based upon the following                            order of priority                      the   average         of the ask-side               market

  prices       obtained           by     the    Servicer         from         three       Independent                 broker-dealers              active      in     the     trading           of     such

  obligations          which        are also        Independent               from the Servicer                  or    ii if     the       foregoing        set    of prices        could       not be
  obtained        the       higher of the ask-side                    market         prices         obtained          by the Servicer             from two Independent                         broker
  dealers       active      in the trading             of such        obligations           which          are   also    Independent              from the Servicer                 or    iii        if   the

  foregoing          sets    of prices          could      not    be obtained              the       average          of the ask-side             prices     for the         purchase          of such

  Collateral         Obligation             determined            by    an     Approved              Pricing          Service         Independent             from         the    Servicer             that

  derives       valuations             by    polling       broker-dealers                 Independent                 from      the    Servicer            provided          that    if       the    Ask-




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   Side      Market            Value        of                 lent     Collateral                                          cannot          be        so    determined             then        such        Collateral
                                                    any                                            Obligation

   Obligation shall be deemed                             to    have              Market           Value        equal       to the          outstanding             principal          balance        thereof



               Assigned                   Moodys               Rating                  means           the    monitored                publicly             available       rating        or       the    monitored
   estimated                                                                                debt obligation                 or
                     rating          expressly           assigned to                                                                  facility         by     Moodys             that     addresses the                 full


   amount of         the principal                 and    interest           promised


               Authorized                     Officer means                            with       respect           to    the     Issuer the                Co-Issuer        or    Investors             Corp           any
   Officer     or    agent           who      is   authorized               to    act       for the       Issuer          the     Co-Issuer            or Investors              Corp         as    applicable            in


   matters     relating              to     and      binding            on            the       Issuer        the        Co-Issuer          or     Investors              Corp      With           respect        to    the

   Servicer         any        managing             member                  Officer              manager             employee               partner          or     agent        of the       Servicer         who        is


   authorized        to        act    for   the      Servicer           in matters                 relating         to     and                         on     the     Servicer          with respect              to    the
                                                                                                                                      binding

   subject    matter of the request                         certificate                or order          in   question               With                      to the      Trustee or any                other     bank
                                                                                                                                              respect

   or trust    company                                    trustee           of an           express trust or as custodian                                      Trust Officer                  Each
                                      acting        as                                                                                                                                                    party        may
   receive     and        accept               certification                 of        the       authority          of                other       party        as    conclusive               evidence            of    the
                                                                                                                           any
   authority        of any           Person         to    act     and            the       certification            may         be     considered              as    in   full    force       and        effect        until

   receipt    by the other                party      of written             notice              to the    contrary



               Average                    Life       means            as     of any              Measurement                    Date     with respect                to           Collateral             Obligation
                                                                                                                                                                           any
   other than any Defaulted                           Collateral             Obligation                   the       quotient          obtained             by dividing


                                                   the    sum of            the        products of


                                                                  the            number             of       years         rounded               to     the       nearest         hundredth                from         the

                                 Measurement                    Date             to    the       respective               dates        of each             successive            scheduled           payment             of

                                 principal           of the Collateral                       Obligation              and



                                                                  the respective                       amounts            of the successive                   scheduled           payments            of principal

                                 of the Collateral                    Obligation                  by



                                 ii                the    sum          of        all        successive              scheduled            payments              of     principal           of       the    Collateral

               Obligation


               Bank                  means         Investors          Bank                  Trust Company                   in    its   individual             capacity          and    not as Trustee



               Bankruptcy                     Code             means             the       U.S     Bankruptcy               Code         Title         11    of the United             States       Code


               Bankruptcy                     Law           means            the       Bankruptcy      Code Part                             of the Companies                     Law 2004                Revision
   of the Cayman                Islands        and       the    Bankruptcy                      Law 1997 Revision                           of the         Cayman Islands

               Board             of Directors                   means with                      respect       to    the     Issuer the directors                     of the Issuer             duly appointed
   by     resolution            of the holders                 of the Issuer                    Ordinary        Shares           or    by resolution                of the Board of Directors                          and
   with respect           to the          Co-Issuer            the directors                    of the Co-Issuer                  duly appointed                  by the stockholders                     of the        Co
   Issuer     provided                 however             that        notwithstanding                         the       foregoing               if    the     aggregate           number            of       Class       II


   Preference         Shares              Outstanding                  is    greater              than        the                            number            of     Class             Preference                Shares
                                                                                                                         aggregate
                                     Holders          of the Class
   Outstanding             the                                                        II    Preference              Shares        may remove                  all    but not           less    than all of the

   directors        of the       Issuer        and       appoint            other           directors          who may      employees  be                            officers          or designees of the

   Servicer         and        thereafter           so     long as the                                         number of Class II Preference                                     Shares                                   is
                                                                                            aggregate                                                                                          Outstanding

   greater     than        the                            number                 of        Class          Preference                  Shares                                     the                     to
                                      aggregate                                                                                                       Outstanding                       power                 appoint
   directors    of the Issuer                 shall      be exercised                      by      vote       of the Holders of the Class                            II    Preference              Shares      instead

   of by resolution              of the holders                 of the Issuer                    Ordinary           Shares



               Business                   Day        means              day           on     which        commercial                   banks          and     foreign       exchange               markets         settle


   payments          in   New          York City                and         any        other       city       in    which         the       Corporate             Trust Office            of the Trustee                  is


   located     and        in    the    case        of the      final        payment of                 principal           of   any     Note          the    place        of presentation                of the Note

   designated         by the Trustee                     provided                however that                   for      purposes           of determining                  LIBOR             Business             Day
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  must        also    be         day     on       which         dealings            in    deposits           in    Dollars are              transacted              in     the    London          interbank

  market         To    the extent            action       is    required          of the Irish Listing                   Agent and            fish Paying Agent                         Dublin          Ireland

  shall    be considered               in    determining               Business             Day         for
                                                                                                                  purposes           of determining                 when         actions        by the Irish

  Paying Agent are required



                Caal             Collateral              Obligations                 means             the    Collateral              Obligations               excluding                 any     Defaulted

  Collateral         Obligations              that       on    the relevant              date    have         Moodys              Rating below                 B3
                Cash             means such coin                   or    currency           of the United                States       of America as                  at    the    time shall be              legal

  tender for payment                   of   all    public       and      private         debts



                CCC/Caal                         Collateral              Obligations                    means            the         Collateral              Obligations             excluding                   any
  Defaulted           Collateral        Obligations                  that    on     the     relevant          date       have                Moodys             Rating below                   B3       and/or

  ii     an    SP      Rating below                B-
                CCC/Caal                     Excess            Market         Value Percentage                           means         the    percentage              equivalent           of       fraction

  the    numerator           of which                                                                                  CCC/Caal
                                                               aggregate Market                      Value        of                                                  Obligations in order of
                                                  is    the                                                                                    Collateral

  ascending           Market Value                 Percentage                starting          with the        CCC/Caal                 Collateral              Obligation with the                     lowest

  Market Value               Percentage                  with    an      aggregate Principal                       Balance            equal       to     Excess           CCC/Caal                Collateral

  Obligations              and    the       denominator                 of which            is    an     amount           equal        to    the        Excess            CCC/Caal                Collateral

  Obligations



                CDS/TRS                 Termination Payment                                Amount                 means         with        respect       to    any       CDS/TRS              Purchaser           in


  connection                     an Amendment                                                                                                                   Date
                      with                                     Buy-Out             as the case          may be                  on    any Payment                           prior    to    the    November
  2010        Payment        Date           an     amount         equal        to    the        present       value        of    the        Fixed Amounts                    with                      to    such
                                                                                                                                                                                        respect
  CDS/TRS             Purchaser and                each        Fixed Rate                Payor       Calculation              Period        until       the    last       Fixed Rate             Calculation

  Period        discounting            each       Fixed Amount                 from the Payment                        Date                            the    end     of    each     such        Fixed Rate
                                                                                                                                 following

  Payor       Calculation          Period         to    the date        of   purchase            of the      applicable          Notes       at     the Applicable                Discount Rate and

  ii on any Payment                     Date       on and        after       the    November 2010                      Payment         Date zero provided                         that     in    the case          of

  clause             the  CDSITRS Termination Payment                                       Amount            shall      be     calculated          by    the Servicer              and    subject          to    the

  approval       of    such CDS/TRS Purchaser



                CDS/TRS                 Purchaser means                              Holder            of the Notes             or     in the       case of Notes                represented by
  Global        Notes any          beneficial             owner         thereof          that    has entered into either                          credit default                          or
                                                                                                                                                                                 swap             total


  return       swap with          respect          to    such    Notes        and        has provided              the    Issuer       and     the      Trustee with                 written

  certification         regarding            its   entry        into     such swap              in     form        reasonably           acceptable to the Issuer                          or     the

  Servicer       on behalf of               the    Is   suer


                Class            means           all    of the Notes           having            the    same        priority          and    the       same      Stated          Maturity         and       all    of

  the    Preference Shares



                Class              Coverage               Tests          means           the     Overcollateralization                      Test and           the       Interest       Coverage            Test
  each     as applied            with respect             to the      Class A-la Notes Class A-lb Notes                                           and    Class A-2 Notes



                Class              Coverage               Tests          means           the    Overcollateralization                       Test and           the       Interest       Coverage            Test
  each     as applied            with respect             to the      Class          Notes


                Class              Deferred              Interest            means Deferred                   Interest         with respect              to the       Class          Notes


                Class              Coverage               Tests          means           the     Overcollateralization                      Test and           the       Interest       Coverage            Test
  each     as   applied with respect                      to the      Class          Notes


                Class              Deferred              Interest            means Deferred                   Interest         with respect              to    the    Class          Notes


                Class              Coverage               Tests          means           the     Overcollateralization                      Test and           the       Interest       Coverage            Test
  each     as   applied with respect                      to   the    Class              Notes


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                 Class              Deferred             Interest           means Deferred                     Interest          with respect            to the       Class             Notes


                    Class Scenario                   Loss       Rate             means             with       respect           to    any     Class          of     Notes            rated      by     SP              an

   estimate         of the cumulative                 default         rate       for    the    Current          Portfolio             or the     Proposed             Portfolio as applicable

   consistent         with       SPs          rating       of the Class of Notes                         on    the    Closing             Date      determined                  by    application               of the

   SP      CDO           Monitor


                 Clearstream means                             Clearstream Banking                            sociØtØ        anonyme                  corporation                organized            under        the

   laws of the Duchy                   of Luxembourg



                 Collateral                Administration                   Agreement                     means            the       agreement           dated        as        of    the    Closing             Date

                the      Issuer the Servicer                   and    the Collateral                Administrator                    as    modified            amended               and     supplemented
   among
   and    in   effect      from        time to time



                 Collateral              Administrator means                                 the   Bank        in    its    capacity         as collateral             administrator                  under        the

   Collateral         Administration Agreement



                 Consenting                  Holder           of the        Preference               Shares means                          with     respect           to
                                                                                                                                                                            any       Payment              Date
   Holder       that       has    consented              by    delivering              an    irrevocable             written           notice      to     the       Preference               Shares         Paying

   Agent       to          distribution         of Eligible                Equity           Securities          in    lieu        of payment              of Interest                Proceeds              on    such

   Payment            Date        as     described             in     Description                   of    the       SecuritiesPreference                              Shares            Paying             Agency
   Agreement


                 Controlling Class means                                   the   Class A-la Notes                     voting            together        as        Class or            group           so    long as

   any    Class A-la Notes                    are    Outstanding                 then the Class A-lb Notes                                 voting         together              as      Class or            group
   so    long as any            Class A-lb Notes                    are    Outstanding                then the Class A-2 Notes                            voting            together            as         Class or

   group         so      long     as           Class A-2 Notes                      are       Outstanding                  then the Class                      Notes        voting              together          as
                                        any
   Class or         group         so    long as any             Class             are       Outstanding              the     Class           Notes        voting            together            as         Class or

   group         so      long as any          Class             Notes        are       Outstanding               and        then the Class                     Notes            voting          together          as

   Class or         group         so   long     as    any Class                  Notes        are    Outstanding



                 Corporate                 Trust         Office            means        the    corporate             trust        office     of the Trustee                     at   which         the     Trustee

   performs          its   duties      under        the       Indenture           currently          having          an address of 200 Clarendon                                     Street        Mail         Code
   EUC         108 Boston              MA      02116 telecopy no                        617         351-4358               Attention            CDO          Services            Group           or   any        other

   address the Trustee designates                              from       time to time by notice                      to the          Noteholders               the    Servicer              the     Preference

   Shares       Paying           Agent        the    Issuer          and     each        Rating          Agency            or     the     principal          corporate               trust office           of any

   successor Trustee



                 Credit            Improved                Obligation                   is    any        Collateral             Obligation              that               is    sold        pursuant             to

   Portfolio          Improvement Exchange                            or            in       the    commercially                     reasonable judgment                         of the         Servicer           has

   improved           in credit         quality provided                    that        in    forming           such       judgment                 reduction              in credit            spread or an
   increase         in   Market Value               of such          Collateral             Obligation whether                        as    described in clauses                       ii or         iii below

   or    otherwise              may     only        be    utilized          as    corroboration                 of other             bases      for      such       judgment                 and      provided

  further        that       if      Credit      Rating          Event        is    in effect             such       Collateral            Obligation will be                     considered                     Credit


   Improved           Obligation only                if   in addition            to the       above


                                                the       Collateral         Obligation has been                           upgraded           or    has been           put on credit                  watch        list


                 with       the    potential          for      developing               positive          credit       implications                by    either        of the          Rating         Agencies

                 since      the     date     the    Issuer         first                      the Collateral                Obligation under                   the    Indenture
                                                                           acquired



                                  ii            such          Collateral           Obligation                 has      experienced                      reduction               in     credit         spread           of

                           0.25%        or    more            on     an     absolute           rather          than             relative        basis          in    the        case       of         Collateral

                 Obligation with                     spread prior to such                          decrease          less       than or equal to 2.00%                                  0.375%             or    more

                 on        an    absolute       rather         than          relative          basis          in the       case       of      Collateral             Obligation with                            spread

                 prior to such                decrease             greater       than 2.00%               but less than or equal to 4.00%                                   or              0.50%          or    more

                 on        an    absolute       rather         than          relative          basis          in the       case       of      Collateral             Obligation with                            spread

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                  prior to such               decrease            greater        than          4.00%          in    each        case    compared                to    the credit              spread        at    the    time
                  such     Collateral            Obligation was acquired                                       the       Issuer determined                                 reference            to    an
                                                                                                        by                                                       by                                         applicable

                  index      selected            by        the        Servicer            such          index            selection                              to        satisfaction               of    the
                                                                                                                                            subject                                                                   Rating
                  Condition             with respect             to    Moody

                                 iii                       in    the    case     of            Loan           the        Market         Value         of such              Collateral
                                                                                                                                                                                                 Obligation                  has
                  increased by                  least       1.00%         from       the       Market Value                     of such        Collateral
                                          at                                                                                                                              Obligation as of                  its       date    of
                                                determined
                  acquisition            as                              by    the        Servicer           provided              that       this     subclause                 iiix           will       be     deemed
                  satisfied        if   Market          Value          increases            to    101%              or            in    the    case        of         Bond             the     Market            Value        of

                  such     Collateral           Obligation has changed                                since     its      date     of acquisition                by                                    more
                                                                                                                                                                            percentage                            positive

                  than     the     percentage               change         in the           Merrill           Lynch             US High          Yield               Master         II    Index            Bloomberg
                  ticker    HOAO              plus    3.00%            over the same period                           or




                                 iv                   Super           Majority        of the Controlling                          Class have               voted           to    suspend             the    limitations

                  on        Collateral               Obligation                                       Credit                                                               and                 each
                                                                              being                                  Improved               Obligation                             for                     subsequent

                  downgrade              by     Moodys                after          vote        to    suspend             the    limitations              pursuant               to     this clause              iv         has

                  occurred               Super        Majority           of the Controlling Class must                                      again      vote          to    suspend            the limitations                on
                  the     Collateral           Obligation               being               Credit           Improved Obligation                            for           this    clause         iv         to        remain

                  applicable



                       Synthetic         Security           shall       be considered                    Credit           Improved            Obligation if


                                                 the Synthetic                Security            itself       is        Credit        Improved            Obligation                   or




                                 ii              the       Reference           Obligation of the Synthetic                                    Security           would             if    it   were              Collateral

                  Obligation             be      Credit          Improved            Obligation


                  Credit Rating                  Event means                   an event               that     is   in effect          if   the rating           by       Moodys

                                                 of the Class A-la Notes                               or the        Class A-lb Notes                      has been               withdrawn                or    is   one     or

                  more     rating        sub-categories                 below        its Initial           Rating           or



                                 ii              of the          Class A-2                Notes          the        Class          Notes             the    Class                  Notes        or        the    Class
                  Notes      has        been     withdrawn                or    is    two         or    more                                                          below            its                             Initial
                                                                                                                      rating       sub-categories                                             respective

                  Rating


                  For the purposes                   of this definition                               withdrawal                or reduction               in rating             shall        not be       effective
                                                                                           any                                                                                                                                if

  after     the    withdrawal                   reduction                                  has upgraded
                                          or                           Moodys                                              the    reduced            or    withdrawn                   rating        to    at    least the

  Initial    Rating         in     the    case of the                 Class A-la Notes                       or the Class A-lb Notes or to                                         only one               subcategory
  below      their       Initial    Rating           in the       case of the Class A-2 Notes the Class                                                   Notes            the     Class             Notes        and        the

  Class           Notes


                  Credit           Risk Obligation                        means any                   Collateral            Obligation               other           than              Defaulted            Collateral

  Obligation              that     in the       commercially                   reasonable judgment                              of the Servicer                      has                                   declined           in
                                                                                                                                                                                significantly
  credit     quality         and has                   significant             risk        with              lapse         of     time        of becoming                              Defaulted            Collateral

  Obligation             provided         that        in   forming         such           judgment             an     increase           in   credit                                     decrease                 Market
                                                                                                                                                            spread or                                       in

  Value      of such        Collateral               Obligation whether                          as    described            in    clauses        ii        or    iii below or otherwise                                 may
  only be utilized as corroboration of other                                         bases for such judgment



                  So long          as         Credit       Rating         Event           is   in effect             no     Collateral           Obligation shall                        be                       to    be
                                                                                                                                                                                                eligible
  Credit     Risk Obligation unless                             in addition          to    the    above             as    of the date          of determination



                                                 the       Collateral          Obligation has                       been                                         has been
                                                                                                                                downgraded                 or                           put on         credit         watch
                  list   with the potential                 for       developing               negative            credit                                        either          of the Rating Agencies
                                                                                                                                implications               by
                  since    the date           the Issuer          first   acquired               the Collateral                 Obligation under                     the        Indenture




                                                                                                          179
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                        ii                  such           Collateral           Obligation                has experienced                     an     increase               in      credit            spread of
         0.25%        or    more           on         an     absolute          rather       than           relative          basis           in the       case of                   Collateral               Obligation

         with          spread prior to                        such        increase              less      than or equal to                    2.00%                         0.375%                or    more       on      an

         absolute          rather          than             relative        basis          in the        case     of        Collateral              Obligation with                               spread prior to

         such     increase                 greater          than 2.00%                 but less than or equal to 4.00%                                         or              0.50%              or    more       on      an

         absolute          rather          than             relative        basis          in   the      case of            Collateral              Obligation with                               spread prior to
         such     increase                 greater           than        4.00%         in       each      case compared                      to    the    credit            spread           at       the    time such

         Collateral          Obligation was acquired                                   by the Issuer determined                                   by reference                   to    an        applicable           index

         selected       by the Servicer                       such          index         selection            subject       to       satisfaction              of the Rating                     Condition            with

         respect       to    Moodys

                        iii                           in     the     case       of         Loan           the    Market            Value           of such             Collateral                     Obligation has
         decreased           by       at    least       2.50% from                  the     Market Value                    of such Collateral                        Obligation as of                       its   date    of

         acquisition              as       determined                by     the      Servicer             and               in    the    case        of           Bond              the      Market           Value        of

         such        Collateral                 Obligation               has      changed                since        its   date        of        acquisition                  by            percentage               more

         negative           or less             positive           as the       case may            be     than the percentage                           change             in the          Merrill          Lynch US
         High Yield Master                        II    Index Bloomberg                          ticker        HOAO          less       3.00% over                    the      same period                    or




                        iv                       Super         Majority              of the Controlling                      Class have               voted           to       suspend                the    limitations

         on       Collateral                Obligation being                              Credit         Risk     Obligation                 set     forth           in    clauses                      ii      and       iii

         above         and       for       each         subsequent                downgrade                by     Moodys                after            vote         to       suspend                the    limitations


         pursuant           to    this clause                 iv         has    occurred                  Super         Majority              of the Controlling                             Class must               again

         vote    to     suspend                 the    limitations              on     the       Collateral            Obligation being                              Credit           Risk            Obligation for
         this clause             iv        to   remain           applicable



              Synthetic           Security              shall       be considered                      Credit         Risk Obligation if



                                            the Synthetic                   Security            itself    is      Credit         Risk Obligation                          or



                                            the       Reference              Obligation of the Synthetic                                 Security              would             if    it    were            Collateral

         Obligation              be         Credit           Risk Obligation



         Current-Pay                       Obligation                    means             Collateral            Obligation as to which



                                            an        insolvency               event        has     occurred             with         respect        to        its
                                                                                                                                                                      obligor               or    as    to    which        its


         obligor       is    rated                    or     SD          by     SP         or    its     obligor        has previously been                           rated           CCC- by SP                          and

         the rating          has been             withdrawn


                        ii                  no    default            as to      the    payment             of principal                or interest              with respect                     to    the    Collateral

         Obligation              is   then continuing                       and      the    Servicer            has delivered                 to    the    Trustee an                      officers certificate

         to    the     effect         that        the        Servicer           expects           that     the        obligor          will        make          payments                   on        the    Collateral

         Obligation              as they          become             due


                        iii                            if   the     rating        by      Moodys               of the Collateral                    Obligation                 is     at    least       Caal and
         not    on     credit         watch            with negative                 implications                 the       Market           Value         of        the    Collateral                 Obligation           is


         at    least    equal to                80%         of     its   Principal              Balance          or              if   the     rating          by      Moodys                 of the           Collateral

         Obligation              is   less        than       Caal              or    is    Caal            and        on    credit       watch            with negative                      implications                 the

         Market        Value           of the Collateral                       Obligation              is at    least       equal       to    85%        of     its
                                                                                                                                                                       Principal                 Balance


                        iv                  if    an       insolvency             event          has occurred                with respect                 to     the       obligor               of    the    Collateral


         Obligation                    bankruptcy                  court        has authorized                   the     payment              of interest                 payable            on        the    Collateral

         Obligation               and



                                            the       Servicer            has designated                  in writing             to    the    Trustee the Collateral                                   Obligation as

              Current-Pay              Obligation




                                                                                                         180
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              If   the     Aggregate              Principal               Balance            of Collateral                   Obligations that                   would otherwise                         be Current-Pay

  Obligations exceeds                   5%        of the        Maximum Amount                                   all    or         portion       of one          or    more             Collateral             Obligations
  that    would otherwise                    be     Current-Pay                       Obligations                 with         an       Aggregate               Principal               Balance              equal         to    the

  amount of          the    excess           shall        not be              Current-Pay               Obligations                     and     will       therefore              be      Defaulted                 Collateral

  Obligations              The        Servicer            shall          designate              in writing             to    the     Trustee          the       Collateral              Obligations that                        shall

  not    be   Current-Pay               Obligations pursuant                                 to      the    preceding                   sentence           as    the        Collateral              Obligations                  or
  portions       thereof that            have       the        lowest Market                      Value          on any        applicable                date    of determination



              The Servicer               may         with the consent                           of     Majority               of the Controlling                      Class           by notice              to    the    Issuer
  the    Trustee      and       the    Collateral               Administrator                                          the    definition             of                                                                  or     how
                                                                                                     change                                                Current-Pay                       Obligation

  Current-Pay          Obligations are treated                                 in    the     Indenture                 subject          to    the    satisfaction                 of the Rating                     Condition
  with respect        to    each       Rating         Agency


              Current                 Portfolio                 means                at     any        time            the     portfolio             measured                    by      Aggregate                  Principal

  Balance of          Collateral             Obligations                      Principal           Proceeds              held as cash                on    deposit           in    the Collection                    Account
  and    other     Eligible           Investments                                           with Principal                    Proceeds           on                                the        Collection             Account
                                                                    purchased                                                                             deposit           in

  that    exists      before           the    sale                                    or     other                                      of          Collateral                                                     before        the
                                                           maturity                                         disposition                                                     Obligation                   or

  acquisition        of         Collateral          Obligation                      as the      case       may be

              Deep          Discount              Obligation                        means         until the
                                                                                                                       average           Market           Value        Percentage                  of the Collateral
                            determined
  Obligation          as                              daily              for    any        period           of     30        consecutive                 days equals                    or    exceeds               90%          any
  Collateral         Obligation acquired                        by the Issuer                    for        Purchase                Price      less       than       85%         of     its    Principal             Balance
  For such                               Market                Value                                                                     Obligation on
                   purpose         the                                         Percentage              of         Collateral                                                            that       is   not         Business
                                                                                                                                                                            day
  Day     shall    be deemed                  be                Market               Value                                    of the Collateral
                                         to           the                                         Percentage                                                     Obligation on the immediately
  preceding        Business            Day

              Defaulted                Collateral Obligation                                     means any                  Collateral         Obligation or other                            obligation             included
  in   the Collateral




                                              as to        which                    default       in the         payment of                  principal          or    interest           is   continuing                 beyond
              the lesser          of three          Business Days and                             any applicable                    grace or notice                  period             unless          in    the    case of
              failure       of the       obligor               to    make                              interest                                 the                         has         resumed                               Cash
                                                                                     required                               payments                      obligor                                            current

              payments             of interest             previously scheduled                               and                         and       has                in                           accrued              interest
                                                                                                                            unpaid                          paid                 full     any
              due     and       payable           thereon                in    which         case the Collateral                        Obligation shall cease to be                                     classified             as

              Defaulted           Collateral              Obligation


                                ii            the maturity                     of    all   or        portion           of    the principal            amount           of    such Collateral                       Obligation
              has     been        accelerated              as                                          of          default           other          than                                                            under        the
                                                                          consequence                                                                           any    payment                 default
              instruments              evidencing                   or    relating          to       such     Collateral                                        unless           such         default          or    event           of
                                                                                                                                        Obligation
              default       has       been        fully        cured           or    waived          and     is    no                                            and        such         acceleration                has       been
                                                                                                                             longer       continuing

              rescinded



                                iii           with respect                      to    which           there       has        been        effected                     distressed                                     or       other
                                                                                                                                                           any                                 exchange
              debt restructuring                    where            the       obligor           has offered                 the    holders         thereof             new                              or        instrument
                                                                                                                                                                                        security

              or     package           of securities                     or    instruments                 that         in    the                                     reasonable
                                                                                                                                        commercially                                               judgment of                   the

              Servicer            either              amounts                   to         diminished                  financial                                 or               has        the    sole                             of
                                                                                                                                         obligation                                                               purpose
              enabling           the    obligor           to    avoid                default



                                iv                    that           is   pan         passu          with        or subordinated                     to    other        indebtedness                     for        borrowed

              money             owing         by     its        obligor              Other              Indebtedness                                      the        obligor            has        defaulted              in     the

              payment            of principal                  or        interest          without           regard            to                                                       or     notice                           and
                                                                                                                                        any    applicable              grace                                      period
              without           regard to           any        waiver               of the        default          on        the    Other Indebtedness                            unless            in       the    case        of
              failure       of the obligor                 to        make                              interest                                 the                         has resumed current                               Cash
                                                                                     required                               payments                      obligor

                                  of interest                                         scheduled             and
              payments                                     previously                                                   unpaid on the Other Indebtedness                                            and           has paid in
              full    any       accrued           interest               due    and        payable          thereon                in   which        case        the    Collateral                 Obligation shall
              cease        to    be classified             as             Defaulted              Collateral             Obligation and                           the    Servicer                                      that       the
                                                                                                                                                                                                provided

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            related         Collateral                   Obligation           has       not        been         downgraded                 after          the        default         on        such        Other

            Indebtedness                has occurred                  determines             in        its    commercially               reasonable judgment                          that       such      Other

            Indebtedness                is    material



                                              other than                 Current-Pay               Obligation or                   DIP Loan               as to       which


                                                                an insolvency                event           has occurred with respect                      to       its   obligor         or



                                                                the     obligation           is   rated                 SD                      or   CC              by     SP       or     was       so    rated


                                                                 immediately            prior to              such rating         being withdrawn                      or    has previously been

                                                                rated     CCC- or                 lower         by    SP        and      the rating         has been           withdrawn


                            vi                if   the Collateral               Obligation               is     Structured            Finance         Obligation               it    is   rated       CC          or

            below by             SP          or     it   was     rated     CC          or    below by               SP       but the rating               has since           been        withdrawn               or

            it   is   rated      Ca          or    below         by     Moodys              or    it    was     rated               or   below by Moodys                        but        the      rating       has

            since      been       withdrawn


                            vii               that        is       Participation                 that         would        if    the     underlying Loan                       were                 Collateral


            Obligation              be            Defaulted             Collateral           Obligation under                              of clauses                      through                   above        or
                                                                                                                                  any
            with respect            to        which            the Participating              Institution             has       defaulted        in the         performance                 of any          of    its


            payment             obligations               under       the Participation




                            viii              that       is      Synthetic            Security           referencing                Reference             Obligation that would                             if   the

            Reference             Obligation                   were       Collateral              Obligation               be         Defaulted            Collateral               Obligation under

            any of clauses                        through          vi     above         or    with respect              to   which         the    Synthetic                Security        Counterparty
            has defaulted                in   the        performance               of any         of     its   payment           obligations              under        the    Synthetic              Security

            provided             however                 with respect           to      Synthetic              Security         based      upon       or relating              to         senior      secured

            index          providing non-leveraged                            credit                            to         basket of credit                default                         referencing
                                                                                            exposure                                                                         swaps
            diversified            group            of Reference                   Obligations                 with     respect           to    which           the        principal           or     notional

            amount of             the credit
                                                          exposure         to    any    single           Reference           Obligation does not increase                                  over time

                 determination                whether             the    Reference            Obligations upon                      which        such       Synthetic               Security          is   based

            would           if    such        Reference                 Obligations were                       Collateral         Obligations               be              Defaulted               Collateral

            Obligation              shall          be     determined             by     treating              such    Synthetic            Security             as         direct         interest         of the

            Issuer         in    each        of the            Reference           Obligations                 on    which        such         Synthetic             Security         is       based        in    an

            amount              equal        to     the        Allocable           Principal             Balance           of     such         Reference              Obligation               and               the

            Defaulted               Collateral                 Obligation              for        purposes            of     this      clause        viii            shall     be         limited          to    the

            Allocable Principal                          Balance        of each        Reference               Obligation           that       would        if   the       Reference             Obligation

            were            Collateral               Obligation               be         Defaulted                  Collateral           Obligation             under                     of     clauses
                                                                                                                                                                               any

            through         vi      above


                            ix                that        is     Written-Down                 Obligation


                                              that        is     DIP Loan             as to       which         an    order       has been           entered converting                        the    debtors

            chapter         11    case to                case under         chapter               of the Bankruptcy                      Code        or




                            xi                that        is   declared to be                Defaulted               Collateral          Obligation by the Servicer



            Any       Collateral             Obligation that                is     classified            as         Defaulted          Collateral          Obligation shall cease to be

   so classified      if   the    Collateral              Obligation            at    any    date        thereafter



                                              would             not     otherwise             be         classified          as          Defaulted               Collateral               Obligation              in


            accordance             with           this    definition            and



                                              otherwise               meets      the Eligibility                Criteria as         of that date




                                                                                                        182
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                   If    any         portion         of         Collateral             Obligation           has            maturity               later        than         one             after    the     Stated
                                                                                                                                                                                   year
  Maturity of the Notes                          due      to        change        in the   payment              schedule              of the Collateral                     Obligation occurring                 after

  its   acquisition                  by   the    Issuer             that    portion       of the          Collateral             Obligation                   shall     be    considered                 Defaulted

  Collateral            Obligation



                   Defaulted                   Hedge         Termination Payment                            means any termination payment required                                                  to    be made

  by    the    Issuer           to        Hedge        Counterparty                                  to                                                                     termination of the Hedge
                                                                                      pursuant                  Hedge           Agreement                 upon
  Agreement                in    respect          of which               the     Hedge     Counterparty                    is    the       sole      Defaulting Party or Affected                             Party
  each        as   defined            in the      Hedge         Agreements


                   Defaulted                   Interest             means any            interest         payable               in    respect            of any         Class of Notes               that    is   not

  punctually              paid or duly provided                          for     on   the applicable            Payment Date                       or    at    Stated        Maturity


                   Defaulted                   Interest        Charge means                    to the                      lawful            interest          on
                                                                                                           extent                                                     any Defaulted              Interest    at   the

  Default          Interest          Rate


                   Default                Interest           Rate           means        with                                                                 Class of Notes
                                                                                                    respect       to       any        specified                                              the    per annum
  interest         rate    equal to the Note                    Interest          Rate payable             on the Notes                    of the Class



                   Deferred                 Interest           Notes means               the    Class            Notes               the    Class             Notes         and    the    Class          Notes


                   Definitive                  Security              means any Note                 or     Certificated                Preference               Share         that    is                     in the
                                                                                                                                                                                           registered

  name of          the beneficial                owner


                   Delayed                  Drawdown                     Loan          means              Loan         or        any         Synthetic                Security           with        Reference

  Obligation that



                                                      requires           the Issuer       to   make        one    or       more            future        advances            to the      borrower         under    its



                   Underlying                  Instruments



                                     ii               specifies                  maximum amount                       that           can      be        borrowed              on     one     or     more      fixed

                   borrowing                dates and



                                     iii              does not permit the re-borrowing                                 of any              amount previously repaid


        Loan       or     Synthetic             Security        shall       only be        considered            to    be            Delayed             Drawdown Loan                     for so                  its
                                                                                                                                                                                                     long as
  unused           commitment amount                                is   greater        than    zero       and        for                                of the        Concentration               Limits only
                                                                                                                                purposes
  unfunded              portions          will    count        as     Delayed           Drawdown Loans


                   Depository                    or    DTC                 means The Depository                       Trust Company                           and     its   nominees


                   DIP Loan                     means any Loan


                                                      that     has             rating    assigned by              Moodys                   or       if   the        Loan      does       not have            rating

                   assigned by                  Moodys               the    Servicer        has commenced                         the       process of having                         rating       assigned by

                   Moodys                 within five           Business              Days of       the    date       the       Loan         is                               the                  and
                                                                                                                                                   acquired            by            Issuer                  rating

                   assigned               by    SP        or        if     the    Loan     does       not       have                 rating        assigned             by        SP       the    Servicer        has
                   commenced                   the    process of having                    rating         assigned by                 SP          within        two         Business Days of the date
                   the    Loan         is      acquired by the Issuer



                                     ii               that     is   an obligation              of    debtor           in   possession as described in Section                                       1107     of the

                   Bankruptcy                  Code       or         trustee          if appointment              of            trustee       has        been         ordered pursuant               to    Section
                   1104         of the Bankruptcy                        Code           Debtor              organized                 under         the       laws of the United                  States    or    any
                   state    of the United                 States           and




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                                iii           the    terms           of which                   have            been       approved               by          final        order of the                 United         States

               Bankruptcy              Court United                  States           District              Court          or       any        other    court        of competent                   jurisdiction                 the

               enforceability                of which            order           is   not        subject             to    any        pending            contested               matter        or     proceeding                 as
               those terms are defined                         in the         Federal Rules                        of Bankruptcy                      Procedure and                       which        order provides

               that



                                                               the      Loan               is    secured             by        liens      on      the       Debtors otherwise                          unencumbered
                                assets      pursuant           to   Section                364c2                  of the Bankruptcy                          Code


                                                               the      Loan           is       secured            by liens of equal or senior                                 priority        on     property of the
                                Debtors         estate           that       is        otherwise                 subject             to          lien     pursuant               to    Section          364d            of the

                                Bankruptcy           Code


                                                               the      Loan               is    fully            secured            based             on          current            valuation            or     appraisal

                                report       by junior           liens        on the Debtors                            encumbered assets                          or




                                                               if    any          portion                 of      the     Loan            is    unsecured                 the        repayment             of the       Loan
                                retains priority               over     all      other           administrative                      expenses            pursuant              to    Section        364c               of the

                                Bankruptcy            Code and                   in the              case       of      this    clause                      before         the       acquisition           of the      Loan
                                the   Rating Condition                     is     satisfied                with respect                  to each       Rating           Agency


               Diversity              Score          is          single           number                   that      indicates             collateral             concentration                  in    terms          of both

   issuer    and    industry          concentration                 calculated                  as set forth              in    Schedule                    to the      Indenture



               Domicile                or    Domiciled                   means with                         respect            to    each       Collateral           Obligation                       the jurisdiction

   of    incorporation            organization                 or     creation                  of        the      related           obligor            or    ii          in    the       case        of         Collateral

   Obligation        that   would otherwise                      be considered to be domiciled                                             pursuant           to    clause                in      Tax Advantaged

   Jurisdiction           the    jurisdiction             in     which                in    the           commercially                    reasonable               judgment                of the          Servicer              the

   related    obligor           conducts        substantially                    all       of        its    business                operations              and     in     which           the      assets       primarily

   responsible        for   generating           its   revenues               are          located



               Due        Period             means with              respect               to    any        Payment Date                        for    all   purposes                other     than payments                 and

   receipts    under        Hedge           Agreements               the      period from                       the     Business Day                   after the           eighth          Business Day                before

   the   previous         Payment Date               or        in the         case          of the              first     Payment Date                       from         the       Closing         Date         up    to    but

   excluding        the    Business Day               after the            eighth               Business              Day before                 the    Payment Date                      or     in the         case   of the

   final    Payment Date               or    any Payment                Date          that           is      Redemption                   Date         through            the       Business Day                before the

   Payment         Date     and       for    payments            and     receipts                    under        Hedge             Agreements                the       period from               the      day    after the

   previous        Payment            Date     or      in      the     case           of the              first    Payment                Date         from        the         Closing         Date         through              the


   Payment Date


               Eligible           Country means                       the        United               States          Canada and any country                                   classified         by       Moodys           as

   Moodys Group                   Country Moodys                           Group                II    Country             or    Moodys                 Group         III       Country         and         in   each    case
   has an     SP      foreign          currency        rating          of     at      least          AA            by     SP             provided            that    such           country         has not       imposed

   currency        exchange           controls



               Eligible           Equity         Security               mean an                      equity        security              acquired            in   connection               with the workout                       or

   restructuring          of any       Collateral           Obligation                     by        or     on behalf of                   the    Issuer           that              is   publicly         traded      on        an

   Established        Securities             Market         or      ii     the        Market                Value         of which               is    higher        than the Principal                         Balance           of

   the Collateral         Obligation with respect                           to        which           such        equity            security          has been            acquired by             the      Issuer



               Eligible               Investments                    means any                       Dollar-denominated                               obligation               or     asset       that          when        it    is


   pledged     by the Issuer                to the   Trustee under                     the           Indenture             is   one        or    more of           the     following



                                              Cash




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                          ii                  direct          Registered                 obligations                    of and               Registered                  obligations              the       timely        payment
        of principal                  and     interest             on    which               is    fully and              expressly                    guaranteed               by     the       United           States       or    any

        agency            or instrumentality                            of the United                       States           the    obligations                    of which            are       expressly backed                      by
        the    full      faith          and    credit          of the United                      States           which           in    each           case are not zero coupon                               securities




                          iii                 demand               and        time            deposits                  in     trust          accounts                  certificates              of        deposit        payable
        within          91     days         of issuance of bankers                                      acceptances                     payable within 91                            days    of issuance issued                       by
        or    Federal funds                    sold           by any                                        institution             or trust                                                                  under       the       laws
                                                                             depositary                                                                  company                incorporated
        of the United                    States          or               state          thereof             and        subject              to    supervision                  and     examination                        Federal
                                                                any                                                                                                                                                  by
        and/or           state        banking             authorities                   so    long as the                    commercial                                   and/or            the    debt obligations                    of
                                                                                                                                                             paper
        such        depository institution or trust company                                                            or     in the          case of the principal                             depository               institution

        in          holding               company                  system                the           commercial                                       or     debt        obligations                  of     such
                                                                                                                                       paper                                                                               holding
        company                    at       the      time          of        such            acquisition                  or       contractual                     commitment                     providing               for       such

        acquisition                and        throughout                   the          term           thereof               have                 credit       rating            of not           less       than        Aaa          by

        Moodys                 and       AAA                  by    SP             and            in    each           case        are       not        on     watch            for    downgrade                   or     P-i by
        Moodys                 and       A-                   by    SP            in the           case           of commercial                         paper        and        short-term               debt obligations

        provided               that      in   any case               the     issuer            thereof             must        have           at       the    time of such                 acquisition                   long-term
        credit          rating          of not less than                     AA-                   by       SP          and        Aa3                 by     Moodys                 and          short-term              rating       of

        A-1 by SP                             and        P-i by Moodys                                      and    if    so    rated              is   not on watch                  for    downgrade


                          iv                  commercial                   paper              or       other           short-term                 obligations               with             maturity              of not        more
        than        183        days       from       the       date       of issuance and                                               at    the       time of such                                               credit
                                                                                                                       having                                                         acquisition                               rating

        of    at    least        P-i by              Moodys                   and            A-1 by SP provided                                                that       in     any       case         the    issuer       thereof

        must        have           at    the       time of such                     acquisition                         long-term credit                           rating        of not less                 than        Aa2          by
        Moodys                 and       AA-             by     SP           and         if    so      rated            such rating                is   not on watch                   for      downgrade


                                              unleveraged                    repurchase                      obligations                     with        respect           to                security             described            in
                                                                                                                                                                                     any
        clause                  above          entered into with                                  U.S         federal             or     state         depository               institution             or    trust       company
        acting            as    principal described                               in clause                  iii above                  or    entered              into     with             corporation                 acting        as

        principal               whose long-term                          credit           rating             is   not less than                    Aaa              by    Moodys                 and        AAA            by       SP
        and        in    each         case         are    not       on       watch            for       downgrade                   or       whose            short-term               credit          rating       is    P-i by
        Moodys                 and       A-                   by     SP            at    the        time of such                        acquisition                 and       throughout                the       term     thereof

        provided                that          if    such           repurchase                      obligation                  has                 maturity              of      longer            than       91         days         the

        counterparty                    thereto           must           also           have           at    the        time        of such                 acquisition               and                                 the       term
                                                                                                                                                                                                 throughout
        thereof                long-term credit                         rating          of not less than                       Aa2                 by    Moodys                 and        AAA               by    SP           and    if


        so    rated such                 rating          is   not on         watch             for      downgrade


                          vi                  any        money market fund                                   or    similar             vehicle           having            at    the       time of acquisition                       and

        throughout                 the        term        thereof                   credit             rating           of     MR1                      by     Moodys                  and        AAAm                    by    SP
        including               any       fund       for       which              the     Trustee                 or    an    Affiliate                of the Trustee                  serves           as    an     investment

        adviser              administrator                     shareholder                     servicing                agent            custodian                 or     subcustodian                      notwithstanding
        that                 the        Trustee          or     an      Affiliate                 of the Trustee                       charges               and    collects           fees        and                           from
                                                                                                                                                                                                              expenses
        such        funds          for        services             rendered                  provided                  that       such            charges           fees         and                              are     on terms
                                                                                                                                                                                           expenses
        consistent               with terms                   negotiated                 at       arms            length           and                   the       Trustee            charges           and        collects          fees

        and                              for services               rendered                                           to the       Indenture
                   expenses                                                                   pursuant


                          vii                      guaranteed                reinvestment                         agreement                  from             bank if            treated          as        deposit        by such
        bank             insurance             company                  or    other           corporation                    or     entity             organized            under           the    laws        of the United

        States          or               state      thereof             if treated                 as       debt by           such           insurance                                            other
                               any                                                                                                                                  company                or                 corporation              or

        entity            providing for periodic                                  payments                   thereunder                 during               each       Due Period                 provided              that       each
        such        agreement                 provides             that      it    is    terminable by the purchaser                                           without               premium            or                      in    the
                                                                                                                                                                                                              penalty
        event           that    the      rating          assigned             to        such        agreement                  by       either          Moodys                  or    SP          is   at    any    time lower
        than the then current                            ratings          assigned to the Class A-la Notes the Class A-lb Notes the Class

             Notes           the      Class              Notes           the       Class                    Notes        or the          Class                Notes provided                       further           that at the
        time of acquisition                          and           throughout                  the          term thereof                     the        issuer       of such               agreement               has          senior

        unsecured                  long-term                  debt       rating               issuer              rating           or     counterparty                     rating           of     at       least       Aaa           by

                                                                                                                  185
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                Moodys                    short-term               debt              rating        of   P-i by             Moodys                and          not     on     watch            for    downgrade
                short-term              debt rating              of        at    least        A-             by       SP       and          long-term debt rating                             of    at    least      AAA
                by     SP         and     not on watch                      for       downgrade                   and



                                  viii          such             other               obligations             or       assets         for    which             Rating          Confirmation                       has       been

                received



   and     in   each       case      with                stated       maturity                giving         effect       to               applicable                        period            no        later       than the
                                                                                                                                any                             grace
   Business Day              before the Payment Date                                    next succeeding                  the date          of acquisition



                Eligible           Investments                   on        deposit            in    the      Revolving                Reserve           Account              the        Delayed                Drawdown
   Reserve       Account            or    the       Synthetic                   Security           Collateral           Account            must        have           stated          maturity no                later     than

   one    Business Day              after the             date     of their purchase



                Eligible          Investments               may            not include



                                                any         interest-only                     security          any     security           purchased            at         price        in   excess            of 100%        of

                its    par        value        any         mortgage-backed                              security         or     any        security           whose          repayment                    is    subject       to

                substantial             non-credit               related             risk as        determined             in    the                                      reasonable judgment                             of the
                                                                                                                                           commercially
                Servicer



                                                any         security                 whose         rating         assigned by              SP          includes            the     subscript

                pi          or



                                                any         floating                  rate       security            whose           interest          rate    is     inversely               or     otherwise              not

                proportionately                     related           to        an     interest          rate     index         or    is    calculated               as    other        than        the        sum        of an

                interest                 index plus                    spread which                                              be    zero
                                 rate                                                                    spread         may


                                                any         security             that       is   subject        to     an exchange               or    tender offer or



                                                any         security                 that     has       payments           subject          to    foreign            or    United            States        withholding
                tax



                Eligible          Investments               may            include            Eligible          Investments            for       which        the     Trustee           or    an Affiliate                of the

   Trustee       is   the    issuer                                                                                            services                              Investments
                                          or   depository institution or provides                                                                 Eligible                                         may         not   include

   obligations         principally             secured            by       real
                                                                                      property



                Emerging                 Market              Security                       means               security         or    obligation              issued         by             sovereign               or    non
   sovereign          issuer      located           in      country                  excluding            the     Cayman Islands Bermuda                                    the British             Virgin Islands
   the    Netherlands             Antilles and               the       Channel                Islands



                                                that        is    in   Latin America                       Asia Africa                 Eastern Europe                      or the       Caribbean                or




                                  ii            the        long-term foreign                            currency         debt obligations                     of which             are       rated       below         Aa2
                or     Aa2          and        on        credit        watch             with       negative            implications              by     Moodys                  or     the    foreign           currency
                issuer       credit      rating           of which               is    below        AA SP         by


                Euroclear                 means Euroclear                              Bank        S.A./N.V              as operator              of the Euroclear                    system


                Excel             Default           Model              Input             File means an                        electronic              spreadsheet                file    in        Microsoft              excel

   format       to    be    provided           to    SP            which               file      shall    include         the     balance             of Cash and                 Eligible           Investments              in

   each     account          and        the    following                   information                  to      the     extent        such        information                is    not        confidential                 with

   respect      to    each       Collateral          Obligation


                                                the         name                and      country             of      domicile          of        the     issuer           thereof            and         the     particular

                obligation           or security             held by the Issuer



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                                                    the    CUSIP          or    other         applicable                 identification                number          associated             with           such

                Collateral          Obligation



                                                          par value of such
                                                    the                                    Collateral           Obligation


                                                    the            of obligation             or                          including            by                of example                 whether           such
                                                          type                                      security                                           way
                Collateral          Obligation               is     bond        loan        or    asset-backed                 security               using such          abbreviations                as    may
                be     selected        by the Trustee


                                                                           of the                                                            benchmark
                                                      description                      index or other                    applicable                                  upon which               the      interest

                payable           on such           Collateral        Obligation             is   based        including                  by way        of example fixed                    rate step-up

                rate zero coupon and                        LIBOR

                                                                                                  of                            Obligation which                     bears interest
                                                    the
                                                          coupon in            the    case                Collateral                                                                              at        fixed

                rate        or the       spread over the applicable                           index           in    the       case    of         Collateral          Obligation which bears
                 interest      at        floating          rate


                                                    the   SP       Industry          Classification                for   such        Collateral             Obligation


                                                    the   stated    maturity          date       of such Collateral                   Obligation


                                                    the   SP       Rating of such                 Collateral         Obligation or the issuer thereof                                  as    applicable


                                                    the   applicable        SP         Priority          Category and


                                                    such other        information as the Trustee                              may determine                   to include         in    such     file



                 Excess           CCC/Caal                    Collateral Obligations                               means         the       Principal           Balance       of       all   CCC/Caal
  Collateral          Obligations              in    excess       of 7.5% of the             Maximum Amount                               on the relevant            Determination                  Date


                 Excluded Property                                means              U.S.$250            attributable                to    the    issue       and    allotment of the                       Issuer

  Ordinary            Shares and                     U.S.$250          transaction            fee       paid to          the    Issuer the                  bank account              in    which           those

  amounts            are    credited       in the          Cayman         Islands          and     any        interest        earned         on       those     amounts           ii        any     amounts
  credited       to    the    Class       II   Preference             Share     Special           Payment Account                         from time to time and iii any Margin
  Stock


                 Extension means                           an extension          of the Replacement                           Period        the Stated           Maturity         of the Notes                and

  the   Weighted             Average           Life       Test in accordance                 with the Indenture



                 Extension               Bonus            Payment              means         with respect                to    each        Maturity Extension                          single       payment
  to    each         applicable          beneficial               owner        set    forth        in    Description                  of     the        Securities               Extension              of        the

  Replacement                Period        the       Stated        Maturity          and     the       Scheduled              Preference               Shares       Redemption               Date            in   an

  amount equal               to           in    the       case     of the Class A-la Notes 0.25%                                      of the Aggregate                    Outstanding                  Amount
  thereof       held by such              beneficial              owner    as    of the applicable                   Extension              Effective           Date             in the       case of the

  Class A- lb Notes 0.25% of the Aggregate                                            Outstanding                Amount              thereof          held by       such    beneficial             owner           as

  of the applicable               Extension               Effective       Date               in    the    case of the Class A-2 Notes 0.25% of the Aggregate

  Outstanding               Amount        thereof           held by such             beneficial           owner          as    of the applicable                 Extension             Effective            Date
         in    the    case     of the Class                   Notes 0.25% of                     the    Aggregate              Outstanding                   Amount        thereof          held by          such
  beneficial          owner         as    of the          applicable           Extension            Effective             Date                   in    the    case     of the         Class             Notes
  0.50% of            the    Aggregate               Outstanding           Amount            thereof          held by          such        beneficial           owner       as    of    the     applicable

  Extension           Effective          Date         and           in   the    case       of the Class                    Notes 0.50% of                      the   Aggregate              Outstanding
  Amount          thereof         held by such              beneficial         owner         as    of the applicable                  Extension               Effective      Date


                 Extension               Bonus            Eligibility       Certification                     means with              respect           to   each    Maturity Extension                        and

  each        beneficial          owner         of Notes           other       than        Extension            Sale       Securities                 the    written      certification                      such
                                                                                                                                                                                                       by
  beneficial           owner        acceptable               to    the    Issuer       to     the       effect       that       it    held        Notes        other       than       Extension               Sale



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   Securities           on        the    applicable               Extension                 Effective          Date            including            the     Aggregate                                                    Amount
                                                                                                                                                                                     Outstanding
   thereof     in    the      case of the Notes                       and     wire transfer                   instructions              for the       Extension                Bonus Payment and                                   any

   required        documentation                        thereunder



               Extension                      Determination                   Date means                      the              Business         Day        prior       to   each          Extension                  Effective

   Date


                   Extension                      Purchase          Price              means            the    purchase               price     payable              by     the      Extension                     Qualifying
   Purchasers for Extension                              Sale     Securities            in    connection                 with each           Maturity Extension                                               in   an amount
                                                                                                                                                                                          if   any
   equal to              in the         case        of the Notes the Aggregate                                 Outstanding                Amount            thereof plus                  accrued                  and    unpaid
   interest    including                 Deferred           Interest          if       any     as    of the applicable                   Extension              Effective            Date           giving               effect      to

   any     amounts            paid           to    the    Holder         on        such       date            and        ii     in     the    case        of the          Preference                 Shares              and       the

   Holding         Preference Shares                        an amount that when                            taken          together           with    all    payments                and        distributions                  made
   in    respect    of such              Preference               Shares          or   Holding           Preference               Shares            as the      case        may be              since          the       Closing
   Date      would cause                 such           Preference Shares                     or    Holding              Preference            Shares           as     applicable                   to    have        received

   as     of the date              of purchase              thereof                Preference                 Share        Internal          Rate     of Return                or         Holding                  Preference
   Share      Internal            Rate            of Return                                          of       12.0% assuming such                                                                   was
                                                                    as     applicable                                                                           purchase             date                           Payment
   Date       under          the     Indenture provided                                however            that       if   the     applicable              Extension             Effective                 Date           is   on     or

   after     the    date          on which               such      Holders              have        received                   Preference            Share        Internal            Rate           of Return                  or

   Holding         Preference                     Share    Internal           Rate          of Return               as     applicable               equal       to     or      in    excess               of 12.0%                 the

   applicable            Extension                  Purchase            Price          for     such           Preference               Shares         or    Holding                 Preference                     Shares            as

   applicable            shall      be       zero



                   Extension                      Qualifying             Purchasers                      means            the     Servicer            or        any       of    its       Affiliates                 acting          as

   principal        or       agent            provided            that       in    the       event       that       the        Servicer        elects        not to         purchase                 Extension                  Sale

   Securities       from           Holders              pursuant to the Extension                             Conditions               set forth       in    Description                   of the Securities

   Extension             of       the        Replacement                 Period               the       Stated           Maturity             and     the        Scheduled                 Preference                      Shares

   Redemption                Date             Extension                 Qualifying              Purchasers                     shall    mean          one       or     more          qualifying                    purchasers
   which       may           include              the   Initial    Purchaser                  Investors             Corp         or    any     of their respective                         Affiliates                acting          as

   principal        or        agent               designated          by      the       Servicer              provided                however             none         of      the     Servicer                    the        Initial


   Purchaser            Investors                 Corp     or     any    of their respective                        Affiliates          shall       have        any       duty to act                as       an Extension

   Qualifying Purchaser


               Face               Amount                  means with               respect          to    any        Preference               Share        or   Holding              Preference                    Share           the

   amount          set       forth       therein           as     the      face             amount             thereof            which             face        amount                shall              be    $1000               per
   Preference Share                     or    Holding           Preference              Share


               Finance                   Lease means                         lease          agreement               or    other        agreement             entered            into       in       connection                  with

   and     evidencing                   Leasing Finance                  Transaction



               Fixed               Amount                    means            with respect                to     any       CDS/TRS                  Purchaser             and       each        applicable                    Fixed

   Rate     Payor        Calculation Period                           the     product              of          the       applicable            Fixed        Rate          Payor       Calculation Amount

   with respect              to    such           CDS/TRS           Purchaser                 ii        the    applicable              Fixed Rate               with respect                   to    such           CDS/TRS
   Purchaser            and       iii              fraction       the    numerator                  of which              is    the    actual        number of days                       in        such           Fixed       Rate

   Payor      Calculation Period and                            the     denominator                 of which              is    360


               Fixed Rate                               means with            respect          to   any       CDS/TRS                 Purchaser             the      spread over                LIBOR                of the

   Class of Notes                 held by such              CDS/TRS                    Purchaser with respect                          to which           such       CDS/TRS                   Purchaser has

   entered into               credit          default       swap        or         total      return       swap           as the       case may            be


               Fixed Rate Excess                                   means               as    of any        Measurement                    Date              fraction           whose numerator                                is   the

   product         of


                                                        the greater          of zero and                 the     excess          of the Weighted                     Average              Fixed               Rate       Coupon
               for the             Measurement                  Date       over         the    minimum percentage                             specified           to   pass the Weighted                              Average
               Fixed Rate                    Coupon Test and

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                              ii           the       Aggregate                   Principal             Balance           of    all       Fixed           Rate       Obligations excluding                      any

               Non-Performing                  Collateral             Obligations                  held by the Issuer                         as   of the Measurement                   Date


  and    whose denominator                     is    the      Aggregate             Principal              Balance             of       all    Floating          Rate     Obligations excluding

  any Non-Performing                    Collateral             Obligations                  held by the Issuer                     as    of the Measurement                      Date


               In       computing         the       Fixed       Rate        Excess               on     any     Measurement                        Date         the    Weighted          Average          Fixed

  Rate    Coupon           for the      Measurement               Date           will       be     computed             as         the                     Excess
                                                                                                                              if             Spread                      were        equal to zero


               Fixed Rate Obligations means                                        any Collateral                   Obligation that bears                           interest     at     fixed       rate



               Fixed Rate Payer                      Calculation                  Amount                   means with                    respect         to    any     CDS/TRS          Purchaser for

  purposes          of calculating         the applicable                  CDS/TRS                    Termination              Payment Amount                          the     Aggregate

  Outstanding             Amount         of the Notes            held by such                      CDS/TRS              Purchaser as of the date                          of purchase           of such

  Notes       in   an     Amendment Buy-Out in                             each     case           after      giving effect                  to    any    principal       amounts            paid to such
  CDS/TRS            Purchaser on          such          date


               Fixed Rate Payer                      Calculation                  Period                With       respect         to    any CDS/TRS                   Purchaser for purposes                  of

  calculating           the applicable         CDS/TRS            Termination                     Payment          Amount                initially        the period           from and        including       the

  date   of   purchase        of such Notes              in    an Amendment                       Buy-Out          to but          excluding             the   immediately            succeeding
  Payment          Date and        thereafter            each    successive                 period        from and            including             each       Payment         Date    to but    excluding
  the following            Payment       Date provided                 that       the       last   Fixed Rate Payer                      Calculation             Period       shall   end     on the
  November 2010               Payment          Date


               Floating Rate Notes means                                     the       Class A-la Notes the Class A-lb Notes the Class A-2 Notes

  the    Class            Notes    the    Class               Notes        and     the      Class             Notes


               Floating             Rate        Obligation                   means any                   Collateral                Obligation              that       bears     interest        based      on
  floating         rate   index



               Form-Approved                        Synthetic              Security                means            Synthetic                 Security


                                                               each         of     the       Reference              Obligations                     of    which        satisfy        the     definition            of

                              Collateral Obligation                              and        could be           purchased                by the Issuer               without              required         action
                                                                                                                                                                                 any
                              by the Rating                   Agencies without                         satisfaction           of the Rating                    Condition         or   which      the    Rating

                              Agencies          have          otherwise            approved               or



                                                               each         of    the        Reference              Obligations                    of which            would                     clause
                                                                                                                                                                                     satisfy

                              above        but       for       the
                                                                       currency                  in     which        the       Reference                  Obligation            is    payable        and       the

                              Synthetic             Security          is
                                                                            payable               in    Dollars          does        not           provide       for    physical        settlement and
                              does not expose                   the Issuer             to    Dollar currency                   risk



                              ii            the       Synthetic             Security               Agreement                 of which               conforms           but      for    the     amount          and

               timing        of periodic             payments                the       name            of the       Reference                  Obligation              the     notional        amount          the

               effective       date       the       termination date                        and       other    similar                                                            form       that   has been
                                                                                                                                   necessary changes                      to

               expressly          identified          and       approved               in writing             in   connection                  with                       under        the    Indenture
                                                                                                                                                              request                                           by

               Moodys             and    SP
                              iii                              of the Synthetic                        Security         Agreement                   of which           has been         delivered         to   the
                                                copy
               Holders         of the Class A-I                  Notes            by     the       Trustee               the                          of the Co-Issuers                 and
                                                                                                                   at              expense                                                      upon being
               furnished with                  copy        of the same by the Servicer                                   and



                              iv            that         is   with          counterparty                  with respect                  to     which          the   Rating       Condition          has been
               satisfied       by       each        of    Moodys                 and        SP          prior       to    the       acquisition                 of any         such    Form-Approved
               Synthetic          Security and                 such        approval              has not been            withdrawn




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                  Moodys                  or    SP          may       at   any      time by            notice           to   the        Servicer           withdraw                its     approval           of any        such

   form                withdrawal                of approval               shall     have       no     effect          on    any        Synthetic              Security           acquired              entered into or

   committed                to    before the date                on     which        the Servicer                receives           the notice             of withdrawal



                  Funded Amount                                  means with                respect          to    any        Revolving                  Loan      or       Delayed              Drawdown Loan                        at

   any time            the       aggregate principal                       amount of advances                          or other          extensions of credit made thereunder                                             by     the

   Issuer      that       are      outstanding              and       have     not    been       repaid           at    such time



                  Hedge Agreements                                    means          collectively                 all       interest          rate       cap    or    interest           rate     swap         agreements
   between           the         Issuer      and      any     Hedge          Counterparty                   and any replacement agreement                                             entered into pursuant to

   the    Indenture



                  Hedge                 Counterparty                       means Rabobank                        International                     Utrecht       Rabobank                          currently              having
   an address of Croeselaan                                18 P.O 17100                    3500         HG Utrecht                      The         Netherlands                 or    any       other     counterparty
   to    the      extent           that        when         the       Issuer       enters            into    any            Hedge            Agreement                with           Rabobank             or        the     other

   counterparty                   Rabobank             or the         other    counterparty                  satisfies            the    requirements                  of the Indenture                       including              in


   the    case     of any              other counterparty                    to the satisfaction                   of the Rating Condition                                 for    each          Rating Agency



                  Hedge                 Termination Receipt                           means any termination payment paid by                                                          the    Hedge         Counterparty
   to    the      Issuer           upon any                early       termination               of          Hedge             Agreement                   with        respect             to    which         the        Hedge
   Counterparty                   is   the     sole    Defaulting Party                   or    Affected           Party          each             as   defined        in    the      Hedge        Agreements


                  High-Yield                        Bond           means any                   debt         security              other            than          Loan            or             Structured           Finance

   Obligation                that       is   either        Registered          or     if   not Registered                               it    is   issued       by an           obligor          that    is   not resident

   in    the   United             States         ii the          payments            on    it   are     not subject                to        United       States           withholding             tax        and    iii        it   is


   held through                        financial           institution         pursuant to              the       procedures                  described              in    Treasury             Regulation                section

   1.165-1        2c3
                  Holder                     means          of    any      Note       the       person whose name                              appears           on       the    Indenture              Register           as    the

   registered           holder            of the Note              of any          Preference               Share           the    person whose name appears                                       in    the    Preference

   Share         register              related        thereto         as     the     registered             holder           of such                Preference              Share          and      of any           Holding
   Preference Share the person whose name                                                  appears           in the          Holding               Preference              Share register related                         thereto

   as the registered                    holder of such                Holding         Preference Share



                  Holding                    Preference               Share Documents                            means            Investors              Corp.s memorandum and                                     articles          of

   association               the        Holding            Preference              Shares        Paying           Agency                Agreement                and        the      resolutions              of Investors

   Corp.s         board            of directors             authorizing              the    issuance             of the Holding                         Preference           Shares             passed        on    or    before

   the    Closing            Date


                  Holding                    Preference               Share Internal                    Rate           of    Return                     means          with          respect       to     any        Payment
   Date        the     internal              rate     of    return         computed              using the              XIRR                  function          in    Microsoft                   Excel        2002        or        an

                                                    another software package                                                                                    basis for each
                                                                                                                                        per annum                                                                          made
   equivalent               function           in                                                            stated          on                                                                   distribution

   to the      Holders             of the Holding                 Preference Shares                              any prior Payment Date                               and         to the        extent
                                                                                                        on                                                                                                    necessary to
   reach         the        applicable              Holding            Preference               Share         Internal             Rate            of Return                the       current           Payment            Date
   assuming            all       Holding            Preference Shares                 are       purchased               on    the       Closing           Date        at    their     Face        Amount


                  Holding                    Preference                Shares         Paying                Agency                Agreement                     means The                   Holding             Preference

   Shares        Paying            Agency             Agreement                dated as of the Closing                             Date            by and        between              Investors          Corp and                the


   Holding           Preference                 Shares           Paying        Agent            as    amended                from            time to       time        in    accordance                 with        the    terms

   thereof



                  Holding                    Preference               Shares         Paying Agent                            means            Investors          Bank                 Trust        Company                 in        its



   capacity          as      holding           preference              shares       paying           agent        under           the        Holding           Preference              Shares           Paying        Agency
   Agreement                     unless             successor Person                   shall          have        become            the            holding       preference                 shares        paying           agent

   pursuant            to    the        applicable           provisions             of the Holding                     Preference                  Shares        Paying           Agency            Agreement                   and

   thereafter           Holding                Preference Shares Paying                              Agent             shall      mean such successor Person

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             Indenture               Registrar            means          the    Bank        in       its    capacity          as   Indenture          registrar          as   provided             in the

  Indenture



             Indenture               Register             means          the    register             caused        to    be     kept      by    the     Issuer       for       the                       of
                                                                                                                                                                                       purpose
  registering      Notes       and     transfers         of the Notes           as   provided               in the      Indenture



             Initial Consent Period                            means        the                      of 15        Business Days from                    but excluding                  the    date       on
                                                                                     period
  which     the    Trustee        mailed         notice    of         proposed             supplemental                  indenture                            to    the       Indenture         to      the
                                                                                                                                            pursuant
  Holders    of Securities



             Initial          Rating means                 the       ratings      by     Moodys                   and    SP          with respect             to   each        Class of         Notes

  provided    in the table           in   Summary              of TermsPrincipal                            Terms of           the   Securities



             Interest           Period             means            initially        the        period           from        and     including          the        Closing           Date       to      but

  excluding        the    first      Payment         Date           and        thereafter              each        successive             period       from         and        including             each

  Payment Date           to   but excluding              the   following          Payment Date


             Interest           Proceeds            means with                 respect       to      any        Due Period            the    sum without                 duplication               of    all

  amounts     received          in     Cash during             the    Due        Period          or        as    otherwise                             below by                the     Issuer        with
                                                                                                                                     specified

  respect   to the       Collateral        that    are



                                           payments            of     interest         fees           and        commissions                                              Accrued             Interest
                                                                                                                                           excluding
             Purchased             With          Principal                     interest          and            dividends           on     Workout            Assets                        fees      and

             commissions               from Defaulted                Collateral          Obligations                    and              syndication          and     other          up-front        fees

             and              up-front      fixed                          received in connection                            with entering            into
                    any                                  payments                                                                                                  Synthetic          Security


                              ii           any      portion          of    the       Sale        Proceeds               of          Collateral         Obligation               other         than
             Defaulted          Collateral         Obligation              representing               Accrued            Interest        On    Sale



                              iii          all    payments           of principal               on         or    disposition                            from        the       sale    of
                                                                                                                                      proceeds                                               Eligible

             Investments             to   the extent       purchased             with Interest Proceeds



                              iv           payments            with respect           to the          Hedge         Agreements              received on             or    before the related

             Payment           Date       other      than any             amount payable                        thereunder           because      of any                       termination or
                                                                                                                                                                    early

             notional         amount reduction                      but not any             Sale       Proceeds              from     any      of these        instruments              except           to

             the extent         that      they were        purchased            with Interest Proceeds



                                           all    fees    received pursuant to any                              Securities         Lending       Agreements


                              vi           amounts             in    the       Collection               Account               designated          for        distribution              as    Interest

             Proceeds          pursuant to          the Priority           of Payments including                                     amount       transferred             from         the Interest
                                                                                                                              any
             Reserve          Account


                              vii          all    earnings          on     amounts              in    the       Delayed            Drawdown            Reserve            Account            and        the

             Revolving             Reserve         Account           deposited             to     the       Collection             Account        in    accordance               with        Section

             10.3b         of the Indenture



                              viii         amounts         in the         Expense           Reimbursement                       Account          on    the     Payment               Date     for       the

             relevant         Due    Period



                              ix           any     recoveries            including              interest           received on               Defaulted             Collateral          Obligation
             in    excess       of the       principal          balance          of such             Defaulted            Collateral           Obligation            as       of the         date       the

             related      Collateral         Obligation became                        Defaulted                 Collateral         Obligation




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                  Interest          Proceeds                shall     not include              the      Excluded               Property           and        Interest   Proceeds            shall       not include

   earnings           on    amounts              on     deposit           in the       Securities             Lending           Account             to   the    extent     the      earnings           are    payable

   by the Issuer             to        Securities              Lending            Counterparty



                  Each         reference               in the        definition             of Interest              Proceeds               to       Collateral          Obligation shall                   include

   Collateral              Obligation              that        has    been         loaned           pursuant              to          Securities             Lending       Agreement                  and       Interest

   Proceeds            shall      include             any     amounts            referred          to    in    clauses                through            iii above         received by                the Issuer          in

   respect       of the Collateral                      Obligation indirectly                           from        the    related          Securities          Lending        Counterparty                  pursuant
   to    the Securities                Lending           Agreement


                  With        respect            to     any     Payment Date                      Interest          Proceeds           in    an amount equal to the Interest Proceeds

   due     and        payable          on    such        Payment             Date        to    the      Consenting                  Holders         of the Preference                Shares           with respect

   to    such    Payment               Date        that       are    distributed              to such         Holders            by way            of Eligible          Equity      Securities              in lieu      of

   Cash pursuant                  to   Description                   of the SecuritiesPriority                                 of PaymentsInterest Proceeds                                      will      be treated

   for    all   purposes           by       the    Issuer          and     the    Servicer           as Principal               Proceeds



                  Investors                 Corp            Initial        Purchaser                 means           Credit          Suisse        Securities         USA LLC

                  Issuer               Charter means                       the    Memorandum                        and    Articles           of Association               of the Issuer as amended

   and     restated          before the Closing                       Date        or in      accordance              with the Indenture



                  Issuer               Order             and       Issuer          Request means                               written        order or request                dated       and     signed          in    the

   name of            the    Issuer the Co-Issuer or Investors                                       Corp           by an Authorized                      Officer       of the Issuer the Co-Issuer

   or Investors              Corp           as    applicable or by the Servicer                                    by an Authorized                      Officer      of the Servicer                 on     behalf of

   the Issuer          or the          Co-Issuer



                  Junior               Class means                        with respect              to         particular             Class of Notes each                       Class of Notes                   that     is


   subordinated               to that        Class



                  Leasing                Finance              Transaction                    means any               transaction              pursuant to which                  the      obligations             of the

   lessee        to               rent       or        other       amounts             on                          net    basis        under                   lease     of    or      other          arrangement
                       pay                                                                         triple                                            any

   conveying                the    right          to    use         real     or       personal            property              or          combination               thereof        are       required           to     be

   classified          and        accounted              for as            capital          lease       on         balance           sheet        of such       lessee     under       generally             accepted

   accounting               principles             in     the       United         States         of America                    but    only        if           such     lease      or other            transaction

   provides           for the          unconditional                 obligation              of the lessee to pay                           stated       amount of            principal          no     later    than

   stated       maturity date                    together            with interest thereon                          and        the    payment            of such        obligation          is    not subject             to


   any     material           non-credit                related           risk    as     determined                 by     the       Servicer                   the    obligations             of the        lessee       in


   respect        of       such     lease         or    other        transaction              are    fully         secured            directly          or    indirectly       by    the       property that              is


   the     subject          of such         lease       and               the    interest         held by the Issuer                    in respect             of such     lease     or other           transaction

   is   treated        as   debt for          U.S         federal          income           tax    purposes


                  Loan                 means any                interest          in         fully       committed                   senior        secured         unsecured              or    revolving              loan

   including                loans       involving               credit          linked        deposits              that       is    acquired            by     assignment           or     by        Participation

   including               any DIP          Loan            that     is   either




                                                        Registered               or




                                       ii               issued       by an obligor                  that      is   not    resident           in   the    United States



                                                                          whose payments                      are not          subject       to    United        States     withholding                tax      and



                                                                          that    is     held       through                financial              institution          pursuant        to      the      procedures
                                                        described           in    Treasury              Regulation              section           1.165-12c3


                  Long-Dated                          Collateral Obligation                                  means any               Collateral              Obligation        with            stated        maturity

   later    than the Stated                      Maturity            of the Notes                 other       than         Collateral              Obligation with                  stated        maturity             later




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  than the Stated              Maturities               of the Notes               that    includes                put         option        to       its    obligor        at         price     of    at    least      par
  payable on            or   before the Stated                   Maturity of the Notes



          Majority means with respect to any Class or group                                                                      of Notes              or     Preference Shares                        the    Holders

  of more than 50% of the Aggregate Outstanding Amount of                                                                       that        Class or group                   of Notes             or    Preference

  Shares as the case may be



                 Margin Stock                           means Margin Stock                             as       defined        under         Regulation                     issued          by      the      Board of
  Governors            of the Federal Reserve                          System             including                     debt security                 that    is    by    its    terms convertible                     into
                                                                                                                any

  Margin Stock but does not                              include
                                                                           any     obligation              that    at the      time of acquisition                         conversion                 or    exchange
  does not satisfy the requirements                                   of      Collateral              Obligation received pursuant to an offer                                              by an issuer               of

  Defaulted           Collateral          Obligation


                 Market              Value              means           as    of any             Measurement                   Date          the       market            value         determined                 by    the

  Servicer        and    reported             to the      Trustee as an               amount           rather           than as                                    or fraction              of par expressed
                                                                                                                                           percentage
  in    Dollars          of any           Collateral            Obligation                or                          Equity         Security                as    applicable                based                      the
                                                                                                 Eligible                                                                                                   upon
  Servicers            commercially                  reasonable              judgment              and          based                      the                            order of priority                             the
                                                                                                                           upon                   following

  average         of the       bid-side             market           prices        obtained           by        the     Servicer           from        three                                     broker-dealers
                                                                                                                                                                    Independent
  active    in the       trading          of such             obligations           or    ii if        the      foregoing            set    of prices              were     not obtained                    the    lower

  of the bid-side              market          prices         obtained           by the Servicer                   from two Independent                             broker-dealers                    active      in the

  trading        of such       obligations               or    iii     if   the    foregoing            sets       of prices         were         not obtained                   the                       of the bid-
                                                                                                                                                                                       average
  side     prices       for     the       purchase             of the         Collateral              Obligation            or        Eligible              Equity         Security              as    applicable
  determined            by     an    Approved                 Pricing        Service           Independent                 from        the       Servicer             that       derives         valuations              by
  polling        broker-dealers               Independent                   from     the       Servicer


                 If      Market Value                    of any        Collateral              Obligation cannot                     be     so        determined             in    accordance                with the

  procedures            set    out       in   the       previous            paragraph            for            period      of 30           consecutive               days         then        such        Collateral

  Obligation shall                  be    deemed          to     have             Market          Value           of zero                                   that                   such        30
                                                                                                                                 provided                           during                             day     period
  such     Collateral          Obligation               shall     be deemed               to   have             Market Value                                to the       lower         of        the                     of
                                                                                                                                            equal                                                          product
         the     Principal           Balance             of     such        Collateral            Obligation              multiplied                  by             1.25        multiplied                             the
                                                                                                                                                                                                        by
  applicable           SP       Priority            Category               Recovery              Rate       and         ii the        current              market        value          of such            Collateral

  Obligation as determined                           by the Servicer                 in    its   commercially                  reasonable judgment provided                                           further          that

  the     maximum amount                           of     Collateral              Obligations                having              Market                Value         assigned               pursuant              to    the

  immediately                preceding             proviso           shall    be     limited          to    5.0% of            the     Maximum Amount                              and         any         amount        in

  excess       of 5.0%          of the             Maximum Amount                          shall       be       deemed         to     have                 Market        Value          of     zero            For      the

  avoidance           of doubt the procedures set out in                                       this                         should not apply to determinations                                             of Market
                                                                                                       paragraph
  Value     of any Eligible                   Equity          Securities




                 The     Servicer             is   under        no    obligation           to     determine              the    Market            Value            of the        Collateral            Obligations
  other     than as set forth                  in the         Servicing           Agreement                or     the    Indenture           or to          comply with any                    of     its    duties      as

  set    forth    in the      Servicing             Agreement                or in the         Indenture



                 Market              Value Determination                            Date means                        with respect               to   any     distribution               of Eligible              Equity
  Securities           one     Business             Day       prior to the           date        of the notice             distributed                by the Issuer               to    the    Holders            of the

  Preference           Shares        in   connection                 with such distribution



                 Market              Value              Percentage                  means             for                 Collateral              Obligation                the         ratio         obtained           by
                                                                                                                any
  dividing



                                                   the   Market            Value      of the Collateral                   Obligation                  by



                                ii                 the Principal             Balance            of the Collateral                Obligation


                 Maximum Amount                                 means an amount equal to


                                                   on    any Measurement                       Date        during        the   Ramp-Up                 Period            U.S.$1471900000                               and


                                                                                                           193
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                                  ii           on any Measurement                        Date          after the        Ramp-Up         Completion           Date


                                                                the        aggregate         Principal             Balance       of    all    Collateral          Obligations plus               the


                                  aggregate outstanding                         principal     amount of any Defaulted                         Collateral          Obligations plus



                                                                cash        representing                Principal          Proceeds           on        deposit      in    the        Collection

                                  Account        plus



                                                                Eligible           Investments                other       than       cash         purchased        by     the     Issuer      with

                                  Principal      Proceeds             on    deposit         in the Collection               Account


                  Maximum                Weighted               Average            Moodys              Rating           Factor       means         as    of any    Measurement              Date
        rate   equal        to   the   sum of             the        number         set forth          in the      column        entitled         Maximum            Weighted           Average

   Moodys              Rating       Factor          in    the    Ratings           Matrix         based        upon       the    applicable             row/column              combination
   chosen         by    the      Servicer      or     the      interpolation           between            two       adjacent         rows    and/or two adjacent                 columns           as

   applicable plus                ii the      Recovery               Rate       Modifier



                  Measurement Date means                                    any     date



                                               on which              the    Issuer     commits            to acquire        or   dispose of any             Collateral          Obligation



                                  ii           on which                Collateral           Obligation becomes                        Defaulted          Collateral       Obligation



                                  iii          that      is     Determination                Date


                                  iv           that      is    the   Ramp-Up             Completion                Date


                                               that       is   the     date       as   of which              the   information          in         Monthly Report                is   calculated


                  pursuant to the Indenture                          and


                                  with respect           to    any distribution              of    Eligible         Equity       Securities         only


                                  vi           that      is    the   Market         Value        Determination              Date


                  Minimum                Diversity             Score means                  as    of any           Measurement              Date         score     equal to       the    number
   set    forth        in   the     column          entitled         Minimum                Diversity              Score        in    the    Ratings        Matrix        based        upon      the

   applicable           row/column              combination                     chosen      by the Servicer                or    the    interpolating            between         two    adjacent

   rows        and/or two adjacent               columns              as    applicable


                  Minimum                Weighted              Average            Spread means                      as   of any       Measurement             Date        the    spread equal
   to    the    percentage             set    forth      in    the     row        entitled        Minimum                Weighted            Average        Spread          in    the    Ratings
   Matrix based               upon     the    applicable             row/column              combination                  chosen       by    the    Servicer       or     the interpolating

   between         two      adjacent         rows     and/or two adjacent                    columns               as   applicable



                  Monthly Report means                                     monthly       report         compiled          and    provided          by the Issuer



                  Moodys               Default           Probability              Rating means                     with respect         to    any       Collateral      Obligation          as     of

   any     date    of determination                   the rating           determined             in   accordance           with the following                   in the    following        order

   of priority



                                               with respect                to      Moodys              Senior Secured            Loan


                                                                if    the       Loans       obligor          has         corporate      family rating              from    Moodys             such

                                  corporate         family rating and

                                                                if   the    preceding            clause        does not apply               the   Moodys           Obligation Rating of
                                  such       Loan

                                                                                                       194
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                                                                     if   the       preceding          clauses          do    not apply               the       rating       that    is     one        subcategory
                              above            the       Moodys             Equivalent              Senior Unsecured                      Rating


                              ii                   with respect                 to          Moodys            Non        Senior           Secured           Loan        or          Bond           the     Moodys
               Equivalent               Senior Unsecured                        Rating of such                Collateral            Obligation



                              iii                  with respect                 to        Collateral          Obligation             that       is        DIP Loan                the     rating         that    is    one

               rating      subcategory                    below          the    Assigned            Moodys              Rating thereof



                              iv                   with respect                to         Structured         Finance          Obligation                  the    Assigned            Moodys               Rating
               thereof       or         if    the    obligation                does not have            an Assigned                 Moodys                Rating but has                       rating     by     SP
               then    the    Moodys                Default           Probability              Rating    shall     be


                                                                     one       rating       subcategory            below           the    Moodys                equivalent           of such            SP       rating

                              if   it    is    BBB                  or    higher          or



                                                                     two        rating         subcategories                 below         the       Moodys             equivalent                of     such         SP
                              rating          if    it   is    BB              or    lower and


                                                   with respect                to         Synthetic        Security the Assigned                            Moodys                Rating thereof



  Notwithstanding               the       foregoing                  if   the       Moodys            rating       or    ratings          used       to    determine              the       Moodys              Default

  Probability         Rating            are    on         watch          for    downgrade              or     upgrade          by        Moodys                 such                    or ratings              will    be
                                                                                                                                                                            rating

  adjusted        down        if on            watch            for       downgrade                      with        respect         to     any        Collateral             Obligation                 other        than

  Structured          Finance             Obligations                     one         subcategory              and       ii         with        respect           to                Structured              Finance
                                                                                                                                                                            any
  Obligation          two subcategories                             or adjusted             up    if on       watch          for    upgrade                     with respect                to    any     Collateral

  Obligation          other        than         Structured                 Finance             Obligations              one        subcategory                  and         ii     with                         to
                                                                                                                                                                                                 respect               any
  Structured       Finance              Obligation                  two subcategories                      For purposes               of any          calculation             under          the    Indenture            if


       Moodys         Default           Probability                 Rating           is   withdrawn           by     Moodys               with respect                 to      Collateral               Obligation
  the                        continue                                                                   Default
         Issuer    will                             using the             latest      Moodys                             Probability                 Rating       available             immediately                  prior

  to    such   withdrawal               until            bankruptcy                 event      occurs with respect                   to    such       Collateral             Obligation



               Moodys                   Equivalent                       Senior           Unsecured              Rating              means                with        respect          to        any      Collateral

  Obligation          that    is         Loan             or    bond and              the        obligor      thereof          as    of any            date       of determination                        the    rating

  determined          in   accordance                    with the following                       in the     following             order of priority



                                                   if     the       obligor           has           senior       unsecured                obligation             with        an     Assigned               Moodys
               Rating         such Assigned                         Moodys            Rating



                              ii                   if     the       preceding              clause      does        not       apply          the      Moodys                 Issuer           Rating             for    the

               obligor



                              iii                  if     the        preceding              clauses         do     not        apply         but        the       obligor            has             subordinated

               obligation          with an Assigned                            Moodys             Rating         then


                                                                     if   such        Assigned         Moodys                Rating        is at      least      B3          and          if     rated    B3           not
                              on watch                   for    downgrade                   the    Moodys            Equivalent                 Senior Unsecured                     Rating            shall     be    the

                              rating          which            is   one     rating         subcategory           higher than               such Assigned                    Moodys               Rating          or



                                                                     if   such Assigned                Moodys                Rating        is   less      than     B3             Or    rated       B3          and     on
                              watch            for       downgrade                    the      Moodys            Equivalent               Senior          Unsecured               Rating           shall    be        such

                              Assigned                   Moodys            Rating



                              iv                   if     the       preceding              clauses       do      not         apply         but       the        obligor        has               senior         secured

               obligation          with an Assigned                            Moodys Rating                     then




                                                                                                           195
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                                                            if    such       Assigned         Moodys               Rating            is at      least      Caa3 and                    if   rated       Caa3
                      not on watch                     for      downgrade               the    Moodys               Equivalent                  Senior Unsecured                       Rating           shall    be

                      the       rating          which        is   one     subcategory below                     such       Assigned               Moodys Rating                         or



                                                            if    such       Assigned         Moodys                Rating            is     less      than          Caa3 or                rated       Caa3
                      and        on        watch           for    downgrade                 then        the    Moodys                 Equivalent                   Senior        Unsecured               Rating
                      shall      be



                                           if    the    preceding             clauses         do     not      apply         but        such           obligor            has         corporate           family

         rating     from         Moodys                     the    Moodys              Equivalent              Senior            Unsecured                   Rating            shall     be       one     rating

         subcategory below such                             corporate           family rating



                      vi                   if    the       preceding           clauses        do     not       apply            but        the    obligor                has         senior       unsecured

         obligation             other           than             bank        loan      with             monitored                public           rating             from       SP          without             any
         postscripts            asterisks             or    other      qualifying           notations              that    addresses the                     full     amount of             principal           and

         interest     promised                   then the          Moodys             Equivalent              Senior Unsecured                         Rating            shall   be


                                                            one     rating       subcategory below                        the    Moodys                    equivalent           of such          SP       rating

                      if   it   is    BBB                  or    higher


                                                            two        rating     subcategories                 below            the         Moodys                  equivalent             of    such         SP
                      rating          if   it    is   BB            or   lower         or



                                                            B3           until    the       Issuer       or    the        Servicer              obtains            an     estimated           rating       from

                      Moodys                    of           the    Servicer          certifies         to    the       Trustee            that       in    its      commercially                reasonable

                      judgment                   it   believes         an estimated rating                    equivalent              to         rating         no       lower       than    B3          will    be

                      assigned by                     Moodys            and     the    Issuer        or the        Servicer            on       its   behalf applies                  for    an estimated

                      rating           from           Moodys              within         five      Business               Days          of       the        date         of    the    commitment                  to

                      purchase               the      Loan        or    Bond                the    aggregate Principal                           Balance             of Collateral               Obligations

                      having            an       Assigned              Moodys            Rating          pursuant               to    either          this        clause         viC              or    clauses

                      viiC                  or        viiiC             does     not        exceed           5%      of the            Maximum Amount                                  and               all    the

                      Coverage                  Tests and           the Collateral            Quality           Tests       are satisfied




                      vii                  if    the       preceding             clauses           do    not        apply             but        the        obligor            has           subordinated

         obligation             other           than             bank        loan      with             monitored                public           rating             from       SP          without             any

         postscripts            asterisks             or    other      qualifying           notations that                 addresses the                     full     amount of             principal           and

         interest     promised                   the       Assigned          Moodys           Rating shall be                    deemed               to    be


                                                            one     rating       subcategory below                        the    Moodys                equivalent               of such          SP       rating

                      if   it   is    BBB                  or    higher


                                                            two                                                 below            the         Moodys                                         of such            SP
                                                      BB               rating     subcategories                                                                      equivalent

                      rating          if   it    is                 or   lower and            the       Moodys             Equivalent                  Senior Unsecured                       Rating           shall

                      be    determined                     pursuant to clause                 iii above              or



                                                            B3           until    the       Issuer       or    the        Servicer              obtains            an     estimated           rating       from

                      Moodys                    if          the    Servicer           certifies to            the    Trustee               that       in    its
                                                                                                                                                                    commercially                 reasonable

                      judgment                   it   believes          an    estimated rating                 equivalent                  to     rating            not lower          than       B3           will

                      be        assigned              by     Moodys              and        the    Issuer          or     the        Servicer              on      its    behalf                         for     an
                                                                                                                                                                                        applies

                      estimated                 rating       from    Moodys within                       five      Business Days of the date                                    of the commitment

                      to        purchase               the       Loan or Bond                                the     aggregate                   Principal               Balance            of    Collateral

                      Obligations having                           an Assigned              Moodys             Rating pursuant                        to either this clause                      viiC or
                      clauses              viC             or     viiiC          does        not   exceed           5%      of the              Maximum Amount                           and             all    the

                      Coverage                  Tests       and     the Collateral            Quality Tests are satisfied




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                     viii                 if    the       preceding             clauses            do not           apply          but        the     obligor           has          senior       secured

        obligation         with                monitored              public       rating          from       SP          without             any        postscripts              asterisks      or    other

        qualifying             notations              that          addresses           the    full       amount              of    principal              and        interest       promised                the

        Assigned          Moodys                Rating          shall      be     deemed           to    be


                                                           one       rating       subcategory              below          the      Moodys             equivalent              of such         SP       rating

                     if   it   is    BBB                  or    higher



                                                           two        rating       subcategories                 below             the    Moodys                                         of such        SP
                                                     BB                                                                                                          equivalent

                     rating          if   it    is                   or    lower and           the       Moodys               Equivalent              Senior Unsecured                    Rating        shall

                     be    determined                  pursuant to clause                     iv        above        or



                                                           B3             until    the    Issuer          or    the       Servicer             obtains           an    estimated          rating        from

                     Moodys                    if         the        Servicer       certifies            to    the    Trustee            that       in     its   commercially                  reasonable

                     judgment                   it   believes            an estimated              rating       equivalent               to         rating       not lower           than      B3           will

                     be        assigned              by     Moodys                and     the       Issuer          or    the       Servicer             on      its    behalf                      for      an
                                                                                                                                                                                     applies

                     estimated                 rating       from          Moodys          within two Business Days of the date                                                of the commitment

                     to        purchase               the       Loan        or      Bond                      the     aggregate                Principal               Balance           of    Collateral

                     Obligations having                             an     Assigned           Moodys                Rating         pursuant              to   either        this clause         viiiC
                     or clause              viC                or   viiC does                 not exceed             5%         of the        Maximum Amount                          and             all    the

                     Coverage                  Tests and             the   Collateral          Quality Tests                  are satisfied




                     ix                   if    the    preceding                clauses        do        not    apply           and       each        of      the      following          clauses

        through                 do    apply           the      Moodys             Equivalent              Senior Unsecured                         Rating will be                 Caal

                                                           neither         the obligor             nor any           of   its   Affiliates            is      subject        to   reorganization              or

                     bankruptcy                     proceedings



                                                           no       debt securities or obligations                              of the obligor                are      in   default



                                                           neither          the    obligor           nor any             of   its     Affiliates              has      defaulted          on             debt
                                                                                                                                                                                                any
                     during the preceding                             two years


                                                           the obligor             has been             in existence            for the                                five
                                                                                                                                                   preceding                      years


                                                           the obligor             is   current          on any       cumulative                   dividends


                                                           the       fixed-charge              ratio          for    the      obligor              exceeds             125%        for    each      of       the

                     preceding                 two     fiscal years               and    for the         most       recent         quarter


                                                           the       obligor       had         net       profit      before tax               in   the     past fiscal            year and       the    most

                     recent          quarter and


                                                           the       annual         financial             statements               of     such           obligor            are    unqualified              and

                     certified             by         firm of Independent                          accountants                of international                   reputation              and    quarterly

                     statements are unaudited but signed by                                                    corporate            officer



                                          if   the    preceding              clauses          do    not apply             but       each           of the following                 clauses                 and
             do   apply             the    Moodys                   Equivalent          Senior Unsecured                      Rating           will      be      Caa3

                                                           neither         the obligor             nor any           of   its   Affiliates            is      subject        to   reorganization              or

                     bankruptcy                     proceedings              and



                                                           no       debt security             or    obligation             of such            obligor          has been            in default      during
                     the past             two years and



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                            xi              if   the     preceding                clauses         do     not apply             and           debt          security       or obligation              of the

               obligor      has      been     in default              during          the    past      two years             the    Moodys                 Equivalent           Senior Unsecured

               Rating will be            Ca
  Notwithstanding              the    foregoing             not more                  than    10%        of the         Maximum Amount                             may     consist           of Relevant

  Obligations given                  Moodys              Equivalent                   Senior      Unsecured              Rating           based        on          rating        given       by     SP        as

  provided      in clauses         vi        vii and          viii above


               Moodys             Group               Country means                         any     of the following                    countries            Australia            the      Netherlands

  the   United        Kingdom          and       any     country             subsequently                determined                by     Moodys              to    be          Moodys            Group
  Country


               Moodys             Group          II   Country means                          any of the following                       countries            Germany             Ireland          Sweden
  Switzerland         and   any      country          subsequently                    determined           by     Moodys             to    be         Moodys Group                    II   Country


               Moodys              Group           III      Country                    means any                  of    the    following               countries               Austria            Belgium
  Denmark         Finland             France           Iceland               Liechtenstein                   Luxembourg                    Norway                Spain          and        any      country

  subsequently         determined             by   Moodys               to       be      Moodys Group                    III    Country


               Moodys              Minimum               Average                 Recovery              Rate            means          as     of      any     Measurement                   Date             rate

  equal   to    the   number obtained                  by             summing               the   products             obtained         by      multiplying              the    Principal           Balance

  of each      Collateral      Obligation by                its   respective                Moodys            Priority         Category              Recovery            Rate ii             dividing       the

  sum     determined           pursuant          to    clause                    above        by       the    sum        of     the       Aggregate              Principal            Balance         of     all


  Collateral     Obligations and                 iii rounding                    up to the        first      decimal place



               Moodys             Non        Senior         Secured               Loan            means any Loan                     that       is    not        Moodys               Senior Secured

  Loan


               Moodys             Obligation             Rating means                         with respect              to    any Collateral                Obligation as of any                     date     of

  determination          the      rating     determined                in   accordance              with the following                       in the         following           order of priority



                                            With       respect         to         Moodys               Senior Secured                Loan


                                                            if   it   has an Assigned                    Moodys              Rating          such      Assigned            Moodys              Rating        or



                                                            if    the        preceding              clause         does        not      apply          the       rating        that     is    one     rating

                            subcategory               above       the       Moodys             Equivalent              Senior Unsecured                      Rating         and



                            ii              With       respect         to         Moodys Non                  Senior Secured                    Loan        or      Bond


                                                            if   it   has an Assigned                    Moodys              Rating          such      Assigned            Moodys              Rating        or



                                                            if   the        preceding             clause          does       not    apply            the    Moodys              Equivalent           Senior

                            Unsecured              Rating         and



                            iii             With       respect              to         Synthetic             Security          or          DIP        Loan          the     Assigned              Moodys
               Rating thereof



  Notwithstanding            the      foregoing             if   the        Moodys            rating         or    ratings         used      to      determine            the    Moodys             Default

  Probability         Rating       are   on      watch        for      downgrade                  or    upgrade          by     Moodys                 such        rating       or    ratings       will     be

  adjusted      down        one      subcategory              if on              watch       for       downgrade               or     up     one       subcategory               if on           watch      for

   upgrade


               Moodys              Priority            Category                       means each              type       of        Collateral              Obligation            specified           in     the

  definition     of Applicable                Percentage                as            Moodys            Priority         Category



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              Moodys               Priority         Category           Recovery             Rate             means           for     any       Collateral           Obligation                the

  percentage         specified       in    the definition        of Applicable Percentage opposite                                       the    Moodys            Priority        Category
  of the Collateral          Obligation



              Moodys              Rating means             the   Moodys             Default       Probability             Rating           provided         that        with respect           to

  the Collateral                                                              time
                          Obligations generally               if at
                                                                       any            Moodys                 or   any     successor to              it   ceases to provide             rating

  services         references        to    rating    categories         of    Moodys              in    the       Indenture          shall       be       deemed         instead        to    be
  references         to    the    equivalent                           of            other                                                       investment
                                                    categories                any                 nationally              recognized                                    rating        agency
  selected                                          of the    most
               by     the    Servicer         as                        recent       date        on    which         such      other        rating         agency        and      Moodys
  published        ratings       for the    type of security          in respect          of which           such    alternative                                        is   used
                                                                                                                                            rating        agency


              Moodys               Rating         Factor        means        the     number            in    the     table     below           opposite           the        rating    of the
  Collateral                                                                                           where
                    Obligation            excluding          Synthetic            Securities                         an       Assigned              Moodys              Rating         is     not

  available



                                                                      Moodys                                                         Moodys
                                           Moodys                      Rating                          Moodys                            Rating

                                             Rating                    Factor                          Rating                            Factor


                                             Aaa                                                            Bal                            940

                                             Aal                             10                             Ba2                           1350


                                             Aa2                             20                             Ba3                           1766


                                             Aa3                             40                              Bi                           2220

                                             Al                              70                              B2                           2720

                                             A2                             120                              B3                           3490

                                             A3                             180                             Caal                         4770

                                             Baal                        260                                Caa2                          6500

                                             Baa2                        360                            Caa3                              8070


                                             Baa3                        610                      Ca        or    lower                  10000




              The         Moodys          Rating     Factor      for    Collateral              Obligations that                   are    Synthetic          Securities           shall       be
  determined         by    Moodys          and     obtained      by the Issuer            or the       Servicer         on         case-by-case basis unless                          there    is

  an   Assigned           Moodys          Rating     available         for    such     Collateral                                    that      is                                              in
                                                                                                                 Obligation                               Synthetic           Security
  which    case      such                     Moodys                                 be    used to compute
                             Assigned                         Rating        shall                                             the    Moodys              Rating Factor            for       such
  Collateral       Obligation that           is     Synthetic        Security


              The     Moodys Rating                 Factor     for    any     Collateral          Obligation that                   is      Structured            Finance         Security

  shall   be equal to     Ax 55%
                                   1B

  where               means        the    number determined with                    respect       to   such        Collateral        Obligation pursuant to the table
  above      and



                          means     the     Moodys           Priority        Category            Recovery            Rate          with        respect       to    such         Collateral

  Obligation



              Moodys              Senior      Secured        Loan       means


                                             Loan that




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                                                                 is   not     and            cannot        by      its   terms        become                 subordinate              in right         of payment

                              to    any     other          obligation             of the obligor              of the          Loan


                                                                 is   secured            by          valid    first       priority          perfected               security         interest         or lien         in to

                              or on        specified          collateral               securing the obligor                          obligations                   under       the   Loan         and



                                                                 the     value of the collateral                          securing           the    Loan            together          with other             attributes

                              of the         obligor          including                  without            limitation               its    general                financial         condition               ability      to

                              generate            cash       flow        available             for      debt        service       and        other           demands                for   that    cash           flow     is


                              adequate            in       the   commercially                   reasonable judgment                              of the Servicer                     to   repay the Loan in
                              accordance                with      its    terms and              to    repay        all    other       loans        of equal seniority                      secured           by        first


                              lien or security                interest            in the       same        collateral            or




                              ii                     Loan that


                                                                 is   not     and            cannot        by      its   terms        become             subordinate                  in right         of payment

                              to     any        other       obligation                 of the     obligor            of the       Loan             other           than        with       respect           to        Loan
                              described               in    clause                     above         with                        to        the     liquidation                 of    such                         or     the
                                                                                                                respect                                                                          obligor

                              collateral             for    such      loan



                                                                 is   secured            by       valid       second            priority          perfected              security         interest          or    lien   in
                              to    or    on     specified            collateral             securing the obligors                         obligations                  under       the   Loan


                                                                 the     value of the collateral                          securing           the    Loan            together          with other             attributes

                              of the         obligor          including                  without            limitation               its    general             financial            condition                            to
                                                                                                                                                                                                             ability

                              generate            cash       flow        available             for      debt service              and        other           demands                for   that    cash           flow     is


                              adequate            in       the   commercially                   reasonable judgment                              of the Servicer                     to   repay the Loan                  in

                              accordance                with     its    terms and               to    repay        all    other       loans        of equal or higher                      seniority             secured

                              by          first   or    second          lien or security                   interest           in the       same     collateral                 and



                                                                 has     been           assigned              Moodys              Obligation Rating                            equal to or higher                      than
                              the        applicable          Moodys               Default         Probability                 Rating         and



                              iii               the     Loan       is   not                    DIP Loan                           Loan           for    which            the    security         interest or           lien

                or     the    validity          or      effectiveness                  thereof          in    substantially                 all    of        its    collateral            attaches           becomes
                effective           or    otherwise           springs                  into    existence            after the          origination                  thereof          or               type of loan
                that    Moodys              has        identified                                     unusual            terms         and       with                                 which
                                                                             as        having                                                                  respect          to                    its    Moodys
                Recovery            Rate     has been            or     is   to    be determined                   on         case-by-case basis



                Multiple             Class        Holder means                         any    Holder          of    Securities             or     in the           case of Notes            represented by
   Global    Notes        beneficial             owner        thereof             that   holds or has                    beneficial           interest             in    more than one Class of
   Securities      including              for    this      purpose           any       interest       in   Holding             Preference Shares                         as    an    interest      in

   Preference Shares



                Non-Consenting                         Holder means                          with     respect            to    any      supplemental                      indenture         pursuant              to     the

   Indenture       that                         the     consent          of one          or     more Holders                    of Securities                             Holder                        the      case     of
                             requires                                                                                                                              any                    or     in


   Securities      represented by Global                         Notes any                   beneficial            owner         that       either                 has delivered            to     the       Trustee

   written     notice        that    it    will       not consent                 to    such     supplemental                   indenture               or     ii        had    not consented                    to    such

   supplemental           indenture             within       the applicable                   Initial      Consent             Period



                Non-Consenting                        Holding            Preference                  Share Holder means with                                         respect         to   any     supplemental
   indenture       pursuant          to     the      Indenture           that          requires         the     consent          of one            or    more Holders                     of Securities                any
   Holder      of Holding            Preference               Shares          that       either               has        directed          Investors               Corp         not to      consent              to    such

   supplemental           indenture             or    ii      has not             provided            Investors           Corp             with any             direction            with respect                to    such

   supplemental           indenture             within       the applicable                   Initial      Consent             Period




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                Non-Performing                             Collateral Obligation                           means any Defaulted                           Collateral             Obligation and                  any
  P1K     Security           as to    which          its    issuer       or obligor           has previously deferred                           or capitalized                 any     interest         due    on     it



  and    all   the   interest               deferred                                         has not subsequently                       been                                    cash
                                      so                        or capitalized                                                                   paid in          full    in            by

                                                if     the       P1K     Security            has          Moodys                 Rating    of Baa3 and                          not on           credit       watch

                with negative               implications                  or     above        or    an    SP          Rating        of    BBB- and not                         on     credit          watch    with

                negative            implications                 or    above          the earlier          of    its    second          payment          date      or     one        year following                 the

                date     of the       initial     deferral             or capitalization                 of interest due             on    it or




                               ii               if     the       P1K     Security            has          Moodys             Rating        of    Baa3              and         on    credit       watch        with

                negative            implications                or    below         Baa3             or    an       SP       Rating        of    BBB-               and        on    credit       watch        with

                negative             implications                or     below          BBB-               the       earlier        of    its    first
                                                                                                                                                         payment                date        or    six        months

                following            the date          of the         initial    deferral          or capitalization                of interest due                on it


                Notes              means        the        Class the Class A-la Notes                                  the       Class A-lb Notes                   the        Class A-2 Notes the
  Class          Notes        the     Class            Notes          and     the     Class          Notes


                Noteholder means                                 Holder          of    the   Class A-la Notes the Class A-lb Notes the Class A-2

  Notes        the   Class            Notes          the        Class           Notes    or the          Class          Notes


                Note Payment                    Sequence means                          the application                 of funds          in    the    following           order



                                                to the          Class A-la Notes                    until the          Class A-la Notes                  have       been                    redeemed
                                                                                                                                                                                fully



                                                to the           Class A-lb Notes                   until the          Class A-lb Notes                  have        been                   redeemed
                                                                                                                                                                                    fully



                                                to the           Class A-2 Notes                   until the        Class A-2 Notes                   have      been       fully       redeemed


                                                to the           Class          Notes        until the          Class             Notes     have       been       fully        redeemed


                                                to the          Class           Notes        until the          Class             Notes     have       been       fully        redeemed                and



                                                to the          Class            Notes       until the          Class             Notes        have     been       fully       redeemed


                Offer              means any               Collateral            Obligation that                 is    subject       to         tender offer voluntary redemption

  exchange           offer conversion                   or other          similar       action



                Officer means                        with respect               to the Issuer             and       any corporation                   any director              the    Chairman of                  the

  board        of directors           the    President                        Vice      President              the     Secretary           an Assistant                                     the       Treasurer
                                                                      any                                                                                            Secretary
  or    an Assistant           Treasurer of the entity                           with respect             to    the    Co-Issuer           and                                                                      the
                                                                                                                                                   any corporation                     any director
  Chairman of                 the     board       of        directors            the     President               any         Vice       President            the         Secretary               an    Assistant

  Secretary          the     Treasurer            or       an    Assistant          Treasurer            of the entity              with respect             to                                                of    its
                                                                                                                                                                   any     partnership any
  general       partners and with                    respect           to the       Trustee         any Trust
                                                                                                              Officer



                Outstanding means                                 with respect               to



                                                the        Notes        or    any     specified           Class        as    of any       date    of determination                      all      of the Notes

                              of            Notes           of the
                or     all           the                                     specified        Class            as     the    case       may be           theretofore                 authenticated              and

                delivered            under      the                                                                          Notes
                                                           Indenture            except with respect                     to



                                                                     Notes       canceled           by    the       Indenture           Registrar         or      delivered            to    the       Indenture

                               Registrar             for    cancellation



                                                                     Notes       for    whose payment                       or    redemption            funds        in    the       necessary amount
                               have        been        theretofore              irrevocably              deposited with the Trustee or any                                 Paying Agent in trust




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                                     for      their       Holders              pursuant to Section 4.1                               aii of                   the    Indenture                  and        if   the     Notes        are to          be

                                     redeemed                  notice          of redemption                   has been                  duly given                 pursuant               to the        Indenture



                                                                          Notes            in       exchange                for          or     in        lieu       of        which                other        Notes             have        been

                                     authenticated                   and       delivered             pursuant to the Indenture                                        and



                                                                          Notes             alleged             to        have            been               destroyed                    lost         or        stolen            for        which

                                     replacement                 Notes           have          been         issued             as    provided                 in    Section               2.7        of the Indenture                         unless

                                     proof satisfactory                        to     the    Trustee            is       presented that                       any        such        Notes            are       held by             protected

                                     purchaser



                                     ii                  the    Preference                  Shares              as        of any              date        of determination                              all      of the            Preference

                     Shares          theretofore               issued           under           the    Preference                        Share           Documents                    and            listed in          the        Preference

                     Share         register of the Issuer                        as      outstanding



                                     iii                 the    Holding             Preference Shares                               as    of any date                 of determination                            all   of the Holding

                     Preference Shares                        theretofore                issued       under           the       Holding                 Preference Share Documents                                            and        listed      in


                     the     Holding            Preference Share                         register of Investors                            Corp           as    outstanding



  provided                that      in   determining                 whether              the    Holders             of the requisite                         Aggregate                    Outstanding                  Amount                of the

   Transaction                Securities            have        given any request                           demand                  authorization                        direction               notice           consent           or    waiver

   under        the       Transaction               Documents                   Transaction                    Securities                owned               or beneficially                        owned         by the Issuer the
                                                         of either of them and
   Co-Issuer                any Affiliate                                                                 with respect                                        matter affecting                                              as Servicer
                                                                                                                                          to                                                          its   status                                   or
                                                                                                                                                any

   appointment                 of         replacement                Servicer              or relating               to    an       acceleration                    of any           Class of Notes                      if   the effect             of

   the     Servicers                 action          or       inaction              as          Holder               of        Transaction                     Securities                   would               effectively              prevent
   acceleration                  the      Servicer             its    Affiliates                and     any          account                  for    which               the     Servicer              or        its    Affiliates             have

   discretionary                 voting         authority            other          than         with respect                   to       Notes           or   Class        II      Preference Shares                              HFP         or    any
   of    its     subsidiaries                 provided            that          with        respect            to        the        voting           authority                of Notes                or     Class           II    Preference

   Shares            owned          by     HIFP          or    any        of    its      subsidiaries                    such        vote           shall       not be               excluded               only        if    such        vote        is


   determined                by          vote       of    the    majority                of the independent                               directors                  determined                       in    accordance                with the

   governing                documents               of   HFP         or    such          subsidiaries                and        certified               in writing              to    the       Preference Shares                         Paying

   Agent by any of                        the    independent                     directors                of    HFP             of       HFP            or    such        subsidiaries                      shall       be        disregarded
   and     not be            Outstanding                  except          that        in    determining                    whether              the          Trustee shall be                         protected              in relying              on

   any      request              demand              authorization                       direction              notice              consent               or       waiver                 only Securities                     that             Trust

   Officer            of the        Trustee              or    with        respect             to     the      Preference                     Shares           and        Holding                   Preference                Shares               only
   Preference                Shares           and        Holding           Preference                 Shares              that           an    authorized                  officer              of the           Preference                   Shares

   Paying            Agent          or    Holding             Preference                 Shares        Paying              Agent              as     applicable                    has actual                knowledge                   to    be    so

   owned             or     beneficially             owned            shall         be     so       disregarded                      Transaction                     Securities                 so     owned            or        beneficially

   owned             that    have        been       pledged           in       good        faith      may be regarded                               as    Outstanding                      if   the    pledgee              establishes              to

   the     satisfaction                  of the      Trustee               the      Preference                 Shares               Paying              Agent            or     the        Holding               Preference                   Shares

   Paying            Agent          as     applicable the                      pledgees             right        so       to    act       with respect                     to      the         Transaction               Securities                 and

   that        the    pledgee            is   independent                  from          the    Issuer the Co-Issuer                                     the       Servicer                the       Trustee            the        Preference

   Shares Paying                    Agent and             the    Holding                 Preference Shares                           Paying Agent



                      Participating                      Institution                means an              institution that                      creates                  participation                   interest           and     that       has

   long-term                senior       unsecured              rating         by     Moodys                of      at    least          A3             and         if   so rated               by    Moodys                 such        rating       is


   not on watch                  for possible              downgrade                     and     an    issuer             credit         rating          by    SP             of     at    least




                      Participation                       means                 Loan            acquired              as             participation                       interest              created           by           Participating

   Institution




                      Permitted                 Offer            means                   tender        offer voluntary redemption                                               exchange                    offer conversion                         or

   other         similar            action          pursuant              to    which            the      offeror               offers             to     acquire                    debt            obligation               including
   Collateral               Obligation               in       exchange              solely          for     cash           in       an    amount equal                          to        or    greater           than the           full          face

   amount of                 the     debt       obligation                plus        any       accrued              and        unpaid               interest             and        as        to    which            the     Servicer              has




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  determined               in               commercially                     reasonable judgment that the offeror                                                     has       sufficient          access        to
                                    its
                                                                                                                                                                                                                        financing to
  consummate                   the        tender offer voluntary redemption                                                   exchange               offer conversion                         or other       similar          action



                    P1K             Cash-Pay                 Interest               means              as     to    any           P1K Security                    the       portion           of interest         required to be

  paid     in       cash    and             not permitted to be added                                   to    the       balance            of such          P1K            Security        or   otherwise              deferred           and

  accrued thereon pursuant                                      to     the   terms of the related                             Underlying                  Instruments


                    P1K          Security                  means           any     loan      or debt           obligation                 on which              any portion              of    the    interest         accrued        for

                                       of
  specified          period                    time        or    until       the    maturity               thereof           is     or    at    the       option       of       the     obligor       may be added                   to   the

  principal          balance              of    such loan or debt                     obligation              or otherwise                     deferred          rather         than     being paid          in   cash        provided
  that     such       loan          or debt           obligation              shall        not    be          P1K            Security           if   the    portion               if   any     of    such       interest       required

  pursuant           to    the      terms of the related                         Underlying                  Instruments                 to     be paid          in    Cash        would        result      in    the outstanding

  principal          amount               of        such     loan         or debt          obligation              having             an       effective          rate       of    P1K Cash-Pay                  Interest       at    least


  equal        to         if   such loan or debt                          obligation             is        fixed        rate        loan       or debt          obligation              4%     per    annum            or   ii if     such
  loan     or debt         obligation                 is
                                                                floating       rate        loan       or debt           obligation              LIBOR


                    Pledged                    Obligations                    means              as     of any               date     of determination                            the    Collateral                                       the
                                                                                                                                                                                                             Obligations
  Workout             Assets              the        Eligible           Investments                    and                   other         securities            or    obligations              that      have         been
                                                                                                               any                                                                                                             granted
  to     the   Trustee that                    form                  of the Collateral
                                                           part



                    Person                     is   an     individual               corporation                    including                     business trust                         partnership              limited       liability

  company                 joint           venture               association                 joint          stock             company                 trust       including                any        beneficiary              thereof
  unincorporated                      association                 or    government                    or                                 or political             subdivision                 thereof
                                                                                                           any agency


                    Portfolio                   Improvement                      Exchange                    means                the disposition                     during the Replacement                            Period            of

  Collateral              Obligation                  and       corresponding                     acquisition                  of one           or        more        Collateral              Obligations which                     in the

  aggregate                will             result           in                  the        Collateral                                          Tests             the           Interest
                                                                                                                             Quality                                                                Coverage                Test          the

  Overcollateralization                              Tests and               the      Concentration                          Limitations                  herein           being        satisfied         or      bring the           total


  portfolio          of Collateral                    Obligations closer                         to     compliance                   with any              such        test       or limitation             or    if   one     or    more
  of     such        Collateral                                                     Interest                                        Test
                                                Quality Tests                                           Coverage                                Overcollateralization                           Test       or     Concentration
  Limitations                         not satisfied                                              of compliance                                              would be improved
                            are                                        the     degree                                                therewith                                                         and        ii     improving
  on       net       basis the                                   of the                                            of    Collateral
                                                quality                        total       portfolio                                              Obligations as measured                                 by such           Collateral

  Quality Tests                     Interest             Coverage             Test          Overcollateralization                               Test and              Concentration                   Limitations              and        iii
  in     the    case        of each                 of clause                      and      ii          any        other            Collateral             Quality Tests                      Interest       Coverage               Tests
  Overcollateralization                              Tests           or    Concentration                      Limitations                      not                    violated            or    the       likelihood           of     such
                                                                                                                                                      being
  violation          in the           future          not       being significantly                        increased



                    Preference                       Share Internal                        Rate of Return means                                            with        respect           to            Payment               Date         the
                                                                                                                                                                                               any
  internal          rate       of     return          computed                 using         the        XIRR                  function               in   Microsoft                    Excel        2002     or    an equivalent
  function            in       another               software              package                    stated        on              per annum                   basis           for      the    following               cash     flows

  assuming            all      Preference Shares                           are     purchased                 on the Closing                     Date        at    their         Face     Amount

                                                           each           distribution                of     Interest               Proceeds              made         to       the      Holders          of the            Preference
                    Shares           excluding                  any       Class       II    Preference                  Share Special                     Payment               distributed          to    the    Holders           of the
                    Class        II       Preference                 Shares on any                                                             Date       and               the
                                                                                                        prior       Payment                                           to            extent      necessary to reach                        the

                                               Preference Share Internal                                   Rate         of Return the current
                    applicable                                                                                                                                             Payment Date                   and



                                       ii                  each         distribution                  of Principal                   Proceeds              made            to     the    Holders           of the           Preference
                    Shares           excluding                            Class             Preference Share                                                                    distributed                       Holders           of the
                                                                any                   II                                              Special             Payment                                    to    the

                    Class        II       Preference                 Shares on                                      Payment Date                          and         to    the    extent
                                                                                            any         prior                                                                                   necessary to reach                        the

                    applicable                 Preference Share Internal                                   Rate         of    Return            the current                Payment Date


                    Preference                       Shares               Paying            Agent             Agreement                         means                  Preference               Share        Paying            Agency
  Agreement                 dated              as   of November                    30 2006                 between                the Issuer              and                           Bank           Trust
                                                                                                                                                                 Investors                                         Company                 as

  Preference Shares                            Paying Agent




                                                                                                                         203
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                Preference              Shares          Distribution                 Account              means              separate         segregated non-interest                         bearing
   trust   account         established       by    the        Preference Shares                   Paying Agent pursuant to the Preference                                       Shares         Paying

   Agency        Agreement           into     which            the    Preference                Shares     Paying           Agent        will     deposit          all    amounts            received

   from     the Issuer       and    payable to the Holders of the Preference                                          Shares under            the Priority           of Payments



                Preference              Shares           Notional             Amount               means             as    of    the    Closing          Date            $127500000                   and

   thereafter         as    increased        each            time      additional            Preference               Shares         are      issued         in    accordance               with      the

   Preference Share               Documents


                Preference              Shares          Paying Agent                      means        Investors           Bank            Trust       Company             in   its    capacity        as

   Preference           Shares      Paying         Agent             under         the     Preference            Shares          Paying          Agency            Agreement                unless

   successor       Person          shall     have            become          the     preference            shares          paying          agent       pursuant           to    the        applicable

   provisions         of the Preference Shares                        Paying Agency                 Agreement                and     thereafter          Preference             Shares         Paying

   Agent        shall      mean such         successor person



                Principal Balance                       means with                 respect       to


                                                    Pledged            Obligation other                   than those             specifically            covered           in   this       definition
                                             any
                the    outstanding         principal               amount of         the    Pledged            Obligation as of the relevant                        Measurement                Date


                              ii              Synthetic               Security the notional                     amount           specified        in   the Synthetic             Security



                              iii                       Pledged            Obligation             in     which        the       Trustee        does       not       have          first       priority
                                             any

                perfected         security     interest             zero      except        as    otherwise           expressly         specified         in the         Indenture



                              iv             any Defaulted                 Collateral            Obligation           except as otherwise                    provided           zero


                                                        Collateral           Obligation that                   has    been       loaned          its   Principal           Balance           shall     be
                                             any
                reduced        by   the     excess           of the        amount of             collateral          required        over the actual                Market        Value         of the

                collateral




                              vi             any       Revolving              Loan         or    Delayed             Drawdown Loan                     its    Principal          Balance           shall

                include       any    unfunded                amount        thereof         regardless of the nature                          of the contingency                 relating        to    the

                Issuers obligation                 to    fund        the     unfunded            amount              except as otherwise                  expressly specified                   in the

                Indenture



                              vii            any    P1K Security                    its   Principal       Balance            shall     not include            any    principal             amount of
                the    P1K    Security       representing               previously              deferred        or capitalized               interest        and



                              viii                  obligation               or security          that    at    the   time of acquisition                    conversion               or    exchange
                                             any
                does not satisfy the requirements                              of         Collateral           Obligation          zero



                Principal Proceeds                           means with            respect        to   any Due            Period       all   amounts          received in Cash during

   the   Due Period by             the Issuer          with respect            to the       Collateral          that      are not      Interest        Proceeds



                Principal         Proceeds         shall           include     any        funds        transferred          from       the    Closing             Date     Expense           Account
   and     the Interest       Reserve        Account               into the Collection                 Account            pursuant      to    Section 10.2               of the Indenture



                Principal         Proceeds         do        not    include        the    Excluded         Property             or earnings         on    amounts           on deposit           in   the

   Securities         Lending       Account             to    the    extent        the    earnings         are       payable       by      the   Issuer       to         Securities          Lending

   Counterparty


                At any time when                  an     event         of default               under          Securities          Lending         Agreement               has occurred and

   is   continuing                                     received by the Issuer                      from the related                Securities          Lending            Collateral          shall    be
                            any    payments

   Principal      Proceeds




                                                                                                  204
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                Priority             Class means with                               respect        to       any     specified              Class of Notes each                          Class of Notes                       that

  ranks senior          to    that    Class



                Proceeding                       means any                    suit        in    equity            action         at       law         or     other      judicial             or        administrative

  proceeding



                Proposed              Portfolio                   means             as    of any      Measurement Date                               the portfolio            measured                 by Aggregate
  Principal       Balance              of        Collateral              Obligations                  and      Principal                 Proceeds            held       as    cash          on                         in     the
                                                                                                                                                                                                      deposit
  Collection        Account            and           other        Eligible           Investments               purchased                  with Principal                Proceeds                 on    deposit          in    the

  Collection        Account            resulting                 from        the     sale maturity                  or other             disposition             of         Collateral                Obligation or

  proposed        purchase            of         Collateral             Obligation               as the        case       may be

                Purchase Agreement means                                                  purchase           agreement                dated          November               30 2006 among                        the    Issuer

  and     the    Initial       Purchaser                   relating           to    the        purchase            of     the       Offered               Notes        as    modified                  amended               and

  supplemented               and     in effect             from        time to time



                Purchase               Criteria Adjusted                              Balance                means            for     any          Collateral          Obligation                other           than Deep

  Discount        Obligations                   its    Principal              Balance and                    for              Deep            Discount           Obligation              its      Purchase              Price
                                                                                                                    any
  provided         however                 that       if    any       Excess             CCC/Caal                  Collateral                 Obligations exist the                          Purchase               Criteria

  Adjusted       Balance            for the           Excess           CCC/Caal                  Collateral              Obligations shall be                         the    lower          of             the    weighted
  average        Market            Value          of       all    CCC/Caal                      Collateral              Obligations                   expressed              as                                    of their
                                                                                                                                                                                        percentage
  outstanding           principal           balances              and    ii         the    product of                    70%         and              their respective                 Principal             Balance


                Purchase Price                             means with                    respect       to    the     purchase                 of any        Collateral            Obligation                 other          than

  any obligation             that     at    the       time of acquisition                        conversion               or    exchange                  does not satisfy the requirements                                      of
    Collateral          Obligation                   the     net       purchase            price      paid by            the     Issuer            for the       Collateral                                        The       net
                                                                                                                                                                                       Obligation
  purchase       price        is   determined                    by    subtracting              from         the                                      the       amount of any Accrued                               Interest
                                                                                                                    purchase              price

  Purchased        With        Principal               and       any     syndication               and       other        upfront             fees    paid       to   the Issuer             and       by adding the
  amount of any              related            transaction              costs        including              assignment                  fees        paid by          the    Issuer         to    the       seller      of the
  Collateral       Obligation               or    its      agent


                Purchase               Price               Amount                   means             respect            to
                                                                                                                                any           Collateral              Obligation                 on     any        date          of

  determination              the                           of                  Purchase
                                     product                           the                         Price       stated           as         percentage                 thereof          and       ii        the    Principal

  Balance       thereof        on such date


                Qualified Equity                           Security                means any             obligation              that         at    the    time of acquisition                        conversion                 or

  exchange         does       not      satisfy             the        requirements               of          Collateral              Obligation that                   is    stock          or evidence                 of an
  interest      in or        right to           buy        stock        or                                   that    at    the      time of acquisition                                                     or
                                                                              any        obligation                                                                           conversion                         exchange
  does     not     satisfy          the      requirements                      of           Collateral                                         but        whose                                       otherwise
                                                                                                                   Obligation                                          acquisition                                          is

  transaction        in      stocks         or       securities              within        the     meaning              of Section                  864b2Aii                           of the          Code         and      the

  regulations        under          the     Code                Qualified Equity                   Securities             do     not include                          obligation             that      at    the    time of
                                                                                                                                                            any
  acquisition           conversion                or       exchange            does not            satisfy         the    requirements                     of     Collateral            Obligation and                       that

  will   cause the Issuer                  to     be treated            as                              or                     income              from         United        States
                                                                               engaged           in           having                                                                             trade      or     business
  for    United     States         federal            income            tax                                               of                                                                     of the
                                                                               purposes            by virtue                    its      ownership              or    disposition                                obligation

  without        regard to the Issuers other                                  activities



                Ramp-Up                Period                   means         the     period        from          and     including                 the    Closing          Date       to    and        including the
  Ramp-Up         Completion                 Date


                Rating Agency                              means             each        of    Moodys               and       SP           or with              respect       to       Pledged              Obligations
  generally        if   at   any      time        Moodys                or    SP           ceases       to    provide           rating             services      with respect                to       high yield            debt
  securities        any       other          nationally                 recognized               statistical             rating           organization                selected          by        the        Issuer          and
                                                                               of each          Class of Notes                                 any time          Moodys
  reasonably        satisfactory                to         Majority                                                                 If   at                                            ceases to be                    Rating
  Agency         references            to       rating           categories              of    Moodys              in     the    Indenture                 shall      instead          be     references               to    the

  equivalent        categories                  of      the       replacement                  rating                           as        of       the     most        recent          date           on     which           the
                                                                                                              agency
  replacement           rating        agency               and    Moodys                 published           ratings          for the                      of security            in                       of which          the
                                                                                                                                               type                                    respect


                                                                                                             205
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  replacement           rating      agency          is    used         If   at    any    time        SP            ceases to be                    Rating          Agency            references              to    rating

  categories          of    SP          in    the    Indenture               shall       instead              be     references                  to    the        equivalent             categories                of the

  replacement           rating       agency          as    of the           most       recent       date        on    which            the       replacement                 rating        agency           and        SP
  published       ratings         for the      type of security                   in respect             of which          the        replacement                  rating      agency            is   used


                Rating Condition                          means             with respect                 to           Rating               Agency             and                  action        taken        or    to    be
                                                                                                               any                                                      any
  taken       under     the       Indenture               condition               that    is    satisfied            when             the       Rating        Agency               has     confirmed               to    the

  Servicer       as     agent       for the         Issuer            in writing         that       no withdrawal                          reduction               suspension               or    other          adverse

  action      with respect              to          then current                 rating        by    it
                                                                                                          including                              private          or   confidential              rating of any
                                              any                                                                                     any
  Class of Notes                 will    occur       as          result      of    the    action               The        Rating            Condition                  with    respect           to
                                                                                                                                                                                                       any        Rating

  Agency        shall      be     satisfied         for    all                         of the Indenture                     at                   time when              no    Outstanding                   Notes        are
                                                                  purposes                                                        any
  rated    by   it




                Rating Confirmation                               means confirmation                           in writing              from           each        Rating Agency                  that       it   has not

  reduced        suspended              or    withdrawn               the    Initial     Rating assigned by                           it    to   any     Class of Notes



                Ratings            Matrix             means            the       row/column                    combination                        of the          table       below         selected              by     the

   Servicer      on    the       Closing       Date       to     apply       initially         for       purposes           of the Diversity                       Test        the       Weighted             Average

   Spread       Test       and    the        Weighted            Average           Rating           Factor           Test             Thereafter                  on    notice        to    the       Trustee            the

                                                                  row        of the                            Matrix                                                                                 between            two
   Servicer      may        select            different                                   Ratings                                to    apply            or    may         interpolate

   adjacent      rows       and/or two adjacent                       columns            as    applicable on                          straight-line               basis       and     round           the   results        to

  two     decimal points



                                                                                                          Minimum           Diversity             Score


                 Minimum           Weighted
                                                                 55               60                65               70                    75                80               85                 90
                      Average       Spread

                              2.25%                         2150                 2180          2210                2240               2270               2300             2330              2360
                              2.35%                         2210                 2240          2270                2300               2330               2360             2390              2420
                              2.45%                         2270                 2300          2330                2360               2390               2420             2450              2480
                              2.55%                         2330                 2360          2390                2420               2450               2480             2510              2540
                              2.65%                         2390                 2420          2450                2480               2510               2540             2570              2600
                              2.75%                         2450                 2480          2510                2540               2570               2600             2630              2660
                              2.85%                         2510                 2540          2570                2600               2630               2660             2690              2720
                              2.95%                                                                                                   2690               2720             2750              2780
                                                            2570                 2600          2630                2660
                              3.05%                         2620                 2660          2690                2720               2750               2780             2810              2840

                                                                                 Maximum            Weighted          Average              Moodys            Rating       Factor




                Recovery Rate Modifier means                                             as    of any          Measurement Date                              the lesser            of 60 and            the      product
   of


                                                         the      Moodys                 Minimum                   Average                 Recovery                Rate        minus             the        minimum
                percentage              specified         to     pass       the    Weighted               Average            Moodys                    Recovery               Rate       Test but                not     less

                than zero multiplied                      by            100 and


                                 ii            40


                Redemption                    Date         means any                   Payment                Date        specified              for     an       Optional           Redemption                    or    the


   redemption          of         Class of Notes                 in    connection              with            Refinancing                  under        Description                     of the Securities

   Optional      Redemption


                Redemption                    Price            means              with        respect           to    any         Note             and        any       Optional             Redemption                    or

   Refinancing             an amount equal to



                                               the    outstanding                principal          amount of               the portion                 of the Note                being redeemed                      plus



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                                    ii                accrued             interest       on        the    Note         including             any        Defaulted                Interest        and     interest           on
                   Defaulted             Interest           plus



                                    iii               in the     case of any Deferred                               Interest       Note          the    applicable               Deferred          Interest         on   the

                   Note       plus



                                    iv                any      unpaid Extension                     Bonus Payment                      in respect             of the Note



                   With       respect           to    any      Preference               Share       and         any    Optional             Redemption                    Redemption                Price means
        at   the direction               of        Majority           of the Preference Shares                              of the remaining                       amount of             available       funds after
  all    prior     applications                 pursuant to the Priority                           of Payments                  or   ii     as    specified               by     the    unanimous              direction

  of the       Holders             of the          Preference               Shares         in      each         case       as                          in                                 of the        Securities
                                                                                                                                 specified                   Description

  Optional          RedemptionPreference                                        Shares


                   Reference                    Obligation                      means an            obligation              that      would otherwise                           satisfy      the     definition             of
  Collateral              Obligation                     and     on         which               Synthetic              Security             is    based                                   that     no     Reference
                                                                                                                                                                    provided
  Obligation shall be                           Synthetic            Security



                   Refinancing                     Price         means with                respect             to    any    Class of Notes                    that        is    subject     to       Refinancing
  an    amount equal                to       the     Redemption                 Price     therefor



                   Refinancing                       Proceeds                   means           the       proceeds               from        any        refinancing                    permitted          under          the

  Indenture



                   Registered                      means with                   respect       to      Collateral            Obligation or Eligible                              Investment           means           that    it


  is    issued      after July               18 1984           and    is        in registered            form within the meaning of Section                                            881c2Bi                       of the
  Code and           the      Treasury             Regulations                  promulgated              thereunder



                   Regulation                         means Regulation                             under         the Securities              Act


                   Relevant                  Obligation                   means           for            Collateral              Obligation                 that     is                                                  the
                                                                                                                                                                                 Synthetic          Security
  Reference              Obligation of the Synthetic                                  Security and              otherwise             the Collateral                 Obligation


                   Removal                Buy-Out Purchaser                              means           the        Servicer         or     any of          its    Affiliates           acting     as principal             or

  agent


                   Repository                      means        the        internet-based                 password               protected             electronic               repository         of transaction
  documents               relating            to     privately             offered         and        sold          collateralized               debt                                   securities        located           at
                                                                                                                                                              obligation

  www.cdolibrary.com                                 operated             by      The     Bond           Market Association                            Information                 on     this     website          is   not
  considered             part      of    this      Offering          Memorandum                     in
                                                                                                          any        way

                   Required                  Redemption                    Percentage                     With         respect         to              any        Optional          Redemption                resulting
  from         Tax Event                 the       Holders           of    at    least   66     2/3%         of the Aggregate                     Outstanding                   Amount           of any       Affected
  Class or          at    least      66       2/3%        of the           Aggregate               Outstanding              Amount               of the Preference                       Shares         and              any
  other      Optional           Redemption                      Majority of the Preference Shares


                   Retention                 Overcollateralization                         Ratio               means        as       of any       Measurement                     Date      the ratio         obtained

  by dividing                      the       Overcollateralization                       Ratio           Numerator by ii                      the      Aggregate                 Outstanding             Amount             of
  the    Class A-I                 Notes           the    Class A-lb Notes the Class A-2 Notes the                                                          Class                                 Class
                                                                                                                                                                               Notes       the                      Notes
  and            Class             Notes excluding                                                                              any Class of Notes
         the
                                                                          any Deferred                Interest         on


                   Revolving                 Loan           means                Loan     or       any    Synthetic              Security         with             Reference             Obligation in each
  case       excluding             any       Delayed           Drawdown Loan                          that      requires         the      Issuer        to    make             future    advances             to   or    for

  the    account          of       the    borrower             under            its   underlying instruments                          including               any     letter       of credit for which                   the

  Issuer      is                        to   reimburse               the                   bank          for    under       it              Loan
                   required                                                 issuing                                                                     or Synthetic               Security         shall          only be
  considered             to   be         Revolving             Loan         for so       long as          its    commitment amount                            is                   than zero
                                                                                                                                                                    greater



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                 SP CDO                       Monitor means                                   dynamic                analytical              computer               model developed                           by     SP       and        as

  may       be        modified              by        SP               from         time           to        time         and         provided               to     the       Servicer              and            the     Collateral

  Administrator              to        be     used          to     calculate             the       default           frequency               in       terms       of the amount                     of debt assumed to

  default        as        percentage                  of the original                    principal                 amount of               the        Collateral             Obligations consistent                              with

  specified           benchmark               rating              level        based          on    certain           assumptions                     and        SP           proprietary                 corporate           default

  studies         For the          purpose                  and         only for the purpose of applying                                               the    SP          CDO         Monitor                 to         portfolio       of

  obligations              for    each        obligation                 in the        portfolio              the     rating of the obligation                            shall       be     its    SP             Rating


                 SP              Industry               Classification                         means            the        SP           Industry             Classifications                   in       Schedule                   of the

  Indenture           as   modified               amended                  and       supplemented                     from           time to time by                     SP
                 SP          Priority Category                                  means each                    type of Collateral                       Obligation specified                             in the definition                of

  Applicable               Percentage                   as       an     SP           Priority            Category


                 SP              Priority Category Recovery                                              Rate means                      for          any    Collateral           Obligation                       the   percentage

  specified           in    the        definition                  of     Applicable                     Percentage                     opposite                 the     SP          Priority             Category             of     the

  Collateral          Obligation



                 SP Rating                            means with                    respect             to    any    Collateral              Obligation                  as   of any         date         of determination

  the rating          determined                 in    accordance                with the following                             methodology


                                                       If    there        is   an      issuer           credit       rating          of the borrower                     of the Collateral                     Obligation the

                 Borrower                         or        the        guarantor              who            unconditionally                     and        irrevocably              guarantees                    the     Collateral

                 Obligation the                       Guarantor                        by     SP              the    most            current          issuer        credit      rating         for       such        Borrower            or

                 Guarantor              provided                  that    with        respect           to    any private              or confidential                   rating         consent               has     been    granted

                 by such Borrower                           or     Guarantor and                         copy        of    such consent                 shall       be provided               to     SP             indicating       that


                 the issuer            can rely on such private                               or confidential                   rating



                                  ii                             if    there    is     not     an       issuer       credit          rating           of the Borrower                  or    its     Guarantor               by    SP
                 but there             is        rating          by      SP         on         senior           secured              obligation             of the Borrower                    or       its    Guarantor            then

                 the       SP          Rating           of the            Collateral               Obligation                   will    be       one        subcategory               below such                     rating               if


                 there       is   not            rating          by SP               on            senior       secured              obligation              of the Borrower                       or    its       Guarantor          but

                 there       is        rating          by        SP on                   senior          unsecured               obligation                 of the Borrower                   or        its    Guarantor            then

                 the       SP       Rating             will         be    such        rating and                          if    there       is   not         rating        by    SP           on           senior         obligation

                 of the Borrower                       or        its   Guarantor               but there              is         rating       by       SP         on          subordinated                    obligation           of the

                 Borrower               or    its      Guarantor                 then the                SP          Rating            will      be     two       subcategories                    above            such     rating       if


                 such       rating          is    BBB-                   or    higher          and           will    be    one        subcategory                 above         such         rating           if    such     rating      is


                 BB               or    lower           provided                that      with          respect       to       any private             or confidential                rating                  consent        has    been

                 granted           by       such            Borrower             or       Guarantor                 and              copy        of    such         consent          shall         be     provided            to    SP
                 indicating            that      the issuer              can rely on such private                               or confidential                  rating         or




                                   iii                 if    there        is   neither         an        issuer       credit          rating          of the Borrower                  or      its      Guarantor             by    SP
                 nor         rating          by       SP           on     an    obligation                   of the Borrower                     or    its   Guarantor               then the             SP             Rating      may
                 be    determined                 using any one                      of the methods                       below


                                                                          if    an       obligation                 of the           Borrower               or    its     Guarantor                is    publicly            rated    by

                                  Moodys                     then the           SP            Rating will be determined                                     in    accordance               with the methodologies

                                   for establishing                       the       Moodys                   Default            Probability             Rating            except           that      the        SP         Rating        of

                                   such          obligation                   will     be                one         subcategory                  below           the      SP          equivalent                   of the         rating

                                   assigned by                     Moodys                if   such           security           is   rated       Baa3               or   higher by             Moodys and                            two

                                   subcategories                         below         the         SP           equivalent               of the             rating        assigned             by Moodys                      if    such

                                   security                 is     rated        Ba             or        lower            by         Moodys                 provided            that         Collateral                  Obligations

                                   constituting                    no     more than 10% of                                the    Maximum Amount                               may       be         given                 SP    Rating
                                   based          on             rating        given by             Moodys                 as    provided              in    this      subcause                         after giving effect

                                   to the         addition               of the relevant                     Collateral              Obligation              if   applicable




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                                                                         if    no    other           security           or obligation                   of the Borrower                        or     its   Guarantor              is    rated

                                  by      SP             or     Moodys                    then            the        Servicer
                                                                                                                                           may          apply        to       SP          for               SP         credit           rating

                                  estimate                which               will       be     its       SP           Rating              provided                that        on     or       prior         to     each         one-year
                                   anniversary                 of the acquisition                         of any            such Collateral                                                the Issuer               shall        submit to
                                                                                                                                                               Obligation
                                   SP              request              for        SP          credit           rating          estimate           for       such Collateral                    Obligation                  which        shall

                                   be     its   SP            Rating               together            with          all    information reasonably                                  required              by     SP         to    perform
                                   such       estimate                  or



                                                                         if    such        Collateral                 Obligation                  is    not    rated          by     Moodys                  or     SP           no     other

                                   security             or obligation                of        the    Borrower                  or     its   Guarantor              is    rated       by       SP           or    Moodys                and       if


                                  the        Servicer              determines                  in     its      sole        discretion              based           on     information                     available          to    it    after

                                  reasonable                   inquiry               that        such            Borrower                               is    not         subject              to                                              or
                                                                                                                                                                                                         any        bankruptcy
                                  reorganization                        proceedings                  nor in default                       on any of           its   obligations                 unless            the       subject          of

                                  good          faith         business               dispute                           is                               constituted                                                                           the
                                                                                                                                      legally                                       corporate               entity          having
                                  minimum legal                              financial          and         operational                   infrastructure                 to     carry          on         definable              business
                                   deliver           and           sell              product              or         service              and                       its       results           in
                                                                                                                                                   report                                                 generally              accepted

                                   accounting                 terms            as    verified               by          reputable                 audit       firm        and                  is     not      so      vulnerable                 to

                                   adverse           business                  financial             and        economic                  conditions               that       default           in    its    financial            or    other

                                   obligations                is    foreseeable                  in       the     near term                  if   current          operating              trends            continue              then the
                                   SP         Rating           will          be     B-          provided                that         the     Servicer          must           apply        to       SP         for          SP          credit

                                  rating           on such               Borrower                   within            30        days         after      the        addition           of        the       relevant           Collateral

                                   Obligation                 providedfurther                               that      Collateral                Obligations constituting                                 no more than                  5% of
                                  the        Maximum Amount                                   may         be     given           an       SP           Rating        based           on        this       subclause                     after

                                  giving effect                    to    the addition                 of the relevant                      Collateral           Obligation                     if   applicable



                  provided            that         if          the           relevant          Borrower                 or      Guarantor                or                               is                      on
                                                                                                                                                               obligation                       placed                  any       positive

                  credit          watch             list      by        SP           such        rating             will        be     increased              by    one         rating          subcategory                  or    ii         the

                  relevant           Borrower                 or    Guarantor                   or    obligation                  is      placed         on    any        negative                  credit          watch             list    by
                  SP           such       rating         will      be        decreased              by one            rating          subcategory



                  Notwithstanding                       the     foregoing                 in the          case of                 Collateral             Obligation that                       is         DIP Loan               the     SP
  Rating        shall        be              the    rating          assigned thereto                           by     SP             if   the     rating       is    public                         the     rating      assigned by
  SP       if     the    rating         is   confidential                     but only               if   all    appropriate                    parties        have           provided               written           consent          to    its

  disclosure            and       use               the       rating           assigned by                  SP             thereto           through           an estimated                    rating          or            the       rating

  assigned thereto                   by   SP            in    connection                  with the acquisition                             thereof
                                                                                                                                                             upon       the
                                                                                                                                                                                request             of the Servicer                     In    the

  case     of            Collateral             Obligation                    that                    P1K                                    Structured                 Finance                                        or
                                                                                          is
                                                                                                                     Security                                                              Obligation                         Synthetic

  Securities            the       SP      Rating             may not               be determined                     pursuant to clause                        iiiA                above


                  SP          Ratings           for      entities             or    obligations                  relevant              hereunder              other           than Borrowers                        and      Collateral

  Obligations                shall   be      determined                  in         corresponding                     manner


                  Notwithstanding                       the    foregoing                  if    and       for so           long as the Aggregate                              Principal               Balance          of Collateral

  Obligations consisting                           in the          aggregate of                             Participations                    and              Synthetic              Securities                 exceeds          20%          of
  the     Maximum                  Amount                 then           the        SP              Rating            for        the         Aggregate                  Principal               Balance                of    Collateral

  Obligations                representing                that           excess           determined                    assuming                   the    excess            is                                  of the        Collateral
                                                                                                                                                                                 comprised
  Obligations having                         the    lowest               SP          Ratings              that        would otherwise                          be       applicable                  as    determined               above
  shall    be the        SP          Rating             one     sub-category                    below            the       SP             Rating        of the Collateral                       Obligations that                      would
  otherwise             be    applicable             as       determined                  above                For      purposes                  of any       calculation                 under            the     Indenture                if


  SP       Rating            is   withdrawn               by       SP              with respect                 to         Collateral               Obligation                  the   Issuer              will      continue            using
  the    latest      SP           Rating           available                 immediately                    prior          to    such         withdrawal                 until            bankruptcy                   event          occurs
  with respect               to   such       Collateral             Obligation


  SP           Recovery              Rate       Matrix                   With        respect              to     Structured                Finance            Obligations                  the        SP          Recovery               Rate
  will    be      the                                                         in    the       table       below             for       the                     of the          Structured                  Finance
                         percentage                specified                                                                                  rating                                                                        Obligation
  under        the   column             with the caption                          that    corresponds                      to   the       rating        of the most                 senior            Class of Outstanding
  Notes

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                                                        Rating         of     most      senior     Class       of    rated Notes            at   the time       of     commitment              to    purchase

   Structured          Finance

   Obligation          Rating
         Senior        Asset    Class                         AAA                           AA                                          BBB                           BB                                        CCC

         AAA                                                 80.0%                     85.0%                  90.0%                    90.0%               90.0%                      90.0%                    90.0%

         AA                                                  70.0%                     75.0%                  85.0%                    90.0%               90.0%                      90.0%                    90.0%

                                                             60.0%                     65.0%                  75.0%                    85.0%               90.0%                      90.0%                    90.0%

         BBB                                                 50.0%                     55.0%                  65.0%                   75.0%                 85.0%                     85.0%                    85.0%


         Junior        Asset    Class

                                                              AAA                           AA                                          BBB                           BB                                        CCC
         AAA                                                 65.0%                     70.0%                  80.0%                    85.0%                85.0%                     85.0%                    85.0%

         AA                                                  55.0%                     65.0%                  75.0%                    80.0%                80.0%                     80.0%                    80.0%
                                                             40.0%                     45.0%                  55.0%                    65.0%                80.0%                     80.0%                    80.0%

         BBB                                                 30.0%                     35.0%                  40.0%                   45.0%                 50.0%                     60.0%                    70.0%

         BB                                                  10.0%                     10.0%                  10.0%                    25.0%                35.0%                     40.0%                    50.0%

                                                               2.5%                      5.0%                   5.0%                   10.0%                10.0%                     20.0%                    25.0%

         CCC                                                   0.0%                      0.0%                   0.0%                    0.0%                    2.5%                   5.0%                     5.0%
            If   the   Structured       Finance     Obligation           is            collateralized         debt    obligation       backed      by    project finance            securities          asset-backed

         securities       structured      fmance        or   real   estate         securities    distressed        debt    or other     collateralized         debt    obligations                   market     value

         collateralized         debt   obligation        or            synthetic        collateralized         debt   obligation         the recovery          rate    will    be   assigned       by    SP     at   the

         time     of acquisition




                  SP             Rating           Confirmation                          means confirmation                             in writing           from              SP       that     it       has    not     reduced

                                                                                                                                      any Class of Notes
   suspended              or    withdrawn               the     Initial            Rating assigned by                       it   to



                  SP Unrated                        DIP Loan                         means              DiP Loan acquired by                             the     Issuer         that      does not have                      rating

   assigned by             SP           and       for    which           the         Servicer           has    commenced                    the    process of having                                rating       assigned by
   SP      as      specified            in the definition                      of     DIP        Loan

                  Sale Proceeds                          means               all    proceeds             received           including               any        proceeds              received              with respect           to

                                                                                                                                                         payments                   with respect
   any associated                interest         rate                       or                    providing fixed                     annuity                                                                  to    Collateral
                                                             swap                   security

   Obligations or other                    Pledged              Obligations as                           result      of their sales or other                          dispositions              less                 reasonable
                                                                                                                                                                                                           any

   expenses            expended           by      the Servicer                     or the    Trustee in connection                               with the sales or other                        dispositions                 which

   shall     be        paid      from         such       proceeds                   notwithstanding                       their       characterization                        otherwise             as     Administrative

   Expenses


                  Second               Lien       Loan              means               Loan        that              is   not        and    cannot         by         its    terms       become                subordinated

   in right       of payment               to      any       other           obligation           of the obligor                      of the Loan other                       than        Senior               Secured        Loan
   with respect            to    the     liquidation                of such obligor                      or the       collateral            for    such Loan and                     ii       is    secured          by       valid

   second          priority            perfected             security                interest            in   or      lien       on      specified              collateral             securing                the      obligors

   obligations            under         the     Loan which                        specified         collateral             does        not consist             solely          of    common                stock       or    shares


                                                    any of
   issued        by the obligor               or                     its      Affiliates          or intangible                  assets




                  Secondary                   Risk       Counterparty                            means any                 obligor          Domiciled                 other         than in the United                      States

   any      Participating                  Institution                  any            Synthetic               Security               Counterparty                     and          any        Securities                  Lending

   Counterparty




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                 Secondary              Risk      Table means              the table         below



                                     Long-Term            Senior Unsecured                                 Individual                        Aggregate
                                    Debt Rating of Secondary                    Risk                     Counterparty                      Counterparty

                                                   Counterparty                                                Limit                              Limit


                                     Moodys                            SP
                                         Aaa                           AAA                                     20.0%                              20.0%

                                         Aal                           AA                                      10.0%                              10.0%

                                         Aa2                             AA                                    10.0%                              10.0%

                                         Aa3                            AA-                                    10.0%                              10.0%

                                          Al                                                                   5.0%                               10.0%

                                   A2   or     below                  or   below                               0.0%                               0.0%



                 If    any    Secondary          Risk     Counterparty                long-term senior             unsecured              debt rating or short-term                      rating

  is    on    credit       watch     for possible         downgrade           by     Moodys          or    SP          then for the purposes                    of the table            above
  its   rating        by   the    Rating       Agency                   its                 on    credit    watch        shall      be    one                  notch       lower        for that
                                                           putting            rating                                                              rating

  Rating        Agency


                 Secured            High-Yield            Bond        means            High-Yield           Bond        that    is    secured       by         valid       and     perfected

  security       interest         in specified         collateral




                Secured              Loan         means           Loan        that     is    secured       by          valid        and    perfected           security           interest     in

  specified           collateral




                Secured               Parties           means        the      Noteholders                the     Trustee             the     Servicer            and        each        Hedge
  Counterparty


                Securities              Lending         Collateral          means Cash              or    direct                           debt obligations                of the United
                                                                                                                       registered

  States        of America              that    have         maturity          date         no             than     the      Business
                                                                                                 later                                            Day      preceding              the    stated

  termination              date     of the      relevant        Securities         Lending         Agreement              and       that    are                                   Securities
                                                                                                                                                    pledged           by
  Lending         Counterparty             as collateral        pursuant to                Securities      Lending           Agreement


                Selected            Collateral Quality                Tests        means Weighted                 Average            Moodys          Recovery              Rate    Test      the

  Weighted            Average         Fixed Rate          Coupon Test                the                                                     Test        the
                                                                                            Weighted         Average           Spread                           Weighted            Average
  Life       Test      after taking            into     consideration                                                           Extension               the
                                                                               any         applicable       Maturity                                           Weighted             Average
  Rating Factor Test and                     the Diversity        Test



                Senior             Secured       High-Yield           Bond           means          Secured        High-Yield              Bond         that    is   not    subordinated

  by    its   terms to indebtedness of the borrower                                    borrowed
                                                                               for                        money         trade       claims        capitalized          leases or other
  similar       obligations           with       first                                 interest     in collateral            that    in the                     of the Servicer
                                                          priority    security                                                                  opinion                                      has
  value       at least       equal to the amount of the High-Yield                               Bond

                 Senior             Secured           Loan       means               Secured        Loan        that      is    not       subordinated               by     its    terms      to

  indebtedness               of the      borrower                borrowed
                                                          for                        money         trade        claims         capitalized          leases           or    other        similar

  obligations              with      first     priority    security      interest          in collateral        that    in   the     opinion       of the Servicer                has     value
  at    least   equal to the amount of the                   Loan


                Senior             Unsecured           High-Yield          Bond            means         High-Yield            Bond        that    is   not          subordinated            by
  its   terms to           indebtedness          of the borrower            for      borrowed                      and       ii      secured                   valid       and
                                                                                                     money                                          by                             perfected

  security       interest         in collateral




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              Senior Unsecured                       Loan           means          Loan         that   is   not           subordinated           by     its    terms to indebtedness

   of the     borrower           for    borrowed                            and     ii      secured           by          valid     and                                                  interest
                                                            money                                                                             perfected             security                              in


   collateral




              Servicer             Letter       Disclosure                  means        the     description          of the        Servicers            agreement                  with       one        or

   more Multiple Class Holders                        as    set     forth   in the       sections       entitled       Risk FactorsAn Amendment Buy-Out
   May    Result      in         Shorter       Holding        Period         Than        Expected             and    The               Notes     Are Subject                  to    Redemption
   By Refinancing                 The           Notes        Will Be         Subject        to    Various          Conflicts        of    Interest       Involving                 the    Servicer

   and    Description              of    the     SecuritiesOptional                         RedemptionRedemption                                 By Refinancing                           and

   Amendment Buy-Out


              Servicing Agreement means                                     the    Servicing           Agreement               dated     as    of the Closing                  Date        between

   the Issuer     and      the    Servicer       as    modified             amended            and     supplemented              and     in effect      from         time to time



              Spread Excess                      means            as     of any     Measurement                    Date           fraction       whose                   numerator                 is    the

   product      of          the    greater       of zero and              the     excess        of the Weighted                 Average         Spread         for       the   Measurement
   Date   over the         Minimum Weighted                       Average          Spread         specified         in the       applicable           row of        the       Ratings          Matrix

   and        the    Aggregate            Principal         Balance          of   all    Floating       Rate        Obligations excluding                                 Non-Performing
                                                                                                                                                                   any
   Collateral        Obligations              held     by     the        Issuer     as    of     the     Measurement                Date        and      ii        denominator                     is    the


   Aggregate         Principal          Balance        of     all      Fixed      Rate     Obligations excluding                          any     Non-Performing                         Collateral

   Obligations          held by         the     Issuer      as      of the Measurement                      Date          In    computing         the        Spread           Excess           on       any
   Measurement             Date        the    Weighted            Average         Spread         for    the   Measurement                 Date        will    be    computed                  as   if    the

   Fixed Rate Excess               were       equal    to    zero



              Structured                 Finance           Obligation               means any               obligation            other       than      the        Notes           or    any        other

   security     or obligation           issued       by the Issuer



                                              secured        directly        by referenced                    to     or    representing               ownership                of             pool        of

              receivables           or       other    assets        of    U.S obligors or                   obligors           organized         or    incorporated                 in    Moodys
              Group               Countries            Moodys               Group          II     Countries            Moodys              Group             III    Countries                 or        Tax

              Advantaged                Jurisdictions                including           portfolio          credit        default         swaps         and         collateralized                      debt

              obligations              but   excludes



                                                            residential           mortgage-backed                   securities



                                                            collateralized              debt obligations              backed        by Emerging Market Securities


                                                            collateralized                debt         obligations              primarily             backed             by        asset-backed

                             securities



                                                            market value collateralized                        debt obligations



                                                            securities          backed         by future           flow        receivables



                                                            securities          backed         by trust preferred                 securities



                                                            net     interest       margin        securitizations



                                                            collateralized              debt      obligations             backed        primarily            by     other          collateralized

                             debt obligations



                                                            collateralized              debt      obligations             primarily        backed            by     one       or    more           credit

                             default
                                             swaps     i.e        synthetic         CDO5                and



                                                            collateralized              debt obligations                   significant          portion            of which             are    backed

                             by bonds


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                             ii                   that    has an          SP       Rating and                an     SP      Priority                Category        Recovery               Rate


                             iii                  that    has          rating         and          Moodys                 Priority             Category           Recovery                Rate           assigned by

               Moodys              and



                             iv                   whose ownership                       or   disposition                 without           regard to              the    Issuers               other        activities

               by    the     Issuer         will        not cause           the    Issuer          to    be       treated       as    engaged               in         U.S         trade       or     business              for

               United        States         federal           income        tax                         or    otherwise                               the Issuer             to    net    income            taxes
                                                                                   purposes                                          subject



               In    connection              with         the     purchase            of       Structured                 Finance                                       the        Servicer              shall        obtain
                                                                                                                                               Obligation
  from     Moodys           the applicable                    Moodys            Priority       Category              Recovery              Rate


               For purposes                 of the Diversity                Test         multiple             Structured             Finance           Obligations from                        CDOs              serviced

  by the     same      Servicer             or    multiple           Structured              Finance           Obligations                issued           by    the    same master                   trust will            be
  considered to be obligations                            of one       issuer




               Subordinated                       High-Yield               Bond              means             Secured           High-Yield                  Bond        secured               by          second           or
  lower      priority       security             interest       in   the    relevant          collateral




               Subordinated                       Lien        Loan         means             Secured              Loan other than                          Second Lien Loan                           secured           by
  second      or lower            priority             security       interest        in the relevant                   collateral




               Subscription                      Agreement means                              subscription                agreement                  dated        between                 purchaser               and       the

  Issuer     entered into           on       or       before        the    Closing           Date       for       the                                 of                              number of Class
                                                                                                                         subscription                            specified
  Notes      or   Preference            Shares           as    applicable



               Super Majority                            means with               respect          to    any        Class or group                    of Notes          or        Preference               Shares           the

  Holders         of more         than 662A%                  of the                                                            Amount               of that       Class or                              of Notes
                                                                           Aggregate               Outstanding                                                                           group                               or

  Preference         Shares            as        the     case               be        provided               that       with                                       Class            A-la Notes
                                                                    may                                                          respect              to    the                                                   Super
  Majority          shall    mean           at    least       58%      of the Aggregate                       Outstanding                 Amount             of the Class A-i                        Notes            for    so

  long as Financial                Security             Assurance            Inc        is   entitled          to    direct      the       vote        of at least                58%     of the Aggregate

  Outstanding          Amount            of the Class A-                        Notes


               Synthetic               Security                means any              swap         transaction              structured                bond         credit           linked          note         or    other

  derivative         financial           instrument                  providing                                              credit                                                debt         instrument
                                                                                           non-leveraged                                       exposure            to                                                   but
  excluding         any    such     instrument relating                         directly       to        basket or portfolio                         of debt instruments                         or      an      index or
  indices     such        as the       SAMI               index published                    by Credit              Suisse           in   connection              with             basket or portfolio                       of
  debt      instruments            or       other        similar          instruments               entered              into              the        Issuer       with
                                                                                                                                 by                                                   Synthetic                  Security

  Counterparty             that     has          in    the      Servicers                                            reasonable
                                                                                      commercially                                              judgment                equivalent               expected               loss

  characteristics           those           characteristics                credit risk                    to      those      of the related                  Reference               Obligations taking
  account         of those        considerations                 as               relate      to    the                                                                                                          either
                                                                       they                                   Synthetic              Security          Counterparty                       if          it    is


  Form-Approved                  Synthetic               Security          or     the    Rating          Condition               for       each        Rating           Agency             is       satisfied            and

  ii the     Reference            Obligations thereof                       have             Market           Value        equal          to    at   least       85%     of the Principal                        Balance
  of the Reference            Obligation                 at    the    time the Synthetic                                        is   entered           into
                                                                                                              Security



               The     maturity              interest           rate and          other       non-credit                 characteristics                   of                                                               be
                                                                                                                                                                   Synthetic               Security              may
  different       from     the    Reference               Obligations to which                          the credit          risk      of the Synthetic                                         relates
                                                                                                                                                                         Security



               No     Synthetic             Security            shall      require           the    Issuer          to    make                       payment            to    the        Synthetic
                                                                                                                                          any                                                                    Security

  Counterparty            after     its      initial          purchase          other        than                                                                            the     release          of any            cash
                                                                                                        any       payments                represented              by
  collateral        posted        by        the        Issuer        from       the     Collection                Account             to       the     Synthetic              Security              Counterparty
  Account          simultaneously                 with the            Issuers purchase                    of or entry                into       the        Synthetic              Security          in     an     amount
  not    exceeding          the     amount of                 the     posted cash              collateral                 Collateral                 may     be    posted only to                             Synthetic

  Security        Counterparty               Account                No     Synthetic          Security              shall result               in    the Issuer         being             buyer                 of credit

  protection




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                    The         term          Synthetic               Security            shall           not    include                  any     Structured                Finance              Obligation              or      any

   Participation                   but        the        Reference            Obligation                   of          Synthetic                 Security               may      be              Structured              Finance

   Obligation



                    Each        Synthetic                Security           Agreement                 shall      contain              appropriate                  limited       recourse           and       non-petition

   provisions                 to     the         extent         the     Issuer          has      contractual                    payment               obligations               to     the       Synthetic            Security

   Counterparty                    equivalent                mutatis         mutandis                to   those contained                       in the        Indenture



                    The        ownership                 or     disposition              of any            Synthetic                 Security           without             regard          to    the     Issuers             other

   activities            must        not cause               the Issuer        to       be    treated           as    engaged              in         U.S        trade     or    business for United                        States

   federal         income            tax                        or     otherwise              subject       the       Issuer          to net         income          taxes
                                            purposes


                    Unless           the      Rating            Condition               is    otherwise               satisfied                any      deliverable                  obligation               that       may      be

   delivered             to    the    Issuer            as      result        of the occurrence                       of any              credit        event             under       any        proposed            Synthetic

   Security          must          not      provide             that    its    transfer           to      the    Issuer              is    subject          to     obtaining                     consents            and      must
                                                                                                                                                                                      any

   qualify         when            the     Issuer         purchases           the related                 Synthetic             Security              and     when         such       deliverable               obligation
   is   delivered             to the       Issuer         as         result   of the occurrence                        of any             credit        event             as      Collateral             Obligation and
                   the    Concentration                      Limitations            under         the       Indenture                 except           that       such     deliverable               obligation
   satisfy                                                                                                                                                                                                                     may
   constitute                 Defaulted              Collateral              Obligation when                         delivered              upon              credit        event           and     if    the      Reference

   Obligation of the Synthetic                                  Security           is        Senior Secured                     Loan then               the        deliverable              obligation               under       the

   Synthetic             Security           must         also    be          Senior Secured                     Loan


                    No        Synthetic             Security           may provide                   for
                                                                                                            any       event           other       than bankruptcy                      or         failure to
                                                                                                                                                                                                                      pay      as

   credit          event


                    For        purposes             of the            Coverage               Tests        and        the    Retention                  Overcollateralization                        Test           unless        the

   Rating          Condition               for     each        Rating         Agency            is    satisfied            in   respect              of any         proposed           alternative            treatment

   Synthetic             Security           shall        be     included           as         Collateral             Obligation having                           the     characteristics             of      the     Synthetic

   Security          and       not    of the related                  Reference               Obligations


                    For purposes                    of    the    Collateral             Quality Tests other                               than the Diversity                    Test and           the       SP       Industry

   Classification                  with respect                 to    the    SP           CDO             Monitor          Test                  Synthetic              Security        shall       be       included          as

   Collateral            Obligation having                           the characteristics                   of the Synthetic                      Security            and       not    of the related               Reference

   Obligations


                    For        purposes             of calculating                  compliance                   with       the           Concentration                   Limitations              other        than        limits


   relating         to    payment                characteristics               and        all    related         definitions                   unless         otherwise          specified           in      the     Indenture

   or    by    the       Rating            Agencies                   Synthetic              Security           shall      be        included           as          Collateral          Obligation having                        the

   characteristics                  of     its    Reference             Obligations and                     not the Synthetic                          Security                For purposes               of calculating

   compliance                  with         the      Concentration                      Limitations                  relating             to     payment                characteristics              and        all        related

   definitions                unless          otherwise              specified           in     the       Indenture             or    by        the    Rating           Agencies                  Synthetic           Security

   shall      be    included             as         Collateral          Obligation having                        the characteristics                          of the Synthetic                   Security          and     not      its



   Reference              Obligation



                    With        respect            to         Synthetic         Security               based          upon           or    relating          to         senior        secured        index          providing

   non-leveraged                     credit                             to         basket of credit                        default                            referencing                    diversified                            of
                                                    exposure                                                                                    swaps                                                                group
   Reference              Obligations                    with respect              to    which            the    principal                or    notional           amount of            the       credit
                                                                                                                                                                                                              exposure              to


   any     single         Reference                 Obligation does                     not     increase             over       time           for    purposes            of           calculating             compliance
   with the Diversity                       Test         the    SP          Industry            Classification                  with respect                  to    the    SP         CDO         Monitor            Test and
   the   Concentration                     Limitations                other        than limits relating                         to    payment               characteristics             and       except for clauses
   17    and        17a            of the definition                    of Concentration                         Limitations                          and     all      related        definitions             and        ii      any
   other       provision              or      definition               of the       Indenture               involving                      determination                   with       respect           to         Reference

   Obligation                  the       characteristics                 of    such           Reference                Obligations                    shall        be     detennined               by        treating         such

   Synthetic             Security           as           direct       interest      of the Issuer                in    each           such       Reference                Obligation in an                   amount equal
   to the      Allocable Principal                            Balance         of    such         Reference              Obligation                     In    addition each                  Reference              Obligation
   under       such           Synthetic           Security            shall    be assigned                      Moodys                Rating Factor equal to the sum of the                                          Moodys
                                                                                                                 214
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  Rating      Factor          of              the       related           Reference              Obligor               ii        the       Synthetic               Security             Counterparty                 of such

  Synthetic        Security             and      iii         the    Synthetic           Security                Collateral             of such          Synthetic                 Security           In    addition           the

  Moodys           Priority             Category              Rate         in     respect             of          Synthetic                Security               referencing              multiple              Reference

  Obligations            pursuant             to     this      paragraph                shall         be        the    Moodys                Priority              Category              Rate        as    assigned           by

  Moodys           to    each       Reference                Obligation underlying such                                     Synthetic             Security                   For the       avoidance              of doubt

  Reference         Obligations upon which                                                                                 is   based        as   described                  in this                             must       meet
                                                                                Synthetic             Security                                                                           paragraph
  the   definition         of Collateral Obligation                                   to the extent               provided                 in this definition



              If    the    Rating             Condition              must        be     satisfied            to       execute          the     purchase             of any          Synthetic              Security           the

  Servicer         on     behalf           of the Issuer                   shall      give       each                                  Rating           Agency               not    less       than
                                                                                                                applicable                                                                                     days         prior

  notice     of the purchase                  of or entry             into              Synthetic                 Security
                                                                                 any



              Synthetic                  Security             Agreement means                              the    documentation                    governing                   any Synthetic                Security



              Synthetic                  Security Collateral                            means              respect          to       any    Synthetic              Security             amounts posted                  to    the

                                        Collateral            Account            by the Synthetic
  Synthetic        Security                                                                                                Security         Counterparty                     in   support of             its   obligations

  under      the        Synthetic             Security               including                    all       Eligible             Investments                  or        ii        floating          rate       credit       card

  securitizations             that       are     rated        Aaa            by      Moodys                and        AAA               by     SP            in     each          case     that      mature no              later

  than the Stated              Maturity                 in    the    Synthetic                                   Collateral             Account              that       are                              with Synthetic
                                                                                           Security                                                                               purchased

  Security     Collateral




              Synthetic                  Security Counterparty                                   means any entity required to make payments on                                                                   Synthetic

  Security     to the extent                  that           reference           obligor         makes payments on     related Reference Obligation


              Tax          Advantaged                        Jurisdiction                  means one                  of the           Cayman           Islands               Bermuda                the    Netherlands

  Antilles     or       the     tax        advantaged                jurisdiction               of the            Channel              Islands          or        such        other       jurisdiction               that     the

  Rating      Condition             with respect                to    each       Rating Agency                        is   satisfied         with respect                    thereto



              Tax          Event means                        an event           that   occurs             if   either




                                                              one     or    more        Collateral                Obligations that                     were         not subject                to    withholding              tax

              when         the      Issuer           committed              to    purchase             them have                     become        subject              to    withholding                tax    or    the    rate

              of        withholding                  has       increased              on        one        or     more               Collateral          Obligations                    that        were                       to
                                                                                                                                                                                                                subject

              withholding                  tax       when           the    Issuer          committed                  to    purchase              them and                         in
                                                                                                                                                                                         any        Due        Period         the

              aggregate               of the payments                      subject         to    withholding                    tax    on    new withholding                         tax                              and     the
                                                                                                                                                                                            obligations

              increase             in   payments               subject          to    withholding                 tax       on       increased          rate       withholding                 tax                             in
                                                                                                                                                                                                         obligations
              each        case        to   the       extent          not grossed-up                         on        an     after-tax         basis              by the related                obligor           represent
              5% or           more of           Interest           Proceeds           for the         Due Period


                                ii                 taxes           fees     assessments                    or other             similar      charges              are        imposed        on      the Issuer          or the

              Co-Issuer               in   an aggregate amount                             in              twelve-month                     period           in    excess          of    U.S$2000000                    other
                                                                                                 any
              than        any       deduction                 or     withholding                for     or       on        account          of any           tax        with respect                to     any       payment
              owing           in                      of              obligation             that      at       the    time of acquisition                          conversion                  or                          does
                                    respect                   any                                                                                                                                     exchange
              not       satisfy         the    requirements                 of        Collateral                Obligation or Collateral                            Obligation                 or



                                iii                if   the Issuer           is at      the     time treated                    as      pass-through                entity          for    U.S        federal         income

              tax        purposes              that        investors            in the        Preference                   Shares          who         are    non-U.S                persons not                 otherwise

              subject          to     U.S        net       income          tax       are or      have           become               subject      to    U.S         net       income           taxation          in respect

              of income                 of the Issuer                 in    an       amount           in    excess              of 10%         of the             net    income            of the Issuer               in
                                                                                                                                                                                                                             any
              twelve-month                     period


              Transaction                       Documents                       means            collectively                    this      Indenture               the        Preference              Shares          Paying

  Agency Agreement                       and       the       Holding        Preference                Shares           Paying Agency Agreement


              Transaction                      Securities                  means        collectively                   the Securities                  and        the    Holding           Preference Shares




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                 Treasury                 Regulations                 means               regulations               including                  proposed            or        temporary                regulations

  promulgated               under         the     Code              References                  herein        to     specific             provisions              of      proposed              or     temporary

  regulations           shall       include       analogous              provisions              of final Treasury                       Regulations              or     other       successor Treasury

  Regulations


                 UCC                means        the    Uniform               Commercial Code                        as    in       effect       in       the     State        of   New York                     and        as

  amended            from    time to time



                 Underlying                 Instrument                    means            the       loan         agreement               indenture               credit
                                                                                                                                                                                 agreement                  or     other

                                              which                                 Obligation has been                         issued               created           and      each       other
  agreement            pursuant to                             Pledged                                                                          or                                                     agreement
  that
         governs         the    terms of or secures                      the obligations                 represented by the Pledged                                 Obligation or of which                              the

  holders       of the Pledged              Obligation              are the beneficiaries



                 Unfunded                 Amount              means            with           respect        to    any     Revolving                 Loan         or     any        Delayed           Drawdown
  Loan     at    any time the excess                     if   any        of             the     Commitment                Amount               over              the     Funded Amount                      thereof



                 Unscheduled                    Principal           Payments means                            any        principal             payments            received               with       respect           to

  Collateral          Obligation           as         result       of optional                redemptions               exchange                offers tender                  offers other                payments
  or   prepayments              made        at    the    option          of the issuer                thereof        or    that          are    otherwise              not scheduled                  to    be     made
  thereunder



                 Valuation                Report means                   the       accounting            report determined                           as    of the close             of business on each

  Determination              Date rendered                   in    accordance              with the terms of the Indenture



                 Voting Record Date means                                          with respect              to   any     vote by the Holders                          of the Class              II    Preference

  Shares        in   relation        to    the    appointment                  or       removal        of the        directors             of the Issuer                            15    days        prior       to    the

  relevant        shareholders              meeting           or              in    the       case    of any         vote           by    the    Holders            of the Class                 II    Preference

  Shares        exercised           by written          consent          resolution              the date          of such          resolution



                 Weighted Average                        Fixed           Rate           Coupon           means            as    of any Measurement                             Date        the rate         obtained

  by


                                                 multiplying              the       Principal          Balance            of each              Collateral           Obligation that                    is         Fixed

                 Rate     Obligation held by                       the    Issuer          as    of the Measurement                         Date           by     the current             per annum               rate       at

                 which         it
                                     pays        interest          other           than         with     respect           to       Collateral              Obligations                  that    are        not        P1K

                 Securities           any       interest      that    is      not       required       to    be paid           in   Cash and              may be deferred                       using only the
                 effective          after-tax          interest       rate         determined               by     the    Servicer              on        any     Fixed         Rate       Obligation after

                 taking      into        account        any       withholding                 tax    or other        deductions                 on    account            of tax of any jurisdiction

                 and    any gross-up paid by the obligor



                                ii               summing            the       amounts           determined               pursuant to clause



                                iii              dividing          the    sum by              the    Aggregate            Principal             Balance           of     all   Collateral             Obligations
                 that    are    Fixed Rate             Obligations held by the Issuer                                as    of the Measurement                            Date            and



                                iv               if    the    result          obtained           in    clause        iii        is       less    than the              minimum percentage                              rate

                 specified          to    satisfy      the    Weighted               Average           Fixed Rate               Coupon Test adding                             to the          sum    the    amount
                 of any        Spread         Excess          as    of the Measurement                            Date      but          only to          the    extent        required to             satisfy          the


                 Weighted            Average           Fixed Rate              Coupon Test


                 Weighted                 Average             Life            means             as    of     any         Measurement                      Date         the      number            obtained                  by

         summing          the       products          obtained           by    multiplying                          the    Average               Life       at    that       time of each                  Collateral


   Obligation by                     the Principal             Balance             at    that    time of the Collateral                         Obligation and                  ii dividing                 that       sum

   by the Aggregate                 Principal          Balance           at   that       time of       all   Collateral              Obligations




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                 Weighted Average                           Moodys                Rating       Factor               means            the    summation of              the    products         obtained          by
  multiplying            the     Principal           Balance            of each         Collateral             Obligation excluding                           Eligible        Investments                 by     its


  respective           Moodys              Rating       Factor          dividing         that      sum by           the        Aggregate            Principal         Balance        of     all   Collateral

                                                                                             and                          the        result                                                 number
  Obligations excluding                        Eligible          Investments                        rounding                                  up to the nearest               whole



                 Weighted Average                           Spread means                      as    of any         Measurement                    Date        rate     obtained         by


                               multiplying                 the    Principal           Balance            of each               Collateral         Obligation that               is                         Rate
                                                                                                                                                                                        Floating

  Obligation            held by the            Issuer        as of the Measurement                                 Date        by     the   current        per annum            contract           spread        at


  which         it
                     pays    interest        which                     for   P1K       Securities             for    which            interest       has been          deferred         or    capitalized

  will    be deemed            to     be    zero             for Collateral                  Obligations that                   would be P1K                Securities         but for the proviso

  in     the    definition            thereof        will        be     deemed          to     be     equal          to        the    effective        rate       of P1K        Cash-Pay             Interest

                       thereto        and            for                                 Loan         or                         Draw         Loan        will    be the per annum
  applicable                                                any Revolving                                     Delayed                                                                               contract

  spread for the Funded                      Amount              thereof       and      the rate         of the commitment fee and                                such       other    fees        payable to
  the     Issuer       for   any       Unfunded             Amount            thereof              determined                  with respect          to    any        Floating Rate               Obligation
  that    does not bear interest based                            on         London interbank                      offered           rate by expressing the current                           interest         rate

  on     the Floating          Rate         Obligation as                spread above                    three        month London                    interbank         offered        rate       calculated

  in      manner        consistent           with the calculation                      of    LIBOR

                 ii              summing            the     amounts            determined             pursuant to clause


                 iii           dividing             that     sum by           the     Aggregate               Principal               Balance        of    all    Floating Rate               Obligations
  held by the Issuer                  as   of the Measurement                        Date       and



                 iv              if   the    result     obtained             in     clause      iii      is    less       than the minimum                    percentage             rate     specified          to

  pass     the       Weighted          Average             Spread        Test         adding to            that      sum         the       amount of Fixed Rate                      Excess        as     of the
  Measurement                Date


                 Workout                   Assets       means                Loan        High-Yield                 Bond              or    Qualified         Equity         Security         acquired           in

  connection            with the workout                   or restructuring                  of any      Collateral                                   that       the Issuer      does not advance
                                                                                                                                    Obligation

  any     funds to purchase                  that    does not qualify                  as       Collateral            Obligation


                 Written-Down                       Obligation                 means          as    of     any        date           of determination                  any     Structured           Finance

  Obligation as to which the Issuer                                or the         Servicer          on   behalf           of the Issuer has been                       notified       by the issuer              of
  the     Structured           Finance            Obligation                 that     the                                                     Balance            of    the    Structured            Finance
                                                                                              Aggregate               Principal

  Obligation and               all     other      Structured             Finance         Obligations secured                           by     the    same pool of              collateral          that    rank

  pan      passli       with          or    senior      in       priority           of payment                to    the        Structured            Finance                                 exceeds           the
                                                                                                                                                                       Obligation
  aggregate             principal              balance                including               reserved                interest              or       other         amounts             available               for

  overcollateralization                      of   all      collateral                              the     Structured                 Finance         Obligation and                 such         other
                                                                               securing                                                                                                                    pan
  passu        and    senior       Structured           Finance          Obligations excluding                             defaulted             collateral



                Zero-Coupon                    Security                means             security             that        at    the        time     of determination                  does        not     make
  periodic           payments          of interest                Zero-Coupon                  Security             shall not          include            security      that    is      P1K Security




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